Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 1 of 514 Page ID
                                  #:953



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 9 dba MVP STAFFING

10
                         UNITED STATES DISTRICT COURT
II
                        CENTRAL DISTRICT OF CALIFORNIA
12
   PERSONNEL STAFFING GROUP,                    Case No.2: 19-cv-06728-ODW-JEM
13 LLC, DBA MVP STAFFING, a Florida
14 limited liability company,
                                                DECLARATION OF DANIEL
J5                   Plaintiff,                 BARNETT IN SUPPORT OF
16                                              PLAINTIFF'S OPPOSITION TO
          v.                                    DEFENDANT PROTECTIVE
17                                              INSURANCE COMPANY'S MOTION
18 PROTECTIVE INSURANCE                         TO DISMISS OR STAY PURSUANT
   COMPANY, an Indiana Corporation, and         TOFRCP 12(b)(1)
J9 DOES 1 through 50,
20
                     Defendant.                 DATE:           October 21, 201 9
21                                              TIME:           1:30 p.m.
22                                              LOCATION:       Courtroom 5D
23
     ~---------- _ _---.J
24
25
26
27

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                                            1
                              DECLARATJON OF DANIEL BARNETT
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 2 of 514 Page ID
                                  #:954



                         DECLARATION OF DANIEL BARNETT
 2   I, DANIEL BARNETT, declare as follows:
 3         1.    I am the Chief Executive Officer of Personnel Staffing Group, LLC dba
 4 MVP Staffing (hereinafter referred to as "Personnel"). This declaration is submitted
 5   in support of Personnel's Opposition to Defendant Protective Insurance Company's
 6   (hereinafter referred to as "Protective") Motion to Dismiss or Stay Pursuant to FRCP
 7   12(b)(1). This declaration is based upon matters within my own personal knowledge
 8 and on my review of the business records kept and maintained by Personnel. If called
 9   upon to testify, I could and would competently testify to the following.
10         2.     I am also a custodian of the books, records, and files of Personnel. I
11   have personally worked on said books, records, and files, and as to the following
12   facts, I know them to be true of my own knowledge or I have gained knowledge of
13   them from the business records of Personnel, on behalf of Personnel, which were
14   made at or about the time of the events recorded, and which are made, received or
15   maintained in the ordinary course of Personnel's business at or near the time of the
16   acts, conditions or events to which they relate.
17         3.     For the periods January 1,2017 to June 30, 2017 and June 30, 2017 to
18   June 30, 2018 Personnel obtained workers' compensation insurance policies from
19   Protective Insurance Company. The policies covered Protective employees in 42
20   states. True and correct copies of the polices are attached hereto as Exhibits A
21   through D, and are referred to hereinafter as the "Policies." The Policies were high
22   deductible policies whereby Personnel was responsible to pay the first $500,000 of
23   each workers' compensation claim.
24         4.     The Policies are several hundred pages in length and do not have
25   continuing page numbers that would allow reference to be made easily to specific
26   pages of the Policies and attached endorsements. Therefore, in order to facilitate
27   reference to specific pages of the Policies, I have attached as separate exhibits certain
28

                                                 2
                                  DECLARATION OF DANIEL BARNETT
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 3 of 514 Page ID
                                  #:955



  1   sections of the Policies that are of special import. True and correct copies of the
  2   following excerpts from the Policies are attached as the following Exhibits.
  3         "Policy Amendatory Endorsement-California" - Exhibit E;
  4         "Duty to Defend-California" - Exhibit F;
  5         "Employers' Liability Coverage Amendatory Endorsement-California" -
  6         Exhibit G;
  7         "Optional Premium Increase Endorsement-California" - Exhibit H;
  8         "California Cancellation Endorsement" - Exhibit I;
  9         "California Large Risk Deductible Endorsement" - Exhibit J;
 10         5.     I have compiled the payroll data for California and Indiana under the
 11   policy periods. The following table sets forth the actual payroll for the Policies for
 12   California and Indiana:
 13
                       Period            California Payroll      Indiana Payroll
 14
                 01/01/2017-                   $209,574,863            $1,306,371
 15              06/30/2017
                 06/30/2017-                   $479,290,962             $3,106,112
 16
                 06/30/2018
 17
            6.     Personnel has nine (9) field offices in California, the largest number of
 18
      field offices out of any other state. Personnel has zero (0) offices in Indiana. As the
 19
      number of employees is concentrated in California, I spend every other week in
 20
      California managing the field offices.
 21   II
 22   II
 23   II
 24
            7.     Protective has provided Personnel with a loss run, valued as of June 30,
 25
      2019. I have compiled certain summary statistics based on calculations and
 26
      summations I have made from the loss run. As of June 2019,6,579 claims had been
 27

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                                  DECLARAnON OF DANIEL BARNETT
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 4 of 514 Page ID
                                  #:956



     made under the Policies. Of that number, 4,351 were claims made by California
 2   employees, while only 16 were claims made by Indiana employees.
 3         8.     Based on the same loss run, the total incurred value of the claims under
 4   the Policies for all states is $58,070,069.41. Of this amount, $44,836,585.85 was
 5   incurred on claims made by California employees. $45,731 was incurred on claims
 6   made by Indiana employees.
 7         9.     In regards to the claims in California, Protective hired the Korey
 8 Richardson law finn to handle the various California claims. All of the attorneys
 9 assigned to defend the workers' compensation claims worked in California, out of the
10   Los Angeles office.
11         I declare under penalty of perjury under the laws of the United States of
12   America that the foregoing is true and correct.
13         Executed this 30th day of September, 2019, at Chicago, Illinois.



                                            DA~~-.;
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                                 DECLARATION OF DANIEL BARNETT
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 5 of 514 Page ID
                                  #:957




                                EXHIBIT A
 DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
 PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
1e
~
~
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 6 of 514 Page ID
 ~                   Protective
     insurance Company
                                   #:958
                              WORKERS~ COMPENSATION AND EMPLOYER'S UABIU1Y
                              WORKERS'                                 UAB!U1Y
                                           INSURANCE POLICY INFORMATION PAGE
111 Congressional Blvd..            I Carmel.
                  Blvd .. Suite 500 1 Cannel, IN 46032



                   New                                                                     Producer:    Assurance Agency, Ltd.
            Renewal of Number                                                                           1750 E. Golf Road, Suite 1100
                                                                                                        Schaumburg, IL 60173
 Policy No. RW008962
 1.    The Insured/Mailing address:                                                          D Individual D Partnership            ~ LLC
                                                                                             D Corporation or _ _ _ _ _ _ __
       Personnel Staffing Group, LLC DBA Barnett Management
                                                                                             Insured's Identification No.(s).
       1751 Lake Cook Road, Suite 600                                                        FEIN 010759364
       Deerfield, IL 60015
                                                                                             Interstate Risk ID No. 917965579
       CARRIER CODE: 14788
 Other workplaces not shown above: See WC1 001 LOC
 2.    Policy Period: The policy period is from 01/01/2017 to 01/01/2018 12:01 A.M. Standard Time, at the insured's mailing
       address.
 3. Coverage
       A. Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states listed
          here: Massachusetts, Oregon, Wisconsin

       B. Employers Liability Insurance: Part Two of the policy applies to work in each state listed in item 3.A. The limits of our
          liability under Part Two are:
                                                                    Bodily Injury by Accident              $1,000,000          each accident
                                                                    Bodily Injury by Disease               $1,000,000          policy limit
                                                                    Bodily Injury by Disease               $ 1,000,000         each employee
       C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here: All states except North
          Dakota, Ohio, Washington, Wyoming and any other state where qualified as a self-insured.
       D. This policy includes these endorsements and schedules: WC1001IC,
                                                                 WC10011C, WC1001LOC, WC1001, WC000104A,
          WC000106A,WC000313,VVC000301A,WC000402,WC000404,WC000414,WC000419,WC000421D,WC000422B,
          WC000106A,WC000313,WC000301A,WC000402,WC000404,WC000414,               WC000419,WC000421D,WC000422B,
          WC000424, WC000503C, WC000515A, WC200301, WC200302A, WC200303D, WC200405, WC200501,
          WC200601A, WC360306, WC360406, WC360601E, WC360604, WC480601C, WC480606B, WI1001   Wl1001
  4.   Premium: The premium for this policy will be determined by our Manuals of Rules, Classifications, Rates and Rating Plans.
       All information required below is subject to verification and change by audit.
                                                      Premium Basis
                                       Code           Total Estimated           Rate Per $100 of           Estimated Annual
              Classifications           No.        Annual Remuneration           Remuneration                  Premium
       See Attached Schedule

     Experience Rating                 Premium           Expense
                                                                            Other
    Modification Factor                Discount          Constant
   Interstate Final 0.75                                  $338                              Total Estimated
   effective 01/01/2017                                                                     Annual Premium           $        725,511
                                                                                            Deposit Premium
                                                                                            Minimum Premium
  [[ 1] This is a Three Year Fixed Rate Policy
  Premium Adjustment Period: ~ Annual;                   D Semiannual; D      Quarterly;     D   Monthly

  For information, or to make a complaint, call 1·800·231·6024
                                           ca111-800-231-6024
                                                                           Countersigned by
                                                                           Countersigned by      -----'~0-------~"'--------
                                                                                                       -'~O-- t"'__ _
                                                                                                              Authorized Representative
                        THIS INFORMATION PAGE WITH THE WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY AND ENDORSEMENTS,
                                            IF ANY, ISSUED TO FORM A PART THEREOF COMPLETES THE ABOVE NUMBERED POLICY.
                                                            ©2013 National Council on Compensation Insurance


 A Baldwin & Lyons Company
 ABaldwin                                                 Decl. Barnett, Ex. A-1                           COVERAGE THAT REVOLVES AROUND
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 7 of 514 Page ID
                                     #:959

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we
                                                                                                                         WC oo oo oo cC
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                   WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

In return for the payment of the premium and subject to                                         PART ONE
all terms of this policy, we agree with you as follows:                              WORKERS COMPENSATION INSURANCE

                                                                                 A. How This Insurance Applies
                    GENERAL SECTION                                                 This workers compensation insurance applies to
                                                                                           injUry by accident or bodily injury by disease.
                                                                                    bodily injury
A. The Policy                                                                               injUry includes resulting death.
                                                                                    Bodily injury
   This policy includes at its effective date the Infor-                            1. Bodily injury by accident must occur during the
   mation Page and all endorsements and schedules                                       policy period.
   listed there. It is a contract of insurance between                              2. Bodily injury by disease must be caused or ag-
   you (the employer named in Item 1 of the Infor-                                      gravated by the conditions of your employment.
   mation Page) and us (the insurer named on the In-                                    The employee's last day of last exposure to the
   formation Page). The only agreements relating to                                     conditions causing or aggravating such bodily in-
   this insurance are stated in this policy. The terms of                               jury by disease must occur during the policy
   this policy may not be changed or waived except                                      period.
   by endorsement issued by us to be part of this
   policy.
                                                                              B. We Will Pay
                                                                                 We will pay promptly when due the benefits required
 B. Who is Insured
                                                                                 of you by the workers compensation law.
    You are insured if you are an employer named in
    Item 1 of the Information Page. If that employer is a
    partnership, and if you are one of its partners, you                      C. We Will Defend
    are insured, but only in your capacity as an em-                             We have the right and duty to defend at our expense
    ployer of the partnership's employees.                                       any claim, proceeding or suit against you for benefits
                                                                                 payable by this insurance. We have the right to in-
                                                                                 vestigate and settle these claims, proceedings or
 C. Workers Compensation Law                                                     suits.
    Workers Compensation Law means the workers or                                We have no duty to defend a   a claim, proceeding or
    workmen's compensation law and occupational                                  suit that is not covered by this insurance.
    disease law of each state or territory named in Item
    3.A. of the Information Page. It includes any
                                                                               D. We Will Also Pay
    amendments to that law which are in effect during
    the policy period. It does not include any federal                            We will also pay these costs, in addition to other
    workers or workmen's compensation law, any fed-                               amounts payable under this insurance, as part of
    eral occupational disease law or the provisions of                            any claim, proceeding or suit we defend:
    any law that provide nonoccupational disability                               1. reasonable expenses incurred at our request,
    benefits.                                                                         but not loss of earnings;
                                                                                  2. premiums for bonds to release attachments and
 D. State                                                                             for appeal bonds in bond amounts up to the
    State means any state of the United States of                                     amount payable under this insurance;
    America, and the District of Columbia.                                        3. litigation costs taxed against you;
                                                                                  4. interest on a judgment as required by law until
 E. Locations                                                                         we offer the amount due under this insurance;
    This policy covers all of your workplaces listed in                               and
    Items 1 or 4 of the Information Page; and it covers                           5. expenses we incur.
    all other workplaces in Item 3.A. states unless you
    have other insurance or are self-insured for such                          E. Other Insurance
    workplaces.
                                                                                    We will not pay more than our share of benefits and
                                                                                    costs covered by this insurance and other




                                                                        1 of 6
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 8 of 514 Page ID
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WC oo oo oo Cc                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)


                                    Subject to any limits of
    insurance or self-insurance. SUbject                                                 a. benefits payable by this insurance;
    liability that may apply, all shares will be equal until                             b. special taxes, payments into security or oth-
    the loss is paid. If any insurance or self-insurance                                    er special funds, and assessments payable
    is exhausted, the shares of all remaining insurance                                     by us under that law.
    will be equal until the loss is paid.
                                                                                   6. Terms of this insurance that conflict with the
                                                                                        workers compensation law are changed by this
F. Payments You Must Make                                                               statement to conform to that law.
   You are responsible for any payments in excess of                               Nothing in these paragraphs relieves you of your du-
   the benefits regularly provided by the workers                                  ties under this policy.
   compensation law including those required
   because:
   1. of your serious and willful misconduct;                                                     PART TWO
                                                                                         EMPLOYERS LIABILITY INSURANCE
   2. you knowingly employ an employee in violation
       of law;
                                                                              A. How This Insurance Applies
   3. you fail to comply with a health or safety law or
                                                                                 This employers liability insurance applies to bodily
       regulation; or
                                                                                 injury by accident or bodily injury by disease. Bodily
   4. you discharge, coerce or otherwise discriminate                            injury includes resulting death.
       against any employee in violation of the workers
                                                                                 1. The bodily injury must arise out of and in the
       compensation law.
                                                                                      course of the injured employee's employment by
   If we make any payments in excess of the benefits                                  you.
   regularly provided by the workers compensation
                                                                                 2. The employment must be necessary or inci-
   law on your behalf, you will reimburse us promptly.
                                                                                      dental to your work in a state or territory listed in
                                                                                      Item 3.A. of the Information Page.
G. Recovery From Others                                                          3. Bodily injury by accident must occur during the
   We have your rights, and the rights of persons enti-                               policy period.
   tled to the benefits of this insurance, to recover our                        4. Bodily injury by disease must be caused or ao-    aQ-
   payments from anyone liableiiable for the injury. You will                         gravated by th-e
                                                                                                    th"e conditions of your employment.
   do everything necessary to protect those rights for                                The employee's last day of last exposure to the
   us and to help us enforce them.                                                    conditions causing or aggravating such bodily in-
                                                                                      jury by disease must occur during the policy
H. Statutory Provisions                                                               period.
   These statements apply where they are required by                             5. If you are sued, the original suit and any related
   law.                                                                               legal actions for damages for bodily injury by ac-
                                                                                      cident or by disease must be brought in the
   1. As between an injured worker and us, we have                                    United States of America, its territories or pos-
        notice of the injury when you have notice.                                    sessions, or Canada.
   2. Your default or the bankruptcy or insolvency of
        you or your estate will not relieve us of our du-
        ties under this insurance after an injury occurs.                      B. We Will Pay
   3. We are directly and primarily liable to any per-                            We will pay all sums that you legally must pay as
        son entitled to the benefits payable by this in-                          damages because of bodily injury to your employ-
        surance. Those persons may enforce our duties;                            ees, provided the bodily injury is covered by this
            may an agency authorized by law. Enforce-
        so mayan                                                                  Employers Liability Insurance.
         ment may be against us or against you and us.                            The damages we will pay, where recovery is permit-
   4. Jurisdiction over you is jurisdiction over us for                           ted by law, include damages:
         purposes of the workers compensation law. We                             1. For which you are liable to a third party by rea-
        are bound by decisions against you under that                                 son of a claim or suit against you by that third
        law, subject to the provisions of this policy that                            party to recover the damages claimed against
         are not in conflict with that law.                                           such third party as a result of injury to your em-
   5. This insurance conforms to the parts of the
                                                                                      ployee;
        workers compensation law that apply to:




                                                                        2 of6
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 9 of 514 Page ID
                                    #:961

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we
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                                                                                                                               0000

                                                                                                                               (Ed. 1-15)



    2. For care and loss of services; and                                          9. Bodily injury to any person in work subject to the
    3. For consequential bodily injury to a spouse,                                   Federal Employers' Liability Act (45 U.S.C. Sec-
       child, parent, brother or sister of the injured em-                            tions 51 et seq.), any other federal laws obligat-
       ployee; provided that these damages are the di-                                ing an employer to pay damages to an employee
       rect consequence of bodily injury that arises out                              due to bodily injury arising out of or in the course
       of and in the course of the injured employee's                                 of employment, or any amendments to those
       employment by you; and                                                         laws;
    4. Because of bodily injury to your employee that                              1O.Bodily injury to a master or member of the crew
                                                                                   10.Bodily
       arises out of and in the course of employment,                                 of any vessel, and does not cover punitive dam-
       claimed against you in a capacity other than as                                ages related to your duty or obligation to provide
       employer.                                                                      transportation, wages, maintenance, and cure
                                                                                      under any applicable maritime law;
C. Exclusions                                                                      11.Fines or penalties imposed for violation of federal
   This insurance does not cover:                                                     or state law; and
   1. Liability assumed under a contract. This exclu-                              12.Damages payable under the Migrant and Sea-
      sion does not apply to a warranty that your work                                sonal Agricultural Worker Protection Act (29
      will be done in a workmanlike manner;                                           U.S.C. Sections 1801 et seq.) and under any
                                                                                      other federal law awarding damages for violation
   2. Punitive or exemplary damages because of bodi-                                  of those laws or regulations issued thereunder,
      ly injury to an employee employed in violation of                               and any amendments to those laws.
      law;
   3. Bodily injury to an employee while employed in                          D. We Will Defend
      violation of law with your actual knowledge or the
      actual knowledge of any of your executive offic-                           We have the right and duty to defend, at our ex-
      ers;                                                                       pense, any claim, proceeding or suit against you for
                                                                                 damages payable by this insurance. We have the
   4. Any obligation imposed by a workers compensa-
                                                                                 right to investigate and settle these claims, proceed-
      tion, occupational disease, unemployment com-
                                                                                 ings and suits.
      pensation, or disability benefits law, or any simi-
       lar law;
      larlaw;                                                                    We have no duty to defend a claim, proceeding or
                                                                                 suit that is not covered by this insurance. We have
   5. Bodily injury intentionally caused or aggravated
                                                                                 no duty to defend or continue defending after we
      by you;
                                                                                 have paid our applicable limit of liability under this
   6. Bodily injury occurring outside the United States                          insurance.
      of America, its territories or possessions, and
      Canada. This exclusion does not apply to bodily
       injury to a citizen or resident of the United States                    E. We Will Also Pay
       of America or Canada who is temporarily outside                              We will also pay these costs, in addition to other
      these countries;                                                              amounts payable under this insurance, as part of
   7. Damages arising out of coercion, criticism, de-                               any claim, proceeding, or suit we defend:
       motion, evaluation, reassignment, discipline,                                1. Reasonable expenses incurred at our request,
      defamation, harassment, humiliation, discrimina-                                 but not loss of earnings;
      tion against or termination of any employee, or                               2. Premiums for bonds to release attachments and
      any personnel practices, policies, acts or omis-                                 for appeal bonds in bond amounts up to the limit
      sions;                                                                           of our liability under this insurance;
   8. Bodily injury to any person in work subject to the                            3. Litigation costs taxed against you;
       Longshore and Harbor Workers' Compensation
                U.S. C. Sections 901 et seq.), the Nonap-                           4. Interest on a judgment as required by law until
      Act (33 U.S.C.
       propriated Fund Instrumentalities Act (5 U.S.C.                                 we offer the amount due under this insurance;
                                                                                       and
       Sections 8171 et seq.), the Outer Continental
       Shelf Lands Act (43 U.S.C. Sections 1331 et                                  5. Expenses we incur.
       seq.), the Defense Base Act (42 U.S.C. Sections
       1651-1654), the Federal Mine Safety and Health
      Act (30 U.S.C. Sections 801 et seq. and 901-
       944), any other federal workers or workmen's
       compensation law or other federal occupational
       disease law, or any amendments to these laws;

                                                                        3 of6
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 10 of 514 Page ID
                                       #:962

we 00
WC oo 00
      oo 00
         oo cC                           WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



F. Other Insurance                                                                  This insurance does not give anyone the right to add
      We will not pay more than our share of damages                                us as a defendant in an action against you to deter-
      and costs covered by this insurance and other in-                             mine your liability. The bankruptcy or insolvency of
      surance or self-insurance. Subject to any limits of li-                       you or your estate will not relieve us of our obliga-
      ability that apply, all shares will be equal until the                        tions under this Part.
      loss is paid. If any insurance or self-insurance is ex-
      hausted, the shares of all remaining insurance and                                             PART THREE
      self-insurance will be equal until the loss is paid.
                                                                                               OTHER STATES INSURANCE

G. Limits of Liability                                                        A. How This Insurance Applies
      Our liability to pay for damages is limited. Our limits                       1.   This other states insurance applies only if one or
      of liability are shown in Item 3.B. of the Information                             more states are shown in Item 3.C. of the Infor-
      Page. They apply as explained below.                                               mation Page.
      1. Bodily Injury by Accident. The limit shown for                             2.   If you begin work in anyone
                                                                                                               any one of those states after
           "bodily injury by accident-each accident" is the                              the effective date of this policy and are not in-
           most we will pay for all damages covered by this                              sured or are not self-insured for such work, all
            insurance because of bodily injury to one or                                 provisions of the policy will apply as though that
           more employees in anyoneany one accident.                                     state were listed in Item 3.A. of the Information
           A disease is not bodily injury by accident unless                             Page.
            it results directly from bodily injury by accident.                     3.   We will reimburse you for the benefits required
      2. Bodily Injury by Disease. The limit shown for                                   by the workers compensation law of that state if
           "bodily injury by disease-policy limit" is the                                we are not permitted to pay the benefits directly
                                                                                         to persons entitled to them.
            most we will pay for all damages covered by this
            insurance and arising out of bodily injury by dis-                      4.   If you have work on the effective date of this pol-
            ease, regardless of the number of employees                                  icy in any state not listed in Item 3.A.of
                                                                                                                             3.A. of the In-
           \'Vho sustain bodily injury by disease. The limit
           \'vho                                                                         formation Paae. coveraae will not be afforded for
            shown for "bodily injury by disease-each em-                                 that state unless we are~ notified within thirty·  ..
                                                                                                                                   thirty ...
            ployee" is the most we will pay for all damages                              days.
            because of bodily injury by disease to anyone
                                                       any one
            employee.                                                          B. Notice
            Bodily injury by disease does not include dis-                          Tell us at once if you begin work in any state listed in
            ease that results directly from a bodily injury by                      Item 3.C. of the Information Page.
            accident.
      3. We will not pay any claims for damages after we                                             PART FOUR
            have paid the applicable limit of our liability un-                             YOUR DUTIES IF INJURY OCCURS
            der this insurance.
                                                                                    Tell us at once if injury occurs that may be covered
H. Recovery From Others                                                             by this policy. Your other duties are listed here.
      We have your rights to recover our payment from                               1. Provide for immediate medical and other ser-
      anyone liable for an injury covered by this insurance.                             vices required by the workers compensation law.
      You will do everything necessary to protect those                             2. Give us or our agent the names and addresses
      rights for us and to help us enforce them.                                         of the injured persons and of witnesses, and
                                                                                         other information we may need.
I.    Actions Against Us                                                            3.   Promptly give us all notices, demands and legal
      There will be no right of action against us under this                             papers related to the injury, claim, proceeding or
      insurance unless:                                                                  suit.
      1. You have complied with all the terms of this poli-
          cy; and
      2. The amount you owe has been determined with
          our consent or by actual trial and final judgment.



                                                                        40f6
                                                                        4 of6

                                                     Decl. Barnett, Ex. A-5
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 11 of 514 Page ID
                                   #:963

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                              we 000000
                                                                                                                           WC oo oo oo cC
                                                                                                                                 (Ed.1-15)
                                                                                                                                 (Ed. 1-15)



    4.   Cooperate with us and assist us, as we may re-                       D. Premium Payments
         quest, in the investigation, settlement or defense                      You will pay all premium when due. You will pay the
         of any claim, proceeding or suit.                                       premium even if part or all of a workers compensa-
    5.   Do nothing after an injury occurs that would in-                        tion law is not valid.
         terfere with our right to recover from others.
    6.   Do not voluntarily make payments, assume obli-                       E.    Final Premium
         gations or incur expenses, except at your own                              The premium shown on the Information Page,
         cost.                                                                      schedules, and endorsements is an estimate. The
                                                                                    final premium will be determined after this policy
                              PART FIVE                                             ends by using the actual, not the estimated, premi-
                                                                                    um basis and the proper classifications and rates
                              PREMIUM
                                                                                    that lawfully apply to the business and work covered
A. Our Manuals                                                                      by this policy. If the final premium is more than the
                                                                                    premium you paid to us, you must pay us the bal-
                                                  ~~our
   All premium for this policy will be determined ~~  our                           ance. If it is less, we will refund the balance to you.
   manuals of rules, rates, rating plans and classifica-
                                              classIfIca-                           The final premium will not be less than the highest
   tions. We may change our manuals and apply the                                   minimum premium for the classifications covered by
   changes to this policy if authorized by law or a gov-                            this policy.
   ernmental agency regulating this insurance.
                                                                                    If this policy is canceled, final premium will be de-
                                                                                    termined in the following way unless our manuals
B. Classifications                                                                  provide otherwise:
   Item 4 of the Information Page shows the rate and                                1. If we cancel, final premium will be calculated pro
   premium basis for certain business or work classifi-                                   rata based on the time this policy was in force.
   cations. These classifications were assigned based                                     Final premium will not be less than the pro rata
   on an estimate of the exposures you would have                                         share of the minimum premium.
   during the policy period. If your actual exposures are
                                                                                    2. If you cancel, final premium will be more than
   not properly described by these classifications, v~e
   will assign proper classifications, rates and premium
                                                 prem1um                                  pro rata; it will be based on the time this policy
   basis by endorsement to this policy.                                                   was in force, and increased by our short-rate
                                                                                          cancelation table and procedure. Final premium
                                                                                          will not be less than the minimum premium.
C. Remuneration
   Premium for each work classification is determined                          F.   Records
   by multiplying a rate times a premi~m basi~. Re~u­
                                                                                    You will keep records of information needed to com-
   neration is the most common premium
                                    prem1um basIs.
                                             bas1s. ThiS
                                                    Th1s
                                                                                    pute premium. You will provide us with copies of
   premium basis includes pay~oll and all .other r~mu­
   neration paid or payable durmg the policy
                                         pol1cy penod for                           those records when we ask for them.
   the services of:
   1. all your officers and employees engaged in work                          G. Audit
       covered by this policy; and                                                You will let us examine and audit all your records
   2. all other persons engaged in work that could
                                                                                  that relate to this policy. These records include ledg-
       make us liable under Part One (Workers Com-
                                                                                  ers, journals, registers, vouchers, contracts, tax re-
       pensation Insurance) of this policy. If you do not
                                                                                  ports, payroll and disbursement records, and pro-
       have payroll records for these persons, the con-                           grams for storing and retrieving d~ta. We may co~­
       tract price for their services and materials may
                                                                                  duct the audits during regular busmess hours dunng
       be used as the premium basis. This paragraph 2                             the policy period and within three years after the pol-
       will not apply if you give us proof that the em-                           icy period ends. Information developed by audit will
       ployers of these persons lawfully secured their                            be used to determine final premium. Insurance rate
                                                                                  service organizations have the same rights we have
       workers compensation obligations.
                                                                                  under this provision.




                                                                        5 of6
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 12 of 514 Page ID
                                    #:964

we 00
WC oo 00
      oo 00
         oo cC                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



                           PART SIX                                                If you die and we receive notice within thirty days af-
                          CONDITIONS                                               ter your death, we will cover your legal representa-
                                                                                   tive as insured.
A. Inspection
   We have the right, but are not obliged to inspect                          D. Cancelation
   your workplaces at any time. Our inspections are not                          1. You may cancel this policy. You must mail or de-
   safety inspections. They relate only to the insurabil-                           liver advance written notice to us stating when
   ity of the workplaces and the premiums to be                                     the cancelation is to take effect.
   charged. We may give you reports on the conditions
   we find. We may also recommend changes. While                                 2. We may cancel this policy. We must mail or de-
   they may help reduce losses, we do not undertake                                 liver to you not less than ten days advance writ-
   to perform the duty of any person to provide for the                             ten notice stating when the cancelation is to take
   health or safety of your employees or the public. We                             effect. Mailing that notice to you at your mailing
   do not warrant that your workplaces are safe or                                  address shown in Item 1 of the Information Page
   healthful or that they comply with laws, regulations,                            will be sufficient to prove notice.
   codes or standards. Insurance rate service organiza-                          3. The policy period will end on the day and hour
   tions have the same rights we have under this                                    stated in the cancelation notice.
   provision.                                                                    4. Any of these provisions that conflict with a law
                                                                                    that controls the cancelation of the insurance in
B.    Long Term Policy                                                              this policy is changed by this statement to com-
      If the policy period is longer than one year and six-                         ply with the law.
      teen days, all provisions of this policy will apply as
      though a new policy were issued on each annual                          E. Sole Representative
      anniversary that this policy is in force.                                  The insured first named in Item 1 of the Information
                                                                                 Page will act on behalf of all insureds to change this
C. Transfer of Your Rights and Duties                                            policy, receive return premium, and give or receive
                                           mav not be
   Your riQhts or duties under this policv may                                   notice of cancelation.
   transferred without our written consent. .




     IN WITNESS WHEREOF, Protective Insurance Company has caused this policy to be signed by its Offficer(s).




        PRESIDENT                                                                 SECRETARY~.~}




                                                                        6 of6
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       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 13 of 514 Page ID
                                         #:965


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      RW008962
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

MASSACH USETTS
MASSACHUSETTS


STORAGE WAREHOUSE NOC                                             8292            2,901,000            3.46         $100,375


CLERICAL                                                          8810            1,828,000             0.08           $1,462


TOTAL MANUAL PREMIUM                                                                                                $101,837


EL INCREASED LIMITS                                               9812                                 2.0%            $2,037


EXPERIENCE MOD                                                    9898                                  0.75         ($25,969)


TOTAL STANDARD EST. PREMIUM                                                                                          $77,905


EXPENSE CONSTANT                                                  0900                                                   $338


TERRORISM                                                         9740                                  0.03           $1,419


ESTIMATED ANNUAL PREMIUM                                                                                              $79,663


MA INDUSTRIAL ACCIDENT SURCHARGE                                                                      5.80%            $4,430

TOTAL AMOUNT                                                                                                          $84,093




                                             Decl. Barnett, Ex. A-8
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 14 of 514 Page ID
                                         #:966


                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      RW008962
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

OREGON


CLERICAL                                                        8810             IF ANY
                                                                                 IFANY                0.16               $0


TOTAL STANDARD EST. PREMIUM                                                                                              $0


CATASTROPHE                                                     9741                                  0.02               $0


TERRORISM                                                       9740                                  0.02               $0


ESTIMATED ANNUAL PREMIUM                                                                                                 $0


OR PREMIUM ASSESSMENT                                                                               6.20%                $0

TOTAL AMOUNT                                                                                                             $0




                                           Decl. Barnett, Ex. A-9
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 15 of 514 Page ID
                                         #:967


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE-- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      RW008962
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER$100 OF      ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

WISCONSIN
WiSCONSIN


CEREAL OR BAR MFG                                               2016           10,548,000             2.04        $215,179


PRINTING                                                        4299            2,396,000             2.65         $63,494


PHARMACEUTICAL OR SURGICAL GOODS MFG.                           4693              921,000             1.32         $12,157


FOOD SUNDIRES MFG NOC                                           6504           4,183,000              3.88        $162,300


STORAGE WAREHOUSE NOC                                           8292           4,854,000              7.66        $371,816


CLERICAL                                                        8810           1,369,000              0.24          $3,286


TOTAL MANUAL PREMIUM                                                                                              $828,233


E.L. INCREASED LIMITS                                           9812                                 2.8%          $23,191


EXPERIENCE MOD                                                  9898                                  0.75       ($212,857)


TOTAL STANDARD EST. PREMIUM                                                                                       $638,567


TERRORISM                                                       9740                                  0.02           $4,854


CATASTROPHE                                                      9741                                 0.01           $2,427


TOTAL AMOUNT                                                                                                      $645,849




                                          Decl. Barnett, Ex. A-10
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 16 of 514 Page ID
                                   #:968




                                              ENDORSEMENT

This endorsement, effective on               01/01/2017            at 12:01 A.M. standard time, forms a part of

Policy No.      RW008962                 Policy effective on       01/01/2017

Of the          Protective Insurance Company, Carrier Code 14788

Issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By              Protective Insurance Company



                                                                            Authorized Representative


It is hereby understood and agreed the reporting provisions of this policy require that the Insured report as payroll
and pay premium based on 33.3% of all amounts paid by the Insured to independent contractors. This percentage
applies to all states except California, Minnesota and Oregon where the Insured will report as payroll and pay
premium based on 25% of all amounts paid by the Insured to independent contractors.

These provisions apply to all independent contractors for whom the Insured does not maintain a certificate of
insurance evidencing valid Workers Compensation coverage, or for whom the Company does not provide work
accident insurance coverage.

All other terms and conditions of this policy remain the same.




 Endorsement No.

 WC1 0011C (6/01)                      Decl. Barnett, Ex. A-11
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 17 of 514 Page ID
         (This Attaching Clause need be completed only when this#:969
                                                                 endorsement is issued subsequent to preparation of the policy.)


                                             ENDORSEMENT

This endorsement, effective on                 01/01/2017
                                               01/0112017              at 12:01 A.M. standard time, forms a part of

Policy No.      RW008962                   Policy effective on         01/01/2017

Of the          Protective Insurance Company, Carrier Code 14788

Issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By              Protective Insurance Company




                                                                                  Authorized Representative


 It is hereby understood and agreed that the following Named Insured's and Locations are included:

                                              NAMED INSURED SCHEDULE

  Name Link                                                                                                      NAICS
                                          Insured Name                                         FEIN
    Code                                                                                                         Code
                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT
         001      MANAGEMENT                                                               010759364            561320
                  PERSONNEL STAFFING GROUP, LLC DBA MOST
         002
                  VALUABLE PERSONNEL
                                                                                           010759364            561320

         003      PERSONNEL STAFFING GROUP, LLC DBA BALANCE                                010759364            561320


                                                   LOCATION SCHEDULE

  Name Link                                                               No. of                                 NAICS
                                      Address                                                 Ul No.
                                                                                              UI
    Code                                                                Employees                                Code
                  1751 LAKE COOK ROAD, SUITE 600
         001
                  DEERFIELD, IL 60015
                                                                              1                                  561320
                  7525 45TH
                       45TH AVENUE
         002      PLEASANT PRAIRIE, WI 53142
                                                                              3                                  561320
                  198 TREMONT
         002
                  BOSTON, MA 02116
                                                                              2                                  561320
                  198 TREMONT
         003
                  BOSTON, MA 02116
                                                                              2                                  561320


  All other terms and conditions of this policy remain the same.

  Endorsement No.
                                              Decl. Barnett, Ex. A-12
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 18 of 514 Page ID
                                   #:970
             (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)




                                                         ENDORSEMENT

This endorsement, effective on                01/01/2017                 at 12:01 A.M. standard time, forms a part of

Policy No.       RW008962                     policy effective on                   01/01/2017

Of the           Protective Insurance Company, Carrier Code 14788

Issued to        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By               Protective Insurance Company




                                                                                                Authorized Representative


It is hereby understood and agreed that the tax multiplier(s) for this policy are estimates only and will be
adjusted annually to correspond to the actual taxes and assessments incurred by the company.

All other terms and conditions of this policy remain unchanged.




Endorsement No.

WC1001
WC1 001 (6/01)                                   Decl. Barnett, Ex. A-13
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 19 of 514 Page ID
WORKERS                                #:971INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           WC000104A
                                                                       WC0001 04A

                                                                                                                       (Ed. 10-04)


                           FEDERAL EMPLOYERS' LIABILITY ACT COVERAGE ENDORSEMENT

This
This endorsement applies only to work subject to the Federal Employers' Liability Act (45 USC Sections 51-60) and
any
any amendment
     amendment to that Act that is in effect during the policy period.

G.
G. Limits
   Limits of Liability of Part Two (Employers Liability Insurance) is replaced by the following:
   G.
   G. Limits of Liability
      Our liability to pay for damages is limited. Our limits of liability are shown in the Schedule. They apply as
      explained below:

          1. Bodily Injury by Accident. The limit shown for "bodily injury by accident-each accident" is the most we
             will pay for all damages covered by this insurance because of bodily injury to one or more employees in
             anyone
             any one accident.

               A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

          2.   Bodily Injury by Disease. The limit shown for "bodily injury by disease-aggregate" is the most we will pay
               for all damages covered by this insurance because of bodily injury by disease to one or more employees.
               The limit applies separately to bodily injury by disease arising out of work in each state shown in Item 3.A.
               of the Information Page or in the Schedule.
               Bodily injury by disease does not include disease that results directly from bodily injury by accident.

          3.   We will not pay any claims for damages after we have paid the applicable limit of our liability under this
               insurance.

     any state is named in Item 2 of the Schedule, Part Two (Employers Liability Insurance) applies in that state to work
IfIf any
subject to the Federal Employers' Liability Act as though that state were listed in Item 3.A. of the Information Page.
subject
Part One (Workers Compensation Insurance) does not apply in a state shown in the Schedule.
Part

 Part Two (Employers Liability Insurance), C. Exclusions, exclusion 9, does not apply to work subject to the Federal
 Part
 Employers' Liability Act.
 Employers'

                                                                 Schedule

 1. Limits
 1. Limits of Liability

    Bodily Injury by Accident
    Bodily                                                                                      $ 11,000,000
                                                                                                    ,000,000 each accident

    Bodily Injury by Disease
    Bodily                                                                                      $ 1,000,000 aggregate

 2. State
 2. State


    This endorsement
    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.


  (The information
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Policy Effective
Policy Effective              01/01/2017
Endorsement Effective
Endorsement                   01/01/2017                         Policy No. RW008962                       Endorsement No.
Insured
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



Insurance Company
Insurance
we oo
          Company                                          Countersigned
                                                           Countersigned by   --'-~t            _
                                                                         by-----'-~-----~--------
 © 2004
 ©
       01 04A
WC 00 01  04A
   2004 National
        National Council
                 Council on
                                                     Decl. Barnett, Ex. A-14
                         on Compensation Insurance, Inc.
         Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 20 of 514 Page ID
                                           #:972




                               WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                                 we 00
                                                                 WC oo 01 06 A
                 LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                             COVERAGE ENDORSEMENT
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
          (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                           01/01/2017                   at 12:01 A.M. standard time, forms a part of
                                                            (DATE)

Policy No.           RW008962

of the               Protective Insurance Company
                     (NAME OF INSURANCE COMPANY)

issued to            PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                        .11
                                                                                                                 ./1
Premium                   ·.                                                                  IAAdcr
                                                                                            Authorized Representative

This endorsement applies only to work subject to the Longshore and Harbor Workers' Compensation Act in a state shown
in the Schedule. The policy applies to that work as though that state were listed in Item 3.A. of the Information Page.
General Section C. Workers' Compensation Law is replaced by the following:
C. Workers' Compensation Law
    Workers' Compensation Law means the workers or workmen's compensation law and occupational disease law of
    each state or territory in Item 3.A. of the Information Page and the Longshore and Harbor Workers' Compensation Act
    (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during the policy period. It
    does not include any other federal workers or workmen's compensation law, other federal occupational disease law or
    the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8., does not apply to work subject to the Longshore
and Harbor Workers' Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or the
Nonappropriated Fund Instrumentalities Act.
                                                                     Schedule
State                                                                                   Longshore and Harbor Workers'
                                                                                     Compensation Act Coverage Percentage
Each state named in Item 3.A. or 3.C.                                                       Percentages as promulgated
of the Information Page                                                                     byNCCI
                                                                                            by NCCI

The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to the
Longshore and Harbor Workers' Compensation Act. If this policy covers work under such classifications, and if the work is
subject to the Longshore and Harbor Workers' Compensation Act, those non-F classification rates will be increased by the
Longshore and Harbor Workers' Compensation Act Coverage Percentage filed by the insurance company.




we 578 (11-95)
WC
we 00
WC oo 0106
      01 06 A                                        Decl. Barnett, Ex. A-15                                                            Page 1 of 1
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 21 of 514 Page ID
                                       #:973 INSURANCE POLICY
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                             we
                                                                                                          WC oo
                                                                                                             00 03 01 A
                                                                                                                      A

                                                                                                                (Ed. 2-89)

                                             ALTERNATE EMPLOYER ENDORSEMENT

This endorsement applies only with respect to bodily injury to your employees while in the course of special or
temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer is
insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to work
you perform under the contract or at the project named in the Schedule.

Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits required
by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled to them.

The insurance afforded by this endorsement is not intended to satisfy the alternate employer's duty to secure its
obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the alternate
employer with any government agency.

We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.

Premium will be charged for your employees while in the course of special or temporary employment by the alternate
employer.

The policy may be canceled according to its terms without sending notice to the alternate employer.

Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
recognize our right to defend under Parts One and Two and our right to inspect under Part Six.

                                                             Schedule

1. Alternate Employer                                                                   Address
   Where required by written contract
2. State of Special or Temporary Employment

3. Contract or Project




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise
                                                         stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. RW008962               Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        Premium



  Insurance Company           Protective Insurance Company                      _.::...~cf
                                                                              bY_--,,-~_·
                                                                Countersigned by _        _______
                                                                                         cf_·
                                                                                     ______     _
  1984, 1988
© 1984,
©       1988 National                              Decl. Barnett, Ex. A-16
             National Council on Compensation Insurance.
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 22 of 514 Page ID
                                       #:974INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 000313
                                                                        WC oo 0313
                                                                                                                         (Ed. 4-84)

                         WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce
our right against the person or organization named in the Schedule. (This agreement applies only to the extent that
you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                             Schedule


Where required by written contract




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective              01/01/2017
   Endorsement Effective         01/01/2017                         Policy No. RW008962                          Endorsement No.
   Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          /J
                                                                                                               .//'     Premium

   Insurance Company           Protective Insurance Company         Countersigned by   --"'~-----C('---"--------
                                                                                       _.J<:~              cr---,,-                _



   we 00
   WC   oo 0313
   (Ed. 4-84)



                                                      Decl. Barnett, Ex. A-17
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 23 of 514 Page ID
                                       #:975INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we
                                                                          WC oo
                                                                             00 04 04

                                                                                                                          (Ed. 4-84)

                                            PENDING RATE CHANGE ENDORSEMENT

A
A rate change filing is being considered by the proper regulatory authority. The filing may result in rates different from
the rates shown on the policy. If it does, we will issue an endorsement to show the new rates and their effective date.

If only one state is shown in Item 3.A. of the Information Page, this endorsement applies to that state. If more than one
state is shown there, this endorsement applies only in the state shown in the Schedule.




                                                              Schedule



State

MASSACHUSETS, OREGON, WISCONSIN




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective              01/01/2017
                                0110112017
  Endorsement Effective         01/01/2017
                                0110112017                          Policy No. RW008962                       Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



  Insurance Company                                                Countersigned by
                                                                   Countersigned by   -~~------cf-"---------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we
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                                         ANNIVERSARY RATING DATE ENDORSEMENT

The premium and rates for this policy, and the experience rating modification factor, if any, may change on your
anniversary rating date shown in the Schedule.



                                                             Schedule


Anniversary Rating Date 06 (Month) 30 (Day)




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. RW008962                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                    /J           Premium

  Insurance Company          Protective Insurance Company                          --~
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                                                                 Countersigned by ___ _ _ _ _



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
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                                NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                      Policy No. RW008962                          Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT              /J
                                                                                                   IJ                 Premium

  Insurance Company           Protective Insurance Company        Countersigned by               ~tf
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             WC000419

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                                                PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                             PART FIVE
                                                             PREMIUM




D.      Premium is amended to read:
        You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
        not valid. The due date for audit and retrospective premiums is the date of the billing.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


     Policy Effective           01/01/2017
     Endorsement Effective      01/01/2017                         Policy No. RW008962                           Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         .   IJ
                                                                                                                 /J     Premium

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                                                     TERRORISM) PREMIUM ENDORSEMENT
           CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM}

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may occur in
the event of a Catastrophe (other than Certified Acts of Terrorism) as that term is defined below. Your policy provides
coverage for workers compensation losses caused by a Catastrophe (other than Certified Acts of Terrorism). This
premium charge does not provide funding for Certified Acts of Terrorism contemplated under the Terrorism Risk
Insurance Program Reauthorization Act Disclosure Endorsement (WC 00     000422
                                                                           04 22 B), attached to this policy.

For purposes of this endorsement, the following definitions apply:
•   Catastrophe (other than Certified Acts of Terrorism): Any single event, resulting from an Earthquake, Noncertified
    Act of Terrorism, or Catastrophic Industrial Accident, which results in aggregate workers compensation losses in
    excess of $50 million.
•   Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along a
    fault plane or from volcanic activity.
•   Noncertified Act of Terrorism: An event that is not certified as an Act of Terrorism by the Secretary of Treasury
    pursuant to the Terrorism Risk Insurance Act of 2002 (as amended) but that meets all of the following criteria:
    a.     It is an act that is violent or dangerous to human life, property, or infrastructure;
    b.     The act results in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or air carriers or vessels as those terms are defined in the Terrorism
           Risk Insurance Act of 2002 (as amended); and
    c.     It is an act that has been committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
•     Catastrophic Industrial Accident: A chemical release, large explosion, or small blast that is localized in nature and
      affects workers in a small perimeter the size of a building.
The premium charge for the coverage your policy provides for workers compensation losses caused by a Catastrophe
                                                     !tem 4 of the Information Page or in the Schedule be!ow.
(other than Certified Acts of Terrorism) is shown in Item                                              below.


                                                                     Schedule



                           State                                          Rate                         Premium




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective             01/01/2017
    Endorsement Effective        01/01/2017                              Policy No. RW008962                   Endorsement No.
    Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                 /J
                                                                                                      IJ               Premium

    Insurance Company         Protective Insurance Company                 Countersigned by         ~tf
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          TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Program Reauthorization Act of 2015. It serves to notify you of certain limitations
under the Act, and that your insurance carrier is charging premium for losses that may occur in the event of an Act of
Terrorism.
Your policy provides coverage for workers compensation losses caused by Acts of Terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.
Definitions
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.
"Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments thereto, including any amendments resulting from the Terrorism Risk Insurance Program
Reauthorization Act of 2015.
"Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary of
Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
a. The act is an act of terrorism.
b. The act is violent or dangerous to human life, property or infrastructure.
c.      The act resulted in damage within the United States, or outside of the United States in the case of the premises of
        United States missions or certain air carriers or vessels.
d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian population of
   the United States or to influence the policy or affect the conduct of the United States Government by coercion.
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war, in the case of workers compensation) that is covered by primary or excess property and casualty insurance
issued by an insurer if the loss occurs in the United States or at the premises of United States missions or to certain
air carriers or vessels.
"Insurer Deductible" means, for the period beginning on January 1, 2015, and ending on December 31, 2020, an
                                  earned premiums, during the immediately preceding calendar year.
amount equal to 20% of our direct earned.premiums,
Limitation of Liability
The Act limits our liability to you under this policy. If aggregate Insured Losses
                                                                            LosseS exceed $100,000,000,000 in a calendar
year and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the amount of
Insured Losses that exceeds $100,000,000,000; and for aggregate Insured Losses up to $100,000,000,000, we will
pay only a pro rata share of such Insured Losses as determined by the Secretary of the Treasury.
Policyholder Disclosure Notice
1. Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry Insured
   Losses exceed:
        a.           $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
                     Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
         b. $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
            Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
        c.           $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
                     Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
         d. $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
            Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
         e. $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
                                  81%
            Government would pay 81 % of our Insured Losses that exceed our Insurer Deductible.
         f.          $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
                                                                                               Decl. Barnett, Ex. A-23
                     Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.
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2.     Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
       portion of Insured Losses that exceed $100,000,000,"000.
3. The premium charge for the coverage your policy praovides for Insured Losses is included in the amount shown in
   Item 4 of the Information Page or in the Schedule below.
                                                     bel ow.




                        State                                                Rate                          Premium




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/01/2017
     Endorsement Effective       01/01/2017                                Policy No. RW008962                  Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA
                                                               D SA BARNETT MANAGEMENT                     /J
                                                                                                           ;J           Premium

     Insurance Company         Protective Insurance Company                                ----'~'-----tf-=---------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 00
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                                      AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT

Part Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as specified
under the policy.



                                                                    Schedule


                                                             Basis of Audit                                Maximum
                    State{s)                                                                      Audit Noncompliance Charge
                                                          Noncompliance Charge
                                                                                                           Multiplier

                       WI                                            $725,511                                   2




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                              Policy No. RW008962                  Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT. /}                   IJ       Premium

 Insurance Company             Protective Insurance Company                              ----=--~----1'-=----------
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                            RETROSPECTIVE RATING PLAN PREMIUM ENDORSEMENT
                                            ONE-YEAR PLAN

This endorsement is added to Part Five (Premium) because you chose to have the cost of the insurance rated
retrospectively. This endorsement explains the rating plan and how the retrospective rating plan premium will be
determined.
This endorsement applies in the states listed in the Schedule. It determines the retrospective rating plan premium for
the insurance provided during the rating plan period by this policy and any policy listed in the Schedule. The rating
plan period is the one-year period beginning with the effective date of this endorsement.
The amount of retrospective rating plan premium depends on five standard elements and two elective elements.
A. Retrospective Rating Plan Premium Standard Elements
   The five standard elements are explained here.
   1. Standard premium is the premium we would charge during the rating plan period if you had not chosen a
       retrospective rating plan. Standard premium does not include the following elements and any other elements
       excluded based on our manuals:
        • Premium discount
        • Expense constant
        • Premium resulting from the nonratable element codes
        • Premium developed by the occupational disease rates for employers subject to the Federal Mine Safety
            and Health Act
         •   Premium developed by the catastrophe provisions
    2. Basic premium is less than standard premium. It is standard premium multiplied by a percentage called the
        basic premium factor. The basic premium factor varies depending on the total amount of standard premium.
        The basic premium factor includes:
         • General administration costs of the carrier
                    !oss control services
         • Cost of loss
         • Insurance charge
        The basic premium factor does not cover premium taxes or claims adjustment expenses. Those elements are
        usually provided for in the tax multiplier and the loss conversion factor.
       The Schedule shows a range of basic premium factors for differing amounts of estimated standard premium.
       The actual basic premium factor will be determined after the standard premium is determined. If earned
       standard premium is not within the range of the estimated standard premiums shown in the Schedule, the
       basic premium will be recalculated.
                                             pay or estimate we will pay for losses, interest on judgements, expenses
    3. Incurred losses are all amounts we payor
       to recover against third parties, and employers liability loss adjustment expenses. This includes paid and
       outstanding losses (including any reserves set on open claims). If the allocated loss adjustment expense
       (ALAE) option is elected, then incurred losses will include ALAE.

        Note: The rating formula for incurred losses will not include a loss for the following elements or any other
        elements excluded from our manuals, as applicable:
         • Resulting from the nonratable element codes
         • For the disease-related portion of losses covered under the Federal Mine Safety and Health Act
         • Resulting from the application of catastrophe provisions
         • Reported as fully fraudulent
         • Reported as noncompensable
    4. Converted incurred losses are based on the incurred losses for a policy or policies to which the retrospective
       rating plan applies. A loss conversion factor is applied to incurred losses to produce the converted incurred
       losses. The loss conversion factor is shown in the Schedule.
    5. Taxes are a part of the premium we collect. Taxes are determined as a percentage of basic premium,
       converted incurred losses, and any elective elements. The percentage is called the tax multiplier. It varies by
       state and by federal and nonfederal classifications. The tax multipliers are shown in the Schedule.


                                                            Page 1 of 4
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B.
B. Retrospective Rating Plan Premium Elective Elements
   Two other elements are included in determining retrospective rating plan premium if you elected to include them.
   They are the excess loss premium for the loss limitation and the retrospective development premium. They are
   explained here.
   1. The election of a loss limitation means that the amount of incurred loss to be included in the retrospective
       rating plan premium is limited to an amount called the loss limitation. The loss limitation applies separately to
       each person who sustains bodily injury by disease and separately to all bodily injury arising out of any
                                                                                                             anyone
                                                                                                                 one
       accident.
       The charge for this loss limitation is called the excess loss premium. Excess loss premium is a percentage of
       standard premium multiplied by the loss conversion factor. The percentage is called the excess loss premium
       factor.
       Excess loss premium factors vary by state, by classification, and by the amount of the loss limitation. If you
       chose this elective element, the loss conversion factor, the loss limitation, the excess loss premium factors,
       and the states where they apply are shown in the Schedule.
   2. The retrospective development element is used to help stabilize premium adjustments. The premium for this
       element is charged with the first three calculations of a retrospective rating plan premium and is called the
       retrospective development premium. It is a percentage of standard premium multiplied by the loss conversion
       factor. The percentage of standard premium is called the retrospective development factor.
       Retrospective development factors vary by state, by electing a loss limitation, and by first, second, and third
       calculations of retrospective rating plan premium. If you chose this elective element, the retrospective
       development factors are shown in the Schedule.

C. Retrospective Rating Plan Premium Formula
   Insurance policies listed in the Schedule will be combined with this policy to calculate the retrospective rating plan
   premium. If the policies provide insurance for more than one insured, the retrospective rating plan premium will be
   determined for all insureds combined, not separately for each insured.
   1. Retrospective rating plan premium is the sum of basic premium, converted losses, plus the excess loss
       premium and retrospective development premium elective elements if you chose them. This sum is multiplied
               appiicabie tax multiplier
       by the applicable      muitipiier shown in the Schedule.
   2. The retrospective rating plan premium will not be less than the minimum or more than the maximum
       retrospective rating plan premium. The minimum and maximum retrospective rating plan premiums are
       determined by applying the minimum and maximum retrospective rating plan premium factors, shown in the
       Schedule, to the standard premium.
   3. If this endorsement applies to more than one policy or state, the standard premium will be the sum of the
       standard premiums for each policy and state.

D. Calculation of Retrospective Rating Plan Premium
   1. We will calculate the retrospective rating plan premium using all loss information we have as of a date six
       months after the rating plan period ends and annually thereafter.
       We may make a special valuation of a retrospective rating plan premium as of any date that you are declared
       bankrupt or insolvent, make an assignment for the benefit of creditors, are involved in reorganization,
       receivership, or liquidation, or dispose of all your interest in work covered by the insurance. You will pay the
       amount due to us if the retrospective rating plan premium is more than the total standard premium as of the
       special valuation date.
   2, After any calculation of retrospective rating plan premium, you and we may agree that it is the final
   2..
       calculation.
   3. After each calculation of the retrospective rating plan premium, you will pay promptly the amount due us, or
       we will refund the amount due you. Each insured is responsible for the payment of all standard premium and
       retrospective rating plan premium calculated under this endorsement.

E. Insureds Operating in More Than One State
E.
   If any of the policies provide insurance in a state not listed in the Table of States, and if you begin work in that
   state during the retrospective rating plan period, this endorsement will apply to that insurance if this retrospective
   rating plan applies in that state on an interstate basis. The retrospective rating plan premium standard elements,
   and the elective elements you chose, will be determined by our manuals for that state, and added to the Schedule
   by endorsement.
                                                            Page 2 of4

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                                            we
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F.
F. Cancellation of a Policy Under a Retrospective Rating Plan
   1. If the policy to which this endorsement is attached is cancelled, the effective date of the cancellation will
      become the end of the rating plan period of all insurance subject to this endorsement.
   2. If other policies listed in the Schedule of this endorsement are cancelled, the effective date of cancellation will
      become the end of the rating plan period for all insurance subject to this endorsement unless we agree with
      you, by endorsement, to continue the rating plan period.
   3. If we cancel for nonpayment of premium, the maximum retrospective rating plan premium will be based on the
      standard premium for the rating plan period, increased pro rata to 365 days, and will include all of the
      applicable retrospective rating plan factors shown in the Schedule.
   4. If you cancel, the standard premium for the rating plan period will be increased by our short rate table and
      procedure. This short rate premium will be the minimum retrospective rating plan premium and will be used to
      determine the basic premium.
      The short rate premium will be used to determine the excess loss premium and retrospective development
      premium if you chose these elective elements.
      The maximum retrospective rating plan premium will be based on the standard premium for the rating plan
      period, increased pro rata to 365 days.
   5. Section F.4.
                F .4. will not apply if you cancel because:
      a. All work covered by the insurance is completed
      b. All interest in the business covered by the insurance is sold
      c. You retire from all business covered by the insurance



                                                                     Schedule

1. Other policies subject to this Retrospective Rating Plan Premium Endorsement



2. Loss Limitation: $ 500,000

3. Loss Conversion Factor             1.090

    Minimum Retrospective Rating Plan Premium Factor                        Basic x Tax

    Maximum Retrospective Rating Plan Premium Factor                        Unlimited

4. The basic premium factors shown here are based on estimates of standard premium. If the actual standard
   premium is within the range of estimated standard premiums shown here, the basic premium factor will be
   obtained by linear interpolation to the nearest one-tenth of 1%.
                                                                1%. If the actual standard premium is not within the
   range of estimated standard premiums, shown below, the basic premium factor will be recalculated.

                                                                          50%                             100%                              150%

     Estimated Standard Premium:                                $_ _ _ __                 $                     4c:....::
                                                                                                                    72=--_
                                                                                            _ _:7_.c1...::..c6,c...::.4c:....::72=---
                                                                                          $_---=7---=1--'-'6,c...::.                    $_ _ _ __
                                                                $-----                                                                  $-----
     Basic Premium Factor:                                                                                0.237

5. The tax multipliers, excess loss premium factors, and retrospective development factors, and the states where
   they apply, are shown in the Table of States.




                                                    Decl. Barnett, Ex. A-28
                                                                           3 of4
                                                                      Page 30f4
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 34 of 514 Page ID
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      os 03 Cc                       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



TABLE OF STATES

                        Excess Loss Premium Factors                         Tax Multiplier                    Retrospective
                                                                                                              Development
                                                                                                                Factors
                           State              Federal               State                 Federal
                       (Other than         «IF"
                                           ("F" Classes         (Other than            «IF" Classes
                                                                                       ("F"
       State          (IF"                                                                              1st      2nd          3rd
                      "F" Classes)             Onlv)
                                               Only)           (IF"
                                                               "F" Classes)                Onlv)
                                                                                           Only)




  MA                                                        1.03687                These tax
                                                                                   multipliers are
                                                                                   adjustable. See
                                                                                   endorsements:
                                                                                   WC1001
  WI                                                        1.03687
                                                                                   &
                                                                                   WC200501




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective           01/01/2017
   Endorsement Effective      01/01/2017                          Policy No. RW008962                          Endorsement No.

   Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENh                                    Premium


   Insurance Company        Protective Insurance Company            Countersigned by    ---"'~-----1:"'-----------
                                                                                        --",~ cr",--             _

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           os 03 Cc
   (Ed. 1-15)




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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 35 of 514 Page ID
                                       #:987INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we 00
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                                                                                                                         (Ed. 01-10)

                                                    ENDORSEMENT-FLEXIBILITY OPTIONS
                  RETROSPECTIVE RATING PLAN PREMIUM ENDORSEMENT-FLEXIBILITY



This endorsement is added to Part Five (Premium) because you chose to have the cost of the insurance rated
retrospectively.

The retrospective rating plan premium endorsement attached to the policy is changed by the selection of one or more of
the options shown below in the Schedule.




                                                                     Schedule


1.     Incurred losses are changed to include allocated loss adjustment expense in these states:
       All states listed in item 3A of the Information Page.

2.     The correctly calculated basic premium factor for 100% of the estimated standard premium shall be used without
       linear interpolation, for each calculation of retrospective premium.

3.     Each calculation of retrospective rating plan premium will use all loss information we have as of a date agreed to by
       you and us.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/0112017
                                 01/01/2017
     Endorsement Effective       01/01/2017                               Policy No. RW008962                   Endorsement No.
     Insured                                                               r~N~GEMEY
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNETT r~N~GEMEY                         /J         Premium

     Insurance Company         Protective Insurance Company                               by___,~~-----
                                                                           Countersigned by ---'~~ 'et'--'=--
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     WC   oo 0515 A
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 20 03 01
                                                                        WC

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                                   MASSACHUSETTS LIMITS OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Massachusetts is listed in Item 3.A. of the Information Page.

Our liability to you under Section 25 of Chapter 152 of the General Laws of Massachusetts is not subject to the limit of
liability that applies to Part Two (Employers Liability Insurance).




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017

  Endorsement Effective          01/01/2017                      Policy No. RW008962                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                  Premium


  Insurance Company           Protective Insurance Company         Countersigned by   ---~
                                                                                       ~cf ________
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 37 of 514 Page ID
                                       #:989INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we
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                                           MASSACHUSETTS-ASSESSMENT CHARGE

Massachusetts General Laws, Chapter 152, Section 65, as amended by Chapter 572 of the Acts of 1985, establishes a
workers compensation special fund and a workers compensation trust fund.

On behalf of the Department of Industrial Accidents (DIA), the insurance company providing workers compensation
coverage is required to bill and collect an assessment charge covering the special and trust funds from insured
employers and remit the amounts collected to the State Treasury.

The assessment charge, which is determined by applying a rate (subject to annual change) to the DIA's standard
premium, as defined and outlined in 452 CMR 7.00, developed under your policy, is shown as a separate item on the
information page of the policy. The rate may be different for private employers and for the Commonwealth and its
political subdivisions.

The income derived from the assessment charge will be used to fund the operating expenses of the DIA and to fund
certain employee benefits as described in Chapter 152.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                              Policy No. RW008962                  Endorsement No.

  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium


  Insurance Company           Protective Insurance Company                 Countersigned by   ~c('
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                                       #:990INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we          o
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                             MASSACHUSETTS NOTICE TO POLICYHOLDER ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Massachusetts is shown in Item 3.A. of
the Information Page.

1.   Rates and Premium
     The policy contains rates and classifications that apply to your type of business. If you have any questions
     regarding the rates or classifications, please contact your agent or us.
     You may obtain pertinent rating information by submitting a written request to the Workers' Compensation Rating
     and Inspection Bureau of Massachusetts at the address shown in this endorsement or to us at our company
     address shown on this endorsement. We may require you to pay a reasonable charge for furnishing the
     information.
     You may also submit a written request for a review of the method by which your classification, rates, premiums or
     audit results were determined. If we fail to grant or reject your request within thirty days after it is made or if you are
     not satisfied by the results of our review, you may submit a written request for review to the Workers'
     Compensation Rating and Inspection Bureau of Massachusetts ("WCRIBMA") at the address shown in this
     endorsement. If the WCRIBMA fails to grant or reject your request within thirty days after it is made or [ijf  [i]f you are
     not satisfied with the results of the WCRIBMA review, you may appeal to the Commissioner of Insurance at the
     address shown in this endorsement.

2.   Reserves or Settlements
     You may request a loss run, which contains reserve and settlement information for claims that relate to the
     premium for this policy. Such a request must be in writing and should be sent to our address shown on this
     endorsement. We will provide you with that information within thirty (30) days of receipt of your request, and at
     reasonable intervals thereafter.
     If you have any questions or believe that we set unreasonable reserves or made unreasonable settlements that
     affected your premiums or losses, you may make a written request through your agent or directly to us for a
     meeting with our company representative. if you are not satisfied with the results
                                                                                resuits of the meeting, you may make a
     written appeal to the Insurance Commissioner at the address shown on the endorsement.


3.   Named Insured
     You are responsible for immediately reporting all changes in name or legal status to us in writing at the company
     address shown in this Endorsement.
     If you want to add a named insured or replace the named insured with another legal entity on any policy issued
     through the Massachusetts Assigned Risk Pool you must submit a new Assigned Risk Pool Application, including a
     Confidential Request for Information Form (ERM), to the Workers' Compensation Rating and Inspection Bureau of
     Massachusetts at the address shown in this Endorsement.

4.    Insured's Mailing Address
      Notices relating to this Policy will be mailed or delivered to your mailing address. Your mailing address is that which
      is shown in Item 1 of the Information Page or in a change of address Endorsement to the Policy. You are
      responsible for notifying us in writing at the company address shown in this Endorsement about any change to your
      mailing address.




                                                                    Page 1 or 2

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 39 of 514 Page ID
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WC                                    #:991 AND EMPLOYERS LIABILITY INSURANCE POLICY
                       WORKERS COMPENSATION

(Ed. 8-10)
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                                                                      Addresses


The Workers' Compensation Rating and                                                                 Assurance Agency, Ltd.
Inspection Bureau of Massachusetts                                                                   1750 E. Golf Road,
Attention: Customer Service Department                                                               Suite 1100
101
101 Arch Street, 5th Floor                                                                           Schaumburg, IL 60173
Boston, MA 02210
             0221 0
www.wcribma.org

Commissioner of Insurance
Division of Insurance
Department of Banking and Insurance
1000 Washington St 8th Floor
Boston, MA 02118-2218




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective                01/01/2017
  Endorsement Effective           01/01/2017                              Policy No. RW008962                 Endorsement No.
  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J        Premium

  Insurance Company            Protective Insurance Company                                --~"------C(-=----------
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                                                                             Countersigned by _ _                 _



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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 40 of 514 Page ID
                                       #:992INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we       os
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                                  MASSACHUSETTS PREMIUM DUE DATE ENDORSEMENT



Section D. of Part Five of the policy is replaced by this provision:


                                                          PART FIVE
                                                          PREMIUM


D.    Premium Payments is amended to read:

      You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
      not valid. The audit and retrospective premiums shall be paid by the due date indicated on the billing
      statement.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                      Policy No. RW008962                           Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                   J'i'          Premium

 Insurance Company            Protective Insurance Company       Countersigned by   --"~'-------C(-=---------
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                                       #:993 INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we
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                                                                            200501

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                              MASSACHUSETTS RETROSPECTIVE PREMIUM ENDORSEMENT
                                             FLEXIBILITY OPTIONS

The Retrospective Premium Endorsement attached to the policy is changed by the information shown in the Schedule.


                                                             Schedule


1. Incurred losses are changed to include allocated loss adjustment expense in Massachusetts.

2.   Each calculation of retrospective premium will use all loss information we have as of a date agreed to by you and
     us.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective             01/01/2017
Endorsement Effective        01/01/2017                      Policy No. RW008962                           Endorsement No.
Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT M?N_A~EMEY
                                                                       M?N.A~EMEY                     /J
                                                                                                      IJ           Premium

Insurance Company          Protective Insurance Company                       by----'-~-----
                                                               Countersigned by _----'-~ ''C(
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                                                                                             ________

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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 42 of 514 Page ID
                                       #:994INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we 20 os
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                                      MASSACHUSETTS CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Massachusetts is shown in Item 3.A. of
the Information Page.

The Cancellation Condition of the policy is replaced by the following:

Cancellation
1.      You may cancel this policy by mailing or delivering to us advance written notice requesting cancellation. Such
        cancellation shall not be effective until ten days after written notice is given by us to The Workers' Compensation
        Rating and Inspection Bureau of Massachusetts (Bureau), or until notice has been received by the Bureau that you
        have secured insurance from another insurance company, whichever occurs first. Our notice to the Bureau may be
        given by electronic transmission.


2.      We may cancel this policy only if based on one or more of the following reasons: (i) nonpayment of premium; (ii)
        fraud or material misrepresentation affecting your policy; or (iii) a substantial increase in the hazard insured
        against. Such cancellation shall not be effective until ten days after written notice is given by us to you and The
        Workers' Compensation Rating and Inspection Bureau of Massachusetts (Bureau), or until notice has been
        received by the Bureau that you have secured insurance from another insurance company, whichever occurs first.
        Our notice to the Bureau may be given by electronic transmission.


3.      We will mail or deliver the notice of cancellation to you at your last address, which shall be the mailing address
        shown in Item 1 of the Information Page or the change of mailing address shown in an Endorsement to the Policy.
        Pursuant to M.G.L. Chapter 175, Section 187C, a written notice of cancellation shall be deemed effective when
        mailed by us if we obtain a certificate of mailing receipt from the United States Postal Service showing your name
        and address as stated in the policy.

4.      Any of these provisions that conflict with the law that controls the cancellation of this insurance policy is changed by
        this statement to comply with the law.                                                                            .·   .·




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/01/2017
     Endorsement Effective       01/01/2017                              Policy No. RW008962                    Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT            /J
                                                                                                 /1                     Premium

     Insurance Company        Protective Insurance Company                  Countersigned by   ~et'
                                                                                                ct'

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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 43 of 514 Page ID
                                       #:995INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             WC 36 03 o6
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                                         OREGON LIMITS OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Oregon is shown in Item 3.A. of the
Information Page.

The limits of our liability under Part Two of the policy are:


         Bodily Injury by Accident $1,000,000             or the amount shown in Item 3.B. of the Information Page,
                                                          whichever is greater, each accident

         Bodily Injury by Disease          $1,000,000     or the amount shown in Item 3.B. of the Information Page,
                                                          whichever is greater, policy limit

         Bodily Injury by Disease          $1,000,000     or the amount shown in Item 3.B. of the Information Page,
                                                          whichever is greater, each employee


This change applies to the insurance this policy provides for Oregon operations only.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. RW008962                           Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        .     .   fiemium

  Insurance Company           Protective Insurance Company         Countersigned by         ~cf:"
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 44 of 514 Page ID
                                       #:996INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we    0406
                                                                         WC 36 04 06

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                                         OREGON PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                           PART FIVE
                                                           PREMIUM




D.     Premium is amended to read:
       You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
       not valid. The due date for audit and retrospective premiums is the date specified in the billing invoice for
       the policy.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                       Policy No. RW008962                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                                                                          MANAGEMENT                          4
                                                                                                              /J'      Premium

  Insurance Company           Protective Insurance Company        Countersigned by          ~ct'
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 45 of 514 Page ID
                                       #:997INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we 36 06 01 E
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                                             OREGON CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Oregon is shown in Item 3.A. of the
Information Page.

The Cancellation Condition of the policy is replaced by this Condition:

D. Cancellation
    1.     You may cancel this policy. You must mail or deliver advance written notice to us, stating when the
           cancellation is to take effect. If you provide for other insurance or self-insurance, your cancellation of
           coverage will take effect upon the effective date of that insurance.
    2.         may cancel this policy. We will mail to you advance written notice stating when the cancellation is to take
           We maycancel
           effect.
           a. If we cancel based on our decision not to offer insurance to all employers within your premium category,
              we will mail the notice of cancellation at least 90 days before the cancellation is to take effect.
           b. If we cancel for other reasons, we will mail the notice of cancellation at least 45 days before the
              cancellation is to take effect.
           c. If we cancel for nonpayment, we will mail notice of cancellation at least 10
                                                                                        10 days before the cancellation is
              to take effect.
    3.     Mailing notice to you at your last known mailing address will be sufficient to prove notice.
    4.     The policy period will end at 12:00 midnight on the day stated in the cancellation notice.
    5.     When coverage is placed with another carrier as of the policy expiration date, a rejected renewal policy shall
           be withdrawn without charge, provided notice of nonrenewal is mailed and postmarked on or before the
           expiration date and is received from the insured by the insurer no later than 10
                                                                                         10 calendar days after said
           expiration date.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                              Policy No. RW008962                    Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          ~        Premium

  Insurance Company           Protective Insurance Company                 Countersigned by    ~
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  (Ed. 1-08)

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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 46 of 514 Page ID
                                      #:998 INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we 36 06
                                                                         WC    o6 04

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                                              OREGON AMENDATORY ENDORSEMENT

This endorsement applies because Oregon is shown in Item 3.A. of the Information Page.


Part Two-Employers Liability Insurance, Section C. (Exclusions), Item 5. of the policy is replaced by the following:
    5.     Any bodily injury intentionally caused or aggravated by you, or that is the result of your engaging in conduct
           equivalent to an intentional tort, however defined, including as described by ORS 656.156, or other tortious
           conduct, or conduct or activity as described by ORS 656.018(3), such that you lose your immunity from civil
           liability under the workers compensation laws of Oregon;

Part Two-Employers Liability Insurance, Section C. (Exclusions) of the policy is revised by adding the following:
    13. Any cause of action or remedy arising out of or under ORS 656.019 or ORS 654.305 through ORS 654.336.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                              Policy No. RW008962                    Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLe
                                                           LLC DBA BARNETT MANAGEMENT!
                                                                           MANAGEMENT                        IJ         Premium

  Insurance Company           Protective Insurance Company                               ------"<.~----=-----''l_.__
                                                                           Countersigned by _ _ ----Io<.~
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  (Ed. 01-17)

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                                       #:999INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we 48 06
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                                                WISCONSIN LAW ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Wisconsin is shown in Item 3.A. of the
Information Page.

This policy is amended to reflect the following changes and/or additions to clarify or comply with Wisconsin Law:

I.      If our agent has knowledge of a change in or a violation of a policy condition, this will be considered our
        knowledge and will not void the policy or defeat a recovery for a claim.

II.     'Workers Compensation Law" means Chapter 102, Wisconsin Statutes. It does not include and this policy does
        ''Workers
        not apply to any obligation under Chapter 40, Wisconsin Statutes, or Section 66.191, Wisconsin Statutes, or any
        amendment to these laws.

III. Any language involving "Actions Against Us" is replaced and amended to provide that no legal action may be
Ill.
     brought against us until there has been full compliance with all the terms of this policy.

IV. If any injury occurs that may be covered by this insurance, the policy is amended to provide that you must notify
    us of that injury as soon as reasonably possible.




          This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


      Policy Effective          01/01/2017
      Endorsement Effective     01/01/2017                          Policy No. RW008962                          Endorsement No.
      Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT ~~A~EMEr:/                           /J        Premium

      Insurance Company       Protective Insurance Company           Countersigned by   _....::.[;Uv-1
                                                                                        _....::.[!Uv-t
                                                                                            ______C('--'--------
                                                                                                       et'--'--. _


      we 480601
      WC  48 os 01 c
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      (Ed. 4-01)                                 Decl. Barnett, Ex. A-42
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 48 of 514 Page ID
                                      #:1000INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                           we 48 06 06 B
                                                                       WC

                                                                                                                   (Ed. 1-02)


                        WISCONSIN CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Wisconsin is shown in Item 3.A. of the
Information Page.
The Cancellation Section (0)
                         (D) of the Part Six-Conditions is deleted and replaced by the following:

A. Cancellation

    1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
       cancellation is to take effect. If you purchase replacement insurance, the cancellation becomes effective on
       the date the new coverage becomes effective. If no replacement coverage is purchased, the cancellation will
       be effective thirty (30) days after the receipt of written notice by the Wisconsin Compensation Rating Bureau.

    2.   We may cancel the policy for any reason if the policy has been in effect for less than sixty (60) days. If the
         policy is issued for a term longer than one year or for an indefinite term, we may cancel the policy for any
         reason on an annual anniversary of the policy effective date. We may cancel the policy at any other time for
         the following reasons:

         a.   You fail to pay all premiums when due, however, we must deliver or mail, first class, not less than thirty
              (30) days advance written notice stating when the cancellation is to take effect;

         b.   A material misrepresentation;

         c.   A substantial breach of the obligations, conditions or warranties under the policy; or

         d.   A substantial change in the risk we assumed under the policy, unless it was reasonable for us to foresee
              the change or expect the risk when we issued the policy.

    3.   If we cancel for any permissible reason other than nonpayment of premium, we must deliver or mail, first
                    less than *thirty (30) days notice stating when the canceiiation
         ciass, not iess                                                cancellation is to take effect. Mailing that notice
         to you at your mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

    4. The policy period will end on the day and hour stated in a notice of cancellation.
B. Nonrenewal

    1. You have the right to have the insurance renewed unless we deliver or mail to you not less than *sixty (60)
         days advance written notice stating our intention not to renew this policy.

    2.   We do not have to renew the insurance if you do not pay the renewal premium billing by the due date or if
         you accept replacement insurance, are insured elsewhere, requested or agree to nonrenewal, or if the policy
         is expressly designated as being nonrenewable.

    3.   If we renew the insurance, we may use the policy forms, rates and rating plans we are then using for similar
         risks. We may limit the policy to a term equivalent to the term of the expiring policy or one year, whichever is
         less.

    4. If we offer to renew the policy on less favorable terms, we will mail or deliver written notice of the new terms
         by first class mail to you, the policyholder, at least sixty (60) days prior to the renewal date. The definition of
         "terms" does not include manual rates, experience modification factors, or classification of risks.




                                              Decl. Barnett, Ex. A-43
                                                             1 of 2
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 49 of 514 Page ID
we 48 0606
WC    06 o6 B                         #:1001
                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-02)


          If we provide such notice within sixty (60) days prior to the renewal date, the new terms will not take effect
          until sixty (60) days after the notice is mailed or delivered, in which case, you, the policyholder, may elect to
          cancel the renewal policy at any time during the sixty (60) day period. The notice will include a statement of
          your right to cancel. If you elect to cancel the renewal policy during the sixty (60) day period, the return
          premium or additional premium charges shall be calculated proportionally on the basis of the old premiums.



          We need not mail or deliver this notice if the only change adverse to you is a premium increase that;



          (a) is less than 25%; or,



          (b) results from a change based on your action that alters the nature and extent of the risk insured against,
              including, but not limited to, a change in the classifications for the business.




*    Any written agreement attached to and made a part of the policy, between the insurance carrier and policyholder
     that extends the cancellation or nonrenewal notification time frame, will supersede the aforementioned notification
     requirements found in items A.3. and B.1.,
                                           8.1., respectively.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective           01/01/2017
    Endorsement Effective      01/01/2017                         Policy No. RW008962                          Endorsement No.
    Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          4
                                                                                                             ;jl       Premium

    Insurance Company       Protective Insurance Company                             --~-
                                                                                      ~cr
                                                                   Countersigned by _ _  C(      _
                                                                                          ________
                                                                                               ____




    we 48 06 06 B
    WC
    (Ed. 1-02)
                                               Decl. Barnett, Ex. A-44
                                                                2 of 2
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 50 of 514 Page ID
                                   #:1002
             (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation ofthe
                                                                                                                     of the policy.)




                                                         ENDORSEMENT

This endorsement, effective on                01/01/2017                 at 12:01 A.M. standard time, forms a part of

Policy No.        RW008962                    policy effective on                   01/01/2017

Of the            Protective Insurance Company, Carrier Code 14788

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By                Protective Insurance Company

                                                                                     &hdt
                                                                                    _Wd----"'---I
                                                                                               Authorized Representative


In addition to the Loss Conversion Factor listed on WC 00 05 03 C, Retrospective Premium Endorsement, a
loss conversion factor of 1.08 applies to Wisconsin indemnity loss payments.

All other terms and conditions of this policy remain unchanged.




Endorsement No.

                                                Decl. Barnett, Ex. A-45
WI 1001 (11105)
Wl1001  (11/05)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 51 of 514 Page ID
                                  #:1003




                                NOTIFICATION TO POLICYHOLDERS
                                 OF LOSS PREVENTION SERVICES


                                    Protective Insurance Company
                                              (Name of Carrier)

     is required by law to provide policyholders with certain loss prevention services. If you would like
     more information or have any questions, please call        (800) 231-6024




     PIC 8054 (6/01)
                                    Decl. Barnett, Ex. A-46
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 52 of 514 Page ID
                                  #:1004




   NOTICE                                                            NOTICE
     TO                                                                TO
 EMPLOYEES                                                         EMPLOYEES

 The Commonwealth of Massachusetts
         DEPARTMENT OF INDUSTRIAL ACCIDENTS
                600 Washington Street, Boston, Massachusetts 02111
                     617-727-4900-- http://www.mass.gov/dia
                     617-727-4900
As required by Massachusetts General Law, Chapter 152, Sections 21, 22 & 30, this will give you notice
 that I (we) have provided for payment to our injured employees under the above-mentioned chapter by
                                             insuring with:
                                 Protective Insurance Company
                                NAME OF INSURANCE COMPANY
                        P.O. BOX 7099 INDIANAPOLIS, IN 46207-7099
                              ADDRESS OF INSURANCE COMPANY
 RW008962                                                                   01/01/2017 - 01/01/2018
                                                                            01/01/2017-01/01/2018
POLICY NUMBER                                                                    EFFECTIVE DATES
Assurance Agency, Ltd                  1750 E. Golf Road, Suite 1100 Schaumburg, IL60173 1-847-797-5700

NAME OF INSURANCE AGENT                       ADDRESS                                        PHONE##
                                                                                             PHONE


EMPLOYER                                      ADDRESS


EMPLOYER'S WORKERS' COMPENSATION OFFICER (IF ANY)                                               DATE

                              MEDICAL TREATMENT
The above named insurer is required in cases of personal injuries arising out of and in the course of
employment to furnish adequate and reasonable hospital and medical services in accordance with the
provisions of the Workers' Compensation Act. A copy of the First Report of Injury must be given to the
injured employee. The employee may select his or her own physician. The reasonable cost of the ser-
vices provided by the treating physician will be paid by the insurer, if the treatment is necessary and
reasonably connected to the work related injury. In cases requiring hospital attention, employees are
hereby notified that the insurer has arranged for such attention at the


NAME OF HOSPITAL                                                         ADDRESS
                         TO BE POSTED BY EMPLOYER
                                  Decl. Barnett, Ex. A-47
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 53 of 514 Page ID
                                  #:1005



                   OREGON INSURANCE GUARANTY ASSOCIATION

    Most insurers doing business in Oregon participate in the Oregon Insurance Guaranty
    Association. In the event an insurer fails, the Association settles unpaid claims on behalf
    of consumers. Oregon law requires that policies be surcharged directly to recover the
    costs of handling those claims.

    If your policy is surcharged, the term "Oregon Insurance Guaranty Association
    Surcharge" along with an indicated dollar amount will be displayed with the statement of
    your surcharge.




    OR 01 (4/07)



                                 Decl. Barnett, Ex. A-48
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 54 of 514 Page ID
                                  #:1006



                                      NOTICE TO EMPLOYER
                   Occupational Safety and Health Loss Control Consultative Services

    Oregon Revised Statues 654.097 requires workers' compensation insurers to maintain and
    provide occupational safety and health loss control consultative services to its insured
    employers. Such services include workplace surveys to identify health and safety problems,
    reviews of employer injury records with appropriate persons, development of plans for
    improvement of employer health and safety loss records, telephone consultations, and a
    periodic newsletter of safety and loss prevention. If applicable, the insurer can provide
    employers with an on-site evaluation of their loss prevention service needs. These services
    are provided at no additional charge.

    Oregon employer's have a responsibility to provide a safe and healthful workplace as
    required by the Oregon Safe Employment Act (ORS 654.001 to 654.295 and 654.991).

    To obtain services, contact:

    Protective Insurance Company
    Loss Prevention Department
    111 Congressional Blvd., Suite 500
    Carmel, IN 46032

    Oregon employers have the right to make a complaint to the OR-OSHA Division if an
    insurer fails to respond to a request from one of its insured employers for loss prevention
    services or otherwise fails to provide services as offered or required.

    Employers should re=produce this notice and distribute it to each of their fixed places of
    employment in Oregon.




    OR 02 (4/07)



                                   Decl. Barnett, Ex. A-49
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 55 of 514 Page ID
                                  #:1007
~   Protective
    Insurance Company                                              P.O. Box 2000 I Carmel, IN 46082·2000
                                                                                              46082-2000 I protectiveinsurance.com




                                            NOTICE

    You may appeal this billing to the Director of the Department of Insurance and Finance,
    State of Oregon, by applying in writing to the Director within 60 days after receiving this
    premium audit billing. The appeal must state your ground for questioning the billing, and
    must include your contentions of error by your insurer and your request for correction
    and relief.

    The appeal must be sent to the following address:

             Director
             Department of Insurance and Finance
             Insurance Division
             350 Winter St. NE
             Salem, OR 97309




    OR 03 (1/10)




                                 Decl. Barnett, Ex. A-50
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 56 of 514 Page ID
                                  #:1008


                                      CLASS CODE DESCRIPTIONS
                                     (As required by Oregon Statute O.R.S. § 737.310)




 7219 State Special: applies in AK, CA, FL, ID, LA, MA, MT, NJ, NY, OR, TN

 PHRASEOLOGY AK, FL, ID, LA, MA, MT, OR, TN-TRUCKING: NOC-ALL EMPLOYEES & DRIVERS




 SCOPE AK, FL, ID, LA, MA, MT, OR, TN-Code 7219 is applied to insureds engaged in the hauling of general
 merchandise under contract for one or more individuals or concerns provided such operations are not otherwise
 classified in the manual. The classification includes incidental rigging when performed by these truckers. It is not
 applied to specialty trucking operations described at the end of this scope.

 It should be noted that an important distinction between Code 7219 and Code 7380-Drivers, Chauffeurs and Their
 Helpers-NOC, is that while both apply only if they are "not otherwise classified" (NOC codes), Code 7219 is
 applicable to the transportation of goods not owned by an insured, whereas Code 7380 is applicable to the driving of
 vehicles and/or the transportation of goods owned by the insured.

 Trucking concerns usually maintain terminals, central loading platforms or a temporary storage depot where
 merchandise is stored for a short period pending transfer to another destination. Platform persons engaged in loading
 or unloading merchandise as well as miscellaneous employees such as terminal employees, garage employees and
                                                 of trucking operations and are assigned to Code 7219.
 repairers are considered to be an integral part oftrucking

 Additionally, bona fide drivers of insureds classified under the stevedoring codes, 7309F, 7317F and 7327F, or the
 freight handling codes, 7350F and 7360, are assigned to Code 7219.

 When trucking operations constitute a secondary business conducted as a separate undertaking or enterprise, the
 payroll of an individual may be divided and allocated to a classification other than Code 7219. This may occur when
 insureds use their trucks during a portion of a trip to haul goods owned by the insured and use the same vehicles on
 another portion of the trip to haul goods owned by others. Provided Basic Manual rules are met, Code 7219 or
 another appropriate trucking code is applicable when the insured hauls goods belonging to others on one portion of a
 trip, and Code 7380 or another applicable class that includes drivers may be assigned to that portion of the trip
 devoted exclusively to hauling goods owned by the insured.

 Insureds engaged solely in towing automobiles, trucks, tractors, or semitrailers fall within the scope of this
 classification provided they do not perform any other operations. Also, Code 7219 contemplates automobile
 haulaway or driveaway operations when such operations are performed by specialists having no equity in the
 automobiles so transported.

 Code 7219 is also applied to insureds engaged in hauling explosives or ammunition under contract for one or more
 individuals or concerns.

 Code 7219 also applies to drivers of concrete ready-mix operations when the materials are not owned by the insured,
 either while in storage or in transit. When the insured's contract involves only trucking of pre-mixed concrete
                                                                                           ofpre-rnixed
 ingredients or trucking including the concurrent concrete mixing in transit, all operations incidental to the loading of
 trucks and delivery of concrete are assigned to Code 7219.




                                        Decl. Barnett, Ex. A-51
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 57 of 514 Page ID
                                  #:1009




 7231

 PHRASEOLOGY MAIL, PARCEL OR PACKAGE DELIVERY AND COURIER OR MESSENGER SERVICE
 COMPANIES-ALL EMPLOYEES & DRIVERS

 Note: Applies to couriers, messengers, and others who deliver nonowned envelopes, parcels, or
       packages exclusively for local delivery. Mail, parcels, or packages, as shown in the classification
       phraseology, refers to those items where the delivery tariff or charge is allocable to the individual
       envelope, parcel, or package. This classification would not be applicable to truckers hauling
       packaged goods or merchandise where the haulage or transport charge is based on a truckload or
       partial truckload, the cumulative weight of the packages and/or parcels being transported or a flat
       contract price for the consignment. The term "local" is intended to limit the radius of operations to
       that which would permit a driver to complete the assigned deliveries and return to the point of
       dispatch within the normal workday.

 Description:

 Code 7231 is intended to apply to those insureds who deliver and, as a messenger and courier service ofofnonowned
                                                                                                           nonowned
 mail, parcel or packages or under contract with private enterprises, provide a pickup and delivery service for mail
 consisting of small individual parcels or packages in addition to envelopes. These items are usually picked up at post
 offices and delivered to the customer's location. However, these insureds also, as a contract messenger and courier
 service, deliver nonowned items or pick up mail or parcels from their customers and deliver to locations specified by
 the customer, performing a local delivery service comparable to that provided by the US Postal Service.

 Please refer to this classification's phraseology above for additional requirements that an insured must meet to
 qualify for Code 7231. An important distinction between Code 7380-Drivers, Chauffeurs, Messengers and Their
 Helpers NOC-Commercial and Code 7231 is that messengers and couriers assigned to Code 7231 deliver
 nonowned goods whereas Code 7380 is assigned to messengers who deliver owned goods.

 Equipment and Materials:


        Hand trucks


 Additional Application and Information:


                                              passenger automobiles, station wagons, sedan deliveries,
        Although in most instances, private passenger
        vans and pickup trucks will be utilized, there is no specific restriction to the type of motor vehicle
        used for the delivery operations.
        This classification also includes mechanics and garage employees who maintain, service or repair
        the equipment.




                                        Decl. Barnett, Ex. A-52
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 58 of 514 Page ID
                                  #:1010


 8810

 PHRASEOLOGY CLERICAL OFFICE EMPLOYEES NOC

 Note: Subject to the Standard
                      Standard Exception manual rule.

 Description:

 Code 8810 is applied to clerical office employees provided they are not otherwise classified in the Basic Manual.
                                                                                 8871-Clerical Telecommuter
 Clerical employees who perform telecommuting activities may qualify for Code 887l-Clerical
 Employees. Refer to Code 8871 's scope for conditions under which a telecommuting employee's pay should be
 assigned to this code.

 Code 8810 employees are common to so many businesses that they are considered to be Standard Exceptions unless
 they are specifically included within the phraseology of a basic classification. The duties of a clerical office-
 employee include creation or maintenance of financial or other employer records, handling correspondence,
 computer composition, technical drafting, and telephone duties, including sales by phone. The clerical office
 classification continues to apply to a qualified clerical office employee who performs a duty outside of a qualified
 clerical office area when that duty does not involve direct supervision or physical labor and is directly related to that
 employee's duties in the office. These duties do not exclude depositing funds at the bank, purchasing office supplies,
 and pickup or delivery of mail, provided they are incidental and directly related to that employee's duties in the
 office. However, for purposes of this rule, the definition of clerical duties excludes outside sales or outside
 representatives; any work exposed to the operative hazards of the business; and any work, such as a stock or tally
 clerk, which is necessary, incidental, or related to any operations of the business other than a clerical office.

 A clerical office is a work area separated and distinguishable from all other work areas and hazards ofthe
                                                                                                      of the employer
 by floors, walls, partitions, counters, or other physical barriers.

 A clerical office excludes work or service areas and areas where inventory is located, products are displayed for
 sale, or to which the purchaser customarily brings the product from another area for payment.

 If the principal business of an insured is a clerical operation (such as a bank or insurance company), the operations
 of all employees not included in the definition of clerical shall be assigned to the separate basic classification that
 most closely describes their work. Examples of     this procedure are the assignment of bank guards to a classification
                                                 ofthis
 other than Code 8810 and the assignment of computer repair technicians to an appropriate computer repair
 classification.

 Certain Internet service providers may also have their principal business described by a clerical classification. Under
 these circumstances, these Internet service providers are classified in the same manner as banlcs
                                                                                            banles and insurance
 companies described above. These risks usually offer electronic mail services and access to World Wide Web sites,
 Internet chat rooms, and Internet news groups.

 Other employments or operations assigned by analogy to Code 8810 include bank tellers; telephone answering
 services; designers, proofreaders, and editors of newspaper publishers or magazine printers; employees performing
 computerized photographic composition or automated platemaking, which is used in the graphic arts industry as
 well as specialists engaged in such operations; drafting personnel of consulting engineering firms; clubs employing
 only clerical employees; horse and dog racetrack pari-mutuel clerks and cashiers; bus terminal ticket sellers; airline
 or helicopter ticket sellers and information clerks away from airport or heliport locations; and employees of highway
 toll roads confined to keeping books and records.

 Check cashing businesses are assigned to Code 8810 provided that services offered by these operations are limited
 exclusively to check cashing and other financial services such as but not limited to the sale of money orders and
 lottery tickets, the making ofloans, the sale of postage stamps, and the collection of bills due from utility customers.
 In the event check cashing businesses sell any nonfinancial services such as but not limited to food, beverages, or
 tobacco or sell services such as copying or faxing documents, the check cashing store is assigned in its entirety to
 the appropriate store code. Refer to Basic Manual procedures for classifications ofbanlcs
                                                                                    ofbanles to determine how support
 personnel such as guards and couriers employed by check cashing operations assigned to Code 8810 are classified.

                                         Decl. Barnett, Ex. A-53
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 59 of 514 Page ID
                                  #:1011


 Code 8810 is applicable to traveling auditing, accounting, or other type clerical employees of business concerns
 such as manufacturers, chain stores, restaurants, hotels, gasoline stations, etc., who perform clerical duties at their
 temporary location. These traveling clerical employees, sometimes referred to as "internal auditors," may travel to
 various branches and remain at these branches for a period of several days or weeks, auditing or monitoring
 procedures at these locations. These employees are not included within the scope of Code 8803-Accountants-
 Traveling and are assigned to Code 8810. These employees are not classified to Code 8803 since their employers are
 not in the business of providing auditing or accounting services for others.

 Special Conditions:

 In instances where clerical or drafting employees perform any other duties, the total payroll of such employees
 would be assigned to the highest rated classification representing any part of their work. This is in accordance with
           (Rule IV-E-2. 1996 edition).
 Rule 2-G (Rille




                                        Decl. Barnett, Ex. A-54
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 60 of 514 Page ID
                                  #:1012



                      NOTICE OF RIGHT TO FILE A COMPLAINT

                   KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS


    PROBLEMS WITH YOUR INSURANCE?-If you are having problems with your
    insurance company or agent, do not hesitate to contact the insurance company or agent to
    resolve your problem.

                               Protective Insurance Company
                              111 Congressional Blvd., Suite 500
                                     Carmel, IN 46032
                                       (800) 231-6024
                                       (317) 636-9800


    You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a
    state agency which enforces Wisconsin's insurance laws, and file a complaint. You can
    contact the OFFICE OF THE COMMISSIONER OF INSURANCE by writing to:


                            Office of the Commissioner of Insurance
                                     Complaint Department
                                          P.O. Box 7873
                                   ~ladison,
                                   Madison, WI 53707-7873

               call1-800-236-8517
    or you can call 1-800-236-8517 outside of Madison or 266-0103 in Madison, and request
    a complaint form.




          (1110)
    WI 01 (1/10)




                                Decl. Barnett, Ex. A-55
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 61 of 514 Page ID
                                   #:1013

r ..   Protective
       Insurance Company                                    P.O. Box 7099 I Indianapolis, IN 46207·7099
                                                                                             46207-7099 I protectiveinsllrance.com
                                                                                                          protectiveinsurance.com




 RE: WORKERS' COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


 On behalf of Protective Insurance Company, thank you for your Workers' Compensation
 business.

 Protective Insurance Company, with licenses in all 50 states and all Canadian provinces, has
 been providing property and casualty insurance products for companies in the transportation
 industry for over 50 years and is a recognized leader in this market.

 If an employee or member of your staff suffers an employment-related injury or illness
 that involves medical care or loss of work time, please contact us at 1-800-479-0981
 within 24 hours of the claim being reported to you.

  All calls will be answered by an experienced professional that specializes in handling First
  Reports of Injury. We anticipate that you will find them knowledgeable, professional and most
  helpful throughout the reporting process. For additional claim reporting information, please
  see the attached Workers' Compensation Quick Reference Guide.

  If you have any other questions or concerns regarding the reporting process or your policy,
  please do not hesitate to contact us at 1-800-479-0981.


  Sincerely,




  David Ghesquiere
  Claims Director
  Protective Insurance Company




                                 Decl. Barnett, Ex. A-56
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 62 of 514 Page ID
                                     #:1014

~       Protective
        Insurance Company                                           P.O. Box 7099 I Indianapolis, IN 46207-7099 I protectiveinsurance.com




                            WORKERS' COMPENSATION
                            QUICK REFERENCE GUIDE
If an employee or member of your staff suffers an employment-related injury or illness that
involves medical care or loss of work time, please contact us by phone within 24 hours of the
claim being reported to you. All calls will be answered by an experienced professional that
specializes in handling First Reports of Injury. We anticipate that you will find them knowledgeable,
professional and most helpful throughout the reporting process.

                             Claim Reporting Instructions:
                • Call toll-free, 24 hours a day, 7 days a week, 1-800-479-0981

                            • Employees cannot call in their own claim

  In order to serve you better, you will need to have the following information available when calling:

   o Name, Address, Social Security
   D                                #, Age, Sex, Telephone
                           Security#,            Telephone## and Email address of Injured Employee

   o Name of Employing Agency, Federa!
   D                           Federal Tax ID #,
                                              #,Address,  Telephone # and Contractor ID #
                                                 Address, Telephone#

   o Terminal Address, Terminal#,
   D                   Terminal #, Telephone#
                                   Telephone # of Terminal and Terminal Manager Name

   o Date, Time, and Description of Incident (how, where, why)
   D

   o Part of Body Injured and Type of Injury (cut, scrape, burn, etc.)
   D

   o Hourly/Weekly/Monthly
   D HourlylWeekly/Monthly Wage of Injured Employee

   o Work Schedule of Injured Employee (hours per day, days per week, start/end times)
   D

   o Name and Address of Physician/Hospital where Employee was treated
   D

   o Has Injured Employee Returned to Work? If so, date of return? Lost Work Time involved?
   D

   oD   Anyone witness the incident? Anyone else involved in the incident?

   o Information on Vehicle that Injured Employee was using (10
   D                                                        (ID #,type,
                                                                #, type, etc.)


                 Compensation -First
A blank Workers' Compensation·  First Report of Injury or Illness form [Accord 4 (2005/02)] and sample
Workers' Compensation-
         Compensation - First Report of Injury form are attached hereto.




                                      Decl. Barnett, Ex. A-57
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 63 of 514 Page ID
                                  #:1015

~    Protective
     Insurance Company                                       P.O. Box 7099 I!Indianapolis,     46207-7099 I protectlvelnsurance.com
                                                                              Indianapolis, IN 46201·7099




    Return to Work Programs: Get Your Injured
  Employees Back To Work Faster and Save Money

       The following are some of the reasons why a Return to Work
                  Program could benefit your business:

1. Increase the Likelihood of Employees Returning to Work. Injured employees off work
   longer than 6 months have only a 50% likelihood of ever returning to their job; that likelihood
   decreases to less than 10% if time lost exceeds 1 year.

2. Injured Employees Return to Work up to 50 Percent Sooner. In companies that have well-
   managed return-to-work programs including transitional duty, up to 90 percent of injured
   employees go back to work within four days of the injury.

3. Reduce Claims Costs up to 70 Percent. Not only are lost-time days reduced, but studies.
   show medical costs are also reduced.

4. Faster Recovery Period. Good return-to-work programs treat work as therapy to help the
   employee recover up to 3 times faster than if they stayed at home.

5. Reduce Award Costs. The potential for an employee to become totally and permanently
   disabled is greatly decreased.

6. Reduce Contentious Litigation. Employees are less likely to feel their rights have been
   violated causing them to engage a lawyer.

7. Avoid Hiring and Training a Replacement Worker. Temporary labor can be expensive,
   especially when the new worker must be trained.

8. Reduce Fraud. Return-to-work programs demonstrate that getting injured doesn't necessarily
   mean getting paid for being out of work.

9. Increase Employee Morale. Return-to-work programs are a testament that employees are a
   valuable company asset rather than a disposable resource.

1O.lt's Effective!!! More than 90 percent of employers using return-to-work programs say they
1O.lt's
   are effective.


      If you would like to learn more about a Return to Work Program for your
             business, please contact Protective Insurance Company at
                            (800) 644-5501, extension 7688.


                                 Decl. Barnett, Ex. A-58
         Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 64 of 514 Page ID
                                           #:1016
        ~
~RD@
~RD® WORKERS COMPENSATION
             COMPENSATION-- FIRST REPORT OF INJURY OR ILLNESS
EMPLOYER 'NAME &
EMPLOYER (NAME & ADDRESS
                 ADDRESS INCLZIPJ
                         INCLZIP)                                        CARRIERIADMINISTRATOR
                                                                         CARRIERIADMINISTRATOR CLAIM NUMBER
                                                                                                     NUMBER'•                                            REPORT PURPOSE
                                                                                                                                                         REPORT PURPOSE CODE'
                                                                                                                                                                        CODE'



                                                                         JURISDICTION'
                                                                         JURISDICTION '                              I
                                                                                                                     I JURISDICTION CLAIM NUMBER.
                                                                                                                                          NUMBER'



                                                                         INSURED REPORT NUMBER                                          I
                                                                                                                                        I OSHA CASE NUMBER


                                                                         EMPLOYER'S LOCATION ADDRESS (IF DIFFERENT)                                      LOCATION#:
                                                                                                                                                         LOCATION#:
INDUSTRY
 INDUSTRY CODE
          CODE        I
                      I EMPLOYER
                        EMPLOYER FEIN
                                 FEIN                                                                                                                    PHONE #
                                                                                                                                                         PHONE#



CARRIER/CLAIMS
CARRIER/CLAIMS ADMINISTRATOR
CARRIER
CARRIER (NAME, ADDRESS &
        (NAME, ADDRESS & PHONE
                         PHONE NO)
                               NO)                                       POLICY PERIOD                                                            &PHONE
                                                                                                              CLAIMS ADMINISTRATOR (NAME, ADDRESS & PHONE NO)
                                                                                                                                                          NO)

   Protective Insurance                                                                                           Protective Insurance
   111 Congressional Blvd.                                                                  TO
                                                                                                                  111 Congressional Blvd.
   Carmel, IN 46032                                                      CHECK IF APPROPRIATE                     Carmel, IN 46032
                                                                        Ii
                                                                        h        SELF INSURANCE
CARRIER FEIN'
CARRIER FEIN'                          II POLICY/SELF-INSURED NUMBER                                                                                I
                                                                                                                                                  ADMINISTRATOR FEIN.
                                                                                                                                                I ADMINISTRATOR FEIN'

   XX-XXXXXXX                                                                                                                                            XX-XXXXXXX
AGENT NAME &
AGENT NAME & CODE
             CODE NUMBER:
                  NUMBER:

EMPLOYEEfWAGE
EMPLOYEE/WAGE
NAME
NAME [LAST,
      'LAST, FIRST,
             FIRST, MIDDLE)
                    MIDDLE)                                              DATE OF BIRTH                 SOCIAL SECURITY NUMBER          DATE HIRED               I STATE
                                                                                                                                                                  STATE OF
                                                                                                                                                                        OF HIRE
                                                                                                                                                                           HIRE



ADDRESS
ADDRESS (INCL
        (INCL ZIP)
              ZIP)                                                        SEX                          MARITAL STATUS                  OCCUPATION/JOB TITLE
                                                                        I-----
                                                                        1----                      -
                                                                                                   -UNMARRIED
                                                                                                      UNMARRIED
                                                                                 MALE                 SINGLEJDIVORCED
                                                                        I-----
                                                                        1----                      -
                                                                                                                                       EMPLOYMENT STATUS
                                                                                 FEMALE                    MARRIED
                                                                        I-----
                                                                        1----                      -
                                                                                 UNKNOWN                   SEPARATED
PHONE
PHONE                                                                    #OF DEPENDENTS                                                NCCI CLASS CODE'
                                                                                                   _  UNKNOWN
                                                                                                   _UNKNOWN


RATE
RATE
                                       HDAY
                                       HDAY           HMONTH
                                                                          AVERAGE IM:EKL
                                                                                  WEEKLY Y             #DAYS
                                                                                                       # DAYS WORKED/WEEK
                                                                                                              WORKEDIWEEK    I FULL PAY FOR DAY OF INJURY?          HYES H
                                                                                                                                                                    HYES HNNO
                                                                                                                                                                            O
                              PER:
                              PER:                                        WAGES
                                            WEEK            OTHER:                                                             DID SALARY CONTINUE?
                                                                                                                                          DONTINUE?                       YES
                                                                                                                                                                          YES        NO
                                                                                                                                                                                     NO
OCCURRENCEITREATMENT
OCCURRENCEITREATMENT
TIME EMPLOYEE
TIME EMPLOYEE
BEGAN WORK
BEGAN  WORK
                  H
                  H       AM  I
                          AM I DATE
                               DATE OF
                                    OF INJURY/ILLNESS     II TIME OF OCCURRENCE         H ;~
                                                                                        H;~            I
                                                                                                       I LASTWORKDATE
                                                                                                         LAST WORK DATE
                                                                                                                                   I
                                                                                                                                   I DATE EMPLOYER NOTIFIED
                                                                                                                                                   NOTIFIED        I
                                                                                                                                                                   I DATE
                                                                                                                                                                     DATE DISABILITY
                                                                                                                                                                          DISABILITY BEGAN
                                                                                                                                                                                     BEGAN

                    PM
                    PM
CONTACT NAME/PHONE NUMBER
CONTACT NAME/PHONE NUMBER                                                TYPE OF INJURY/ILLNESS                                        PART OF BODY AFFECTED
                                                                                                                                                    AFFECTED




DID INJURYIILLNESS
DID  INJURY/ILLNESS EXPOSURE
                    EXPOSURE OCCUR
                             OCCUR ON EMPLOYER'S PREMISES?                TYPE OF INJURY/ILLNESS COOP                                  PART OF BODY AFFECTED
                                                                                                                                                    AFFECTED CODE'
                                                                                                                                                             CODE'

           nYES n
           nYES      nNNOO
DEPARTMENT OR
DEPARTMENT OR LOCATION
              LOCATION WHERE
                       WHERE ACCIDENT
                             ACCIDENT OR ILLNESS EXPOSURE OCCURRED                               ALL EQUIPMENT, MATERIALS, OR CHEMICALS EMPLOYEE WAS USING
                                                                                                                                                     USING WHEN
                                                                                                                                                           WHEN ACCIDENT
                                                                                                                                                                ACCIDENT
                                                                                                 OR ILLNESS EXPOSURE OCCURRE;O
                                                                                                                     OCCURRE;))




SPECIFIC ACTIVITY
SPECIFIC ACTIVITY THE
                  THE EMPLOYEE
                      EMPLOYEE WAS
                               WAS ENGAGED IN WHEN THE ACCIDENT OR ILLNESS                       WORK PROCESS THE EMPLOYEE WAS ENGAGED IN WHEN ACCIDENT
                                                                                                                                               ACCIDENT OR
                                                                                                                                                        OR ILLNESS
                                                                                                                                                           ILLNESS
EXPOSURE OCCURRED
EXPOSURE   OCCURRED                                                                              ~XPOSUREOCCURRED
                                                                                                 EXPOSUREOccURRED




 HOW INJURY
HOW   INJURY OR
             OR ILLNESS/ABNORMAL
                ILLNESS/ABNORMAL HEALTH CONDITION OCCURRED. DESCRIBE THE SEQUENCE OF EVENTS AND INCLUDE ANY OBJECTS OR
                                                                                                                    DR SUBSTANCES THAT
                                                                                                                                  THAT DIRECTLY
                                                                                                                                       DIRECTLY
INJURED   THE EMPLOYEE
 INJURED THE  EMPLOYEE OR
                        OR MADE
                           MADE THE
                                THE EMPLoYEE
                                    EMPLOYEE ILL
                                                                                                                          CAUSE OF INJURY
                                                                                                                                   INJURY CODE.
                                                                                                                                          CODE'     II
DATE RETURN(EO)
DATE RETURN(ED) TO
                TO WORK
                   WORK               IIIFFATAL,GIVEDATEOFDEATH
                                         IF FATAL,GIVE DATE OF DEATH      II WERE SAFEGUARDS OR SAFETY EQUIPMENT PROVIDED?                    HYES HNO
                                                                                                                                                     HNO
                                                                           WERE THEY USED?                                                      YES         NO
                                                                                                                                                            NO
PHYSICIAN/HEALTH CARE
PHYSICIAN/HEALTH CARE PROVIDER(NAME
                      PROVIDER(NAME & ADDRESS)                            HOSPITAL OR OFFSITE TREATMENT (NAME & ADDRESS)                            INITIAL
                                                                                                                                                    INITIAL TREATMENT
                                                                                                                                                            TREATMENT
                                                                                                                                                         -
                                                                                                                                                                NO
                                                                                                                                                                NO MEDICAL
                                                                                                                                                                   MEDICAL TREATMENT
                                                                                                                                                                           TREATMfi'NT
                                                                                                                                                         -
                                                                                                                                                                MINOR:
                                                                                                                                                                MINOR: BY
                                                                                                                                                                       BY EMPLOYER
                                                                                                                                                                          EMPlOYER
                                                                                                                                                         -
                                                                                                                                                         -      MINOR
                                                                                                                                                                MINOR CLINICIHOSP
                                                                                                                                                                      CLiNIC/HOSP
                                                                                                                                                                EMERGENCY
                                                                                                                                                                EMERGENCY CARE
                                                                                                                                                                          CARE
 WITNESSES (NAME
 WITNESSES (NAME && PHONE
                    PHONE#)
                          #)                                                                                                                                    OVERNIGHT
                                                                                                                                                                OVERNIGHT HOSPITALIZATION
                                                                                                                                                                          HOSPITALIZATION
                                                                                                                                                         -
                                                                                                                                                                [W~fM~AJOR
                                                                                                                                                                FUTURE MAJOR MEDICAU
                                                                                                                                                                             MEDleAU

 DATE ADMINISTRATOR
 DATE ADMINISTRATOR NOTIFIED
                    NOTIFIED      I  DATE PREPARED
                                     DATE PREPARED    I
                                                      I PREPARER'S
                                                        PREPARER'S NAME
                                                                   NAME & TITLE
                                                                        & TITLE                                                                              PHONE
                                                                                                                                                             PHONE NUMBER
                                                                                                                                                                   NUMBER



 ACORD 44 (2005/02)
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         Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 65 of 514 Page ID
                                           #:1017
        ~
AB RD® WORKERS COMPENSATION
ABRD®          COMPENSATION-- FIRST REPORT OF INJURY OR ILLNESS
EMPLOYER (NAME& ADDRESS INCL ZIP)                                                CARRIER/ADMINISTRATOR CLAIM NUMBER'                                                 REPORT PURPOSE CODE'
                                                                                                                                                                                    CODE •
  D&J Trucking
  123 Sesame Street                                                              JURISDICTION •
                                                                                 JURISDICTION'                                I
                                                                                                                              I JURISDICTION CLAIM NUMBER'
                                                                                                                                                   NUMBER.
  Salem, NM 02541                                                                      NM

I!SAMPLE copyiI
  SAMPLE COPY
INDUSTRY CODE        II EMPLOYER FEIN
                                                                                    INSURED REPORT NUMBER



                                                                                    EMPLOYER'S LOCATION ADDRESS (IF DIFFERENT]
                                                                                                                                                   I
                                                                                                                                                   I OSHA CASE NUMBER



                                                                                                                                                                     LOCATION#:
                                                                                                                                                                     PHONE#

    98411                    XX-XXXXXXX                                                                                                                                   555-555-5555

CARRIER/CLAIMS ADMINISTRATOR
                         PHONE NO)
CARRIER (NAME, ADDRESS & PHDNE                                                      POLICY PERIOD                      CLAIMS ADMINISTRATOR (NAME, ADDRESS
                                                                                                                                                   ADDRESS&& PHONE NO)

  Protective Insurance                                                                                                   Protective Insurance
  111 Congressional Blvd.                                                                        TO                      111 Congressional Blvd.
  Carmel, IN 46032                                                                  CHECK IF APPROPRIATE
                                                                                                                         Carmel, IN 46032
                                                                                ~ SELF INSURANCE
CARRIER FEIN'
        FEIN '                        I
                                      I POLICY/SELF-INSURED NUMBER                                                                                         II ADMINISTRATOR FEIN'
                                                                                                                                                                            FEIN.
 XX-XXXXXXX                               IW001234                                                                                                                 XX-XXXXXXX

AGENT NAME & CODE NUMBER:


EMPLOYEE/WAGE
EMPLOYEEIWAGE
NAME (LAST, FIRST, MIDDLE)                                                          DATE OF BIRTH              SOCIAL SECURITY NUMBER             DATE HIRED                 I   STATEOFHIRE
                                                                                                                                                                                 STATE OF HIRE
  Doe, John                                                                          01/01/76                      XXX-XX-XXXX                     05/05/05                        NM
ADDRESS (INCL ZIP)                                                                  SEX                        MARITAL STATUS                     OCCUPATION/JOB TITLE
                                                                                -
      Main Street
                                                                                ~
                                                                                                           !---- UNMARRIED
                                                                                                           I--                                     Driver
  1 06
  106
                                                                                ~
                                                                                _!_
  Salem, NM 01234
                                                                                -
                                                                                          MALE

                                                                                          FEMALE           r-x
                                                                                                           c--x
                                                                                                           I--
                                                                                                           1----
                                                                                                                    SINGLE/DIVORCED
                                                                                                                    SINGLEIDIVORCED
                                                                                                                    MARRIED
                                                                                                                                                  EMPLOYMENT STATUS
                                                                                                                                                    Full Time
                                                                                        UNKNOWN                     SEPARATED
PHONE                                                                               #OF DEPENDENTS                                                NCCI CLASS CODE'
                                                                                                                    UNKNOWN
                                                                                                           -
  555-222-3333                                                                              1                                                       7229

                                                                                                                                      I
                                     pj:~
                                     ~DAY
                                          H~~~;::                                                                                                                                   ~YES       h<-1 NO
                                                                                                                                                                                          YES Jx.-1
RATE                                                                                AVERAGE WEEKLY
  100.00                     PER:
                                                         HMONTH
                                                                                    wAGEs5oo.oo
                                                                                    WAGES500.00
                                                                                                               #DAYSWORKED/WEEK
                                                                                                               #DAYSWORKEDIWEEK           FULLPAYFORDAYOFINJURY?
                                                                                                                                          FULL PAY FOR DAY OF INJURY?
                                                                                                                                                                                    f--K1           NO
                                       ........ WEEK. ............. OTHER:                                               5                DIDSALARYCONTINUE?
                                                                                                                                          DID SALARY CONTINUE?                           YES     X   NO

OCCURRENCEITREATMENT
TIME EMPLOYEE                I
                  ~ AM I DATE OF INJURYIlLLNESS
                                 INJURY/lLLNESS              I TIME OF OCCURRENCE                ~             I
                                                                                                      AM I LAST WORK DATE                     I
                                                                                                                                              I DATE EMPLOYER NOTIFIED             II DATEDISABILlTYBEGAN
                                                                                                                                                                                      DATEDISABILITYBEGAN
BEG~NWORK
BEG~NWORK                              02102/06
                                       02/02/06                        9•00  9'00                     PM             02/02/06
                                                                                                                     02102/06                           02/02/06
                                                                                                                                                        02102/06                            02/03/06
  8.00                 PM                                                •'
CONTACT NAME/PHONE
        NAMEIPHONE NUMBER                                                           TYPE OF INJURY/ILLNESS                                        PART OF BODY AFFECTED
  David Jennings, D&J Trucking,                     555-555-5555                      Strain                                                        Back

DID INJURY/ILLNESS EXPOSURE OCCUR ON EMPLOYER'S PREMISES?                                                  CODE •
                                                                                    TYPE OF INJURY/ILLNESS CODE'                                  PART OF BODY AFFECTED CODE'

           nYES         IXl
                        rxl
                          NO
DEPARTMENT OR LOCATION WHERE ACCIDENT DR
                                      OR ILLNESS EXPOSURE OCCURRED                                    ALL EQUIPMENT, MATERIALS, OR CHEMICALS EMPLOYEE WAS USING WHEN ACCIDENT
                                                                                                      oR ILLNESS EXPOSURE OCCURRED
                                                                                                      DR                  ocCURRED
  Jiffy Truck Stop, Salem, NM

SPECIFIC ACTIVITY THE EMPLOYEE WAS ENGAGED IN WHEN THE ACCIDENT OR ILLNESS                            WORK PROCESS THE EMPLOYEE WAS ENGAGED IN WHEN ACCIDENT OR ILLNESS
EXPOSURE OCCURRED                                                                                     EXPOSURE OCCURRED
  Raising landing gear
HOW INJURY OR ILLNESS/ABNORMAL HEALTH CONDITION OCCURRED. DESCRIBE THE SEQUENCE OF EVENTS AND INCLUDE ANY OBJECTS OR SUBSTANCES THAT DIRECTLY
INJURI::O THE I:MPLOYEE  OR MADE THE I':MPLDYEE
              l;Mf'LOYEE DR          EMPLOYEE ILL
   Raising landing gear, felt pull in low back
                                                                                                                       I CAUSE OF INJURY CODE'
                                                                                                                                         CODE.                 I

     RETURN(ED)
DATE RETURN
  02/04/06
            lED) TO WORK             IIF FATAL, GIVE DATE OF DEATH                  II WERE SAFEGUARDS OR SAFETY EQUIPMENT PROVIDED?                     ~YES             HNO
                                                                                     WERE THEY USED?                                                       X       YES            NO
PHYSICIAN/HEALTH CARE PROVIDER (NAME & ADDRESS)                                     HOSPITAL OR OFFSITE TREATMENT
                                                                                                        TREA TMENT (NAME & ADDRESS)                                      INITIAL
                                                                                                                                                                         INITIA L TREATMENT
   Med-Check                                                                                                                                                         1--
                                                                                                                                                                     I --
                                                                                                                                                                             NO MEDICAL TREATMENT
                                                                                                                                                                     1--
                                                                                                                                                                     I--
   111 Medical Drive

   Salem, NM                                                                                                                                                         r-x
                                                                                                                                                                     ~
                                                                                                                                                                     -
                                                                                                                                                                             MINOR: BY EMPLOYER

                                                                                                                                                                                   CLINICIHOSP
                                                                                                                                                                             MINOR CLiNIC/HOSP
                                                                                                                                                                             EMERGENCY CARE
                   PHONE#)
 WITNESSES (NAME & PHONE#l                                                                                                                                                   OVERNIGHT HOSPITALIZATION
                                                                                                                                                                     -
  Jane Doe                                                                                                                                                                   rg~~~fu~AJOR MEDICALI
                                                                                                                                                                             F):(~~~ltMAJOR MEDICAL/
 DATE ADMINISTRATOR NOTIFIED     I
                                 I DATE PREPARED         I David Jennings, Owner, D&J Trucking
                                                           PREPARER'S NAME & TITLE                                                                                       PHONE NUMBER

       02/02/06
       02/02106                      02/02/06                                                                                                                              555-555-5555

         (2005(02)
 ACORD 4 (2005102)                                                           INFORMATION/SIGNATURE
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 66 of 514 Page ID
                                      #:1018

                                                               Baldwin & Lyons, Inc.
                                                               The Pledge ofExcellence
                                                                          ofExcellence


                                                   PRIVACY NOTICE


This privacy notice applies to Baldwin & Lyons, Inc., Protective Insurance Company, Sagamore Insurance Company, Protective Specialty
Insurance Company, B&L Brokerage Services, and B&L Insurance, Ltd. (Bermuda), which are collectively referred to in this notice as
"we," "our" and "us."
                 "us." This notice is addressed to all of our current and former policyholders, who are collectively referred to as "you,"
"your" or "yours."

We are committed to protecting your privacy. We will not share your nonpublic
                                                                    nonpublic personal information with other companies for marketing
purposes. There is no need to opt out. To learn more about how we collect, use, disclose and protect your personal information, please
read the following Privacy Notice.

Why We Collect Information
We collect and use information to evaluate your request for our insurance or other products or services, to evaluate benefit claims,
to administer our products or services and to process transactions requested by you.

Types of Information We Collect
We may collect the following types of information ifyou
                                                  if you choose to provide it:
• Underwriting and Application Information. As an insurance company;           personal information about you so that we can properly adjust,
we must research and evaluate insurance applicants. During this                settle and investigate any claims made against your policy with us.
evaluation, we gather information on individual and corporate                  This information is primarily collected to settle claims made against
applicants from government and insurance industry bureaus, and                 your policy and will not be shared with third parties except where
financial information services, such as Standard and Poor's, previous          permitted by law.
insurers and credit reporting agencies. This nonpublic personal
information includes, but is not limited to, name, mailing address,            • Publication and Software Requests. Our customers and prospective
email addresses, phone number(s), date of birth, household and                 clients occasionally express an interest in receiving software and
additional driver information, occupation and place of employment,             safety publications from us. In order to process these requests, we
and vehicle information.                                                       need to collect names, mailing addresses, email addresses, fax
                                                                               numbers and phone numbers. This information is used only to satisfY
• Consumer Report Information. We use information from consumer                publication and software requests and will not be shared with third
reporting agencies to confirm or supplement information that we                parties except where permitted by law.
gather from your application. Consumer reports typically contain
information such as motor vehicle reports, claim histories and other            • Customer Service. In order to better service your account, we
information. We will only disclose this information to service or              may need to collect names, mailing addresses, phone numbers,
underwrite your policy. We do not share this information with third            fax numbers, credit card and checking account numbers, or email
parties; however, this information may be shared among our affiliated          addresses. This information is only used to assist our representatives
companies where permitted by law.                                              in servicing your account with us and will not be shared with third
                                                                               parties except where permitted by law.
 • Event Registration Forms. We periodically hold presentations for
our customers and insureds. In order to register individuals for                • Agency or Producer Service Information. Our independent
these events, we need to gather names, mailing addresses, phone                producers and agents use Internet communication systems, to
numbers, fax numbers and email addresses. This information is only             submit information to us regarding your account. This includes,
used to coordinate and plan these events and will not be shared with           but is not limited to, underwriting information as described
third parties except where permitted by law.                                   above, endorsement requests, requests for certificates of insurance,
                                                                               additional insured requests, cancellation information and general
• Claims Reporting and Information. In order to quickly and fairly             requests for product information. We expect our independent agents
process claims, we need to collect names, mailing addresses, phone             and producers to follow our privacy policy when handling your
numbers, information pertinent to the claim, loss or accident, the             personal information. However, your independent agent or producer
names of witnesses, and information about individuals involved in              is required by law to develop its own privacy policies. Please note that
the claim, loss or accident. We also collect information about your            these privacy policies may significantly differ from ours. Thus, we
insurance coverage selections and premiums, claims history and past                                                             of your independen
                                                                               recommend that you refer to the privacy policies ofyour    independentl'
payments, and billing information. Additionally, we may compile                agent or producer to safeguard your personal information.

                                                     Decl. Barnett, Ex. A-61
                  :111 Congressional Blvd., Suite 500 1I Carmel, IN 46032 1I P: (800) 644-5501 1I F: (317) 636·0014 I baldwinancllyons.com
                                                                                                           636-0014 1 baldw!nancllyons.corn
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 67 of 514 Page ID
                                       #:1019
Baldwin & Lyons, Inc.   I1 Privacy Notice

The above list is not all-inclusive and we may collect other types of               Website Information
information about you. However, be assured that we are committed                    You can browse our websites without divulging any personal
to protecting your privacy and the confidentiality of your personal                 information. However, we have created several customer service
and financial information and that we will malce every effort to keep               applications for our policyholders, potential customers, insureds,
you updated on the types of information we are collecting about you.                claimants and investors on our websites. If you would like to access
                                                                                    these specific applications, you will need to submit information to us
Protecting Nonpublic Personal Information                                           such as your name, home address, telephone number, email address,
                      nonpublic personal information about you to the
We restrict access to nonpublic                                                     credit card or checking account information, or other personal
select employees and agents or producers who need that information                  identifiers so that we can service your account. By using any of our
to service your account, or to provide you with our products and                    websites, you agree to the terms of this Privacy Notice.
          If your information is not necessary for an employee's job, it
services. Ifyour
will not be made available to them.                                                  We also provide links to other websites on the Internet. Please
                                                                                     be aware that these links are provided as a benefit to you and we
The information we collect about you is kept within the companies                    are not responsible for the privacy practices or the content of any
of Baldwin & Lyons and will not be disclosed except when required                    other websites that you may be linked to through our websites. We
to service your account or where permitted by law. Your nonpublic                    recommend that you refer to the privacy policies of these linked sites
personal information is not available to the general public. Access to               as their privacy policies may significantly deviate from ours.
our computer systems is limited by user code and department.
                                                                                     A copy of this notice may be obtained by visiting our websites,
How and When We Disclose Nonpublic Personal Information                              or by calling 1-800-644-5501.
We will share information about you only as permitted by law.
                                                                                     Any questions about this Privacy Notice can be directed to:
We will not share your nonpublic personal information with other
companies for marketing purposes. There is no need to opt out.
                                                                                     Baldwin & Lyons, Inc.
We may disclose information to our affiliates and unaffiliated third                 Attn: Legal Department
parties for the purpose of processing insurance claims and servicing                 111 Congresssional Blvd. Suite 500
                                                                                     111Congresssional
your account with us. For instance, we disclose information to our                   Carmel, Indiana 46032
claims representatives, appraisers, insurance producers and brokers,
                                                                                     (03-2015)
law enforcement, courts and government agencies. All other
disclosures are made according to your authorization or as required
or permitted by law.

We may disclose or contribute information to state agencies, insurance
databases or rating organizations to prevent fraud, perform research,
comply with federal, state or local laws, or to comply with civil,
criminal or regulatory investigations. We may also share information
with actuarial or reinsurance professionals.

We will not disclose your medical information without first obtaining
your consent unless otherwise permitted by law and necessary to
process your claim.




                                                                                                                                                              N('oJ
                                                                                                                                                              o0
                                                                                                                                                              o0
                                                                                                                                                              o0
                                                                                                                                                              ""'cC"""'
                        111 Congressional Blvd.,           Decl. Barnett, Ex. A-62
                                          Blvd .. Suite 500 I1 Carmel, IN 46032 I1 P: (800) 644-5501 I1 F: (317) 636-0014 I1 baidwinandlyons.com
                                                                                                                             baldwinandlyons.com
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 68 of 514 Page ID
                                  #:1020




                     WORKERS' COMPENSATION
                                  I
                        PREPARED SPECIFICALLY FOR
                        Personnel Staffing Group, llC DBA Barnett Management

                        January 1, 2017 --January
                                          January 1, 2018




                          Decl. Barnett, Ex. A-63
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 69 of 514 Page ID
                                  #:1021




                                EXHIBIT B
 DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
 PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
            Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 70 of 514 Page ID
                                              #:1022
~ . ~ Protective
~
.
                     Insurance Company
                                                                  WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY
                                                                              INSURAN
                                                                              !NSURAN POLlCY
                                                                                                       UABIUTY
                                                                                        POUCY iNFORMATION
                                                                                              INFORMATION PAGE
                       .. Suite 500
111 congressional Blvd .•             i CanTlel,
                                        Cannel, IN 46032



                    New                                                                   Producer:      Assurance Agency, Ltd.
            Renewal of Number                                                                            1750 E. Golf Road, Suite 1100
                                                                                                         Schaumburg, IL 60173
 Policy No. WD001482

 1.    The Insured/Mailing address:                                                           o Individual D
                                                                                              D             0 Partnership ['gI
                                                                                                                          ['gl LLC
                                                                                              o Corporation or
                                                                                              D Corporation o r - - - - - - - -  _
       Personnel Staffing Group, LLC DBA Barnett Management
                                                                                              Insured's Identification No.(s).
       1751 Lake Cook Road, Suite 600                                                         FEIN 010759364
       Deerfield, IL 60015
                                                                                                               ID No. 917965579
                                                                                              Interstate Risk 10
                                                                                              CA Bureau 10 ID No. 9463334R
       CARRIER CODE: 14788
                                                                                              NJ Bureau 10ID No. 757513
 Other workplaces not shown above: See WC1 001 LOC                                            PA Bureau 10ID No. 3363657

 2.                                                           01/01/2018 12:01 A.M. Standard Time, at the insured's mailing
       Policy Period: The policy period is from 01/01/2017 to 01/01/201812:01
       address.
 3.    Coverage
       A. Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states listed
          here: Alabama, Arizona, California, Connecticut, Delaware, Florida, Georgia, Illinois, Indiana, Iowa, Kansas,
          Kentucky, Maryland, Michigan, Minnesota, Mississippi, Missouri, Nevada, New Hampshire, New Jersey, New
          York, North Carolina, Oklahoma, Pennsylvania, South Carolina, Tennessee, Texas, Virginia, West Virginia

       B.    Employers Liability Insurance: Part Two of the policy applies to work in each state listed in item 3.A. The limits of our
             liability under Part Two are:
                                                                      Bodily Injury by Accident              $ 1,000,000         each accident
                                                                      Bodily Injury by Disease              $$1,000,000
                                                                                                               1,000,000         policy limit
                                                                      Bodily Injury by Disease              $ 1,000,000          each employee
       C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here: All states except North
          Dakota, Ohio, Washington, Wyoming and any other state where qualified as a self-insured.

        D. This policy includes these endorsements and schedules: See WC1 001 E

  4.   Premium: The premium for this policy will be determined by our Manuals of Rules, Classifications, Rates and Rating Plans.
                                         subject to verification and change by audit.
       All information required below is sUbject
                                                                Premium Basis
                                                  Code         Total Estimated                      $1 00 of
                                                                                           Rate Per $100                     Estimated Annual
               Classifications                     No.       Annual Remuneration            Remuneration                         Premium
       See Attached Schedule

    Experience Rating                    Premium           Expense
                                                                              Other
    Modification Factor                  Discount          Constant
   Interstate Final 0.75                 $606,552           $290                            Total Estimated
   effective 01/01/2017                                                                     Annual Premium            $      4,336,483
                                                                                            Deposit Premium
                                                                                            Minimum Premium
  [ ] This is a Three Year Fixed Rate Policy
                             ['gl Annual;
  Premium Adjustment Period: ['gI                          0 Semiannual; o
                                                           D             D Quarterly; D
                                                                                      0           Monthly

   For information, or to make a complaint, call 1-800-231-6024
                                                                             Countersigned bY
                                                                             Countersigned          ....:~ t
                                                                                             by------=-~-----~-------
                                                                                                                    _
                                                                                                               Authorized Representative
                         THIS INFORMATION PAGE WITH THE WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY AND ENDORSEMENTS,
                                             IF ANY, ISSUED TO FORM A PARTTHEREOF COMPLETES THE ABOVE NUMBERED POLICY.
                                                             ©20 13 National Council on Compensation Insurance



 ABaldwin
 ABaldwin &Lyons
          &Lyons Company
                                                             Decl. Barnett, Ex. B-1                         COVERAGE THAT REVOLVES AROUND        e
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 71 of 514 Page ID
                                    #:1023

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                             we
                                                                                                                          WC oo
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                    WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to                                         PART ONE
all terms of this policy, we agree with you as follows:                               WORKERS COMPENSATION INSURANCE

                                                                                  A. How This Insurance Applies
                     GENERAL SECTION                                                This workers compensation insurance applies to
                                                                                    bodily injury by accident or bodily injury by disease.
A. The Policy                                                                       Bodily injury includes resulting death.
   This policy includes at its effective date the Infor-                            1.    Bodily injury by accident must occur during the
   mation Page and all endorsements and schedules                                         policy period.
   listed there. It is a contract of insurance between                              2.    Bodily injury by disease must be caused or ag-
   you (the employer named in Item 1 of the Infor-                                        gravated by the conditions of your employment.
   mation Page) and us (the insurer named on the In-                                      The employee's last day of last exposure to the
   formation Page). The only agreements relating to                                       conditions causing or aggravating such bodily in-
   this insurance are stated in this policy. The terms of                                 jury by disease must occur during the policy
   this policy may not be changed or waived except                                        period.
   by endorsement issued by us to be part of this
   policy.
                                                                               B. We Will Pay
                                                                                  We will pay promptly when due the benefits required
 B. Who is Insured
                                                                                  of you by the workers compensation law.
    You are insured if you are an employer named in
    Item 11 of the Information Page. If that employer is a
                                                                               C. We Will Defend
    partnership, and if you are one of its partners, you
    are insured, but only in your capacity as an em-                                 We have the right and duty to defend at our expense
    ployer of the partnership's employees.                                           any claim, proceeding or suit against you for benefits
                                                                                     payable by this insurance. We have the right to in-
                                                                                     vestigate and settle these claims, proceedings or
 C. Workers Compensation Law                                                         suits.
    Workers Compensation Law means the workers or                                    We have no duty to defend a claim, proceeding or
    workmen's compensation law and occupational                                      suit that is not covered by this insurance.
    disease law of each state or territory named in Item
    3.A. of the Information Page. It includes any
                                                                                D. We Will Also Pay
    amendments to that law which are in effect during
    the policy period. It does not include any federal                             We will also pay these costs, in addition to other
    workers or workmen's compensation law, any fed-                                amounts payable under this insurance, as part of
    eral occupational disease law or the provisions of                             any claim, proceeding or suit yve
                                                                                                                 YJe defend:
    any law that provide nonoccupational disability                                1. reasonable expenses incurred at our request,
    benefits.                                                                          but not loss of earnings;
                                                                                   2. premiums for bonds to release attachments and
 D. State                                                                              for appeal bonds in bond amounts up to the
    State means any state of the United States of                                      amount payable under this insurance;
    America, and the District of Columbia.                                         3. litigation costs taxed against you;
                                                                                   4. interest on a judgment as required by law until
 E. Locations
 E.                                                                                    we offer the amount due under this insurance;
    This policy covers all of your workplaces listed in                                and
    Items 1 or 4 of the Information Page; and it covers                            5. expenses we incur.
    all other workplaces in Item 3.A. states unless you
    have other insurance or are self-insured for such                           E. Other Insurance
    workplaces.
                                                                                   We will not pay more than our share of benefits and
                                                                                   costs covered by this insurance and other




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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 72 of 514 Page ID
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    insurance or self-insurance. Subject to any limits of                                 a. benefits payable by this insurance;
    liability that may apply, all shares will be equal until                              b. special taxes, payments into security or oth-
    the loss is paid. If any insurance or self-insurance                                     er special funds, and assessments payable
    is exhausted, the shares of all remaining insurance                                      by us under that law.
    will be equal until the loss is paid.
                                                                                    6. Terms of this insurance that conflict with the
                                                                                         workers compensation law are changed by this
F. Payments You Must Make                                                                statement to conform to that law.
   You are responsible for any payments in excess of                                Nothing in these paragraphs relieves you of your du-
   the benefits regularly provided by the workers                                   ties under this policy.
   compensation law including those required
   because:
   1. of your serious and willful misconduct;                                                      PART TWO
   2. you knowingly employ an employee in violation                                       EMPLOYERS LIABILITY INSURANCE
       of law;                                                                 A. How This Insurance Applies
   3. you fail to comply with a health or safety law or
                                                                                    This employers liability insurance applies to bodily
        regulation; or
                                                                                    injury by accident or bodily injury by disease. Bodily
   4. you discharge, coerce or otherwise discriminate                               injury includes resulting death.
        against any employee in violation of the workers
                                                                                     1.   The bodily injury must arise out of and in the
        compensation law.                                                                 course of the injured employee's employment by
    If we make any payments in excess of the benefits                                     you.
    regularly provided by the workers compensation
                                                                                    2.    The employment must be necessary or inci-
    law on your behalf, you will reimburse us promptly.
                                                                                          dental to your work in a state or territory listed in
                                                                                          Item 3.A. of the Information Page.
G. Recovery From Others                                                              3.   Bodily injury by accident must occur during the
   We have your rights, and the rights of persons enti-                                   policy period.
   tled to the benefits of this insurance, to recover our                            4.   Bodily injury by disease must be caused or ag-
   payments from anyone liable for the injury. You will                                   gravated by the conditions of your employment.
   do everything necessary to protect those rights for                                    The employee's last day of last exposure to the
   us and to help us enforce them.                                                        conditions causing or aggravating such bodily in-
                                                                                          jury by disease must occur during the policy
                                                                                          period.
H. Statutory Provisions
   These statements apply where they are required by                                 5.   If you are sued, the original suit and any related
                                                                                          legal actions for damages for bodily injury by ac-
   law.
                                                                                          cident or by disease must be brought in the
   1. As between an injured worker and us, we have                                        United States of America, its territories or pos-
        notice of the injury when you have notice.                                        sessions, or Canada.
   2. Your default or the bankruptcy or insolvency of
        you or your estate will not relieve us of our du-
        ties under this insurance after an injury occurs.                       B. We Will Pay
                                                                                   We will pay all sums that you legally must pay as
   3. We are directly and primarily liable to any per-
        son entitled to the benefits payable by this in-                           damages because of bodily injury to your employ-
                                                                                   ees, provided the bodily injury is covered by this
        surance. Those persons may enforce our duties;
            may an agency authorized by law. Enforce-                              Employers Liability Insurance.
        so mayan
         ment may be against us or against you and us.                             The damages we will pay, where recovery is permit-
                                                                                   ted by law, include damages:
   4. Jurisdiction over you is jurisdiction over us for
         purposes of the workers compensation law. We                              1. For which you are liable to a third party by rea-
        are bound by decisions against you under that                                  son of a claim or suit against you by that third
        law, subject to the provisions of this policy that                             party to recover the damages claimed against
         are not in conflict with that law.                                            such third party as a result of injury to your em-
                                                                                       ployee;
    5. This insurance conforms to the parts of the
        workers compensation law that apply to:




                                                                         2 of6
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 73 of 514 Page ID
                                   #:1025

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we oo oo oo cC
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     2. For care and loss of services; and                                         9. Bodily injury to any person in work subject to the
     3. For consequential bodily injury to a spouse,                                   Federal Employers' Liability Act (45 U.S.C. Sec-
        child, parent, brother or sister of the injured em-                           tions 51 et seq.), any other federal laws obligat-
        ployee; provided that these damages are the di-                               ing an employer to pay damages to an employee
        rect consequence of bodily injury that arises out                             due to bodily injury arising out of or in the course
        of and in the course of the injured employee's                                of employment, or any amendments to those
        employment by you; and                                                         laws;
     4. Because of bodily injury to your employee that                             10.Bodily injury to a master or member of the crew
        arises out of and in the course of employment,                                of any vessel, and does not cover punitive dam-
        claimed against you in a capacity other than as                               ages related to your duty or obligation to provide
                                                                                      transportation, wages, maintenance, and cure
        employer.
                                                                                       under any applicable maritime law;
C.   Exclusions                                                                    11. Fines or penalties imposed for violation of federal
                                                                                       or state law; and
     This insurance does not cover:
                                                                                    12. Damages payable under the Migrant and Sea-
     1. Liability assumed under a contract. This exclu-
                                                                                        sonal Agricultural Worker Protection Act (29
        sion does not apply to a warranty that your work
        will be done in a workmanlike manner;                                           U.S. C. Sections 1801 et seq.) and under any
                                                                                        U.S.C.
                                                                                        other federal law awarding damages for violation
     2. Punitive or exemplary damages because of bodi-                                  of those laws or regulations issued thereunder,
        ly injury to an employee employed in violation of                               and any amendments to those laws.
        law;            .·
     3. Bodily injury to an employee while employed in                        D. We Will Defend
        violation of law with your actual knowledge or the
        actual knowledge of any of your executive offic-                            We have the right and duty to defend, at our ex-
        ers;                                                                        pense, any claim, proceeding or suit against you for
                                                                                    damages payable by this insurance. We have the
     4. Any obligation imposed by a workers compensa-
                                                                                    right to investigate and settle these claims, proceed-
        tion, occupational disease, unemployment com-
                                                                                    ings and suits.
        pensation, or disability benefits law, or any simi-
        lar law;
        larlaw;                                                                     We have no duty to defend a claim, proceeding or
                                                                                    suit that is not covered by this insurance. We have
     5. Bodily injury intentionally caused or aggravated
                                                                                    no duty to defend or continue defending after we
        by you;
                                                                                    have paid our applicable limit of liability under this
     6. Bodily injury occurring outside the United States                           insurance.
        of America, its territories or possessions, and
        Canada. This exclusion does not apply to bodily
        injury to a citizen or resident of the United States                   E. We Will Also Pay
        of America or Canada who is temporarily outside                             We will also pay these costs, in addition to other
        these countries;                                                            amounts payable under this insurance, as part of
     7. Damages arising out of coercion, criticism, de-                             any claim, proceeding, or suit we defend:
        motion, evaluation, reassignment, discipline,                               1. Reasonable expenses incurred at our request,
        defamation, harassment, humiliation, discrimina-                               but not loss of earnings;
        tion against or termination of any employee, or                             2. Premiums for bonds to release attachments and
        any personnel practices, policies, acts or omis-                               for appeal bonds in bond amounts up to the limit
        sions;                                                                         of our liability under this insurance;
     8. Bodily injury to any person in work subject to the                          3. Litigation costs taxed against you;
        Longshore and Harbor Workers' Compensation
                 U.S. C. Sections 901 et seq.), the Nonap-
        Act (33 U.S.C.                                                              4. Interest on a judgment as required by law until
        propriated Fund Instrumentalities Act (5 U.S.C.                                we offer the amount due under this insurance·
                                                                                                                              insurance'
                                                                                       and                                             '
        Sections 8171 et seq.), the Outer Continental
        Shelf Lands Act (43 U.S.C. Sections 1331 et                                 5. Expenses we incur.
        seq.), the Defense Base Act (42 U.S.C. Sections
        1651-1654), the Federal Mine Safety and Health
        Act (30 U.S.C.
                 U.S. C. Sections 801 et seq. and 901-
        944), any other federal workers or workmen's
        compensation law or other federal occupational
        disease law, or any amendments to these laws;

                                                                        3 of6
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       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 74 of 514 Page ID
                                         #:1026

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(Ed.
(Ed. 1-15)



F.
F. Other Insurance                                                                 This insurance does not give anyone the right to add
   We will not pay more than our share of damages                                  us as a defendant in an action against you to deter-
   and costs covered by this insurance and other in-                               mine your liability. The bankruptcy or insolvency of
   surance or self-insurance. Subject to any limits of li-                         you or your estate will not relieve us of our obliga-
   ability that apply, all shares will be equal until the                          tions under this Part.
   loss is paid. If any insurance or self-insurance is ex-
   hausted, the shares of all remaining insurance and                                                PART THREE
   self-insurance will be equal until the loss is paid.
                                                                                               OTHER STATES INSURANCE

G.
G. Limits of Liability                                                        A. How This Insurance Applies
   Our liability to pay for damages is limited. Our limits                          1.   This other states insurance applies only if one or
   of liability are shown in Item 3.B. of the Information                                more states are shown in Item 3.C. of the Infor-
   Page. They apply as explained below.                                                  mation Page.
   1. Bodily Injury by Accident. The limit shown for                               2.                          anyone
                                                                                         If you begin work in any   one of those states after
        "bodily injury by accident-each accident" is the                                 the effective date of this policy and are not in-
        most we will pay for all damages covered by this                                 sured or are not self-insured for such work, all
        insurance because of bodily injury to one or                                     provisions of the policy will apply as though that
        more employees in anyoneany one accident.                                        state were listed in Item 3.A. of the Information
        A disease is not bodily injury by accident unless                                Page.
         it results directly from bodily injury by accident.                        3.   We will reimburse you for the benefits required
   2. Bodily Injury by Disease. The limit shown for                                      by the workers compensation law of that state if
                                                                                         we are not permitted to pay the benefits directly
        "bodily injury by disease-policy limit" is the
                                                                                         to persons entitled to them.
         most we will pay for all damages covered by this
         insurance and arising out of bodily injury by dis-                         4.   If you have work on the effective date of this pol-
        ease, regardless of the number of employees                                      icy in any state not listed in Item 3.A. of the In-
         who sustain bodily injury by disease. The limit                                 formation Page, coverage will not be afforded for
         shown for "bodily injury by disease-each em-                                    that state unless we are notified within thirty
                                                                                         days.
         ployee" is the most we will pay for all damages
         because of bodily injury by disease to anyone
                                                    any one
         employee.                                                             B. Notice
         Bodily injury by disease does not include dis-                           Tell us at once if you begin work in any state listed in
         ease that results directly from a bodily injury by                       Item 3.C. of the Information Page.
         accident.
   3. We will not pay any claims for damages after we                                                PART FOUR
         have paid the applicable limit of our liability un-                                YOUR DUTIES IF INJURY OCCURS
         der this insurance.
                                                                                    Tell us at once if injury occurs that may be covered
H. Recovery From Others
H.                                                                                  by this policy. Your other duties are listed here.
   We have your rights to recover our payment from                                  1. Provide for immediate medical and other ser-
   anyone liable for an injury covered by this insurance.                                vices required by the workers compensation law.
   You will do everything necessary to protect those
   You                                                                              2. Give us or our agent the names and addresses
   rights for us and to help us enforce them.                                            of the injured persons and of witnesses, and
                                                                                         other information we may need.
I.I.    Actions Against Us                                                          3. Promptly give us all notices, demands and legal
        There will be no right of action against us under this                           papers related to the injury, claim, proceeding or
        insurance unless:                                                                suit.
        1. You have complied with all the terms of this poli-
            cy; and
        2. The amount you owe has been determined with
            our consent or by actual trial and final judgment.



                                                                        4 of6
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 75 of 514 Page ID
                                   #:1027

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                             we 00
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   4.    Cooperate with us and assist us, as we may re-                       D. Premium Payments
         quest, in the investigation, settlement or defense                         You will pay all premium when due. You will pay the
         of any claim, proceeding or suit.                                          premium even if part or all of a workers compensa-
    5.   Do nothing after an injury occurs that would in-                           tion law is not valid.
         terfere with our right to recover from others.
    6.   Do not voluntarily make payments, assume obli-                       E. Final Premium
         gations or incur expenses, except at your own                           The premium shown on the Information Page,
         cost.                                                                   schedules, and endorsements is an estimate. The
                                                                                 final premium will be determined after this policy
                              PART FIVE                                          ends by using the actual, not the estimated, premi-
                                                                                 um basis and the proper classifications and rates
                              PREMIUM
                                                                                 that lawfully apply to the business and work covered
                                                                                 by this policy. If the final premium is more than the
A. Our Manuals
                                                                                 premium you paid to us, you must pay us the bal-
   All premium for this policy will be determined ~X our                         ance. If it is less, we will refund the balance to you.
   manuals of rules, rates, rating plans and classIfIca-
                                              classifica-                        The final premium will not be less than the highest
   tions. We may change our manuals and apply the                                minimum premium for the classifications covered by
   changes to this policy if authorized by law or a gov-                         this policy.
   ernmental agency regulating this insurance.
                                                                                 If this policy is canceled, final premium will be de-
                                                                                 termined in the following way unless our manuals
B. Classifications                                                               provide otherwise:
   Item 4 of the Information Page shows the rate and                              1. If we cancel, final premium will be calculated pro
    premium basis for certain business or work classifi-                               rata based on the time this policy was in force.
    cations. These classifications were assigned based                                 Final premium will not be less than the pro rata
    on an estimate of the exposures you would have                                     share of the minimum premium ..
    during the policy period. If your actual exposures are
                                                                                 2. If you cancel, final premium will be more than
    not properly described by those classifications, w,e
                                                      w_e
                                                                                       pro rata; it will be based on the time this policy
    will assign proper classifications, rates and premium
                                                  prem1um
    basis by endorsement to this policy.                                               was in force, and increased by our short-rate
                                                                                       cancelation table and procedure. Final premium
                                                                                       will not be less than the minimum premium.
C. Remuneration
    Premium for each work classification is determined                         F.   Records
       multiplying a rate times a premi~m basi~. Re~u­
    by mUltiplying
                                                                                    You will keep records of information needed to com-
    neration is the most common premium
                                     prem1um basIs.
                                              bas1s. This
                                                     Th1s
                                                                                    pute premium. You will provide us with copies of
    premium basis includes pay~oll and all .other r.emu-
                                                                                    those records when we ask for them.
    neration paid or payable dunng the policy penod for
    the services of:
    1. all your officers and employees engaged in work
                                                                               G. Audit
        covered by this policy; and                                                 You will let us examine and audit all your records
    2. all other persons engaged in work that could                                 that relate to this policy. These records include ledg-
        make us liable under Part One (Workers Com-                                 ers, journals, registers, vouchers, contracts, tax re-
        pensation Insurance) of this policy. If you do not                          ports, payroll and disbursement records, and pro-
                                                                                    grams for storing and retrieving data. We may con-
        have payroll records for these persons, the con-
                                                                                    duct the audits during regular business hours during
        tract price for their services and materials may
        be used as the premium basis. This paragraph 2                              the policy period and within three years after the pol-
                                                                                    icy period ends. Information developed by audit will
        will not apply if you give us proof that the em-
        ployers of these persons lawfully secured their                             be used to determine final premium. Insurance rate
                                                                                    service organizations have the same rights we have
        workers compensation obligations.
                                                                                    under this provision.




                                                                        5 of6
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 76 of 514 Page ID
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(Ed. 1-15)



                           PART SIX                                                 If you die and we receive notice within thirty days af-
                          CONDITIONS                                                ter your death, we will cover your legal representa-
                                                                                    tive as insured.
A. Inspection
    We have the right, but are not obliged to inspect                          D. Cancelation
    your workplaces at any time. Our inspections are not                          1. You may cancel this policy. You must mail or de-
    safety inspections. They relate only to the insurabil-                           liver advance written notice to us stating when
    ity of the workplaces and the premiums to be                                     the cancelation is to take effect.
    charged. We may give you reports on the conditions
    we find. We may also recommend changes. While                                 2. We may cancel this policy. We must mail or de-
    they may help reduce losses, we do not undertake                                 liver to you not less than ten days advance writ-
    to perform the duty of any person to provide for the                             ten notice stating when the cancelation is to take
    health or safety of your employees or the public. We                             effect. Mailing that notice to you at your mailing
    do not warrant that your workplaces are safe or                                  address shown in Item 1 of the Information Page
    healthful or that they comply with laws, regulations,                            will be sufficient to prove notice.
    codes or standards. Insurance rate service organiza-                          3. The policy period will end on the day and hour
    tions have the same rights we have under this                                    stated in the cancelation notice.
    provision.                                                                    4. Any of these provisions that conflict with a law
                                                                                     that controls the cancelation of the insurance in
B. Long Term Policy                                                                  this policy is changed by this statement to com-
     If the policy period is longer than one year and six-                           ply with the law.
     teen days, all provisions of this policy will apply as
     though a new policy were issued on each annual                            E. Sole Representative
   . anniversary that this policy is in force.                                       The insured first named in Item 1 of the Information
                                                                                     Page will act on behalf of all insureds to change this
C. Transfer of Your Rights and Duties                                                policy, receive return premium, and give or receive
   Your rights or duties under this policy may not be                                notice of cancelation.
   transferred without our written consent.




   IN WITNESS WHEREOF, Protective Insurance Company has caused this policy to be signed by its Offficer(s).




       PRESIDENT




                                                                         60f6
                                                                         6 of6
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                                                     Decl. Barnett, Ex. B-7
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       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 77 of 514 Page ID
                                         #:1029


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


ALABAMA


STORAGE WAREHOUSE NOC                                           8292            1,860,000            4.43          $82,398


CLERICAL                                                        8810               39,000             0.27            $105


TOTAL MANUAL PREMIUM                                                                                               $82,503


EL INCREASED LIMITS                                             9812                                 2.8%           $2,310


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.135        ($73,364)


EXPERIENCE MOD                                                  9898                                  0.75          ($2,862)


TOTAL STANDARD EST. PREMIUM                                                                                         $8,587


PREMIUM DISCOUNT                                                0063                                                ($1,217)


CATASTROPHE                                                     9741                                  0.02            $380


TERRORISM                                                       9740                                  0.02            $380

TOTAL AMOUNT                                                                                                         $8,130




                                           Decl. Barnett, Ex. B-8
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 78 of 514 Page ID
                                         #:1030


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


ARIZONA


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            4,486,000             4.29        $192,449


STORAGE WAREHOUSE NOC                                           8292              412,000             3.97         $16,356


TOTAL MANUAL PREMIUM                                                                                              $208,806


EL INCREASED LIMITS                                             9812                                 2.0%           $4,176


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.148       ($181 ,461)
                                                                                                                 ($181,461)


EXPERIENCE MOD                                                  9898                                  0.75          ($7,880)


TOTAL STANDARD EST. PREMIUM                                                                                        $23,641


PREMIUM DISCOUNT                                                0063                                                ($2,801)


CATASTROPHE                                                     9741                                  0.01            $490


TERRORISM                                                       9740                                  0.01            $490

TOTAL AMOUNT                                                                                                       $21,820




                                           Decl. Barnett, Ex. B-9
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 79 of 514 Page ID
                                   #:1031


                      PROTECTIVE INSURANCE COMPANY
                  WORKER'S COMPENSATION INSURANCE
                                        INSURANCE-- SCHEDULE EXTENSION

FOR:          PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
              POLICY NO:      WD001482
              EFFECTIVE DATE: 01/01/2017


              CLASSIFICATION OF OPERATIONS                                          PREMIUM BASIS        RATE
ENTRIES IN
ENTRIES    IN THIS
              THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE                  ESTIMATED TOTAL
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   IN THIS
      THIS POLICY,
            POLICY, DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF
                                                                   CLASSIFICATION                      PERS100 OF
                                                                                                       PER$100          ESTIMATED
                                                                                                                       ESTIMATED
                                                                                        ANNUAL
                               THIS POLICY                             CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                     ANNUAL  PREMIUM
                                                                                     REMUNERATION

CALIFORNIA (PAGE 1 OF 2)


BAKERIES & CRACKER MFG.                                                2003          25,462,000            14.79       $3,765,830

BOTTLING
BOTTLING-- BEVERAGES
           BEVERAGES-- NO SPIRITUOUS LIQUORS                           2163            9,901,000           11.58       $1,146,536
                                                                                                                       $1 '146,536

ELECTRICAL APPARATUS MFG. NOC                                          3179           12,433,000            6.06         $753,440

OFFICE MACHINE INSTALLATION, INSPECTION,                               5191           7,824,000             4.04         $316,090
ADJUSTMENT OR REPAIR


CONFECTIONS AND FOOD SUNDRIES MFG. OR                                  6504          12,014,000            14.55       $1,748,037
PROCESSING-- NOC
PROCESSING


STORES-- RETAIL
STORES   RETAIL-- NOC                                                  8017          10,993,000               6.4        $703,552

STORAGE WAREHOUSE NOC                                                  8292          32,432,000            17.92       $5,811,814


MAILING OR ADDRESSING COMPANY OR LETTER                                8800           4,826,000             7.32         $353,263
SERVICE SHOP


CLERICAL                                                               8810            839,000               0.77           $6,460


HOTELS - ALL EMPLOYEES                                                 9050          14,498,000            15.22       $2,206,596


PLASTICS-- INJECTION MOLDED PRODUCTS MFG. NOC
PLASTICS                                                               4498           7,598,000              10.2        $774,996


SAWMILL                                                                2710           6,361,000            12.83         $816,116


WOOD PRODCUTS MFG. NOC                                                 2842           6,624,000            17.77       $1,177,085


TOTAL MANUAL PREMIUM                                                                                                  $19,579,815

INCREASED EL LIMITS                                                    9812                                 3.30%      $646,134

DEDUCTIBLE PREMIUM FACTOR                                              9664                                0.162     ($16,949,345)



                                            Decl. Barnett, Ex. B-10
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 80 of 514 Page ID
                                         #:1032



                    PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE
                                       INSURANCE-- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE

   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM,
                     ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                    ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS
                 THIS POLICY,
                       POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                    CODE                           REMUNERATION           PREMIUM
                                                                                                                  ANNUAL PREMIUM
                   PROVISIONS
                   PROVISIONS OF THIS POLICY                                      REMUNERATION

CALIFORNIA
CALIFORNIA (PAGE 2 OF 2)


EXPERIENCE
EXPERIENCE MOD                                                      9898                                 0.94        ($196,596)


TOTAL
TOTAL STANDARD EST. PREMIUM                                                                                         $3,080,007


PREMIUM
PREMIUM DISCOUNT                                                    0063                                             ($364,919)


TERRORISM
TERRORISM                                                           9740                                  0.03         $45,542


CATASTROPHE
CATASTROPHE                                                         9741                                  0.01         $15,181


ESTIMATED ANNUAL PREMIUM
ESTIMATED                                                                                                           $2,775,810


CA INDUSTRIAL
CA INDUSTRIAL RELATIONS SURCHARGE                                                                     1.0037%           $55,516


CA INSURANCE
CA INSURANCE GUARANTEE ASSOC. SURCHARGE                                                              2.0000%          $168,218


TOTAL AMOUNT
TOTAL                                                                                                               $2,999,544




                                             Decl. Barnett, Ex. B-11
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 81 of 514 Page ID
                                   #:1033


                PROTECTIVE INSURANCE COMPANY
            WORKER'S COMPENSATION INSURANCE·
                                  INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


        CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE
ENTRIES
ENTRIES IN
        IN THIS
           THIS ITEM,
                ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                        CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS
                THIS POLICY, DO NOT MODIFY ANY OF THE                        ANNUAL
                                                            CODE                           REMUNERATION          PREMIUM
                                                                                                          ANNUAL PREMIUM
           OTHER
           OTHER PROVISIONS
                   PROVISIONS OF THIS POLICY                              REMUNERATION

CONNECTICUT
CONNECTICUT


STORAGE
STORAGE WAREHOUSE NOC                                       8292              338,000            6.35          $21,463


CLERICAL
CLERICAL                                                    8810            1,013,000            0.30           $3,039


TOTAL
TOTAL MANUAL PREMIUM                                                                                           $24,502


EL
EL INCREASED LIMITS                                         9812                                 2.8%             $686


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                  9664                                0.209         ($19,924)


EXPERIENCE MOD
EXPERIENCE                                                  9898                                  0.75         ($1,316)


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                           $3,948


PREMIUM DISCOUNT
PREMIUM                                                     0063                                                 ($485)


CATASTROPHE
CATASTROPHE                                                 9741                                 0.02             $270


TERRORISM
TERRORISM                                                   9740                                 0.02             $270


ESTIMATED ANNUAL PREMIUM
ESTIMATED                                                                                                       $4,003


CT SUF SURCHARGE                                                                                2.75%             $470


CTWC FUND
CTWC                                                                                            2.10%             $359

TOTAL AMOUNT
TOTAL                                                                                                           $4,832




                                        Decl. Barnett, Ex. B-12
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 82 of 514 Page ID
                                         #:1034


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


DELAWARE


WAREHOUSING-- OTHER THAN FURNITURE MOVING
WAREHOUSING                                                     0813              405,000             9.23         $37,382
AND STORAGE


CLERICAL                                                        0953              262,000             0.37            $969


TOTAL MANUAL PREMIUM                                                                                               $38,351


EL INCREASED LIMITS                                             9812                                 3.3%           $1,266


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.159         ($33,317)


TOTAL STANDARD EST. PREMIUM                                                                                         $6,299


PREMIUM DISCOUNT                                                0063                                                  ($746)


EXPENSE CONSTANT                                                0900                                                  $290


CATASTROPHE                                                     9741                                  0.02            $133


TERRORISM                                                       9740                                  0.02            $133

TOTAL AMOUNT                                                                                                         $6,111




                                          Decl. Barnett, Ex. B-13
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 83 of 514 Page ID
                                   #:1035


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                        ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF    ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHE
 ELSEWHERERE IN l"H IS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                    PROVISIONS OF THIS POLICY                       CODE                                        ANNUAL PREMIUM
                                                                                                   REMUNERATION ANNUAL  PREMIUM
                                                                                  REMUNERATION

FLORIDA


LANDSCAPE GARDENING &
                    &DRIVERS                                        0042            9,801,000             9.82       $962,458


CLOTH, CANVAS AND RELATED PRODUCTS MFG. NOC                         2501            7,257,000             3.35       $243,110


STORAGE WAREHOUSE NOC                                               8292            5,389,000             6.32       $340,585

                                                                                                             --
SALESPERSONS
SALESPERSONS-- OUTSIDE                                              8742           1,026,000              0.51         $5,233


CLUB-- COUNTRY, GOLF, FISHING OR YACHT
CLUB                             YACHT-- ALL                        9060          37,653,000              2.54       $956,386
        ES & CLERICAL, SALESPERSONS,
EMPLOYEES
EMPLOYE
DRIVERS


     MAINTENANCE-- COMMERCIAL OR DOMESTIC &
LAWN MAINTENANCE                                                    9102           7,217,000              5.16       $372,397
DRIVERS


CLERICAL                                                            8810           5,817,000              0.26        $15,124


TOTAL MANUAL PREMIUM                                                                                               2,895,293


EL INCREASED LIMITS                                                 9812                                 1.4%         $40,534


DEDUCTIBLE PREMIUM                                                  9664                                0.184     ($2,395,635)


EXPERIENCE MOD                                                      9898                                  0.75      ($135,048)


TOTAL STANDARD EST. PREMIUM                                                                                          $405,144


PREMIUM DISCOUNT                                                    0063                                             ($48,001)


TERRORISM                                                           9740                                  0.02        $14,832

TOTAL AIVIOUNT                                                                                                       $371,975



                                            Decl. Barnett, Ex. B-14
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 84 of 514 Page ID
                                         #:1036


                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE ·SCHEDULE
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


GEORGIA


STORAGE WAREHOUSE NOC                                           8292            6,920,000             8.37        $579,204


CLERICAL                                                        8810              339,000             0.26            $881


TOTAL MANUAL PREMIUM                                                                                              $580,085


EL INCREASED LIMITS                                             9812                                 3.3%          $19,143


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.154       ($506,947)


EXPERIENCE MOD                                                  9898                                  0.75         ($23,070)


TOTAL STANDARD EST. PREMIUM                                                                                        $69,211


PREMIUM DISCOUNT                                                0063                                                ($9,812)


CATASTROPHE                                                     9741                                  0.02           $1,452


TERRORISM                                                       9740                                  0.02           $1,452

TOTAL AMOUNT                                                                                                       $62,302




                                          Decl. Barnett, Ex. B-15
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 85 of 514 Page ID
                                  #:1037


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE-- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

         {PAGE 1 OF 3)
ILLINOIS (PAGE


CEREAL OR BAR MFG.                                              2016            533,000               3.86         $20,574

PACKING HOUSE
        HOUSE-- ALL OPERATIONS                                  2089            943,000               3.98         $37,531

ELECTRICAL APPARATUS MFG. NOC                                   3179           3,559,000              3.69        $131,327

SHEET METAL PRODUCTS MFG.                                       3076            994,000               6.36         $63,218

EYELET MFG.
EYELET                                                          3270           1,356,000              5.99         $81,224

METAL STAMPED GOODS MFG. NOC                                    3400           3,378,000              6.09        $205,720

PUMP MFG.                                                       3612            543,000               4.63         $25,141


MACHINES PARTS MFG. NOC                                         3629            860,000               3.58         $30,788


TELEVISION, RADIO, TELEPHONE OR                                 3681           3,350,000              1.76         $58,960
TELECOMMUNCATION DEVICE MFG. NOC


CORRUGATED OR FIBERBOARD CONTAINER MFG.                         4244           2,855,000              5.42        $154,741


BAG MFG. - PAPER OF PLASTIC                                     4273           1,409,000              4.99         $70,309


PRINTING                                                        4299           12,339,000             3.83        $472,584


BOOKBINDING                                                     4307           3,516,000              3.67        $129,037


PLASTICS MFG. - MOLDED PRODUCTS NOC                             4484           8,898,000              4.25        $378,165

PHARMACEUTICAL OR SURGICAL GOODS MFG.                           4693           9,306,000              2.28        $212,177


DRUG, MEDICINE OR PHARMACEUTICAL                                4825           6,415,000              2.02        $129,583
PREPARATION MFG. -INCLUDES MFG. OF
INGREDIENTS



                                        Decl. Barnett, Ex. B-16
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 86 of 514 Page ID
                                   #:1038



                PROTECTIVE INSURANCE COMPANY
                                   INSURANCE- SCHEDULE EXTENSION
             WORKER'S COMPENSATION INSURANCE·


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017

        CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE
ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                        CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE                          ANNUAL
                                                            CODE                           REMUNERATION   ANNUAL PREMIUM
           OTHER PROVISIONS OF THIS POLICY                                REMUNERATION

ILLINOIS (PAGE 2 OF 3)


                INSTALLATION-- ALL
DOOR AND WINDOW INSTALLATION                                5102           1,195,000            18.23         $217,849
TYPES-- RESIDENTIAL AND COMMERCIAL
TYPES


OFFICE MACHINE INSTALLATION, INSPECTION,                    5191            414,000               1.27          $5,258
ADJUSTMENT OR REPAIR


FOOD PRODUCTS MFG. NOC                                      6504           3,174,000              5.27        $167,270


MAIL, PACKAGE, PARCEL DELIVERY                              7231           1,087,000             17.61        $191,421


FLORIST-- STORE & DRIVERS
FLORIST                                                     8001            356,000               3.09         $11,000


STORE - HARDWARE                                            8010            814,000               2.66         $21,652


STORE-- RETAIL NOC
STORE                                                       8017           5,933,000              2.80        $166,124


STORE: WHOLESALE-NOC                                        8018           6,297,000              5.08        $319,888


STORE-- FURNITURE & DRIVERS
STORE                                                       8044           1,169,000              5.12         $59,853


VEGETABLE PACKING & DRIVERS                                 8209           2,905,000              4.87        $141,474


STORAGE WAREHOUSE NOC                                       8292          18,717,000              6.91      $1,293,345


SALESPERSONS-OUTSIDE                                        8742           1,031,000              0.44          $4,536


MAILING OR ADDRESSING COMPANY OR                            8800          19,519,000              3.13        $610,945
LETTER SERVICE SHOP


CLERICAL                                                    8810          22,933,000              0.20         $45,866



                                        Decl. Barnett, Ex. B-17
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 87 of 514 Page ID
                                         #:1039



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

ILLINOIS (PAGE 3 OF 3)


        ALL OTHER EMPLOYEES &
HOTEL --ALL                                                     9052           1,146,000           4.02            $46,069
SALESPERSONS, DRIVERS


HOTEL-RESTAURANT EMPLOYEES                                      9058            623,000            2.32            $14,454


SCRW MFG.                                                       3145            951,000            3.35            $31,859


TOTAL MANUAL PREMIUM                                                                                            $5,549,941


EL INCREASED LIMITS                                             9812                              2.80%           $155,398


DEDUCTIBLE PREMIUM FACTOR                                       9664                              0.156        ($4,815,306)


EXPERIENCE MOD                                                  9898                               0.75          ($222,508)


TOTAL STANDARD EST. PREMIUM                                                                                       $667,525


PREMIUM DISCOUNT                                                0063                                              ($79,088)


TERRORISM                                                       9740                               0.05            $74,259


CATASTROPHE                                                     9741                               0.01            $14,852


ESTIMATED ANNUAL PREMIUM                                                                                          $677,547


IL WC SURCHARGE                                                                                   1.01%              $6,843

TOTAL AMOUNT                                                                                                      $684,390




                                          Decl. Barnett, Ex. B-18
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 88 of 514 Page ID
                                         #:1040


                   PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE --SCHEDULE
                                                  SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


INDIANA


STORAGE WAREHOUSE NOC                                           8292            2,070,000            4.10          $84,870


CLERICAL                                                        8810               88,000             0.24            $211


TOTAL MANUAL PREMIUM                                                                                               $85,081


EL INCREASED LIMITS                                             9812                                 2.8%           $2,382


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.125        ($76,531))
                                                                                                                  ($76,531


EXPERIENCE MOD                                                  9898                                  0.75          ($2,733)


TOTAL STANDARD EST. PREMIUM                                                                                         $8,200


PREMIUM DISCOUNT                                                0063                                                  ($971))
                                                                                                                      ($971


CATASTROPHE                                                     9741                                  0.02            $432


TERRORISM                                                       9740                                  0.02            $432


ESTIMATED ANNUAL PREMIUM                                                                                             $8,091


IN SIF SURCHARGE                                                                                  0.8240%               $67

TOTAL AMOUNT                                                                                                         $8,158




                                          Decl. Barnett, Ex. B-19
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 89 of 514 Page ID
                                   #:1041



             PROTECTIVE INSURANCE COMPANY
          WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                INSURANCE -SCHEDULE

FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


       CLASSIFICATION OF OPERATIONS                              PREMIUM BASIS        RATE
 ENTRIES
 ENTRIES IN
         IN THIS ITEM, EXCEPT AS SPECIFICALLY
                                                                 ESTIMATED TOTAL
 PROVIDED
 PROVIDED ELSEWHERE IN THIS POLICY, DO NOT      CLASSIFICATION                      PER $100 OF     ESTIMATED
                                                                     ANNUAL
 MODIFY
 MODIFY ANY
        ANY OF THE OTHER PROVISIONS OF THIS         CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                         PREMIUM
                                                                  REMUNERATION
                    POLICY

IOWA
IOWA

STORAGE WAREHOUSE NOC                               8292           11,873,000             5.73        $680,323


CLERICAL                                            8810              304,000             0.36          $1,094


TOTAL MANUAL PREMIUM                                                                                  $681,417


EL INCREASED LIMITS                                 9812                                 2.8%          $19,080


DEDUCTIBLE PREMIUM FACTOR                           9664                                 0.199       ($561,098)
                                                                                                     ($561 ,098)


EXPERIENCE MOD                                      9898                                  0.75        ($34,850)


TOTAL STANDARD EST. PREMIUM                                                                           $104,549


PREMIUM DISCOUNT                                    0063                                              ($12,387)


TERRORISM                                           9740                                  0.02          $2,435


CATASTROPHE                                         9741                                  0.01          $1,218


TOTAL AMOUNT                                                                                           $95,815




                                        Decl. Barnett, Ex. B-20
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 90 of 514 Page ID
                                         #:1042


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION


FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE

   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM,
                    ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS
                THIS POLICY,
                      POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE                           REMUNERATION           PREMIUM
                                                                                                                 ANNUAL PREMIUM
                  PROVISIONS
                   PROVISIONS OF THIS POLICY                                     REMUNERATION


KANSAS
KANSAS


STORAGE
STORAGE WAREHOUSE NOC                                              8292            1,267,000            5.94          $75,260


EL
EL INCREASED
   INCREASED LIMITS                                                9812                                 2.8%            $2,107


DEDUCTIBLE
DEDUCTIBLE PREMIUM FACTOR                                          9664                                0.143          ($66,304)


EXPERIENCE
EXPERIENCE MOD                                                     9898                                  0.75          ($2,766)


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                   $8,298


PREMIUM DISCOUNT
PREMIUM                                                            0063                                                ($1,176)


CATASTROPHE
CATASTROPHE                                                        9741                                  0.02             $253


TERRORISM
TERRORISM                                                          9740                                  0.02             $253

TOTAL AMOUNT
TOTAL                                                                                                                   $7,628




                                            Decl. Barnett, Ex. B-21
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 91 of 514 Page ID
                                       #:1043


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                      INSURANCE ·SCHEDULE


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE

   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

KENTUCKY


ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS &
                                     & DRIVERS                    5190            6,133,000             3.83        $234,894


CLERICAL                                                          8810              503,000             0.21           $1,056


TOTAL MANUAL PREMIUM                                                                                                $235,950


EL INCREASED LIMITS                                               9812                                 2.8%            $6,607


DEDUCTIBLE PREMIUM FACTOR                                         9664                                 0.164       ($202,777)


EXPERIENCE MOD                                                    9898                                  0.75          ($9,945)


TOTAL STANDARD EST. PREMIUM                                                                                           $29,834


PREMIUM DISCOUNT                                                  0063                                                ($4,851)


CATASTROPHE                                                       9741                                  0.02           $1,327


TERRORISM                                                         9740                                  0.02           $1,327


ESTIMATED ANNUAL PREMIUM                                                                                              $27,637


KY we
   WC FUNDING COMMISSION                                                                              5.51%            $8,540

TOTAL AMOUNT                                                                                                          $36,177




                                           Decl. Barnett, Ex. B-22
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 92 of 514 Page ID
                                         #:1044


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE

   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                 ANNUAL  PREMIUM
                   PROVISIONS OF THIS POLICY                                     REMUNERATION

MARYLAND


STORAGE WAREHOUSE NOC                                              8292              780,000            5.73          $44,694


CLERICAL                                                           8810            2,980,000             0.17           $5,066


TOTAL MANUAL PREMIUM                                                                                                  $49,760


EL INCREASED LIMITS                                                9812                                 2.8%            $1,393


DEDUCTIBLE PREMIUM FACTOR                                          9664                                0.178          ($42,048)


EXPERIENCE MOD                                                     9898                                  0.75          ($2,276)


TOTAL STANDARD EST. PREMIUM                                                                                             $6,829


PREMIUM DISCOUNT                                                   0063                                                  ($968)


CATASTROPHE                                                        9741                                  0.02             $752


TERRORISM                                                          9740                                  0.05           $1,880

TOTAL AMOUNT                                                                                                            $8,493




                                            Decl. Barnett, Ex. B-23
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 93 of 514 Page ID
                                         #:1045


                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE·
                                     INSURANCE- SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
              THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF
                                                                                                PER$100          ESTIMATED
                                                                                                                ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER
 ELSEWHERE                                                                       ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                              ANNUAL  PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

MICHIGAN


STORAGE WAREHOUSE NOC                                           8292            2,126,000             5.81        $123,521


CLERICAL                                                        8810              106,000             0.18             $191


TOTAL MANUAL PREMIUM                                                                                              $123,711


EL INCREASED LIMITS                                             9812                                 2.0%            $2,474


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.143       ($108,141)


TOTAL STANDARD EST. PREMIUM                                                                                         $18,045


PREMIUM DISCOUNT                                                0063                                                ($2,558)


TERRORISM                                                       9740                                  0.02             $446

TOTAL AMOUNT                                                                                                        $15,933




                                          Decl. Barnett, Ex. B-24
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 94 of 514 Page ID
                                         #:1046



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


MINNESOTA


CLERICAL                                                        8810             IF ANY
                                                                                 IFANY                0.22               $0


TOTAL STANDARD EST. PREMIUM                                                                                              $0


TERRORISM                                                       9740                                  0.03               $0


ESTIMATED ANNUAL PREMIUM                                                                                                 $0


MN SPECIAL COMPENSATION FUND                                    0174                                2.55%                $0

TOTAL AMOUNT                                                                                                             $0




                                          Decl. Barnett, Ex. B-25
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 95 of 514 Page ID
                                   #:1047


               PROTECTIVE INSURANCE COMPANY
                                 INSURANCE- SCHEDULE EXTENSION
           WORKER'S COMPENSATION INSURANCE·

FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017

        CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE
ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL                  ESTIMATED
                                                        CLASSIFICATION                      PER $100 OF
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE                          ANNUAL                        ANNUAL
                                                            CODE                           REMUNERATION
           OTHER PROVISIONS OF THIS POLICY                                REMUNERATION                     PREMIUM

MISSISSIPPI


CEREAL OR BAR MFG.                                          2016              250,000            2.99       $7,475


MACHINED PARTS MFG. NOC                                     3629            2,634,000            2.84      $74,806


PHARMACEUTICAL OR SURGICAL GOODS MFG.                       4693            1,290,000            0.87      $11,223


FLORIST - STORE & DRIVERS                                   8001           1,493,000             2.87      $42,849


STORE --WHOLESALE
        WHOLESALE NOC                                       8018           1,103,000
                                                                           1 '103,000            2.90      $31,987


MAILING OR ADDRESSING COMPANY OR                            8800            955,000               1.78     $16,999
LETTER SERVICE SHOP


CLERICAL                                                    8810            617,000              0.33       $2,036


TOTAL MANUAL PREMIUM                                                                                      $187,375


EL INCREASED PREMIUM                                        9812                                2.80%       $5,246


DEDUCTIBLE PREMIUM FACTOR                                   9664                                0.126     ($168,351)


EXPERIENCE MOD                                              9898                                 0.75       ($6,068)


TOTAL STANDARD EST. PREMIUM                                                                                $18,203


PREMIUM DISCOUNT                                            0063                                            ($2,581)
                                                                                                            ($2,581 )


TERRORISM                                                   9740                                 0.02       $1,668


CATASTROHE                                                  9741                                  0.02       $1,668

TOTAL AMOUNT                                                                                               $18,962

                                       Decl. Barnett, Ex. B-26
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 96 of 514 Page ID
                                         #:1048



                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE·
                                     INSURANCE- SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017



           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER$100 OF      ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


MISSOURI


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            2,436,000             4.20        $102,312


STORAGE WAREHOUSE NOC                                           8292              473,000             5.43         $25,684


TOTAL MANUAL PREMIUM                                                                                              $127,996


EL INCREASED LIMITS.                                            9812                                 1.2%           $1,536


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.121       ($113,858)


EXPERIENCE MOD                                                  9898                                  0.75          ($3,918)
                                                ,'


TOTAL STANDARD EST. PREMIUM                                                                                        $11,755


PREMIUM DISCOUNT                                                0063                                                ($1 ,445)
                                                                                                                    ($1,445)


TERRORISM                                                       9740                                  0.02            $582


ESTIMATED ANNUAL PREMIUM                                                                                           $10,892


MO SIF SURCHARGE                                                                                    6.00%            $5,147


MO ADMINISTRATIVE SURCHARGE                                                                         1.00%             $749


TOTAL AMOUNT                                                                                                       $16,789




                                          Decl. Barnett, Ex. B-27
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 97 of 514 Page ID
                                         #:1049



                    PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE·
                                       INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE

   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM,
                     ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                    ESTIMATED
 ELSEWHERE
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                 THIS POLICY,
                       POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                    CODE                           REMUNERATION           PREMIUM
                                                                                                                  ANNUAL PREMIUM
                   PROVISIONS
                   PROVISIONS OF THIS POLICY                                      REMUNERATION

NEVADA

SHEET
SHEET METAL PRODUCTS MFG.                                           3076            5,598,000             3.87        $216,643


TELEVISION,
TELEVISION, RADIO, TELEPHONE OR                                     3681            2,032,000             1.28         $26,010
TELECOMMUNICATION
TELECOMMUNICATION DEVICE MFG. NOC


STORAGE
STORAGE WAREHOUSE NOC                                               8292           2,025,000              3.93         $79,583


CLERICAL
CLERICAL                                                            8810            414,000               0.36        . $1,490


TOTAL MANUAL PREMIUM
TOTAL                                                                                                                 $323,725


EL INCREASED
EL INCREASED LIMITS                                                 9812                                 2.8%            $9,064


DEDUCTIBLE PREMIUM
DEDUCTIBLE                                                          9664                                 0.193        ($268,561)
                                                                                                                      ($268,561 )


EXPERIENCE MOD
EXPERIENCE                                                          9898                                  0.75         ($16,057)


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                   $48,171


PREMIUM DISCOUNT
PREMIUM                                                             0063                                                ($5,707)


TERRORISM
TERRORISM                                                           9740                                  0.02           $2,014


CATASTROPHE
CATASTROPHE                                                         9741                                  0.02           $2,014

TOTAL AMOUNT
TOTAL                                                                                                                   $46,492




                                             Decl. Barnett, Ex. B-28
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 98 of 514 Page ID
                                         #:1050


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE ·SCHEDULE
               WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


NEW HAMPSHIRE


STORAGE WAREHOUSE NOC                                           8292            1,553,000             5.93         $92,093


CLERICAL                                                        8810              613,000             0.27          $1,655


TOTAL MANUAL PREMIUM                                                                                               $93,748


EL INCREASED LIMITS                                             9812                                 2.8%           $2,625


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.176         ($79,411)


EXPERIENCE MOD                                                  9898                                  0.75          ($4,240)


TOTAL STANDARD EST. PREMIUM                                                                                        $12,721


PREMIUM DISCOUNT                                                0063                                                ($1,564)


CATASTROPHE                                                     9741                                  0.01            $217


TERRORISM                                                       9740                                  0.02            $433

TOTAL AMOUNT                                                                                                       $11,807




                                          Decl. Barnett, Ex. B-29
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 99 of 514 Page ID
                                      #:1051


                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017



           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

NEW JERSEY


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            1,996,000             6.23        $124,351


STORAGE WAREHOUSE NOC                                           8292            4,725,000           12.58         $594,405


TOTAL MANUAL PREMIUM                                                                                              $718,756


EL INCREASED LIMITS                                             9812                                 3.3%          $23,719


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.158        ($625,164)


EXPERIENCE MOD                                                  9898                                0.819         ($21 ,233)
                                                                                                                  ($21,233)


TOTAL STANDARD EST. PREMIUM                                                                                        $96,078


PREMIUM DISCOUNT                                                0063                                              ($1 0, 158)
                                                                                                                  ($10,158)


CATASTROPHE                                                     9741                                  0.01            $672


TERRORISM                                                       9740                                  0.03          $2,016


ESTIMATED ANNUAL PREMIUM                                                                                           $88,608


NJ SIF SURCHARGE                                                0935                                5.81%          $35,330

TOTAL AMOUNT                                                                                                      $123,938




                                          Decl. Barnett, Ex. B-30
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 100 of 514 Page ID
                                   #:1052


                PROTECTIVE INSURANCE COMPANY
            WORKER'S COMPENSATION INSURANCE·
                                  INSURANCE- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017
             EFFECTIVEDATE:


        CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE

ENTRIES
ENTRIES IN
        IN THIS
           THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                        CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                            ESTIMATED
 ELSEWHERE
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE                          ANNUAL
                                                            CODE                           REMUNERATION           PREMIUM
                                                                                                          ANNUAL PREMIUM
           OTHER
           OTHER PROVISIONS OF THIS POLICY                                REMUNERATION

NEW YORK


ELECTRICAL WIRING --WITHIN
                    WITHIN BUILDINGS                        5190              484,000             8.78         $42,495
& DRIVERS


EL INCREASED LIMITS                                         9812                                 2.8%            $1,190
                                                                                                                 $1 '190


DEDUCTIBLE PREMIUM FACTOR                                   9664                                 0.201         ($34,904)


EXPERIENCE MOD                                              9898                                  0.75          ($2,195)
                                                                                                                ($2, 195)


TOTAL STANDARD EST. PREMIUM                                                                                      $6,586


PREMIUM DISCOUNT                                            0063                                                  ($934)


CATASTROPHE                                                 9741                                  0.01              $48


TERRORISM                                                   9740                                  0.07             $339


ESTIMATED ANNUAL PREMIUM                                                                                         $6,039


NY STATE WC ASSESSMENT                                      0932                               12.90%            $4,276


TOTAL AMOUNT                                                                                                    $10,315




                                        Decl. Barnett, Ex. B-31
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 101 of 514 Page ID
                                      #:1053



                    PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE

   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM,
                     ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF     ESTIMATED
                                                                                                                    ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS
                 THIS POLICY,
                       POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                    CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                         PREMIUM
                   PROVISIONS
                   PROVISIONS OF THIS POLICY                                      REMUNERATION

NORTH
NORTH CAROLINA


DOOR
DOOR AND WINDOW INSTALLATION
                INSTALLATION-- ALL TYPES-                           5102              821,000            6.81          $55,910
RESIDENTIAL
RESIDENTIAL AND COMMERICAL


BUILDING
BUILDING MATERIAL DEALER
                  DEALER-- NEW MATERIALS                            8058           18,281,000             3.49        $638,007
ONLY
ONLY-- STORE EMPLOYEES


STORAGE
STORAGE WAREHOUSE NOC                                               8292           3,151,000               4.3        $135,493


CLERICAL
CLERICAL                                                            8810           1,000,000              0.18          $1,800


TOTAL MANUAL PREMIUM
TOTAL                                                                                                                 $831,210


EL INCREASED
EL INCREASED LIMITS                                                 9812                                2.80%          $23,274


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                          9664                                 0.175       ($704,949)


EXPERIENCE MOD
EXPERIENCE                                                          9898                                  0.75         ($37,384)


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                 $112,151


PREMIUM DISCOUNT
PREMIUM                                                             0063                                               ($15,900)


TERRORISM
TERRORISM                                                           9740                                  0.01           $2,243


CATASTROPHE
CATASTROPHE                                                         9741                                  0.01           $2,243

TOTAL AMOUNT
TOTAL                                                                                                                 $100,738




                                             Decl. Barnett, Ex. B-32
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 102 of 514 Page ID
                                      #:1054


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                      INSURANCE ·SCHEDULE


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE

   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                         ANNUAL
                                                                   CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                 ANNUAL  PREMIUM
                   PROVISIONS OF THIS POLICY                                     REMUNERATION

OKLAHOMA


STORAGE WAREHOUSE NOC                                              8292            1,789,000             6.89        $123,262


CLERICAL                                                           8810               96,000             0.52             $499


TOTAL MANUAL PREMIUM                                                                                                 $123,761


EL INCREASED LIMITS                                                9812                                 2.8%            $3,465


DEDUCTIBLE PREMIUM FACTOR                                          9664                                0.135        ($110,051)


EXPERIENCE MOD                                                     9898                                  0.75          ($4,294)
                                                                                                                       ($4,294)


TOTAL STANDARD EST. PREMIUM                                                                                            $12,882


PREMIUM DISCOUNT                                                   0063                                                ($1 ,826)
                                                                                                                       ($1,826)


CATASTROPHE                                                        9741                                  0.02             $377


TERRORISM                                                          9740                                  0.02             $377

TOTAL AMOUNT                                                                                                           $11 ,809
                                                                                                                       $11,809




                                            Decl. Barnett, Ex. B-33
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 103 of 514 Page ID
                                      #:1055


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE
                                      INSURANCE-- SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS         RATE

   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                       PER $100 OF
                                                                                                  PER$100           ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION    ANNUAL PREMIUM
                                                                                                                 ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

PENNSYLVANIA


ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS                              0661            1,644,000             6.80         $111,792


EL INCREASED LIMITS                                               9812                                 3.3%             $3,689


DEDUCTIBLE PREMIUM FACTOR                                         9664                                 0.149          ($98,274)


EXPERIENCE MOD                                                    9898                                  0.95             ($860)


TOTAL STANDARD EST. PREMIUM                                                                                            $16,346


PREMIUM DISCOUNT                                                  0063                                                 ($1 ,937)
                                                                                                                       ($1,937)


CATASTROPHE                                                       9741                                  0.02              $329


TERRORISM                                                         9740                                   0.05             $822


ESTIMATED ANNUAL PREMIUM                                                                                               $15,560


PA ASSESSMENT                                                     0938                                 1.70%            $1,852

TOTAL AMOUNT                                                                                                           $17,413




                                           Decl. Barnett, Ex. B-34
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 104 of 514 Page ID
                                      #:1056


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

SOUTH CAROLINA


ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS                              5190            2,495,000             8.37        $208,832


STORAGE WAREHOUSE NOC                                             8292            1,823,000             8.16        $148,757


TOTAL MANUAL PREMIUM                                                                                                $357,588


EL INCREASED LIMITS                                               9812                                 2.8%           $10,012


DEDUCTIBLE PREMIUM FACTOR                                         9664                                 0.162        ($308,049)


EXPERIENCE MOD                                                    9898                                  0.75         ($14,888)


TOTAL STANDARD EST. PREMIUM                                                                                           $44,663


PREMIUM DISCOUNT                                                  0063                                                ($6,332)


CATASTROPHE                                                       9741                                  0.02             $864


TERRORISM                                                         9740                                  0.02             $864


TOTAL AMOUNT                                                                                                          $40,059




                                           Decl. Barnett, Ex. B-35
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 105 of 514 Page ID
                                   #:1057


             PROTECTIVE INSURANCE COMPANY
          WORKER'S COMPENSATION INSURANCE -SCHEDULE
                                          - SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


       CLASSIFICATION OF OPERATIONS                              PREMIUM BASIS        RATE
 ENTRIES
 ENTRIES IN
         IN THIS ITEM, EXCEPT AS SPECIFICALLY
                                                                 ESTIMATED TOTAL
 PROVIDED
  PROVIDED ELSEWHERE IN THIS POLICY, DO NOT     CLASSIFICATION                      PER $100 OF     ESTIMATED
                                                                     ANNUAL
 MODIFY
 MODIFY ANY
        ANY OF THE OTHER PROVISIONS OF THIS         CODE                           REMUNERATION          PREMIUM
                                                                                                  ANNUAL PREMIUM
                                                                  REMUNERATION
                    POLICY

TENNESSEE


STORAGE WAREHOUSE NOC                               8292              743,000             4.04         $30,017


EL INCREASED LIMITS                                 9812                                 2.8%             $840


DEDUCTIBLE PREMIUM FACTOR                           9664                                0.106         ($27,587)


EXPERIENCE MOD                                      9898                                  0.75           ($818)


TOTAL STANDARD EST. PREMIUM                                                                             $2,453


PREMIUM DISCOUNT                                    0063                                                  ($348)


CATASTROPHE                                         9741                                  0.04            $297


TERRORISM                                           9740                                  0.02            $149

TOTAL AMOUNT                                                                                            $2,551




                                        Decl. Barnett, Ex. B-36
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 106 of 514 Page ID
                                         #:1058



                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE·
                                     INSURANCE- SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


TEXAS


ELECTRONICAL WIRING & DRIVERS                                   5190          10,015,000              5.85        $585,878


VEGETABLE PACKAGING & DRIVERS                                   8209            830,000               7.39         $61,337


WAREHOUSING NOC & DRIVERS                                       8292           6,716,000              5.72        $384,155


SALESPERSONS, COLLECTORS OR MESSENGERS-                         8742            209,000               0.37            $773
OUTSIDE


CLERICAL                                                        8810            907,000               0.23          $2,086


TOTAL MANUAL PREMIUM                                                                                            $1,034,229


EL INCREASED LIMITS                                             9812                                 2.0%          $20,685


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.216       ($827,052)


EXPERIENCE MOD                                                  9898                                  0.75         ($56,965)


TOTAL STANDARD EST. PREMIUM                                                                                       $170,896


PREMIUM DISCOUNT                                                0063                                               ($21 ,009)
                                                                                                                   ($21,009)


TERRORISM                                                       9740                                 0.024           $2,079

TOTAL AMOUNT                                                                                                      $151,966




                                          Decl. Barnett, Ex. B-37
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 107 of 514 Page ID
                                      #:1059


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001482
             EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

VIRGINIA


BUILDING MATERIAL DEALER
                  DEALER-- NEW MATERIALS                          8058            7,531,000            4.24         $319,314
ONLY
ONLY-- STORE EMPLOYEES


CLERICAL                                                          8810              309,000             0.16             $494


TOTAL MANUAL PREMIUM                                                                                                $319,809


EL INCREASED LIMITS                                               9812                                 3.3%          $10,554


DEDUCTIBLE PREMIUM FACTOR                                         9664                                0.157        ($278,496)


EXPERIENCE MOD                                                    9898                                  0.75         ($12,967)


TOTAL STANDARD EST. PREMIUM                                                                                           $38,900


PREMIUM DISCOUNT                                                  0063                                                ($4,782)


TERRORISM                                                         9740                                  0.05           $3,920

TOTAL AMOUNT                                                                                                          $38,038




                                           Decl. Barnett, Ex. B-38
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 108 of 514 Page ID
                                      #:1060



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001482
            EFFECTIVE DATE: 01/01/2017


            CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
                   ITEM, EXCEPT AS SPECIFICALLY PROVIDED
   ENTRIES IN THIS ITEM.                                                      ESTIMATED TOTAL
                                                             CLASSIFICATION                      PER $100 OF     ESTIMATED
                    POLICY, DO NOT MODIFY ANY OF THE OTHER
 ELSEWHERE IN THIS POLICY.                                                        ANNUAL
                                                                 CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                     REMUNERATION


WEST VIRGINIA


STORAGE WAREHOUSE NOC                                            8292            3,404,000             3.37        $114,715


CLERICAL                                                         8810               29,000             0.27             $78


TOTAL MANUAL PREMIUM                                                                                               $114,793


EL INCREASED LIMITS                                              9812                                 2.8%           $3,214


DEDUCTIBLE PREMIUM FACTOR                                        9664                                 0.163        ($98,772)


EXPERIENCE MOD                                                   9898                                  0.75          ($4,809)


TOTAL STANDARD EST. PREMIUM                                                                                         $14,426


PREMIUM DISCOUNT                                                 0063                                                ($2,045)


CATASTROPHE                                                      9741                                  0.02            $687


TERRORISM                                                        9740                                  0.02            $687


ESTIMATED ANNUAL PREMIUM                                                                                            $13,754


WV REGULATORY SURCHARGE                                                                              5.00%            $3,867



TOTAL AMOUNT                                                                                                        $17,621




                                           Decl. Barnett, Ex. B-39
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 109 of 514 Page ID
                                   #:1061




                                              ENDORSEMENT

This endorsement, effective on              01/01/2017            at 12:01 A.M. standard time, forms a part of

Policy No.     WD001482                 Policy effective on       01101/2017
                                                                  01/01/2017

Of the         Protective Insurance Company, Carrier Code 14788

Issued to      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By             Protective Insurance Company



                                                                  -k4dt   Authorized Representative


 It is hereby understood and agreed the reporting provisions of this policy require that the Insured report as
 payroll and pay premium based on 33.3% of all amounts paid by the Insured to independent contractors. This
 percentage applies to all states except California, Minnesota and Oregon where the Insured will report as payroll
 and pay premium based on 25% of all amounts paid by the Insured to independent contractors.

 These provisions apply to all independent contractors for whom the Insured does not maintain a certificate of
 insurance evidencing valid Workers Compensation coverage, or for whom the Company does not provide work
 accident insurance coverage.

 All other terms and conditions of this policy remain the same.




  Endorsement No.

  WC10011C (6/01)                      Decl. Barnett, Ex. B-40
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 110 of 514 Page ID
                                  #:1062



                                          ENDORSEMENT

 This endorsement, effective on       01/01/2017            at 12:01 A.M. standard time, forms a part of

 Policy No.      WD001482             policy effective on           01/01/2017

 Of the          Protective Insurance Company, Carrier Code 14788

 Issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

 By              Protective Insurance Company



                                                                          Authorized Representative



 It is hereby understood and agreed that Item 3.0. of the Information Page is amended to read as follows:

 This policy includes these endorsements and schedules:

 WC10011C, WC1001E, WC1001LOC, NY1001, PWC-1, PWC-1-IL, PWC-1A, PWC-1B, PWC-1C, PWC-
 11, PWC-1J, PWC-1L, PWC-1M, PWC-1N, PWC-1P, PWC-1Q, PWC-1R, WC101, WC-0003-0116-CW,
 WC000104A, WC000106A, WC000313, WC000301A, WC000402, WC000404, WC000406,
 WC000406A, WC000414, WC000419, WC000421D, WC000422B, WC000424, WC010402,
 WC020601A, WC040101A, WC040301C, WC040310, WC040360B, WC040401, WC040421,
 WC040601A, WC040603B, PN049901F, PN049902B, PN049904, WC060301, WC060303C,
 WC060601, WC070601, WC090303, WC090403B, WC090407, WC090606, WC990401, WC100601B,
 WC120306A, WC120601E, WC150401A, WC150404, WC150601A, WC160305, WC160601,
 WC160602, WC190601F, WC210303A, WC210304, WC210402B, WC220000A, WC220402,
                          VVC240601B, WC240602B, WC240604B, WC270601C, WC280404,
 WC220601D, WC240406D, WC240601B,
 WC280604, WC290306B, WC290411C, WC290601A, WC310308, WC310319H, WC310618,
                                 VVC350601F, WC350603, WC370401, WC370602, WC370603A,
 WC320301C, WC320602, WC350302, WC350601F,
                                 VVC420402A, WC420407, WC450602, WC470301A, WC470302,
 WC370604, WC410402, WC420301G, WC420402A,
 WC470601




  All other terms and conditions of this policy remain unchanged.




  WC1001E (6/01)                     Decl. Barnett, Ex. B-41
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 111 of 514 Page ID
                                       #:1063
                                                                                             subsequent to preparation of the policy.)
               (This Attaching Clause need be completed only when this endorsement is issued sUbsequent


                                                    ENDORSEMENT

This endorsement, effective on                        01/01/2017
                                                      01101/2017                at 12:01 A.M. standard time, forms a part of

Policy No.         WD001482                      Policy effective on            01/01/2017

Of the              Protective Insurance Company, Carrier Code 14788

Issued to           PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By                  Protective Insurance Company




                                                                                            Authorized Representative

  It is hereby understood and agreed that the following Named Insured's and Locations are included:

                                                     NAMED INSURED SCHEDULE

  Name Link                                                                                                                    NAICS
                                                 Insured Name                                              FEIN
    Code                                                                                                                       Code
                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT
         001                                                                                           010759364              561320
                     MANAGEMENT
         002         MVP WORKFORCE, LLC                                                                263242640              561320
                     PERSONNEL STAFFING GROUP, LLC DBA MOST
         003                                                                                           010759364              561320
                     VALUABLE PERSONNEL
                     PERSONNEL STAFFING GROUP, LLC DBA HOTEL
         004                                                                                           010759364              561320
                     STAFFING SOLUTIONS
         005          PERSONNEL STAFFING GROUP, LLC DBA BALANCE                                        010759364               561320
                     PERSONNEL STAFFING GROUP, LLC DBA
         006                                                                                           010759364               561320
                     MACKENZIE & COMPANY
                     MVP WORKFORCE, LLC DBA HOTEL STAFFING
         007                                                                                           010759364               561320
                     SOLUTIONS
                     PERSONNEL STAFFING GROUP, LLC DBA HORIZON
         008                                                                                           010759364               561320
                     PERSONNEL SERVICES
                     PERSONNEL STAFFING GROUP, LLC DBA KBS
         009                                                                                           010759364               561320
                     STAFFING
         010          STAFFING GROUP, LLC DBA MVP 360                                                  010759364               561320


                                                          LOCATION SCHEDULE


  Name Link                                                                         No. of                                     NAICS
                                           Address                                                         UI
                                                                                                           Ul No.
    Code                                                                          Employees                                    Code
                     7225 OPORTO MADRID BLVD
         003         BIRMINGHAM, AL 35206                                               1                                      561320

                                                     Decl. Barnett, Ex. B-42
  Page 1 of 5
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 112 of 514 Page ID
                                    #:1064
Name Link                                         No. of              NAICS
                           Address                          UI No.
                                                            Ul
  Code                                          Employees             Code
              201 E. WASHINGTON
   003                                              1                 561320
              PHOENIX, AZ 85004
              408 CHERRY STREET
   003        EUDORA, AR 71640                      1                 561320

              12465 LEWIS STREET
   005        GARDEN GROVE, CA 92840                6                 561320

              12465 LEWIS STREET
   009        GARDEN GROVE, CA 92840                6                 561320

   003        12465 LEWIS STREET                    6                 561320
              GARDEN GROVE, CA 92840

   003        2499 S WILMINGTON                     5                 561320
              COMPTON, CA 90220

   003        801 W VICTORIA                        5                 561320
              COMPTON, CA 90220

   003        1220-1222 E 17TH ST                   4                 561320
              SANTA ANA, CA 92701

   003        1905 E 17TH ST                        5                 561320
              SANTA ANA, CA 92701

   003        700 COLORADO BOULEVARD                1                 561320
              DENVER, CO 80206
              132 TERRY
   005        HARTFORD, CT 06105                    1                 561320

              132 TERRY
   003        HARTFORD, CT 06105                    1                 561320

              36 JEROME DRIVE
   005        DOVER, DE 19901                       1                 561320

              36 JEROME DRIVE
   003        DOVER, DE 19901                       1                  561320

              27050 OLD 41 RD, UNIT B
   007        BONITA SPRINGS, FL 34135              4                  561320

              1300 N FLORIDA MANGO ROAD
   001        WEST PALM BEACH, FL 33409             8                  561320

              501 S FAULKENBERG RD, STE E19
   001        TAMPA, FL 33619                       5                  561320

              7677 SW ELLIPSE WAY
   001        STUART, FL 34997                      4                  561320

              6965 HWY 42 SOUTH
   003        LOCUST GROVE, GA 30248                2                  561320

              1300 CUMMINS ROAD
   003                    lA 50315
              DES MOINES, IA                        2                  561320

              400 MEMORIAL DRIVE
   003        IDAHO FALLS, ID 83402                 1                  561320



Page 2 of 5                       Decl. Barnett, Ex. B-43
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 113 of 514 Page ID
                                    #:1065
Name Link                                          No. of               NAICS
                            Address                           Ul
                                                              UI No.
  Code                                           Employees              Code
              5017 W CERMAK RD
   007        CICERO, IL 60804                      8                   561320

              65 E PALATINE, STE 213
   007        PROSPECT HEIGHTS, IL 60070             8                  561320

   001        1751 LAKE COOK ROAD                   20                  561320
              DEERFIELD, IL 60015

   003        205 W RANDOLPH                        15                  561320
              CHICAGO, IL 60606

   003        1751 LAKE COOK ROAD                   95                  561320
              DEERFIELD, IL 60015

   003        226 SHERIDAN                          15                  561320
              WAUKEGAN, IL 60085

   003        2346 S. LYNHURST
                      LYNHURST                       2                  561320
              INDIANAPOLIS, IN 46241

   003        4000 W. 6TH STREET                     2                  561320
              LAWRENCE, KS 66049

   003        12701 TOWNE PARK WAY                   2                  561320
              LOUISVILLE, KY 40243

   003        5261 HIGHLAND ROAD                     1                  561320
              BATON ROGUE, LA 70808

   005        198 TREMONT                            2                  561320
              BOSTON, MA 02116

   003        198 TREMONT                            2                  561320
              BOSTON, MA 02116

   003        5235 WESTVIEW DRIVE                    2                  561320
              FREDERICK, MD 21703

   005        5235 WESTVIEW DRIVE                    2                  561320
              FREDERICK, MD 21703

   003        855 LISBON                             2                  561320
              LEWISTON, ME 04240

   005        855 LISBON                             2                  561320
              LEWISTON, ME 04240

   003        18701 GRAND RIVER AVENUE               1                  561320
              DETROIT, Ml
                       MI 48223

   003        1950 UNIVERSITY AVENUE                 4       05116737   561320
              ST. PAUL, MN 55104

   003        20 S 6TH STREET                        1                  561320
              COLUMBIA, MO 65201

   003        2440 N HILLS STREET                    3                  561320
              MERIDIAN, MS 39305

   003        103-8 WOODLAND ROAD                    2                  561320
              BATESVILLE, MS 38606


Page 3 of 5                        Decl. Barnett, Ex. B-44
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 114 of 514 Page ID
                                    #:1066
Name Link                                           No. of                   NAICS
                           Address                               Ul
                                                                 UI No.
  Code                                            Employees                  Code

   003        821 N. 27TH STREET                      1                      561320
              BILLINGS, MT 59101

   003        2431 SPRING FOREST ROAD                 5                      561320
              RALEIGH, NC 27615

   003        2025-C EASTGATE                         5                      561320
              GREENVILLE, NC 27858

   003        821 BAXTER ST                           5                      561320
              CHARLOTTE, NC 28202

   003        7000 Q STREET                           1                      561320
              OMAHA, NE 68117

   005        391 S. BROADWAY                         2                      561320
              SALEM, NH 03079

   003        391 S. BROADWAY                         1                      561320
              SALEM, NH 03079

   003        412 36TH STREET                        10       010759364000   561320
              UNION CITY, NJ 07087

   009        2706 CENTRAL AVENUE                     1                      561320
              ALBUQUERQUE, NM 87106

   003        2706 CENTRAL AVENUE                     1                      561320
              ALBUQUERQUE, NM 87106

   003        6120 W. TROPICANA                       3                      561320
              LAS VEGAS, NV 89103

   003        818 SW 3RD AVENUE                       1                      561320
              PORTLAND, OR 97204

   003        900 PENN AVENUE                         1                      561320
              PITTSBURGH, PA 15222

   003        360 KING STREET                         1                      561320
              CHARLESTON, SC 29401

   003        120 22ND AVENUE                         1                      561320
              BROOKINGS, SO 57006

   003        1930 AIR LANE                           1                      561320
              NASHVILLE, TN 37210

   003        15455 N DALLAS PARKWAY                  3                      561320
              ADDISON, TX 75001

   003        2750 W NORTHWEST HWY                    3                      561320
              DALLAS, TX 75220

    003       206 S. MAIN STREET, SUITE 302           2                      561320
              CULPEPPER, VA 22701
                                    Decl. Barnett, Ex. B-45
Page 4 of 5
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 115 of 514 Page ID
                                     #:1067

Name Link                                                    No. of             NAICS
                              Address                      Employees
                                                                       UI No.
                                                                       Ul
  Code                                                                          Code

   003        1100
              11 00 WOODFORD                                     1              561320
              BENNINGTON, VT 05201

   005        1100
              11 00 WOODFORD                                     1              561320
              BENNINGTON, VT 05201

   003        7525 45TH AVENUE                                   3              561320
              PLEASANT PRAIRIE, WI 53142

   003        1004 BULLITT STREET                                1              561320
              CHARLESTON, WV 25301

   004        1751 LAKE COOK ROAD                                1              561320
              DEERFIELD, IL 60015

   006        1751 LAKE COOK ROAD                                1              561320
              DEERFIELD, IL 60015

   008        1751 LAKE COOK ROAD                                15             561320
              DEERFIELD, IL 60015

   010        1751 LAKE COOK ROAD                                1              561320
              DEERFIELD, IL 60015



All other terms and conditions of this policy remain the same.

Endorsement No.

WC1001LOC (3/10)
WC1001LOC




Page 5 of 5                           Decl. Barnett, Ex. B-46
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 116 of 514 Page ID
                                       #:1068


                                        PROTECTIVE INSURANCE COMPANY
                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                           Composite Rate Endorsement



This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on <effective date> at 12:01 A.M. standard time, forms a part of

Policy No.:   WD001482

Issued to:    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT



The premium for this policy shall be computed on a composite rate basis in accordance with the Company rules, rates,
rating plans, minimum premiums and other terms of the policy.

Composite Rate Basis: Per $100 of Workers' Compensation Payroll

Rate: $0.848

Estimated Annual Exposure: $511,271,000
                           $511 ,271 ,000

Estimated Annual Premium: $4,336,483




Endorsement No.:                                                                                                Page 1

                                           Decl. Barnett, Ex. B-47
W C-0003-0 116-CW
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 117 of 514 Page ID
                                   #:1069




                            WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                     we 00
                                                     WC oo 01 01 A (Ed. 4-92)
                      DEFENSE BASE ACT COVERAGE ENDORSEMENT
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a
different date is indicated below.
    (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                01/01/2017               at 12:01 A.M. standard time, forms a part of
                                                 (DATE)

Policy No.          WD001482                      of the               Protective Insurance Company
                                                                       (NAME OF INSURANCE COMPANY)

issued to                                                                                                        It
                                                                                                     W
                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGW
                                                              MANAG

Premium
                                                                                              Authorized Representative


This endorsement applies only to the work described in the Schedule or described on the Information Page as
subject to the Defense Base Act. The policy applies to that work as though the location included in the description
of the work were a state named in Item 3.A of the Information Page.

General Section C. Workers' Compensation Law is replaced by the following:

C. Workers' Compensation Law
   Workers' Compensation Law means the workers' or workmen's compensation law and occupational disease
   law of each state or territory named in Item 3.A of the Information Page and the Defense Base Act (42 USC
   Sections 1651-1654  ). It includes any amendments to those laws that are in effect during the policy period. It
             1651-1654).
   does not include any other federal workers' or workmen's compensation law, other federal occupational
   disease law or the provisions of any law that provide nonoccupational disability benefits.

Part Two (Employers' Liability Insurance), C. Exclusions., exclusion 8., does not apply to work subject to the
Defense Base Act.
                                                  Schedule

Description of Work:                   All Defense Base Operations




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                                       Copyright 1991 National Council on Compensation Insurance.                               Page 1 of 1
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 118 of 514 Page ID
                                      #:1070
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we 00
                                                                                                                   WC oo 0104
                                                                                                                         01 04 A
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                                                                                                                        (Ed. 10-04)

                            FEDERAL EMPLOYERS' LIABILITY ACT COVERAGE ENDORSEMENT

This endorsement applies only to work subject to the Federal Employers' Liability Act (45 USC Sections 51-60) and
any amendment to that Act that is in effect during the policy period.

G. Limits of Liability of Part Two (Employers Liability Insurance) is replaced by the following:
   G. Limits of Liability
      Our liability to pay for damages is limited. Our limits of liability are shown in the Schedule. They apply as
      explained below:

          1.     Bodily Injury by Accident. The limit shown for "bodily injury by accident-each accident" is the most we
                 will pay for all damages covered by this insurance because of bodily injury to one or more employees in
                 any one accident.
                 anyone

                 A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

          2.     Bodily Injury by Disease. The limit shown for "bodily injury by disease-aggregate" is the most we will pay
                 for all damages covered by this insurance because of bodily injury by disease to one or more employees.
                 The limit applies separately to bodily injury by disease arising out of work in each state shown in Item 3.A.
                 of the Information Page or in the Schedule.
                 Bodily injury by disease does not include disease that results directly from bodily injury by accident.

            3.   We will not pay any claims for damages after we have paid the applicable limit of our liability under this
                 insurance.

 If any state is named in Item 2 of the Schedule, Part Two (Employers Liability Insurance) applies in that state to work
 subject to the Federal Employers' Liability Act as though that state were listed in Item 3.A. of the Information Page.
 Part One (Workers Compensation Insurance) does not apply in a state shown in the Schedule.

 Part Two (Employers Liability Insurance), C. Exclusions, exclusion 9, does not apply to work subject to the Federal
 Employers' Liability Act.

                                                                 Schedule

 1. Limits of Liability

    Bodily Injury by Accident                                                                   $ 1,000,000
                                                                                                  1 ,000,000 each accident

    Bodily Injury by Disease                                                                    $ 1,000,000 aggregate

 2. State


    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.


  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Policy Effective              01/01/2017
Endorsement Effective         01/01/2017                         Policy No. WD001482                       Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



Insurance Company                                                        --'-~t
                                                           Countersigned by
                                                           Countersigned                 _
                                                                  by-----'-~-----~--------
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                                       #:1071




                            WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                                we 00
                                                                WC oo 0106
                                                                      01 06 A

                 LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                             COVERAGE ENDORSEMENT
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
         (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                          01/01/2017                   at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.          WD001482

of the              Protective Insurance Company
                    (NAME OF INSURANCE COMPANY)

issued to           PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                        /1
Premium                                                                                      fA!v=(cr
                                                                                           Authorized Representative

This endorsement applies only to work subject to the Longshore and Harbor Workers' Compensation Act in a state shown
in the Schedule. The policy applies to that work as though that state were listed in Item 3.A. of the Information Page.
General Section C. Workers' Compensation Law is replaced by the following:
C. Workers' Compensation Law
    Workers' Compensation Law means the workers or workmen's compensation law and occupational disease law of
    each state or territory in Item 3.A. of the Information Page and the Longshore and Harbor Workers' Compensation Act
    (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during the policy period. It
    does not include any other federal workers or workmen's compensation law, other federal occupational disease law or
    the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8., does not apply to work subject to the Longshore
and Harbor Workers' Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or the
Nonappropriated Fund Instrumentalities Act.
                                                                    Schedule
State                                                                                  Longshore and Harbor Workers'
                                                                                    Compensation Act Coverage Percentage
Each state named in Item 3.A. or 3.C.                                                      Percentages as promulgated
of the Information Page                                                                    byNCCI
                                                                                           by NCCI

The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to the
Longshore and Harbor Workers' Compensation Act. If this policy covers work under such classifications, and if the work is
subject to the Longshore and Harbor Workers' Compensation Act, those non-F classification rates will be increased by the
Longshore and Harbor Workers' Compensation Act Coverage Percentage filed by the insurance company.




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      01 06 A                                       Decl. Barnett, Ex. B-50                                                            Page 1 of 1
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 120 of 514 Page ID
                                        #:1072
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we 00
                                                                                                             WC oo 03 01 A
                                                                                                                   (Ed. 2-89)

                                              ALTERNATE EMPLOYER ENDORSEMENT

This endorsement applies only with respect to bodily injury to your employees while in the course of special or
temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer is
insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to work
you perform under the contract or at the project named in the Schedule.

Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits required
by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled to them.

The insurance afforded by this endorsement is not intended to satisfy the alternate employer's duty to secure its
obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the alternate
employer with any government agency.

We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.

Premium will be charged for your employees while in the course of special or temporary employment by the alternate
employer.

The policy may be canceled according to its terms without sending notice to the alternate employer.

Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
recognize our right to defe'nd under Parts One and Two and our right to inspect under Part Six.

                                                              Schedule

1. Alternate Employer                                                                       Address
   Where required by written contract
2. State of Special or Temporary Employment

3.     Contract or Project




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise
                                                            stated.

       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/01/2017
     Endorsement Effective       01/01/2017                        Policy No. WD001482                 Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          Premium


     Insurance Company         Protective Insurance Company                         ~cf
                                                                                     ________
                                                                                     ef
                                                                               by _ __ _ _ _ _ _
                                                                 Countersigned by_



                                                    Decl. Barnett, Ex. B-51
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                                      #:1073
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         we 00
                                                                                                                      WC oo 0313
                                                                                                                         (Ed. 4-84)

                         WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce
our right against the person or organization named in the Schedule. (This agreement applies only to the extent that
you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                              Schedule


Where required by written contract




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective              01/01/2017
   Endorsement Effective         01/01/2017                         Policy No. WD001482                        Endorsement No.
   Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        ./J
                                                                                                             /J        Premium

   Insurance Company           Protective Insurance Company                           --"'~------C(=---------
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                                                                    Countersigned by _ ....                _

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   (Ed. 4-84)


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                                     #:1074
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 00
                                                                                                                     WC oo 0402
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                                         ANNIVERSARY RATING DATE ENDORSEMENT

The premium and rates for this policy, and the experience rating modification factor, if any, may change on your
anniversary rating date shown in the Schedule.




                                                              Schedule


Anniversary Rating Date 06 (Month) 30 (Day)




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                         Policy No. WD001482                        Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMEN:f                                Premium

  Insurance Company           Protective Insurance Company                       by--~--------------
                                                                                    ~
                                                                  Countersigned by __                                             _



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  (Ed. 4-84)


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                                     #:1075
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         we 00
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                                                                                                                          (Ed. 4-84)

                                            PENDING RATE CHANGE ENDORSEMENT

A rate change filing is being considered by the proper regulatory authority. The filing may result in rates different from
the rates shown on the policy. If it does, we will issue an endorsement to show the new rates and their effective date.

If only one state is shown in Item 3.A. of the Information Page, this endorsement applies to that state. If more than one
state is shown there, this endorsement applies only in the state shown in the Schedule.




                                                              Schedule



State

ARIZONA, CALIFORNIA, CONNECTICUT, FLORIDA, ILLINOIS, INDIANA, MARYLAND, NEW JERSEY,
NEW HAMPSHIRE




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                          Policy No. WD001482                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



  Insurance Company                                                Countersigned by      ~cf
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  (Ed. 4-84)

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                                                     Decl. Barnett, Ex. B-54
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 124 of 514 Page ID
                                        #:1076
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 00
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                                               PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium discount
will be determined by our manuals and your premium basis as determined by audit. Premium SUbject subject to retrospective
rating is not subject to premium discount.

                                                               Schedule

1.     State                                                           Estimated Eligible Premium
                                                      First              Next                    Next                  Balance
                 Ml, MS, NY, OK,
 AL, GA, KS, MD, MI,                                 $5,000             $95,000                $400,000
 SC,TN
                                                      0.00%             10.90%                  12.60%                 14.40%
                                                       First              Next                   Next                  Balance
                                                      $5,000            $95,000                $400,000
 CO, MO, NH, TX, VA
                                                      0.00%              9.50%                 11.90%                  12.40%
                                                       First              Next                   Next                  Balance
                                                     $10,000            $190,000              $1,550,000
 DE,PA
                                                      0.00%              9.10%                  11.30%                 12.30%
                                                       First              Next                    Next                 Balance
                                                      $1,000             $4,000                 $95,000
 KY
                                                      0.00%               9.40%                 14.70%                  16.30%



2.     Average percentage discount: 12.02%



3.     Other policies: NONE



4.     If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
       your policy number:




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           01/01/2017
     Endorsement Effective      01/01/2017                           Policy No. WD001482                        Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                              /J
                                                                                                                  IJ    Premium

     Insurance Company       Protective Insurance Company           Countersigned by                    cr
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                                       #:1077
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 00
                                                                                                                     WC oo 0406
                                                                                                                           04 o6 A
                                                                                                                                 A
                                                                                                                           (Ed. 7-95)

                                                 PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium discount
will be determined by our manuals and your premium basis as determined by audit. Premium subject to retrospective
rating is not subject to premium discount.




                                                               Schedule


1.     State                                                           Estimated Eligible Premium

                                                       First             Next                   Next
                                                     $10,000           $190,000              $1,550,000              BALANCE
       AZ.,
       AZ, CA, FL, IL, IN, lA, NV
                                                      0.00%              9.10%                 11.30%                 12.30%


                                                       First              Next                  Next
                                                      $5,000            $95,000               $400,000               BALANCE
                  NC,WV
                                                      0.00%             10.90%                 12.60%                 14.40%




2.     Average percentage discount: 12.02%



3.     Other policies:



4.     If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
       your policy number:




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/01/2017
     Endorsement Effective       01/01/2017                          Policy No. WD001482                        Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           IJ
                                                                                                                /)      Premium

     Insurance Company         Protective Insurance Company         Countersigned by             !JUcr
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                                     #:1078
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 00
                                                                                                                     WC oo 0414
                                                                                                                         (Ed. 7-90)

                                NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                        Policy No. WD001482                        Endorsement No.
  Insured                                                                  ~~N~GEM~T;:?
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNETT ~~N~GEM~T".1                               Premium

  Insurance Company           Protective
                              Protective Insurance
                                         Insurance Company
                                                   Company                       by--"~'-------({'--"----------
                                                                  Countersigned by _-"~'--- (et'--"--       _




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  WC   oo 0414
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  (Ed. 7-90)


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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
                                                                                                                    WC oo
                                                                                                                       00 0419

                                                                                                                        (Ed. 1-01)


                                                PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                          PART FIVE
                                                          PREMIUM




D.    Premium is amended to read:
      You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
      not valid. The due date for audit and retrospective premiums is the date of the billing.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
                                01/0112017
  Endorsement Effective         01/01/2017                        Policy No. WD001482                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT ~ANfGE~NJJ
                                                                          ~AN:GE~Nl1                                 Premium

  Insurance Company           Protective Insurance Company       Countersigned by       ____~'[
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                                                                                    _--'-(;Uvv1 l'1      _
                                                                                                 _________

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 00
                                                                                                                    WC oo 0421
                                                                                                                          04 21 D

                                                                                                                          (Ed. 1-15)


            CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM) PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may occur in
the event of a Catastrophe (other than Certified Acts of Terrorism) as that term is defined below. Your policy provides
coverage for workers compensation losses caused by a Catastrophe (other than Certified Acts of Terrorism). This
premium charge does not provide funding for Certified Acts of Terrorism contemplated under the Terrorism Risk
Insurance Program Reauthorization Act Disclosure Endorsement (WC 00 04 22 B), attached to this policy.

For purposes of this endorsement, the following definitions apply:
• Catastrophe (other than Certified Acts of Terrorism): Any single event, resulting from an Earthquake, Noncertified
    Act of Terrorism, or Catastrophic Industrial Accident, which results in aggregate workers compensation losses in
    excess of $50 million.
•   Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along a
    fault plane or from volcanic activity.
•   Noncertified Act of Terrorism: An event that is not certified as an Act of Terrorism by the Secretary of Treasury
    pursuant to the Terrorism Risk Insurance Act of 2002 (as amended) but that meets all of the following criteria:
    a.     It is an act that is violent or dangerous to human life, property, or infrastructure;
    b.     The act results in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or air carriers or vessels as those terms are defined in the Terrorism
           Risk Insurance Act of 2002 (as amended); and
    c.     It is an act that has been committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
•     Catastrophic Industrial Accident: A chemical release, large explosion, or small blast that is localized in nature and
      affects workers in a small perimeter the size of a building.
The premium charge for the coverage your policy provides for workers compensation losses caused by a Catastrophe
(other than Certified Acts of Terrorism) is shown in Item 4 of the Information Page or in the Schedule below.

                                                                     Schedule



                           State                                          Rate                         Premium




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective             01/01/2017
    Endorsement Effective        01/01/2017                                 Policy No. WD001482                Endorsement No.
    Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT Mf~~GEM~T4                                  Premium

    Insurance Company         Protective Insurance Company                 Countersigned by   ---=-~----C(-'----------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                            we 00
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                                                                                                               (Ed. 1-15)


      TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Program Reauthorization Act of 2015. It serves to notify you of certain limitations
under the Act, and that your insurance carrier is charging premium for losses that may occur in the event of an Act of
Terrorism.
Your policy provides coverage for workers compensation losses caused by Acts of Terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.
Definitions
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.
"Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments thereto, including any amendments resulting from the Terrorism Risk Insurance Program
Reauthorization Act of 2015.
"Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary of
Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
a.   The act is an act of terrorism.
b.   The act is violent or dangerous to human life, property or infrastructure.
c.   The act resulted in damage within the United States, or outside of the United States in the case of the premises of
     United States missions or certain air carriers or vessels.
d.   The act has been committed by an individual or individuals as part of an effort to coerce the civilian population of
     the United States or to influence the policy or affect the conduct of the United States Government by coercion.
"Insured Loss" means any loss resulting from an act of terrorism (and, except for Pennsylvania, including an act of
war, in the case of workers compensation) that is covered by primary or excess property and casualty insurance
issued by an insurer if the loss occurs in the United States or at the premises of United States missions or to certain
air carriers or vessels.
"Insurer Deductible" means, for the period beginning on January 1, 2015, and ending on December 31, 2020, an
amount equal to 20% of our direct earned premiums, during the immediately preceding calendar year.
Limitation of Liability
The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a calendar
year and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the amount of
Insured Losses that exceeds $100,000,000,000; and for aggregate Insured Losses up to $100,000,000,000, we will
pay only a pro rata share of such Insured Losses as determined by the Secretary of the Treasury.
Policyholder Disclosure Notice
1.    Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry Insured
      Losses exceed:
      a.   $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
           Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
      b.   $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
           Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
      c.   $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
           Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
      d.   $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
           Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
      e.   $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
                                 81 % of our Insured Losses that exceed our Insurer Deductible.
           Government would pay 81%
      f.   $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
                                                     Decl. Barnett, Ex. B-60
           Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.
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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 130 of 514 Page ID
                                        #:1082
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WC oo 0422 Bs                         WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



2.     Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
       portion of Insured Losses that exceed $100,000,000,000.
3.     The premium charge for the coverage your policy provides for Insured Losses is included in the amount shown in
       Item 4 of the Information Page or in the Schedule below.


                                                                      Schedule


                         State                                              Rate                           Premium




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective             01/01/2017
     Endorsement Effective        01/01/2017                                 Policy No. WD001482                Endorsement No.
     Insured                                                                MA~A~EME'Y
                                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT MA~A~EME~                /J
                                                                                                     IJ Premium

     Insurance Company         Protective Insurance Company                               by---~----
                                                                            Countersigned by  ~ (_1'________

     we 00
     WC   oo 0422 B
     (Ed. 1-15)
                                                     Decl. Barnett, Ex. B-61
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 131 of 514 Page ID
                                      #:1083INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        WC oo
                                                                                                                    we 00 o4
                                                                                                                          0424
                                                                                                                             24

                                                                                                                        (Ed. 1-17)

                                      AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT

Part Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as specified
under the policy.

                                                                    Schedule
                                                              Basis of Audit                              Maximum
                    State(s)                                                                     Audit Noncompliance Charge
                                                          Noncompliance Charge
                                                                                                          Multiplier

                       AL                                              $8,130                                2
                       AZ                                             $21,820                                2
                       DE                                              $6,110                                2
                       GA                                             $62,302                                2
                       IL                                            $677,547                                2
                       lA
                       IA                                             $95,815                                2
                       KS                                              $7,628                                2
                       KY                                             $27,637                                2
                       MD                                              $8,493                                2
                       MN                                                  $0                                2
                       MS                                             $18,962                                2
                       NV                                             $46,492                                1
                       NH                                             $11,807                                2
                       NC                                            $100,738                                3
                       OK                                             $11,809                                2
                       sc
                       SC                                             $40,059                                2
                       TN                                              $2,551                                2
                       VA                                             $38,038                                2
                       wv
                       WV                                             $13,754                                2

     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                                 Policy No. WD001482              Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        //      Premium

 Insurance Company             Protective Insurance Company                Countersigned by      ~c:r:
                                                                                                  cr:
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 (Ed. 1-17)                                         Decl. Barnett, Ex. B-62
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                                     #:1084
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 010402
                                                                                                                    WC 01 04 02

                                                                                                                      (Ed.11-96)
                                                                                                                      (Ed. 11-96)


                                  ALABAMA ANNIVERSARY RATING DATE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Alabama is shown in Item 3.A. of the
Information Page.

The experience rating modification factor, if any, may change on your anniversary rating date shown in the Schedule.




                                                            Schedule



Anniversary Rating Date                            June                 (Month)              30          (Day)
                               ----------------------------
                               - -------------                                    -------------
                                                                                  - ------




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. WD001482                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



  Insurance Company             Protective Insurance Company Countersigned by      -----~----------~-------------
                                                                                        ~t                      _
  we 010402
  WC  01 04 02
  (Ed. 11-96)
                                                   Decl. Barnett, Ex. B-63
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 133 of 514 Page ID
WORKERS                               #:1085INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                      we
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                                                                                                                        06 01 A

                                                                                                                        (Ed. 9-15)


                              ARIZONA CANCELLATION AND NONRENEWAL ENDORSEMENT

This
This endorsement applies because Arizona is shown in Item 3.A. of the Information Page.

Part Six-Conditions, Section D. (Cancellation), of the policy is replaced by the following:
Part
D.
D. Cancellation and Nonrenewal
   1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
      cancellation is to take effect.
    2.    If you cancel or fail to renew this policy, we must promptly notify the Industrial Commission of Arizona.
    3. We may cancel this policy if you fail to pay premium when due, or when one or both of the parties to a
       professional employer agreement terminate the agreement.
    4. If we cancel or nonrenew this policy, we must mail or deliver to you and the Industrial Commission of Arizona
       at least 30 days' notice of the cancellation or nonrenewal. Mailing that notice to you at your mailing address
       shown in Item 1. of the Information Page will be sufficient to prove notice. If we nonrenew this policy and fail
       to give you notice of nonrenewal, coverage will not extend beyond the policy period.
    5. The policy period will end on the day and hour stated in the cancellation or nonrenewal notice.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


Policy Effective
Policy Effective              01/01/2017
Endorsement Effective
Endorsement                   01/01/2017                                  Policy No. WD001482              Endorsement No.
Insured
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



Insurance Company
Insurance                   PROTECTIVE INSURANCE COMPANY Countersigned by _ _                -,~t _
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              A
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 134 of 514 Page ID
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                              WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                  we 04 01 01 A (Ed. 4-92)
                                                  WC



            LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                  COVERAGE ENDORSEMENT-CALIFORNIA
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a
different date is indicated below.
    (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)


This endorsement, effective on                          01/01/2017                   at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.      WD001482

of the          Protective Insurance Company
                (NAME OF INSURANCE COMPANY)

issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                            /J
                                                                                              IAAdcr
                                                                                              /AAdcr
                                                                                           Authorized Representative


This endorsement applies only to work subject to the                        other     federal     workers'    or    workmen's
Longshore and Harbor Workers' Compensation Act in                           compensation law, other federal occupational
California. The policy applies to that work as though                       disease law or the provisions of any law that
California were listed in item 3.A of the Information                       provide nonoccupational disability benefits.
Page.
Page.                                                                   Part Two (Employers' Liability Insurance),
                                                                                                               Insurance}, C.
General Section C. Workers' Compensation Law is                         Exclusions, exclusion 8. does not apply to work
replaced by the following:                                              subject to the Longshore and Harbor Workers'
C. Workers' Compensation Law                                            Compensation
                                                                        Compensation Act.Act.
    Workers' Compensation Law means the workers'                        This endorsement does not apply to work subject to
     or workmen's compensation law and occupational                     the Defense Base Act, the Outer Continental Shelf
     disease law of each state or territory named in                    Lands
                                                                        Lands     Act,
                                                                                  Act,     or
                                                                                           or   the
                                                                                                the   Nonappropriated
                                                                                                      Nonappropriated     Fund
                                                                                                                          Fund
     Item 3.A of the Information Page and the                           Instrumentalities  Act.
                                                                        Instrumentalities Act.
     Longshore and Harbor Workers' Compensation                         The estimated premium for the Longshore and Harbor
     Act (33 USC Sections 901-950). It includes any                     Workers' Compensation Act coverage provided by this
     amendments to those laws that are in effect                        endorsement is as shown in the Schedule below or
     during the policy period. It does not include any                  item 4. of the Information Page.
                                                               Schedule
                                                                     Estimated                   Rate Per                    Estimated
                                                                      Annual                     $100 of                      Annual
Code No.           Classification                                   Remuneration               Remuneration                  Premium




                                                                                             $--=2.L:.,7..:.7::::J5,~8..:...;10~----
                                                              Total Estimated Annual Premium $--=2.L:..!7..:.7::::J5,~8..:.;10~ _




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                                               Decl. Barnett, Ex. B-65                                                          Page 1 of 1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 135 of 514 Page ID
                                  #:1087

WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           WC o4
                                                                                                                        we 04 03 01 cC

                                                                                                                            (Ed. 10-14)


                                     POLICY AMENDATORY ENDORSEMENT-CALIFORNIA

ItIt is agreed that, anything in the policy to the contrary notwithstanding, such insurance as is afforded by this policy by reason of
     is agreed
the
the designation
        designation of California in Item 3 of the Information Page is subject to the following provisions:

1.
1.    Minors
      Minors Illegally Employed - Not Insured. This policy does not cover liability for additional compensation imposed on you
      under Section 4557, Division IV, Labor Code of the State of California, by reason of injury to an employee under sixteen
      under
      years of age and illegally employed at the time of injury.
      years

2.
2.    Punitive
      Punitive or Exemplary Damages - Uninsurable. This policy does not cover punitive or exemplary damages where
      insurance of liability therefor is prohibited by law or contrary to public policy.
      insurance

3.
3.    Increase
      Increase in Indemnity Payment
                                Payment- - Reimbursement. You are obligated to reimburse us for the amount of increase in
      indemnity
      indemnity payments made pursuant to Subdivision (d)   {d) of Section 4650 of the California Labor Code, if the late indemnity
      payment
       payment which gives rise to the increase in the amount of payment is due less than seven (7) days after we receive the
       completed claim form from you. You are obligated to reimburse us for any increase in indemnity payments not covered under
      completed
      this
      this policy and will reimburse us for any increase in indemnity payment not covered under the policy when the aggregate total
       amount of the reimbursement payments paid in a policy year exceeds one hundred dollars ($1
      amount                                                                                         ($100).
                                                                                                        00).

      IfIf we notify you in writing, within 30 days of the payment, that you are obligated to reimburse us, we will bill you for the
      amount
      amount of increase in indemnity payment and collect it no later than the final audit. You will have 60 days, following notice of
      the
      the obligation to reimburse, to appeal the decision of the insurer to the Department of Insurance.

4.
4.    Application
      Application of Policy. Part One, "Workers Compensation Insurance", A, "How This Insurance Applies", is amended to read
      as
      as follows:

      This
      This workers compensation insurance applies to bodily injury by accident or disease, including death resulting therefrom.
      Bodily
      Bodily injury by accident must occur during the policy period. Bodily injury by disease must be caused or aggravated by the
      conditions of your employment. Your employee's exposure to those conditions causing or aggravating such bodily injury by
      conditions
      disease must occur during the policy period.
      disease

5.
5.    Rate Changes. The premium and rates with respect to the insurance provided by this policy by reason of the designation of
      Rate
      California in Item 3 of the Information Page are subject to change if ordered by the Insurance Commissioner of the State of
      California
      California pursuant to Section 11737 of the California Insurance Code.
      California

6.
6.    Long Term Policy. If this policy is written for a period longer than one year, all the provisions of this policy shall apply
      Long
      separately to each consecutive twelve-month period or, if the first or last consecutive period is less than twelve months, to
      separately
      such period of less than twelve months, in the same manner as if a separate policy had been written for each consecutive
      period.
      period.

7.
7.    Statutory Provision. Your employee has a first lien upon any amount which becomes owing to you by us on account of this
      Statutory
      policy, and in the case of your legal incapacity or inability to receive the money and pay it to the claimant, we will pay it
      policy,
      directly to the claimant.
      directly

8.
8.    Part Five, "Premium", E, "Final Premium", is amended to read as follows:
      Part

      The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will be
      The
      determined after this policy ends by using the actual, not the estimated, premium basis and the proper classifications and
      determined
      rates that lawfully apply to the business and work covered by this policy. If the final premium is more than the premium you
      rates
      paid to us, you must pay us the balance. If it is less, we will refund the balance to you. The final premium will not be less than
      paid
      the highest minimum premium for the classifications covered by this policy.
      the

      If this policy is canceled, final premium will be determined in the following way unless our manuals provide otherwise:

      a.
      a.   If we cancel, final premium will be calculated pro rata based on the time this policy was in force. Final premium will not
           be less than the pro rata share of the minimum premium.
      b.
      b.   If you cancel, final premium may be more than pro rata; it will be based on the time this policy was in force, and may be
           increased by our short-rate cancelation table and procedure. Final premium will not be less than the pro rata share of the
           minimum premium.

 9.
 9.   The Insured's Email Address. The insured's email address must be included in Item 1 of the Information Page if the insurer
      The
      intends to electronically transmit an offer of renewal for a workers' compensation insurance policy to the insured (California
      intends
       Insurance Code §38.5 (b).
      Insurance
                                            Decl. Barnett, Ex. B-66
                                                                  1 of 2
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 136 of 514 Page ID
                                        #:1088
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            c                                 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

{Ed. 10-14)


It is further agreed that this policy, including all endorsements forming a part thereof, constitutes the entire contract of insurance.
No condition, provision, agreement, or understanding not set forth in this policy or such endorsements shall affect such contract
or any rights, duties, or privileges arising therefrom.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


Policy Effective             01/01/2017
 Endorsement Effective       01/01/2017                              Policy No. WD001482                         Endorsement No.
 Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                         Premium



 Insurance Company         Protective Insurance Company            Countersigned
                                                                   Countersigned by by---'£.~------'---~-"--------
                                                                                      _-I£.&Jd ---'-_I-"-       _
                                                  Decl. Barnett, Ex. B-67
                                                                  2 of2
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 137 of 514 Page ID
                                   #:1089


               WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY
                                                      we 04 0310
                                                      WC    o3 10 (Ed. 1-95)

                                      DUTY TO DEFEND-CALIFORNIA
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a
different date is indicated below.
    (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                          01/01/2017                   at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.      WD001482                            Endorsement No.

of the


issued to

Premium
                Protective Insurance Company
                (NAME OF INSURANCE COMPANY)

                                          LLC DBA BARNEn
                PERSONNEL STAFFING GROUP, LLe     BARNETI                       wI
                                                                                WI
                                                                     ------~----~~~~----~~------------
                                                                     ---....:;.....----:--:-:--~-:-:::'--...,.....,.:--------
                                                                                           Authorized Representative


The insurance afforded by Part One, Section C, "We Will Defend," is hereby deleted and replaced with the
following:

WE WILL DEFEND
We have the right and duty to defend at our expense any claim or proceeding against you before the California
Workers' Compensation Appeals Board or its equivalent in any other state (and any appeal of a decision
therefrom) for the benefits payable by this workers' compensation insurance. We have the right to investigate and
settle these claims or proceedings.
We have no duty to defend a claim, proceeding, or suit that is not covered by this insurance.
Nothing contained in this Section shall amend, modify, restrict or otherwise alter any obligations or conditions
under Part Two-Employer's Liability Insurance of the policy.




we 565 (1-95)
WC
we 04 03 10
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                                               Decl. Barnett, Ex. B-68                                                          Page 1 of 1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 138 of 514 Page ID
                                  #:1090
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                              we 040360
                                                                                                                           WC 04 03 soB
                                                                                                                                      B

                                                                                                                              (Ed. 01-15)

                        EMPLOYERS' LIABILITY COVERAGE AMENDATORY ENDORSEMENT-CALIFORNIA

The insurance afforded by Part Two (Employers' Liability Insurance) by reason of designation of California in item 3 of the
information page is subject to the following provisions:

A.   "How This Insurance Applies," is amended to read as follows:

     A.   How This Insurance Applies

          This employers' liability insurance applies to bodily injury by accident or bodily injury by disease. Bodily injury means a
          physical injury, including resulting death.

          1.   The bodily injury must arise out of and in the course of the injured employee's employment by you.

          2.   The employment must be necessary or incidental to your work in California.

          3.   Bodily injury by accident must occur during the policy period.

          4.   Bodily injury by disease must be caused or aggravated by the conditions of your employment. The employee's last
               day of last exposure to the conditions causing or aggravating such bodily injury by disease must occur during the
               policy period.

          5.   If you are sued, the original suit and any related legal actions for damages for bodily injury by accident or by
               disease must be brought in the United States of America, its territories or possessions, or Canada.

     C.   The "Exclusions" section is modified as follows (all other exclusions in the "Exclusions" section remain as is):

          1.   Exclusion 1 is amended to read as follows:

                   1.    liability assumed under a contract.

          2.   Exclusion 2 is deleted.

          3.   Exclusion 7 is amended to read as follows:

                   7.    damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline, defamation,
                         harassment, humiliation, discrimination against or termination of any employee, termination of employment,
                         or any personnel practices, policies, acts or omissions.

          4.   The following exclusions are added:

                   1.    bodily injury to any member of the flying crew of any aircraft.

                   2.           injury to an employee when you are deprived of statutory or common law defenses or are subject to
                         bodily injUry
                         penalty because of your failure to secure your obligations under the workers' compensation law(s)
                         applicable to you or otherwise fail to comply with that law.

                   3.    liability arising from California Labor Code Section 2810.3 which relates to labor contracting.


      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective               01/01/2017
Endorsement Effective          01/01/2017                             Policy No. WD001482                        Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                         Premium



Insurance Company           Protective Insurance Company             Countersigned by _ _    __:~c__iJ
                                                                                             ....:~'--
                                                                                                 _____ _______
                                                                                                      cf
                                             Decl. Barnett, Ex. B-69
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 139 of 514 Page ID
                                   #:1091
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                  we 040401
                                                                                                               WC 04 04 01
                                                                                                                 (Ed. 4-84)

                                  ANNIVERSARY RATING DATE ENDORSEMENT

The premium and rates for this policy, and the experience rating modification factor, if any, may change on your
anniversary rating date shown in the Schedule.

                                                          Schedule

                        _----,,0..:::..6_
Anniversary Rating Date ----=0..:::..6  _ _ (Month)            30          (Day)           17        (Year)




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)




                                                                                                        t
 Policy Effective           01/01/2017
 Endorsement Effective      01/01/2017                              Policy No. WD001482                     Endorsement No.

                                                                        w~


                                                                                        w
 Insured                    PERSONNEL STAFFING GROUP, LLe OBA BARNETT M
                                                      LLC DBA         M                                             Premium



 Insurance Company        Protective Insurance Company           Countersigned b
                                                                               by y - - - - - - - - - - - - -
                                                                                                            _ -




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                                           Decl. Barnett, Ex. B-70
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Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 140 of 514 Page ID
                                  #:1092
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we
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                                                                                                                               01-08)
                                                                                                                          (Ed. 01-08)

                               OPTIONAL PREMIUM INCREASE ENDORSEMENT-CALIFORNIA


You must provide us, or our authorized representative, access to records necessary to perform a payroll verification audit. If you you
fail to provide access within 90 days after expiration of the policy, you are liable to pay a total premium equal to 3 times our
current estimate of the annual premium for your policy. In addition, if you fail to provide access after our third request within a 90
                                                                                                                                    90
day or longer period, you are also liable for our costs in attempting to perform the audit unless you provide a compelling business
                                                                                                                              business
reason for your failure.

We will contact you to schedule appointments during normal business hours.

We will notify you of your failure to provide access by mailing a certified, return-receipt document stating the increased premium
and the total amount of our costs incurred in our attempt(s) to perform an audit. In addition to any other obligations under this    .
contract, 30 days after you receive the notification, you will be obligated to pay the total premium and costs referenced above. If,
thereafter, you provide access to your records within three years after the policy expires, or within another mutually agreed upon
                                                                                                                               upon
time, and we succeed in performing the audit to our satisfaction, we will revise your total premium and the costs due to reflect the
                                                                                                                                  the
results of the audit.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective            01/01/2017
 Endorsement Effective       01/01/2017                             Policy No. WD001482                         Endorsement No.




                           P~~.:::::::,:~:::~:P:~~UP, :::.~:g::~~:rr
                           p~~e:::::::r:~:::~:p:~~UP'                MAW~
                                                      :::n~:g::~~:rr MAwt Premium
 Insured



 Insurance Company

                                           Decl. Barnett, Ex. B-71
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 141 of 514 Page ID
                                  #:1093
                        WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                      we 04 06 01 A
                                                      WC

                        CALIFORNIA CANCELATION ENDORSEMENT
   This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective          01/01/2017
Endorsement Effective     01/01/2017                            Policy No. WD001482                        Endorsement No.
Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                     Premium



Insurance Company       Protective Insurance Company           Countersigned by _
                                                               Countersigned by ___     ....:~----~-=---------
                                                                                        ....::~      t--=---                  _

This endorsement applies only to the insurance provided by the policy because California is shown in Item 3.A. of
the information page.

The cancelation condition in Part Six (Conditions) of the policy is replaced by these conditions:

Cancelation
1. You may cancel this policy. You must mail or                        j. The occurrence of any change in your busi-
   deliver advance written notice to us stating when                      ness or operations that materially increases
   the cancelation is to take effect.                                     the hazard for frequency or severity of loss;
2. We may cancel this policy for one or more of the                  k. The occurrence of any change in your
   following reasons:                                                     business or operation that requires additional
   a. Non-payment of premium;                                             or different classification for premium calcu-
                                                                          lation;
   b. Failure to report payroll;
                                                                     I. The occurrence of any change in your
   c. Failure to permit us to audit payroll as
                                                                          business or operation which contemplates an
        required by the terms of this policy or of a
                                                                          activity excluded by our reinsurance treaties.
        previous policy issued by us;
                                                                  3. If we cancel your policy for any of the reasons
   d. Failure to pay any additional premium
                                                                     listed in (a) through (f) we will give you 10 days
        resulting from an audit of payroll required by
                                                                     advance written notice, stating when the
        the terms of this policy or any previous policy
                                                                     cancelation is to take effect. Mailing that notice to
        issued by us;
                                                                     you at your mailing address shown in item 1 of
   e. Material misrepresentation made by you or                      the Information Page will be sufficient to prove
        your agent;                                                  notice. If we cancel your policy for any of the
   f. Failure to cooperate with us in the inves-                                                           (1), we will give
                                                                     reasons listed in items (g) through (I),
        tigation of a claim;                                         you 30 days advance written notice; however, we
    g. Failure to comply with Federal or State safety                agree that in the event of cancelation and
        orders;                                                      reissuance of a policy effective upon a material
                                                                     change in ownership or operations, notice will not
    h. Failure to comply with written recom-
                                                                     be provided.
        mendations of our designated loss control
        representatives;                                          4. The policy period will end on the day and hour
                                                                     stated in the cancelation notice.
    i. The occurrence of a material change in the
        ownership of your business;




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            A                              Decl. Barnett, Ex. B-72                                                   Page 1 of 1
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 142 of 514 Page ID
                                    #:1094
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we
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                              CALIFORNIA LARGE RISK DEDUCTIBLE ENDORSEMENT


  1. This endorsement applies to the workers' compensation insurance coverage, the employers' liability insurance
     coverage and the other states insurance coverage provided in this policy.

  2.    This endorsement applies between you and us. It does not affect the rights of others under the policy. Nor does
        it change our obligations under the policy, except as otherwise stated in this endorsement.

  3.    In consideration of a reduced premium, you have agreed to reimburse us up to the deductible amounts stated
        in the Schedule at the end of this endorsement for all payments legally required, including allocated loss
        adjustment expenses which arise out of any claim or suit we defend, where you elect to include such
        expenses.

  4.    We will remain responsible for the full payment of all claims under this policy without regard to your ability or
        intention to reimburse us for the deductible amounts. The contract of insurance shall be fully enforceable by
        your employees or their dependents against us.

Deductible
Deductible-- Each Occurrence

  5.    The deductible amount stated in the Schedule is the most you must reimburse us for indemnity and medical
        benefits and damages combined, including allocated loss adjustment expenses, if elected by you, for bodily
        injury to one or more employees as the result of anyone
                                                         any one accident or for disablement of one employee due to
        bodily injury by disease.

Deductible
Deductible-- Policy Aggregate

  6. The amount stated in the Schedule as aggregate is the most you must reimburse us for the sum of all
     indemnity and medical benefits, damages, and allocated loss adjustment expense, if elected by you, because
     of bodily injury by accident or bodily injury by disease for the policy period.

        (a) If we cancel the policy, the aggregate amount stated in the Schedule will be reduced to a pro rata
                                                                                                          rata amount
            based on the time this policy was in force.

        (b) If you cancel the policy as a result of your retiring from business, the aggregate deductible amount will be
            reduced to a pro rata amount based on the time this policy was in force.

        (c) If you cancel the policy for any reason other than retiring from business, the aggregate deductible amount
            will not be reduced.

        (d) If this policy is issued for a term of less than one year, the aggregate deductible amount will not be reduced.

Effect of Deductible on Limits of Liability

   7.   The applicable limits of liability as respects the employers' liability insurance coverage provided in this policy
        are subject to reduction by the application of the loss reimbursement amount(s) applicable to any claim for
        accident or disease covered by this policy. In the event of a claim, our obligation to pay is the amount available
        for benefits or damages that remains after the application of the specific loss reimbursement amount. The
        payment of loss adjustment expense, where such expense is elected by you, will not affect the limits of the
        liability.




                                           Decl. Barnett, Ex. B-73
                                                         Page 1 of 3
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 143 of 514 Page ID
                                     #:1095
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            B                   WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

{Ed. 01-15)

Allocated Loss Adjustment Expenses

   8.   Allocated loss adjustment expenses, which is electable by you, means claims expenses directly allocated by us
        to a particular claim. Such expenses shall not include cost of investigation or the salaries and traveling
        expenses of our employees other than those salaried employees who perform services which can be directly
        allocated to the handling of a particular claim.

Recovery from Others

   9.   If we recover any payments made under this policy from anyone liable for the injury, the amount we recover will
        be applied as follows:

        (a) First, to any payments made by us in excess of the deductible amount; and

        (b) Then the remainder, if any, will be applied to reduce the deductible amount reimbursed by you.

Cancellation

   10. We may cancel this policy for nonpayment of any deductible amounts or for failure to comply with any security-
        related terms of this policy. Such cancellation of this policy shall be treated in the same manner as nonpayment
        of premium as provided by the California Insurance Code. We will remain fully responsible for the full amount
        of all claims incurred prior to the effective date of cancellation.

Sole Representation

   11. The first Named Insured stated in the Information Page will act on behalf of all the named insureds with respect
        to:

        (a) Changes to this endorsement;

        (b) Obligations to receive premiums; or

        (c) Giving or receiving notice of cancellation.

Your Duties and Understanding

   12. All bodily injuries by accident or disease for which you are responsible shall be promptly reported to us for
       adjustment and payment, regardless of their severity or cost. You further understand that all such bodily
       injuries and their cost shall be included in experience data used to determine the experience rating for your
       policy, regardless of the eligibility of such claims for full or partial reimbursement under the deductible
       provisions of this policy.

Other Rights and Duties

   13. All other terms of the policy, including those which govern the following items, apply irrespective of this
       deductible endorsement:

        (a) Our right and duty to defend any claim, proceeding or suit against you; and

        (b) Your duties if injury occurs.




                                            Decl. Barnett, Ex. B-74
                                                          Page 2 of 3
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 144 of 514 Page ID
                                         #:1096
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
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. Additional Charges

       14. Any assessments pursuant to California statute are not part of this Plan but are included in the cost of the
           coverage provided by the policy to which this endorsement is attached.

                                                               Schedule

 1.     Deductible Amount
                   Amount$$                500,000             Each Accident
                                       (Dollar Amount)

 2.     Aggregate Limit $                    NONE                      Negotiated Charge $                  NONE
                                  (Dollar Amount or "None")                                      (Dollar Amount or "None")

 3.     Allocated Loss Adjustment Expenses are                          INCLUDED
                                                               ("Included" or "Excluded")

 4.     The Fixed Expense Charge                       WILL                 be adjusted retroactively, based upon actual costs.
                                         ---------------------
                                               ("Will or "Will Not")




          This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


      Policy Effective          01/01/2017
      Endorsement Effective     01/01/2017                              Policy No. WD001482                     Endorsement No.
      Insured                   PERSONNEL STAFFING GROUP, LLG DBA BARNETT MANAGEMENT                          /J
                                                                                                              IJ         Premium

      Insurance Company       Protective Insurance Company                              _---:t<U=--tf-=-----------_
                                                                                               _______tf-=---
                                                                       Countersigned by _____;{d+:.___



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                                                               Page 3 of 3
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 145 of 514 Page ID
                                  #:1097
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                                                                                                                             (Ed. 03-15)

                                                        POLICYHOLDER NOTICE
                                        YOUR RIGHT TO RATING AND DIVIDEND INFORMATION

1.
I.          Information Available to You
       A.   Information Available from Us-
                                       Us - Protective Insurance Company
        (1) General questions regarding your policy should be directed to: Protective Insurance Company
                                                          Protective Insurance Company
                                                             111 Congressional Blvd.
                                                                Carmel, IN 46032
                                                    Telephone: 800-231-6024, Fax: 317-636-7372
                                                          www.protectiveinsurance.com

        (2) Dividend Calculation. If this is a participating policy (a policy on which a dividend may be paid), upon payment or non-
            payment of a dividend, we shall provide a written explanation to you that sets forth the basis of the dividend calculation. The
            explanation will be in clear, understandable language and will express the dividend as a dollar amount and as a percentage
            of the earned premium for the policy year on which the dividend is calculated.
        (3)
        {3) Claims Information. Pursuant to Sections 3761 and 3762 of the California Labor Code, you are entitled to receive
            information in our claim files that affects your premium. Copies of documents will be supplied at your expense during
            reasonable business hours.
            For claims covered under this policy, we will estimate the ultimate cost of unsettled claims for statistical purposes eighteen
            months after the policy becomes effective and will report those estimates to the Workers' Compensation Insurance Rating
            Bureau of California (WCIRB) no later than twenty months after the policy becomes effective. The cost of any settled claims
            will also be reported at that time. At twelve-month intervals thereafter, we will update and report to the WClRB
                                                                                                                       WCIRB the estimated
            cost of any unsettled claims and the actual final cost of any claims settled in the interim. The amounts we report will be used
                    WClRB to compute your experience modification if you are eligible for experience rating.
            by the WCIRB

       B.    Information Available from the Workers' Compensation Insurance Rating Bureau of California
        (1) The WCIRB is a licensed rating organization and the California Insurance Commissioner's designated statistical agent. As
                      WClRB is responsible for administering the California Workers' Compensation Uniform Statistical Reporting
            such, the WCIRB
            P/an-1995 (USRP) and the California Workers' Compensation Experience Rating Plan-1995
            Plan-1995                                                                       P/an-1995 (ERP). Contact information
                              WClRB, 1221 Broadway, Suite 900, Oakland, CA 94612, Attention: Customer Service. You may also
                    WClRB is: WCIRB,
            for the WCIRB
                    WCIRS Customer Service at 1-888-229-2472, by fax at 415-778-7272, or via the Internet at the WCIRB's
            contact WClRB                                                                                        WClRB's website:
            http://www.wcirb.com. The regulations contained in the USRP and the ERP are available for public viewing through the
            WCIRB's website.
        (2) Policyholder Information. Pursuant to California Insurance Code (CIC)   {CIC) Section 11752.6, upon written request, you are
            entitled to information relating to loss experience, claims, classification assignments, and policy contracts as well as rating
            plans, rating systems, manual rules, or other information impacting your premium that is maintained in the records of the
            WCIRB. Complaints and Requests for Action requesting policyholder information should be forwarded to: WCIRB, 1221
            Broadway, Suite 900, Oakland, CA 94612, Attention: Custodian of Records. The Custodian of Records can be reached by
            telephone at 415-777-0777 and by fax at 415-778-7272.
        (3) Experience Rating Form. Each experience rated risk may receive a single copy of its current Experience Rating Form free
            of charge by completing a Policyholder Rate Sheet Request Form on the WCIRB's website at
            http://www.wcirb.com/ratesheet. The Experience Rating Form will include a Loss-Free Rating, which is the experience
            modification that would have been calculated if $0 (zero) actual losses were incurred during the experience period. This
            hypothetical rating calculation is provided for informational purposes only.

 II.         Dispute Process
             You may dispute our actions or the actions of the WCIRB pursuant to CIC Sections 11737 and 11753.1.

       A.    Our Dispute Resolution Process.
             If you are aggrieved by our decision adopting a change in a classification assignment that results in increased premium, or
             by the application of our rating system to your workers' compensation insurance, you may dispute these matters with us. If
             you are dissatisfied with the outcome of the initial dispute with us, you may send us a written Complaint and Request for
             Action as outlined below.]
             You may send us a written Complaint and Request for Action requesting that we reconsider a change in a classification
             assignment that results in an increased premium and/or requesting that we review the manner in which our rating system
             has been applied in connection with the insurance afforded or offered you. Written Complaints and Requests for Action
             should be forwarded to:
                                                          PROTECTIVE INSURANCE COMPANY
                                                                 c/o CorVel Corporation
                                                            P.O. Box 699, Chino, CA 91710
                                                        Phone: (909) 257-3718, Fax: (909) 257-3784

                                                Decl. Barnett, Ex. B-76                                                                 1 of 2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 146 of 514 Page ID
                                  #:1098
                                                                                                                          PN 049901
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            After you send your Complaint and Request for Action, we have 30 days to send you a written notice indicating whether or not
            your written request will be reviewed. If we agree to review your request, we must conduct the review and issue a decision
            granting or rejecting your request within 60 days after sending you the written notice granting review. If we decline to review
            your request, if you are dissatisfied with the decision upon review, or if we fail to grant or reject your request or issue a
            decision upon review, you may appeal to the insurance commissioner as described in paragraph II.C.,     II. C., below.

       B.                                     WCIRB. If you have been aggrieved by any decision, action, or omission to act of the
            Disputing the Actions of the WeIRB.
            WCIRB, you may request, in writing, that the WCIRB reconsider its decision, action, or omission to act. You may also
            request, in writing, that the WCIRB review the manner in which its rating system has been applied in connection with the
            insurance afforded or offered you. For requests related to classification disputes, the reporting of experience, or coverage
            issues, your initial request for review must be received by the WCIRB within 12 months after the expiration date of the policy
            to which the request for review pertains, except if the request involves the application of the Revision of Losses rule. For
            requests related to your experience modification, your initial request for review must be received by the WCIRB within 6
            months after the issuance, or 12 months after the expiration date, of the experience modification to which the request for
            review pertains, whichever is later, except if the request for review involves the application of the Revision of Losses rule. If
            the request involves the Revision of Losses rule, the time to state your appeal may be longer. (See Section VI, Rule 14 of
            the ERP).
            You may commence the review process by sending the WCIRB a written Inquiry. Written Inquiries should be sent to:
            WCIRB, 1221 Broadway, Suite 900, Oakland, CA 94612, Attention: Customer Service. Customer Service can be reached by
            telephone at 1-888-229-2472, and by fax at 415-778-7272.
            If you are dissatisfied with the WCIRB's decision upon an Inquiry, or if the WCIRB fails to respond within 90 days after
            receipt of the Inquiry, you may pursue the subject of the Inquiry by sending the WCIRB a written Complaint and Request for
            Action. After you send your Complaint and Request for Action, the WCIRB has 30 days to send you written notice indicating
            whether or not your written request will be reviewed. If the WCIRB agrees to review your request, it must conduct the review
            and issue a decision granting or rejecting your request within 60 days after sending you the written notice granting review. If
            the WCIRB declines to review your request, if you are dissatisfied with the decision upon review, or if the WCIRB fails to
            grant or reject your request or issue a decision upon review, you may appeal to the insurance commissioner as described in
                        II. C., below. Written Complaints and Requests for Action should be forwarded to: WCIRB, 1221 Broadway, Suite
            paragraph II.C.,
            900, Oakland, CA 94612, Attention: Complaints and Reconsiderations. The WCIRB's telephone number is 1-888-229-2472,
            and the fax number is 415-371-5204.

       C.   California Department of Insurance-
            Caiifornia                  Insurance - Appeals to the Insurance Commissioner. If, after you follow the appropriate
            dispute resolution process described above, we or the WCIRB decline to review your request, if you are dissatisfied with the
            decision upon review, or if we or the WCIRB fail to grant or reject your request or issue a decision upon review, you may
            appeal to the insurance commissioner pursuant to CIC Sections 11737, 11752.6, 11753.1 and Title 10, California Code of
            Regulations, Section 2509.40 et seq. You must file your appeal within 30 days after we or the WCIRB send you the notice
            rejecting review of your Complaint and Request for Action or the decision upon your Complaint and Request for Action. If no
            written decision regarding your Complaint and Request for Action is sent, your appeal must be filed within 120 days after
            you sent your Complaint and Request for Action to us or to the WCIRB. The filing address for all appeals to the insurance
            commissioner is:
                                                Administrative Hearing Bureau
                                                California Department of Insurance
                                                45 Fremont Street, 22nd Floor
                                                San Francisco, California 94105
            You have the right to a hearing before the insurance commissioner, and our action, or the action of the WCIRB, may be
            affirmed, modified, or reversed.

Ill.
III.        Resources Available to You in Obtaining Information and Pursuing Disputes
       A.   Policyholder Ombudsman. Pursuant to California Insurance Code Section 11752.6, a policyholder ombudsman is
            available at the WCIRB to assist you in obtaining and evaluating the rating, policy, and claims information referenced in I.A.
            and I.LB.,
                   B., above,
                       above. The ombudsman may advise you on any dispute with us, the WCIRB, or on an appeal to the insurance
            commissioner pursuant to Section 11737 of the Insurance Code. The address of the policyholder ombudsman is WCIRB,
            1221 Broadway, Suite 900, Oakland, CA 94612, Attention: Policyholder Ombudsman. The policyholder ombudsman can be
            reached by telephone at 415-778-7159 and by fax at 415-371-5288.
       B.   California Department of Insurance - Information and Assistance. Information and assistance on policy questions can
            be obtained from the Department of Insurance Consumer HOTLINE, 1-800-927-HELP (4357) or
            http://www.insurance.ca.gov. For questions and correspondence regarding appeals to the Administrative Hearing Bureau,
                                                     II. C.
            see the contact information in paragraph II.C.
            This notice does not change the policy to which it is attached.




                                               Decl. Barnett, Ex. B-77                                                                   2 of2
                                                                                                                                         2of2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 147 of 514 Page ID
                                  #:1099


                                                                                                                        PN 04 99 02 B

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                                                    POLICYHOLDER NOTICE

                                            CALIFORNIA WORKERS' COMPENSATION
                                                  INSURANCE RATING LAWS

 Pursuant to Section 11752.8 of the California Insurance Code, we are providing you with an explanation of the California workers'
 Pursuant to
 compensation
 compensation rating laws.

 1.   We
      We establish
          establish our own rates for workers' compensation. Our rates, rating plans, and related information are filed with the
      insurance
      insurance commissioner and are open for public inspection.

 2.
 2.   The
      The insurance commissioner can disapprove our rates, rating plans, or classifications only if he or she has determined after
      public hearing that our rates might jeopardize our ability to pay claims or might create a monopoly in the market. A monopoly
      public
          defined by law as aa market where one insurer writes 20% or more of that part of the California workers' compensation
       is defined
      is
       insurance that is not written by the State Compensation Insurance Fund. If the insurance commissioner disapproves our
      insurance
       rates, rating plans, or classifications, he or she may order an increase in the rates applicable to outstanding policies.
      rates,

 3.
 3.   Rating organizations may develop pure premium rates that are subject to the insurance commissioner's approval. A pure
      Rating
      premium rate reflects the anticipated cost and expenses of claims per $100 of payroll for a given classification. Pure premium
      premium
      rates are advisory only, as we are not required to use the pure premium rates developed by any rating organization in
      rates
      establishing our own rates.
      establishing

 4.
 4.   We must adhere to aa single, uniform experience rating plan. If you are eligible for experience rating under the plan, we will be
      We
      required to adjust your premium to reflect your claim history. A better claim history generally results in a lower experience
      required
      rating modification; more claims, or more expensive claims, generally result in a higher experience rating modification. The
      rating
      uniform experience rating plan, which is developed by the insurance rating organization designated by the insurance
      uniform
      commissioner, is subject to approval by the insurance commissioner.
      commissioner,

 5.
 5.   A standard
      A   standard classification system, developed by the insurance rating organization designated by the insurance commissioner,
       is subject
      is  subject to approval by the insurance commissioner. The standard classification system is a method of recognizing and
       separating policyholders into industry or occupational groups according to their similarities and/or differences. We can adopt
      separating
       and apply the standard classification system or develop and apply our own classification system, provided we can report the
      and
       payroll, expenses, and other costs of claims in a way that is consistent with the uniform statistical plan or the standard
      payroll,
       classification system.
      classification

 6.
 6.   Our rates and classifications may not violate the Unruh Civil Rights Act or be unfairly discriminatory.
      Our

 7.
 7.   We will
      We  will provide an appeal process for you to appeal the way we rate your insurance policy. The process requires us to
      respond to your written appeal within 30 days. If you are not satisfied with the result of your appeal, you may appeal our
      respond
      decision to the insurance commissioner.
      decision


                                            California Workers' Compensation Insurance
                                                                  Non renewal
                                                        Notice of Nonrenewal

 Section 11664 of the California Insurance Code requires us, in most instances, to provide you with a notice of non renewal. Except
 Section
 as specified in paragraphs 1 through 6 below, if we elect to nonrenew your policy, we are required to deliver or mail to you a
 as
 written notice
 written notice stating the reason or reasons for the nonrenewal of the policy. The notice is required to be sent to you no earlier
 than 120 days before the end of the policy period and no later than 30 days before the end of the policy period. If we fail to provide
 than
 you the
 you  the required notice, we are required to continue the coverage under the policy with no change in the premium rate until 60
 days after we provide you with the required notice.
 days




                                            Decl. Barnett,  2Ex. B-78
                                                         of 2
                                                       1 of
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 148 of 514 Page ID
                                       #:1100

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(Ed.
(Ed. 05-02)

We
We are not required to provide you with a notice of non renewal in any of the following situations:

1.
1.   Your policy was transferred or renewed without a change in its terms or conditions or the rate on which the premium is based
     to another insurer or other insurers who are members of the same insurance group as us.

2.
2.   The policy was extended for 90 days or less and the required notice was given prior to the extension.

3.
3.   You obtained replacement coverage or agreed, in writing, within 60 days of the termination of the policy, to obtain that
     coverage.

4.
4.   The policy is for a period of no more than 60 days and you were notified at the time of issuance that it may not be renewed.

5.
5.   You requested a change in the terms or conditions or risks covered by the policy within 60 days prior to the end of the policy
     period.

6.
6.   We made a written offer to you to renew the policy at a premium rate increase of less than 25 percent.

     (A)
     {A) If the premium rate in your governing classification is to be increased 25 percent or greater and we intend to renew the
     policy, we shall provide a written notice of a renewal offer not less than 30 days prior to the policy renewal date. The
     governing classification shall be determined by the rules and regulations established in accordance with California Insurance
     Code Section 11750.3(c).

     (8)
     (B) For purposes of this Notice, "premium rate" means the cost of insurance per unit of exposure prior to the application of
     individual risk variations based on loss or expense considerations such as scheduled rating and experience rating.

This
This notice does not change the policy to which it is attached.




                                                Decl. Barnett,
                                                        2 of2
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                                                               Ex. B-79
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 149 of 514 Page ID
                                  #:1101

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                                                                                                                       PN 04 99 04

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                                                                                                                        (Ed. 12-01)

                                                    POLICYHOLDER NOTICE

                         CALIFORNIA INSURANCE GUARANTEE ASSOCIATION (CIGA) SURCHARGE


 Companies writing property and casualty insurance business in California are required to participate in the California Insurance
 Guarantee Association. If aa company becomes insolvent, the California Insurance Guarantee Association settles unpaid claims
 and assesses each insurance company for its fair share.

 California law requires all companies to surcharge policies to recover these assessments. If your policy is surcharged, "CA
 Surcharge" or "CA Surcharge (CIGA Surcharge)" with an amount will be displayed on your premium notice.



 This notice does not change the policy to which it is attached.




                                           Decl. Barnett, Ex. B-80
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 150 of 514 Page ID
WORKERS COMPENSATION AND EMPLOYERS LIABILITY
                                      #:1102INSURANCE POLICY                                                           we
                                                                                                                       WC 06 03 01

                                                                                                                           (Ed. 4-84)

               CONNECTICUT APPLICATION OF WORKERS COMPENSATION INSURANCE ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
Connecticut is shown in Item 3.A. of the Information Page.

Section A, "How This Insurance Applies," of Part One, "Workers Compensation Insurance," is amended to read as
follows:

This workers compensation insurance applies to injury by accident or injury by disease. Injury includes resulting
                                                                                                        reSUlting death.

1.      Injury by accident must occur during the policy period.

2.      Injury by disease must be caused or aggravated by exposure during the policy period to conditions of your
        employment.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective              01/01/2017
     Endorsement Effective     01/01/2017
                               01/0112017                            Policy No. WD001482                        Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium



     Insurance Company       Protective Insurance Company           Countersigned by    {AU~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                      we 06 03
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                           CONNECTICUT WORKERS COMPENSATION FUNDS ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
Connecticut is shown in Item 3.A. of the Information Page.

The amount shown on the Information Page for the Connecticut workers compensation fund assessment is required of
you under Section 31-345 of the Connecticut General Statutes. We will pay these assessments to the Connecticut
State Treasurer. The purpose of the assessment is to finance the expenses of administering the workers
compensation laws.
THE AMOUNT SHOWN ON THE INFORMATION PAGE FOR THE CONNECTICUT SECOND INJURY FUND
SURCHARGE IS REQUIRED OF YOU UNDER CONNECTICUT REGULATIONS TO FINANCE THE CONNECTICUT
SECOND INJURY FUND. WE WILL PAY THIS SURCHARGE TO THE CONNECTICUT STATE TREASURER.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective                01/01/2017
  Endorsement Effective           01/01/2017                                 Policy No. WD001482              Endorsement No.
  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                Premium



  Insurance Company            Protective Insurance Company                 Countersigned  _----=--~ t
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                           we 06 06 01
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                                          CONNECTICUT NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Connecticut is shown in Item 3.A. of
the Information Page.



Add the following to Part Six-Conditions of the policy:


F.      Nonrenewal

        We may elect not to renew the policy. Unless otherwise provided by Connecticut General Statutes Annotated
        Section 38a-323, we will provide you via registered mail, certified mail or by mail evidenced by a certificate of
        mailing, or deliver to the named insured at the address shown in the policy, at least sixty (60) days advance
        notice of our intention not to renew.


        Mailing such notice to you at your address, shown in Item 1., of the Information Page, will be deemed sufficient
        notice under this section.


        The notice of intent not to renew will state or be accompanied by a statement specifying the reason for such
        non renewal.
        nonrenewal.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            01/01/2017
     Endorsement Effective       01/01/2017                          Policy No. WD001482                        Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



     Insurance Company        Protective Insurance Company          Countersigned by _
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                         WC o7
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                                          DELAWARE NON RENEWAL ENDORSEMENT
                                                   NONRENEWAL

We
We may
     may elect not to renew the policy. By certified mail we will mail to you, not less than 60 days advance written
notice,
notice, when the nonrenewal will take effect. Mailing that notice to you at your mailing address, shown in Item 1 of the
Information
Information Page, will be sufficient to prove notice.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective
  Policy                        01/01/2017
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  Endorsement                   01/01/2017                         Policy No. WD001482                        Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                  Premium



  Insurance Company
  Insurance                     Protective Insurance Company                          by__
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        we 09 03
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                               FLORIDA EMPLOYERS LIABILITY COVERAGE ENDORSEMENT


C. Exclusion 5, Section C. of Part Two of the policy, is replaced by following:
   This insurance does not cover
   5. bodily injury intentionally caused or aggravated by you or which is the result of your engaging in conduct
       equivalent to an intentional tort, however defined, or other tortious conduct, such that you lose your immunity
       from civil liability under the workers compensation laws.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. WD001482                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



  Insurance Company           Protective Insurance Company        Countersigned  by----=-~-----~-=--------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                         we
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         FLORIDA TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT ENDORSEMENT

This
This endorsement addresses requirements of the Terrorism Risk Insurance Act of 2002 as amended by the Terrorism
Risk
Risk Insurance Program Reauthorization Act of 2015.

Definitions
Definitions
The
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.

    1. "Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26,     26,2002,
                                                                                                      2002, and any
       amendments, including any amendments resulting from the Terrorism Risk Insurance Program
       Reauthorization Act of 2015.
    2. "Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the
       Secretary of Homeland Security, and the Attorney General of the United States as meeting all of the following
       requirements:
       a. The act is an act of terrorism.
       b. The act is violent or dangerous to human life, property or infrastructure.
       c. The act resulted in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or certain air carriers or vessels.
       d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian
            population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
    3. "Insured Loss" means any loss resulting from an act of terrorism (including an act of war, in the case of
       workers compensation) that is covered by primary or excess property and casualty insurance issued by an
       insurer if the loss occurs in the United States or at the premises of United States missions or to certain air
       carriers or vessels.
    4. "Insurer Deductible" means, for the period beginning on January 1, 2015, and ending on December 31, 2020,
       an amount equal to 20% of our direct earned premiums, during the immediately preceding calendar year.

Limitation of Liability
Limitation
The Act may limit our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a
The
calendar year and if we have met our Insurer Deductible, we may not be liable for the payment of any portion of the
calendar
amount of Insured Losses that exceeds $100,000,000,000;
amount                                    $1 00,000,000,000; and for aggregate Insured Losses up to
$100,000,000,000, we may only have to pay a pro rata share of such Insured Losses as determined by the Secretary
$100,000,000,000,
of the
of the Treasury.

Policyholder Disclosure Notice
Policyholder
    1. Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry
       Insured Losses exceed:
       a. $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
           Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
       b. $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
           Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
       c. $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
           Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
       d. $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
           Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
       e. $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
           Government would pay 81% of our Insured Losses that exceed our Insurer Deductible.
       f. $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
           Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.



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    2. Notwithstanding item 1 above, the United States Government may not have to make any payment under the
       Act for any portion of Insured Losses that exceed $100,000,000,000.
    3. The premium charged for the coverage for Insured Losses under this policy is included in the amount shown
       in Item 4 of the Information Page or the Schedule below.

                                                                    Schedule


                                                      Rate per $100 of Remuneration




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
  Endorsement Effective         01/01/2017                                  Policy No. WD001482             Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                          we og 04 01
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                          FLORIDA NON-COOPERATION
                                  NON·COOPERATION WITH PREMIUM AUDIT ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Florida is shown in Item 3.A. of the
Information Page.
This endorsement adds the following provisions to Part Five-Premium, G. Audit, of the policy:
We are required to complete the premium audit process no later than 90 days after policy termination. If you fail to
return voluntary audit requests or refuse to cooperate in completing a final physical audit, you must pay a premium to
us not to exceed three times the most recent estimated annual premium on this policy subject to the following
conditions:
 1.   We make two good faith efforts to obtain the voluntary audit report or complete the physical audit.
 2.   We document the audit file regarding the above attempts to obtain the required audit information.
 3.   After the two good faith attempts to obtain records, we send a letter by certified mail to you advising you of the
      specific records that are required and the premium that will be charged if you continue to refuse access to the
      records.
If you do not provide all of the specific records required and if we satisfy the conditions above on or before 90 days
from the date of policy termination, we may continue to try and conduct the audit and/or re-open the audit for up to
three years from the date of policy termination. Alternatively, we may immediately bill you a premium not to exceed
three times the most recent estimated annual premium on this policy. If you provide all of the specific records required
to complete the premium audit process within the three year period, we will determine your final premium in
accordance with Part Five-Premium, E. Final Premium of the policy.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                  Policy No. WD001482               Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                  Premium



  Insurance Company            Protective Insurance Company                 CountelS;gned
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        WC o9
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                   FLORIDA EMPLOYMENT AND WAGE INFORMATION RELEASE ENDORSEMENT

This
This policy requires you to release certain employment and wage information maintained by the State of Florida
pursuant
pursuant to federal and state unemployment compensation laws except to the extent prohibited or limited under
federal law. By entering into this policy, you consent to the release of the information.
federal

We
We will safeguard the information and maintain its confidentiality. We will limit use of the information to verifying
compliance
compliance with the terms of the policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


Policy Effective
Policy Effective              01/01/2017
Endorsement Effective
Endorsement                   01/01/2017                         Policy No. WD001482                       Endorsement No.
Insured
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



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                                       FLORIDA FINAL PREMIUM ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Florida is shown in Item 3.A. of the
Information Page.

Part Five, Section E, the Final Premium Condition of the policy is replaced by this Condition:


E.
E. Final Premium
    The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will
    be determined after this policy ends by using the actual, not the estimated, premium basis and the proper
    classifications and rates that lawfully apply to the business and work covered by this policy. If the final premium is
    more than the premium you paid to us, you must pay us the balance. If it is less, we will refund the balance to you.
    The final premium will not be less than the highest minimum premium for the classifications covered by this policy.


    If this policy is canceled, final premium will be calculated pro rata based on the time this policy was in force. Final
    premium will not be less than the pro rata share of the minimum premium.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective           01/01/2017
  Endorsement Effective      01/01/2017                           Policy No. WD001482                       Endorsement No.
  Insured



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        we
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                      GEORGIA CANCELLATION, NONRENEWAL, AND CHANGE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Georgia is shown in Item 3.A. of the
Information Page.
Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation, Nonrenewal, and Change
    1.     You may cancel this policy. You must mail or deliver advance notice to us stating when the cancellation is to
           take effect, subject to the following:
           a. If only your interest is affected, the effective date of cancellation will be the later of the date we receive notice
               from you or the date specified in the notice.
           b. If by statute, regulation, or contract this policy may not be cancelled unless notice is given to a governmental
               agency or other third party, we will mail or deliver at least 10 days' notice to you and the third party as soon
               as practicable after receiving your request for cancellation.
               Our notice will state the effective date of cancellation, which will be the later of the following:
               1) 10 days from the date of mailing or delivering our notice, or
                2) The effective date of cancellation stated in your notice to us.
    2.     We may cancel or nonrenew
                                non renew this policy. We must mail or deliver notice at least 10 days before the effective date
           of cancellation if this policy has been in effect less than 60 days or if we cancel for nonpayment of premium. If
           this policy has been in effect 60 or more days and we cancel for a reason other than nonpayment of premium or
           if we nonrenew this policy, we must send to you a notice of cancellation or nonrenewal by certified mail, return
           receipt requested, to your last address of record at least 75 days prior to the effective date of cancellation or
           nonrenewal.
    3.     If we increase current policy premium by more than 15% (other than any increase in premium due to change in
           risk or exposure, or including a change in experience modification or resulting from an audit of auditable
           coverages), limit or restrict coverage, we must mail by first class mail or deliver a notice of our action (including
           dollar amount of any increase in renewal premium more than 15%) to you at the last mailing address of record at
           least 45 days before the expiration date of this policy.
    4.     If you fail to submit to, or allow an audit for, the current or most recently expired policy term, we may, after two
           documented efforts to notify you and your agent of potential cancellation, send via certified mail or statutory
           overnight delivery, return receipt requested, written notice to you at least 10 days prior to the effective date of
           cancellation in lieu of the number of days' notice otherwise required by state law. However, we must not mail a
           cancellation notice within 20 days of the first documented effort to notify you of potential cancellation.
    5.     The policy period will end on the day and hour stated in the cancellation notice except as provided for above.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                                  Policy No. WD001482                Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



 Insurance Company           Protective Insurance Company                Countersigned by _   _----'-~   t
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         we 12 03 06 A
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    ILLINOIS WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY EXCLUSION
                                     ENDORSEMENT




C. Change Part Two-C. Exclusions 1. as follows:
   This insurance does not cover
    1.     liability assumed under a contract, and/or any agreement to waive your right to limit your liability for
           contribution to the amount of benefits payable under the Workers Compensation Act and the Workers
           Occupational Disease Act. This exclusion does not apply to a warranty that your work will be done in a
           workmanlike manner;




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                 Policy No. WD001482                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



  Insurance Company Protective Insurance Company                            Countersignedby---~----~-------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                we
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                                              ILLINOIS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Illinois is shown in Item 3.A. of the
Information Page.

Part Two-Employers Liability Insurance, Section B. (We Will Pay), Item 3. of the policy is replaced by the following:

3. For consequential bodily injury to a party to a civil union, spouse, child, parent, brother or sister of the injured
   employee; provided that these damages are the direct consequence of bodily injury that arises out of and in the
   course of the injured employee's employment by you; and

Part Five-Premium, Section G. (Audit) of the policy is replaced by the following:

G. Audit
You will let us examine and audit all your records that relate to this policy. These records include ledgers, journals,
registers, vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving
data. We may conduct the audits during regular business hours during the policy period and within three years after
the policy ends. Information developed by audit will be used to determine final premium. The National Council on
Compensation Insurance has the same rights we have under this provision.

Part Six-Conditions, Section A. (Inspection) of the policy is replaced by the following:

A. Inspection

We have the right, but are not obliged, to inspect your workplaces at any time. Our inspections are not safety
inspections. They relate only to the insurability of the workplaces and the premiums to be charged. We may give you
reports on the conditions we find. We may also recommend changes. While they may help reduce losses, we do not
undertake to perform the duty of any person to provide for the health or safety of your employees or the public. We do
not warrant that your workplaces are safe or healthful or that they comply with laws, regulations, codes, or standards.
The National Council on Compensation Insurance has the same rights we have under this provision.

Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation

    1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancellation
          is to take effect.

    2. We may cancel this policy. We will mail to each named insured at the last known mailing address advance
         written notice stating when the cancellation is to take effect. We will maintain proof of mailing of the notice of
         cancellation. A copy of all such notices shall be sent to the broker or agent of record, if known, at the last
         known mailing address. The broker or agent of record may opt to accept notification electronically.

    3. If we cancel because you do not pay all premium when due, we will mail the notice of cancellation at least ten
          days before the cancellation is to take effect. If we cancel for any other reason, we will mail the notice:

          a. At least 30 days before the cancellation is to take effect if the policy has been in force for 60 days or less;
          b. At least 60 days before the cancellation is to take effect if the policy has been in force for 61 days or more.

    4. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:
          a. Nonpayment of premium;
          b. The policy was issued because of a material misrepresentation;
          c. You violated any of the terms and conditions of the policy; .
          d. The risk originally accepted has measurably increased;
          e. The Director has determined that we no longer have adequate reinsurance to meet our needs; or
          f. The Director has determined that continuation of coverage could place us in violation of the laws of Illinois.


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(Ed. 01-15)

    5.     Our notice of cancellation will state our reasons for cancelling.

    6.     The policy period will end on the day and hour stated in the cancellation notice.

Part Six-Conditions, Section E. (Sole Representative) of the policy is replaced by the following:

E. Sole Representative

The insured first named in Item 1 of the Information Page will act on behalf of all insureds to change this policy,
receive return premium, or give us notice of cancellation.

Part Six-Conditions of the policy is changed by adding the following:

F. Nonrenewal

    1. We may elect not to renew the policy. If we fail to give at least 60 days notice prior to the expiration date of the
       current policy, the policy will automatically be extended for one year. We will mail to each named insured the
       nonrenewal notice at the last known mailing address. We will maintain proof of mailing of the nonrenewal
       notice. An exact and unaltered copy of such notice will also be sent to the named insured's producer, if known,
       or the producer of record at the last known mailing address. The named insured's producer, if known, or the
       producer of record may opt to accept notification electronically.

    2. Our notice of nonrenewal will state our reasons for not renewing.

    3.     If we fail to provide the notice of nonrenewal
                                               non renewal as required, the policy will still terminate on its expiration date if:
           a. You notify us or the producer who procured this policy that you do not want the policy renewed; or
           b. You fail to pay all premiums when due; or
           c. You obtain other insurance as a replacement of the policy.


Note:
   1. Cancellation and nonrenewal of the workers compensation and employers liability insurance policy is regulated
      by Sections 143.14, 143.15, 143.16, 143.16a, 143.17, and 143.17a of the insurance law of Illinois.
   2. This endorsement must be attached to a policy showing Illinois in Item 3.A. of the Information Page.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective              01/01/2017
   Endorsement Effective         01/01/2017                                  Policy No. WD001482                Endorsement No.
   Insured                        PERSONNEL STAFFING GROUP, LLe             M A N A =__ . -~
                                                            LLC DBA BARNETT MANA=---      _~                             Premium

   Insurance Company           Protective Insurance Company                 Countersigned by       ~
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   WC
   (Ed. 01-15)

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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 164 of 514 Page ID
                                      #:1116INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                          WC150401A

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                                                                                                                            (Ed. 1-10)


                                                 KANSAS FINAL PREMIUM ENDORSEMENT

This endorsement changes how the final premium is determined. The change applies only to the premium charged
because Kansas is shown in Item 3.A. of the Information Page

•      Kansas final premium will not be less than the highest minimum premium for the classifications covered by this
       policy unless there are two or more classifications covered and the highest rated classification has less than $500
       payroll.
•       When this occurs the final premium will not be less than one-half of the sum of the two highest minimum premiums
        for any classifications covered by the policy other than Clerical Office and Salespersons.
•       When the highest rated classification has less than $500 payroll and Standard Exception classifications are the
        only classifications showing payrolls, the final premium will not be less than the minimum premium for the
        classification showing the highest payroll.
•       Final premium for a multiple state policy will be that of the state with the single highest minimum premium, even if
        that state is on an "if any" basis. If two or more states have the same highest minimum premium, the minimum
        premium is determined by the state with the largest amount of standard premium.
•       Minimum premium is subject to final adjustment at audit and will be determined only on the basis of the
        classifications developing premium.
•       If the final earned premium is less than the minimum premium determined at audit, then that minimum premium
        must be charged.
•       If no classification develops premium, the final premium shall be a flat charge of $200.




          This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective                  01/01/2017
Endorsement Effective             01/01/2017                                  Policy No. WD001482              Endorsement No.
    Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



    Insurance Company           Protective Insurance Company                 Countersigned by   --'~:.__ef-,--
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(Ed. 1-10)

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 165 of 514 Page ID
                                      #:1117INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        we 150404
                                                                                                                    WC 15 04 o4

                                                                                                                        (Ed. 3-96)


                                         KANSAS PENDING LOSS COST ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Kansas is shown in Item 3.A. of the
Information Page.

The premium for this policy is determined by the product of loss costs developed and filed by the National Council on
Compensation Insurance, Inc. and a loss cost multiplier filed by us. The loss costs and our loss cost multiplier
                                                                                                        mUltiplier are
subject to approval by the Kansas Insurance Department. Revised loss costs developed by the National Council on
Compensation Insurance, Inc. are currently pending before the Kansas Insurance Department. The Kansas Insurance
Department's decision on the change may increase or decrease the premium from that used to issue your policy. If it
is different, your policy will be endorsed to reflect the new premium based on the loss costs approved by the Kansas
Insurance Department.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              01/01/2017
  Endorsement Effective         01/01/2017                        Policy No. WD001482                       Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



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WORKERS                               #:1118INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                      we
                                                                                                                  WC 15 06 01 A

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                               KANSAS CANCELATION AND NONRENEWAL ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Kansas is shown in Item 3.A. of the
Information
Information Page.

The Cancelation Condition of the policy is replaced by these two Conditions:
The

Cancelation
Cancelation
1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancelation is to
   take effect.

2.   We may cancel this policy. If we cancel because you fail to pay all premium when due, we will mail or deliver to
     you not less than 10 days advance written notice stating when the cancelation is to take effect. If we cancel for
     any other reason, we will mail or deliver to you not less than 30 days advance written notice stating when the
     cancelation is to take effect. Mailing notice to you at your last known address will be sufficient to prove notice.

3.
3.   If this policy has been in effect for 90 days or more, we may cancel only for one of the following reasons:
     a. nonpayment of premium;
     b. the policy was issued because of a material misrepresentation;
     c. you violated any of the material terms and conditions of the policy;
     d. there are unfavorable underwriting factors, specific to you, that were not present when the policy took effect;
     e. the Commissioner has determined that our continuation of coverage could place us in a hazardous financial
           condition or in violation of the laws of Kansas; or
     f. the Commissioner has determined that we no longer have adequate reinsurance to meet our needs.

4.   Our notice of cancelation will state our reasons for canceling.

5.   The policy period will end on the day and hour stated in the cancelation notice.

Nonrenewal
Nonrenewal
1. We may elect not to renew the policy. We will mail to you not less than 60 days advance written notice when the
   nonrenewal will take effect. Mailing that notice to you at your mailing address shown in Item 1 of the Information
   Page will be sufficient to prove notice.

2.    Our notice of nonrenewal will state our reasons for not renewing.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective
Policy                         01/01/2017
Endorsement Effective
Endorsement                    01/01/2017                         Policy No. WD001482                       Endorsement No.
Insured
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



Insurance Company
Insurance                   Protective Insurance Company         Countersigned byby----"~-----~-=--------
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 167 of 514 Page ID
                                      #:1119INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                        we 16
                                                                                                                    WC    03 os
                                                                                                                       160305

                                                                                                                        (Ed. 6-07)



                  KENTUCKY PART ONE WORKERS COMPENSATION INSURANCE ENDORSEMENT

This endorsement modifies the insurance policy to which it is attached and applies to the insurance provided by this
policy because Kentucky is shown in Item 3.A. of the Information Page.

F. 3. of Part One, Workers Compensation Insurance of the policy is replaced by the following:

    F. Payments You Must Make
       3. you fail to comply with a health or safety law or regulation; provided that, however, we are responsible for
              payment of any amounts in excess of the benefits regularly provided under the workers compensation law
              of this state if an accident is caused in any degree by the intentional failure of the employer to comply with
              any specific statute or lawful administrative regulation made thereunder, communicated to the employer
              and relative to the installation or maintenance of safety appliances or methods as provided in KRS
              342.165(1 ); or
              342.165(1);

Except for any payments for which we are responsible as provided in Section F .3. above, if we make any payments in
                                                                            F.3.
excess of the benefits regularly provided by the workers compensation law on your behalf, you will reimburse us
promptly.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                                     Policy No. WD001482           Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



  Insurance Company          Protective Insurance Company                      Countersigned   by_..:..~cf
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 (Ed. 6-07)


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                                      #:1120INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                       we 16 os 01
                                                                                                                   WC 160601

                                                                                                                     (Ed. 12-97)


                              KENTUCKY CANCELATION AND NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Kentucky is shown in Item 3.A. of the
Information Page.
The Cancelation Condition of the policy is replaced by the following:

Cancelation

1.   You may cancel this policy. You will deliver or mail advance written notice to us, stating when the cancelation is
     to take effect.

2.   We may cancel this policy. We will deliver or mail to you not less than 75 days advance written notice stating
     when the cancelation is to take effect and our reason or reasons for cancelation. If we cancel for nonpayment of
     premium or within 60 days of the date of issuance of the policy, we will deliver or mail this notice not less than 14
     days prior to the effective date of cancelation. Proof of mailing of this notice to you at your mailing address shown
     in Item 1 of the Information Page will be sufficient to prove notice.

3.   After coverage has been in effect more than 60 days or after the effective date of a renewal policy, we may not
     cancel the policy unless cancelation is based on one or more of the following reasons:

     a.     nonpayment of premium;

     b.     discovery of fraud or material misrepresentation made by you or with your knowledge in obtaining the policy,
            continuing the policy, or presenting a claim under the policy;

     c.     discovery of willful or reckless acts or omissions on your part increasing any hazard originally insured;

     d.     changes in conditions after the effective date of the policy or any renewal substantially increasing any hazard
            originally insured;
     e.     a violation of any local fire, health, safety, building, or construction regulation or ordinance at any of your
            covered workplaces substantially increasing any hazard originally insured;

     f.      our involuntary loss of reinsurance for the policy;

     g.      a determination by the commissioner that the continuation of the policy would place us in violation of
             Kentucky insurance laws.

Nonrenewal

1.        We may elect not to renew the policy. We will deliver or mail to you not less than 75 days advance written notice
          stating our intention not to renew and our reason or reasons for nonrenewal. Proof of mailing of this notice to you
          at your mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

2.        If we fail to provide the notice of nonrenewal as required, the policy will be deemed to be renewed for the
          ensuing policy period upon payment of the appropriate premium, and coverage will continue until you have
          accepted replacement coverage with another insurer, until you have agreed to the nonrenewal, or until the policy
          is canceled.

3.        If we have delivered or mailed to you a renewal notice, bill, certificate, or policy not less than 30 days before the
          end of the current policy period clearly stating the amount and due date of the renewal premium charge, then the
          policy will terminate on the due date without further notice unless the renewal premium is received by us or our
          agent on or before the due date. If the policy terminates in this manner, we will deliver or mail to you within 15
          days of termination at your mailing address shown in Item 1 of the Information Page a notice that the policy was
          not renewed and the date on which coverage ceased to exist. Proof of mailing of the renewal premium to us or
          our agent on or before the due date will constitute a presumption of receipt on or before the due date.




                                                                   1 of 2



                                                    Decl. Barnett, Ex. B-99
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 169 of 514 Page ID
                                       #:1121

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WC 16 06 01                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 12-97)



4.   If we offer to renew the policy for a premium amount more than 25% greater than the premium amount for the
     current policy term for like coverage and like risks, we will deliver or mail to you and to your agent not less than
     75 days advance written notice of the renewal premium amount. We may at our option, in order to comply with
     this requirement, extend the period of coverage of the current policy at the expiring premium.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective               01/01/2017
Endorsement Effective          01/01/2017                        Policy No. WD001482                       Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



Insurance Company           Protective Insurance Company        Countersigned
                                                                Countersigned by  --~------cfl
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 170 of 514 Page ID
WORKERS                               #:1122INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                               we
                                                                           WC 16 06 02

                                                                                                                        (Ed. 10-99)

                                   KENTUCKY NOTICE OF APPEAL RIGHTS ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Kentucky is shown in Item 3.A. of the
Information
Information Page.

                                                           NOTICE OF YOUR RIGHTS

IfIf you
     you believe that the rates or the rating system under this policy have been incorrectly or improperly applied, you
may
may request a review of the manner in which the rate or rating system has been applied. You must make your
request
request in writing to us or the National Council on Compensation Insurance, Inc. (NCCI). We or NCCI has thirty (30)
days to grant or reject your request for a review and to notify you in writing whether your request has been granted or
days
rejected.
rejected. If your request is granted, we or NCCI shall conduct the review within ninety (90) days of receiving your
request.
request. If your request is rejected or if you are dissatisfied with the results of the review, you may appeal to the
commissioner
commissioner for further review. You must make your appeal within thirty (30) days of receipt of the rejection or of the
results
results of your review. Your appeal is to be sent to:

                                                                 Legal Division
                                                            Department of Insurance
                                                                 P. O.
                                                                    0. Box 517
                                                              Frankfort, KY 40602


Your request for an appeal should include a statement of the facts and how the rates or rating system were
Your
incorrectly
incorrectly or improperly applied. Also, enclose copies of the results of the review and any other correspondence from
us
us or
    or NCC/.
       NCCI. If your appeal shows good cause, the commissioner shall hold a hearing. The commissioner may, after
the
the hearing, issue a final order affirming, modifying or reversing our or NCCI's action.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         This
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


  Policy Effective
  Policy Effective               01/01/2017
  Endorsement Effective
  Endorsement                    01/01/2017
                                 01101/2017                             Policy No. WD001482                   Endorsement No.
  Insured
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                  Premium



  Insurance Company
  Insurance                    Protective Insurance Company                           by------"~-----~-=--------
                                                                       Countersigned by _----"~ t-=-- _
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 171 of 514 Page ID
                                     #:1123
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we 19 0601
                                                                                                                   WC    os o1 F
                                                                                                                               F

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                             MARYLAND CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies because Maryland is shown in Item 3.A. of the Information Page.

Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation and Nonrenewal
   1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancellation is
      to take effect.

   2. We may cancel or nonrenew this policy as follows:
      a. If the policy is cancelled for nonpayment of premium, we will file with the Maryland Workers Compensation
         Commission's designee, and serve you by certificate of mailing, not less than 10 days' advance written notice
         stating when the cancellation will take effect.
      b. If the policy is cancelled for reasons other than nonpayment of premium or if the policy is nonrenewed, we will
         file with the Maryland Workers Compensation Commission's designee, and serve by certified mail or personal
         service to you, not less than 45 days' advance written notice stating when the cancellation or nonrenewal will
         take effect.
      Mailing this notice by certified mail to you at your mailing address last known to us creates a presumption of
      actual delivery of notice. You may be able to rebut this presumption by providing evidence that the notice was
      not delivered.

   3. The effective dates of the cancellation or nonrenewal are determined as follows:
      a. Except for cancellation for nonpayment of premium, the policy period will end on the day and hour stated in
         the cancellation or nonrenewal
                             non renewal notice, or 45 days after the date the notice is received by the Maryland
         Workers Compensation Commission's designee, whichever date is later.
      b. For cancellation for nonpayment of premium, the policy period will end on the day and hour stated in the
         cancellation notice, or 10 days after the date the notice is received by the Maryland Workers Compensation
         Commission's designee, whichever date is later.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                  Policy No. WD001482              Endorsement No.
  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT / / '               fil        Premium

  Insurance Company            Protective Insurance Company                  Countersigned by   --=~::.__Cf-=---------
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  (Ed. 1-16)


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                                      #:1124
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we 210303
                                                                         WC 21 03 03 A

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                                  MICHIGAN NOTICE TO POLICYHOLDER ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Michigan is shown in Item 3.A. of the
Information Page.

1.      Rates and Premium
        The policy contains rates and classifications that apply to your type of business. If you have any questions
        regarding the rates or classifications, please contact us or your agent.

        You may obtain pertinent rating information by submitting a written request to us at our address shown on this
        endorsement. We may require you to pay a reasonable charge for furnishing the information.


        You may also submit a written request for a review of the method by which your rates and premiums were
        determined. If you are not satisfied with the results of the review, you may appeal to the Commissioner of
        Insurance at the address shown in this endorsement.

2.      Payroll Audits
        You may request a payroll audit once each calendar year. Your request must be in writing, sent to our address
        shown in this endorsement. You must state that you believe your payroll expenditures have changed by 20% or
        more, and you must state the reasons for that belief. We will complete the audit within 120 days of receipt of your
        request if you provide us with all information we need to perform the audit.

3.      Reserves or Redemption
        You may request reserve and redemption information that relates to the premium for this policy. Your request
        must be in writing sent to our address shown in this endorsement. We will provide you with that information within
        thirty (30) days of receipt of your request.

        If you believe that the policy premiums are excessive because we set unreasonable reserves or because of the
        unreasonable redemption of a claim, you may request a meeting with our management representative. Your
        request must be in writing sent to our address shown in this endorsement. If you are not satisfied with the results
        of the meeting, you may appeal to the Insurance Commissioner at the address shown in this endorsement.

                                                                Addresses

Commissioner of Insurance                                                                    Company Address
Michigan Insurance Bureau                                                                    Protective Insurance Company
P.O. Box 30220                                                                               PO Box 7099
         MI 48909
Lansing, Ml                                                                                  Indianapolis, IN 46207-7099




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          01/01/2017
     Endorsement Effective     01/01/2017                            Policy No. WD001482                        Endorsement No.
     Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                             11
                                                                                                                f1      Premium

     Insurance Company       Protective Insurance Company           Countersigned by            ~cr
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     (Ed. 6-97)
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                                       #:1125
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                             we
                                                                                                           WC 21
                                                                                                              210304
                                                                                                                 03 04
                                                                                                              (Ed. 4-84)


                                          MICHIGAN LAW ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Michigan is shown in Item 3.A. of the
Information Page.

Michigan law requires that we attach this paragraph to your policy in the language specified by the statute. To help you
understand the paragraph, the following definitions are added:
1. We are "the insurer issuing this policy"
                                     policy''

2.    You are "the insured employer"

3.    "Michigan workmen's compensation act" means the Workers' Disability Compensation Act of 1969"

4.    "Workmen's compensation" means workers compensation"

5.    ''The bureau of workmen's compensation" means the Bureau of Workers' Disability Compensation"



"Notwithstanding any language elsewhere contained in this contract or policy of insurance, the accident fund or the
insurer issuing this policy hereby contracts and agrees with the insured employer:

Compensation
a. That it will pay to the persons that may become entitled thereto all workmen's compensation for which the insured
   employer may become liable under the provisions of the Michigan workmen's compensation act for all
   compensable injuries or compensable occupational diseases happening to his employees during the life of this
   contract or policy;

Medical Services
b.  That it will furnish or cause to be furnished to all employees of the employer all reasonable medical, surgical, and
    hospital services and medicines when they are needed, which the employer may be obligated to furnish or cause
    to be furnished to his employees under the provisions of the Michigan workmen's compensation act, and that it will
    pay to the persons entitled thereto for all such services and medicines when they are needed for all compensable
    injuries or compensable occupational diseases happening to his employees during the life of this contract or policy;

Rehabilitation Services
c.  That it will furnish or cause to be furnished such rehabilitation services for which the insured employer may become
    liable to furnish or cause to be furnished under the provisions of the Michigan workmen's compensation act for all
    compensable injuries or compensable occupational diseases happening to his employees during the life of this
    contract or policy;

Funeral Expenses
d.               pay or cause to be paid the reasonable expense of the last sickness and burial of all employees whose
    That it will payor
    deaths are caused by compensable injuries or compensable occupational diseases happening during the life of
    this contract or policy and arising out of and in the course of their employment with the employer, which the
    employer may be obligated to pay under the provisions of the Michigan workmen's compensation act;

Scope of Contract
e.  That this insurance contract or policy shall for all purposes be held and deemed to cover all the businesses the
    said employer is engaged in at the time of the issuance of this contract or policy and all other businesses, if any,
    the employer may engage in during the life thereof, and all employees the employer may employ in any of his
    businesses during the period covered by this policy;



                                        Decl. Barnett, Ex. B-104
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 174 of 514 Page ID
                                     #:1126
 we 210304
 WC 21 oJ 04                         WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

 (Ed. 4-84)
 (Ed.



Obligations
Obligations Assumed
f.f. That it hereby assumes all obligations imposed upon the employer by his acceptance of the Michigan workmen's
     compensation act, as far as the payment of compensation, death benefits, medical, surgical, hospital care or
     medicine and rehabilitation services is concerned;

Termination
Termination Notice
g.
g. That it will file with the bureau of workmen's compensation at Lansing, Michigan, at least 20 days before the taking
    effect of any termination or cancelation of this contract or policy, a notice giving the date at which it is proposed to
    terminate or cancel this contract or policy; and that any termination of this policy shall not be effective as far as the
    employees of the insured employer are concerned until 20 days after notice of proposed termination or cancelation
    is received by the bureau of workmen's compensation;

Conflicting
Conflicting Provisions
h.
h. That all the provisions of this contract, if any, which are not in harmony with this paragraph are to be construed as
    modified hereby, and all conditions and limitations in the policy, if any, conflicting herewith are hereby made null
    and void."




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


   Policy Effective
   Policy                    01/01/2017
   Endorsement Effective
   Endorsement               01/01/2017                            Policy No. WD001482                       Endorsement No.
   Insured
   Insured                                      GROUP, LLC DBA BARNETT MANAGEMENT
                             PERSONNEL STAFFING GROUP,LLC                                                      /J     Premium

   Insurance Company
   Insurance               Protective Insurance Company           Countersigned by             ~'f'
                                                                                                1"

   we 210304
   WC   21 o3 04
   (Ed. 4-84)
   (Ed.                                     Decl. Barnett, Ex. B-105
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 175 of 514 Page ID
                                       #:1127
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                             we 21 o4 02 B
                                                                                                           WC 210402   s
                                                                                                                 (Ed. 1-15}
                                                                                                                      1-15)



MICHIGAN TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Program Reauthorization Act of 2015.


Definitions

The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act.
If words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.

                                                                                    26, 2002, and any
"Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26,2002,
amendments resulting from the Terrorism Risk Insurance Program Reauthorization Act of 2015.

"Act of terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary
of Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
    a.   The act is an act of terrorism.
    b.   The act is violent or dangerous to human life, property or infrastructure.
    c.   The act resulted in damage within the United States, or outside the United States in the case of the premises of
         United States missions or certain air carriers or vessels.
    d.   The act has been committed by an individual or individuals as part of an effort to coerce the civilian population
         of the United States or to influence the policy or affect the conduct of the United States Government by
         coercion.

"Insured Loss" means any loss resulting from an act of terrorism (including an act of war, in the case of workers
compensation) that is covered by primary or excess property and casualty insurance issued by an insurer if the loss
occurs in the United States or at the premises of United States missions or to certain air carriers or vessels.

"Insurer Deductible" means: for the period beginning on January 1, 2015, and ending on December 31, 2020, an
                                                                                                31,2020,
amount equal to 20% of our direct earned premiums during the immediately preceding calendar year.


Limitation of Liability

The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a
calendar year, and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the
amount of Insured Losses that exceeds $1       00,000,000,000; and for aggregate Insured Losses up to
                                            $100,000,000,000;
$100,000,000,000, we will pay only a pro rata share of such Insured Losses as determined by the Secretary of the
Treasury.




                                                     Decl. Barnett,
                                                              1 of 2 Ex. B-106

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            s                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



Policyholder Disclosure Notice

   1.    Insured   Losses would be partially reimbursed by the United States Government. If the aggregate industry
         Insured   Losses exceed:
             a.    $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United
                   States Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
              b.   $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United
                   States Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
              c.   $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United
                   States Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
              d.   $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United
                   States Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
              e.   $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United
                   States Government would pay 81% of our Insured Losses that exceed our Insurer Deductible.
              f.   $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
                   Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.

    2. Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
         portion of Insured Losses that exceed $100,000,000,000.

    3. The premium charged for the coverage for Insured Losses under this policy is included in the amount shown in
       Item 4 of the Information Page or the Schedule below.


                                                                     Schedule

                              State                                                            Rate per $100 of Remuneration




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                  Policy No. WD001482                Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           /J
                                                                                                                /1     Premium

  Insurance Company            Protective Insurance Company                Countersigned by   ----=-~----'1-"--------
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                                      #:1129INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                                           we
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                                           MINNESOTA AMENDATORY ENDORSEMENT

This
This endorsement applies only to the insurance provided because Minnesota is shown in Item 3.A. of the Information Page.




                                        PART TWO-EMPLOYERS LIABILITY INSURANCE



E.
E.   We Will Also Pay is amended to read:

     We will also pay these costs, in addition to other amounts payable under this insurance, as part of any claim, proceeding, or
     suit we defend:

      1.   Reasonable expenses incurred at our request, but not loss of earnings;

      2.   Premiums for bonds to release attachments and for appeal bonds in bond amounts up to the limit of our liability under
           this insurance;

      3.   Litigation costs taxed against you;

      4.   Your share of pre- or postjudgement interest assuming that the principal amount of that judgement is within the
           applicable policy limits under this insurance; and

      5.   Expenses we incur.




H.
H.    Recovery From Others is amended to read:

      Our ability to exercise your rights to recover our payment from anyone liable for injury covered by this insurance does not
      apply if that other person is insured for the same loss by us. This limitation applies only if the loss was caused by the
      nonintentional acts of the person against whom subrogation is sought.



                                                        PART FIVE-PREMIUM



G.
G.    Audit is amended to read:

      You will let us examine and audit all your records that relate to this policy. These records include ledgers, journals, registers,
      vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving data.



      We may conduct the audits during regular business hours during the policy period and within three years after the policy
      period ends, except as it pertains to Part Two-Employer's Liability Insurance which shall be one year. Information developed
      by audit will be used to determine final premium. Insurance rate service organizations have the same rights we have under
      this provision.




                                                 Decl. Barnett, Ex. B-108
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 178 of 514 Page ID
                                      #:1130
                                    DEFINITIONS



As used in this policy, "rate service organization" shall mean the Minnesota Workers' Compensation Insurers Association, Inc.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The



  Policy Effective                01/01/2017

  Endorsement Effective           01/01/2017                         Policy No. WD001482                      Endorsement No.

  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                             IJ       Premium


  Insurance Company             Protective Insurance Company        Countersigned by   ----"~-----1'....::......
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                                      #:1131INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                              we
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                                                                                                                        (Ed. 9-95)


                             MINNESOTA ANNIVERSARY RATING DATE ENDORSEMENT

The experience rating modification factor, if any, may change on your anniversary rating date shown in the Schedule.



                                                             Schedule



Anniversary Rating Date                  06                 (Month)            30         (Day)
                            - ---------
                            -------------------                       - ---------
                                                                      -------------------




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective           01/01/2017
 Endorsement Effective      01/01/2017                            Policy No. WD001482                       Endorsement No.
 Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          /J Premium
                                                                                                          IJ
 Insurance Company                             Company
                          Protective Insurance Company.         Countersigned by _______J&U:~-----=~tf'.,!,__
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                                      #:1132INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                                              we
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                           MINNESOTA CANCELLATION AND NONRENEWAL
                                                      NON RENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided because Minnesota is shown in Item 3.A. of the Information
Page.

Cancellation of a New Policy
If this policy is a new policy and has been in effect for fewer than 90 days, we may cancel for any reason by giving you
notice at least 60 days before the effective date of Cancellation.

Cancellation of Other Policies
If this policy has been in effect for 90 days or more, or if it is a renewal of a policy we issued, we may cancel for one
or more of the following reasons:
1. Nonpayment of premium;
2.   Misrepresentation or fraud made by you or with your knowledge in obtaining the policy or in pursuing a claim
     under the policy;

3.   An act or omission by you that substantially increases or changes the risk insured;

4.   Refusal by you to eliminate known conditions that increase the potential for loss after notification by us that the
     condition must be removed;

5. Substantial change in the risk assumed, except to the extent that we should reasonably have foreseen the change
     or contemplated the risk in writing this policy;

6.   Loss of reinsurance by us which provided coverage to us for a significant amount of the underlying risk insured.
     Any notice of cancellation pursuant to this item shall advise you that you have 1   0 days from the date of receipt of
                                                                                        10
     the notice to appeal the cancellation to the commissioner of commerce and that the commissioner will render aa
     decision as to whether the cancellation is justified because of the loss of reinsurance within 30 business days after
     receipt of the appeal;

7.   A determination by the commissioner that the continuation of the policy could place us in violation of the
     Minnesota insurance laws; or

8.   Nonpayment of dues to an association or organization, other than an insurance association or organization, where
     payment of dues is a prerequisite to your obtaining or continuing this policy. This item shall not apply to persons
     who are retired at 62 years of age or older or who are disabled according to Social Security standards.



If we cancel your policy for any of the reasons listed in (2) through (8), we will give notice at least 60 days before the
effective date of cancellation.

Notice of Cancellation
Any notice of cancellation under this endorsement shall be in writing and shall be sent by first class mail or delivered
to you and any agent, to the last mailing addresses known to us. A     A cancellation notice for nonpayment of premium
must be sent at least 30 days before the actual date of cancellation and shall state the amount of premium due and
the due date, and shall state the effect of nonpayment by the due date. Cancellation shall not be effective if payment
 of the amount due is made prior to the effective date of cancellation in the notice. A cancellation notice for some other
 reason shall state the specific reason for cancellation and shall state the effective date of cancellation. The policy will
end on that date.

Refunds Due You
If this policy is canceled, we will send you any premium refund due. If we cancel, the refund will be pro rata. If you
cancel, the refund may be less than pro rata. The cancellation will be effective even if we have not made or offered aa
refund.



                                                                    1 of 2
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WC                                        #:1133AND EMPLOYERS LIABILITY INSURANCE POLICY
                           WORKERS COMPENSATION

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(Ed. 8-06)


Nonrenewal
 Nonrenewal of Your Policy
Any
Any notice of nonrenewal shall be in writing and shall be sent by first class mail, or delivered to you and any agent, to
the
the last mailing addresses known to us, at least 60 days before the expiration date.

We
We need not mail or deliver this nonrenewal notice if you have:
1.
1.      Insured elsewhere;

2.
2.      Accepted replacement coverage; or

3.
3.      Requested or agreed not to renew this policy.

This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise
This
stated.
stated.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         This
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


     Policy Effective
     Policy                      01/01/2017
     Endorsement Effective
     Endorsement                 01/01/2017                             Policy No. WD001482                    Endorsement No.
     Insured
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J
                                                                                                              IJ        Premium

     Insurance Company
     Insurance                 Protective Insurance Company           Countersigned by   ----~
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                  Workers' Compensation Insurers Association, Inc.
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                                     #:1134
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           we 240406 D
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                                     MISSOURI EMPLOYER-PAID MEDICAL ENDORSEMENT

This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.

As a Missouri employer, you have the right, as provided by Section 287.957 of the Revised Statutes of Missouri, to
have medical-only claims that do not exceed 20% of the current primary and excess loss split point amount, as shown
in the Schedule below, excluded from your experience rating modification calculation. This will only be allowed when
you pay all of the employee's medical costs; there is no lost time from the employment, other than the first three days
or less of disability; and no claim is filed. The current primary and excess loss split point amount is provided in the
                  NCCI's Experience Rating Plan Manual. You still must report all injuries, regardless of the
rating values of NCCl's
dollar amount, to the Division of Workers' Compensation and to us.

However, it should be noted that if, at any time, the medical expenses that are paid out of pocket due to a particular
injury ever exceed 20% of the current primary and excess loss split point amount and/or the employee misses more
than three days from work due to the injury, then this injury must be reported to us as a claim. We will pay the full
amount of the claim, which includes any reimbursements due to you for past medical expenses incurred by you for
this particular claim. As a result, the total amount of losses incurred by us due to this claim will be included in your
experience rating modification calculation.

                                                                    Schedule

20% of the Current Primary and Excess Loss Split Point Amount                                           $16,500




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective              01/01/2017
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Endorsement Effective         01/01/2017                                 Policy No. WD001482                      Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                       Premium

Insurance Company           Protective Insurance Company                Countersigned by _ _  -----"'---"-W:d:
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
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                              MISSOURI CANCELATION AND NON RENEWAL ENDORSEMENT
                                                       NONRENEWAL

This endorsement applies only to the insurance provided by the policy because Missouri is shown in Item 3.A. of the
Information Page.

The Cancelation Condition of the policy is replaced by the following:

Cancelation
1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancelation is to
   take effect.

2. We may cancel this policy. We will mail or deliver to you not less than 60 days advance written notice stating
       when the cancelation is to take effect and our reason for cancelation. Proof of mailing of this notice to you at your
       mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

3.     The 60-day notice requirement does not apply where cancelation is based on one or more of the following
       reasons:
       a. nonpayment of premium;
       b. fraud or material misrepresentation affecting the policy or in the presentation of a claim under the policy;
       c. a violation of policy terms;
       d. changes in conditions after the effective date of the policy materially increasing the hazards originally insured;
       e. our insolvency;
       f.  our involuntary loss of reinsurance for the policy.

4. The policy period will end on the day and hour stated in the cancelation notice.

Non renewal
Nonrenewal
1. We may elect not to renew the policy. We will mail to you not less than 60 days advance written notice stating
   when the nonrenewal will take effect and our reason for nonrenewal. Proof of mailing of this notice to you at your
   mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

2.     If we fail to provide the notice of nonrenewal as required, the policy will still terminate on its expiration date if:
       a. we show you our willingness to renew the policy but you notify us or the agent or broker who procured this
            policy that you do not want the policy renewed; or
       b. you fail to pay all premiums when due; or
       c. you obtain other insurance as a replacement of the policy.



         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           01/01/2017
     Endorsement Effective      01/01/2017                           Policy No. WD001482                       Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           /J      Premium

     Insurance Company        Protective Insurance Company           Countersigned by           ~cr

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
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      MISSOURI PROPERTY AND CASUALTY
                            CASUALTV GUARANTY ASSOCIATION NOTIFICATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Missouri is shown in Item 3.A. of the
Information Page.

Missouri Property and Casualty Insurance Guaranty Association Coverage Limits:
1.   Subject to the provisions of the Missouri Property and Casualty Insurance Guaranty Association Act (Act), if we
     are a member of the Missouri Property and Casualty Insurance Guaranty Association (Association), the
     Association will pay claims covered under the Act if we become insolvent.


2.   The Act contains various exclusions, conditions and limitations that govern a claimant's eligibility to collect
     payment from the Association and affect the amount of any payment. The following limitation applies subject to all
     other provisions of the Act:
     a. Claims covered by the Association do not include a claim by or against an insured of an insolvent insurer if
         the insured has a net worth of more than $25 million on the later of the end of the insured's most recent fiscal
         year or the December thirty-first of the year next preceding the date the insurer becomes an insolvent insurer;
         provided that an insured's net worth on such date shall be deemed to include the aggregate net worth of the
         insured and all of its affiliates as calculated on a consolidated basis.


         If the insured prepares an annual report to shareholders, or an annual report to management reflecting net
         worth, then such report for the fiscal year immediately preceding the date of insolvency of the insurer will be
         used to determine net worth.

           However, the association will not:
           (1) Pay an amount in excess of the applicable limit of insurance of the policy from which a claim arises; or
           (2) Return to an insured any unearned premium in excess of $25,000.


           These limitations have no effect on the coverage we will provide under this policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               01/01/2017
 Endorsement Effective          01/01/2017                                 Policy No. WD001482              Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J
                                                                                                             /)      Premium

 Insurance Company           Protective Insurance Company                 Countersigned by       ~cr
                                                                                                  1:

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                           we
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                                             MISSOURI AMENDATORY ENDORSEMENT

This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.

Part Five-Premium, Section G. (Audit) of the policy is replaced by the following:

  G. Audit

You will let us examine and audit all your records that relate to this policy during regular business hours during and
after the policy period ends. These records include ledgers, journals, registers, vouchers, contracts, tax reports,
payroll and disbursement records, and programs for storing and retrieving data. Information developed by audit will be
used to determine final premium. Insurance rate service organizations have the same rights we have under this
provision.
Audits shall be completed, billed, and premiums returned within 120 days of policy expiration or cancellation. This
standard of 120 days shall not be applicable if:
   1. A delay is caused by your failure to respond to reasonable audit requests provided that the requests are timely
      and adequately documented; or
   2. A delay is by the mutual agreement of you and us provided that the agreement is adequately documented.
If you or we have any objection to the results of any audit, you or we shall have up to three years from the date of
expiration or cancellation of this policy in which to send a written notice demanding a reconsideration of the audit. The
written notice shall be based upon sUfficiently
                                     sufficiently clear and specific facts as to why the audit should be reconsidered.
If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as timely and reasonably requested, we may apply an Audit Noncompliance Charge equal to a maximum
of up to two times the estimated annual premium. The method for determining the Audit Noncompliance Charge is
shown in the Schedule below.
If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.
Failure to cooperate with this policy provision may also result in the cancellation of your insurance coverage, as
specified under the policy and allowed under Missouri law.




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                                      #:1138
                     WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-17)



                                                                   SCHEDULE



                                                                                                   Maximum
                          Basis of Audit                                                  Audit Noncompliance Charge
                      Noncompliance Charge                                                         Mulitplier



                                 $10,892                                                               2




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective               01/01/2017
   Endorsement Effective          01/01/2017                                  Policy No. WD001482              Endorsement No.
   Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



   Insurance Company                                                        Countersigned by   ----~
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                                                                                                    ______


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   (Ed. 1-17)



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                                                                                                                       0-08)

                              NEVADA CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies to the insurance provided by this policy, because Nevada is shown in Item 3.A. of the
Information Page.
Part Six-Conditions, D. Cancellation of the policy is replaced by the following:
                                                                      follOWing:
A. Midterm Cancellation
      1.    You may cancel this policy by mailing or delivering advance written notice to us stating when the cancellation is
            to take effect.
      2.    We will provide you not less than 10 days notice if this policy is cancelled because you failed to pay a premium or
                                                                                                                              or
            remit an amount due because of an endorsement for a deductible when due.
      3.    We will provide you not less than 30 days notice for any other cancellation reason permitted under Nevada law,
            including failure to pay additional premium charged due to an audit of any payroll under the terms of the current
            or previous policy.
      4.    No policy of industrial insurance that has been in effect for at least 70 days or that has been renewed may be
            cancelled, except on anyone
                                    any one of the following grounds:
            a. A failure by the policyholder to pay a premium for the policy of industrial insurance when due, including the
                 failure of the policyholder to remit an amount due because of an endorsement for a deductible;
            b. A failure by the policyholder to:
                  (1) Report any payroll;
                  (2) Allow the insurer to audit any payroll in accordance with the terms of the policy or any previous policy
                       issued by the insurer; or
                  (3) Pay any additional premium charged because of an audit of any payroll as required by the terms of the
                       policy or any previous policy issued by the insurer;
            c.    A material failure by the policyholder to comply with any federal or state order concerning safety or any
                  written recommendation of the insurer's designated representative for loss prevention;
            d.    A material change in ownership of the policyholder or any change in the policyholder's business or
                  operations that:
                  (1) Materially increases the hazard for frequency or severity of loss;
                  (2) Requires additional or different classifications for the calculation of premiums; or
                  (3) Contemplates an activity that is excluded by any reinsurance treaty of the insurer;
            e.    A material misrepresentation made by the policyholder; or
            f.   A failure by the policyholder to cooperate with the insurer in conducting an investigation of a claim.
      5.    We cannot cancel the policy when the referenced reasons are corrected by you within the time specified in the
            written notice of cancellation.
B.    Nonrenewal
      1.    We may elect not to renew the policy. We will provide to you a written notice of our intention not to renew at least
            60 days before the expiration date.
      2.    We need not provide notice of our intention not to renew if you have accepted replacement coverage, if you have
            requested or agreed to nonrenewal, or if the policy is expressly designated as nonrenewable.
C.    Information About Claims Paid
      1.    If you request information for the renewal of the policy, we will provide you with information regarding claims paid
            on your behalf.
      2.    We will provide the information within 30 working days after we receive your written request. We may charge aa
            reasonable fee for providing the information.
D.    Notices
      1. We will provide advance written notice of cancellation or nonrenewal as provided in A and B above. This notice
            must be served personally on or sent by first-class mail or electronic transmission to the employer.
      2.    Notices will state the effective date of the cancellation or nonrenewal and will be accompanied by a written
            explanation of the specific reasons for the cancellation or nonrenewal.
      3.    A written notice of cancellation is not required if we mutually agree with you to cancel the policy and reissue a
            new policy based upon a material change in the ownership or operation of your business.




                                                  Decl. Barnett,
                                                            1 of 2 Ex. B-118

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   2106                                   WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

 (Ed.
 (Ed. 10-08)
      10-08)



E.
E.      Compliance With Law
        1. Any of these provisions that conflict with a law that controls the cancellation or renewal or nonrenewal of the
           insurance in this policy is changed by this statement to comply with the law.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         This
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


     Policy Effective
     Policy                      01/01/2017
     Endorsement Effective
     Endorsement                 01/01/2017                                 Policy No. WD001482                  Endorsement No.
     Insured
     Insured                     PERSONNEL STAFFING GROUP, LLe
                                                           LLC DBA BARNEn
                                                                   BARNETT MANAGEMENT              _4
                                                                                                    /J       .          Premium

     Insurance Company
     Insurance                   Protective Insurance Company              Countersigned by       ~~
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                                                  Decl. Barnett,
                                                            2 of 2 Ex. B-119

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                                     #:1141
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        WC280404
                                                                                                                     WC 28 0404

                                                                                                                         (Ed. 1-08)

                                 NEW HAMPSHIRE PENDING RATE CHANGE ENDORSEMENT


A rate .change filing is being considered by the proper regulatory authority. The filing may result in rates different from
the rates shown on the policy. If the approval of the pending rate change filing results in changes to the rates on this
policy, we will issue an endorsement within 60 days of the effective date of rates approved by the regulatory authority
to show the new rates and their effective date.

If New Hampshire is shown in Item 3.A. of the Information Page, this endorsement applies to that state.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                  Policy No. WD001482              Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        /J
                                                                                                             IJ       Premium

  Insurance Company            Protective Insurance Company                               by---..!!:~---=----'(~------
                                                                           Countersigned by      ..!!:~=---_cr~     _

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                                     #:1142
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 28
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                                                                                                                             04
                                                                                                                        (Ed. 4-92)


                                       NEW HAMPSHIRE AMENDATORY ENDORSEMENT

This endorsement applies only to the New Hampshire coverage provided by the policy because New Hampshire is
shown in Item 3.A. of the Information Page.

For New Hampshire coverage, the Cancelation condition of the policy is amended and replaced by:

1. You may cancel this policy. You must mail or deliver advance written notice to us.

2. We may cancel this policy. We will file a written termination notice with the Commissioner of the Department of
   Labor and will send a copy to you.

3. In case of nonpayment of premium, the cancelation will take effect 30 days after the termination notice is filed.

4. In case of cancelation for reasons other than nonpayment of premium, cancelation will take effect 45 days after the
   notice of termination is filed.

5. If you have obtained coverage from another insurance carrier or have qualified as a self-insurer, cancelation is
   effective on the date you obtained the coverage or qualified as a self-insurer.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective              01/01/2017
 Endorsement Effective         01/0112017
                               01/01/2017                         Policy No. WD001482                        Endorsement No.
  Insured                      PERSONNEL STAFFING GROUP, LLe             MANAG~V? Premium
                                                         LLC DBA BARNETT MANAGEMENT                            /J
  Insurance Company          Protective Insurance Company        Countersigned by             ~
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  (Ed. 4-92)


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                                      #:1143
                        WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
                                       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


                                                    Effective July 1, 2007                                        we
                                                                                                                  WC 29 03 06 B



                              NEW JERSEY PART TWO LIMIT OF LIABILITY ENDORSEMENT


This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because New
Jersey is shown in Item 3.A. of the Information Page.

     With respect to Exclusion C5, this insurance does not cover any and all intentional wrongs within the exception
     allowed by N.J.SA
                  N.J.S.A. 34:15-8 including but not limited to, bodily injury caused or aggravated by an intentional
     wrong committed by you or your employees, or bodily injury resulting from an act or omission by you or your
     employees, which is substantially certain to result in injury.
     With respect to Exclusion C7, we will defend any claim, proceeding or suit fordamages where bodily injury is
     alleged. We have the right to investigate and settle. We will not defend or continue to defend after the applicable
     limits of insurance have been paid. Such policy limits include any legal costs assessed against you on behalf of
     your employee(s).
     We may not limit our liability to pay damages for which we become legally liable to pay because of bodily injury to
     an infant under the age of 18 years in a proceeding made pursuant to Article 2 as provided in N.J.S.A. 34:15-10.
     This insurance does not provide for the payment of any common law negligence damages or other damages
     when the provisions of Article 2 of the New Jersey Workers Compensation Law have been rejected by you and
     your employee(s) as provided in N.J.SA
                                        N.J.S.A. 34:15-9.
     With respect to paragraph F., the "Other Insurance" provisions is replaced with the following:
            F. Other Insurance
               We will not pay more than our share of damages and costs covered by this insurance and other
               insurance or self-insurance. Subject to any limits of liability that apply, all shares will be equal until the
               loss is paid. If any insurance or self-insurance is exhausted, the shares of all remaining insurance and
               self-insurance will be equal until the loss is paid.
               This insurance, however, is excess over any other applicable insurance with respect to claims for bodily
               injury arising out of employer practices, policies, acts or omissions enumerated in C-7 above, whether
               such other insurance is stated to be primary, contributory, excess, contingent or otherwise.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective             01/01/2017
  Endorsement Effective
  Insured
                               01/01/2017                         Policy No. WD001482
                                                         LLC DBA BARNETT MANAGEMENT
                               PERSONNEL STAFFING GROUP, LLe                                                !IJ
                                                                                                             Endorsement No.
                                                                                                                     Premium

  Insurance Company          Protective Insurance Company        Countersigned by            ~tJ:..__
                                                                                             ~~
                                              Decl. Barnett, Ex. B-122
  Compensation Rating and Inspection Bureau
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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 192 of 514 Page ID
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 WORKERS
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
                                                                                                                      WC 29 0411 c
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                                                       Effective January 1, 2016



                           NEW JERSEY PREMIUM DISCOUNT ENDORSEMENT SCHEDULE Y


The
The New Jersey premium for this policy and the policies, if any, listed in Item 2 of the Schedule may be eligible for a
discount. This endorsement shows the discount rates in Item 1 of the Schedule. The final calculation of premium
discount.
discount
discount will be determined by our Manual and your New Jersey standard premium as determined by audit.
In
In certain
   certain cases where New Jersey retrospective rating applies.
                                                       applies, all of the premium may not be subject to retrospective
rating. In such cases:
rating.
So
So much
   much of the New Jersey Standard Premium as is subject to retrospective rating shall not be subject to discount.
The
The remainder is subject to discount and the discount is calculated as follows:

        (a) Determine the discount as though none of the standard premium is subject to retrospective rating.

        (b) Determine the discount as though only the premium subject to retrospective rating is discounted.

        (c) The difference between (a) and (b) is the applicable premium discount.


                                                              Schedule


1.
        Premium Discount. The first $10,000 of the Standard Premium shall be charged in full without discount, the next
        $190,000 shall be subject to a discount 0(8.5%,
                                                of8.5%, the next $1,550,000 shall be subject to a discount of 110.2%.
                                                                                                                0.2%, and
        the remainder shall be subject to a discount of 10.9%.

2.      Other policies:




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective
  Policy                       01/01/2017
  Endorsement Effective
  Endorsement                  01/01/2017                           Policy No. WD001482                        Endorsement No.
     Insured
     Insured                                             LLC DBA BARNETT MAN=EN~
                               PERSONNEL STAFFING GROUP, LLe             MAN=EN~                                /;?    Premium

     Insurance Company
     Insurance               Protective Insurance Company          Countersigned by           ~
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  Compensation Rating and Inspection Bureau
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                                       #:1145



                        WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                            we 29 06 01 A
                                            WC

         NEW JERSEY LARGE RISK-LARGE DEDUCTIBLE ENDORSEMENT
1. This endorsement applies to the insurance provided                  than retiring from business, the aggregate
   by:                                                                 deductible amount will not be reduced.
   Part One (Workers' Compensation Insurance) Part                 (d) If this policy is issued for a term of less than one
   Two (Employers' Liability Insurance) and Part Three                 year, the aggregate deductible amount will not be
   (Other States Insurance)                                            reduced.
2. This endorsement applies between you and us. It             Effect of Deductible on Limits of Liability
   does not affect the rights of others under the policy.      7.  The applicable limits of liability as respects Part Two
   Nor does it change our obligations under Part One,              (Employers' Liability Insurance) are subject to
   Part Two or Part Three of the policy, except as                 reduction by the application of the loss reimbursement
   otherwise stated in this endorsement.                           amount(s) applicable to any claim for accident or
3. In consideration of a reduced premium you have                  disease covered by this policy. In the event of a claim,
   agreed to reimburse us up to the deductible amounts             our obligation to pay is the amount available for
   stated in the Schedule at the end of this endorsement           benefits or damages that remains after the application
   for all payments legally required, including allocated          of the specific loss reimbursement amount. The
   loss adjustment expense which arises out of any claim           payment of loss adjustment expense, where such
   or suit we defend, where you elect to include such              expense is elected by you, will not affect the limits of
   expense.                                                        liability.
4. We will remain responsible for the full payment of all      Allocated Loss Adjustment Expense
   claims under this policy without regard to your ability     8. Allocated loss adjustment expense, which is electible
   or intention to reimburse us for the deductible                by you, means claim expenses directly allocated by us
   amounts. The contract of insurance shall be fully              to a particular claim. Such expense shall not include
   enforceable by your employees or their dependents              cost of investigation or the salaries and traveling
                                        34:15-83.
   against us in accordance with NJSA 34:   15-83.                expenses of our employees other than those salaried
Deductible-Each Occurrence/Each Claim                             employees who perform services which can be
5. The deductible amount stated in the Schedule is the            directly allocated to the handling of a particular claim.
   most you must reimburse us for indemnity and                Recovery From Others
   medical benefits and damages combined, including            9. If we recover any payments made under this policy
   allocated loss adjustment expense if elected by you,           from anyone liable for the injury, the amount we
   for bodily injury to one or more employees as the              recover will be applied as follows:
             any one accident or for disablement of one
   result of anyone
                                                                  (a) First, to any payments made by us in excess of
   employee due to bodily injury by disease.
                                                                      the deductible amount and
Deductible-Policy Aggregate
                                                                  (b) Then the remainder, if any, will be applied to
6. The amount stated in the Schedule as aggregate is                  reduce the deductible amount reimbursable by
   the most you must reimburse us for the sum of all                  you.
   indemnity and medical benefits, damages, and
                                                               Cancellation
   allocated loss adjustment expense if elected by you,
   because of bodily injury by accident or bodily injury by    10. If you fail to reimburse us for any amounts as required
   disease for the policy period.                                  by this endorsement, we may cancel this policy for
                                                                   nonpayment in accordance with the provisions of
   (a) If we cancel the policy, the aggregate amount
                                                                   statute. We will remain fully responsible for the full
        stated in the Schedule will be reduced to a pro
                                                                   amount of all claims incurred prior to the effective date
        rata amount based on the time this policy was in
                                                                   of cancellation.
        force.
                                                               Sole Representation
   (b) If you cancel the policy as a result of your retiring
        from business, the aggregate deductible amount         11. The first Named Insured stated in the Information
        will be reduced to a pro rata amount based on the          Page will act on behalf of all the named insureds with
        time this policy was in force.                             respect to:
    (c) If you cancel the policy for any reason other              (a) Changes to this endorsement
                                                                    (b) Obligations to receive premiums


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   497a (1-94)
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   29 06 01 AA                            Decl. Barnett, Ex. B-124                                        Page 1 of 2
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 194 of 514 Page ID
                                       #:1146
    (c) Giving or receiving notice of cancellation.                               which govern the following items, apply irrespective of
Your Duties and Understandings                                                    this deductible endorsement:
12.
12. All bodily injuries by accident or disease for which you                      (a) Our right and duty to defend                     any claim,
    are responsible shall be promptly reported to us for                              proceeding or suit against you and
    adjustment and payment, regardless of their severity                          (b) Your duties if injury occurs.
    or cost. You further understand that all such bodily                     Additional Charges
    injuries and their cost shall be included in experience
                                                                             14. The surcharges for the Second Injury Fund and
    data used to determine the experience rating for your
    policy, regardless of the eligibility of such claims for                     Uninsured Employers Fund and the premium charge
    full or partial reimbursement under the deductible                           for the expense constant are not part of the Large
                                                                                 Risk-Large Deductible Program but are included in
    provisions of this policy.
                                                                                 the total cost of the coverage provided by the policy to
Other Rights and Duties                                                          which this endorsement is attached.
13.
13. All   other terms        of the     policy,    including    those
                                                                   SCHEDULE
                   Coverage                                                                        Deductible Amount Basis

                   Bodily Injury By Accident                                                       $500,000              each accident

                   Bodily Injury By Disease                                                        $500,000              each employee

                   All Covered Bodily Injury                                                       $ None          aggregate
                                                                                                    (Dollar Amount or "None")

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
          (The
          (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)
                                                                                                                                    policy.)


This endorsement, effective on                           01/01/2017                   at 12:01 A.M. standard time, forms a part of
                                                            (DATE)

Policy No.              WD001482

of the                   Protective Insurance Company


                                                                                         MANWt
                         (NAME OF INSURANCE COMPANY)


                         ~n:~SONNEL STAFFING GROUP, LLe

                                                                                             w                ~
issued to                                           LLC DBA BARNETT MAN


Premium (if any) $
                                                                                             Authorized Representative




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   497a (1-94)
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   29 06 01 A                                      Decl. Barnett, Ex. B-125                                                      Page 22 of2
                                                                                                                                         of2
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 195 of 514 Page ID
                                     #:1147
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 31
                                                                                                                     WC 31 0308
                                                                                                                           o3 oa
                                                                                                                        (Ed. 4-84)

                                    NEW YORK LIMIT OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because New
York is shown in Item 3.A. of the Information Page.

We may not limit our liability to pay damages for which we become legally liable to pay because of bodily injury to your
employees if the bodily injury arises out of and in the course of employment that is subject to and is compensable
under the Workers' Compensation Law of New York.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective           01/01/2017
   Endorsement Effective      01/01/2017                            Policy No. WD001482                       Endorsement No.
   Insured                    PERSONNEL STAFFING GROUP, LLC DBA. BARNETT MANAGEMENT                           _!__
                                                                                                              ~       Premium

   Insurance Company       Protective Insurance Company           Countersigned by             &Ad1:...-.
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                                   #:1148
NEW
NEW YORK WORKERS COMPENSATION AND                                        we 310618
                                                                         WC 31 0618
EMPLOYERS
EMPLOYERS LIABILITY MANUAL
Original
Original Printing                                     Effective March 1, 2015

                                          NEW YORK WORKERS COMPENSATION
                                       POLICYHOLDER NOTICE OF RIGHT TO APPEAL


Policyholder
Policyholder Disputes

Policyholders
Policyholders are entitled to inquire, challenge and dispute issues relating to classification, ownership, premium auditing,
                                                                                                                   aUditing,
and/or
and/or other New York Compensation Insurance Rating Board (NYCIRB) rulings or decisions pertaining to this policy.
Please
Please refer to the Employer's Appeal Process noted below.

Inquiries may also be directed to the New York State Department of Financial Services (DFS) at:
Inquiries
                                 http://www.dfs.ny.gov/aboutlcontactus.htm#consum
                                 http://www. dfs. ny. gov/about!contactus. htm#consum er
     or by calling the Consumer Hotline at 800- 342342- - 3736 (Monday through Friday, 8:30AM
                                                                                       8:30 AM to 4:30 PM).

Policyholder
Policyholder Right to Appeal

An
An insured, or its representative, (hereafter referred to as "insured"), may appeal the application of a rule or procedure
contained in the NY Workers Compensation & Employers Liability Manual. Rules or procedures are defined as those
contained
determinations,
determinations, either by a carrier or the Rating Board, which define the variables which makeup the policy conditions.
Examples include: classification codes, ownership information, premium audits, and any other determination which may
Examples
affect
affect the policy.

To be considered for review, a written request explaining the reason(s) for the appeal must be submitted to the Rating
To
Board. Upon receipt of the request for review, the following actions will be taken:
Board.

    1.     A staff member will review the request and respond to the insured within sixty (60) days, in writing, acknowledging
           receipt of the request, granting the insured its request or sustaining its original ruling.

    2.     The insured, if not satisfied with the outcome in 1. above, may then request, in writing, a conference with members
           of the Rating Board staff. The request must state the nature of the complaint and contain any supporting
           documents. The appropriate Department Vice President or his or her designated representative, if appropriate, will
           preside at the conference.
    3.     If the dispute is not resolved at the conference, the insured may then appeal to the Underwriting Committee of the
           Rating Board for a hearing to consider the staff ruling. This appeal must be in writing and must specify the
           reason(s) for the appeal and the nature of the complaint.
           Following, receipt of the appeal, the insured will be notified regarding the time and place for the hearing. The
           appeal will be heard at the next Underwriting Committee meeting for which appropriate time can be given for this
           matter. Subsequent to the hearing, the insured will be advised, in writing, of the Underwriting Committee decision
           regarding its complaint.
    4.     If the Underwriting Committee ruling is not satisfactory to the insured, the insured may then request a hearing at
           the New York State Department of Financial Services to consider the decision of the Rating Board's Underwriting
           Committee.
    5.     The New York State Department of Financial Services decision may be appealed to a higher court, by either the
           insured or the Rating Board

     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective
 Policy                       01/01/2017
 Endorsement Effective
 Endorsement                  01/01/2017                         Policy No. WD001482                       Endorsement No.
 Insured
 Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT             J'1
                                                                                               1'1                  Premium

 Insurance Company
 Insurance                  Protective Insurance Company        Countersigned by             ~ct'
                                                                                              cr:
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           York Compensation
                Compensation Insurance Rating Board
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 197 of 514 Page ID
                                      #:1149INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 31 0319 H
                                                                        WC 310319




                NEW YORK CONSTRUCTION CLASSIFICATION PREMIUM ADJUSTMENT PROGRAM
                                   EXPLANATORY ENDORSEMENT

The New York Construction Classification Premium Adjustment Program (NYCCPAP) allows premium credits for
some employers in the construction industry. These credits exist to recognize the difference in wage rates between
employers within the same construction industries in New York.
The declarations section of this policy will show a credit of 0.00% if you are not eligible for this credit, or if you are
eligible for this credit and have not yet applied for a credit. Credits are earned for average wages in excess of $23.24
per hour for each eligible class. If your policy shows one of the following classification codes, and you are experience
rated, you are eligible to apply for an NYCCPAP credit:
           0042        5057        5193         5429       5491   5606    6003       6229       6325       9526
           3365        5059        5213         5443       5506   5610    6005       6233       6400       9527
           3724        5069        5221         5445       5507   5645    6017       6235       6701       9534
           3726        5102        5222         5462       5508   5648    6018       6251       7536       9539
           3737        5160        5223         5473       5536   5651    6045       6252       7538       9545
           5000        5183        5348         5474       5538   5701    6204       6260       7601       9549
           5022        5184        5402         5479       5545   5703    6216       6306       7855       9553
           5037        5188        5403         5480       5547   5709    6217       6319       8227
           5040        5190        5428
The basis for determining the credit is the limited payroll of each employee for the number of hours worked (excluding
overtime premium pay) for each construction classification (other than employees engaged in the construction of one
or two-family residential housing) for the third quarter, as reported to taxing authorities, for the year preceding the
policy date. Total payroll is to continue to be reported for employees engaged in the construction of one or two-family
residential housing. For example:
                                       Policy Inception Date         Third Quarter Payroll

                                         4/1/14 thru    3/31/15               2013
                                         4/1/15 thru    3/31/16               2014
                                         4/1/16 thru    3/31/17               2015
                                         4/1/17 thru    3/31/18               2016
                                         4/1/18 thru    3/31/19               2017
                                         4/11'19
                                         4/1/'19 thru   3/31/20               2018
If you have any eligible classes on your policy, you should have been notified by your insurance carrier or the New
York Compensation Insurance Rating Board approximately four months prior to the inception date of this policy. If you
believe you may be eligible for a credit and have not received an application, you should immediately contact your
agent, insurance carrier, or the New York Compensation Insurance Rating Board.
Credits are calculated by the New York Compensation Insurance Rating Board. You must submit a completed
application to: Attention: Field Services Department, New York Compensation Insurance Rating Board, 733 Third
Avenue, New York, New York 10017.
Applications must be received by the Rating Board three (3) months prior to the policy renewal effective date. The
Rating Board will accept and process an application if it is received between the policy effective and expiration date,
however, it must be accompanied by a letter stating the reason for the delay. Under no circumstances will an
application be accepted for any policy if it is received after the expiration date of the policy. For short-term policies the
application must be received prior to the expiration date of the short-term policy. If it is received after the policy
expiration, no credit will be calculated.
The New York Workers Compensation and Employers Liability Insurance Manual, and not this endorsement, govern
the implementation and use of the NYCCPAP.
For online entry of the information requested on this form refer to http://www.nycirb.org/cpap




                                               Decl. Barnett,     Ex. B-128
                                                        Page 1 of 2



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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 198 of 514 Page ID
                                      #:1150
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           WC 310319 H                               we 31   0319 H




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective             01/01/2017
 Endorsement Effective        01/01/2017                          Policy No. WD001482                       Endorsement No.
 Insured                                                LLC DBA BARNETT
                              PERSONNEL STAFFING GROUP, LLe     BARNETI MANAGEMENT
                                                                        M A N A/   }
                                                                                   ~                                 Premium

 Insurance Company          Protective Insurance Company        Countersigned by           ~
 we 310319
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                                                Decl. Barnett,     Ex. B-129
                                                         Page 2 of 2


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           York Compensation Insurance Rating Board.
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 199 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                 we 32 03
                                                                                                              WC          c
                                                                                                                    o3 01 C

                                                                                                                   (Ed. 1-14)


                                  NORTH CAROLINA AMENDED COVERAGE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because North Carolina is shown in Item 3.A. of
the Information Page.

The Cancellation Condition of the policy is replaced by this Condition:


D. Cancellation and Nonrenewal
     1. You may cancel this policy.
          If you cancel this policy, you must mail or deliver advance written notice to us stating when the cancellation is to
          take effect.
     2.   We may cancel this policy.
          (a) If this policy has been in effect for fewer than 60 days and is not a renewal policy, we may cancel this policy
              for any reason by giving you at least 30 days prior written notice of cancellation and the reasons for
              cancellation by registered or certified mail, return receipt requested.
          (b) If this policy has been in effect for at least 60 days or is a renewal policy, we may not cancel this policy
              without your prior written consent, except for anyone
                                                                any one of the following reasons:
               (1) Nonpayment of premium in accordance with the policy terms.
               (2) An act or omission by you or your representative that constitutes material misrepresentation or
                   nondisclosure of a material fact in obtaining the policy, continuing the policy, or presenting a claim
                   under the policy.
               (3) Increased hazard or material change in the risk assumed that could not have been reasonably
                   contemplated by you and us at the time of assumption of the risk.
               (4) Substantial breach of contractual duties, conditions, or warranties that materially affects the insurability
                   of the risk.
               (5) A fraudulent act against us by you or your representative that materially affects the insurability of the
                   risk.
               (6) Willful failure by you or your representative to institute reasonable loss control measures that materially
                   affect the insurability of the risk after written notice by us.
                (7) Loss of facultative reinsurance or loss of or substantial changes in applicable reinsurance as provided
                    in G.S. 58-41-30.
                (8) Your conviction of a crime arising out of acts that materially affect the insurability of the risk.
                (9) A determination by the Commissioner that the continuation of this policy would place us in violation of
                    the laws of North Carolina.
                (1 0) You fail to meet the requirements contained in our corporate charter, articles of incorporation, or
                (10)
                      bylaws, when we are a company organized for the sole purpose of providing members of an
                      organization with insurance coverage in North Carolina.
          (c) If we cancel for any of the reasons listed in paragraph (b), we must provide you with at least 15 days prior
              written notice of cancellation stating the precise reason for cancellation. We may provide this notice by
              registered or certified mail, return receipt requested, to you and any other person designated in the policy to
              receive notice of cancellation at the addresses shown in the policy or, if not indicated in the policy, at the
              last known addresses. Whenever notice of cancellation is given by registered or certified mail, cancellation
              will not be effective unless and until that method is employed and completed. Notice of cancellation may
              also be given by any method permitted for service of process pursuant to Rule 4 of the North Carolina Rules
              of Civil Procedure. Failure to send notice as provided in this paragraph to any other person designated in
              the policy to receive notice of cancellation invalidates the cancellation only as to that other person's interest.




                                                                         1 of 2

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 200 of 514 Page ID
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            c                           WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-14)




       (d) Cancellation for nonpayment of premium is not effective if the amount due is paid before the effective date
           stated in the notice of cancellation.
    3. We may refuse to renew this policy:
       (a) If this policy is for a term of one year or less, we must provide you with notice of nonrenewal at least 45
           days prior to the expiration date of the policy.
       (b) If this policy is for a term of more than one year or for an indefinite term, then to nonrenew the policy at the
           policy anniversary date we must provide you with notice of nonrenewal at least 45 days prior to the
           anniversary date of the policy.
       (c) The notice of nonrenewal must state the precise reason for nonrenewal. Failure to send this notice, as
           provided in paragraphs 3 and 5, to any other person designated in the policy to receive this notice
           invalidates the nonrenewal only as to that other person's interest.
           (d) Any nonrenewal attempted or made that is not in compliance with paragraphs (a), (b) and (c) is not
               effective. Paragraphs (a), (b) and (c) do not apply if you have obtained insurance elsewhere, have
               accepted replacement coverage, or have requested or agreed to nonrenewal.
    4.     Whenever we lower coverage limits, raise deductibles, or raise premium rates for reasons within our exclusive
           control and other than at your request, we will mail you written notice of the change at least 30 days in
           advance of the effective date of the change. As used in this paragraph, the phrase, "reasons within our
           exclusive control" does not mean experience modification changes, exposure changes, or loss cost rate
           changes.
    5. We must provide the notice required by paragraphs 3 and 4 by mail to you and any other person designated in
       the policy to receive this notice at the addresses shown in the policy or, if not indicated in the policy, at the last
       known addresses. Mailing copies of the notice by regular first-class mail satisfies the notice requirements of
       paragraphs 3, 4 and 5.
    6. We will also send copies of the notice required by this endorsement to the agent or broker of record, though
       failure to send copies of the notice to the agent or broker of record will not invalidate a cancellation or
       nonrenewal. Mailing copies of the notice by regular first-class mail to the agent or broker of record satisfies the
                                                   nonrenewalmay also be given by any method permitted for service
       requirements of this paragraph. Notice of nonrenewaLmay
       of process pursuant to Rule 4 of the North Carolina Rules of Civil Procedure.




          This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                 Policy No. WD001482                Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium



  Insurance Company           Protective Insurance Company                Countersigned by
                                                                          Countersigned by     ---==-~------fl---=-------
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                                                                                                                     WC 32 06 02
       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


                                                                                                                       (Ed. 01-10)

                                           PRO-RATA CANCELLATION ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because North Carolina is shown in item 3.A. of
the
the Information
    Information Page.

     the policy is cancelled by the insured for a reason stated in the schedule below, the final premium for the policy shall
IfIf the
be     calculated pro-rata based on the time this policy was in-force. In no circumstances shall final premium be less than
be calculated
minimum
minimum premium.

                                                                   SCHEDULE




 Notwithstanding the provisions above, in no event will the number of days notice for cancellation or for non-renewal be
Notwithstanding
fewer than the number of days required by North Carolina law.
fewer

To the extent that any terms of this endorsement conflict with any other terms or conditions of the policy, the
To
provisions of this endorsement will prevail.
provisions

All other terms, conditions, and exclusions of the policy remain the same.
All


       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


 Policy Effective
 Policy                        01/01/2017
 Endorsement Effective
 Endorsement                   01/01/2017                                  Policy No. WD001482              Endorsement No.
 Insured
 Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          4       Premium
                                                                                                   4
 Insurance Company Protective Insurance Company
 Insurance                                                                Countersigned by       ~~
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                                     #:1154
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 35 03
                                                                                                                    WC    o3 02
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                    OKLAHOMA EMPLOYERS LIABILITY AMENDED COVERAGE ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Oklahoma is shown in Item 3.A. of the Information Page.

1. Section B. We Will Pay is replaced by the following:

    B. We Will Pay
       We will pay all sums you legally must pay as damages because of bodily injury to your employees, provided
       the bodily injury is covered by this Employers Liability Insurance.
       The damages we will pay, where recovery is permitted by law, include damages:
       1. for which you are liable to a third party by reason of a claim or suit against you by the third party to
           recover the damages claimed against such third party as a result of injury to your employee; and
       2. for care and loss of services.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective              01/01/2017
  Endorsement Effective        01/01/2017                         Policy No. WD001482                        Endorsement No.
 Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                          IJ         Premium

  Insurance Company          Protective Insurance Company                          ---"'~---=-----tf...__
                                                                 Countersigned by _ _   J<~       =-"""_cr",,--_______
                                                                                                                     _

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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 203 of 514 Page ID
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                 we 35 06 01 F
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                       OKLAHOMA CANCELLATION, NONRENEWAL AND CHANGE ENDORSEMENT

 This endorsement applies to the insurance provided by the policy because Oklahoma is shown in Item 3.A. of the
 Information Page.

The Cancellation Condition in Part Six (Conditions) of the policy is replaced by the following condition:
D. Cancellation
   1. You may cancel this policy. You must mail or deliver to us not less than 30 days advance written notice
                                                                                 will be effective at 12:01 a.m. thirty
       stating when the cancellation is to take effect. Cancellation of coverage will
       (30) days after the date the cancellation notice is received by us, unless a later date is specified in the notice
       to us. You may cancel this policy effective less than 30 days after written notice is received by us where you
       have obtained other coverage or have become a self-insurer.
   2. We may cancel this policy. We will mail to you advance written notice stating when the cancellation is to take
       effect.
          a.At any time during the policy period, we may cancel for nonpayment of premium. If we cancel for
             nonpayment of premium, we will mail notice of cancellation to you and to the Workers Compensation
             Commission at least 10 10 days before the cancellation is to take effect.
          b. If we cancel this policy for a reason other than nonpayment of premium, we will mail notice of cancellation
          b.lf
             to you and to the Workers Compensation Commission at least 30 days before the cancellation is to take
             effect.
          c.lf this policy has been in effect for more than 45 business days or is a renewal policy, we may cancel for
             only one or more of the following reasons:
             (1) Nonpayment of premium;
             (2) Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to
                 any claims submitted under it;
             (3) Discovery of willful or reckless acts or omissions on the part of the named insured which increase
                 any hazard insured against;
            (4)The occurrence of a change in the risk which substantially increases any hazard insured against after
               insurance coverage has been issued or renewed;
            (5)A violation of any local fire, health, safety, building, or construction regulation or ordinance with
               respect to any insured property or the occupancy thereof which substantially increases any hazard
               insured against;
            (6)A determination by the Insurance Commissioner that the continuation of the policy would place the
               insurer in violation of the insurance laws of this state;
            (7) Conviction of the named insured of a crime having as one of its necessary elements an act increasing
                any hazard insured against; or
            (8) Loss of or substantial changes in applicable reinsurance.
     3.   Mailing notice of cancellation to you at your mailing address shown in Item 1 of the Information Page will be
          sufficient to prove notice.
     4.   The policy period will end on the day and hour stated in the cancellation notice.
     5.   Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy is
          changed by this statement to comply with the law.

Part 6 (Conditions) of the policy is amended by adding the following provisions:
F. Nonrenewal
    Non renewal
    1. If we elect not to renew this policy, we will mail or deliver written notice of nonrenewal to you at least 45 days
        before:
         a. The expiration date of this policy; or
         b. An anniversary date of this policy, if it is written for a term longer than one year or with no fixed expiration
             date.
    2. Any notice of nonrenewal will be mailed or delivered to you at the mailing address shown in Item 1 of the
         Information Page. If notice is mailed:
         a. It will be considered to have been given to you on the day it is mailed.
                                                    Decl. Barnett, Ex. B-134
         b. Proof of mailing will be sufficient proof of notice.

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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 204 of 514 Page ID
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WC                                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 2-14)

     3.      If notice of nonrenewal is not mailed or delivered at least 45 days before the expiration date or an anniversary
             date of this policy, coverage will remain in effect until 45 days after notice is given. Earned premium for such
             extended period of coverage will be calculated pro rata based on the rates applicable to the expiring policy.
     4.      We will not provide notice of nonrenewal if:
             a. We, or another company within the same insurance group, have offered to issue a renewal policy; or
             b. You have obtained replacement coverage or have agreed in writing to obtain replacement coverage.
     5.      If we have provided the required notice of nonrenewal as described above, and thereafter extend the policy
             for a period of 90 days or less, we will not provide an additional nonrenewal notice with respect to the period
             of extension.

 G. Notice of Premium or Coverage Changes Upon Renewal
    1. If we elect to renew this policy, we will give written notice of any premium increase, change in deductible, or
        reduction in limits or coverage, to you, at the mailing address shown in Item 1 of the Information Page.
      2.     Any such notice will be mailed or delivered to you at least 45 days before:
             a. The expiration date of this policy; or
             b. An anniversary date of this policy, if it is written for a term longer than one year or with no fixed expiration
                  date.
      3.     If notice is mailed:
             a. It will be considered to have been given to you on the day it is mailed.
             b. Proof of mailing will be sufficient proof of notice.
      4.     If you accept the renewal, the premium increase or deductible, limits or coverage changes will be effective
             the day following the prior policy's expiration or anniversary date.
      5.     If notice is not mailed or delivered at least 45 days before the expiration date or anniversary date of this
             policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in effect until the
             earlier of:
             a. 45 days after notice is given; or
             b. The effective date of replacement coverage obtained by you.
      6.     If you then elect not to renew, any earned premium for the resulting extended period of coverage will be
             calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.
      7.     We will not provide notice of the following:
             a.   Changes in a rate or plan filed with or approved by the Insurance Commissioner or filed pursuant to the
                  Property and Casualty Competitive Loss Cost Rating Act and applicable to an entire class of business; or
             b.   Changes based upon the altered nature of extent of the risk insured; or
             c.   Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an
                  entire class of business.




           This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective               01/01/2017
   Endorsement Effective          01/01/2017                                  Policy No. WD001482                 Endorsement No.
   Insured                                                          BARNETT MANAGEMENT
                                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT.MANAGEMENT                                   /J Premium
   Insurance Company            Protective Insurance Company                                 ----"'~-----':.........1:_,_
                                                                            Countersigned by _~--",~   _ _----,:.....-cr-,,-_______ _

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
                                                                                                                     WC 35
                                                                                                                        350603
                                                                                                                           06 03

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                                         OKLAHOMA FRAUD WARNING ENDORSEMENT

This endorsement applies only to the insurance provided by the Policy because Oklahoma is shown in Item 3.A. of the
Information Page.

WARNING: ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY
         INSURER, MAKES ANY CLAIM FOR THE PROCEEDS OF AN INSURANCE POLICY CONTAINING
         ANY FALSE, INCOMPLETE OR MISLEADING INFORMATION IS GUlL
                                                            GUILTY
                                                                 TY OF A FELONY.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective              01/01/2017
   Endorsement Effective         01/01/2017                         Policy No. WD001482                       Endorsement No.
   Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                           IJ         Premium

   Insurance Company           Protective Insurance Company       Countersigned by .        !AUL
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                                   #:1158
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                         we 37 04 01
                                                                                                      WC

                                                                                                           (Ed. 1-17)



                PENNSYLVANIA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


Part Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance
Policy is revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not
provide audit information as requested, we will apply an Audit Noncompliance Charge (ANC).

The charge is determined by applying the ANC Multiplier to the ANC Basis shown in the table below:


                                  ANC Basis                        ANC Multiplier
                         Estimated Annual Premium                    Two times


If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance
Charge, we will remove the ANC charge and revise your premium in accordance with our manuals and
Part 5-Premium, E. (Final Premium) of this policy.

                              subject to the following conditions
The application of the ANC is sUbject

    a) Carriers must comply with all applicable state laws and/or regulations related to audits of workers
       compensation insurance policies.

    b) The Audit Noncompliance Charge Endorsement is optional. When used, the Audit
       Noncompliance Charge Endorsement and/or applicable state-specific endorsement must be
       attached to the policy at inception of the policy term being audited.

    c) The carrier must make two attempts to obtain the audit information and/or complete the audit. At
       each attempt, the carrier must notify the employer regarding the specific required records and the
       amount of the ANC to be applied if the employer continues to refuse to comply with the audit.

    d) The carrier must adequately document the audit file regarding the above attempts to obtain the
       required audit information.

This ANC rule applies to mail/email, telephone, computer (remote access), and physical audits, unless
otherwise provided by state law.




                                     Decl. Barnett, Ex. B-137
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                                                                                             Page 1 of 2
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 207 of 514 Page ID
                                   #:1159
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
                                                                                                                     WC 37 04 o1
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                    PENNSYLVANIA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT


The scenarios listed below may occur and are treated as follows:


 If an ANC is applied and the employer...
                              employer ...                      Then the carrier
                                                                         carrier...
                                                                                 ...


                                                                  •    Performs the final audit and determines the
                                                                       final policy premium based on the results of
                                                                       the audit; and

                                                                  •    Refunds the ANC to the employer, or applies
 Pays the ANC and later allows the audit                               the ANC amount to any outstanding balance
                                                                       on the policy

                                                                      Submits a unit statistical correction report to
                                                                      remove the ANC charge from the previously
                                                                      reported Unit Statistical data.


                                                                Performs the final audit and determines the final
 Does not pay the ANC but later allows the audit
                                                                policy premium based on the results of the audit


 Pays the ANC but does not later allow the audit
                                                                 Does not change the previously reported:

 Does not pay the ANC and does not later allow
                                                                  • Unit Statistical data
 the audit
                                                                  • Noncompliance transactions




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective
 Policy                    01/01/2017
 Endorsement Effective
 Endorsement               01/01/2017                              Policy No. WD001482                      Endorsement No.
 Insured
 Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                             /J
                                                                                                            IJ      Premium

 Insurance Company
 Insurance               Protective Insurance Company            Countersigned by           ~cr
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                                          Decl. Barnett, Ex. B-138
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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 208 of 514 Page ID
                                        #:1160
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 37 06 02
                                                                                                                       WC

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                                                      PENNSYLVANIA NOTICE

An Insurance Company, its agents, employees, or service contractors acting on its behalf, may provide services to
reduce the likelihood of injury, death or loss. These services may include any of the following or related services
incident to the application for, issuance, renewal or continuation of, a policy of insurance:

1.     surveys;
2.     consultation or advice; or
3.     inspections.

The "Insurance Consultation Services Exemption Act" of Pennsylvania prOVides provides that the Insurance Company, its
agents, employees or service contractors acting on its behalf, is not liable for damages from injury, death or loss
occurring as a result of any act or omission by any person in the furnishing of or the failure to furnish these services.

The Act does not apply:
1. if the injury, death or loss occurred during the actual performance of the services and was caused by the
    negligence of the Insurance Company, its agents, employees or service contractors;
2. to consultation services required to be performed under a written service contract not related to a policy of
    insurance; or
3. if any acts of omissions of the Insurance Company, its agents, employees or service contractors are judicially
    determined to constitute a crime, actual, malice, or gross negligence.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          01/01/2017
     Endorsement Effective      01/01/2017                           Policy No. WD001482                       Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           /_/
                                                                                                               / ./     Premium

     Insurance Company       Protective Insurance Company                             --=-~-----C(--=--------
                                                                    Countersigned by _ _ =-~cr--=-          _



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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 209 of 514 Page ID
                                     #:1161
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      WC 37 06 o3
                                                                                                                   we       03 A

                                                                                                                         (Ed. 8-95)

                                         PENNSYLVANIA ACT 86-1986 ENDORSEMENT

         NONRENEWAL, NOTICE OF INCREASE OF PREMIUM, AND RETURN OF UNEARNED PREMIUM

This endorsement applies only to the insurance provided by the policy because Pennsylvania is shown in Item 3.A. of
the Information Page.

The policy conditions are amended by adding the following regarding nonrenewal, notice of increase in premium, and
return of unearned premium.

Nonrenewal
Non renewal
1. We may elect not to renew the policy. We will mail to each named insured, by first class mail, not less than 60
   days advance notice stating when the nonrenewal will take effect. Mailing that notice to you at your mailing
   address last known to us will be sufficient to prove notice.
2. Our notice of nonrenewal will state our specific reasons for not renewing.
3. If we have indicated our willingness to renew, we will not send you a notice of nonrenewal. However, the policy
   will still terminate on its expiration date if:
   a. you notify us or the agent or broker who procured this policy that you do not want the policy renewed; or
   b. you fail to pay all premiums when due; or
   c. you obtain other insurance as a replacement of the policy.

Notice of Increase in Premium
1. We will provide you with not less than 30 days advance notice of an increase in renewal premium of this policy, if
    it is our intent to offer such renewal.
2. The above notification requirement will be satisfied if we have issued a renewal policy more than 30 days prior to
    its effective date.
3. If a policy has been written or is to be written on a retrospective rating plan basis, the notice of increase in
    premium provision of this endorsement does not apply.

Return of Unearned Premium
1. If this policy is canceled and there is unearned premium due you:
   a. If the Company cancels, the unearned premium will be returned to you within 10 business days after the
         effective date of cancelation.
   b. If you cancel, the unearned premium will be returned within 30 days after the effective date of cancelation.
2. Because this policy was written on the basis of an estimated premium and is subject to a premium audit, the
   unearned premium specified in 1.a. and 1.b. above, if any, shall be returned on an estimated basis. Upon our
   completion of computation of the exact premium, an additional return premium or charge will be made to you
   within 15 days of the final computation.
3. These return of unearned premium provisions shall not apply if this policy is written on a retrospective rating plan
   basis.

       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective              01/01/2017
   Endorsement Effective         01/01/2017                          Policy No. WD001482                       Endorsement No.
   Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                           IJ          Premium

    Insurance Company          Protective Insurance Company        Countersigned by   ----'!..~-----C(-=-------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 37 06
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                                                                                                                           10-99)
                                                                                                                      (Ed. 10-99)



                            PENNSYLVANIA EMPLOYER ASSESSMENT ENDORSEMENT

Act 57 of 1997 requires that" ... the assessments for the maintenance of the Subsequent Injury Fund, the Workmen's
Compensation supersedes Fund and the Workmen's Compensation Administration Fund under sections 306.2, 443
                           2, 1915 (P.L. 736, No. 338), known as the "Workers' Compensation Act, shall be imposed,
and 446 of the act of June 2,1915
collected and remitted through insurers in accordance with regulations promulgated by the Department of Labor and
Industry."

                                          EMPLOYER ASSESSMENT FORMULA:


            Employer           =   Act of 1997 Employer                  xX     Employer Assessment
            Assessment             Assessment Factor                            Premium Base

Act 57 of 1997 Employer Assessment Factor
A factor expressed to four decimal places proposed by the Pennsylvania Compensation Rating Bureau and approved
by the Pennsylvania Insurance Commissioner.

Employer Assessment Premium Base
Calculation of Employer Assessment Premium Base proceeds by adding back to the total policy premium the amount
of any Small Deductible Premium Credit or Large Deductible Premium Credit.



                                                           CODE 0938
     EMPLOYER ASSESSMENT FACTOR                                           EMPLOYER ASSESSMENT
               1.70%                                                      $1,852




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective          01/01/2017
  Endorsement Effective     01/01/2017                            Policy No. WD001482                        Endorsement No.
  Insured                                                              MANAGEMENT
                             PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT.                        /J         Premium

  Insurance Company       Protective Insurance Company           Countersigned by      ~~
  we 37 06
  WC     o6 04
  (Ed. 10-99)
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 211 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
                                                                                                                    WC 41
                                                                                                                       410402
                                                                                                                          04 02

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                 TENNESSEE PENDING LOSS COST AND ASSIGNED RISK RATE ENDORSEMENT



This endorsement applies only to the insurance provided by the policy because Tennessee is shown in Item 3.A. of
the Information Page.



The premium for the policy is determined (in part) by the product of loss costs developed and filed by the National
Council on Compensation Insurance, Inc., and/or an assigned risk loss cost multiplier developed by the Tennessee
Department of Commerce and Insurance.



A loss cost filing and/or a change to the assigned risk loss cost multiplier is being considered by the proper regulatory
authority. The approval and/or modification of either (or both) may result in rates different from the rates shown on the
policy. If it does, we will issue an endorsement to show the new rates and their effective date.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective           01/01/2017
 Endorsement Effective      01/01/2017                            Policy No. WD001482                       Endorsement No.
 Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

 Insurance Company        Protective Insurance Company          Countersigned by _ _     --=-~-----~-=--------
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 (Ed. 8-03)



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                                     #:1164
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                          we
                                                                                                       WC 42 03 01     G

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                                                 TEXAS AMENDATORY ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Texas is shown in Item 3.A. of the
Information
Information Page.

                                                               GENERAL SECTION

B. Who Is Insured is amended to read:
    You are insured if you are an employer named in Item 1 of the Information Page. If that employer is a partnership
    You
    or joint venture, and if you are one of its partners or members, you are insured, but only in your capacity as an
    employer of the partnership's or joint venture's employees.

D. State is amended to read:
D.
   State means any state or territory of the United States of America, and the District of Columbia.


                                       PART ONE-WORKERS COMPENSATION INSURANCE

E. Other Insurance is amended by adding this sentence:
E.
   This
   This Section only applies if you have other insurance or are self-insured for the same loss.

F. Payments You Must Make
    This Section is amended by deleting the words "workers compensation" from number 4.
    This

H. Statutory Provisions
H.
   This Section is amended by deleting the words "after an injury occurs" from number 2.

                                           PART TWO-EMPLOYERS LIABILITY INSURANCE

C. Exclusions
C.
   Sections 2 and 3 are amended to add:
   This exclusion does not apply unless the violation of law caused or contributed to the bodily injury.
   Section 66 is amended to read:
   6. bodily injury occurring outside the United States of America, its territories or possessions, and Canada. This
       exclusion does not apply to bodily injury to a citizen or resident of the United States of America, Mexico or
       Canada who is temporarily outside these countries.

D. We Will Defend
D.
   This Section is amended by deleting the last sentence.


                                           PART FOUR-YOUR DUTIES IF INJURY OCCURS

    Number 6 of this part is amended to read:
    6. Texas law allows you to make weekly payments to an injured employee in certain instances. Unless
         authorized by law, do not voluntarily make payments, assume obligations or incur expenses, except at your
         own cost.




                                                    Decl. Barnett,
                                                              1 of 3 Ex. B-143

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WC 42 03 01 G                           WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 6-14)


                                                           PART FIVE-PREMIUM

A.   Our Manuals is amended by adding this sentence:
     In this part, "our manuals" means manuals approved or prescribed by the Texas Department of Insurance.

C. Remuneration
     Number 2 is amended to read:
     2.    All other persons engaged in work that would make us liable under Part One (Workers Compensation
           Insurance) of this policy. This paragraph 2 will not apply if you give us proof that the employers of these
           persons lawfully secured workers compensation insurance.


E. Final Premium
     Number 2 is amended to read:
     2. If you cancel, final premium will be calculated pro rata based on the time this policy was in force. Final
        premium will not be less than the pro rata share of the minimum premium.


                                                          PART SIX-CONDITIONS

A.   Inspection is amended by adding this sentence:
     Your failure to comply with the safety recommendations made as a result of an inspection may cause the policy
     to be canceled by us.

C. Transfer of Your Rights and Duties is amended to read:
     Your rights and duties under this policy may not be transferred without our written consent. If you die, coverage
     will be provided for your surviving spouse or your legal representative. This applies only with respect to their
     acting in the capacity as an employer and only for the workplaces listed in Items 1 and 4 on the Information Page.


D. Cancelation is amended to read:
   1. You may cancel this policy. You must mail or deliver advance notice to us stating when the cancelation is to
      take effect.
   2. We may cancel this policy. We may also decline to renew it. We must give you written notice of cancelation
      or nonrenewal. That notice will be sent certified mail or delivered to you in person. A copy of the written notice
      will be sent to the Texas Department of Insurance-Division of Workers' Compensation.
     3.    Notice of cancelation or nonrenewal must be sent to you not later than the 30th day before the date on which
                                                                                                                   1Oth
           the cancelation or nonrenewal becomes effective, except that we may send the notice not later than the 10th
           day before the date on which the cancelation or nonrenewal becomes effective if we cancel or do not renew
           because of:
           a. Fraud in obtaining coverage;
           b.   Misrepresentation of the amount of payroll for purposes of premium calculation;
           c.   Failure to pay a premium when payment was due;
           d.   An increase in the hazard for which you seek coverage that results from an action or omission and that
                would produce an increase in the rate, including an increase because of failure to comply with
                reasonable recommendations for loss control or to comply within a reasonable period with
                recommendations designed to reduce a hazard that is under your control;
           e.   A determination by the Commissioner of Insurance that the continuation of the policy would place us in
                violation of the law, or would be hazardous to the interests of subscribers, creditors, or the general public.
      4.   If another insurance company notifies the Texas Department of Insurance-Division of Workers'
           Compensation that it is insuring you as an employer, such notice shall be a cancelation of this policy effective
           when the other policy starts.




                                                  Decl. Barnett,
                                                            2 of 3 Ex. B-144

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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 214 of 514 Page ID
                                      #:1166
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
                                                                                                                  WC 42 03 01 G

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                                PART SEVEN-OUR DUTY TO YOU FOR CLAIM NOTIFICATION

A. Claims Notification
    We are required to notify you of any claim that is filed against your policy. Thereafter we shall notify you of any
    proposal to settle a claim or, on receipt of a written request from you, of any administrative or judicial
                                                                                                      jUdicial proceeding
    relating to the resolution of a claim, including a benefit review conference conducted by the Texas Department of
    Insurance-Division of Workers' Compensation. You may, in writing, elect to waive this notification requirement.

    We shall, on the written request from you, proVide
                                               provide you with a list of claims charged against your policy, payments
    made and reserves established on each claim, and a statement explaining the effect of claims on your premium
    rates. We must furnish the requested information to you in writing no later than the 30th day after the date we
    receive your request. The information is considered to be provided on the date the information is received by the
    United States Postal Service or is personally delivered.


COMPLAINT NOTICE: SHOULD ANY DISPUTE ARISE ABOUT YOUR PREMIUM OR ABOUT A CLAIM THAT YOU
HAVE FILED, CONTACT THE AGENT OR WRITE TO THE COMPANY THAT ISSUED THE POLICY. IF THE
PROBLEM IS NOT RESOLVED, YOU MAY ALSO WRITE THE TEXAS DEPARTMENT OF INSURANCE,
                                                                         FAX # (512) 475-1771.
CONSUMER PROTECTION (111-1A), P.O. BOX 149091, AUSTIN, TEXAS 78714-9091, FAX#
THIS NOTICE OF COMPLAINT PROCEDURE IS FOR INFORMATION ONLY AND DOES NOT BECOME A PART
OR CONDITION OF THIS POLICY.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective                01/01/2017
  Endorsement Effective           01/01/2017                                 Policy No. WD001482             Endorsement No.
  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENTc(
                                                                            MANAGEMENTef                              Premium

  Insurance Company            Protective Insurance Company                               by--~------------
                                                                                             ~
                                                                            Countersigned by _ _                                  _



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
                                                                                                                  WC 42 04 02 A

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                                TEXAS ANNIVERSARY RATING DATE ENDORSEMENT

The premium for this policy and the experience rating modification factor, if any, may change on your anniversary
rating date shown in the Schedule.



                                                            Schedule


Anniversary Rating Date .J&.
                        .J&_ (Month) ~
                                     __;ill,_ (Day)




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective          01/01/2017
  Endorsement Effective     01/01/2017                            Policy No. WD001482                       Endorsement No.
  Insured                   PERSONNEL STAFFING GROUP.
                                               GROUP, LLe     BARNEn MANAGEMENT . ~
                                                      LLC DBA BARNETI             ~/7                                Premium

  Insurance Company       Protective Insurance Company           Countersigned by       ~~

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we
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                                             TEXAS-AUDIT PREMIUM AND
                                        RETROSPECTIVE PREMIUM ENDORSEMENT

Section D of Part Five of the policy is replaced by the following provision:

                                                     PART FIVE-PREMIUM

D.     Premium Payments
       You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
       not valid. The billing statement or invoice for audit additional premiums and/or retrospective additional premiums
       establishes the date that the premium is due.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective            01/01/2017
                              01/0112017
  Endorsement Effective       01/01/2017                            Policy No. WD001482                          Endorsement No.
  Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT              /J           .          Premium

     Insurance Company      Protective Insurance Company           Countersigned by           ~C('
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 45 06 02
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                                             VIRGINIA AMENDATORY ENDORSEMENT

This endorsement applies only to the Virginia insurance provided by the policy because Virginia is shown in Item 3.A.
of the Information Page.

For Virginia insurance, Part Six D. (Conditions-Cancelation) is replaced by:

1.     Yours truly, may cancel this policy. You must mail or deliver advance written notice to us. You must provide
       written notice of your cancelation, including the date of and reasons for the cancelation, to the Workers
       Compensation Commission.

2.     We may cancel this policy. We will provide you with 30 days notice of cancelation. We will provide the Workers
       Compensation Commission with immediate notice of such cancelation. This provision does not apply if you have
       obtained other insurance and that insurer has notified the Workers Compensation Commission that it is now
       providing your insurance.

3.     In the event of cancelation by you or us, you must provide 30 days written notice of the cancelation to your
       covered employees.

4.     We may nonrenew your policy. We will provide 30 days notice to you and to the Workers Compensation
       Commission of our decision to nonrenew. This provision does not apply if you have obtained other insurance and
       that insurer has notified the Workers Compensation Commission that it is now providing your insurance.

5.     If you fail to pay the premium due on this policy, we may cancel the policy by providing 10 days notice to you and
       to the Workers Compensation Commission.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           01/01/2017
     Endorsement Effective      01/01/2017                           Policy No. WD001482                        Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                             /J     Premium

     Insurance Company       Protective Insurance Company           Countersigned by              ~C('
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
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   WEST VIRGINIA EMPLOYERS LIABILITY INSURANCE INTENTIONAL ACT EXCLUSION ENDORSEMENT


Part Two-Employers Liability Insurance, C.-Exclusions, 5. is replaced by the following:

   This insurance does not cover:
   5. bodily injury intentionally caused or aggravated by you or which is the result of your engaging in conduct
       equivalent to an intentional tort, however defined, including by your deliberate intention as that term is defined
       by W.  Va. Code
          W.Va.   Code§ § 23-4-2(d)(2).




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective              01/01/2017
 Endorsement Effective         01/01/2017                                  Policy No. WD001482              Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT               /J               Premium

 Insurance Company              Protective Insurance Company             Countersigned by        ~1:        cr
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                                     #:1171
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we
                                                                         WC 47 03 02

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   WEST VIRGINIA WORKERS COMPENSATION INSURANCE RECOVERY FROM OTHERS ENDORSEMENT




Part One-Workers Compensation Insurance, G.-Recovery From Others, is replaced by the following:
    We have your rights to recover our payments from anyone liable for the injury. You will do everything necessary
    to protect those rights for us and to help us enforce them.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective               01/01/2017
Endorsement Effective          01/01/2017                                 Policy No. WD001482              Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                Premium



Insurance Company              Protective Insurance Company                              ---'<C~---·
                                                                        Countersigned by _ _..!<:~
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                                     #:1172
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
                                                                                                                    WC 47 06 01

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                                        WEST VIRGINIA CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because West Virginia is shown in Item 3.A of
the Information Page.
Part Six, D (Conditions-Cancellation) is replaced by:

D. Cancellation
    1. You may cancel this policy. You must mail or deliver advance written notice to us by stating when the
       cancellation is to take effect.
    2. We may cancel this policy at any time by providing you thirty (30) days advance written notice.
    3. Not withstanding #2 above, if you fail to pay any premium due or refuse to comply with a premium audit under
       this policy, we may cancel the policy by providing you ten (10) days advance written notice.
    4. We may also choose not to renew this policy by providing sixty (60) days advance written notice.
    5. Our mailing of the Notice of Cancellation or Non-Renewal to your mailing address as listed in Item 1 of the
       information page will be sufficient notice of our intent to cancel. We will also provide notice of the cancellation
       or non-renewal of the policy to the West Virginia Insurance Commissioner at least ten (1    (10)
                                                                                                     0) days prior to the
       effective date of the termination, within ten (10)
                                                     (1 0) days of receipt of your request for cancellation, as applicable.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               01/01/2017
  Endorsement Effective          01/01/2017                                 Policy No. WD001482             Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           /J Premium
  Insurance Company              Protective Insurance Company             Countersigned by --=~----=---1:_,_
                                                                                           _ _.!<..~   -=---_cr--,,-________


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  (Ed. 7-08)
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 221 of 514 Page ID
                                       #:1173
                   (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)




                                                           ENDORSEMENT

This endorsement, effective on              01/01/2017                   at 12:01 A.M. standard time, forms a part of

Policy No.        WD001482                  of the Protective Insurance Company

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By                Protective Insurance Company



                                                                                               Authorized Representative


In addition to the Loss Conversion Factor listed on Endorsement PWC-1, "Deductible Endorsement," the following Loss
Conversion Factor applies to New York losses only.


1.0818            on all payments made for inpatient and outpatient hospital care, services of freestanding
                  comprehensive clinics and ambulatory surgery centers, and laboratory services of certified
                  laboratories for New York drawn specimens no matter where the laboratory is located.


THIS LOSS CONVERSION FACTOR IS AN ANNUAL ESTIMATE.

This loss conversion factor is an estimate applying to loss payments made during the policy period.

On the policy anniversary date and every twelve months thereafter a new estimate will be established applying to loss
payments made in the subsequent twelve months.

Each twelve month period for which an estimated loss conversion factor has been applied will be adjusted by applying a
final loss conversion factor as established by the State of New York. This final adjustment for each period will be made
twelve months after the period ends.

This loss conversion factor applies in addition to and not in place of the loss conversion factor listed on PWC-1,
"Deductible Endorsement."




Endorsement No.


                                                     Decl. Barnett, Ex. B-152
                                                                    Page 1 of 2

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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 222 of 514 Page ID
                                       #:1174
                 (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)

On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand and
accept the terms and contents of this endorsement.


                             PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

                                                                             Insured


 Date of Execution

                                                      By                               _
                                                      By --------------------------------


                                                                                   Title




Endorsement No.
                                                  Decl. Barnett,
                                                         Page 2 of 2 Ex. B-153

NY1001 (03/00)
NY1001
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 223 of 514 Page ID
                                       #:1175

                                        PROTECTIVE INSURANCE COMPANY
                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                             Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on                  01/01/2017               at 12:01 A.M.   ~tandard   time, forms a part of
                                                  (date)

Policy No.      WD001482

Issued to       PERSONNEL STAFFING
                          STAFFING GROUP,
                                   GROUP, LLC
                                          LLC DBA
                                              DBA BARNETTWI
                                                  BARNETT


                                                                         Wf
                PERSONNEL



                                                                      Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies: Alabama, Connecticut, Georgia, Indiana, Iowa, Kentucky, Michigan,
                                            Mississippi, New York, Pennsylvania, Tennessee, Texas, West Virginia
A(2(21icable deductibles:
Applicable
Coverage                          Deductible Amount
Bodily Injury by Accident:        $     500,000               each accident
Bodily Injury by Disease:         $     500,000               each employee

A(2plicable factors:
Applicable                             AL          CT         GA         IN          lA
                                                                                     IA              KY          Ml
                                                                                                                 MI          MS

Excess & Expense Factor:              0.121       0.189      0.123     0.118        0.186           0.148      0.166        0.187

Variable Expense Factor:              0.105       0.097      0.199      0.056       0.063           0.095      0.070        0.069

Est. Deductible Prem.
                Premo Factor:         0.135       0.209      0.154      0.125       0.199           0.164      0.178        0.201

Loss Adjustment Factor:               1.090       1.090      1.090      1.090       1.090           1.090       1.090       1.090



A(2plicable
Applicable factors:                    NY          PA          TN         TX         wv
                                                                                     WV

Excess & Expense Factor:              0.187       0.136       0.101     0.200       0.150

Variable Expense Factor:              0.069       0.090       0.050     0.076       0.082

Est. Deductible Prem.
                Premo Factor:         0.201       0.149       0.106     0.216       0.163

Loss Adjustment Factor:               1.090       1.090       1.090     1.090       1.090




                                              Decl. Barnett, Ex. B-154                                             Page 2 of 3
PWC-1 (1/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 224 of 514 Page ID
                                       #:1176


A.    How This Deductible Applies
      You agree to pay, up to the deductible amount shown above, the total of:
      1.   all benefits required of you by the worker's compensation law (including benefits payable under PART THREE -
           OTHER STATES INSURANCE or under any endorsement); plus
      2.   all sums you legally must pay as damages; plus
      3.   allocated loss adjustment expenses;
      because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.
      In addition, you agree to pay a percentage of 1, 2 and 3 above - stated as a loss adjustment factor.
      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
                                                                     any one accident.
      insurance because of bodily injury to one or more employees in anyone

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The deductible amount shown for "bodily injury by disease" applies separately for each employee.

       Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.     Reimbursement of Deductible Amounts

      We may advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies".
      Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In
      addition, you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor
      stated in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average factor
      and is not based upon the existence or amount of actual loss adjustment expense payments.

C.     Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

       Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
       above the applicable deductibles for this policy and our internal costs and profit expectations.

       Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
       expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are not
       limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
       assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
       rehabilitation funds, premium taxes and other taxes and expenses.

       Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
       variable expense factor. The formula is:

               (1 - VEF)] = DPF
       [EEF I/ (1-

       The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
       and are subject to adjustment based on the variable expense factor then applicable to this policy.

       The variable expense factor will be changed from time to time. Such changes may be retroactive and any change in
       the variable expense factor applicable to this policy will result in a recalculation of the deductible premium factor.
       This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
       recalculations will result in an additional or return premium.

       The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
       change in the variable expense factor applicable to this policy.



                                            Decl. Barnett, Ex. B-155                                               Page 2 of 3
PWC-1 (1/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 225 of 514 Page ID
                                       #:1177

D.
D.    Effect of Deductible on Employers Liability Limits
      With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
      accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
      amount
      amount shown above.

E.
E.    Allocated Loss Adjustment Expense

      Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular claim.
      Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster fees, court
      and other specific items of expense such as medical examination, expert medical or other testimony, laboratory and
      x-ray, autopsy, stenography, witnesses, summonses and copies of documents.

F.
F.    Conditions

      1. We have your rights and the rights of persons entitled to the benefits of this insurance to recover all advances
         and payments, including those within the deductible amount from anyone liable for the injury. You will do
         everything necessary to protect those rights for us and to help us enforce them.

            If we recover any advance or payment made under this policy from anyone liable for the injury, the amount we
            recover will be applied to any payments made by us in excess of the deductible amount; only then will the
            remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed or
                             you.
            reimbursable by you.

      2, The terms of the policy apply irrespective of the deductible amount, including those with respect to:

            (a) defending any suits; and

            (b) your duties if injury occurs.

       3. We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion, and
                             consent from you is not required for our payment. Your obligation to reimburse us after we have
            notice to you or consentfrom
            made payment of all or any part of the deductible amount is absolute and in no way conditional.

       4.   If you fail to reimburse us for a deductible amount that has been paid by us by the 15th day of the month
            following our notice to you of our payment of that amount, we may cancel the policy. You agree that our
            cancellation for your failure to reimburse us for a deductible amount equivalent to and the same as, cancellation
            for non-payment of premium.

       5. We may keep any unearned premium, premium deposits or other funds held by us or available to us to
          reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will pay in
          the future and any unpaid premiums.

G.
G.     Acceptance by the Insured

       On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
       and accept the terms and contents of this endorsement.


                                                  Personnel Staffing Group, LLC DBA Barnett Management
                                                                      Insured

      Date of Execution

                                                By                                 _
                                                By -----------------------------------



                                                                     Title


                                                Decl. Barnett, Ex. B-156                                         Page 3 of 3
PWC-1 (1/92)
PWC-1 (1/92)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 226 of 514 Page ID
                                  #:1178


                                       PROTECTIVE INSURANCE COMPANY
                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                                    Endorsement - Illinois
                                         Deductible Endorsement·

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless
another date is indicated below.

This endorsement, effective on            01101/2017
                                          01/01/2017               at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.          WD001482

Issued to           PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                                ~~
                                                                                ~t
                                                                              Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the
policy. You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:             Illinois

Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $    500,000        each accident

Bodily Injury by Disease:           $    500,000        each employee

Applicable factors:                                IL

Excess & Expense Factor:                       0.147

Variable Expense Factor:                       0.056

Estimated Deductible Premium Factor:           0.156

Loss Adjustment Factor:                        1.090

A.     How This Deductible Applies

      You agree to pay, up to the deductible amount shown above, the total of:

       1.    all benefits required of you by the worker's compensation law (including benefits payable under PART
             THREE-
             THREE - OTHER STATES INSURANCE or under any endorsement); plus

      2.     all sums you legally must pay as damages; plus

       3.    allocated loss adjustment expenses;

       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

       In addition, you agree to pay a percentage of 1, 2 and 3 above-
                                                                above - stated as a loss adjustment factor.




                                        Decl. Barnett, Ex. B-157                                                  Page 1 of 3
PWC-1 (1/92)
      (1/92)-- IL
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 227 of 514 Page ID
                                  #:1179



      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by
      this insurance because of bodily injury to one or more employees in any
                                                                          anyone
                                                                              one accident.

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The deductible amount shown for "bodily injury by disease" applies separately for each employee.

      Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.    Reimbursement of Deductible Amounts

      We will advance all of the deductible amount you agree to pay under "A. How This Deductible Applies". Upon
      notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In addition,
      you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor
      stated in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average
      factor and is not based upon the existence or amount of actual loss adjustment expense payments.

C.    Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

      Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
      above the applicable deductibles for this policy and our internal costs and profit expectations.

      Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering
      the expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but
      are not limited to, second injury fund assessments, administrative cost assessments, residual market
      assessments, assigned risk losses, safety and health consultation funds, guarantee funds, rating and
      inspection bureau fees, rehabilitation funds, premium taxes and other taxes and expenses.

      Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus
      the variable expense factor. The formula is:

      [EEF /I (1 - VEF)]   =DPF
      The variable expense factor and resulting deductible premium factor contained in this endorsement are
      estimates and are subject to adjustment based on the variable expense factor then applicable to this policy.

      The variable expense factor will be changed from time to time. Such changes may be retroactive and any
      change in the variable expense factor applicable to this policy will result in a recalculation of the deductible
      premium factor. This recalculation will be made upon the first and subsequent anniversary dates of this policy
      and such recalculations will result in an additional or return premium.

      The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
      change in the variable expense factor applicable to this policy.

D.    Effect of Deductible on Employers Liability Limits

      With respect to the employers liability insurance provided by this policy, the applicable "each employee" or
      "each accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable
      deductible amount shown above.




                                       Decl. Barnett, Ex. B-158                                               Page 2 of 3
      (1/92)-- IL
PWC-1 (1/92)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 228 of 514 Page ID
                                  #:1180

E.    Allocated Loss Adjustment Expense

      Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular
      claim. Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster
      fees, court and other specific items of expense such as medical examination, expert medical or other
      testimony, laboratory and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.
      These expenses shall not include the salaries of our employees or staff attorneys.

F.    Conditions

      1.   We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
           advances and payments, including those within the deductible amount from anyone liable for the injury.
           You will do everything necessary to protect those rights for us and to help us enforce them.

           If we recover any advance or payment made under this policy from anyone liable for the injury, the amount
           we recover will first be applied to any payments made by us in excess of the deductible amount; only then
           will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed
           or reimbursable by you.

      2    The terms of the policy apply irrespective of the deductible amount, including those with respect to:

           (a) defending any suits; and

           {b) your duties if injury occurs.
           (b)

      3.   We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion,
           and notice to you or consent from you is not required for our payment. Your obligation to reimburse us
           after we have made payment of all or any part of the deductible amount is absolute and in no way
           conditional.

      4.   If you fail to reimburse us for a deductible amount that has been paid by us by the 15th day of the month
           following our notice to you of our payment of that amount, we may cancel the policy.

      5.   We may keep any unearned premium, premium deposits or other funds held by us or available to us to
           reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
           pay in the future and any unpaid premiums.

G.    Acceptance by the Insured

      On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read,
      understand and accept the terms and contents of this endorsement.


                                                 Personnel Staffing Group, LLC DBA Barnett Management
                                                                       Insured

     Date of Execution

                                               By                               _
                                               By ---------------------------------



                                                                      Title




                                       Decl. Barnett, Ex. B-159                                              Page 3 of 3
PWC-1
PWG-1 (1/92)-
      (1/92) - IL
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 229 of 514 Page ID
                                  #:1181
                                        PROTECTIVE INSURANCE COMPANY
                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                             Deductible Endorsement


 This endorsement changes the policy to which it is attached effective on the inception date of the policy unless
 another date is indicated below.

 This endorsement, effective on            01/01/2017          at 12:01 A.M. standard time, forms a part of
                                               (date)

 Policy No.        WD001482

 Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                            ~~
                                                                            ~t
                                                                          Authorized Representative

 This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the
 policy. You will reimburse us for any deductible amounts that we advance or are required by law to pay.

 State(s) to which this endorsement applies:         North Carolina


 Applicable deductibles:

 Coverage                            Deductible Amount

 Bodily Injury by Accident:          $   500,000     each accident

 Bodily Injury by Disease:           $   500,000     each employee

 Applicable factors:                                      NC

 Excess & Expense Factor:                               0.163

 Variable Expense Factor:                               0.070

 Estimated Deductible Premium Factor:                   0.175

 Loss Adjustment Factor:                                 1.090


 A.   How This Deductible Applies

      You agree to pay, up to the deductible amount shown above, the total of:

      1.      all benefits required of you by the worker's compensation law (including benefits payable under PART
              THREE-- OTHER STATES INSURANCE or under any endorsement); plus
              THREE

      2.      all sums you legally must pay as damages; plus

      3.      allocated loss adjustment expenses;

       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.



 PWC-1A (1/92)                                                                                           Page 1 of 3
                                     Decl. Barnett, Ex. B-160
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 230 of 514 Page ID
                                  #:1182


       In addition, you agree to pay a percentage of 1, 2 and 3 above-
                                                                above - stated as a loss adjustment factor.

       We will pay only those amounts of benefits and damages that exceed the applicable deductible amount
       shown above.

       The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by
       this insurance because of bodily injury to one or more employees in any
                                                                           anyone
                                                                               one accident.

       A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

       The deductible amount shown for "bodily injury by disease" applies separately for each employee.

       Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

 B.    Reimbursement of Deductible Amounts

       We will advance all of the deductible amount you agree to pay under "A. How This Deductible Applies".
       Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In
       addition, you will pay us an amount for loss adjustment expense computed by multiplying
                                                                                             mUltiplying the loss
       adjustment factor stated in this endorsement times the deductible amount paid by us. The loss adjustment
       factor is an average factor and is not based upon the existence or amount of actual loss adjustment
       expense payments.

 C.    Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium
       Factor

       Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for
       insurance above the applicable deductibles for this policy and our internal costs and profit expectations.

       Variable expense factor (VEF) is a factor established by us for each state, for all similar policies,
       considering the expenses which may vary by the amount of premium earned or losses paid. Variable
       expenses include, but are not limited to, second injury fund assessments, administrative cost assessments,
       residual market assessments, assigned risk losses, safety and health consultation funds, guarantee funds,
       rating and inspection bureau fees, rehabilitation funds, premium taxes and other taxes and expenses.

       Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1
       minus the variable expense factor. The formula is:

                          =
       [EEF /I (1 - VEF)] = DPF

       The variable expense factor and resulting deductible premium factor contained in this endorsement are
       estimates and are subject to adjustment based on the variable expense factor then applicable to this policy.

       The variable expense factor will be changed from time to time. Such changes may be retroactive and any
       change in the variable expense factor applicable to this policy will result in a recalculation of the deductible
       premium factor. This recalculation will be made upon the first and subsequent anniversary dates of this
       policy and such recalculations will result in an additional or return premium.

       The variable expense factor and deductible premium factor will continue to be adjusted until there is no
       further change in the variable expense factor applicable to this policy.

 D.    Effect of Deductible on Employers Liability Limits

       With respect to the employers liability insurance provided by this policy, the applicable "each employee" or
       "each accident" limits of liability are reduced, as to you, by the sum of all such damages within the
       applicable deductible amount shown above.



 PWC-1A (1/92)                                                                                            Page 2 of 3
                                    Decl. Barnett, Ex. B-161
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 231 of 514 Page ID
                                  #:1183

 E.      Allocated Loss Adjustment Expense

         Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular
         claim. Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster
         fees, court and other specific items of expense such as medical examination, expert medical or other
         testimony, laboratory and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.
         These expenses shall not include the salaries of our employees or staff attorneys.

 F.      Conditions

        1.          We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                    advances and payments, including those within the deductible amount from anyone liable for the
                    injury. You will do everything necessary to protect those rights for us and to help us enforce them.

                    If we recover any advance or payment made under this policy from anyone liable for the injury, the
                    amount we recover will first be applied to any payments made by us in excess of the deductible
                    amount; only then will the remainder of that recovery, if any, be applied to reduce the deductible
                    amount paid or reimbursed or reimbursable by you.

       2 .          The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                    (a) defending any suits; and

                    (b) your duties if injury occurs.

       3.           We have the sole and exclusive right to pay all or any part of the deductible amount at our sole
                    discretion, and notice to you or consent from you is not required for our payment. Your obligation to
                    reimburse us after we have made payment of all or any part of the deductible amount is absolute
                    and in no way conditional.

       4.           If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the
                    month following our notice to you of our payment of that amount, we may cancel the policy.

        5.          We may keep any unearned premium, premium deposits or other funds held by us or available to
                    us to reimburse us for payments of the deductible amounts paid by us, deductible amounts we
                    estimate we will pay in the future and any unpaid premiums.

 G.          Acceptance by the Insured

             On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read,
             understand and accept the terms and contents of this endorsement.


                                                   Personnel Staffing Group, LLC DBA Barnett Management
                                                                       Insured

      Date of Execution

                                              By



                                                                        Title




 PWC-1A (1/92)                                                                                        Page 3 of 3


                                        Decl. Barnett, Ex. B-162
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 232 of 514 Page ID
                                  #:1184
                                       PROTECTIVE INSURANCE COMPANY
                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                          Reimbursement Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless
another date is indicated below.

This endorsement, effective on            01/01/2017          at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                          ~t
                                                                          ~~
                                                                         Authorized Representative

This reimbursement endorsement applies between you and us. It does not affect or alter the rights of others under
                                                                                 required by law to pay.
the policy. You will pay us for any reimbursement amounts that we advance or are reqUired

State(s) to which this endorsement applies:        Delaware


Applicable reimbursement amounts:

Coverage                            Reimbursement Amount

Bodily Injury by Accident:          $    500,000                each accident

Bodily Injury by Disease:           $    500,000                each employee


Applicable factors:                                               DE

 Excess & Expense Factor:                                        0.126

Variable Expense Factor:                                         0.206

 Estimated Reimbursement Amount Premium Factor:                  0.159

 Loss Adjustment Factor:                                         1.090


 A.   How This Reimbursement Applies

      You agree to pay, up to the reimbursement amount shown above, the total of:

      1.    all benefits required of you by the worker's compensation law (including benefits payable under PART
            THREE-- OTHER STATES INSURANCE or under any endorsement); plus
            THREE

      2.    all sums you legally must pay as damages; plus

      3.    allocated loss adjustment expenses;

       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

       In addition, you agree to pay a percentage of 1, 2 and 3 above - stated as a loss adjustment factor.




                                        Decl. Barnett, Ex. B-163                                              Page 1 of 3
 PWC-1B
 PWC-18 (1/92)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 233 of 514 Page ID
                                  #:1185
      We will pay only those amounts of benefits and damages that exceed the applicable reimbursement amount
      shown above.

      The reimbursement amount shown for "bodily injury by accident" applies separately to each accident covered
                                                                             any one accident.
      by this insurance because of bodily injury to one or more employees in anyone

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The reimbursement amount shown for "bodily injury by disease" applies separately for each employee.

      Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.    Payment of Reimbursement Amounts This Reimbursement Applies

      We may advance all of the reimbursement amount you agree to pay under "A. How This Reimbursement
      Applies." Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so ',
      advanced. In addition, you will reimburse us an amount for loss adjustment expense computed by mUltiplying
                                                                                                      multiplying
      the loss adjustment factor stated in this endorsement times the reimbursement amount paid by us. The loss
      adjustment factor is an average factor and is not based upon the existence or amount of actual loss
      adjustment expense payments.

c.
C.    Application of Excess and Expense Factor, Variable Expense Factor and Reimbursement Amount
      Premium Factor

      Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
      above the applicable reimbursement amounts for this policy and our internal costs and profit expectations.

      Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering
      the expenses which may vary by the amount of premium earned or losses paid. Variable expenses include,
      but are not limited to, second injury fund assessments, administrative cost assessments, residual market
      assessments, assigned risk losses, safety and health consultation funds, guarantee funds, rating and
      inspection bureau fees, rehabilitation funds, premium taxes and other taxes and expenses.

      Reimbursement amount premium factor (RAPF) is a factor calculated by dividing the excess and expense
      factor by 1 minus the variable expense factor. The formula is:

      [EEF I/ (1 - VEF)]   =RAPF
      The variable expense factor and resulting reimbursement amount premium factor contained in this
      endorsement are estimates and are subject to adjustment based on the variable expense factor then
      applicable to this policy.

      The variable expense factor will be changed from time to time. Such changes may be retroactive and any
      change in the variable expense factor applicable to this policy will result in a recalculation of the
      reimbursement amount premium factor. This recalculation will be made upon the first and subsequent
      anniversary dates of this policy and such recalculations will result in an additional or return premium.

      The variable expense factor and reimbursement amount premium factor will continue to be adjusted until there
      is no further change in the variable expense factor applicable to this policy.

 D.    Effect of Reimbursement Amount on Employers' Liability Limits

      With respect to the employers liability insurance provided by this policy, the applicable "each employee" or
      "each accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable
      reimbursement amount shown above.




                                       Decl. Barnett, Ex. B-164                                               Page 2 of 3
 PWC-18 (1/92)
 PWC-1B
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 234 of 514 Page ID
                                  #:1186

E.   Allocated Loss Adjustment Expense

     Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular
     claim. Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster
     fees, court and other specific items of expense such as medical examination, expert medical or other
     testimony, laboratory and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.

F.   Conditions

     1.          We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                 advances and payments, including those within the reimbursement amount from anyone liable for the
                 injury. You will do everything necessary to protect those rights for us and to help us enforce them.

                 If we recover any advance or payment made under this policy from anyone liable for the injury, the
                 amount we recover will first be applied to any payments made by us in excess of the reimbursement
                 amount, only then will the remainder of the recover, if any, be applied to reduce the reimbursement
                 amount paid or payable by you.

     2.          The terms of the policy apply irrespective of the reimbursement amount, including those with respect
                 to:

                 (a) defending any suits; and

                 (b) your duties if injury occurs.

     3.          We have the sole and exclusive right to pay all or any part of the reimbursement amount at our sole
                 discretion, and notice to you or consent from you is not required for our payment. Your obligation to
                 reimburse us after we have made payment of all or any part of the reimbursement amount is absolute
                 and in no way conditional.

     4.                                                                                            15th day of the month
                 If you fail to pay us for a reimbursement amount that has been paid by us by the 15th
                 following our notice to you of our payment of that amount, we may cancel the policy. You agree that
                 our cancellation for your failure to pay us for a reimbursed amount is equivalent to, and the same as,
                 cancellation for non-payment of premium.

      5.         We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                 reimburse us for payments of the reimbursement amounts paid by us, reimbursement amounts we
                 estimate we will pay in the future and any unpaid premiums.

G.    Acceptance by the Insured

      On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read,
      understand and accept the terms and contents of this endorsement.


                                                     Personnel Staffing Group, LLC DBA Barnett Management
                                                                         Insured

     Date of Execution

                                               By                                 _
                                               By ----------------------------------



                                                                        Title




                                         Decl. Barnett, Ex. B-165                                            Page 3 of 3
PWC-1B
PWC-1   (1/92)
      B (1/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 235 of 514 Page ID
                                       #:1187

                                        PROTECTIVE INSURANCE COMPANY
                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                             Deductible Endorsement


This endorsement changes the policy to which it is attached effective on the inception date of the policy unless
another date is indicated below.

This endorsement, effective on            01/01/2017           at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                           ~~
                                                                           ~t
                                                                             Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the
policy. You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:             Florida, New Hampshire


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $   500,000         each accident

Bodily Injury by Disease:           $   500,000         each employee

Applicable factors:                                FL          NH

Excess & Expense Factor:                       0.170          0.153

Variable Expense Factor:                       0.076          0.133

Estimated Deductible Premium Factor:           0.184          0.176

Loss Adjustment Factor:                        1.090          1.090


A.    How This Deductible Applies

      You agree to pay, up to the deductible amount shown above, the total of:

      1.     all benefits required of you by the worker's compensation law (including benefits payable under PART
             THREE
             THREE-- OTHER STATES INSURANCE or under any endorsement); plus

      2.     all sums you legally must pay as damages; plus

      3.     allocated loss adjustment expenses;

       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

       In addition, you agree to pay a percentage of 1, 2 and 3 above
                                                                above-- stated as a loss adjustment factor.

                                         Decl. Barnett, Ex. B-166                                             Page 1 of 3
PWC-1C (5/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 236 of 514 Page ID
                                       #:1188


      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
                                                                     any one accident.
      insurance because of bodily injury to one or more employees in anyone

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The deductible amount shown for "bodily injury by disease" applies separately for each employee.

      Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.    Reimbursement of Deductible Amounts

      We will advance all of the deductible amount you agree to pay under "A. How This Deductible Applies". Upon
      notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In addition,
      you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor
      stated in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average
      factor and is not based upon the existence or amount of actual loss adjustment expense payments.

C.    Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor
         J

      Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
      above the applicable deductibles for this policy and our internal costs and profit expectations.

      Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
      expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are
      not limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
      assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
      rehabilitation funds, premium taxes and other taxes and expenses.

      Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus
      the variable expense factor. The formula is:

      [EEF I/ (1 - VEF)] = DPF

D.    Effect of Deductible on Employers Liability Limits

      With respect to the employers' liability insurance provided by this policy, the applicable "each employee" or
      "each accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable
      deductible amount shown above.

E.    Allocated Loss Adjustment Expense

      Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular
      claim. Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster
      fees, court and other specific items of expense such as medical examination, expert medical or other testimony,
      laboratory and x-ray, autopsy, stenography, witnesses, summonses and copies of documents. These expenses
      shall not include the salaries of our employees or staff attorneys.




                                           Decl. Barnett, Ex. B-167                                               Page 2 of 3
PWC-1C (5/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 237 of 514 Page ID
                                       #:1189


F.    Conditions

      1.         We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                 advances and payments, including those within the deductible amount from anyone liable for the injury.
                 You will do everything necessary to protect those rights for us and to help us enforce them.

                 If we recover any advance or payment made under this policy from anyone liable for the injury, the
                 amount we recover will first be applied to any payments made by us in excess of the deductible
                 amount; only then will the remainder of that recovery, if any, be applied to reduce the deductible
                 amount paid or reimbursed or reimbursable by you.

      2.         The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                 (a) defending any suits; and

                 (b) your duties if injury occurs.


      3.         We have the sole
                                sale and exclusive right to pay all or any part of the deductible amount at our sole
                                                                                                                  sale
                 discretion, and notice to you or consent from you is not required for our payment. Your obligation to
                 reimburse us after we have made payment of all or any part of the deductible amount is absolute and
                 in no way conditional.

      4.         If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the
                 month following our notice to you of our payment of that amount, we may cancel the policy.

      5.         We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                 reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we
                 will pay in the future and any unpaid premiums.

G.    Acceptance by the Insured

      On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read,
      understand and accept the terms and contents of this endorsement.


                                                     Personnel Staffing Group, LLC DBA Barnett Management
                                                                         Insured

     Date of Execution

                                              By



                                                                        Title




                                            Decl. Barnett, Ex. B-168                                           Page 3 of 3
 PWC-1C (5/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 238 of 514 Page ID
                                       #:1190

                                           PROTECTIVE INSURANCE COMPANY
                                 WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                                Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another date
is indicated below.

This endorsement, effective on           01/01/2017         at 12:01 A.M. standard time, forms a part of
                                             (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT



                                                                        Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:       Kansas


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $   500,000                 each accident

Bodily Injury by Disease:           $   500,000                 each employee


 Applicable factors:

 Excess & Expense Factor:                               0.130

 Variable Expense Factor:                               0.094

  Estimated Loss Retention Adjustment Factor:           0.143

  Loss Adjustment Factor:                               1.090


A.    How This Deductible Applies

      You agree to pay, up to the deductible amount shown above, the total of:

      1.    all benefits required of you by the worker's compensation law (including benefits payable under PART THREE -
            OTHER STATES INSURANCE or under any endorsement); plus

      2.    all sums you legally must pay as damages;

      because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

      In addition, you agree to pay a percentage of 1 and 2 above - stated as a loss adjustment factor.




                                           Decl. Barnett, Ex. B-169                                               Page 1 of 3

 PWC-11 (1/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 239 of 514 Page ID
                                       #:1191


       We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
       above.

        The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
        insurance because of bodily injury to one or more employees in any
                                                                       anyone
                                                                           one accident.

        A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

        The deductible amount shown for "bodily injury by disease" applies separately for each employee.

        Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.      Reimbursement of Deductible Amounts

        We may advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies."
        Upon notice of the action taken, you will reimburse us promptly for any amount(s}
                                                                                amount(s) we have so advanced. In addition,
        you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor stated
        in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average factor and
        is not based upon the existence or amount of actual loss adjustment expense payments.

C.      Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

        Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
        above the applicable deductibles for this policy and our internal costs and profit expectations.

        Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
        expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are
        not limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
        assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
        rehabilitation funds, premium taxes and other taxes and expenses.

        Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
        variable expense factor. The formula is:

                           =DPF
        [EEF /I (1 - VEF)] =

        The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
        and are subject to adjustment based on the variable expense factor then applicable to this policy.

        The variable expense factor will be changed from time to time. Such changes may be retroactive and any change
        in the variable expense factor applicable to this policy will result in a recalculation of the deductible premium factor.
        This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
        recalculations will result in an additional or return premium.

        The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
        change in the variable expense factor applicable to this policy

D.      Effect of Deductible on Employers Liability Limits

        With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
        accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
        amount shown above.




                                            Decl. Barnett, Ex. B-170                                                 Page 2 of 3
PWC-11 (1/92)
PWC-11
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 240 of 514 Page ID
                                        #:1192


E.
E.      Conditions

        1.      We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                advances and payments, including those within the deductible amount from anyone liable for the injury.
                You will do everything necessary to protect those rights for us and to help us enforce them.

                If we recover any advance or payment made under this policy from anyone liable for the injury, the amount
                we recover will first be applied to any payments made by us in excess of the deductible amount; only then
                will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed
                or reimbursable by you.

        2.      The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                (a) defending any suits; and

                (b) your duties if injury occurs.

        3.      We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion,
                and notice to you or consent from you is not required for our payment. Your obligation to reimburse us after
                we have made payment of all or any part of the deductible amount is absolute and in no way conditional.

        4.      If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the month
                following our notice to you of our payment of that amount, we may cancel the policy. You agree that our
                cancellation for your failure to reimburse us for a deductible amount is equivalent to, and the same as,
                cancellation for non-payment of premium.

        5.      We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
                pay in the future and any unpaid premiums.

F.
F.      Acceptance by the Insured

        On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
        and accept the terms and contents of this endorsement.




                                                                 Group, LLC DBA Barnett Management
                                              Personnel Staffing Group.
                                                                  Insured

     Date of Execution
     Date

                                          By                                 _
                                          By ----------------------------------



                                                                   Title




                                           Decl. Barnett, Ex. B-171                                              Page 3 of 3
PWC-11 (1/92)
PWC-11 (1/92)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 241 of 514 Page ID
                                       #:1193


                                          PROTECTIVE INSURANCE COMPANY
                                WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                              Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01/01/2017         at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                         W0t
                                                                         f;J0/
                                                                        Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:        South Carolina


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $   500,000                each accident

Bodily Injury by Disease:           $   500,000                each employee

Applicable factors:

Excess &
       & Expense Factor:                          0.140

Variable Expense Factor:                          0.138

Estimated Deductible Premium Factor:              0.162

Loss Adjustment Factor:                           1.090

A.   How This Deductible Applies

     You agree to pay, up to the deductible amount shown above, the total of:

     1.     all benefits required of you by the worker's compensation law (including benefits payable under PART THREE
                                                                                                                 THREE--
            OTHER STATES INSURANCE or under any endorsement); plus

     2.     all sums you legally must pay as damages; plus

     3.     allocated loss adjustment expenses;

     because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.




PWC-1J (1/92)                              Decl. Barnett, Ex. B-172                             Page 1 of 3
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 242 of 514 Page ID
                                       #:1194



       In addition, you agree to pay a percentage of 1, 2 and 3 above-
                                                                above - stated as a loss adjustment factor.

      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
      insurance because of bodily injury to one or more employees in any
                                                                     anyone
                                                                         one accident.

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

       The deductible amount shown for "bodily injury by disease" applies separately for each employee.

       Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.     Reimbursement of Deductible Amounts

       We may advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies."
       Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In
       addition, you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment
       factor stated in this endorsement times the deductible amount paid by us. The loss adjustment factor·
                                                                                                          factor' is an
       average factor and is not based upon the existence or amount of actual loss adjustment expense payments.

c.
C.     Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

       Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
       above the applicable deductibles for this policy and our internal costs and profit expectations.

       Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
       expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are
       not limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
       assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
       rehabilitation funds, premium taxes and other taxes and expenses.

       Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
       variable expense factor. The formula is:

       [EEF /I (1 - VEF)]   =DPF
       The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
       and are subject to adjustment based on the variable expense factor then applicable to this policy.

       The variable expense factor will be changed from time to time. Such changes may be retroactive and any change
       in the variable expense factor applicable to this policy will result in a recalculation of the deductible premium factor.
       This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
                                                             premium...·
       recalculations will result in an additional or return premium

       The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
       change in the variable expense factor applicable to this policy.

D.     Effect of Deductible on Employers Liability Limits

       With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
       accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
       amount shown above.




                                          Decl. Barnett, Ex. B-173
PWC-1J (1/92)                                                                                     Page 2 of 3
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 243 of 514 Page ID
                                       #:1195



E.      Allocated Loss Adjustment Expense

        Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular claim.
        Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster fees, court
        and other specific items of expense such as medical examination, expert medical or other testimony, laboratory
        and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.

F.      Conditions

        1.       We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                 advances and payments, including those within the deductible amount from anyone liable for the injury.
                 You will do everything necessary to protect those rights for us and to help us enforce them.

                 If we recover any advance or payment made under this policy from anyone liable for the injury, the amount
                 we recover will first be applied to any payments made by us in excess of the deductible amount; only then
                 will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed
                 or reimbursable by you.

        2.       The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                 (a) defending any suits; and

                 (b) your duties if injury occurs.

        3.       We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion,
                 and notice to you or consent from you is not required for our payment. Your obligation to reimburse us
                 after we have made payment of all or any part of the deductible amount is absolute and in no way
                 conditional.

        4.       If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the month
                 following our notice to you of our payment of that amount, we may cancel this endorsement.

        5.       We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                 reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
                 pay in the future and any unpaid premiums.

G.      Acceptance by the Insured

         On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
         and accept the terms and contents of this endorsement.



                                                Personnel Staffing Group,
                                                                   Group. LLC DBA Barnett Management
                                                                    Insured

     Date of Execution

                                           By



                                                                    Title




 PWC-1J (1/92)                              Decl. Barnett, Ex. B-174                             Page 3 of 3
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 244 of 514 Page ID
                                       #:1196

                                          PROTECTIVE INSURANCE COMPANY
                                WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                              Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01/01/2017           at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA B
                                                    BAAR
                                                       RNNE
                                                          E W
                                                            w7tT
                                                               T



                                                                          Authorized Representative


This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:         Missouri


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $    500,000                 each accident

Bodily Injury by Disease:           $    500,000                 each employee


Applicable factors:                                MO

       & Expense Factor:
Excess &                                           0.113

Variable Expense Factor:                           0.068

Estimated Deductible Premium Factor:               0.121

Loss Adjustment Factor:                            1.090

A.   How This Deductible Applies

     You agree to pay, up to the deductible amount shown above, the total of:

     1.     all benefits required of you by the worker's compensation law (including benefits payable under PART THREE
                                                                                                                 THREE--
            OTHER STATES INSURANCE or under any endorsement); plus

     2.     all sums you legally must pay as damages; plus

     3.     allocated loss adjustment expenses;

          because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

          In addition, you agree to pay a percentage of 1, 2 and 3 above - states as a loss adjustment factor.




                                                                                                                  Page 1 of 3

PWC-1L(1/92)                                Decl. Barnett, Ex. B-175
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 245 of 514 Page ID
                                       #:1197

       We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
       above.

       The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
                                                                      any one accident.
       insurance because of bodily injury to one or more employees in anyone

       A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

       The deductible amount shown for "bodily injury by disease" applies separately for each employee.

       Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.     Reimbursement of Deductible Amounts

       We will advance all of the deductible amount you agree to pay under "A. How This Deductible Applies." Upon
       notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In addition,
       you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor stated
       in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average factor and
       is not based upon the existence or amount of actual loss adjustment expense payments.

C.     Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

       Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
       above the applicable deductibles for this policy and our internal costs and profit expectations.

       Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
       expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are
       not limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
       assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
       rehabilitation funds, premium taxes and other taxes and expenses.

       Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
       variable expense factor. The formula is:

       [EEF I/ (1 - VEF)]   =DPF
       The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
                          adjustment based on the variable expense factor then applicable to this policy.
       and are subject to adjustmentbased

       The variable expense factor will be changed from time to time. Such changes may be retroactive and any change
       in the variable expense factor applicable to this policy will result in a recalculation of the deductible premium factor.
       This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
       recalculations will result in an additional or return premium.

       The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
       change in the variable expense factor applicable to this policy.

D.     Effect of Deductible on Employers Liability Limits

       With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
       accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
       amount shown above.



                                                                                                                   Page 2 of 3




PWC-1 L(1/92)                              Decl. Barnett, Ex. B-176
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 246 of 514 Page ID
                                       #:1198

E.     Allocated Loss Adjustment Expense

       Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular claim.
       Such expense shall include, but shall not be limited to: all court costs, fees and expenses; fees for service of
       process; fees to attorneys; costs of undercover operative and detective services; fees of independent adjusters or
       attorneys for investigation or adjustment of claims beyond initial investigation; costs of employing experts for
       preparation of maps, photographs, diagrams, chemical or physical analysis or advice, opinion or testimony
       concerning claims under investigation or in litigation; costs for legal transcripts or testimony taken at coroner's
       inquests, criminal or civil proceedings; costs for copies of any public records; costs of depositions and court-
       reported or recorded statements. Allocated loss adjustment expenses shall not include the salaries of officials,
       administrators or other employees or normal overhead charges such as rent, postage, telephone, lighting,
       cleaning, heating or similar expenses.

F.     Conditions

       1.       We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                advances and payments, including those within the deductible amount from anyone liable for the injury.
                You will do everything necessary to protect those rights for us and to help us enforce them.

                If we recover any advance or payment made under this policy from anyone liable for the injury, the amount
                we recover will first be applied to any payments made by us in excess of the deductible amount; only then
                will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed
                or reimbursable by you.

       2.       The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                (a) defending any suits; and

                (b) your duties if injury occurs.

       3.       We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion,
                and notice to you or consent from you is not required for our payment. Your obligation to reimburse us
                after we have made payment of all or any part of the deductible amount is absolute and in no way
                cond itional.
                conditional.

       4.       If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the month
                following our notice to you of our payment of that amount, we may cancel the policy. You agree that our
                cancellation for your failure to reimburse us for a deductible amount is equivalent to, and the same as,
                cancellation for non-payment of premium.

       5.       We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
                pay in the future and any unpaid premiums.

G.     Acceptance by the Insured

       On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
       and accept the terms and contents of this
                                             this endorsement.

                                               Personnel Staffing Group,
                                                                  Group. LLC DBA Barnett Management
                                                                   Insured

     Date of Execution
                                          By


                                                                   Title


                                                                                                               Page 3 of 3

PWC-1 L(1/92)                              Decl. Barnett, Ex. B-177
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 247 of 514 Page ID
                                        #:1199

                                         PROTECTIVE INSURANCE COMPANY
                               WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                              Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01/01/2017
                                          01101/2017        at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                         ~t
                                                                         /)A-(f
                                                                       Authorized Representative

This loss reimbursement endorsement applies between you and us. It does not affect or alter the rights of others under
the policy. You will pay us for any loss reimbursement amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:       Oklahoma

Applicable Loss Reimbursement Amounts:

Coverage                            Loss Reimbursement Amount
Bodily Injury by Accident:          $   500,000                each accident
Bodily Injury by Disease:           $   500,000                each employee


Applicable factors:                                         OK

       & Expense Factor:
Excess &                                                   0.119

Variable Expense Factor:                                   0.117

Estimated Loss Reimbursement Premium Factor:               0.135



A.    How This Loss Reimbursement Applies
       You agree to pay, up to the loss reimbursement amount shown above, the total of:
        1.   all benefits required of you by the worker's compensation law (including benefits payable under PART THREE -
             OTHER STATES INSURANCE or under any endorsement); plus
       2.    all sums you legally must pay as damages;

        because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

        In addition, you agree to pay a percentage of 1 and 2 above.




                                           Decl. Barnett, Ex. B-178                                              Page 1 of 3
 PWC-1M (1/94)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 248 of 514 Page ID
                                       #:1200


     We will pay only those amounts of benefits and damages that exceed the applicable loss reimbursement amount
     shown above.

     The loss reimbursement amount shown for "bodily injury by accident" applies separately to each accident covered by
     this insurance because of bodily injury to one or more employees in anyone
                                                                         any one accident.

     A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

     The loss reimbursement amount shown for "bodily injury by disease" applies separately for each employee.

     Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.   Payment of Loss Reimbursement Amounts

     We may advance part or all of the loss reimbursement amount you agree to pay under "A. How This Loss
     Reimbursement Applies". Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have
     so advanced.

C.   Application of Excess and Expense Factor, Variable Expense Factor and Loss Reimbursement Amount
      Premium Factor

     Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
     above the applicable loss reimbursement amounts for this policy and our internal costs and profit expectations.

     Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
     expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are not
     limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
     assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
     rehabilitation funds, premium taxes and other taxes and expenses.

     Loss Reimbursement amount premium factor (LRAPF) is a factor calculated by dividing the excess and expense
     factor by 1 minus the variable expense factor. The formula is:

     [EEF I/ (1 - VEF)]   =LRAPF
     The variable expense factor and resulting loss reimbursement amount premium factor contained in this endorsement
     are estimates and are subject to adjustment based on the variable expense factor then applicable to this policy.

      The variable expense factor will be changed from time to time. Such changes may be retroactive and any changes in
      the variable expenses factor applicable to this policy will result in a recalculation of the loss reimbursement premium
      factor. This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
      recalculations will result in an additional or return premium.

      The variable expense factor and loss reimbursement amount premium factor will continue to be adjusted until there
      is no further change in the variable expense factor applicable to this policy.

D.    Effect of Loss Reimbursement Amount on Employers Liability Limits

      With respect to the employers' liability insurance provided by this policy, the applicable "each employee" or "each
      accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable loss
      reimbursement amount shown above.




                                            Decl. Barnett, Ex. B-179                                             Page 2 of 3
PWC-1 M (1/94)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 249 of 514 Page ID
                                       #:1201


E.   Conditions

      1. We have your rights and the rights of persons entitled to the benefits of this insurance to recover all advances
         and payments, including those within the loss reimbursement amount from anyone liable for the injury. You will
         do everything necessary to protect those rights for us and to help us enforce them.

           If we recover any advance or payment made under this policy from anyone liable for the injury, the amount we
           recover will first be applied to any payments made by us in excess of the loss reimbursement amount; only then
           will the remainder of that recovery, if any, be applied to reduce the loss reimbursement amount paid or payable
           by you.

      2,   The terms of the policy apply irrespective of the loss reimbursement amount, including those with respect to:

           (a) defending any suits; and

           (b) your duties if injury occurs.

      3. We have the sole and exclusive right to pay all or any part of the loss reimbursement amount at our sole
           discretion, and notice to you or consent from you is not required for our payment. Your obligation to reimburse
           us after we have made payment of all or any part of the loss reimbursement amount is absolute and in no way
           conditional.

      4. If you fail to pay us for a loss reimbursement amount that has been paid by us by the 151thh day of the month
           following our notice to you of our payment of that amount, we may cancel this endorsement.

      5. We may keep any unearned premium, premium deposits or other funds held by us or available to us to
           reimburse us for payments of the loss reimbursement amounts paid by us, loss reimbursement amounts we
           estimate we will pay in the future and any unpaid premiums.

G.   Acceptance by the Insured

     On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
     and accept the terms and contents of this endorsement.


                                                 Personnel Staffing Group, LLC DBA Barnett Management
                                                                     Insured

     Date of Execution

                                               By                               _
                                               By ---------------------------------



                                                                    Title




                                                Decl. Barnett, Ex. B-180                                        Page 3 of 33
PWC-1M (1/94)
PWC-1M (1/94)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 250 of 514 Page ID
                                       #:1202


                                          PROTECTIVE INSURANCE COMPANY
                                WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                               Deductible Endorsement


This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01/01/2017        at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

                                                                       kLv(t
                                                                       ~~
                                                                       Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:       Arizona

Applicable deductibles:
Coverage                            Deductible Amount
Bodily Injury by Accident:          $   500,000               each accident
Bodily Injury by Disease:           $   500,000               each employee


Applicable factors:                             AZ

Excess & Expense Factor:                      0.138

Variable Expense Factor:                      0.067

Estimated Deductible Premium Factor:          0.148



A.     How This Deductible Applies
      You agree to pay, up to the deductible amount shown above, the total of:
       1.    all benefits required of you by the worker's compensation law (including benefits payable under PART THREE -
             OTHER STATES INSURANCE or under any endorsement); plus
       2.    all sums you legally must pay as damages;
       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.




                                           Decl. Barnett, Ex. B-181                                             Page 1 of 3
PWC-1N (12/93)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 251 of 514 Page ID
                                       #:1203


      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
                                                                     any one accident.
      insurance because of bodily injury to one or more employees in anyone

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The deductible amount shown for "bodily injury by disease" applies separately for each employee.

      Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.    Reimbursement of Deductible Amounts

      We may advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies".
      Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced.

C.    Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

      Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
      above the applicable deductibles for this policy and our internal costs and profit expectations.

      Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
      expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are not
      limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
      assigned risk losses, safety and health consultation funds, guarantee funds, rating and inspection bureau fees,
                                                              expenses .
      rehabilitation funds, premium taxes and other taxes and expenses.

       Deductible
      .Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
      variable expense factor. The formula is:

      [EEF I (1 - VEF)] = DPF

      The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
      and are subject to adjustment based on the variable expense factor then applicable to this policy.

      The variable expense factor will be changed from time to time. Such changes may be retroactive and any changes
      in the variable expenses factor applicable to this policy will result in a recalculation of the deductible premium factor.
      This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
      recalculations will result in an additional or return premium.

      The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
      change in the variable expense factor applicable to this policy.

D.     Effect of Deductible on Employers Liability Limits

      With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
      accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
      amount shown above.




                                            Decl. Barnett, Ex. B-182                                                Page 2 of 3
       (12193)
PWC-1N (12/93)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 252 of 514 Page ID
                                       #:1204



E.    Conditions

      1.   We have your rights and the rights of persons entitled to the benefits of this insurance to recover all advances
           and payments, including those within the deductible amount from anyone liable for the injury. You will do
           everything necessary to protect those rights for us and to help us enforce them.

           If we recover any advance or       payment made under this policy from anyone liable for the injury, the amount we
           recover will first be applied to   any payments made by us in excess of the deductible amount; only then will the
           remainder of that recovery,        if any, be applied to reduce the deductible amount paid or reimbursed or
           reimbursable by you.

      2,   The terms of the policy apply irrespective of the deductible amount, including those with respect to:

           (a) defending any suits; and

           (b) your duties if injury occurs.

      3. We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion, and
           notice to you or consent from you is not required for our payment. Your obligation to reimburse us after we have
           made payment of all or any part of the deductible amount is absolute and in no way conditional.

      4.   If you fail to reimburse us for a deductible amount that has been paid by us, we may cancel the policy. You
           agree that our cancellation for your failure to reimburse us or a deductible amount is equivalent to, and the
           same as, cancellation for non-payment of premium.

      5. We may keep any unearned premium, premium deposits or other funds held by us or available to us to
           reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will pay in
           the future and any unpaid premiums.

F.    Acceptance by the Insured

      On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
      and accept the terms and contents of this endorsement.




                                                  Personnel Staffing Group, LLC DBA Barnett Management
                                                                      Insured

     Date of Execution

                                               By                                   _
                                               By -----------------------------------



                                                                       Title




                                               Decl. Barnett, Ex. B-183                                            Page 3 of 3
PWC-1N (12/93)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 253 of 514 Page ID
                                       #:1205


                                         PROTECTIVE INSURANCE COMPANY
                               WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                             Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01101/2017
                                          01/01/2017          . at 12:01 A.M. standard time, forms a part of
                                              {date)
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                            &Yfl
                                                                          Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy. You
will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:        Virginia


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $   500,000                  each accident

Bodily Injury by Disease:           $   500,000                  each employee


Applicable factors:                               VA

Deductible Premium Factor:                        0.157

A.   How This Deductible Applies

     You agree to pay, up to the deductible amount shown above, the total of:

     1.     all benefits required of you by the worker's compensation law (including benefits payable under PART THREE -
            OTHER STATES INSURANCE or under any endorsement); plus

     2.     all sums you legally must pay as damages; plus

     3.     allocated loss adjustment expenses;

     because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.

     We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
     above.

     The deductible amount shown for "bodily injury accident" applies separately to each accident covered by this
                                                                    any one accident.
     insurance because of bodily injury to one or more employees in anyone



PWC-1P (1/94)                                                                                                  Page 1 of 3
                                           Decl. Barnett, Ex. B-184
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 254 of 514 Page ID
                                       #:1206



       A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

       The deductible amount shown for "bodily injury by disease" applies separately for each employee.

       Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.     Reimbursement of Deductible Amounts

       We may advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies."
       Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced.

C.     Effect of Deductible on Employers Liability Limits

       With respect to the employers liability insurance proVided
                                                            provided by this policy, the applicable "each employee" or "each
       accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
       amount shown above.

D.     Allocated Loss Adjustment Expense

       Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular claim.
       Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster fees, court
       and other specific items of expense such as medical examination, expert medical or other testimony, laboratory
       and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.

E.     Conditions

       1.       We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
                advances and payments, including those within the deductible amount from anyone liable for the injury.
                You will do everything necessary to protect those rights for us and to help us enforce them.

                If we recover any advance or payment made under this policy from anyone liable for the injury, the amount
                we recover will first be applied to any payments made by us in excess of the deductible amount; only then
                will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed
                or reimbursable by you.

       2.       The terms of the policy apply irrespective of the deductible amount, including those with respect to:

                (a) defending any suits; and

                (b) your duties if injury occurs.

       3.       We have the sole and exclusive right to pay all or any part of the deductible amount at our sole discretion,
                and notice to you or consent from you is not required for our payment. Your obligation to reimburse us
                after we have made payment of all or any part of the deductible amount is absolute and in no way
                conditional.

       4.       If you fail to reimburse us for a deductible amount that has been paid by us the 151thh day of the month
                following our notice to you of our payment of that amount, we may cancel this endorsement.

       5.       We may keep any unearned premium, premium deposits or other funds held by us or available to us to
                reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
                pay in the future and any unpaid premiums.




PWC-1P (1/94)                                                                                                  Page 2 of 3


                                           Decl. Barnett, Ex. B-185
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 255 of 514 Page ID
                                       #:1207




F.     Acceptance by the Insured

       On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
       and accept the terms and contents of this endorsement.




                                            Personnel Staffing Group, LLC DBA Barnett Management
                                                                Insured

     Date of Execution

                                        By                                 _
                                        By ----------------------------------



                                                                 Title




                                         Decl. Barnett, Ex. B-186
 PWC-1 P (1/94)                                                                                            Page 3 of 3
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 256 of 514 Page ID
                                   #:1208


                                       PROTECTIVE INSURANCE COMPANY
                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                            Deductible Endorsement

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless
another date is indicated below.

This endorsement, effective on           01/01/2017           at 12:01 A.M. standard time, forms a part of
                                             (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                         tAUt
                                                                         !AUf
                                                                         Authorized Representative


This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the
policy. You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:        Maryland


Applicable deductibles:

Coverage                            Deductible Amount

Bodily Injury by Accident:          $   500,000      each accident

Bodily Injury by Disease:           $   500,000      each employee


Applicable factors:                                MD

Excess & Expense Factor:                           0.166

Variable Expense Factor:                           0.070

Estimated Deductible Premium Factor:               0.178

Loss Adjustment Factor:                            1.090


A.    How This Deductible Applies

      You agree to pay, up to the deductible amount shown above, the total of:

      1.     all benefits required of you by the worker's compensation law (including benefits payable under PART
             THREE-- OTHER STATES INSURANCE or under any endorsement); plus
             THREE

      2.     all sums you legally must pay as damages; plus

      3.     allocated loss adjustment expenses;

      because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your
      employees

                                                               above-
      In addition, you agree to pay a percentage of 1, 2 and 3 above - stated as a loss adjustment factor.

                                        Decl. Barnett, Ex. B-187                                             Page 1 of 3
PWC-1Q (1/95)
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 257 of 514 Page ID
                                   #:1209


     We will pay only those amounts of benefits and damages that exceed the applicable deductible amount
     shown above.

     The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by
     this insurance because of bodily injury to one or more employees in any
                                                                         anyone
                                                                             one accident.

     A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

     The deductible amount shown for "bodily injury by disease" applies separately for each employee.

     Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.   Reimbursement of Deductible Amounts

     We will advance the deductible amount you agree to pay under "A. How This Deductible Applies." Upon
     notice of the action taken, you will reimburse us no later than thirty (30) days from the billing for any
     amount(s) we have so advanced. In addition, you will pay us an amount for loss adjustment expense
     computed by multiplying the loss adjustment factor stated in this endorsement times the deductible amount
     paid by us. The loss adjustment factor is an average factor and is not based upon the existence or amount of
     actual loss adjustment expense payments.

C.   Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

     Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for
     insurance above the applicable deductibles for this policy and our internal costs and profit expectations.

     Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering
     the expenses which may vary by the amount of premium earned or losses paid. Variable expenses include,
      but are not limited to, second injury fund assessments, administrative cost assessments, residual market
     assessments, assigned risk losses, safety and health consultation funds, guarantee funds, rating and
                                                   premium. taxes and other taxes and expenses.
     inspection bureau fees, rehabilitation funds, premium,taxes

     Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus
     the variable expense factor. The formula is:

     [EEF /I (1 - VEF)J =DPF ,.
                  VEF)] =

     The variable expense factor and resulting deductible premium factor contained in this endorsement are
     estimates and are subject to adjustment based on the variable expense factor then applicable to this policy.

     The variable expense factor will be changed from time to time. Such changes may be retroactive and any
     change in the variable expense factor applicable to this policy will result in a recalculation of the deductible
     premium factor. This recalculation will be made upon the first and subsequent anniversary dates of this
     policy and such recalculations will result in an additional or return premium.

     The variable expense factor and deductible premium factor will continue to be adjusted until there is no
     further change in the variable expense factor applicable to this policy.

D.    Effect of Deductible on Employers Liability Limits

     With respect to the employers liability insurance provided by this policy, the applicable "each employee" or
     "each accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable
     deductible amount shown above.




                                       Decl. Barnett, Ex. B-188                                              Page 2 of 3
PWC-1Q (1/95)
PWC-1Q
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 258 of 514 Page ID
                                   #:1210


E.   Allocated Loss Adjustment Expense

     Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular
     claim. Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster
     fees, court and other specific items of expense such as medical examination, expert medical or other
     testimony, laboratory and x-ray, autopsy, stenography, witnesses, summonses and copies of documents.
     These expenses shall not include the salaries of our employees or staff attorneys.

F.   Conditions

     1.   We have your rights and the rights of persons entitled to the benefits of this insurance to recover all
          advances and payments, including those within the deductible amount from anyone liable for the injury.
          You will do everything necessary to protect those rights for us and to help us enforce them.

          If we recover any advance or payment made under this policy from anyone liable for the injury, the
          amount we recover will first be applied to any payments made by us in excess of the deductible amount;
          only then will the remainder of that recovery, if any, be applied to reduce the deductible amount paid or
          reimbursed or reimbursable by you.

     2.   The terms of the policy apply irrespective of the deductible amount, including those with respect to:

          (a)   defending any suits; and

          (b)   your duties if injury occurs.

     3.   We have the sole and exclusive right to pay all or any part of the deductible amount at our sole
          discretion, and notice to you or consent from you is not required for our payment. Your obligation to
          reimburse us after we have made payment of all or any part of the deductible amount is absolute and in
          no way conditional.

     4.   If you fail to reimburse us for a deductible amount that has been paid by us within thirty (30) days from
          being billed for such, we may cancel the policy. You agree that our cancellation for your failure to
          reimburse us for a deductible amount is equivalent to, and the same as, cancellation for non-payment of
          premium.

     5. We may keep any unearned premium, premium deposits or other funds held by us or available to us to
          reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will
          pay in the future and any unpaid premiums.

G.   Acceptance by the Insured

      On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read,
      understand and accept the terms and contents of this endorsement.

                                                Personnel Staffing Group, LLC DBA Barnett Management
                                                                      Insured

     Date of Execution

                                           By                                 _
                                           By ----------------------------------



                                                                     Title




                                        Decl. Barnett, Ex. B-189                                           Page 3 of 3
PWC-1Q (1/95)
PWG-1Q
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 259 of 514 Page ID
                                       #:1211


                                          PROTECTIVE INSURANCE COMPANY
                                WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                                               Deductible Endorsement


This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another
date is indicated below.

This endorsement, effective on            01/01/2017          at 12:01 A.M. standard time, forms a part of
                                              (date)

Policy No.        WD001482

Issued to         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                                                          kUI
                                                                          kUt
                                                                         Authorized Representative

This deductible endorsement applies between you and us. It does not affect or alter the rights of others under the policy.
You will reimburse us for any deductible amounts that we advance or are required by law to pay.

State(s) to which this endorsement applies:         Nevada

Applicable deductibles:
Coverage                            Deductible Amount
Bodily Injury by Accident:          $   500,000                 each accident
Bodily Injury by Disease:           $   500,000                 each employee

Applicable factors:                                NV

       & Expense Factor:
Excess &                                      0.172

Variable Expense Factor:                      0.110

Estimated Deductible Premium Factor:          0.193

Loss Adjustment Factor:                       1.090


A.     How This Deductible Applies
       You agree to pay, up to the deductible amount shown above, the total of:
       1.    all benefits required of you by the worker's compensation law (including benefits payable under PART THREE
                                                                                                                  THREE--
             OTHER STATES INSURANCE or under any endorsement); plus
       2.    all sums you legally must pay as damages; plus
       3.    allocated loss adjustment expenses;
       because of (a) bodily injury by accident to your employees and; (b) bodily injury by disease to your employees.
       In addition, you agree to pay a percentage of 1, 2 and 3 above
                                                                above-- stated as a loss adjustment factor.




                                           Decl. Barnett, Ex. B-190                                             Page 1 of 3
PWC-1R (8/2000)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 260 of 514 Page ID
                                       #:1212


      We will pay only those amounts of benefits and damages that exceed the applicable deductible amount shown
      above.

      The deductible amount shown for "bodily injury by accident" applies separately to each accident covered by this
                                                                     anyone
      insurance because of bodily injury to one or more employees in any one accident.

      A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

      The deductible amount shown for "bodily injury by disease" applies separately for each employee.

      Bodily injury by disease does not include disease that results directly from a bodily injury by accident.

B.    Reimbursement of Deductible Amounts

      We will advance part or all of the deductible amount you agree to pay under "A. How This Deductible Applies".
      Upon notice of the action taken, you will reimburse us promptly for any amount(s) we have so advanced. In
      addition, you will pay us an amount for loss adjustment expense computed by multiplying the loss adjustment factor
      stated in this endorsement times the deductible amount paid by us. The loss adjustment factor is an average factor
      and is not based upon the existence or amount of actual loss adjustment expense payments.

c.
C.    Application of Excess and Expense Factor, Variable Expense Factor and Deductible Premium Factor

      Excess and expense factor (EEF) is a factor established by us for this policy considering the cost for insurance
      above the applicable deductibles for this policy and our internal costs and profit expectations.

      Variable expense factor (VEF) is a factor established by us for each state, for all similar policies, considering the
      expenses which may vary by the amount of premium earned or losses paid. Variable expenses include, but are not
      limited to, second injury fund assessments, administrative cost assessments, residual market assessments,
                                         health consultation funds, guarantee funds, rating and inspection bureau fees,
      assigned risk losses, safety and health
      rehabilitation funds, premium taxes and other taxes and expenses.

      Deductible premium factor (DPF) is a factor calculated by dividing the excess and expense factor by 1 minus the
      variable expense factor. The formula is:

                         =
      [EEF /I (1 - VEF)] = DPF

      The variable expense factor and resulting deductible premium factor contained in this endorsement are estimates
      and are subject to adjustment based on the variable expense factor then applicable to this policy.

      The variable expense factor will be charged from time to time. Such changes may be retroactive and any change in
      the variable expense factor applicable to this policy will result in a recalculation of the deductible premium factor.
      This recalculation will be made upon the first and subsequent anniversary dates of this policy and such
      recalculations will result in an additional or return premium.

      The variable expense factor and deductible premium factor will continue to be adjusted until there is no further
      change in the variable expense factor applicable to this policy.

D.     Effect of Deductible on Employers Liability Limits

      With respect to the employers liability insurance provided by this policy, the applicable "each employee" or "each
      accident" limits of liability are reduced, as to you, by the sum of all such damages within the applicable deductible
      amount shown above.




                                            Decl. Barnett, Ex. B-191                                              Page 2 of 3
PWC-1R (8/2000)
PWC-1R (8/2000)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 261 of 514 Page ID
                                       #:1213


E.    Allocated Loss Adjustment Expense

      Allocated loss adjustment expense means claim adjustment expense directly allocated by us to a particular claim.
      Such expense shall include, but shall not be limited to: attorneys' fees for defense of claims, adjuster fees, court
      and other specific items of expense such as medical examination, expert medical or other testimony, laboratory and
      x-ray, autopsy, stenography, witnesses, summonses and copies of documents.

F.    Conditions

      1.    We have your rights and the rights of persons entitled to the benefits of this insurance to recover all advances
            and payments, including those within the deductible amount from anyone liable for the injury. You will do
            everything necessary to protect those rights for us and to help us enforce them.

            If we recover any advance or payment made under this policy from anyone liable for the injury, the amount we
            recover will first be applied to any payments made by us in excess of the deductible amount; only then will the
            remainder of that recovery, if any, be applied to reduce the deductible amount paid or reimbursed or
            reimbursable by you.

       2,   The terms of the policy apply irrespective of the deductible amount, including those with respect to:

            (a) defending any suits; and

            (b) your duties if injury occurs.

       3. We have the sole and exclusive right and obligation to pay all or any part of the deductible amount at our sole
            discretion, and notice to you or consent from you is not required for our payment. Your obligation to reimburse
            us after we have made payment of all or any part of the deductible amount is absolute and in no way
            conditional.

       4.   If you fail to reimburse us for a deductible amount that has been paid by us by the 151thh day of the month
            following our notice to you of our payment of that amount, we may cancel this endorsement.

       5.   We may keep any unearned premium, premium deposits or other funds held by us or available to us to
            reimburse us for payments of the deductible amounts paid by us, deductible amounts we estimate we will pay in
            the future and any unpaid premiums.

G.     Acceptance by the Insured

       On behalf of all insureds under the policy to which this endorsement is attached, I have carefully read, understand
       and accept the terms and contents of this endorsement.




                                                     Personnel Staffing Group, LLC DBA Barnett Management
                                                                        Insured

      Date of Execution

                                                By



                                                                        Title




                                                Decl. Barnett, Ex. B-192                                            Page 3 of 3
PWC-1 R (8/2000)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 262 of 514 Page ID
                                  #:1214

      (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)




                                              ENDORSEMENT

This endorsement, effective on                      01/01/2017                 at 12:01 A.M. standard time, forms a part of

Policy No.        WD001482                      Policy effective on            01/01/2017

Of the            Protective Insurance Company, Carrier Code 14788

Issued to

By
                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

                Protective Insurance Company                                           /).)vv(~
                                                                                       (}.)vv(       t
                                                                                    Authorized Representative



                                           MISSOURI WC101 ENDORSEMENT


NOTICE: THIS WORKERS' COMPENSATION POLICY CONTAINS A DEDUCTIBLE OPTION, UNDER WHICH
YOU, THE EMPLOYER, ARE REQUIRED TO REIMBURSE CERTAIN LOSSES. PLEASE READ THIS POLICY
CAREFULLY AND UNDERSTAND ITS CONDITIONS THOROUGHLY PRIOR TO PURCHASING COVERAGE.




WC101 (1/85)
                                          Decl. Barnett, Ex. B-193
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 263 of 514 Page ID
                                  #:1215




                      WORKERS' COMPENSATION
                      P LI
                         PREPARED SPECIFICALLY FOR
                                                   LlC dba Barnett Management
                         Personnel Staffing Group, llC

                         January 1, 2017- January 1, 2018




                         Decl. Barnett, Ex. B-194
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 264 of 514 Page ID
                                  #:1216




                                 EXHIBIT C
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
1': .. Protective
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 265 of 514 Page ID
~                                 #:1217
                   Insurance Company
                                        'C



                 New                                                                     Producer:     Assurance Agency, Ltd.
           Renewal of Number                                                                           1750 E. Golf Road, Ste. 1100
                                                                                                       Schaumberg, IL 60173
Policy No. RW008981
 1. The Insured/Mailing address:                                                           o0 Individual 0 Partnership !XI
                                                                                                                        lXI LLC
                                                                                            o0 Corporation or _ _ _ _ _ _ __
      Personnel Staffing Group, LLC dba Barnett Management
                                                                                           Insured's Identification No.(s).
      1751 Lake Cook Rd., Ste. 600                                                         FEIN 010759364
      Deerfield, IL 60015
                                                                                           Interstate Risk ID No. 917965579
      CARRIER CODE: 14788
 Other workplaces not shown above: See WC1 001 LOC
2.    Policy Period: The policy period is from 06/30/2017 to 06/30/2018 12:01 AM.
                                                                              A.M. Standard Time, at the insured's mailing
      address.
 3.   Coverage
      A Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states liste(
                                                                                                                     liste<
         here: Massachusetts, Wisconsin

      B. Employers Liability Insurance: Part Two of the policy applies to work in each state listed in item 3.A. The limits of our
         liability under Part Two are:
                                                                Bodily Injury by Accident               $1,000,000            each accident
                                                                Bodily Injury by Disease                $ 1,000,000
                                                                                                        $1,000,000            policy limit
                                                                Bodily Injury by Disease                $ 1,000,000
                                                                                                        $1,000,000            each employee
      C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here: All states except North
         Dakota, Ohio, Washington, Wyoming and any other state where qualified as a self-insured.
      D. This policy includes these endorsements and schedules: WC10011C, WC1001LOC, WC1001, WC000104A,
         WC000106A,WC000301A,WC000313,WC000414,WC000419,WC000421D,WC000422B,WC000424,
         WC000106A,WC000301A,VVC000313,VVC000414,VVC000419,VVC000421D,VVC000422B,VVC000424,
         WC000503C,
         VVC000503C, WC000515A, WC200301,
                                      VVC200301, WC200302A,
                                                  VVC200302A, WC200303D,
                                                                 VVC200303D, WC200405,
                                                                                VVC200405, WC200501,
                                                                                                VVC200501, WC200601A,
                                                                                                            VVC200601A,
         WC480601C,WC480606B
         VVC480601C,WC4806068
 4. Premium: The premium for this policy will be determined by our Manuals of Rules, Classifications, Rates and Rating Plans.
      All information required below is subject to verification and change by audit.
                                                         Premium Basis
                                          Code          Total Estimated                  Rate Per $100
                                                                                                  $1 00 of                  Estimated Annual
           Classifications                 No.        Annual Remuneration                 Remuneration                          Premium
      See Attached Schedule
   Experience Rating              Premium           Expense
                                                                          Other
  Modification Factor             Discount          Constant
 Interstate Final 1.01
            Final1.01                                $338                                 Total Estimated
 effective 06/30/2017                                                                     Annual Premium            $       1,008,552
                                                                                          Deposit Premium
                                                                                          Minimum Premium
 [ 1
   ] This is a Three Year Fixed Rate Policy
 Premium Adjustment Period: !XIlXI Annual; 0           Semiannual;      0   Quarterly;    0   Monthly

 For information, or to make a complaint, call 1-800-231-6024
                                                                         Countersigned
                                                                         Countersigned by        -'~t           _
                                                                                           by-----'~-----~-------
                                                                                                             Authorized Representative
                      THIS INFORMATION PAGE WITH THE WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY AND ENDORSEMENTS,
                                          IF ANY, ISSUED TO FORM A PART THEREOF COMPLETES THE ABOVE NUMBERED POLICY.
                                                          !1;)20 13 National Council on Compensation Insurance
                                                          (1;)2013



A Baldwin &Lyons Company
ABaldwin                                             Decl. Barnett, Ex. C-1                                          THAT
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 266 of 514 Page ID
                                   #:1218

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we 00
                                                                                                                         WC oo 00
                                                                                                                               oo 00
                                                                                                                                  oo cC
                                                                                                                               (Ed. 1-15)


                   WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to                                         PART ONE
all terms of this policy, we agree with you as follows:                              WORKERS COMPENSATION INSURANCE

                                                                                 A. How This Insurance Applies
                    GENERAL SECTION                                                 This workers compensation insurance applies to
                                                                                    bodily injury by accident or bodily injury by disease.
A. The Policy                                                                       Bodily injury includes resulting death.
   This policy includes at its effective date the Infor-                            1. Bodily injury by accident must occur during the
   mation Page and all endorsements and schedules                                       policy period.
   listed there. It is a contract of insurance between                              2. Bodily injury by disease must be caused or ag-
   you (the employer named in Item 1 of the Infor-                                      gravated by the conditions of your employment.
   mation Page) and us (the insurer named on the In-                                    The employee's last day of last exposure to the
   formation Page). The only agreements relating to                                     conditions causing or aggravating such bodily in-
   this insurance are stated in this policy. The terms of                               jury by disease must occur during the policy
   this policy may not be changed or waived except                                      period.
   by endorsement issued by us to be part of this
   policy.
                                                                              B. We Will Pay
                                                                                    We will pay promptly when due the benefits required
 B. Who is Insured
                                                                                    of you by the workers compensation law.
    You are insured if you are an employer named in
    Item 1 of the Information Page. If that employer is a
                                                                              C. We Will Defend
    partnership, and if you are one of its partners, you
    are insured, but only in your capacity as an em-                             We have the right and duty to defend at our expense
    ployer of the partnership's employees.                                       any claim, proceeding or suit against you for benefits
                                                                                 payable by this insurance. We have the right to in-
                                                                                 vestigate and settle these claims, proceedings or
 C. Workers Compensation Law                                                     suits.
    Workers Compensation Law means the workers or                                We have no duty to defend a claim, proceeding or
    workmen's compensation law and occupational                                  suit that is not covered by this insurance.
    disease law of each state or territory named in Item
    3.A. of the Information Page. It includes any
                                                                               D. We Will Also Pay
    amendments to that law which are in effect during
    the policy period. It does not include any federal                            We will also pay these costs, in addition to other
    workers or workmen's compensation law, any fed-                               amounts payable under this insurance, as part of
    eral occupational disease law or the provisions of                            any claim, proceeding or suit we defend:
    any law that provide nonoccupational disability                               1. reasonable expenses incurred at our request,
    benefits.                                                                         but not loss of earnings;
                                                                                  2. premiums for bonds to release attachments and
 D. State                                                                             for appeal bonds in bond amounts up to the
    State means any state of the United States of                                     amount payable under this insurance;
    America, and the District of Columbia.                                        3. litigation costs taxed against you;
                                                                                  4. interest on a judgment as required by law until
 E. Locations                                                                         we offer the amount due under this insurance;
    This policy covers all of your workplaces listed in                               and
    Items 1 or 4 of the Information Page; and it covers                           5. expenses we incur.
    all other workplaces in Item 3.A. states unless you
    have other insurance or are self-insured for such                          E. Other Insurance
    workplaces.
                                                                                  We will not pay more than our share of benefits and
                                                                                  costs covered by this insurance and other




                                                                        1 of 6
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                                                    Decl. Barnett, Ex. C-2
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 267 of 514 Page ID
                                   #:1219

we oo oo oo c
WC 00 00 00 C                           WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)


     insurance or self-insurance. Subject to any limits of                               a.  benefits payable by this insurance;
     liability that may apply, all shares will be equal until                            b.  special taxes, payments into security or oth-
     the loss is paid. If any insurance or self-insurance                                    er special funds, and assessments payable
     is exhausted, the shares of all remaining insurance                                     by us under that law.
     will be equal until the loss is paid.
                                                                                    6. Terms of this insurance that conflict with the
                                                                                         workers compensation law are changed by this
F.   Payments You Must Make                                                              statement to conform to that law.
     You are responsible for any payments in excess of                              Nothing in these paragraphs relieves you of your du-
     the benefits regularly provided by the workers                                 ties under this policy.
     compensation law including those required
     because:
     1. of your serious and willful misconduct;                                                   PART TWO
                                                                                         EMPLOYERS LIABILITY INSURANCE
     2. you knowingly employ an employee in violation
         of law;
                                                                              A.    How This Insurance Applies
     3. you fail to comply with a health or safety law or                           This employers liability insurance applies to bodily
          regulation; or
                                                                                    injury by accident or bodily injury by disease. Bodily
     4. you discharge, coerce or otherwise discriminate                             injury includes resulting death.
          against any employee in violation of the workers
                                                                                    1. The bodily injury must arise out of and in the
          compensation law.
                                                                                         course of the injured employee's employment by
      If we make any payments in excess of the benefits                                  you.
     regularly provided by the workers compensation
                                                                                    2.   The employment must be necessary or inci-
     law on your behalf, you will reimburse us promptly.
                                                                                         dental to your work in a state or territory listed in
                                                                                         Item 3.A. of the Information Page.
G. Recovery From Others                                                             3.   Bodily injury by accident must occur during the
   We have your rights, and the rights of persons enti-                                  policy period.
   tled to the benefits of this insurance, to recover our                           4.   Bodily injury by disease must be caused or ag-
   payments from anyone liable for the injury. You will                                  gravated by the conditions of your employment.
   do everything necessary to protect those rights for                                   The employee's last day of last exposure to the
   us and to help us enforce them.                                                       conditions causing or aggravating such bodily in-
                                                                                         jury by disease must occur during the policy
H. Statutory Provisions                                                                  period.
   These statements apply where they are required by                                5.   If you are sued, the original suit and any related
   law.                                                                                  legal actions for damages for bodily injury by ac-
                                                                                         cident or by disease must be brought in the
   1. As between an injured worker and us, we have                                       United States of America, its territories or pos-
        notice of the injury when you have notice.                                       sessions, or Canada.
     2.   Your default or the bankruptcy or insolvency of
          you or your estate will not relieve us of our du-
          ties under this insurance after an injury occurs.                    B.   We Will Pay
     3.   We are directly and primarily liable to any per-                          We will pay all sums that you legally must pay as
          son entitled to the benefits payable by this in-                          damages because of bodily injury to your employ-
          surance. Those persons may enforce our duties;                            ees, provided the bodily injury is covered by this
          so mayan
             may an agency authorized by law. Enforce-                              Employers Liability Insurance.
          ment may be against us or against you and us.                             The damages we will pay, where recovery is permit-
     4.   Jurisdiction over you is jurisdiction over us for                                             damages:_
                                                                                    ted by law, include damages:.
          purposes of the workers compensation law. We                              1.   For which you are liable to a third party by rea-
          are bound by decisions against you under that                                  son of a claim or suit against you by that third
          law, subject to the provisions of this policy that                             party to recover the damages claimed against
          are not in conflict with that law.                                             such third party as a result of injury to your em-
     5.   This insurance conforms to the parts of the                                    ployee;
          workers compensation law that apply to:




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                                                                        2 of6

                                                    Decl. Barnett, Ex. C-3
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 268 of 514 Page ID
                                   #:1220

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                              we
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                                                                                                                                       C

                                                                                                                                 (Ed. 1-15)



    2. For care and loss of services; and                                            9. Bodily injury to any person in work subject to the
    3. For consequential bodily injury to a spouse,                                     Federal Employers' Liability Act (45 U.S.C. Sec-
       child, parent, brother or sister of the injured em-                              tions 51 et seq.), any other federal laws obligat-
       ployee; prOVided
                provided that these damages are the di-                                 ing an employer to pay damages to an employee
       rect consequence of bodily injury that arises out                                due to bodily injury arising out of or in the course
       of and in the course of the injured employee's                                   of employment, or any amendments to those
       employment by you; and                                                           laws;
    4. Because of bodily injury to your employee that                                1O.Bodily
                                                                                     1 O.Bodily injury to a master or member of the crew
       arises out of and in the course of employment,                                   of any vessel, and does not cover punitive dam-
       claimed against you in a capacity other than as                                  ages related to your duty or obligation to provide
       employer.                                                                        transportation, wages, maintenance, and cure
                                                                                         under any applicable maritime law;
C. Exclusions                                                                        11.Fines or penalties imposed for violation of federal
   This insurance does not cover:                                                        or state law; and
                                                                                     12.Damages payable under the Migrant and Sea-
   1. Liability assumed under a contract. This exclu-
      sion does not apply to a warranty that your work                                   sonal Agricultural Worker Protection Act (29
      will be done in a workmanlike manner;                                              U.S.C. Sections 1801 et seq.) and under any
                                                                                         other federal law awarding damages for violation
   2. Punitive or exemplary damages because of bodi-                                     of those laws or regulations issued thereunder,
      ly injury to an employee employed in violation of                                  and any amendments to those laws.
      law;
   3. Bodily injury to an employee while employed in                            D. We Will Defend
      violation of law with your actual knowledge or the
      actual knowledge of any of your executive offic-                                We have the right and duty to defend, at our ex-
      ers;                                                                            pense, any claim, proceeding or suit against you for
                                                                                      damages payable by this insurance. We have the
   4. Any obligation imposed by a workers compensa-
                                                                                      right to investigate and settle these claims, proceed-
      tion, occupational disease, unemployment com-
                                                                                      ings and suits.
      pensation, or disability benefits law, or any simi-
       lar law;
      larlaw;                                                                         We have no duty to defend a claim, proceeding or
                                                                                      suit that is not covered by this insurance. We have
   5. Bodily injury intentionally caused or aggravated
                                                                                      no duty to defend or continue defending after we
      by you;
                                                                                      have paid our applicable limit of liability under this
   6. Bodily injury occurring outside the United States                               insurance.
       of America, its territories or possessions, and
      Canada. This exclusion does not apply to bodily
      injury to a citizen or resident of the United States                       E. We Will Also Pay
       of America or Canada who is temporarily outside                              We will also pay these costs, in addition to other
      these countries;                                                              amounts payable under this insurance, as part of
   7. Damages arising out of coercion, criticism, de-                               any claim, proceeding, or suit we defend:
      motion, evaluation, reassignment, discipline,                                 1. Reasonable expenses incurred at our request,
      defamation, harassment, humiliation, discrimina-                                 but not loss of earnings;
      tion against or termination of any employee, or                               2. Premiums for bonds to release attachments and
      any personnel practices, policies, acts or omis-                                 for appeal bonds in bond amounts up to the limit
      sions;                                                                           of our liability under this insurance;
   8. Bodily injury to any person in work subject to the                            3. Litigation costs taxed against you;
      Longshore and Harbor Workers' Compensation
                                                                                    4. Interest on a judgment as required by law until
      Act (33 U.S.C. Sections 901 et seq.), the Nonap-
                                                                                       we offer the amount due under this insurance;
       propriated Fund Instrumentalities Act (5 U.S.C.
                                                                                       and
       Sections 8171 et seq.), the Outer Continental
       Shelf Lands Act (43 U.S.C.
                              U.S. C. Sections 1331 et                              5. Expenses we incur.
       seq.), the Defense Base Act (42 U.S.C. Sections
       1651-1654), the Federal Mine Safety and Health
      Act (30 U.S.C. Sections 801 et seq. and 901-
       944), any other federal workers or workmen's
       compensation law or other federal occupational
       disease law, or any amendments to these laws;

                                                                          3 of6
                                                                          30f6
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 269 of 514 Page ID
                                   #:1221

we 00
WC oo 00
      oo 00
         oo Cc                           WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



F. Other Insurance                                                                 This insurance does not give anyone the right to add
     We will not pay more than our share of damages                                us as a defendant in an action against you to deter-
     and costs covered by this insurance and other in-                             mine your liability. The bankruptcy or insolvency of
     surance or self-insurance. Subject to any limits of li-                       you or your estate will not relieve us of our obliga-
     ability that apply, all shares will be equal until the                        tions under this Part.
     loss is paid. If any insurance or self-insurance is ex-
     hausted, the shares of all remaining insurance and                                              PART THREE
     self-insurance will be equal until the loss is paid.
                                                                                               OTHER STATES INSURANCE

G. Limits of Liability                                                        A. How This Insurance Applies
     Our liability to pay for damages is limited. Our limits                        1.   This other states insurance applies only if one or
     of liability are shown in Item 3.B. of the Information                                                             3.e. of the Infor-
                                                                                         more states are shown in Item 3.C.
     Page. They apply as explained below.                                                mation Page.
     1. Bodily Injury by Accident. The limit shown for                              2.                         anyone
                                                                                         If you begin work in any   one of those states after
          "bodily injury by accident-each accident" is the                               the effective date of this policy and are not in-
          most we will pay for all damages covered by this                               sured or are not self-insured for such work, all
          insurance because of bodily injury to one or                                   provisions of the policy will apply as though that
          more employees in anyone
                                 any one accident.                                       state were listed in Item 3.A. of the Information
          A disease is not bodily injury by accident unless                              Page.
          it results directly from bodily injury by accident.                       3.   We will reimburse you for the benefits required
     2. Bodily Injury by Disease. The limit shown for                                    by the workers compensation law of that state if
        "bodily injury by disease-policy limit" is the                                   we are not permitted to pay the benefits directly
                                                                                         to persons entitled to them.
        most we will pay for all damages covered by this
        insurance and arising out of bodily injury by dis-                          4.   If you have work on the effective date of this pol-
        ease, regardless of the number of employees                                      icy in any state not listed in Item 3.A. of the In-
        who sustain bodily injury by disease. The limit                                  formation Page, coverage will not be afforded for
        shown for "bodily injury by disease-each em-                                     that state unless we are notified within thirty
                                                                                         days.
        ployee" is the most we will pay for all damages
                                                 any one
        because of bodily injury by disease to anyone
        employee.                                                              B. Notice
        Bodily injury by disease does not include dis-                              Tell us at once if you begin work in any state listed in
        ease that results directly from a bodily injury by                          Item 3.C.
                                                                                          3.e. of the Information Page.
        accident.
     3. We will not pay any claims for damages after we                                              PART FOUR
        have paid the applicable limit of our liability un-                                 YOUR DUTIES IF INJURY OCCURS
        der this insurance.
                                                                                    Tell us at once if injury occurs that may be covered
H. Recovery From Others                                                             by this policy. Your other duties are listed here.
     We have your rights to recover our payment from                                1. Provide for immediate medical and other ser-
     anyone liable for an injury covered by this insurance.                              vices required by the workers compensation law.
     You will do everything necessary to protect those                              2. Give us or our agent the names and addresses
     rights for us and to help us enforce them.                                          of the injured persons and of witnesses, and
                                                                                         other information we may need.
I.   Actions Against Us                                                             3. Promptly give us all notices, demands and legal
     There will be no right of action against us under this                              papers related to the injury, claim, proceeding or
     insurance unless:                                                                   suit.
     1. You have complied with all the terms of this poli-
         cy; and
     2. The amount you owe has been determined with
         our consent or by actual trial and final judgment.



                                                                        4 of6
                                                                        40f6

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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 270 of 514 Page ID
                                   #:1222

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           we
                                                                                                                        WC oo
                                                                                                                           00 oo
                                                                                                                              00 oo
                                                                                                                                 00 c
                                                                                                                                    C

                                                                                                                              (Ed. 1-15)



    4. Cooperate with us and assist us, as we may re-                         D. Premium Payments
       quest, in the investigation, settlement or defense                        You will pay all premium when due. You will pay the
       of any claim, proceeding or suit.                                         premium even if part or all of a workers compensa-
    5. Do nothing after an injury occurs that would in-                          tion law is not valid.
       terfere with our right to recover from others.
    6. Do not voluntarily make payments, assume obli-                         E. Final Premium
       gations or incur expenses, except at your own                             The premium shown on the Information Page,
       cost.                                                                     schedules, and endorsements is an estimate. The
                                                                                 final premium will be determined after this policy
                              PART FIVE                                          ends by using the actual, not the estimated, premi-
                                                                                 um basis and the proper classifications and rates
                              PREMIUM
                                                                                 that lawfully apply to the business and work covered
A. Our Manuals                                                                   by this policy. If the final premium is more than the
                                                                                 premium you paid to us, you must pay us the bal-
   All premium for this policy will be determined ~~
                                                  ~~ourour                       ance. If it is less, we will refund the balance to you.
                                              classifica-
   manuals of rules, rates, rating plans and classIfIca-                         The final premium will not be less than the highest
   tions. We may change our manuals and apply the                                minimum premium for the classifications covered by
   changes to this policy if authorized by law or a gov-                         this policy.
   ernmental agency regulating this insurance.
                                                                                 If this policy is canceled, final premium will be de-
                                                                                 termined in the following way unless our manuals
B. Classifications
B.                                                                               provide otherwise:
   Item 4 of the Information Page shows the rate and                             1. If we cancel, final premium will be calculated pro
   premium basis for certain business or work classifi-                                rata based on the time this policy was in force.
   cations. These classifications were assigned based                                  Final premium will not be less than the pro rata
   on an estimate of the exposures you would have                                      share of the minimum premium.
   during the policy period. If your actual exposures are
                                                     w_e                         2. If you cancel, final premium will be more than
   not properly described by those classifications, w,e
                                                 prem1um                               pro rata; it will be based on the time this policy
   will assign proper classifications, rates and premium
   basis by endorsement to this policy.                                                was in force, and increased by our short-rate
                                                                                       cancelation table and procedure. Final premium
                                                                                       will not be less than the minimum premium.
C. Remuneration
   Premium for each work classification is determined                          F.   Records
      multiplying a rate times a premi~m basi~. Re~u­
   by mUltiplying
                                    prem1um basIs.
                                               bas1s. ThiS
                                                      Th1s                          You will keep records of information needed to com-
   neration is the most common premIum
                                                                                    pute premium. You will provide us with copies of
   premium basis includes pay~oll and all.other r~mu­
                                           pol1cy penod for                         those records when we ask for them.
   neration paid or payable dunng the policy
   the services of:
   1. all your officers and employees engaged in work
                                                                               G. Audit
       covered by this policy; and                                                You will let us examine and audit all your records
                                                                                  that relate to this policy. These records include ledg-
   2. all other persons engaged in work that could
                                                                                  ers, journals, registers, vouchers, contracts, tax re-
       make us liable under Part One (Workers Com-
                                                                                  ports, payroll and disbursement records, and pro-
       pensation Insurance) of this policy. If you do not
                                                                                  grams for storing and retrieving data. We may co~­
                                                                                                                                   co~­
       have payroll records for these person~, the con-
                                            matenals may                          duct the audits during regular business hours dunng
       tract price for their services and materials
                                                                                  the policy period and within three years after the pol-
       be used as the premium basis. This paragraph 2
                                                                                  icy period ends. Information developed by audit will
       will not apply if you give us proof that the em-
       ployers of these persons lawfUlly
                                    lawfully secured their                        be used to determine final premium. Insurance rate
                                                                                  service organizations have the same rights we have
       workers compensation obligations.
                                                                                  under this provision.




                                                                        5 of6
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                                   #:1223

we 000000
WC oo oo oo cC                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



                           PART SIX                                                If you die and we receive notice within thirty days af-
                          CONDITIONS                                               ter your death, we will cover your legal representa-
                                                                                   tive as insured.
A. Inspection
      We have the right, but are not obliged to inspect                       D. Cancelation
      your workplaces at any time. Our inspections are not                         1.    You may cancel this policy. You must mail or de-
      safety inspections. They relate only to the insurabil-                             liver advance written notice to us stating when
      ity of the workplaces and the premiums to be                                       the cancelation is to take effect.
      charged. We may give you reports on the conditions
      we find. We may also recommend changes. While                                2.    We may cancel this policy. We must mail or de-
      they may help reduce losses, we do not undertake                                   liver to you not less than ten days advance writ-
      to perform the duty of any person to provide for the                               ten notice stating when the cancelation is to take
      health or safety of your employees or the public. We                               effect. Mailing that notice to you at your mailing
      do not warrant that your workplaces are safe or                                    address shown in Item 1 of the Information Page
      healthful or that they comply with laws, regulations,                              will be sufficient to prove notice.
      codes or standards. Insurance rate service organiza-                          3.   The policy period will end on the day and hour
      tions have the same rights we have under this                                      stated in the cancelation notice.
      provision.                                                                    4.   Any of these provisions that conflict with a law
                                                                                         that controls the cancelation of the insurance in
B.    Long Term Policy                                                                   this policy is changed by this statement to com-
      If the policy period is longer than one year and six-                              ply with the law.
      teen days, all provisions of this policy will apply as
      though a new policy were issued on each annual                          E. Sole Representative
      anniversary that this policy is in force.                                  The insured first named in Item 1 of the Information
                                                                                 Page will act on behalf of all insureds to change this
C. Transfer of Your Rights and Duties                                            policy, receive return premium, and give or receive
      Your rights or duties under this policy may not be                         notice of cancelation.
      transferred without our written consent.




     IN WITNESS WHEREOF, Protective Insurance Company has caused this policy to be signed by its Offficer(s).




        PRESIDENT                                                                 SECRETARY .... j
                                                                                  SECRETARyj




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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 272 of 514 Page ID
                                      #:1224


                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      RW008981
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


MASSACHUSETTS


STORAGE WAREHOUSE NOC                                           8292            2,901,000             2.99         $86,740


CLERICAL                                                        8810            2,000,000             0.07          $1,400


TOTAL MANUAL PREMIUM                                                                                               $88,140


EL INCREASED LIMITS                                             9812                                 2.0%           $1,763


EXPERIENCE MOD                                                  9898                                  1.01            $899


TOTAL STANDARD EST. PREMIUM                                                                                        $90,802


EXPENSE CONSTANT                                                0900                                                  $338


TERRORISM                                                       9740                                  0.03           $1,470


ESTIMATED ANNUAL PREMIUM                                                                                           $92,610


MA INDUSTRIAL ACCIDENT SURCHARGE                                                                    5.60%            $4,985


TOTAL AMOUNT                                                                                                       $97,595




                                           Decl. Barnett, Ex. C-8
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 273 of 514 Page ID
                                      #:1225


                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      RW008981
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS
                THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION


WISCONSIN


CEREAL OF BAR MFG                                                 2016            5,000,000          2.04         $102,000


PRINTING                                                          4299            2,200,000          2.65          $58,300


PHARMECEUTICAL OR SURGICAL GOODS MFG                              4693           15,000,000          1.32         $198,000


CARPENTRY - NOC                                                   5403            500,000           13.40          $67,000


CLEANER
CLEANER-- DEBRIS REMOVAL
                 REMOVAL-- CONSTRUCTION                           5610           1,225,000           7.39          $90,528


FOOD SUNDRIES MFG NOC                                             6504           3,200,000           3.88         $124,160


STORAGE WAREHOUSE NOC                                             8292           3,000,000           7.66         $229,800


CLERICAL                                                          8810           1,369,000           0.24           $3,286


TOTAL MANUAL PREMIUM                                                                                              $873,073


EL INCREASED LIMITS                                               9812                               2.8%          $24,446


EXPERIENCE MOD                                                    9898                               1.01           $8,974


TOTAL STANDARD EST. PREMIUM                                                                                       $906,494


CATASTROPHE                                                       9741                               0.01           $3,149


TERRORISM                                                         9740                               0.02           $6,299


TOTAL AMOUNT                                                                                                      $915,942




                                             Decl. Barnett, Ex. C-9
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 274 of 514 Page ID
                                   #:1226


                                              ENDORSEMENT

This endorsement, effective on               06/30/2017            at 12:01 A.M. standard time, forms a part of

Policy No.      RW008981                 Policy effective on       06/30/2017

Of the          Protective Insurance Company

Issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By              Protective Insurance Company



                                                                            Authorized Representative


It is hereby understood and agreed the reporting provisions of this policy require that the Insured report as payroll
and pay premium based on 33.3% of all amounts paid by the Insured to independent contractors. This percentage
applies to all states except California, Minnesota and Oregon where the Insured will report as payroll and pay
premium based on 25% of all amounts paid by the Insured to independent contractors.

These provisions apply to all independent contractors for whom the Insured does not maintain a certificate of
insurance evidencing valid Workers Compensation coverage, or for whom the Company does not provide work
accident insurance coverage.

All other terms and conditions of this policy remain the same.




 Endorsement No.



 WC10011C (6/01)                       Decl. Barnett, Ex. C-10
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 275 of 514 Page ID
          (This Attaching Clause need be completed only when this#:1227
                                                                  endorsement is issued subsequent to preparation of the policy.)


                                              ENDORSEMENT
This endorsement, effective on                  06/30/2017                      A.M. standard time, forms a part of
                                                                       at 12:01 AM.

Policy No.       RW008981                  Policy effective on         06/30/2017

Of the           Protective Insurance Company

Issued to        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By               Protective Insurance Company




                                                                                  Authorized Representative

 It is hereby understood and agreed that the following Named Insured's and Locations are included:

                                               NAMED INSURED SCHEDULE

  Name Link                                                                                                      NAICS
                                           Insured Name                                        FEIN
    Code                                                                                                         Code
                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT
      001                                                                                  010759364            561320
                  MANAGEMENT
      002         MVP WORKFORCE, LLC                                                       263242640             561320

      003         PERSONNEL STAFFING GROUP, LLC DBA MVP 360                                010759364             561320
                  PERSONNEL STAFFING GROUP, LLC DBA HOTEL
         004                                                                               010759364             561320
                  STAFFING SOLUTIONS
         005      PERSONNEL STAFFING GROUP, LLC DBA BALANCE                                010759364             561320
                  PERSONNEL STAFFING GROUP, LLC DBA
         006                                                                               010759364             561320
                  MACKENZIE & COMPANY
                  MVP WORKFORCE, LLC DBA HOTEL STAFFING
         007                                                                               010759364             561320
                  SOLUTIONS
                  PERSONNEL STAFFING GROUP, LLC DBA KBS
         008                                                                               010759364             561320
                  STAFFING
                  STAFFING GROUP, LLC DBA MOST VALUABLE
         009                                                                               010759364             561320
                  PERSONNEL


                                                   LOCATION SCHEDULE


  Name Link                                                                No. of                                NAICS
                                      Address                                                  Ul No.
                                                                                               UI
    Code                                                                 Employees                               Code

                  198 TREMONT
         001                                                                  1                                  561320
                  BOSTON, MA 02116

  Page 1 of 2


                                              Decl. Barnett, Ex. C-11
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 276 of 514 Page ID
                                       #:1228
                                LOCATION  SCHEDULE

Name Link                                                            No. of             NAICS
                                         Address                               UI No.
                                                                               Ul
  Code                                                             Employees            Code
                  7525 45TH AVENUE
    001                                                                1                561320
                  PLEASANT PRAIRIE, WI 53142
                  198 TREMONT
    002                                                                1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
    002                                                                1                561320
                  PLEASANT PRAIRIE, WI 53142
                  198 TREMONT
    003                                                                1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
     003                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                  198 TREMONT
     004                                                               1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
     004                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                                    Wl53142
                  198 TREMONT
     005                                                               1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
     005                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                  198 TREMONT
     006                                                               1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
     006                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                                    Wl53142
                  198 TREMONT
     007                                                               1                561320
                  BOSTON, MA 02116
                  7525 45TH AVENUE
     007                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                   198 TREMONT
     008                                                               1                561320
                   BOSTON, MA 02116
                  7525 45TH AVENUE
     008                                                               1                561320
                  PLEASANT PRAIRIE, WI 53142
                   198 TREMONT
     009                                                               1                561320
                   BOSTON, MA 02116
                   7525 45TH AVENUE
     009                                                               1                561320
                   PLEASANT PRAIRIE, WI 53142

All other terms and conditions of this policy remain the same.
WC1001LOC (3/10)
WC1001LOC


Page 2 of 2




                                                     Decl. Barnett, Ex. C-12
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 277 of 514 Page ID
                                    #:1229
             (This Attaching Clause need be completed only when this endorsement is issued subsequent to preparation of the policy.)




                                                         ENDORSEMENT

This endorsement, effective on                        06/30/2017                   at 12:01 A.M. standard time, forms a part of

Policy No.         RW008981                      Policy effective on               06/30/2017

Of the             Protective Insurance Company

Issued to          PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By                 Protective Insurance Company




                                                                                                Authorized Representative


 It is hereby understood and agreed that the tax multiplier(s) for this policy are estimates only and will be
 adjusted annually to correspond to the actual taxes and assessments incurred by the company.

 All other terms and conditions of this policy remain unchanged.




  Endorsement No.
  WC1 001 (6/01)
  WC1001                                        Decl. Barnett, Ex. C-13
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 278 of 514 Page ID
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY
                                       #:1230 INSURANCE POLICY                                                     we 00
                                                                                                                   WC oo 01 04A
                                                                                                                              10-04)
                                                                                                                         (Ed. 10-04)

                             FEDERAL EMPLOYERS' LIABILITY ACT COVERAGE ENDORSEMENT

 This endorsement applies only to work subject to the Federal Employers' Liability Act (45 USC Sections 51-60) and
 any amendment to that Act that is in effect during the policy period.

 G. Limits of Liability of Part Two (Employers Liability Insurance) is replaced by the following:
    G. Limits of Liability
           Our liability to pay for damages is limited. Our limits of liability are shown in the Schedule. They apply as
           explained below:

            1.   Bodily Injury by Accident. The limit shown for "bodily injury by accident-each accident" is the most we
                 will pay for all damages covered by this insurance because of bodily injury to one or more employees in
                 any one accident.
                 anyone

                 A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

           2.    Bodily Injury by Disease. The limit shown for "bodily injury by disease-aggregate" is the most we will pay
                 for all damages covered by this insurance because of bodily injury by disease to one or more employees.
                 The limit applies separately to bodily injury by disease arising out of work in each state shown in Item 3.A.
                 of the Information Page or in the Schedule.
                 Bodily injury by disease does not include disease that results directly from bodily injury by accident.

            3.   We will not pay any claims for damages after we have paid the applicable limit of our liability under this
                 insurance.

 If any state is named in Item 2 of the Schedule, Part Two (Employers Liability Insurance) applies in that state to work
 subject to the Federal Employers' Liability Act as though that state were listed in Item 3.A. of the Information Page.
 Part One (Workers Compensation Insurance) does not apply in a state shown in the Schedule.

 Part Two (Employers Liability Insurance), C. Exclusions, exclusion 9, does not apply to work subject to the Federal
 Employers' Liability Act.

                                                              Schedule

 1. Limits of Liability

     Bodily Injury by Accident                                                                  $ 1,000,000 each accident

     Bodily Injury by Disease                                                                    $ 1,000,000 aggregate

 2. State

    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.


  {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
  (The



Policy Effective              06/30/2017
Endorsement Effective         06/30/2017                         Policy No. RW008981                       Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                               ;}remium
                                                                                                                 ;}remiUm

Insurance Company             Protective Insurance Company       Countersigned by                  fAA:{ cf'
we 00
WC oo 0104
      01 04 A

                                                    Decl. Barnett, Ex. C-14
(Ed. 10-04)
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 279 of 514 Page ID
                                       #:1231




                            WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                we 00
                                                WC oo 01 06 A
                 LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                             COVERAGE ENDORSEMENT
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
         (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                         06/30/2017                    at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.          RW008981

of the              Protective Insurance Company
                    (NAME OF INSURANCE COMPANY)

issued to           PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


Premium (if any) $ Included                                                                Mdf'
                                                                                           Mdcf
                                                                                           Authorized Representative


This endorsement applies only to work subject to the Longshore and Harbor Workers' Compensation Act in a state shown
in the Schedule. The policy applies to that work as though that state were listed in Item 3.A. of the Information Page.
General Section C. Workers' Compensation Law is replaced by the following:
C. Workers' Compensation Law
    Workers' Compensation Law means the workers or workmen's compensation law and occupational disease law of
    each state or territory in Item 3.A. of the Information Page and the Longshore and Harbor Workers' Compensation Act
    (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during the policy period. It
    does not include any other federal workers or workmen's compensation law, other federal occupational disease law or
    the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8., does not apply to work sUbject
                                                                                                subject to the Longshore
and Harbor Workers' Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or the
Nonappropriated Fund Instrumentalities Act.
                                                      Schedule
State                                                                                  Longshore and Harbor Workers'
                                                                                    Compensation Act Coverage Percentage
Each state named in Item 3.A. or 3.C.                                                      Percentages as promulgated
ofthe
of the Information Page                                                                    byNCCI
                                                                                           by NCCI

The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to the
Longshore and Harbor Workers' Compensation Act. If this policy covers work under such classifications, and if the work is
subject to the Longshore and Harbor Workers' Compensation Act, those non-F classification rates will be increased by the
Longshore and Harbor Workers' Compensation Act Coverage Percentage filed by the insurance company.




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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY
                                      #:1232 INSURANCE POLICY                                               we 00
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                                             ALTERNATE EMPLOYER ENDORSEMENT

This endorsement applies only with respect to bodily injury to your employees while in the course of special or
temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer is
insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to work
you perform under the contract or at the project named in the Schedule.

Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits required
by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled to them.

The insurance afforded by this endorsement is not intended to satisfy the alternate employer's duty to secure its
obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the alternate
employer with any government agency.

We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.

Premium will be charged for your employees while in the course of special or temporary employment by the alternate
employer.

The policy may be canceled according to its terms without sending notice to the alternate employer.

Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
recognize our right to defend under Parts One and Two and our right to inspect under Part Six.

                                                              Schedule


1. Alternate Employer                                                                      Address
       Where required by written contract
2.     State of Special or Temporary Employment

3.     Contract or Project




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise
                                                            stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                       Policy No. RW008981                  Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          Premium


     Insurance Company                                     Countersigned by _ _ _ _::;_{;Jv-/
                                                                                     ____1.....;_
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                                      #:1233INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we 00
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                                                                                                                        (Ed. 4-84)

                        WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce
our right against the person or organization named in the Schedule. (This agreement applies only to the extent that
you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                             Schedule

Where required by written contract




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
   Endorsement Effective        06/30/2017                       Policy No. RW008981                          Endorsement No.
   Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .                       /J       Premium

   Insurance Company          Protective Insurance Company                                    _ __;;;__C(_,_______
                                                                   Countersigned by _ _---lWd<--_----::...-cr--"--
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we 000414
                                                                         WC oo 0414
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                               NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such
changes within this period may result in revision of the experience rating modification factor used to determine your
premium.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. RW008981                          Endorsement No.
  Insured                                                                 MAN~G~EPEN/
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT MAN~G~EpEN/                       iJ
                                                                                                            jJ       Premium

  Insurance Company          Protective Insurance Company        Countersigned byby---=-~-
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                                                PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                           PART FIVE
                                                           PREMIUM




D.   Premium is amended to read:
     You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
     not valid. The due date for audit and retrospective premiums is the date of the billing.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective
  Insured
                                06/30/2017                      Policy No. RW008981
                                                          LLC DBA BARNETT MAN=T
                                PERSONNEL STAFFING GROUP, LLG                                            !.iJEndorsement No.
                                                                                                                     Premium

  Insurance Company           Protective Insurance Company                         -----"~"----=---1:_,.__
                                                                 Countersigned by _ _   ---"~"--
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we 00
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           CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM) PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may occur in
the event of a Catastrophe (other than Certified Acts of Terrorism) as that term is defined below. Your policy provides
coverage for workers compensation losses caused by a Catastrophe (other than Certified Acts of Terrorism). This
premium charge does not provide funding for Certified Acts of Terrorism contemplated under the Terrorism Risk
Insurance Program Reauthorization Act Disclosure Endorsement (WC 00 04 22 B), attached to this policy.

For purposes of this endorsement, the following definitions apply:
•   Catastrophe (other than Certified Acts of Terrorism): Any single event, resulting from an Earthquake, Noncertified
    Act of Terrorism, or Catastrophic Industrial Accident, which results in aggregate workers compensation losses in
    excess of $50 million.
•   Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along a
    fault plane or from volcanic activity.
•   Noncertified Act of Terrorism: An event that is not certified as an Act of Terrorism by the Secretary of Treasury
    pursuant to the Terrorism Risk Insurance Act of 2002 (as amended) but that meets all of the following criteria:
    a.     It is an act that is violent or dangerous to human life, property, or infrastructure;
    b.     The act results in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or air carriers or vessels as those terms are defined in the Terrorism
           Risk Insurance Act of 2002 (as amended); and
    c.     It is an act that has been committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
•     Catastrophic Industrial Accident: A chemical release, large explosion, or small blast that is localized in nature and
      affects workers in a small perimeter the size of a building.
The premium charge for the coverage your policy provides for workers compensation losses caused by a Catastrophe
(other than Certified Acts of Terrorism) is shown in Item 4 of the Information Page or in the Schedule below.


                                                                     Schedule



                           State                                          Rate                          Premium




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective             06/30/2017
    Endorsement Effective        06/30/2017                              Policy No. RW008981                   Endorsement No.
    Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .                      /J
                                                                                                             iJ        Premium

    Insurance Company         Protective Insurance Company                 Countersigned by   ---~W+
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
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      TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Program Reauthorization Act of 2015. It serves to notify you of certain limitations
under the Act, and that your insurance carrier is charging premium for losses that may occur in the event of an Act of
Terrorism.
Your policy provides coverage for workers compensation losses caused by Acts of Terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms,
definitions, exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or
regulations.
Definitions
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.
"Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
amendments thereto, including any amendments resulting from the Terrorism Risk Insurance Program
Reauthorization Act of 2015.
"Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary of
Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
a. The act is an act of terrorism.
b. The act is violent or dangerous to human life, property or infrastructure.
c.   The act resulted in damage within the United States, or outside of the United States in the case of the premises of
     United States missions or certain air carriers or vessels.
d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian population of
   the United States or to influence the policy or affect the conduct of the United States Government by coercion.
"Insured Loss" means any loss resulting from an act of terrorism (and, except for Pennsylvania, including an act of
war, in the case of workers compensation) that is covered by primary or excess property and casualty insurance
issued by an insurer if the loss occurs in the United States or at the premises of United States missions or to certain
air carriers or vessels.
"Insurer Deductible" means, for the period beginning on January 1, 2015, and ending on December 31, 2020, an
amount equal to 20% of our direct earned premiums, during the immediately preceding calendar year.
Limitation of Liability
The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a calendar
year and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the amount of
Insured Losses that exceeds $100,000,000,000; and for aggregate Insured Losses up to $100,000,000,000, we will
pay only a pro rata share of such Insured Losses as determined by the Secretary of the Treasury.
Policyholder Disclosure Notice
1. Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry Insured
   Losses exceed:
     a. $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
        Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
     b.   $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
          Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
     c.   $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
          Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
     d.   $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
          Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
     e.   $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
          Government would pay 81 % of our Insured Losses that exceed our Insurer Deductible.
                                81%
     f.   $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
                                                    Decl. Barnett, Ex. C-21
          Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 286 of 514 Page ID
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                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



2. Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
   portion of Insured Losses that exceed $100,000,000,000.
3. The premium charge for the coverage your policy provides for Insured Losses is included in the amount shown in
   Item 4 of the Information Page or in the Schedule below.


                                                                    Schedule


                        State                                              Rate                              Premium




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. RW008981                     Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          /J
                                                                                                               IJ       Premium

  Insurance Company           Protective Insurance Company                 Countersigned by _ _ _   __.Wd:' -----"-'f_,__
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we 00
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                                      AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT

Part Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as specified
under the policy.



                                                                    Schedule


                                                              Basis of Audit                            Maximum
                    State(s)                                                                   Audit Noncompliance Charge
                                                          Noncompliance Charge
                                                                                                        Multiplier

                       WI                                            $915,942                                      2




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               06/30/2017
 Endorsement Effective          06/30/2017                              Policy No. RW008981                   Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         iJ
                                                                                                             /}        Premium


 Insurance Company             Protective Insurance Company                                         -=-_'f-"----
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                                 RETROSPECTIVE RATING PLAN PREMIUM ENDORSEMENT
                                                 ONE·YEAR
                                                 ONE-YEAR PLAN

This endorsement is added to Part Five (Premium) because you chose to have the cost of the insurance rated
retrospectively. This endorsement explains the rating plan and how the retrospective rating plan premium will be
determined.
This endorsement applies in the states listed in the Schedule. It determines the retrospective rating plan premium for
the insurance provided during the rating plan period by this policy and any policy listed in the Schedule. The rating
plan period is the one-year period beginning with the effective date of this endorsement.
The amount of retrospective rating plan premium depends on five standard elements and two elective elements.
A.   Retrospective Rating Plan Premium Standard Elements
     The five standard elements are explained here.
     1.   Standard premium is the premium we would charge during the rating plan period if you had not chosen a
          retrospective rating plan. Standard premium does not include the following elements and any other elements
          excluded based on our manuals:
           • Premium discount
           • Expense constant
           • Premium resulting from the nonratable element codes
           • Premium developed by the occupational disease rates for employers subject to the Federal Mine Safety
               and Health Act
           • Premium developed by the catastrophe provisions
     2.   Basic premium is less than standard premium. It is standard premium multiplied by a percentage called the
          basic premium factor. The basic premium factor varies depending on the total amount of standard premium.
          The basic premium factor includes:
           • General administration costs of the carrier
           • Cost of loss control services
           • Insurance charge
          The basic premium factor does not cover premium taxes or claims adjustment expenses. Those elements are
          usually provided for in the tax multiplier and the loss conversion factor.
          The Schedule shows a range of basic premium factors for differing amounts of estimated standard premium.
          The actual basic premium factor will be determined after the standard premium is determined. If earned
          standard premium is not within the range of the estimated standard premiums shown in the Schedule, the
          basic premium will be recalculated.
     3.                                        pay or estimate we will pay for losses, interest on judgements, expenses
          Incurred losses are all amounts we payor
          to recover against third parties, and employers liability loss adjustment expenses. This includes paid and
          outstanding losses (including any reserves set on open claims). If the allocated loss adjustment expense
          (ALAE) option is elected, then incurred losses will include ALAE.
          Note: The rating formula for incurred losses will not include a loss for the following elements or any other
          elements excluded from our manuals, as applicable:
           • Resulting from the nonratable element codes
           • For the disease-related portion of losses covered under the Federal Mine Safety and Health Act
           • Resulting from the application of catastrophe provisions
           • Reported as fully fraudulent
           • Reported as noncompensable
     4.   Converted incurred losses are based on the incurred losses for a policy or policies to which the retrospective
          rating plan applies. A loss conversion factor is applied to incurred losses to produce the converted incurred
          losses. The loss conversion factor is shown in the Schedule.                                       .·
     5.   Taxes are a part of the premium we collect. Taxes are determined as a percentage of basic premium,
          converted incurred losses, and any elective elements. The percentage is called the tax multiplier. It varies by
          state and by federal and nonfederal classifications. The tax multipliers are shown in the Schedule.



                                                    Decl. Barnett, Ex. C-24
                                                                      Page 1 of 4
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 289 of 514 Page ID
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B.
B. Retrospective Rating Plan Premium Elective Elements
   Two other elements are included in determining retrospective rating plan premium if you elected to include them.
   They are the excess loss premium for the loss limitation and the retrospective development premium. They are
   explained here.
   1. The election of a loss limitation means that the amount of incurred loss to be included in the retrospective
       rating plan premium is limited to an amount called the loss limitation. The loss limitation applies separately to
       each person who sustains bodily injury by disease and separately to all bodily injury arising out of any
                                                                                                             anyone
                                                                                                                 one
       accident.
       The charge for this loss limitation is called the excess loss premium. Excess loss premium is a percentage of
       standard premium multiplied by the loss conversion factor. The percentage is called the excess loss premium
       factor.
       Excess loss premium factors vary by state, by classification, and by the amount of the loss limitation. If you
       chose this elective element, the loss conversion factor, the loss limitation, the excess loss premium factors,
       and the states where they apply are shown in the Schedule.
   2. The retrospective development element is used to help stabilize premium adjustments. The premium for this
       element is charged with the first three calculations of a retrospective rating plan premium and is called the
       retrospective development premium. It is a percentage of standard premium multiplied by the loss conversion
       factor. The percentage of standard premium is called the retrospective development factor.
       Retrospective development factors vary by state, by electing a loss limitation, and by first, second, and third
       calculations of retrospective rating plan premium. If you chose this elective element, the retrospective
       development factors are shown in the Schedule.

C. Retrospective Rating Plan Premium Formula
   Insurance policies listed in the Schedule will be combined with this policy to calculate the retrospective rating plan
   premium. If the policies provide insurance for more than one insured, the retrospective rating plan premium will be
   determined for all insureds combined, not separately for each insured.
   1. Retrospective rating plan premium is the sum of basic premium, converted losses, plus the excess loss
       premium and retrospective development premium elective elements if you chose them. This sum is multiplied
       by the applicable tax multiplier shown in the Schedule.
   2. The retrospective rating plan premium will not be less than the minimum or more than the maximum
       retrospective rating plan premium. The minimum and maximum retrospective rating plan premiums are
       determined by applying the minimum and maximum retrospective rating plan premium factors, shown in the
       Schedule, to the standard premium.
   3. If this endorsement applies to more than one policy or state, the standard premium will be the sum of the
       standard premiums for each policy and state.

D. Calculation of Retrospective Rating Plan Premium
   1. We will calculate the retrospective rating plan premium using all loss information we have as of a date six
      months after the rating plan period ends and annually thereafter.
      We may make a special valuation of a retrospective rating plan premium as of any date that you are declared
      bankrupt or insolvent, make an assignment for the benefit of creditors, are involved in reorganization,
      receivership, or liquidation, or dispose of all your interest in work covered by the insurance. You will pay the
       amount due to us if the retrospective rating plan premium is more than the total standard premium as of the
       special valuation date.
   2. After any calculation of retrospective rating plan premium, you and we may agree that it is the final
      calculation.
   3. After each calculation of the retrospective rating plan premium, you will pay promptly the amount due us, or
      we will refund the amount due you. Each insured is responsible for the payment of all standard premium and
      retrospective rating plan premium calculated under this endorsement.

E. Insureds Operating in More Than One State
   If any of the policies provide insurance in a state not listed in the Table of States, and if you begin work in that
   state during the retrospective rating plan period, this endorsement will apply to that insurance if this retrospective
   rating plan applies in that state on an interstate basis. The retrospective rating plan premium standard elements,
   and the elective elements you chose, will be determined by our manuals for that state, and added to the Schedule
   by endorsement.

                                                    Decl. Barnett, Ex. C-25
                                                                      Page 2 of 4
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 290 of 514 Page ID
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F. Cancellation of a Policy Under a Retrospective Rating Plan
     1.   If the policy to which this endorsement is attached is cancelled, the effective date of the cancellation will
          become the end of the rating plan period of all insurance subject to this endorsement.
     2.   If other policies listed in the Schedule of this endorsement are cancelled, the effective date of cancellation will
          become the end of the rating plan period for all insurance subject to this endorsement unless we agree with
          you, by endorsement, to continue the rating plan period.
     3.   If we cancel for nonpayment of premium, the maximum retrospective rating plan premium will be based on the
          standard premium for the rating plan period, increased pro rata to 365 days, and will include all of the
          applicable retrospective rating plan factors shown in the Schedule.
     4.   If you cancel, the standard premium for the rating plan period will be increased by our short rate table and
          procedure. This short rate premium will be the minimum retrospective rating plan premium and will be used to
          determine the basic premium.
          The short rate premium will be used to determine the excess loss premium and retrospective development
          premium if you chose these elective elements.
          The maximum retrospective rating plan premium will be based on the standard premium for the rating plan
          period, increased pro rata to 365 days.
     5.   Section FA.
                    F.4. will not apply if you cancel because:
          a. All work covered by the insurance is completed
          b. All interest in the business covered by the insurance is sold
          c. You retire from all business covered by the insurance



                                                                     Schedule


1.   Other policies subject to this Retrospective Rating Plan Premium Endorsement




2.   Loss Limitation: $ 500,000
                        ------

3.                           1.09
     Loss Conversion Factor --=..:'-=--=----
                            __:_:'-=---=-----


     Minimum Retrospective Rating Plan Premium Factor                       Basic x Tax

     Maximum Retrospective Rating Plan Premium Factor                       Unlimited

4.   The basic premium factors shown here are based on estimates of standard premium. If the actual standard
     premium is within the range of estimated standard premiums shown here, the basic premium factor will be
     obtained by linear interpolation to the nearest one-tenth of 1%. If the actual standard premium is not within the
                                                                  1%.
     range of estimated standard premiums, shown below, the basic premium factor will be recalculated.

                                                                          50%                        100%                     150%

     Estimated Standard Premium:                                $_-
                                                                $ _-_-_
                                                                      -_-                 $$_-=9:..=9..:...7=,2=-96=--_
                                                                                            _ _:9::...=9-=-7=,2=--96=---   $_-
                                                                                                                           $ _-_
                                                                                                                               -_-_
                                                                                                                                  --_

     Basic Premium Factor:                                                                           0.205

5.   The tax multipliers, excess loss premium factors, and retrospective development factors, and the states where
     they apply, are shown in the Table of States.




                                                                      Page 3 of 4

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      os 03 cC                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



TABLE OF STATES

                          Excess Loss Premium Factors                               Tax Multiplier                  Retrospective
                                                                                                                    Development
                                                                                                                      Factors
                            State                  Federal                 State                 Federal
                         (Other than            (UF" Classes
                                                ("F"                    (Other than           (UF" Classes
                                                                                              ("F"
       State            uF"                                            uF"
                                                                       "F" Classes)               Only)       1st        2nd        3rd
                        "F" Classes)                Only)


  MA                                                                1.09                  These tax
                                                                                          multipliers are
                                                                                          adjustable. See
                                                                                          endorsements:

                                                                                          WC200501
                                                                                          &
                                                                                          Wl1001
                                                                                          WI1001

  WI                                                                1.09




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective               06/30/2017
   Endorsement Effective          06/30/2017                               Policy No. RW008981                        Endorsement No.
   Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 /J
                                                                                                                       /1      Premium

   Insurance Company            Protective Insurance Company                Countersigned by                 ~C('
                                                                                                              cr:
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   WC   oo 05
           os 03 cC
   (Ed. 1-15)




                                                    Decl. Barnett, Ex. C-27
                                                                      Page 4 of 4

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                                      #:1244INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 00
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                                                                                   A

                                                                                                                         (Ed. 01-10)

                  RETROSPECTIVE RATING PLAN PREMIUM ENDORSEMENT-FLEXIBILITY OPTIONS



This endorsement is added to Part Five (Premium) because you chose to have the cost of the insurance rated
retrospectively.

The retrospective rating plan premium endorsement attached to the policy is changed by the selection of one or more of
the options shown below in the Schedule.




                                                                     Schedule


1.     Incurred losses are changed to include allocated loss adjustment expense in these states:
       All states listed in item 3A of the Information Page.

2.     The correctly calculated basic premium factor for 100% of the estimated standard premium shall be used without
       linear interpolation, for each calculation of retrospective premium.

3.     Each calculation of retrospective rating plan premium will use all loss information we have as of a date agreed to by
       you and us.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                               Policy No. RW008981                    Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT r~N~GEMEY                          /J         Premium

     Insurance Company        Protective Insurance Company                                ----'~e...._ 'cr~
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                                                                          Countersigned by ___.{/(.A--te...._                       _
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                                      #:1245INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we 20 03
                                                                         WC    o3 01
                                                                                                                        (Ed. 4-84)


                                  MASSACHUSETTS LIMITS OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Massachusetts is listed in Item 3.A. of the Information Page.

Our liability to you under Section 25 of Chapter 152 of the General Laws of Massachusetts is not subject to the limit of
liability that applies to Part Two (Employers Liability Insurance).




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. RW008981                          Endorsement No.
  Insured                                                         BARNETTr~NffGEM~T / / '
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETTr~N:GEM~T                                   Premium

  Insurance Company          Protective Insurance Company         Countersigned by   -'~=---------C(
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  we 20 03 01
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  (Ed. 4-84)

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                                      #:1246INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
                                                                        WC 20 03 02 A

                                                                                                                        (Ed. 9-08)


                                           MASSACHUSETTS-ASSESSMENT CHARGE

Massachusetts General Laws, Chapter 152, Section 65, as amended by Chapter 572 of the Acts of 1985, establishes a
workers compensation special fund and a workers compensation trust fund.

On behalf of the Department of Industrial Accidents (DIA), the insurance company providing workers compensation
coverage is required to bill and collect an assessment charge covering the special and trust funds from insured
employers and remit the amounts collected to the State Treasury.

The assessment charge, which is determined by applying a rate (subject to annual change) to the DIA's standard
premium, as defined and outlined in 452 CMR 7.00, developed under your policy, is shown as a separate item on the
information page of the policy. The rate may be different for private employers and for the Commonwealth and its
political subdivisions.

The income derived from the assessment charge will be used to fund the operating expenses of the DIA and to fund
certain employee benefits as described in Chapter 152.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                              Policy No. RW008981                  Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J        Premium

  Insurance Company           Protective Insurance Company                 Countersigned by   ------'~"'------ct'_,__
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                                      #:1247INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we    0303
                                                                        WC 20 03 03 D
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                              MASSACHUSETTS NOTICE TO POLICYHOLDER ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Massachusetts is shown in Item 3.A. of
the Information Page.

1.   Rates and Premium
     The policy contains rates and classifications that apply to your type of business. If you have any questions
     regarding the rates or classifications, please contact your agent or us.
     You may obtain pertinent rating information by submitting a written request to the Workers' Compensation Rating
     and Inspection Bur~au of Massachusetts at the address shown in this endorsement or to us at our company
     address shown on this endorsement. We may require you to pay a reasonable charge for furnishing the
     information.
     You may also submit a written request for a review of the method by which your classification, rates, premiums or
     audit results were determined. If we fail to grant or reject your request within thirty days after it is made or if you are
     not satisfied by the results of our review, you may submit a written request for review to the Workers'
     Compensation Rating and Inspection Bureau of Massachusetts ("WCRIBMA") at the address shown in this
     endorsement. If the WCRIBMA fails to grant or reject your request within thirty days after it is made or [i]f you are
     not satisfied with the results of the WCRIBMA review, you may appeal to the Commissioner of Insurance at the
     address shown in this endorsement.

2.    Reserves or Settlements
      You may request a loss run, which contains reserve and settlement information for claims that relate to the
      premium for this policy. Such a request must be in writing and should be sent to our address shown on this
      endorsement. We will provide you with that information within thirty (30) days of receipt of your request, and at
      reasonable intervals thereafter.
      If you have any questions or believe that we set unreasonable reserves or made unreasonable settlements that
      affected your premiums or losses, you may make a written request through your agent or directly to us for a
      meeting with our company representative. If you are not satisfied with the results of the meeting, you may make a
      written appeal to the Insurance Commissioner at the address shown on the endorsement.

3.    Named Insured
      You are responsible for immediately reporting all changes in name or legal status to us in writing at the company
      address shown in this Endorsement.
      If you want to add a named insured or replace the named insured with another legal entity on any policy issued
      through the Massachusetts Assigned Risk Pool you must submit a new Assigned Risk Pool Application, including a
      Confidential Request for Information Form (ERM), to the Workers' Compensation Rating and Inspection Bureau of
      Massachusetts at the address shown in this Endorsement.

4.     Insured's Mailing Address
      Notices relating to this Policy will be mailed or delivered to your mailing address. Your mailing address is that which
      is shown in Item 1 of the Information Page or in a change of address Endorsement to the Policy. You are
      responsible for notifying us in writing at the company address shown in this Endorsement about any change to your
      mailing address.




                                                                    Page 1 or 2
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 296 of 514 Page ID
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WC                                     #:1248AND EMPLOYERS LIABILITY INSURANCE POLICY
                        WORKERS COMPENSATION

(Ed. 8-10)
     8-1 0)

                                                                     Addresses


The Workers' Compensation Rating and                                                                      Assurance Agency, Ltd.
Inspection Bureau of Massachusetts                                                                        1750 E. Golf Rd.
Attention: Customer Service Department                                                                    Ste. 1100
101 Arch Street, 5th Floor                                                                                Schaumburg, IL 60173
Boston, MA 02210
www.wcribma.org

Commissioner of Insurance
Division of Insurance
Department of Banking and Insurance
1000 Washington St 8th Floor
Boston, MA 02118-2218




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. RW008981                    Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT.                        4        Premium
                                                                                                              4
  Insurance Company           Protective Insurance Company                 Countersigned by   ---"~'-----=----'C(,____
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                                      #:1249INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we       os
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                                                                         WC 20 04

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                                  MASSACHUSETTS PREMIUM DUE DATE ENDORSEMENT



Section D. of Part Five of the policy is replaced by this provision:


                                                          PART FIVE
                                                          PREMIUM


D.   Premium Payments is amended to read:

     You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
     not valid. The audit and retrospective premiums shall be paid by the due date indicated on the billing
     statement.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. RW008981                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT;:?                              Premium

  Insurance Company           Protective Insurance Company       Countersigned by   --"'~-----t:f'--=-----------
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                                      #:1250INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                             we
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                              MASSACHUSETTS RETROSPECTIVE PREMIUM ENDORSEMENT
                                             FLEXIBILITY OPTIONS

The Retrospective Premium Endorsement attached to the policy is changed by the information shown in the Schedule.


                                                             Schedule


1. Incurred losses are changed to include allocated loss adjustment expense in Massachusetts.

2. Each calculation of retrospective premium will use all loss information we have as of a date agreed to by you and
     us.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective             06/30/2017
Endorsement Effective        06/30/2017                      Policy No. RW008981                          Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT M?N.A~EM~
                                                                        M1N.A~EMEY / }            iJ  Premium

Insurance Company          Protective Insurance Company        Countersigned by _    _____'cf
                                                                                  ____;;.f;Vvvt
                                                                                _----'-(;Vvv1   'c_______
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                                      #:1251INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
                                                                        WC 20 06 01 A

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                                      MASSACHUSETTS CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Massachusetts is shown in Item 3.A. of
the Information Page.

The Cancellation Condition of the policy is replaced by the following:

Cancellation
1.  You may cancel this policy by mailing or delivering to us advance written notice requesting cancellation. Such
    cancellation shall not be effective until ten days after written notice is given by us to The Workers' Compensation
    Rating and Inspection Bureau of Massachusetts (Bureau), or until notice has been received by the Bureau that you
    have secured insurance from another insurance company, whichever occurs first. Our notice to the Bureau may be
    given by electronic transmission.

2.      We may cancel this policy only if based on one or more of the following reasons: (i) nonpayment of premium; (ii)
        fraud or material misrepresentation affecting your policy; or (iii) a substantial increase in the hazard insured
        against. Such cancellation shall not be effective until ten days after written notice is given by us to you and The
        Workers' Compensation Rating and Inspection Bureau of Massachusetts (Bureau), or until notice has been
        received by the Bureau that you have secured insurance from another insurance company, whichever occurs first.
        Our notice to the Bureau may be given by electronic transmission.

3.      We will mail or deliver the notice of cancellation to you at your last address, which shall be the mailing address
        shown in Item 1 of the Information Page or the change of mailing address shown in an Endorsement to the Policy.
        Pursuant to M.G.L. Chapter 175, Section 187C, a written notice of cancellation shall be deemed effective when
        mailed by us if we obtain a certificate of mailing receipt from the United States Postal Service showing your name
        and address as stated in the policy.

4.      Any of these provisions that conflict with the law that controls the cancellation of this insurance policy is changed by
        this statement to comply with the law.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            06/30/2017
     Endorsement Effective       06/30/2017                              Policy No. RW008981                        Endorsement No.
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT r~N~GEM~
                                                                           r~N~GEM~                            /J          Premium

     Insurance Company        Protective Insurance Company                               by---=-~-----
                                                                            Countersigned by                ccr-=--------
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                                      #:1252INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
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                                                                              06 01 c
                                                                                    C

                                                                                                                           (Ed. 4-01)

                                               WISCONSIN LAW ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Wisconsin is shown in Item 3.A. of the
Information Page.

This policy is amended to reflect the following changes and/or additions to clarify or comply with Wisconsin Law:

I.     If our agent has knowledge of a change in or a violation of a policy condition, this will be considered our
       knowledge and will not void the policy or defeat a recovery for a claim.

II. 'Workers Compensation Law" means Chapter 102, Wisconsin Statutes. It does not include and this policy does
    not apply to any obligation under Chapter 40, Wisconsin Statutes, or Section 66.191, Wisconsin Statutes, or any
    amendment to these laws.

Ill. Any language involving "Actions Against Us" is replaced and amended to provide that no legal action may be
III.
     brought against us until there has been full compliance with all the terms of this policy.

IV. If any injury occurs that may be covered by this insurance, the policy is amended to provide that you must notify
    us of that injury as soon as reasonably possible.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          06/30/2017
     Endorsement Effective     06/30/2017                          Policy No. RW008981                          Endorsement No.

     Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT rr-~A~EME~
                                                                         rr-~A~EME~ / / '                     4         Premium

     Insurance Company       Protective Insurance Company           Countersigned by   --=~------C(-=--------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we
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                        WISCONSIN CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Wisconsin is shown in Item 3.A. of the
Information Page.

The Cancellation Section (0)
                         (D) of the Part Six-Conditions is deleted and replaced by the following:

A. Cancellation
    1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
        cancellation is to take effect. If you purchase replacement insurance, the cancellation becomes effective on
        the date the new coverage becomes effective. If no replacement coverage is purchased, the cancellation will
        be effective thirty (30) days after the receipt of written notice by the Wisconsin Compensation Rating Bureau.

    2. We may cancel the policy for any reason if the policy has been in effect for less than sixty (60) days. If the
        policy is issued for a term longer than one year or for an indefinite term, we may cancel the policy for any
        reason on an annual anniversary of the policy effective date. We may cancel the policy at any other time for
        the following reasons:

        a.   You fail to pay all premiums when due, however, we must deliver or mail, first class, not less than thirty
             (30) days advance written notice stating when the cancellation is to take effect;

        b.   A material misrepresentation;

        c.   A substantial breach of the obligations, conditions or warranties under the policy; or

        d.   A substantial change in the risk we assumed under the policy, unless it was reasonable for us to foresee
             the change or expect the risk when we issued the policy.

    3. If we cancel for any permissible reason other than nonpayment of premium, we must deliver or mail, first
        class, not less than *thirty (30) days notice stating when the cancellation is to take effect. Mailing that notice
        to you at your mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

    4. The policy period will end on the day and hour stated in a notice of cancellation.
B. Nonrenewal
    1. You have the right to have the insurance renewed unless we deliver or mail to you not less than *sixty (60)
        days advance written notice stating our intention not to renew this policy.

    2. We do not have to renew the insurance if you do not pay the renewal premium billing by the due date or if
        you accept replacement insurance, are insured elsewhere, requested or agree to nonrenewal, or if the policy
        is expressly designated as being nonrenewable.

    3. If we renew the insurance, we may use the policy forms, rates and rating plans we are then using for similar
        risks. We may limit the policy to a term equivalent to the term of the expiring policy or one year, whichever is
        less.

    4. If we offer to renew the policy on less favorable terms, we will mail or deliver written notice of the new terms
       by first class mail to you, the policyholder, at least sixty (60) days prior to the renewal date. The definition of
        "terms" does not include manual rates, experience modification factors, or classification of risks.




                                           Decl. Barnett, Ex. C-37
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 302 of 514 Page ID
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                       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-02)


          If we provide such notice within sixty (60) days prior to the renewal date, the new terms will not take effect
          until sixty (60) days after the notice is mailed or delivered, in which case, you, the policyholder, may elect to
          cancel the renewal policy at any time during the sixty (60) day period. The notice will include a statement of
          your right to cancel. If you elect to cancel the renewal policy during the sixty (60) day period, the return
          premium or additional premium charges shall be calculated proportionally on the basis of the old premiums.



          We need not mail or deliver this notice if the only change adverse to you is a premium increase that;



          (a) is less than 25%; or,



          (b) results from a change based on your action that alters the nature and extent of the risk insured against,
              including, but not limited to, a change in the classifications for the business.




*     Any written agreement attached to and made a part of the policy, between the insurance carrier and policyholder
      that extends the cancellation or nonrenewal notification time frame, will supersede the aforementioned notification
      requirements found in items A.3. and B.1.,
                                            8.1., respectively.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective           06/30/2017
    Endorsement Effective      06/30/2017                         Policy No. RW008981                          Endorsement No.
    Insured                                                              MANAGEMENT.
                               PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          /7        Premium

    Insurance Company       Protective Insurance Company                             --~-
                                                                                      ~1'
                                                                   Countersigned by _ _  er_________
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    (Ed. 1-02)                                 Decl. Barnett, Ex. C-38
                                                                2 of 2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 303 of 514 Page ID
                                  #:1255




                                 NOTIFICATION TO POLICYHOLDERS
                                  OF LOSS PREVENTION SERVICES


                                     Protective Insurance Company
                                               (Name of Carrier)

      is required by law to provide policyholders with certain loss prevention services. If you would like
      more information or have any questions, please call        (800) 231-6024




      PIC 8054 (6/01)
                                     Decl. Barnett, Ex. C-39
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 304 of 514 Page ID
                                  #:1256




   NOTICE                                                              NOTICE
     TO                                                                  TO
 EMPLOYEES                                                           EMPLOYEES

 The Commonwealth of Massachusetts
         DEPARTMENT OF INDUSTRIAL ACCIDENTS
                600 Washington Street, Boston, Massachusetts 02111
                     617-727-4900-- http://www.mass.gov/dia
                     617-727-4900
As required by Massachusetts General Law, Chapter 152, Sections 21, 22 & 30, this will give you notice
 that I (we) have provided for payment to our injured employees under the above-mentioned chapter by
                                             insuring with:
                                   Protective Insurance Company
                               NAME OF INSURANCE COMPANY
                         P.O. BOX 7099 INDIANAPOLIS, IN 46207-7099
                               ADDRESS OF INSURANCE COMPANY
 RW008981                                                                      06/30/2017 - 06/30/2018
 POLICY NUMBER                                                                      EFFECTIVE DATES
 Assurance Agency, Ltd.                  1750 E. Golf Rd. Ste. 1100 Schaumburg, IL 60173 1(847)797-5700
NAME OF INSURANCE AGENT                         ADDRESS                                         PHONE#
                                                                                                PHONE #

 EMPLOYER                                       ADDRESS

 EMPLOYER'S WORKERS' COMPENSATION OFFICER (IF ANY)                                                  DATE

                               MEDICAL TREATMENT
The above named insurer is required in cases of personal injuries arising out of and in the course of
employment to furnish adequate and reasonable hospital and medical services in accordance with the
                                                                              oflnjury must be given to the
provisions of the Workers' Compensation Act. A copy of the First Report ofInjury
injured employee. The employee may select his or her own physician. The reasonable cost of the ser-
vices provided by the treating physician will be paid by the insurer, if the treatment is necessary and
reasonably connected to the work related injury. In cases requiring hospital attention, employees are
hereby notified that the insurer has arranged for such attention at the


NAME OF HOSPITAL                                                            ADDRESS
                          TO BE POSTED BY EMPLOYER
                                   Decl. Barnett, Ex. C-40
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 305 of 514 Page ID
                                  #:1257



                       NOTICE OF RIGHT TO FILE A COMPLAINT

                    KEEP THIS NOTICE WITH YOUR INSURANCE PAPERS


    PROBLEMS WITH YOUR INSURANCE?-If you are having problems with your
    insurance company or agent, do not hesitate to contact the insurance company or agent to
    resolve your problem.

                               Protective Insurance Company
                              111 Congressional Blvd., Suite 500
                                     Carmel, IN 46032
                                       (800) 626-8381


    You can also contact the OFFICE OF THE COMMISSIONER OF INSURANCE, a
    state agency which enforces Wisconsin's insurance laws, and file a complaint. You can
    contact the OFFICE OF THE COMMISSIONER OF INSURANCE by writing to:


                            Office of the Commissioner of Insurance
                                     Complaint Department
                                          P.O. Box 7873
                                   Madison, WI 53707-7873

    or you can ca111-800-236-8517
               call1-800-236-8517 outside of
                                          ofMadison
                                             Madison or 266-0103 in Madison, and request
    a complaint form.




     WI 01 (1/10)




                                Decl. Barnett, Ex. C-41
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 306 of 514 Page ID
                                  #:1258



                    Protective
                    Insurance
                    Insurance' Company


 RE: WORKERS' COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


 On behalf of Protective Insurance Company, thank you for your Workers' Compensation business.

 If an employee or member of your staff suffers an employment-related injury or illness that
 involves medical care or loss of work time, please contact us at 1-800-479-0981 within 24
 hours of the claim being reported to you.

 All calls will be answered by an experienced professional that specializes in handling First Reports of
 Injury. We anticipate that you will find them knowledgeable, professional and most helpful throughout
 the reporting process. For additional claim reporting information, please see the attached Workers'
 Compensation Quick Reference Guide.

 If you have any other questions or concerns regarding the reporting process or your policy, please do
 not hesitate to contact us at 1-800-479-0981.


 Sincerely,




 David Ghesquiere
 Assistant Vice President of Claims




                                   Decl. Barnett, Ex. C-42
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 307 of 514 Page ID
                                  #:1259



                     Protective
                     Insurance Company

If an employee or member of your staff suffers an employment-related injury or illness that involves
                  loss of work time, please contact us by phone within 24 hours of the claim being
medical care or 1055
reported to you. All calls will be answered by an experienced professional that specializes in handling First
Reports of Injury. We anticipate that you will find them knowledgeable, professional and most helpful
throughout the reporting process.



                                 CLAIM REPORTING INSTRUCTIONS:

         •   Call toll-free, 24 hours a day, 7 days a week, 1-800-479-0981

         •   Employees cannot call in their own claim




    In order to serve you better. please have the following information available when calling:


 D Name, Address, Social Security
                         Security#,
                                  #, Age, Sex, Phone#
                                               Phone # and Email Address of injured employee

 D Name of Employer, Federal Tax ID #, Address, Phone#
                                                Phone # and Email Address

 D Date, Time, Location and Description of Incident (How, Where, Why)

 D Part of body injured and type of injury (Cut, Scrape, Burn, etc.)

   Hourly I Weekly!
 D Hourly!  Weekly I Monthly Wage of injured employee

 D Work schedule of injured employee (Hours per Day, Days per Week, Start I/ End Times)

 D Name and Address of Physician!
                       Physician I Hospital where injured employee was treated

 D Has the injured employee returned to work? If so, date of return? Lost work time involved?

 D Did anyone witness the incident? Was anyone else involved in the incident?

 D If applicable, Terminal/
                  Terminal! Station Address, Phone#
                                             Phone # and Terminal!
                                                         Terminal/ Station Manager Name

 o If applicable, information on vehicle that the injured employee was using (ID
 D                                                                           (10 #, Type, etc.)




                                     Decl. Barnett, Ex. C-43
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 308 of 514 Page ID
                                  #:1260


  ..
  ~
  .~ iii Insurance
         Protective
   .. . . . . . . .Company
                      1nsurance Company


     Return to Work Programs: Get Your Injured
   Employees Back To Work Faster and Save Money

          The following are some of the reasons why a Return to Work
                     Program could benefit your business:

1. Increase the Likelihood of Employees Returning to Work. Injured employees off work
   longer than 6 months have only a 50% likelihood of ever returning to their job; that likelihood
   decreases to less than 10%
                          10% if time lost exceeds 1 year.

2. Injured Employees Return to Work up to 50 Percent Sooner. In companies that have well-
   managed return-to-work programs including transitional duty, up to 90 percent of injured
   employees go back to work within four days of the injury.

3. Reduce Claims Costs up to 70 Percent. Not only are lost-time days reduced, but studies
   show medical costs are also reduced.

4. Faster Recovery Period. Good return-to-work programs treat work as therapy to help the
   employee recover up to 3 times faster than if they stayed at home.

5. Reduce Award Costs. The potential for an employee to become totally and permanently
   disabled is greatly decreased.

6. Reduce Contentious Litigation. Employees are less likely to feel their rights have been
   violated causing them to engage a lawyer.

7. Avoid Hiring and Training a Replacement Worker. Temporary labor can be expensive,
   especially when the new worker must be trained.

8. Reduce Fraud. Return-to-work programs demonstrate that getting injured doesn't necessarily
   mean getting paid for being out of work.

9. Increase Employee Morale. Return-to-work programs are a testament that employees are a
   valuable company asset rather than a disposable resource.

 1O.lt's Effective!!! More than 90 percent of employers using return-to-work programs say they
 1O.lt's
    are effective.


       If you would like to learn more about a Return to Work Program for your
      business, please contact Protective Insurance Company at (800) 644-5501.



                                   Decl. Barnett, Ex. C-44
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 309 of 514 Page ID
                                  #:1261




                      WORKERS' COMPENSATION
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                                      H
                                              ·



                        PREPARED SPECIFICALLY FOR
                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                                  2017 - June 30,
                         June 30, 2017-       30,2018
                                                  2018




                          Decl. Barnett, Ex. C-45
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 310 of 514 Page ID
                                  #:1262




                                 EXHIBIT D
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
          Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 311 of 514 Page ID
                                            #:1263
...
~   IJIIj Protective                                             WORKERS' COMPENSATION AND EMPLOYER'S UABIUTY
                                                                                                      UABILITY
  ~                  Insurance Company                                       INSURANCE POUCY INFORMATION PAGE
111 Congressional Blvd,,
                  Blvd., Suite 500   I Carmel, IN 46032


                   New                                                                       Producer:   Assurance Agency, Ltd.
            Renewal of Number                                                                            1750 E. Golf Road, Ste.1100
                                                                                                         Schaumberg, IL 60173
 Policy No. WD001486

 1.   The Insured/Mailing address:                                                             o
                                                                                               0 Individual                 1Z1 LLC
                                                                                                              0 Partnership IZI
                                                                                               o0 Corporation or r - - - - - - - -
                                                                                                  Corporation o                   _
      Personnel Staffing Group, LLC dba Barnett Management
                                                                                               Insured's Identification No.(s).
      1751 Lake Cook Rd., Ste. 600                                                             FEIN 010759364
      Deerfield, IL 60015
                                                                                                               ID No. 917965579
                                                                                               Interstate Risk 10
                                                                                               CA Bureau ID No. 9463334R
      CARRIER CODE: 14788
                                                                                               NJ Bureau 10ID No. 757513
 Other workplaces not shown above: See WC1 001 LOC                                             PA Bureau 10ID No. 3363657
 2. Policy Period: The policy period is from 06/30/2017 to 06/30/2018 12:01 A.M. Standard Time, at the insured's mailing
       address.
 3. Coverage
       A. Workers Compensation Insurance: Part One of the policy applies to the Workers Compensation Law of the states listed
          here: Alabama, Arizona, Arkansas, California, Colorado, Connecticut, Delaware, Florida, Georgia, Idaho, Illinois,
          Indiana, Iowa, Kansas, Kentucky, Louisiana, Maine, Maryland, Michigan, Minnesota, Mississippi, Missouri,
          Montana, Nebraska, Nevada, New Hampshire, New Jersey, New Mexico, New York, North Carolina, Oklahoma,
          Oregon, Pennsylvania, South Carolina, South Dakota, Tennessee, Texas, Vermont, Virginia, West Virginia

       B. Employers Liability Insurance: Part Two of the policy applies to work in each state listed in item 3.A. The limits of our
          liability under Part Two are:
                                                                     Bodily Injury by Accident              $ 1,000,000         each accident
                                                                     Bodily Injury by Disease               $ 1,000,000         policy limit
                                                                     Bodily Injury by Disease               $ 1,000,000         each employee
       C. Other States Insurance: Part Three of the policy applies to the states, if any, listed here: All states except North
          Dakota, Ohio, Washington, Wyoming and any other state where qualified as a self-insured.
       D. This policy includes these endorsements and schedules: See WC1 001 E
 4.    Premium: The premium for this policy will be determined by our Manuals of Rules, Classifications, Rates and Rating
       Plans. All information required below is subject to verification and change by audit.
                                                     Premium Basis
                                      Code          Total Estimated             Rate Per $100
                                                                                         $1 00 of         Estimated Annual
            Classifications            No.       Annual Remuneration             Remuneration                 Premium
      See Attached Schedule
    Experience Rating                   Premium           Expense
                                                                             Other
   Modification Factor                  Discount          Constant
  Interstate Final 1.01                                    $295                               Total Estimated
  effective 06/30/2017                                                                        Annual Premium          $      4,778,464
                                                                                              Deposit Premium
                                                                                              Minimum Premium
  [ ] This is a Three Year Fixed Rate Policy
  Premium Adjustment Period:              1Z1 Annual; 0
                                          IZI               Semiannual;     0   Quarterly;    0   Monthly

  For information, or to make a complaint, call
                                           ca111-800-231-6024
                                                1·800·231·6024
                                                                           Countersigned by
                                                                           Countersigned             --'-~ t         _
                                                                                              by------'-~-----~-------
                                                                                                              Authorized Representative
                        THIS INFORMATION PAGE WITH THE WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY AND ENDORSEMENTS,
                                            IF ANY, ISSUED TO FORM A PARTTHEREOF COMPLETES THE ABOVE NUMBERED POLICY.
                                                            ©2013 National Council on Compensation Insurance

                                                           Decl. Barnett, Ex. D-1
ABaldwin & Lyons Company
ABaldwin                                                                                                    COVERAGE THAT REVOLVES AROUND
                                                                                                                                   AROUND§      S
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 312 of 514 Page ID
                                   #:1264


WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                             we
                                                                                                                          WC oo oo oo cC
                                                                                                                             000000

                                                                                                                                (Ed. 1-15)


                    WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


In return for the payment of the premium and subject to                                             PART ONE
all terms of this policy, we agree with you as follows:                                  WORKERS COMPENSATION INSURANCE

                                                                                 A. How This Insurance Applies
                     GENERAL SECTION                                               This workers compensation insurance applies to
                                                                                   bodily injury by accident or bodily injury by disease.
A. The Policy                                                                      Bodily injury includes resulting death.
   This policy includes at its effective date the Infor-                            1.    Bodily injury by accident must occur during the
   mation Page and all endorsements and schedules                                         policy period.
   listed there. It is a contract of insurance between                              2.    Bodily injury by disease must be caused or ag-
   you (the employer named in Item 1 of the Infor-                                        gravated by the conditions of your employment.
   mation Page) and us (the insurer named on the In-                                      The employee's last day of last exposure to the
   formation Page). The only agreements relating to                                       conditions causing or aggravating such bodily in-
   this insurance are stated in this policy. The terms of                                 jury by disease must occur during the policy
   this policy may not be changed or waived except                                        period.
   by endorsement issued by us to be part of this
   policy.
                                                                               B. We Will Pay
 B. Who is Insured                                                                We will pay promptly when due the benefits required
                                                                                  of you by the workers compensation law.
    You are insured if you are an employer named in
    Item 1 of the Information Page. If that employer is a
    partnership, and if you are one of its partners, you
                                                                               C. We Will Defend
    are insured, but only in your capacity as an em-                                We have the right and duty to defend at our expense
    ployer of the partnership's employees.                                          any claim, proceeding or suit against you for benefits
                                                                                    payable by this insurance. We have the right to in-
                                                                                    vestigate and settle these claims, proceedings or
 C. Workers Compensation Law                                                        suits.
    Workers Compensation Law means the workers or                                   We have no duty to defend a claim, proceeding or
    workmen's compensation law and occupational                                     suit that is not covered by this insurance.
    disease law of each state or territory named in Item
    3.A. of the Information Page. It includes any
    amendments to that law which are in effect during
                                                                               D. We Will Also Pay
    the policy period. It does not include any federal                              We will also pay these costs, in addition to other
    workers or workmen's compensation law, any fed-                                 amounts payable under this insurance, as part of
    eral occupational disease law or the provisions of                              any claim, proceeding or suit we defend:
    any law that provide nonoccupational disability                                 1. reasonable expenses incurred at our request,
    benefits.                                                                           but not loss of earnings;
                                                                                    2. premiums for bonds to release attachments and
 D. State                                                                               for appeal bonds in bond amounts up to the
    State means any state of the United States of                                       amount payable under this insurance;
    America, and the District of Columbia.                                          3. litigation costs taxed against you;
                                                                                    4. interest on a judgment as required by law until
 E. Locations                                                                           we offer the amount due under this insurance;
    This policy covers all of your workplaces listed in                                 and
    Items 1 or 4 of the Information Page; and it covers                             5. expenses we incur.
    all other workplaces in Item 3.A. states unless you
    have other insurance or are self-insured for such                          E. Other Insurance
    workplaces.
                                                                                  We will not pay more than our share of benefits and
                                                                                  costs covered by this insurance and other




                                                                        1 of 6
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                                   #:1265


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      oo oo Cc                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed.
(Ed. 1-15)
     1-15)


    insurance
    insurance or self-insurance. Subject to any limits of                                a.   benefits payable by this insurance;
    liability
     liability that may apply, all shares will be equal until                            b.   special taxes, payments into security or oth-
    the loss is paid. If any insurance or self-insurance
    the                                                                                       er special funds, and assessments payable
     is exhausted, the shares of all remaining insurance
    is                                                                                        by us under that law.
    will
    will be equal until the loss is paid.
                                                                                   6.    Terms of this insurance that conflict with the
                                                                                         workers compensation law are changed by this
F.
F. Payments You Must Make                                                                statement to conform to that law.
    You
    You are responsible for any payments in excess of                              Nothing in these paragraphs relieves you of your du-
    the
    the benefits regularly provided by the workers                                 ties under this policy.
    compensation
    compensation law including those required
    because:
    because:
    1.
     1. of your serious and willful misconduct;                                                   PART TWO
    2. you knowingly employ an employee in violation                                     EMPLOYERS LIABILITY INSURANCE
        of law;                                                               A.    How This Insurance Applies
    3.
     3. you fail to comply with a health or safety law or                           This employers liability insurance applies to bodily
        regulation; or                                                              injury by accident or bodily injury by disease. Bodily
    4. you discharge, coerce or otherwise discriminate                              injury includes resulting death.
        against any employee in violation of the workers
                                                                                    1. The bodily injury must arise out of and in the
        compensation law.
                                                                                         course of the injured employee's employment by
    If we make any payments in excess of the benefits                                    you.
    regularly provided by the workers compensation
                                                                                    2. The employment must be necessary or inci-
    law on your behalf, you will reimburse us promptly.
                                                                                         dental to your work in a state or territory listed in
                                                                                         Item 3.A. of the Information Page.
G. Recovery From Others
G.                                                                                  3. Bodily injury by accident must occur during
                                                                                                                                 duri ng the
   We have your rights, and the rights of persons enti-                                  policy period.
   tled to the benefits of this insurance, to recover our                           4. Bodily injury by disease must be caused or ag-
   payments
    payments from anyone liable for the injury. You will                                 gravated by the conditions of your employment.
   do
   do everything necessary to protect those rights for                                   The employee's last day of last exposure to the
   us
   us and to help us enforce them.                                                       conditions causing or aggravating such bodily in-
                                                                                         jury by disease must occur during the policy
H. Statutory Provisions
H.                                                                                       period.
   These statements apply where they are required by                                5. If you are sued, the original suit and any related
   law.                                                                                  legal actions for damages for bodily injury by ac-
                                                                                         cident or by disease must be brought in the
   1. As between an injured worker and us, we have                                       United States of America, its territories or pos-
        notice of the injury when you have notice.                                       sessions, or Canada.
   2. Your default or the bankruptcy or insolvency of
   2.
        you or your estate will not relieve us of our du-
        ties under this insurance after an injury occurs.                      B. We Will Pay
   3. We are directly and primarily liable to any per-
   3.                                                                             We will pay all sums that you legally must pay as
        son entitled to the benefits payable by this in-                          damages because of bodily injury to your employ-
        surance. Those persons may enforce our duties;                            ees, provided the bodily injury is covered by this
            may an agency authorized by law. Enforce-
        so mayan                                                                  Employers Liability Insurance.
        ment may be against us or against you and us.                             The damages we will pay, where recovery is permit-
   4. Jurisdiction over you is jurisdiction over us for                           ted by law, include damages:
        purposes of the workers compensation law. We                              1. For which you are liable to a third party by rea-
        are bound by decisions against you under that                                 son of a claim or suit against you by that third
        law, subject to the provisions of this policy that                            party to recover the damages claimed against
        are not in conflict with that law.                                            such third party as a result of injury to your em-
                                                                                      ployee;
   5. This insurance conforms to the parts of the
        workers compensation law that apply to:




                                                                        2 of6
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 314 of 514 Page ID
                                   #:1266


WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                 we 0000
                                                                                                              WC oooo 00
                                                                                                                      oo Cc
                                                                                                                    (Ed. 1-15)



   2. For care and loss of services; and                                9. Bodily injury to any person in work subject to the
   3. For consequential bodily injury to a spouse,                         Federal Employers' Liability Act (45 U.S.C. Sec-
      child, parent, brother or sister of the injured em-                  tions 51 et seq.), any other federal laws obligat-
      ployee; provided that these damages are the di-                      ing an employer to pay damages to an employee
      rect consequence of bodily injury that arises out                    due to bodily injury arising out of or in the course
      of and in the course of the injured employee's                       of employment, or any amendments to those
      employment by you; and                                               laws;
   4. Because of bodily injury to your employee that                    1O.Bodily injury to a master or member of the crew
                                                                        1O.Bodily
      arises out of and in the course of employment,                       of any vessel, and does not cover punitive dam-
      claimed against you in a capacity other than as                      ages related to your duty or obligation to provide
                                                                           transportation, wages, maintenance, and cure
      employer.
                                                                           under any applicable maritime law;
C. Exclusions                                                           11.Fines or penalties imposed for violation of federal
                                                                           or state law; and
   This insurance does not cover:
                                                                        12.Damages payable under the Migrant and Sea-
   1. Liability assumed under a contract. This exclu-
                                                                           sonal Agricultural Worker Protection Act (29
      sion does not apply to a warranty that your work
                                                                            U.S. C. Sections 1801 et seq.) and under any
                                                                            U.S.C.
      will be done in a workmanlike manner;
                                                                            other federal law awarding damages for violation
   2. Punitive or exemplary damages because of bodi-                                                              thereunder,
                                                                           of those laws or regulations issued thereu    nder,
      ly injury to an employee employed in violation of                     and any amendments to those laws.
      law;
   3. Bodily injury to an employee while employed in               D. We Will Defend
      violation of law with your actual knowledge or the
      actual knowledge of any of your executive offic-                We have the right and duty to defend, at our ex-
      ers;                                                            pense, any claim, proceeding or suit against you for
                                                                      damages payable by this insurance. We have the
   4. Any obligation imposed by a workers compensa-                   right to investigate and settle these claims, proceed-
      tion, occupational disease, unemployment com-
                                                                      ings and suits.
      pensation, or disability benefits law, or any simi-
       lar law;
      larlaw;                                                         We have no duty to defend a claim, proceeding or
                                                                      suit that is not covered by this insurance. We have
   5. Bodily injury intentionally caused or aggravated
                                                                      no duty to defend or continue defending after we
      by you;
                                                                      have paid our applicable limit of liability under this
   6. Bodily injury occurring outside the United States               insurance.
      of America, its territories or possessions, and
       Canada. This exclusion does not apply to bodily
       injury to a citizen or resident of the United States         E. We Will Also Pay
       of America or Canada who is temporarily outside                 We will also pay these costs, in addition to other
       these countries;                                                amounts payable under this insurance, as part of
   7. Damages arising out of coercion, criticism, de-                  any claim, proceeding, or suit we defend:
       motion, evaluation, reassignment, discipline,                   1. Reasonable expenses incurred at our request,
       defamation, harassment, humiliation, discrimina-                   but not loss of earnings;
       tion against or termination of any employee, or                 2. Premiums for bonds to release attachments and'and,
       any personnel practices, policies, acts or omis-                   for appeal bonds in bond amounts up to the limit
       sions;                                                             of our liability under this insurance;
   8. Bodily injinjury
                   ury to any person in work subject to the            3. Litigation costs taxed against you;
       Longshore and Harbor Workers' Compensation
       Act (33 U.S.C. Sections 901 et seq.), the Nonap-                4. Interest on a judgment as required by law until
       propriated Fund Instrumentalities Act (5 U.S.C.                    we offer the amount due under this insurance;
       Sections 8171 et seq.), the Outer Continental                      and
       Shelf Lands Act (43 U.S.C. Sections 1331 et                     5. Expenses we incur.
                                            U.S. C. Sections
       seq.), the Defense Base Act (42 U.S.C.
        1651-1654), the Federal Mine Safety and Health
       Act (30 U.S.C. Sections 801 et seq. and 901-
       944), any other federal workers or workmen's
        compensation law or other federal occupational
        disease law, or any amendments to these laws;


                                                    Decl. Barnett, Ex. D-4
                                                               3 of6
                                                               30f6
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 315 of 514 Page ID
                                     #:1267


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         oo Cc                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed.
(Ed. 1-15)



F. Other Insurance                                                                   This insurance does not give anyone the right to add
       We
       We will not pay more than our share of damages                                us as a defendant in an action against you to deter-
       and
       and costs covered by this insurance and other in-                             mine your liability. The bankruptcy or insolvency of
       surance or self-insurance. Subject to any limits of li-
       surance                                                                       you or your estate will not relieve us of our obliga-
       ability
       ability that apply, all shares will be equal until the                        tions under this Part.
       loss is paid. If any insurance or self-insurance is ex-
       hausted, the shares of all remaining insurance and                                              PART THREE
       self-insurance will be equal until the loss is paid.
       self-insurance
                                                                                                 OTHER STATES INSURANCE

G. Limits of Liability                                                          A. How This Insurance Applies
       Our liability to pay for damages is limited. Our limits                        1.   This other states insurance applies only if one or
       of liability are shown in Item 3.8.
                                        3.B. of the Information                            more states are shown in Item 3.C. of the Infor-
       Page. They apply as explained below.                                                mation Page.
       1. Bodily Injury by Accident. The limit shown for                              2.                         anyone
                                                                                           If you begin work in any   one of those states after
            "bodily injury by accident-each accident" is the                               the effective date of this policy and are not in-
             most we will pay for all damages covered by this                              sured or are not self-insured for such work, all
             insurance because of bodily injury to one or                                  provisions of the policy will apply as though that
             more employees in anyone
                                    any one accident.                                      state were listed in Item 3.A. of the Information
            A disease is not bodily injury by accident unless                              Page.
             it results directly from bodily injury by accident.                      3.   We will reimburse you for the benefits required
       2.
       2. Bodily Injury by Disease. The limit shown for                                    by the workers compensation law of that state if
          "bodily injury by disease-policy limit" is the                                   we are not permitted to pay the benefits directly
                                                                                           to persons entitled to them.
          most we will pay for all damages covered by this
          insurance and arising out of bodily injury by dis-                          4.   If you have work on the effective date of this pol-
          ease, regardless of the number of employees                                      icy in any state not listed in Item 3.A. of the In-
          who sustain bodily injury by disease. The limit                                  formation Page, coverage will not be afforded for
          shown for "bodily injury by disease-each em-                                     that state unless we are notified within thirty
                                                                                           days.
          ployee" is the most we will pay for all damages
                                                   any one
          because of bodily injury by disease to anyone
          employee.                                                              B. Notice
          Bodily injury by disease does not include dis-                              Tell us at once if you begin work in any state listed in
          ease that results directly from a bodily injury by                          Item 3.C. of the Information Page.
          accident.
       3. We will not pay any claims for damages after we                                              PART FOUR
          have paid the applicable limit of our liability un-                                 YOUR DUTIES IF INJURY OCCURS
          der this insurance.
                                                                                      Tell us at once if injury occurs that may be covered
H.
H. Recovery From Others                                                               by this policy. Your other duties are listed here.
       We have your rights to recover our payment from                                1. Provide for immediate medical and other ser-
       anyone liable for an injury covered by this insurance.                              vices required by the workers compensation law.
       You will do everything necessary to protect those
       You                                                                            2. Give us or our agent the names and addresses
       rights for us and to help us enforce them.
       rights                                                                              of the injured persons and of witnesses, and
                                                                                           other information we may need.
I.I.   Actions Against Us                                                             3. Promptly give us all notices, demands and legal
       There will be no right of action against us under this                              papers related to the injury, claim, proceeding or
       insurance unless:
       insurance                                                                           suit.
       1. You have complied with all the terms of this poli-
           cy; and
       2. The amount you owe has been determined with
       2.
           our consent or by actual trial and final judgment.



                                                                          4 of6
                                                                          40f6
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                                    on Compensation insurance,
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 316 of 514 Page ID
                                   #:1268


WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                               we 000000
                                                                                                                            WC oo oo oo Cc
                                                                                                                                  (Ed.1-15)
                                                                                                                                  (Ed. 1-15)



    4.   Cooperate with us and assist us, as we may re-                         p. Premium Payments
         quest, in the investigation, settlement or defense                          You will pay all premium when due. You will pay the
         of any claim, proceeding or suit.                                           premium even if part or all of a workers compensa-
    5.   Do nothing after an injury occurs that would in-                            tion law is not valid.
         terfere with our right to recover from others.
    6.   Do not voluntarily make payments, assume obli-                         E. Final Premium
         gations or incur expenses, except at your own                               The premium shown on the Information Page,
         cost.                                                                       schedules, and endorsements is an estimate. The
                                                                                     final premium will be determined after this policy
                                PART FIVE                                            ends by using the actual, not the estimated, premi-
                                                                                     um basis and the proper classifications and rates
                                PREMIUM
                                                                                     that lawfully apply to the business and work covered
A. Our Manuals                                                                       by this policy. If the final premium is more than the
                                                                                     premium you paid to us, you must pay us the bal-
    All premium for this policy will be determined by our                            ance. If it is less, we will refund the balance to you.
    manuals of rules, rates, rating plans and classifica-                            The final premium will not be less than the highest
    tions. We may change our manuals and apply the                                   minimum premium for the classifications covered by
    changes to this policy if authorized by law or a gov-                            this policy.
    ernmental agency regulating this insurance.
                                                                                     If this policy is canceled, final premium will be de-
                                                                                     termined in the following way unless our manuals
B. Classifications                                                                   provide otherwise:
   Item 4 of the Information Page shows the rate and                                 1. If we cancel, final premium will be calculated pro
   premium basis for certain business or work classifi-                                    rata based on the time this policy was in force.
   cations. These classifications were assigned based                                      Final premium will not be less than the pro rata
   on an estimate of the exposures you would have                                          share of the minimum premium.
   during the policy period. If your actual exposures are
                                                                                     2. If you cancel, final premium will be more than
                                                     w_e
   not properly described by those classifications, w.e
                                                                                           pro rata; it will be based on the time this policy
                                                 prem1um
   will assign proper classifications, rates and premium
                                                                                           was in force, and increased by our short-rate
   basis by endorsement to this policy.
                                                                                           cancelation table and procedure. Final premium
                                                                                           will not be less than the minimum premium.
C. Remuneration
   Premium for each work classification is determined                            F. Records
                                                 Re~u­
   by multiplying a rate times a premi~m basi~. Re':lu-
                                                                                      You will keep records of information needed to com-
                                  prem1um baSIS.
   neration is the most common premium     bas1s. ThiS
                                                  Th1s
                                                                                      pute premium. You will provide us with copies of
   premium basis includes pay~oll and all.other r~mu­
                                       policy penod for
   neration paid or payable dunng the polley                                          those records when we ask for them.
   the services of:
                                                                                 G. Audit
   1. all your officers and employees engaged in work
       covered by this policy; and                                                  You will let us examine and audit all your records
                                                                                    that relate to this policy. These records include ledg-
    2.   all other persons engaged in work that could
         make us liable under Part One (Workers Com-                                ers, journals, registers, vouchers, contracts, tax re-
                                                                                    ports, payroll and disbursement records, and pro-
         pensation Insurance) of this policy. If you do not
         have payroll records for these persons, the con-                           grams for storing and retrieving data. We may co~­
         tract price for their services and materials may                           duct the audits during regular business hours dunng
                                                                                    the policy period and within three years after the pol-
         be used as the premium basis. This paragraph 2
                                                                                    icy period ends. Information developed by audit will
         will not apply if you give us proof that the em-.
         players of these persons lawfUlly
         ployers                      lawfully secured their
                                                       the1r                        be used to determine final premium. Insurance rate
         workers compensation obligations.                                          service organizations have the same rights we have
                                                                                    under this provision.




                                                                          5 of6
                                                                          50f6
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 317 of 514 Page ID
                                   #:1269


we 00
WC oo 00
      oo 00
         oo Cc                          WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-15)



                           PART SIX                                                 If you die and we receive notice within thirty days af-
                          CONDITIONS                                                ter your death, we will cover your legal representa-
                                                                                    tive as insured.
A. Inspection
   We have the right, but are not obliged to inspect                          D. Cancelation
   your workplaces at any time. Our inspections are not                             1.   You may cancel this policy. You must mail or de-
   safety inspections. They relate only to the insurabil-                                liver advance written notice to us stating when
   ity of the workplaces and the premiums to be                                          the cancelation is to take effect.
   charged. We may give you reports on the conditions
   we find. We may also recommend changes. While                                    2.   We may cancel this policy. We must mail or de-
   they may help reduce losses, we do not undertake                                      liver to you not less than ten days advance writ-
   to perform the duty of any person to provide for the                                  ten notice stating when the cancelation is to take
   health or safety of your employees or the public. We                                  effect. Mailing that notice to you at your mailing
   do not warrant that your workplaces are safe or                                       address shown in Item 1 of the Information Page
   healthful or that they comply with laws, regulations,                                 will be sufficient to prove notice.
   codes or standards. Insurance rate service organiza-                             3.   The policy period will end on the day and hour
   tions have the same rights we have under this                                         stated in the cancelation notice.
   provision.                                                                       4.   Any of these provisions that conflict with a law
                                                                                         that controls the cancelation of the insurance in
B. Long Term Policy                                                                      this policy is changed by this statement to com-
    If the policy period is longer than one year and six-                                ply with the law.
    teen days, all provisions of this policy will apply as
    though a new policy were issued on each annual                             E.   Sole Representative
    anniversary that this policy is in force.                                       The insured first named in Item 1 of the Information
                                                                                    Page will act on behalf of all insureds to change this
C. Transfer of Your Rights and Duties                                               policy, receive return premium, and give or receive
    Your rights or duties under this policy may not be                              notice of cancelation.
    transferred without our written consent.




  IN WITNESS WHEREOF, Protective Insurance Company has caused this policy to be signed by its Offficer(s).




      PRESIDENT                                                                     SECRETARY~J
                                                                                    SECRETARY.-,#}             JJ




                                                                        6 of6
                                                                        60f6
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 318 of 514 Page ID
                                      #:1270



                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

ALABAMA


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190             10,000               3.29            $329


CLEANER-DEBRIS REMOVAL-CONSTRUCTION                             5610           1,000,000              7.74         $77,400


CLERICAL                                                        8810             39,000               0.23             $90


STORAGE WAREHOUSE-
        WAREHOUSE - NOC                                         8292           24,000,000             3.94        $945,600


TOTAL MANUAL PREMIUM                                                                                            $1,023,419


EL INCREASED LIMITS                                             9812                                 2.8%          $28,656


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.124       ($921,617)


EXPERIENCE MOD                                                  9898                                  1.01          $1,305


TOTAL STANDARD EST. PREMIUM                                                                                       $131,762


PREMIUM DISCOUNT                                                0063                                               ($18,689)


CATASTROPHE                                                     9741                                  0.02          $5,010


TERRORISM                                                       9740                                  0.02           $5,010

TOTAL AMOUNT                                                                                                      $123,093




                                           Decl. Barnett, Ex. D-8
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 319 of 514 Page ID
                                      #:1271



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

ARIZONA


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190           1,500,000              3.45         $51,750


CLEANER-DEBRIS REMOVAL-CONSTRUCTION                             5610             35,000               6.42          $2,247


        WAREHOUSE-- NOC
STORAGE WAREHOUSE                                               8292            750,000               3.97         $29,775


PARK NOC-ALL EMPLOYEES & DRIVERS                                9102           5,000,000              3.45        $172,500


TOTAL MANUAL PREMIUM                                                                                              $256,272


EL INCREASED LIMITS                                             9812                                 2.0%           $5,125


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.132       ($226,893)


EXPERIENCE MOD                                                  9898                                  1.01            $345


TOTAL STANDARD EST. PREMIUM                                                                                        $34,850


PREMIUM DISCOUNT                                                0063                                                ($4, 133)
                                                                                                                    ($4,133)


CATASTROPHE                                                     9741                                  0.01            $729


TERRORISM                                                       9740                                  0.01             $729

TOTAL AMOUNT                                                                                                       $32,173




                                           Decl. Barnett, Ex. D-9
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 320 of 514 Page ID
                                      #:1272



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN
            IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER$100
                                                                                                   PER $100 OF     ESTIMATED
                                                                                                                    ESTIMATED
 ELSEWHERE IN
 ELSEWHERE    IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE
                                                                                 REMUNERATION
                                                                                                  REMUNERATION   ANNUAL
                                                                                                                 ANNUAL PREMIUM
                                                                                                                         PREMIUM
                   PROVISIONS OF THIS POLICY

ARKANSAS


ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS & DRIVERS                     5190            2,000,000             1.97         $39,400


SALESPERSONS-OUTSIDE                                               8742               10,000             0.26              $26


CLERICAL
CLERICAL-- TELECOMMUTER EMPLOYEES                                  8871               25,000             0.07              $18


TOTAL MANUAL PREMIUM                                                                                                  $39,444


EL INCREASED LIMITS                                                9812                                 2.8%            $1,104
                                                                                                                        $1 '104


DEDUCTIBLE PREMIUM FACTOR                                          9664                                0.142          ($34,790)


EXPERIENCE MOD                                                     9898                                  1.01              $58


TOTAL STANDARD EST. PREMIUM                                                                                             $5,815


PREMIUM DISCOUNT                                                   0063                                                  ($825)


CATASTROPHE                                                        9741                                  0.02             $407


TERRORISM                                                          9740                                  0.02             $407

TOTAL AMOUNT                                                                                                            $5,805




                                            Decl. Barnett, Ex. D-10
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 321 of 514 Page ID
                                  #:1273



                      PROTECTIVE INSURANCE COMPANY
                  WORKER'S COMPENSATION INSURANCE·
                                        INSURANCE- SCHEDULE EXTENSION


  FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
              POLICY NO:      WD001486
              EFFECTIVE DATE: 06/30/2017


              CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE
     ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
   ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER   CLASSIFICATION                      PER $100 OF   ESTIMATED
                                                                  CODE             ANNUAL
                   PROVISIONS OF THIS POLICY                                    REMUNERATION     REMUNERATION ANNUAL PREMIUM

  CALIFORNIA (PAGE 1 OF 4)


  NURSERIES
  NURSERIES-- PROPAGATION AND CULTIVATION OF                      0005            355,000            8.30           $29,465
  NURSERY STOCK


  SMELTING, SINTERING, REFINING OR ALLOYING-METALS                1438           1,125,000           8.35           $93,938
     NOT LEAD
  --NOT  LEAD-- N.O.C.


           &CRACKER MFG.
  BAKERIES &                                                      2003           10,000,000         12.44         $1,244,000


  GRAIN OR RICE MILLING                                           2014            250,000            7.97           $19,925


  FRUIT
  FRUIT-- CITRUS FRUIT PACKING AND HANDLING
                                   HANDLING--                     2108            300,000            4.04           $12,120
  INCLUDING STORAGE


  FRUIT OR VEGETABLE JUICE OR CONCENTRATE MFG.                    2116            250,000            6.59           $16,475


  BOTTLING-
  BOTTLING   BEVERAGES-
           - BEVERAGES - NO SPIRITIOUS LIQUORS                    2163           10,000,000         10.03         $1,003,000


  CLOTHING MFG. -INCLUDING EMBROIDERY MANUFACTURING               2501            1,250,000          9.66          $120,750


  LAUNDRIES-
  LAUNDRIES - N.O.C. --ALL  EMPLOYEES-
                        ALL EMPLOYEES - INCLUDING CASH            2585            250,000           15.87           $39,675
  AND CARRY DEPARTMENTS ON THE PREMISES


  SAWMILL                                                         2710           6,361,000          10.69          $679,991


  CABINET MFG.
  CABINET MFG.-  WOOD-
               - WOOD - INCLUDING THE MANUFACTURE OF              2812             50,000           10.58            $5,290
  COMMERCIAL OR INDUSTRIAL FIXTURES


  WOOD PRODUCTS MFG. NOC                                          2842           6,624,000          14.26          $944,582


            ASSEMBLING- WOOD- INCLUDING FINISHING
  FURNITURE ASSEMBLlNG-                                           2881            250,000           15.78           $39,450


            MFG.-
  FURNITURE MFG. - METAL                                          3076            300,000           10.57           $31,710


  ELECTRICAL APPARATUS MFG. NOC                                   3179           12,433,000          5.01          $622,893

              MFG.-
  METAL GOODS MFG. - N.O.C.                                       3400           1,350,000          11.04          $149,040



                                         Decl. Barnett, Ex. D-11
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 322 of 514 Page ID
                                  #:1274



                     PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE·
                                       INSURANCE- SCHEDULE EXTENSION

 FOR:
 FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


               CLASSIFICATION OF OPERATIONS                                    PREMIUM BASIS
                                                                               PREMIUM BASIS       RATE
                                                                                                   RATE
      ENTRIES
      ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
   ELSEWHERE
   ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER
                                                              CLASSIFICATION                    PER $100 OF    ESTIMATED
                                                                                                              ESTIMATED
                                                                  CODE             ANNUAL
                                                                                   ANNUAL
                    PROVISIONS OF THIS POLICY                                                  REMUNERATION ANNUAL
                                                                                REMUNERATION REMUNERATION   ANNUAL PREMIUM
                                                                                                                    PREMIUM
                                                                                REMUNERATION

 CALIFORNIA
 CALIFORNIA (PAGE 2 OF 4)


 ELECTRIC
 ELECTRIC APPLIANCE MFG.
                    MFG.-- N.O.C                                  3570           2,350,000         6.98          $164,030


 MACHINE
 MACHINE MFG.
         MFG.-- OFFICE OR SEWING
                          SEWING-- N.O.C                          3574            350,000          5.31           $18,585


 MACHINE
 MACHINE SHOPS NOC                                                3632            350,000          5.43           $19,005


 MILLWRIGHT
 MILLWRIGHT WORK
            WORK-- NOC
                   NOC-- ERECTION OR REPAIR OF                    3724            350,000          7.26           $25,410
 MACHINERY
 MACHINERY OR EQUIPMENT


 INTEGRATED
 INTEGRATED CIRCUIT AND SEMICONDUCTOR WAFER MFG.                  4112            350,000          0.97            $3,395


 PHOTOGRAPHERS
 PHOTOGRAPHERS --ALL
                  ALL EMPLOYEES - INCLUDING                       4361            350,000          3.56           $12,460
 RECEPTIONISTS
 RECEPTIONISTS-- N.O.C.


 PLASTICS
 PLASTICS-- FABRICATED PRODUCTS MFG.
                                MFG.-- NO                         4496           2,350,000        12.05          $283,175
 MOLDING-
 MOLDING - N.O.C.


 PLASTICS-
 PLASTICS - INJECTION MOLDED PRODUCTS MFG. NOC                    4498           8,000,000         7.49          $599,200


 ANALYTICAL OR TESTING LABORATORIES -INCLUDING
 ANALYTICAL                                                       4511           2,250,000          1.5           $33,750
 OUTSIDE OPERATIONS AND SAMPLE COLLECTION
 OUTSIDE                       COLLECTION-- NOC


 COSMETIC,
 COSMETIC, PERSONAL
           PERSONAL CARE OR PERFUMERY PRODUCTS MFG -              4623            250,000          12.6           $31,500
 PRODUCTION
 PRODUCTION OR PACKAGING NOT MANUFACTURING INGREDIENTS


 VITAMIN OR DIETARY SUPPLEMENT MFG
 VITAMIN                       MFG-- COMPOUNDING,                 4831            300,000          9.56           $28,680
 BLENDING OR PACKAGING ONLY
 BLENDING              ONLY-- NOT MANUFACTURING
 INGREDIENTS
 INGREDIENTS


 ELECTRICAL WIRING
 ELECTRICAL                          & DRIVERS
            WIRING-- WITHIN BUIDINGS &                            5190            125,000          7.99            $9,988


 OFFICE MACHINE INSTALLATION, INSPECTION,
 OFFICE                                                           5191           7,824,000         3.32          $259,757
 ADJUSTMENT OR REPAIR
 ADJUSTMENT


 CONTRACTORS- CONSTRUCTION OR ERECTION- ALL
 CONTRACTORS-                                                     5610            25,000           6.52            $1,630
 SUBCONTRACTED- ALL OTHER EMPLOYEES
 SUBCONTRACTED-

                                         Decl. Barnett, Ex. D-12
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 323 of 514 Page ID
                                  #:1275



                        PROTECTIVE INSURANCE COMPANY
                    WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                          INSURANCE ·SCHEDULE


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


               CLASSIFICATION OF OPERATIONS                                          PREMIUM BASIS        RATE
ENTRIES
ENTRIES IN
         IN THIS
            THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN                  ESTIMATED TOTAL
  THIS                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                        ESTIMATED
  THIS POLICY,
       POLICY, DO
                DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS                        ANNUAL
                                POLICY                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                      ANNUAL  PREMIUM
                                                                                      REMUNERATION

CALIFORNIA (PAGE 3 OF 4)


CONFECTIONS AND FOOD SUNDRIES MFG. OR                                   6504          13,000,000            12.27       $1,595,100
PROCESSING - NOC


TRUCKING - NOC                                                          7219            450,000             15.11          $67,995


FREIGHT HANDLERS
        HANDLERS-- PACKAGING OR HANDLING                                7360            200,000             12.22          $24,440
MERCHANDISE AT SHIPPING OR RECEIVING TERMINALS


STORES- CLOTHING, SHOES, LINENS OR FABRIC                               8008            250,000              4.31          $10,775
PRODCUTS- RETAIL- INCLUDING ALTERATION DEPARTMENT


STORES
STORES-- RETAIL
         RETAIL-- NOC                                                   8017          20,000,000              5.34      $1,068,000


STORES --WHOLESALE-
          WHOLESALE - NOC                                               8018           5,250,000             10.02        $526,050
                                                                                                                          $526,050


STORES
STORES-- AUTOMOBILE ACCESSORIES                                         8046           1,250,000              5.84         $73,000
                                                                                                                           $73,000


MACHINERY
MACHINERY DEALERS
          DEALERS-- NOC
                    NOC-- INCLUDING                                     8107           1,250,000              4.97         $62,125
                                                                                                                           $62,125
DEMONSTRATION AND REPAIR


STORES
STORES-- FEED, TACK AND FARM SUPPLIES
                             SUPPLIES-- RETAIL                          8117           2,250,000              7.77        $174,825
                                                                                                                          $174,825


VEGETABLES-
VEGETABLES - FRESH VEGETABLE AND TOMATO PACKING                         8209            250,000              11.92         $29,800
    HANDLING-
AND HANDLING - INCLUDING STORAGE


        WAREHOUSE-
STORAGE WAREHOUSE - COLD                                                8291            250,000               8.94         $22,350
                                                                                                                           $22,350

STORAGE WAREHOUSE NOC                                                   8292          45,000,000             13.49      $6,070,500
                                                                                                                        $6,070,500


INSPECTION FOR INSURANCE, SAFETY OR VALUATION                           8720            300,000               3.04           $9,120
PURPOSES-- NOC
PURPOSES   NOC-- INCLUDING OUTSIDE SALESPERSONS


SALESPERSON-OUTSIDE                                                     8742            250,000               0.70           $1,750


MAILING, ADDRESSING COMPANY OR LETTER SERVICE SHOP                      8800           4,826,000              5.84        $281,838




                                             Decl. Barnett, Ex. D-13
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 324 of 514 Page ID
                                  #:1276



                     PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE·
                                       INSURANCE- SCHEDULE EXTENSION


 FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICYNO:       WD001486
             EFFECTIVE DATE: 06/30/2017


             CLASSIFICATION OF OPERATIONS                                     PREMIUM
                                                                              PREMIUM BASIS
                                                                                        BASIS      RATE
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
  ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER   CLASSIFICATION       ANNUAL         PER $100 OF   ESTIMATED
                  PROVISIONS OF THIS POLICY                      CODE          REMUNERATION     REMUNERATION ANNUAL PREMIUM

            {PAGE 4 OF 4)
 CALIFORNIA (PAGE      4}
 DRY CLEANING OR LAUNDRY
                 LAUNDRY-- RETAIL                                2589            425,000            9.25          $39,313

 CLERICAL                                                        8810            839,000            0.55           $4,615

 PRINTING OPERATION
          OPERATION-- SCREEN PRINTING
                             PRINTING-- EDITING,                 8846            200,000            2.38           $4,760
 DESIGNING, PROOFREADING AND PHOTOGRAPHIC
 COMPOSING
 COMPOSING-- INCLUDING CLERICAL OFFICE EMPLOYEES


 JANITORIAL SERVICES-
            SERVICES - BY CONTRACTORS                            9008            200,000           16.19          $32,380

 BUILDING OPERATION
          OPERATION-- NOC-
                      NOC - ALL OTHER EMPLOYEES
                                      EMPLOYEES--                9015            200,000            9.45          $18,900
 INCLUDING RESIDENT EMPLOYEES


 HOTELS -ALL
        - ALL EMPLOYEES                                          9050          11,000,000          12.41       $1,365,100

 TOTAL MANUAL PREMIUM                                                                                         $18,025,604

 EL INCREASED LIMITS                                             9812                              3.30%         $594,845

 DEDUCTIBLE PREMIUM FACTOR                                       9664                              0.162     ($15,603,936)

 TOTAL STANDARD EST. PREMIUM                                                                                   $3,016,513

 PREMIUM DISCOUNT                                                0063                                           ($357,787)

 CATASTROPHE                                                     9741                                 0.01        $18,401

 TERRORISM                                                       9740                                 0.03        $55,204

 ESTIMATED ANNUAL PREMIUM                                                                                      $2,732,331

 CA INSURANCE GUARANTEE ASSOC. SURCHARGE                                                          2.0000%         $54,647

 CA INDUSTRIAL RELATIONS SURCHARGE                                                                1.1082%        $181,877

 TOTAL AMOUNT                                                                                                  $2,968,855


                                        Decl. Barnett, Ex. D-14
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 325 of 514 Page ID
                                      #:1277



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017



           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


COLORADO


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            1,000,000             3.78         $37,800


EL INCREASED LIMITS                                             9812                                 2.8%           $1,058


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.204         ($30,931))
                                                                                                                  ($30,931


EXPERIENCE MOD                                                  9898                                  1.01             $79


TOTAL STANDARD EST. PREMIUM                                                                                         $8,006


PREMIUM DISCOUNT                                                0063                                                  ($985)


CATASTROPHE                                                     9741                                  0.02            $200


TERRORISM                                                       9740                                  0.02            $200


TOTAL AMOUNT                                                                                                         $7,422




                                          Decl. Barnett, Ex. D-15
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 326 of 514 Page ID
                                   #:1278



              PROTECTIVE INSURANCE COMPANY
          WORKER'S COMPENSATION INSURANCE·
                                INSURANCE- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


       CLASSIFICATION OF OPERATIONS                               PREMIUM BASIS        RATE
  ENTRIES
  ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY
  PROVIDED                                                        ESTIMATED TOTAL
   PROVIDED ELSEWHERE IN THIS POLICY, DO NOT     CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                     ESTIMATED
                                                                      ANNUAL
  MODIFY
  MODIFY ANY
         ANY OF THE OTHER PROVISIONS OF THIS         CODE                           REMUNERATION           PREMIUM
                                                                                                   ANNUAL PREMIUM
                                                                   REMUNERATION
                     POLICY

CONNECTICUT                    ,
                               '


STORAGE WAREHOUSE NOC                                8292              338,000             3.34         $11,289


CLERICAL                                             8810            1,013,000             0.21           $2,127


TOTAL MANUAL PREMIUM                                                                                    $13,417


EL INCREASED LIMITS                                  9812                                 2.8%              $376


DEDUCTIBLE PREMIUM FACTOR                            9664                                0.179          ($11 ,323)
                                                                                                        ($11,323)


EXPERIENCE MOD                                       9898                                  1.01              $25


TOTAL STANDARD EST. PREMIUM                                                                               $2,493


PREMIUM DISCOUNT                                     0063                                                  ($307)


CATASTROPHE                                          9741                                  0.02             $270


TERRORISM                                            9740                                  0.02            $270


ESTIMATED ANNUAL PREMIUM                                                                                  $2,727


CT SIF SURCHARGE                                                                         2.75%             $351


CTWVFUND                                                                                 2.10%             $268

TOTAL AMOUNT                                                                                              $3,346




                                        Decl. Barnett, Ex. D-16
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 327 of 514 Page ID
                                      #:1279



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE
                                      INSURANCE-- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE

   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION


DELAWARE
DELAWARE


EMPLOYMENT CONTRACTOR
           CONTRACTOR-- TEMPORARY WARE                            0867              405,000             9.48         $38,394
HOUSING STAFF


EL INCREASED LIMITS                                               9812                                 3.3%            $1,267


DEDUCTIBLE PREMIUM FACTOR                                         9664                                  0.16         ($33,315)


TOTAL STANDARD EST. PREMIUM                                                                                            $6,346


PREMIUM DISCOUNT                                                  0063                                                  ($753)


CATASTROPHE                                                       9741                                  0.02              $81


TERRORISM                                                         9740                                  0.02              $81

TOTAL AMOUNT                                                                                                           $5,755




                                            Decl. Barnett, Ex. D-17
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 328 of 514 Page ID
                                  #:1280



                     PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE-
                                       INSURANCE - SCHEDULE EXTENSION


 FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017



            CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                             CLASSIFICATION                      PER $100 OF   ESTIMATED
  ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                 CODE                           REMUNERATION ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY                                    REMUNERATION

 FLORIDA (Page 1 of 2)


 LANDSCAPE GARDENING & DRIVERS                                   0042           9,801,000             9.82       $962,458


 CLOTH, CANVAS AND RELATED PRODUCTS MFG NOC                      2501           7,000,000             3.35       $234,500


 SHEET METAL PRODUCTS MFG.                                       3076            250,000               5.93       $14,825


 ELECTRICAL WIRING -WITHIN
                   - WITHIN BUILDINGS & DRIVERS                  5190             25,000              6.02          $1,505


 CONCRETE CONSTRUCTION NOC                                       5213             65,000             12.66          $8,229


 CONCRETE OR CEMENT WORK-FLOORS, DRIVEWAYS,                      5221             25,000               8.06         $2,015
 YARDS OR SIDEWALKS & DRIVERS


                CONSTRUCTION-- PAVING OR
 STREET OR ROAD CONSTRUCTION                                     5506             35,000             10.59          $3,707
 REPAVING & DRIVERS


 STORE - WHOLESALE - NOC                                         8018             45,000                4.2         $1,890


 BOTTLE DEALER-USED & DRIVERS                                    8264             25,000               7.37         $1,843


 STABLE OR BREEDING FARM & DRIVERS                               8279             25,000               9.44         $2,360


 STORAGE WAREHOUSE NOC                                           8292           5,389,000              6.32      $340,585


 SALESPERSONS-OUTSIDE                                            8742            650,000               0.51         $3,315


 CLERICAL                                                        8810           4,417,000              0.26       $11,484


 JANITORIAL SERVICES BY CONTRACTORS
                        CONTRACTORS-- NO                         9014             65,000               5.46         $3,549
 WINDOW CLEANING ABOVE GROUND LEVEL & DRIVERS


 BUILDINGS-
 BUILDINGS - OPERATION BY OWNER, LESSEE OR REAL                  9015             75,000               5.53         $4,148
 ESTATE MANAGEMENT FIRM, ALL OTHER EMPLOYEES


 HOTEL-- ALL OTHER EMPLOYEES & SALESPERSONS,
 HOTEL                                                           9052           3,000,000              3.98      $119,400
 DRIVERS

                                         Decl. Barnett, Ex. D-18
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 329 of 514 Page ID
                                         #:1281



                      PROTECTIVE INSURANCE COMPANY
                                        INSURANCE- SCHEDULE EXTENSION
                  WORKER'S COMPENSATION INSURANCE·


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


              CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE

ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE                    ESTIMATED TOTAL
                                                                  CLASSIFICATION                      PER $100 OF     ESTIMATED
  IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF                         ANNUAL
                                                                      CODE                           REMUNERATION   ANNUAL PREMIUM
                           THIS POLICY                                              REMUNERATION


FLORIDA (Page 2 of 2)


HOTEL-RESTAURANT EMPLOYEES                                            9058            1,250,000             2.67         $33,375


CLUB-                            YACHT-- ALL OTHER
CLUB - COUNTRY, GOLF, FISHING OR YACHT                                9060           37,653,000             2.54        $956,386
EMPLOYEES & CLERICAL, SALESPERSONS, DRIVERS


     MAINTENANCE-- COMMERCIAL OR DOMESTIC DRIVERS
LAWN MAINTENANCE                                                      9102            7,217,000             5.16        $372,397


TOTAL MANUAL PREMIUM                                                                                                  $3,077,970


EL INCREASED LIMITS                                                   9812                                 1.4%          $43,092


DEDUCTIBLE PREMIUM FACTOR                                             9664                                 0.161     ($2,618,571))
                                                                                                                     ($2,618,571


EXPERIENCE MOD                                                        9898                                  1.01          $5,025


TOTAL STANDARD EST. PREMIUM                                                                                             $507,516


PREMIUM DISCOUNT                                                      0063                                               ($60,196)


TERRORISM                                                             9740                                  0.02         $15,402


TOTAL AMOUNT                                                                                                            $462,722




                                            Decl. Barnett, Ex. D-19
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 330 of 514 Page ID
                                      #:1282



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


GEORGIA


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190             10,000               6.50            $650


STORE-- WHOLESALE
STORE   WHOLESALE-- NOC                                         8018             25,000               6.02          $1,505


STORAGE WAREHOUSE NOC                                           8292            120,000               9.13         $10,956


CLERICAL                                                        8810             25,000               0.27              $68


TOTAL MANUAL PREMIUM                                                                                               $13,179


EL INCREASED LIMITS                                             9812                                 3.3%             $435


DEDUCTIBLE PREMIUM FACTOR                                       9664                                  0.14         ($11 ,708)
                                                                                                                   ($11,708)


EXPERIENCE MOD                                                  9898                                  1.01              $19


TOTAL STANDARD EST. PREMIUM                                                                                          $1,925


PREMIUM DISCOUNT                                                0063                                                  ($273)


CATASTROPHE                                                     9741                                  0.02              $36


TERRORISM                                                       9740                                  0.02              $36

TOTAL AMOUNT                                                                                                         $1,724




                                          Decl. Barnett, Ex. D-20
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 331 of 514 Page ID
                                      #:1283



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                      INSURANCE ·SCHEDULE

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM,
                    ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS
                THIS POLICY,
                      POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE                           REMUNERATION           PREMIUM
                                                                                                                 ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY
                  PROVISIONS                                                     REMUNERATION

IDAHO
IDAHO


ELECTRICAL
ELECTRICAL WIRING --WITHIN
                    WITHIN BUILDINGS & DRIVERS                     5190            3,000,000            5.07         $152,100


EL
EL INCREASED
   INCREASED LIMITS                                                9812                                 2.8%            $4,259


DEDUCTIBLE
DEDUCTIBLE PREMIUM FACTOR                                          9664                                  0.18       ($128,214)


EXPERIENCE
EXPERIENCE MOD                                                     9898                                  1.01             $281


TOTAL
TOTAL STANDARD EST. PREMIUM                                                                                            $28,426


PREMIUM
PREMIUM DISCOUNT                                                   0063                                                ($3,372)


CATASTROPHE
CATASTROPHE                                                        9741                                  0.01             $300


TERRORISM
TERRORISM                                                          9740                                  0.02             $600


TOTAL AMOUNT
TOTAL                                                                                                                  $25,954




                                            Decl. Barnett, Ex. D-21
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 332 of 514 Page ID
                                  #:1284



                       PROTECTIVE INSURANCE COMPANY
                   WORKER'S COMPENSATION INSURANCE
                                         INSURANCE-- SCHEDULE EXTENSION

FOR:          PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
              POLICY NO:      WD001486
              EFFECTIVE DATE: 06/30/2017


              CLASSIFICATION OF OPERATIONS                                            PREMIUM BASIS        RATE
ENTRIES
ENTRIES IN IN THIS
              THIS ITEM,
                   ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE                    ESTIMATED TOTAL
                                                                     CLASSIFICATION                      PER$100 OF       ESTIMATED
                                                                                                                         ESTIMATED
  IN
   IN THIS
      THIS POLICY,
            POLICY, DO
                     DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF                         ANNUAL
                                                                         CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                       ANNUAL  PREMIUM
                               THIS POLICY                                             REMUNERATION

ILLINOIS (Page 1 of 3)


CEREAL OR BAR MFG                                                        2016            500,000              3.82          $19,100


PACKING HOUSE
        HOUSE-- ALL OPERATIONS                                           2089           1,000,000             3.87          $38,700


CLOTH, CANVAS AND RELATED PRODUCTS MFG. NOC                              2501           2,000,000             3.85          $77,000


SIGN MANUFACTURING
     MANUFACTURING-- METAL                                               3064           1,000,000             9.23          $92,300


SCREW MFG                                                                3145            951,000              2.87          $27,294


ELECTRICAL APPARATUS MFG NOC                                             3179           3,559,000              3.34        $118,871


EYELET MFG                                                               3270           1,356,000              5.03         $68,207


METAL STAMPED GOODS MFG NOC                                              3400            120,000               5.63           $6,756


PUMP MFG                                                                 3612             65,000              4.25            $2,763


MACHINED PARTS MFG. NOC                                                  3629             25,000               3.22             $805


MACHINE SHOPS NOC                                                        3632             25,000                4.9           $1,225


TELEVISION, RADIO, TELEPHONE OR TELECOMMUNICATION                        3681             65,000               1.79           $1,164
DEVICE MFG NOC


CORRUGATED OR FIBERBOARD CONTAINER MFG                                   4244             50,000               4.95           $2,475


    MFG-
BAG MFG - PAPER OR PLASTIC                                               4273             50,000               3.78           $1,890


PRINTING                                                                 4299             50,000               3.65           $1,825


BOOKBINDING                                                              4307             50,000               3.39           $1,695

PLASTICS MFG - MOLDED PRODUCTS NOC                                       4484             50,000               4.63           $2,315


                                             Decl. Barnett, Ex. D-22
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 333 of 514 Page ID
                                  #:1285



                         PROTECTIVE INSURANCE COMPANY
                     WORKER'S COMPENSATION INSURANCE·
                                           INSURANCE- SCHEDULE EXTENSION


     FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                 POLICY NO:      WD001486
                 EFFECTIVE DATE: 06/30/2017


                CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
        ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                                 CLASSIFICATION                      PER $100 OF     ESTIMATED
      ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                     CODE                           REMUNERATION   ANNUAL PREMIUM
                      PROVISIONS OF THIS POLICY                                    REMUNERATION

     ILLINOIS (Page 2 of 3)


     PHARMACEUTICAL OR SURGICAL GOODS MFG                            4963             50,000              2.27           $1,135
                                                                                                                         $1 '135


     DRUG, MEDICINE OR PHARMACEUTICAL                                4825             50,000              2.24           $1,120
     PREPARATION MFG-
                 MFG - INCLUDING MFG OF INGREDIENTS


                     INSTALLATION-- ALL TYPES
     DOOR AND WINDOW INSTALLATION       TYPES--                      5102             50,000             15.40           $7,700
     RESIDENTIAL AND COMMERCIAL


     OFFICE MACHINE INSTALLATION, INSPECTION,                        5191             50,000               1.31            $655
     ADJUSTMENT OR REPAIR


     CARPENTRY-CONSTRUCTION OF RESIDENTIAL                           5645             25,000             23.74           $5,935
     DWELLINGS NOT EXCEEDING 3 STORIES IN HEIGHT
..




     IRRIGATION OR DRAINAGE SYSTEM CONSTRUCTION &                    6229             25,000               7.69          $1,923
     DRIVERS


     FOODPRODUCTMFGNOC
     FOOD PRODUCTMFG NOC                                             6504             65,000               5.06          $3,289


     TRUCKING: LONG DISTANCE HAULING                                 7229             75,000             12.62           $9,465


     MAIL, PACKAGE, PARCEL DELIVERY                                  7231             65,000             14.01           $9,107


     FLORIST-
     FLORIST - STORE & DRIVERS                                       8001           6,000,000              3.09        $185,400


     STORE-- HARDWARE
     STORE                                                           8010            125,000              2.57           $3,213


     STORE- RETAIL NOC                                               8017           1,250,000             2.46          $30,750


     STORE -WHOLESALE
           - WHOLESALE - NOC                                         8018           6,500,000             4.76         $309,400


     STORE-
     STORE - FURNITURE & DRIVERS                                     8044           1,200,000              5.05         $60,600

     VEGETABLE PACKING & DRIVERS                                     8209           2,905,000              5.99        $174,010


     IRON OR STEEL SCRAP DEALER & DRIVERS                            8265             50,000               7.75          $3,875

                                             Decl. Barnett, Ex. D-23
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 334 of 514 Page ID
                                  #:1286



                       PROTECTIVE INSURANCE COMPANY
                   WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


   FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
               POLICY NO:      WD001486
               EFFECTIVE DATE: 06/30/2017


               CLASSIFICATION OF OPERATIONS                                     PREMIUM BASIS        RATE
      ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
    ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER   CLASSIFICATION                               OF
                                                                                                   PER $100 OF   ESTIMATED
                                                                   CODE             ANNUAL        REMUNERATION ANNUAL PREMIUM
                    PROVISIONS OF THIS POLICY                                    REMUNERATION
   ILLINOIS (Page 3 of 3)


                            ONLY-ALL OTHER
   LUMBERYARD NEW MATERIALS ONLY-ALL                               8232             50,000               7.82         $3,910
   EMPLOYEES & YARD, WAREHOUSE, DRIVERS


   STORAGE WAREHOUSE NOC                                           8292          18,717,000              6.49     $1,214,733

   SALESPERSONS-OUTSIDE                                            8742           1,031,000              0.35         $3,609

   MAILING OR ADDRESSING COMPANY OR LETTER                         8800          19,519,000              3.34      $651,935
   SERVICE SHOP


   CLERICAL                                                        8810          22,933,000              0.18       $41,279

   HOTEL-
   HOTEL - ALL OTHER EMPLOYEES & SALESPERSONS,                     9052           3,150,000              3.83      $120,645
   DRIVERS


   HOTEL-
   HOTEL - RESTAURANT EMPLOYEES                                    9058            650,000               2.29       $14,885

   TOTAL MANUAL PREMIUM                                                                                           $3,322,954

   EL INCREASED LIMITS                                             9812                                2.80%        $93,043

   DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.138     ($2,97 4,035)
                                                                                                                 ($2,974,035)


   EXPERIENCE MOD                                                  9898                                  1.01       $34,160

   TOTAL STANDARD EST. PREMIUM                                                                                     $476,122


   PREMIUM DISCOUNT                                                0063                                             ($56,473)

   CATASTROPHE                                                     9741                                  0.01         $9,545

   TERRORISM                                                       9740                                  0.05       $47,726

   ESTIMATED ANNUAL PREMIUM                                                                                        $476,921

   IL WC SURCHARGE                                                                                     1.01%          $4,817

   TOTAL AMOUNT                                                                                                    $481,738

                                         Decl. Barnett, Ex. D-24
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 335 of 514 Page ID
                                  #:1287



                        PROTECTIVE INSURANCE COMPANY
                     WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                           INSURANCE ·SCHEDULE

     FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                 POLICY NO:      WD001486
                 EFFECTIVE DATE: 06/30/2017

                CLASSIFICATION OF OPERATIONS                                    PREMIUM BASIS     RATE
         ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED
        ENTRIES
                                                                 CLASSIFICATION ESTIMATED TOTAL
      ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER
      ELSEWHERE                                                                     ANNUAL      PER$100 OF   ESTIMATED
                        PROVISIONS OF THIS POLICY                    CODE        REMUNERATION REMUNERATION ANNUAL PREMIUM
     INDIANA


     LANDSCAPE GARDENING & DRIVERS                                  0042           200,000           6.73       $13,460

     WELDING OR CUTTING NOC & DRIVERS                               3365         2,000,000           6.05      $121,000


     CONSTRUCTION OR AGRICULTURAL MACHINERY MFG.
     CONSTRUCTION                                                   3507         1,000,000           2.95       $29,500

     VALVE MFG.                                                     3634         2,000,000           1.95       $39,000

     PRINTING                                                       4299         3,000,000           1.99       $59,700

     ELECTRICAL WIRING
     ELECTRICAL WIRING-- WITHIN BUILDINGS & DRIVERS                 5190          15,000             3.03          $455

     CARPENTRY-- CONSTRUCTION OF RESIDENTIAL
     CARPENTRY                                                      5645          25,000             10.69       $2,673
     DWELLINGS NOT EXCEEDING 3 STORIES IN HEIGHT


     STORAGE WAREHOUSE NOC                                          8292        10,000,000           3.95      $395,000

     CLERICAL                                                       8810          165,000            0.21          $347

     JANITORIAL SERVICES BY CONTRACTORS
                            CONTRACTORS-- NO WINDOW                 9014          25,000             3.16          $790
     CLEANING ABOVE GROUND LEVEL & DRIVERS
     CLEANING


     TOTAL MANUAL PREMIUM                                                                                      $661,924

     EL INCREASED LIMITS                                            9812                            2.8%        $18,534

     DEDUCTIBLE PREMIUM FACTOR                                      9664                            0.114     ($602,885)

     EXPERIENCE MOD                                                 9898                             1.01          $776

     TOTAL STANDARD EST. PREMIUM                                                                                $78,348

     PREMIUM DISCOUNT                                               0063                                         ($9,293)

     CATASTROPHE                                                    9741                             0.02        $3,686

     TERRORISM                                                      9740                             0.02        $3,686


     ESTIMATED ANNUAL PREMIUM                                                                                   $76,427


     IN SIF SURCHARGE                                               0935                            0.824          $630

     TOTAL AMOUNT                                                                                               $77,057


                                          Decl. Barnett, Ex. D-25
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 336 of 514 Page ID
                                  #:1288



                     PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE
                                     INSURANCE-- SCHEDULE EXTENSION

FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                ESTIMATED
 ELSEWHERE
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                         ANNUAL
                                                                CODE                           REMUNERATION           PREMIUM
                                                                                                              ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY                                   REMUNERATION

IOWA (Page 1 of 2)


FARM-POULTRY OR EGG PRODUCER & DRIVERS                          0034             25,000            7.04              $1,760


LANDSCAPE GARDENING & DRIVERS                                   0042             65,000            9.85              $6,403


BAKERY-SALESPERSONS & DRIVERS                                   2003            125,000            7.38              $9,225


CREAMERY OR DAIRY &
                  & ROUTE SUPERVISORS, DRIVERS                  2070             25,000            7.33              $1,833


CLOTH, CANVAS AND RELATED PRODUCTS MFG. NOC                     2501           4,000,000           4.35           $174,000


LAUNDRY NOC & ROUTE SUPERVISORS, DRIVERS                        2585             25,000            5.83              $1,458


        STEEL-- FABRICATION
IRON OR STEEL   FABRICATION-- IRONWORKS
                              IRONWORKS-- SHOP-                 3040             25,000            7.32              $1,830
ORNAMENTAL & DRIVERS


ELECTRICAL APPARATUS MFG. NOC                                   3179             35,000            4.03              $1,411


MACHINE SHOPS NOC                                               3632             35,000            5.43              $1,901


RUBBER GOODS MFG. NOC                                           4410             25,000            3.69                $923


RENDERING WORKS NOC & DRIVERS                                   4665             25,000           10.76              $2,690


PLUMBING NOC & DRIVERS                                          5183             25,000            5.00              $1,250


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            25,000             3.65               $913


CONCRETE CONSTRUCTION NOC                                       5213            25,000            11.52              $2,880


CARPENTRY-NOC                                                   5403             25,000           16.06              $4,015

SALVAGE OPERATION-NO WRECKING OR ANY                            5705             25,000           21.53              $5,383
STRUCTURAL OPERATIONS


TRUCKING: LOCAL HAULING ONLY                                    7228            100,000           11.27            $11,270

                                        Decl. Barnett, Ex. D-26
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 337 of 514 Page ID
                                  #:1289


                         PROTECTIVE INSURANCE COMPANY
                    WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


    FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                POLICY NO:      WD001486
                EFFECTIVE DATE: 06/30/2017



               CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
       ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
     ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER   CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                     ANNUAL
                                                                    CODE                           REMUNERATION   ANNUAL PREMIUM
                     PROVISIONS OF THIS POLICY                                    REMUNERATION

    IOWA (Page 2 of 2)


    TRUCKING: LONG DISTANCE HAULING                                 7229             35,000           11.30             $3,955


    STORE-WHOLESALE-NOC                                             8018             10,000            4.07               $407


    FEED, FERTILIZER, HAY, OR GRAIN DEALER & LOCAL                  8215             65,000            4.33             $2,815
    MANAGERS, DRIVERS-NO MFG


    LUMBERYARD NEW MATERIALS ONLY-ALL OTHER                         8232             75,000            8.02             $6,015
    EMPLOYEES & YARD, WAREHOUSE, DRIVERS


    IRON OR STEEL SCRAP DEALER & DRIVERS                            8265             85,000            8.65             $7,353


    STORAGE WAREHOUSE NOC                                           8292          10,500,000           4.9            $514,500


    CLERICAL                                                        8810            304,000            0.3                $912


                           CONTRACTORS-- NO WINDOW
    JANITORIAL SERVICES BY CONTRACTORS                              9014             25,000            5.54             $1,385
    CLEANING ABOVE GROUND LEVEL & DRIVERS


    STREET CLEANING & DRIVERS                                       9402             25,000            5.7              $1,425


    PAINTING-SHOP ONLY & DRIVERS                                    9501             35,000            5.51             $1,929


    TOTAL MANUAL PREMIUM                                                                                              $769,836


    EL INCREASED LIMITS                                             9812                              2.80%            $21,555


    DEDUCTIBLE PREMIUM FACTOR                                       9664                              0.170          {$656,854)
                                                                                                                     ($656,854)


    EXPERIENCE MOD                                                  9898                               1.01             $1,345


    TOTAL STANDARD EST. PREMIUM                                                                                       $135,882


    PREMIUM DISCOUNT                                                0063                                              ($16,117)


    CATASTROPHE                                                     9741                               0.01             $1,579


    TERRORISM                                                       9740                               0.02             $3,159


    TOTAL AMOUNT                                                                                                      $124,503

                                          Decl. Barnett, Ex. D-27
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 338 of 514 Page ID
                                   #:1290



                PROTECTIVE INSURANCE COMPANY
            WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017

          CLASSIFICATION OF OPERATIONS                                 PREMIUM BASIS       RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED
  ENTRIES
                                                         CLASSIFICATION ESTIMATED TOTAL  PER $100 OF
                                                                                                       ESTIMATED
                                                                                                       ESTIMATED
ELSEWHERE
ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                    ANNUAL                       ANNUAL
                                                                                                        ANNUAL
                                                             CODE                       REMUNERATION
                 PROVISIONS OF THIS POLICY                               REMUNERATION                   PREMIUM
                                                                                                        PREMIUM

KANSAS


IRON OR STEEL
        STEEL-- FABRICATION
                FABRICATION-- IRONWORKS
                              IRONWORKS-- SHOP
                                          SHOP--             3040          10,000             9.53         $953
ORNAMENTAL & DRIVERS


STORE --WHOLESALE
        WHOLESALE - NOC                                      8018        2,000,000            3.66      $73,200


LUMBERYARD NEW MATERIALS ONLY
                         ONLY-- ALL OTHER                    8232          25,000             4.10       $1,025
EMPLOYEES & YARD, WAREHOUSE, DRIVERS


STORAGE WAREHOUSE NOC                                        8292        2,000,000            5.43     $108,600


JANITORIAL SERVICES BY CONTRACTORS-NO WINDOW                 9014          25,000             4.08       $1,020
CLEANING ABOVE GROUND LEVEL & DRIVERS


TOTAL MANUAL PREMIUM                                                                                   $184,798


EL INCREASED LIMITS                                          9812                            2.8%        $5,174


DEDUCTIBLE PREMIUM FACTOR                                    9664                            0.135     ($164,326)


EXPERIENCE MOD                                               9898                             1.01         $256


TOTAL STANDARD EST. PREMIUM                                                                             $25,903


PREMIUM DISCOUNT                                             0063                                        ($3,674)


CATASTROPHE                                                  9741                             0.02         $812


TERRORISM                                                    9740                             0.02         $812

TOTAL AMOUNT                                                                                            $23,853


                                      Decl. Barnett, Ex. D-28
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 339 of 514 Page ID
                                  #:1291



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE-- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER$1000F        ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

KENTUCKY


MILLWRIGHT WORK NOC & DRIVERS                                   3724             25,000              4.88           $1,220


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190           6,133,000              3.85        $236,121


SALESPERSONS-OUTSIDE                                            8742             25,000               0.47            $118


CLERICAL                                                        8810           1,000,000              0.19          $1,900


JANITORIAL SERVICES BY CONTRACTORS-NO WINDOW                    9014           2,000,000              3.49         $69,800
CLEANING ABOVE GROUND LEVEL & DRIVERS


TOTAL MANUAL PREMIUM                                                                                              $309,158


EL INCREASED LIMITS                                             9812                                 2.8%           $8,656


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.145        {$271 ,731))
                                                                                                                 ($271,731


EXPERIENCE MOD                                                  9898                                  1.01            $461


TOTAL STANDARD EST. PREMIUM                                                                                        $46,544


PREMIUM DISCOUNT                                                0063                                                ($7,569)


CATASTROPHE                                                     9741                                  0.02          $1,837


TERRORISM                                                       9740                                  0.02          $1,837


ESTIMATED ANNUAL PREMIUM                                                                                           $42,648


KY WC FUNDING COMMISION                                                                             6.29%          $17,138

TOTAL AMOUNT                                                                                                       $59,786



                                         Decl. Barnett, Ex. D-29
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 340 of 514 Page ID
                                         #:1292



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                            CLASSIFICATION
                                                            CLASS IFICATION                      PER$100 OF      ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                         ANNUAL
                                                                CODE                            REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                     REMUNERATION

LOUISIANA


CLERICAL                                                        8810                IF ANY
                                                                                    IFANY              0.26               $0


TOTAL STANDARD EST. PREMIUM                                                                                               $0


CATASTROPHE                                                     9741                                   0.02               $0


TERRORISM                                                       9740                                   0.02               $0

TOTAL AMOUNT                                                                                                              $0




                                          Decl. Barnett, Ex. D-30
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 341 of 514 Page ID
                                      #:1293



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER$100 OF       ESTIMATED
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 ELSEWHERE IN
 ELSEWHERE   IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                        PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

MAINE


CLERICAL                                                          8810               IFANY
                                                                                     IF ANY            0.43                $0


TOTAL STANDARD EST. PREMIUM                                                                                                $0


CATASTROPHE                                                       9741                                  0.02               $0


TERRORISM                                                         9740                                  0.02               $0

TOTAL AMOUNT                                                                                                               $0




                                            Decl. Barnett, Ex. D-31
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 342 of 514 Page ID
                                      #:1294



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                       PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                              CLASSIFICATION                      PER $100 OF
                                                                                                  PER$100          ESTIMATED
                                                                                                                  ESTIMATED
 ELSEWHERE
 ELSEWHERE ININ THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                  CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                ANNUAL  PREMIUM
                  PROVISIONS OF THIS POLICY                                     REMUNERATION

MARYLAND


STORAGE WAREHOUSE NOC                                             8292              780,000            5.39          $42,042


CLERICAL                                                          8810            2,980,000             0.15           $4,470


TOTAL MANUAL PREMIUM                                                                                                 $46,512


EL INCREASED LIMITS                                               9812                                 2.8%            $1,302


DEDUCTIBLE PREMIUM FACTOR                                         9664                                 0.155         ($40,403)


EXPERIENCE MOD                                                    9898                                  1.01              $74


TOTAL STANDARD EST. PREMIUM                                                                                            $7,485


PREMIUM DISCOUNT                                                  0063                                                ($1 ,062)
                                                                                                                      ($1,062)


CATASTROPHE                                                       9741                                  0.02             $752


TERRORISM                                                         9740                                  0.05           $1,880

TOTAL AMOUNT                                                                                                           $9,056




                                            Decl. Barnett, Ex. D-32
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 343 of 514 Page ID
                                      #:1295



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

MICHIGAN


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190               25,000             2.90            $725


STORAGE WAREHOUSE NOC                                           8292            2,126,000             5.53        $117,568


CLERICAL                                                        8810              106,000             0.16            $170


TOTAL MANUAL PREMIUM                                                                                              $118,462


EL INCREASED LIMITS                                             9812                                 2.0%           $2,369


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.144       ($1 03,432)
                                                                                                                 ($103,432)


TOTAL STANDARD EST. PREMIUM                                                                                        $17,400


PREMIUM DISCOUNT                                                0063                                                ($2,468)


TERRORISM                                                       9740                                  0.02            $451

TOTAL AMOUNT                                                                                                       $15,383




                                          Decl. Barnett, Ex. D-33
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 344 of 514 Page ID
                                  #:1296



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE-- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY                                   REMUNERATION

MINNESOTA (Page 1 of 4)


FARM-FLORIST & DRIVERS                                          0035             25,000              5.83           $1,458


LANDSCAPE GARDENING & DRIVERS                                   0042            140,000             13.57          $18,998


CREAMERY OR DAIRY & ROUTE SUPERVISORS, DRIVERS                  2070             25,000              6.77           $1,693


CLOTH, CANVAS AND RELATED PRODUCTS MFG. NOC                     2501            145,000              5.08           $7,366


TOWEL OR TOILET SUPPLY CO. & ROUTE SUPERVISORS,                 2587             65,000              6.86           $4,459
DRIVERS


LEATHER MFG. -INCLUDING TANNING, LEATHER                        2623             25,000             13.96           $3,490
EMBOSSING, AND WOOL PULLING


PALLET, BOX OR BOX SHOOK MFG. WOODEN                            2759           1,000,000            10.49          $10,490


CARPENTRY-SHOP ONLY-& DRIVERS                                   2802            300,000              5.50           $1,650


FURNITURE MANUFACTURING AND CABINET SHOP-
                                    SHOP -                      2881            250,000              6.72           $1,680
ASSEMBLY BY HAND - WOOD


        STEEL-- FABRICATION-
IRON OR STEEL                 IRONWORKS-- SHOP-
                FABRICATION - IRONWORKS                         3040            250,000             10.91           $2,728
ORNAMENTAL & DRIVERS


SHEET METAL WORK SHOP                                           3066            250,000             10.05           $2,513


SHEET METAL PRODUCTS MFG.                                       3076            25,000               6.36           $1,590


FOUNDRY-NON-FERROUS
FOUNDRY-NON-FERROUS                                             3085           9,000,000             9.41          $84,690


BLACKSMITH                                                      3111            25,000               4.00           $1,000


TOOL MFG.-NOT DROP OR MACHINE FORGED NOC                        3113            300,000              3.33           $9,990


SCREW MFG.                                                      3145            25,000               3.36             $840

                                        Decl. Barnett, Ex. D-34
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 345 of 514 Page ID
                                  #:1297



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE
                                      INSURANCE-- SCHEDULE EXTENSION

FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE
    ENTRIES IN
   ENTRIES  IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                   ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                         ANNUAL
                                                                   CODE                           REMUNERATION           PREMIUM
                                                                                                                 ANNUAL PREMIUM
                   PROVISIONS OF THIS POLICY                                     REMUNERATION

MINNESOTA (Page 2 of 4)


ELECTRICAL APPARATUS MFG. NOC                                      3179             20,000              3.55              $710


PLUMBERS' SUPPLIES MFG. NOC                                        3188             25,000              5.08            $1,270

HEAT-TREATI NG-METAL
HEAT-TREATING-METAL                                                3307            450,000              5.58          $25,110


ELECTROPLATING                                                     3372             25,000              7.22            $1,805


METAL STAMPED GOODS MFG. NOC                                       3400            225,000              7.05          $15,863


PUMP MFG.                                                          3612             25,000              3.89              $973


MACHINED PARTS MFG. NOC                                            3629           2,000,000             2.80            $5,600


MACHINE SHOPS NOC                                                  3632           2,000,000             6.38          $12,760


AUTOMOBILE, BUS, TRUCK OR TRAILER BODY MFG NOC                     3824            25,000              10.66            $2,665


PRINTING                                                           4299             90,000               4.97           $4,473


PHOTOGRAPHER-- ALL EMPLOYEES & CLERICAL,
PHOTOGRAPHER                                                       4361             25,000              3.47              $868
SALESPERSONS, DRIVERS


PLASTICS MFG.-SHEETS, RODS, OR TUBES                               4459            25,000               4.75            $1,188
                                                                                                                        $1 '188


PHARMACEUTICAL OR SURGICAL GOODS MFG NOC                           4693            25,000                2.33             $583


                       & DRIVERS
OIL REFINING-PETROLEUM &                                           4740            25,000                1.03             $258


ASPHALT OR TAR DISTILLING OR REFINING & DRIVERS                    4741            25,000               2.30              $575


DRUG, MEDICINE OR PHARMACEUTICAL PREPARATION                       4825            25,000               2.28              $570
MFG.-INCLUDES MFG. OF INGREDIENTS


SPORTING GOODS MFG. NOC                                            4902            25,000                3.61             $903
                                           Decl. Barnett, Ex. D-35
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 346 of 514 Page ID
                                  #:1298



                         PROTECTIVE INSURANCE COMPANY
                     WORKER'S COMPENSATION INSURANCE·
                                           INSURANCE -SCHEDULE
                                                      SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


                CLASSIFICATION OF OPERATIONS                                           PREMIUM BASIS        RATE
 ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED ELSEWHERE IN                    ESTIMATED TOTAL
   THIS POLICY, DO NOT MODIFY ANY OF THE OTHER PROVISIONS OF THIS     CLASSIFICATION                      PER $100 OF   ESTIMATED
                                                                          CODE             ANNUAL
                                POLICY                                                  REMUNERATION     REMUNERATION ANNUAL PREMIUM

MINNESOTA (Page 3 of 4)


ELECTRICAL WIRING --WITHIN
                    WITHIN BUILDINGS & DRIVERS                            5190            30,000               4.89          $1,467

WALLBOARD, SHEETROCK, DRYWALL, PLASTERBOARD, OR                           5445            25,000               9.99          $2,498
CEMENT BOARD INSTALLATION WITHIN BUILDINGS & DRIVERS


CARPENTRY-CONSTRUCTION OF RESIDENTIAL DWELLINGS                           5645             30,000             19.52          $5,856
NOT EXCEEDING 3 STORIES IN HEIGHT


EXCAVATION & DRIVERS                                                      6217             25,000             11.71          $2,928

FOOD PRODUCTS MFG. NOC                                                    6504            170,000              5.77          $9,809

BOATBUILDING OR REPAIR & DRIVERS                                          6834             25,000              5.89          $1,473

FREIGHT HANDLING NOC                                                      7360             50,000              8.83          $4,415

 DRIVERS, CHAUFFEURS & THEIR HELPERS NOC-
                                     NOC - COMMERCIAL                     7380             65,000               10.1         $6,565

STORE: FLORIST & DRIVERS                                                  8001             25,000              4.55          $1,138
                                                                                                                             $1 '138

STORE-JEWELRY                                                             8013             25,000              0.75            $188

STORE-WHOLESALE-NOC                                                       8018            125,000              7.08          $8,850

AUTOMOBILE-- PARTS & ACCESSORIES DISTRIBUTOR-
AUTOMOBILE                       DISTRIBUTOR -                            8029            25,000               4.55          $1,138
                                                                                                                             $1 '138
WHOLESALE


                          DEALER-- WHOLESALE
STORE: FRUIT OR VEGETABLE DEALER                                          8048            25,000               3.78           $945

IRON OR STEEL MERCHANT & DRIVERS                                          8106            25,000               8.52          $2,130

MACHINERY DEALER NOC-STORE OR YARD & DRIVERS                              8107            35,000               5.41          $1,894

PLUMBERS' SUPPLIES DEALER & DRIVERS                                       8111            35,000               5.02          $1,757

BUILDING MATERIAL YARD & LOCAL MANAGERS, DRIVERS                          8204           1,250,000             6.83         $85,375


                                             Decl. Barnett, Ex. D-36
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 347 of 514 Page ID
                                  #:1299


                       PROTECTIVE INSURANCE COMPANY
                   WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION
                                         INSURANCE ·SCHEDULE

    FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                POLICY NO:      WD001486
                EFFECTIVE DATE: 06/30/2017


               CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
       ENTRIES
        ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
     ELSEWHERE                                                  CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                     ESTIMATED
     ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                       PROVISIONS OF THIS POLICY                    CODE                           REMUNERATION           PREMIUM
                                                                                                                  ANNUAL PREMIUM
                                                                                  REMUNERATION

    MINNESOTA (Page 4 of 4)


    LUMBERYARD NEW MATERIALS ONLY-ALL OTHER                         8232            25,000                6.91           $1,728
    EMPLOYEES & YARD, WAREHOUSE, DRIVERS


    STORAGE WAREHOUSE NOC                                           8292            300,000               7.55         $22,650

    AUTOMOBILE SERVICE OR REPAIR CENTER & DRIVERS                   8380            25,000                5.86           $1,465

    METAL SCRAP DEALER & DRIVERS                                    8500            25,000              10.52            $2,630

    CLERICAL                                                        8810             60,000               0.22             $132

    JANITORIAL SERVICES BY CONTRACTORS
                           CONTRACTORS-- NO WINDOW                  9014            20,000                6.88           $1,376
    CLEANING ABOVE GROUND LEVEL & DRIVERS


    HOTEL-ALL OTHER EMPLOYEES & SALESPERSONS,                       9052            25,000               4.66            $1,165
    DRIVERS


    RESTAURANT NOC                                                  9082            25,000                2.44             $610

    TOTAL MANUAL PREMIUM                                                                                              $400,982

    EL INCREASED LIMITS                                             9812                                2.80%          $11,227

    DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.216        {$323,172)
                                                                                                                     ($323,172)

    EXPERIENCE MOD                                                  9898                                  1.01             $890

    TOTAL STANDARD EST. PREMIUM                                                                                        $89,927

    PREMIUM DISCOUNT                                                0063                                              ($14,624)

    TERRORISM                                                       9740                                  0.01             $586

    ESTIMATED ANNUAL PREMIUM                                                                                           $75,890

    MN SPECIAL COMPENSATION FUND                                    0174                                2.55%          $10,616

    TOTAL AMOUNT                                                                                                       $86,506



                                          Decl. Barnett, Ex. D-37
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 348 of 514 Page ID
                                  #:1300



                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER$100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

MISSISSIPPI


CEREAL OR BAR MFG.                                              2016            250,000              3.12         $7,800


MACHINED PARTS MFG. NOC                                         3629           2,634,000             2.76        $72,698


PHARMACEUTICAL OR SURGICAL GOODS MFG. NOC                       4693           1,290,000             0.87        $11,223


FLORIST - STORE & DRIVERS                                       8001           1,493,000             2.64        $39,415


STORE - WHOLESALE NOC                                           8018          10,000,000             2.67       $267,000


MAILING OR ADDRESSING COMPANY OR LETTER                         8800            955,000               1.97       $18,814
SERVICE SHOP


CLERICAL                                                        8810            617,000              0.20          $1,234


TOTAL MANUAL PREMIUM                                                                                            $418,184


EL INCREASED LIMITS                                             9812                                 2.8%        $11,709


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.119      ($378,736)


EXPERIENCE MOD                                                  9898                                 1.01           $512


TOTAL STANDARD EST. PREMIUM                                                                                      $51,669


PREMIUM DISCOUNT                                                0063                                              ($7,328)


CATASTROPHE                                                     9741                                 0.02         $3,448


TERRORISM                                                       9740                                 0.02         $3,448

TOTAL AMOUNT                                                                                                     $51,236



                                        Decl. Barnett, Ex. D-38
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 349 of 514 Page ID
                                   #:1301



                PROTECTIVE INSURANCE COMPANY
            WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                   PREMIUM BASIS       RATE
  ENTRIES
  ENTRIES IN THIS ITEM,
          IN THIS ITEM, EXCEPT AS SPECIFICALLY
                        EXCEPT AS SPECIFICALLY PROVIDED
                                               PROVIDED                   ESTIMATED TOTAL
                                                                                    TOTAL                ESTIMATED
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                                                           CLASSIFICATION ESTIMATED
                                                           CLASSIFICATION                  PER$100 OF
                                                                                           PER$100 OF    ESTIMATED
                   POLICY, DO     MODIFY ANY         OTHER
                                                               CODE           ANNUAL
                                                                              ANNUAL                      ANNUAL
                                                                                                          ANNUAL
                PROVISIONS
                PROVISIONS OF
                            OF THIS
                               THIS POLICY
                                                               CODE
                                                                           REMUNERATION   REMUNERATION
                                                                                          REMUNERATION
                                    POLICY                                 REMUNERATION                   PREMIUM
                                                                                                          PREMIUM

MISSOURI


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                             5190         2,436,000            4.45     $108,402


STORAGE WAREHOUSE NOC                                         8292           473,000            5.59      $26,441


TOTAL MANUAL PREMIUM                                                                                     $134,843


EL INCREASED LIMITS                                           9812                             1.2%         $1,618

DEDUCTIBLE PREMIUM FACTOR                                     9664                             0.112     ($121,177)
                                                                                                         ($121 '177)

EXPERIENCE MOD                                                9898                              1.01          $153


TOTAL STANDARD EST. PREMIUM                                                                                $15,436

PREMIUM DISCOUNT                                              0063                                         ($1 ,898)
                                                                                                           ($1,898)


TERRORISM                                                     9740                              0.02          $582

ESTIMATED ANNUAL PREMIUM                                                                                  $14,121


MO SIF SURCHARGE                                                                              6.00%         $7,288


MO ADMINISTRATIVE SURCHARGE                                                                   1.00%         $1,073

TOTAL AMOUNT                                                                                              $22,482




                                       Decl. Barnett, Ex. D-39
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 350 of 514 Page ID
                                      #:1302



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION
                                                                                               REMUNERATiON   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

MONTANA


CLERICAL                                                        8810               IF ANY             0.51              $0


TOTAL STANDARD EST. PREMIUM                                                                                              $0


CATASTROPHE                                                     9741                                  0.02               $0


TERRORISM                                                       9740                                  0.02               $0


ESTIMATED ANNUAL PREMIUM                                                                                                 $0


MT ADMIN. PREMIUM FUND SURCHARGE                                0939                              1.5592%                $0


MT SUBSEQUENT INJURY FUND                                       0935                              0.6186%                $0


MT OCC. SAFETY & HEALTH SURCHARGE                                                                 0.7156%                $0

TOTAL AMOUNT                                                                                                             $0




                                          Decl. Barnett, Ex. D-40
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 351 of 514 Page ID
                                      #:1303



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017



            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM,
                     ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                    ESTIMATED
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                 THIS POLICY,
                       POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                    CODE                           REMUNERATION           PREMIUM
                                                                                                                  ANNUAL PREMIUM
                   PROVISIONS
                   PROVISIONS OF THIS POLICY                                      REMUNERATION

NEBRASKA
NEBRASKA


BAKERY
BAKERY-- SALESPERSONS & DRIVERS                                     2003              325,000            5.14          $16,705


STORAGE
STORAGE WAREHOUSE NOC                                               8292               50,000             5.45           $2,725


JANITORIAL
JANITORIAL SERVICES BY CONTRACTORS-NO WINDOW                        9014               50,000             2.91           $1,455
CLEANING
CLEANING ABOVE GROUND LEVEL & DRIVERS


TOTAL MANUAL PREMIUM
TOTAL                                                                                                                   $20,885


EL INCREASED
EL INCREASED LIMITS                                                 9812                                 2.8%              $585


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                          9664                                 0.146         ($18,335)


EXPERIENCE MOD
EXPERIENCE                                                          9898                                  1.01              $31


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                    $3,166


PREMIUM DISCOUNT
PREMIUM                                                             0063                                                  ($449)


CATASTROPHE
CATASTROPHE                                                         9741                                  0.01              $43


TERRORISM
TERRORISM                                                           9740                                  0.01              $43


TOTAL AMOUNT
TOTAL                                                                                                                    $2,802




                                             Decl. Barnett, Ex. D-41
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 352 of 514 Page ID
                                  #:1304



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE- SCHEDULE EXTENSION
               WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF   ESTIMATED
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                                                                CODE                           REMUNERATION ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

NEVADA


SHEET METAL PRODUCTS MFG.                                       3076           5,600,000             3.81       $213,360


TELEVISION, RADIO, TELEPHONE OR                                 3681           2,500,000             1.23        $30,750
TELECOMMUNICATION DEVICE MFG. NOC


                    WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING --WITHIN                                      5190             25,000              4.16          $1,040


CLEANER-DEBRIS REMOVAL-CONSTRUCTION                             5610             25,000              5.53          $1,383

STORAGE WAREHOUSE NOC                                           8292           2,100,000             3.71        $77,910

CLERICAL                                                        8810            200,000              0.34            $680

PARK NOC-ALL EMPLOYEES & DRIVERS                                9102            350,000              3.41        $11,935


TOTAL MANUAL PREMIUM                                                                                            $337,058


EL INCREASED LIMITS                                             9812                                 2.8%          $9,438


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.167       ($291 ,517)
                                                                                                                ($291,517)


EXPERIENCE MOD                                                  9898                                  1.01         $3,465


TOTAL STANDARD EST. PREMIUM                                                                                      $58,444


PREMIUM DISCOUNT                                                0063                                              ($6,932)


CATASTROPHE                                                     9741                                 0.02          $2,160


TERRORISM                                                       9740                                 0.02          $2,160

TOTAL AMOUNT                                                                                                     $55,832



                                        Decl. Barnett, Ex. D-42
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 353 of 514 Page ID
                                      #:1305



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION


FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE
   ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM,
                    ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER$100
                                                                                                   PER $100 OF     ESTIMATED
 ELSEWHERE IN
 ELSEWHERE   IN THIS
                THIS POLICY,
                      POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                                        PREMIUM
                  PROVISIONS OF THIS POLICY
                  PROVISIONS                                                     REMUNERATION

NEW
NEW HAMPSHIRE
    HAMPSHIRE


STORAGE
STORAGE WAREHOUSE NOC                                              8292            1,553,000            5.62          $87,279


CLERICAL
CLERICAL                                                           8810            2,000,000             0.24          $4,800


TOTAL
TOTAL MANUAL PREMIUM                                                                                                  $92,079


EL
EL INCREASED
   INCREASED LIMITS                                                9812                                 2.8%           $2,578


DEDUCTIBLE
DEDUCTIBLE PREMIUM FACTOR                                          9664                                 0.155        ($79,985)


EXPERIENCE MOD
EXPERIENCE                                                         9898                                  1.01            $147


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                 $14,819


PREMIUM DISCOUNT
PREMIUM                                                            0063                                                ($1 ,822)
                                                                                                                       ($1,822)


CATASTROPHE
CATASTROPHE                                                        9741                                  0.01            $355


TERRORISM
TERRORISM                                                          9740                                  0.02            $711

TOTAL AMOUNT
TOTAL                                                                                                                 $14,062




                                            Decl. Barnett, Ex. D-43
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 354 of 514 Page ID
                                      #:1306



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE·


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE

   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
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                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION


NEW JERSEY


DRIVERS, CHAUFFERURS & THEIR HELPERS                            7380              100,000           14.41          $14,410


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190               50,000             5.99          $2,995


STORAGE WAREHOUSE NOC                                           8292            1,000,000            12.34        $123,400


TOTAL MANUAL PREMIUM                                                                                              $140,805


EL INCREASED LIMITS                                             9812                                 3.3%           $4,647


DEDUCTIBLE PREMIUM FACTOR                                       9664                                 0.143       ($124,652)


EXPERIENCE MOD                                                  9898                                 1.107           $2,226


TOTAL STANDARD EST. PREMIUM                                                                                        $23,025


PREMIUM DISCOUNT                                                0063                                                ($2,437)


CATASTROPHE                                                     9741                                  0.01            $115


TERRORISM                                                       9740                                  0.03            $345


ESTIMATED ANNUAL PREMIUM                                                                                           $21,049


NJ SIF                                                          0935                                5.00%            $8,051


NJ UNINSURED EMPLOYERS' FUND                                    0936                                0.08%              $129


TOTAL AMOUNT                                                                                                        $29,229



                                          Decl. Barnett, Ex. D-44
       Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 355 of 514 Page ID
                                         #:1307



                   PROTECTIVE INSURANCE COMPANY
                                     INSURANCE -SCHEDULE
               WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
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                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
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                 PROVISIONS OF THIS POLICY                                    REMUNERATION


NEW MEXICO


CLERICAL                                                        8810               IF ANY
                                                                                   IFANY              0.37               $0


TOTAL STANDARD EST. PREMIUM                                                                                              $0


TERRORISM                                                       9740                                  0.01               $0

TOTAL AMOUNT                                                                                                             $0




                                          Decl. Barnett, Ex. D-45
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 356 of 514 Page ID
                                   #:1308



                 PROTECTIVE INSURANCE COMPANY
             WORKER'S COMPENSATION INSURANCE·
                                   INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
         POLICY NO:      WD001486
         EFFECTIVE DATE: 06/30/2017


            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS      RATE
   ENTRIES
    ENTRIES IN
            IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                         ESTIMATED                    ESTIMATED
                                                               CLASSIFICATION                    PER $100 OF
 ELSEWHERE
 ELSEWHERE IN IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                    TOTAL ANNUAL                    ANNUAL
                                                                   CODE                         REMUNERATION
                   PROVISIONS OF THIS POLICY                                    REMUNERATION                    PREMIUM

NEW
NEW YORK


ELECTRICAL
ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS & DRIVERS                     5190              10,000           8.78        $878


EL
EL INCREASED LIMITS                                                9812                               2.8%          $25


DEDUCTIBLE
DEDUCTIBLE PREMIUM FACTOR                                          9664                              0.173        ($746)


EXPERIENCE
EXPERIENCE MOD                                                     9898                               1.01           $2


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                              $158


PREMIUM DISCOUNT
PREMIUM                                                            0063                                            ($22)


CATASTROPHE                                                        9741                               0.01           $1


TERRORISM
TERRORISM                                                          9740                               0.07           $7


ESTIMATED ANNUAL PREMIUM
ESTIMATED                                                                                                          $143


NY STATE WC ASSESSMENT
NY                                                                 0932                            12.20%          $112

TOTAL AMOUNT
TOTAL                                                                                                              $255




                                         Decl. Barnett, Ex. D-46
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 357 of 514 Page ID
                                  #:1309



                     PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE
                                       INSURANCE-- SCHEDULE EXTENSION

 FOR:          PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
               POLICY NO:      WD001486
               EFFECTIVE DATE: 06/30/2017



            CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS         RATE
    ENTRIES
     ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                             CLASSIFICATION                      PER $100 OF    ESTIMATED
                                                                                                                ESTIMATED
  ELSEWHERE
  ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                 CODE                           REMUNERATION ANNUAL PREMIUM
                                                                                                                     PREMIUM
                   PROVISIONS OF THIS POLICY                                   REMUNERATION

 NORTH CAROLINA (Page 1 of 2)


 FARM-NURSERY EMPLOYEES &
                        & DRIVERS                                0005            50,000                4.14         $2,070


 MANUFACTURED, MODULAR, OR PREFABRICATED HOME                    2799            125,000               6.63         $8,288
 SETUP, HOOKUP, OR INSTALLATION AT BUILDING SITE


 DOOR AND WINDOW INSTALLATION
                 INSTALLATION-- ALL TYPES-                       5102            821,000               6.61        $54,268
 RESIDENTIAL AND COMMERCIAL


            WIRING-- WITHIN BUILDINGS &
 ELECTRICAL WIRING                    & DRIVERS                  5190             20,000               5.53         $1,106
                                                                                                                    $1 '1 06


 CONCRETE CONSTRUCTION NOC                                       5213             25,000              10.27         $2,568


 STREET OR ROAD CONSTRUCTION-SUBSURFACE                          5507             20,000               5.31         $1,062
 WORK & DRIVERS


 CLEANER-DEBRIS REMOVAL-CONSTRUCTION                             5610             25,000                9.0         $2,250


                     CONSTRUCTION-- ALL
 JETTY OR BREAKWATER CONSTRUCTION                                6005             25,000               7.91         $1,978
 OPERATIONS TO COMPLETION & DRIVERS


 SEWER CONSTRUCTION-ALL OPERATIONS & DRIVERS                     6306             35,000               6.91         $2,419


 ELECTRIC LIGHT OR POWER CO. NOC
                             NOC-- ALL EMPLOYEES                 7539             30,000               2.48           $744
   DRIVERS ·
 & DRIVERS·
 &


                   DEALER-- NEW MATERIALS ONLY-
 BUILDING MATERIAL DEALER                                        8058          20,000,000              3.42       $684,000
 STORE EMPLOYEES


 STORAGE WAREHOUSE NOC                                           8292           6,000,000              4.52       $271,200


 CLERICAL                                                        8810           1,000,000              0.16         $1,600


 HOUSING AUTHORITY & CLERICAL, SALESPERSONS,                     9033             35,000               2.49           $872
 DRIVERS


 TOTAL MANUAL PREMIUM                                                                                           $1,034,423

                                         Decl. Barnett, Ex. D-47
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 358 of 514 Page ID
                                      #:1310



                   PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE --SCHEDULE
                                                 SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
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 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
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                 PROVISIONS OF THIS POLICY                                    REMUNERATION

NORTH CAROLINA (Page 2 of 2)
                          2}


EL INCREASED LIMITS                                             9812                                2.80%          $28,964


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.153        ($909,695)


EXPERIENCE MOD                                                  9898                                  1.01         $10,634


TOTAL STANDARD EST. PREMIUM                                                                                       $164,326


PREMIUM DISCOUNT                                                0063                                              ($23,307)


CATASTROPHE                                                     9741                                  0.01          $2,821


TERRORISM                                                       9740                                  0.01          $2,821


TOTAL AMOUNT                                                                                                      $146,661




                                          Decl. Barnett, Ex. D-48
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 359 of 514 Page ID
                                       #:1311



                    PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE·
                                       INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
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            CLASSIFICATION OF OPERATIONS                                         PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM,
                     ITEM, EXCEPT AS SPECIFICALLY PROVIDED                       ESTIMATED TOTAL
                                                                CLASSIFICATION                      PER $100 OF      ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS
                 THIS POLICY,
                       POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                    CODE                           REMUNERATION           PREMIUM
                                                                                                                  ANNUAL PREMIUM
                   PROVISIONS
                   PROVISIONS OF THIS POLICY                                      REMUNERATION

OKLAHOMA
OKLAHOMA


ELECTRICAL WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                                   5190               10,000            7.05              $705


STORAGE
STORAGE WAREHOUSE NOC                                               8292            1,500,000             5.39         $80,850


CLERICAL
CLERICAL                                                            8810            3,000,000             0.43         $12,900


TOTAL
TOTAL MANUAL PREMIUM                                                                                                   $94,455


EL INCREASED
EL INCREASED LIMITS                                                 9812                                 2.8%            $2,645


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                          9664                                 0.123         ($85,156)


EXPERIENCE MOD
EXPERIENCE                                                          9898                                  1.01             $119


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                   $12,063


PREMIUM DISCOUNT
PREMIUM                                                             0063                                                ($1,711)


CATASTROPHE
CATASTROPHE                                                         9741                                  0.02             $902


TERRORISM
TERRORISM                                                           9740                                  0.02             $902

TOTAL AMOUNT
TOTAL                                                                                                                   $12,156




                                             Decl. Barnett, Ex. D-49
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 360 of 514 Page ID
                                     #:1312



                  PROTECTIVE INSURANCE COMPANY
               WORKER'S COMPENSATION INSURANCE-
                                     INSURANCE - SCHEDULE EXTENSION


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017



          CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
  ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                           CLASSIFICATION                      PER $100 OF     ESTIMATED
ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                               CODE                           REMUNERATION   ANNUAL PREMIUM
                PROVISIONS OF THIS POLICY                                    REMUNERATION

OREGON


MACHINERY OR QUIPMENT ERECTION OR REPAIR                       3724               50,000            4.33           $2,165
NOC & DRIVERS


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                              5190            7,000,000            2.77         $193,900


TOTAL MANUAL PREMIUM                                                                                             $196,065


EL INCREASED LIMITS                                            9812                                 1.1%           $2,157


DEDUCTIBLE PREMIUM FACTOR                                      9664                                0.165        ($165,515)


EXPERIENCE MOD                                                 9898                                  1.01            $327


TOTAL STANDARD EST. PREMIUM                                                                                       $33,034


PREMIUM DISCOUNT                                               0063                                               ($4,062)


CATASTROPHE                                                    9741                                 0.01             $705


TERRORISM                                                      9740                                 0.01             $705


ESTIMATED ANNUAL PREMIUM                                                                                          $30,382


OR PREMIUM ASSESSMENT                                                                              6.80%           $2,066

TOTAL AMOUNT                                                                                                      $32,448




                                         Decl. Barnett, Ex. D-50
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 361 of 514 Page ID
                                  #:1313



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE-- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER   CLASSIFICATION                      PER $100 OF     ESTIMATED
                                                                                 ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

PENNSYLVANIA


LANDSCAPE CONTRACTOR                                            0012            225,000              9.43          $21,218

           WIRING-- WITHIN BUILDINGS
ELECTRICAL WIRING                                               0661             65,000              6.53           $4,245

CARPENTRY-- COMMERCIAL STRUCTURES
CARPENTRY                                                       0651            200,000             13.23          $26,460

STABLE                                                          0801             50,000              14.82          $7,410

CLERICAL                                                        0953             36,000              0.25               $90

TOTAL MANUAL PREMIUM                                                                                               $59,422

EL INCREASED LIMITS                                             9812                                 3.3%           $1,961

DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.149         ($52,237)

EXPERIENCE MOD                                                  9898                                0.975             ($229)

TOTAL STANDARD EST. PREMIUM                                                                                         $8,917

PREMIUM DISCOUNT                                                0063                                                ($1 ,058)
                                                                                                                    ($1,058)

EXPENSE CONSTANT                                                0900                                                  $295

CATASTROPHE                                                     9741                                 0.02             $115

TERRORISM                                                       9740                                 0.05             $288

ESTIMATED ANNUAL PREMIUM                                                                                            $8,558

PA ASSESSMENT                                                   0938                                2.32%           $1,380

TOTAL AMOUNT                                                                                                        $9,938




                                        Decl. Barnett, Ex. D-51
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 362 of 514 Page ID
                                      #:1314



                   PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE
                                      INSURANCE-- SCHEDULE EXTENSION

FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017



           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                 ESTIMATED
 ELSEWHERE
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION           PREMIUM
                                                                                                              ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY                                   REMUNERATION

SOUTH CAROLINA


IRON OR STEEL-ERECTION-FRAME STRUCTURES                         5040             50,000             10.36            $5,180


JETTY OR BREAKWATER CONSTRUCTION
                    CONSTRUCTION-- ALL                          6005             50,000             21.13          $10,565
                         & DRIVERS
OPERATIONS TO COMPLETION &


SIGN INSTALLATION, MAINTENANCE, REPAIR, REMOVAL,                9554             50,000             28.56          $14,280
OR REPLACEMENT NOC-AWAY FROM SHOP & DRIVERS


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190           1,000,000              8.37         $83,700


STORAGE WAREHOUSE NOC                                           8292           2,000,000             7.58         $151,600


TOTAL MANUAL PREMIUM                                                                                              $265,325


EL INCREASED LIMITS                                             9812                                 2.8%            $7,429


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.145        ($233,205)


EXPERIENCE MOD                                                  9898                                  1.01             $395


TOTAL STANDARD EST. PREMIUM                                                                                        $39,945


PREMIUM DISCOUNT                                                0063                                                ($5,666)


CATASTROPHE                                                     9741                                  0.02             $630


TERRORISM                                                       9740                                  0.02             $630

TOTAL AMOUNT                                                                                                       $35,539



                                          Decl. Barnett, Ex. D-52
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 363 of 514 Page ID
                                   #:1315



                PROTECTIVE INSURANCE COMPANY
            WORKER'S COMPENSATION INSURANCE·
                                  INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
          POLICY NO:      WD001486
          EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS      RATE
  ENTRIES
   ENTRIES IN
           IN THIS
               THIS ITEM,
                    ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL                ESTIMATED
                                                              CLASSIFICATION                    PER $100 OF
ELSEWHERE
ELSEWHERE IN IN THIS
                THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL                      ANNUAL
                                                                  CODE                         REMUNERATION
                  PROVISIONS OF THIS POLICY
                  PROVISIONS                                                    REMUNERATION                   PREMIUM

SOUTH
SOUTH DAKOTA


ELECTRICAL
ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS &
                                     & DRIVERS                    5190              10,000          10.92      $1,092


EL
EL INCREASED LIMITS                                               9812                              2.8%          $31


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                        9664                              0.145        ($960)


EXPERIENCE MOD
EXPERIENCE                                                        9898                               1.01           $2


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                            $164


PREMIUM DISCOUNT
PREMIUM                                                           0063                                            ($16)


CATASTROPHE
CATASTROPHE                                                       9741                               0.01           $1


TERRORISM
TERRORISM                                                         9740                               0.01           $1

TOTAL AMOUNT
TOTAL                                                                                                            $150




                                        Decl. Barnett, Ex. D-53
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 364 of 514 Page ID
                                      #:1316



                     PROTECTIVE INSURANCE COMPANY
                 WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017



            CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
    ENTRIES
     ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                    ESTIMATED TOTAL
                                                             CLASSIFICATION                      PER $100 OF
                                                                                                 PER$100          ESTIMATED
                                                                                                                  ESTIMATED
  ELSEWHERE
  ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                    PROVISIONS OF THIS POLICY                    CODE                           REMUNERATION   ANNUAL PREMIUM
                                                                                                               ANNUAL  PREMIUM
                                                                               REMUNERATION

TENNESSEE

ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS &
                                     & DRIVERS                   5190            25,000               3.91              $978


CONTRACTOR-PROJECT MANAGER, CONSTRUCTION,                        5606            50,000               2.00            $1,000
EXECUTIVE, CONSTRUCTION MANAGER OR
CONSTRUCTION SUPERINTENDENT


STORAGE WAREHOUSE NOC                                            8292           5,000,000             3.34         $167,000


CLERICAL                                                         8810             30,000              0.21               $63


                       CONTRACTORS-- NO WINDOW
JANITORIAL SERVICES BY CONTRACTORS                               9014            200,000              3.44            $6,880
CLEANING ABOVE GROUND LEVEL &
                            & DRIVERS


TOTAL MANUAL PREMIUM                                                                                               $175,921


EL INCREASED LIMITS                                              9812                                 2.8%            $4,926


DEDUCTIBLE PREMIUM FACTOR                                        9664                                   0.1       ($162,762)


EXPERIENCE MOD                                                   9898                                  1.01             $181


TOTAL STANDARD EST. PREMIUM                                                                                         $18,265


PREMIUM DISCOUNT                                                 0063                                                ($2,591)
                                                                                                                     ($2,591 )

CATASTROPHE                                                      9741                                 0.04            $2,122


TERRORISM                                                        9740                                 0.02            $1,061

TOTAL AMOUNT                                                                                                        $18,858


                                           Decl. Barnett, Ex. D-54
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 365 of 514 Page ID
                                      #:1317



                   PROTECTIVE INSURANCE COMPANY
                                      INSURANCE-- SCHEDULE EXTENSION
                WORKER'S COMPENSATION INSURANCE


FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017



           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                     ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION   ANNUAL PREMIUM
                 PROVISIONS OF THIS POLICY                                    REMUNERATION

TEXAS


LANDSCAPE GARDENING & DRIVERS                                   0042             65,000              4.98           $3,237


INCANDESCENT LAMP MFG                                           4112             75,000               0.48            $360


           WIRING-- WITHIN BUILDINGS & DRIVERS
ELECTRICAL WIRING                                               5190            250,000              4.03          $10,075


VEGETABLE PACKING & DRIVERS                                     8209            830,000               5.12         $42,496


STORAGE WAREHOUSE NOC                                           8292           6,716,000              3.87        $259,909


SALESPERSONS-
SALESPERSONS - OUTSIDE                                          8742             50,000               0.24            $120


CLERICAL                                                        8810            625,000               0.14            $875


TOTAL MANUAL PREMIUM                                                                                              $317,072


EL INCREASED LIMITS                                             9812                                 2.0%           $6,341


DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.188        ($265,238)


EXPERIENCE MOD                                                  9898                                  1.01          $3,234


TOTAL STANDARD EST. PREMIUM                                                                                        $61,409


PREMIUM DISCOUNT                                                0063                                               ($7,551)


TERRORISM                                                       9740                                0.024           $2,067

TOTAL AMOUNT                                                                                                       $55,925



                                          Decl. Barnett, Ex. D-55
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 366 of 514 Page ID
                                   #:1318



              PROTECTIVE INSURANCE COMPANY
           WORKER'S COMPENSATION INSURANCE· SCHEDULE EXTENSION


FOR:       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
           POLICY NO:      WD001486
           EFFECTIVE DATE: 06/30/2017


       CLASSIFICATION OF OPERATIONS                                 PREMIUM BASIS        RATE
   ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY                     ESTIMATED TOTAL
                                                   CLASSIFICATION                      PER $1000F      ESTIMATED
PROVIDED ELSEWHERE IN THIS POLICY, DO NOT MODIFY                        ANNUAL
                                                       CODE                           REMUNERATION   ANNUAL PREMIUM
   ANY OF THE OTHER PROVISIONS OF THIS POLICY                        REMUNERATION


VERMONT


CLERICAL                                               8810               IFANY
                                                                          IF ANY             0.38               $0


TOTAL STANDARD EST. PREMIUM                                                                                     $0


CATASTROPHE                                            9741                                  0.02               $0


TERRORISM                                              9740                                  0.02               $0

TOTAL AMOUNT                                                                                                    $0




                                      Decl. Barnett, Ex. D-56
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 367 of 514 Page ID
                                      #:1319



                    PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE·
                                      INSURANCE- SCHEDULE EXTENSION

FOR:
FOR:         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
             POLICY NO:      WD001486
             EFFECTIVE DATE: 06/30/2017



            CLASSIFICATION OF OPERATIONS                                        PREMIUM BASIS        RATE
   ENTRIES
    ENTRIES IN
            IN THIS
                THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED                      ESTIMATED TOTAL
                                                               CLASSIFICATION                      PER $100 OF     ESTIMATED
 ELSEWHERE
 ELSEWHERE IN IN THIS
                 THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                   CODE                           REMUNERATION   ANNUAL PREMIUM
                   PROVISIONS OF THIS POLICY                                     REMUNERATION

VIRGINIA
VIRGINIA


ELECTRICAL
ELECTRICAL WIRING
           WIRING-- WITHIN BUILDINGS & DRIVERS                     5190               50,000            3.69           $1,845
                                                                                                                         ,
                                                                                                                         '
CLEANER-DEBRIS
CLEANER-DEBRIS REMOVAL-CONSTRUCTION                                5610              125,000            4.90           $6','125


ELECTRIC
ELECTRIC LIGHT OR POWER CO. NOC
                            NOC-- ALL                              7539              100,000             2.20          $2,200
EMPLOYEES
EMPLOYEES & DRIVERS


BUILDING
BU                 DEALER-- NEW MATERIALS ONLY
   ILDING MATERIAL DEALER                 ONLY--                   8058           7,000,000              4.02        $281,400
STORE EMPLOYEES
STORE


STORAGE WAREHOUSE NOC
STORAGE                                                            8292            250,000               3.50          $8,750


CLERICAL
CLERICAL                                                           8810            309,000               0.14            $433


TOTAL MANUAL PREMIUM
TOTAL                                                                                                                $300,753


EL INCREASED
EL INCREASED LIMITS                                                9812                                 3.3%           $9,925


DEDUCTIBLE PREMIUM FACTOR
DEDUCTIBLE                                                         9664                                 0.139       ($270, 169)
                                                                                                                    ($270,169)


EXPERIENCE MOD
EXPERIENCE                                                         9898                                  1.01          $3,107


TOTAL STANDARD EST. PREMIUM
TOTAL                                                                                                                 $43,616


PREMIUM DISCOUNT
PREMIUM                                                            0063                                                ($5,363)


TERRORISM
TERRORISM                                                          9740                                  0.05           $3,917


TOTAL AMOUNT
TOTAL                                                                                                                 $42,169



                                            Decl. Barnett, Ex. D-57
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 368 of 514 Page ID
                                      #:1320



                   PROTECTIVE INSURANCE COMPANY
                WORKER'S COMPENSATION INSURANCE
                                      INSURANCE-- SCHEDULE EXTENSION

FOR:        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
            POLICY NO:      WD001486
            EFFECTIVE DATE: 06/30/2017


           CLASSIFICATION OF OPERATIONS                                      PREMIUM BASIS        RATE
    ENTRIES IN THIS ITEM, EXCEPT AS SPECIFICALLY PROVIDED
   ENTRIES                                                                   ESTIMATED TOTAL
                                                            CLASSIFICATION                      PER $100 OF      ESTIMATED
                                                                                                                ESTIMATED
 ELSEWHERE
 ELSEWHERE IN THIS POLICY, DO NOT MODIFY ANY OF THE OTHER                        ANNUAL
                                                                CODE                           REMUNERATION           PREMIUM
                                                                                                              ANNUAL PREMIUM
                  PROVISIONS OF THIS POLICY                                   REMUNERATION

WEST VIRGINIA


STORAGE WAREHOUSE NOC                                           8292            6,000,000            2.86         $171,600

CLERICAL                                                        8810               29,000            0.24               $70

TOTAL MANUAL PREMIUM                                                                                              $171,670


EL INCREASED LIMITS                                             9812                                 2.8%            $4,807

DEDUCTIBLE PREMIUM FACTOR                                       9664                                0.144        ($151 ,064)
                                                                                                                 ($151,064)


EXPERIENCE MOD                                                  9898                                  1.01             $254


TOTAL STANDARD EST. PREMIUM                                                                                        $25,667

PREMIUM DISCOUNT                                                0063                                                ($3,640)


CATASTROPHE                                                     9741                                  0.02           $1,206


TERRORISM                                                       9740                                  0.02           $1,206


ESTIMATED ANNUAL PREMIUM                                                                                           $24,438


WV REGULATORY SURCHARGE                                                                             5.00%            $7,769


WV DEBTREDCTN. SURCHARGE                                                                            9.00%          $13,983

TOTAL AMOUNT                                                                                                       $46,190




                                          Decl. Barnett, Ex. D-58
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 369 of 514 Page ID
                                  #:1321



                                              ENDORSEMENT

This endorsement, effective on               06/30/2017            at 12:01 A.M. standard time, forms a part of

Policy No.      WD001486                 Policy effective on       06/30/2017

Of the          Protective Insurance Company

Issued to       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By              Protective Insurance Company



                                                                            Authorized Representative


It is hereby understood and agreed the reporting provisions of this policy require that the Insured report as payroll
and pay premium based on 33.3% of all amounts paid by the Insured to independent contractors. This percentage
applies to all states except California, Minnesota and Oregon where the Insured will report as payroll and pay
premium based on 25% of all amounts paid by the Insured to independent contractors.

These provisions apply to all independent contractors for whom the Insured does not maintain a certificate of
insurance evidencing valid Workers Compensation coverage, or for whom the Company does not provide work
accident insurance coverage.

All other terms and conditions of this policy remain the same.




 WC10011C (6/01)
                                       Decl. Barnett, Ex. D-59
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 370 of 514 Page ID
                                       #:1322
                                    ENDORSEMENT
This endorsement, effective on         06/30/2017         at 12:01 A.M. standard time, forms a part of

Policy No.     WD001486             Policy effective on   06/30/2017

Of the         Protective Insurance Company

Issued to      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

By             Protective Insurance Company




                                                                    Authorized Representative

It is hereby understood and agreed that the following Named Insured's and Locations are included:

                                     NAMED INSURED SCHEDULE

  Name Link                                                                                 NAICS
                                    Insured Name                              FEIN
    Code                                                                                    Code
                PERSONNEL STAFFING GROUP, LLC DBA BARNETT
         001                                                                010759364       561320
                MANAGEMENT
         002    MVP WORKFORCE, LLC                                          263242640       561320

         003    PERSONNEL STAFFING GROUP, LLC DBA MVP 360                   010759364       561320
                PERSONNEL STAFFING GROUP, LLC DBA HOTEL
         004                                                                010759364       561320
                STAFFING SOLUTIONS
                PERSONNEL STAFFING GROUP, LLC DBA
         005                                                                010759364       561320
                BALANCE
                PERSONNEL STAFFING GROUP, LLC DBA
         006                                                                010759364       561320
                MACKENZIE & COMPANY
                MVP WORKFORCE, LLC DBA HOTEL STAFFING
         007                                                                010759364       561320
                SOLUTIONS
                PERSONNEL STAFFING GROUP, LLC DBA KBS
         008                                                                010759364       561320
                STAFFING
                STAFFING GROUP, LLC DBA MOST VALUABLE
         009                                                                010759364       561320
                PERSONNEL



                                           LOCATION SCHEDULE


  Name Link                                                  No. of                          NAICS
                                 Address                                      Ul No.
                                                                              UI
    Code                                                   Employees                         Code

                1300 N FLORIDA MANGO ROAD
         001                                                    8                           561320
                WEST PALM BEACH, FL 33409
                501 S FAULKENBERG RD, STE E19
         001                                                    5                           561320
                TAMPA, FL 33619

                                     Decl. Barnett, Ex. D-60
 Page 1 of 5
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 371 of 514 Page ID
                                    #:1323
                              LOCATION  SCHEDULE
Name Link                                          No. of               NAICS
                           Address                           UI No.
                                                             Ul
  Code                                           Employees              Code
              7677 SW ELLIPSE WAY
    001                                              4                  561320
              STUART, FL 34997
              1751 LAKE COOK ROAD
    001                                             20                  561320
              DEERFIELD, IL 60015
              27050 OLD 41 RD, UNIT B
    002                                              4                  561320
              BONITA SPRINGS, FL 34135
              1751 LAKE COOK ROAD
    002                                             15                  561320
              DEERFIELD, IL 60015
              5017 W CERMAK RD
    002                                              8                  561320
              CICERO, IL 60804
              65 E PALATINE, STE 213
    002                                              8                  561320
              PROSPECT HEIGHTS, IL 60070
              7225 OPORTO MADRID BLVD
    003                                              1                  561320
              BIRMINGHAM, AL 35206
              408 CHERRY STREET
    003                                              1                  561320
              EUDORA, AR 71640
              201 E. WASHINGTON
    003                                              1                  561320
              PHOENIX, AZ 85004
              12465 LEWIS STREET
    003                                              6                  561320
              GARDEN GROVE, CA 92840
              2499 S WILMINGTON
    003                                              5                  561320
              COMPTON, CA 90220
              801 W VICTORIA
    003                                              5                  561320
              COMPTON, CA 90220
              1220-1222 E 17TH ST
    003                                              4                  561320
              SANTA ANA, CA 92701
              1905 E 17TH ST
    003                                              5                  561320
              SANTA ANA, CA 92701
              700 COLORADO BOULEVARD
    003                                              1                  561320
              DENVER, CO 80206
              132 TERRY
    003                                              1                  561320
              HARTFORD, CT 06105
              36 JEROME DRIVE
    003                                              1                  561320
              DOVER, DE 19901
              6965 HWY 42 SOUTH
    003                                              2                  561320
              LOCUST GROVE, GA 30248
              1300 CUMMINS ROAD                                         561320
    003                                              2
                          lA 50315
              DES MOINES, IA
              400 MEMORIAL DRIVE
    003                                              1                  561320
              IDAHO FALLS, ID 83402
              205 W RANDOLPH
    003                                             15                  561320
              CHICAGO, IL 60606

Page 2 of 5
                                  Decl. Barnett, Ex. D-61
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 372 of 514 Page ID
                                    #:1324
                              LOCATION  SCHEDULE

Name Link                                         No. of                   NAICS
                             Address                           Ul
                                                               UI No.
  Code                                          Employees                  Code
               1751 LAKE COOK ROAD
    003                                            95                      561320
               DEERFIELD, IL 60015
               226 SHERIDAN
    003                                            15                      561320
               WAUKEGAN, IL 60085
               2346 S. LYNHURST
                       LYNHURST
    003                                             2                      561320
               INDIANAPOLIS, IN 46241
               4000 W. 6TH STREET
    003                                             2                      561320
               LAWRENCE, KS 66049
               12701 TOWNE PARK WAY
    003                                             2                      561320
               LOUISVILLE, KY 40243
               5261 HIGHLAND ROAD
    003                                             1                      561320
               BATON ROGUE, LA 70808
               5235 WESTVIEW DRIVE
    003                                             4                      561320
               FREDERICK, MD 21703
               855 LISBON
    003                                             2                      561320
               LEWISTON, ME 04240
               855 LISBON
    003                                             2                      561320
               LEWISTON, ME 04240
               18701 GRAND RIVER AVENUE
    003                                             1                      561320
               DETROIT, MI
                        Ml 48223
               1950 UNIVERSITY AVENUE
    003                                             4        05116737      561320
               ST. PAUL, MN 55104
               20 S 6TH STREET
    003                                             1                      561320
               COLUMBIA, MO 65201
               2440 N HILLS STREET
    003                                             3                      561320
               MERIDIAN, MS 39305
               103-8 WOODLAND ROAD
               103-8
    003                                             2                      561320
               BATESVILLE, MS 38606
              . 821 N. 27TH STREET
    003                                             1                      561320
                BILLINGS, MT 59101
               2431 SPRING FOREST ROAD
    003                                             5                      561320
               RALEIGH, NC 27615
               2025-C EASTGATE
    003                                             5                      561320
               GREENVILLE, NC 27858
               821 BAXTER ST
    003                                             5                      561320
               CHARLOTTE, NC 28202
               7000 Q STREET
    003                                             1                      561320
               OMAHA, NE 68117
               391 S. BROADWAY
    003                                             1                      561320
               SALEM, NH 03079
               412 36TH STREET
    003                                            10       010759364000   561320
               UNION CITY, NJ 07087

Page 3 of 5                      Decl. Barnett, Ex. D-62
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 373 of 514 Page ID
                                    #:1325
                              LOCATION  SCHEDULE

Name Link                                        No. of                 NAICS
                           Address                          Ul No.
                                                            UI
  Code                                         Employees                Code
              2706 CENTRAL AVENUE,
    003                                            3                    561320
              ALBUQUERQUE, NM 87106
              6120 W. TROPICANA
    003       LAS VEGAS, NV 89103                  1                    561320

              818 SW 3RD AVENUE
    003       PORTLAND, OR 97204                   1                    561320

              900 PENN AVENUE
    003       PITTSBURGH, PA 15222                 1                    561320

              360 KING STREET
    003       CHARLESTON, SC 29401                 1                    561320

              120 22ND AVENUE
    003       BROOKINGS, SD 57006                  1                    561320

              1930 AIR LANE
    003       NASHVILLE, TN 37210                  1                    561320

              15455 N DALLAS PARKWAY
    003       ADDISON, TX 75001                    3                    561320

              2750 W NORTHWEST HWY
    003       DALLAS, TX 75220                     3                    561320

              206 S. MAIN STREET SUITE 302
    003       CULPEPPER, VA 22701                  2                    561320

              1100 WOODFORD
    003       BENNINGTON, VT 05201                 1                    561320

              1100 WOODFORD
    003       BENNINGTON, VT 05201                 1                    561320

              1004 BULLITT STREET
    003       CHARLESTON, WV 25301                 1                    561320

              1751 LAKE COOK ROAD
    004                                            1                    561320
              DEERFIELD, IL 60015
              5235 WESTVIEW DRIVE
    005                                            2                    561320
              FREDERICK, MD 21703
              12465 LEWIS STREET
    005                                            6                    561320
              GARDEN GROVE, CA 92840
              36 JEROME DRIVE
    005                                            1                    561320
              DOVER, DE 19901
              132 TERRY
    005                                            1                    561320
              HARTFORD, CT 06105
              391 S. BROADWAY
    005                                            2                    561320
              SALEM, NH 03079
              855 LISBON
    005                                            2                    561320
              LEWISTON, ME 04240
              1100 WOODFORD
    005                                            1                    561320
              BENNINGTON, VT 05201

Page 4 of 5                     Decl. Barnett, Ex. D-63
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 374 of 514 Page ID
                                     #:1326
                                          LOCATION SCHEDULE


 Name Link                                                     No. of             NAICS
                                Address                                  Ul No.
                                                                         UI
   Code                                                      Employees            Code

               1751 LAKE COOK ROAD, SUITE 600
     006                                                         1                561320
               DEERFIELD, IL 60015
               1751 LAKE COOK ROAD, SUITE 600
     007                                                         1                561320
               DEERFIELD, IL 60015
               12465 LEWIS STREET
     008                                                         6                561320
               GARDEN GROVE, CA 92840
               2706 CENTRAL AVENUE
     008                                                         1                561320
               ALBUQUERQUE, NM 87106
               1751 LAKE COOK ROAD SUITE 600
     009                                                         1                561320
               DEERFIELD, IL 60015




All other terms and conditions of this policy remain the same.

Endorsement No.

WC1001LOC (3/10)




Page 5 of 5

                                      Decl. Barnett, Ex. D-64
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 375 of 514 Page ID
                                  #:1327


                                          ENDORSEMENT

  This endorsement, effective on      06/30/2017            at 12:01 A.M. standard time, forms a part of

  Policy No.     WD001486             policy effective on           06/30/2017

  Of the         Protective Insurance Company

  Issued to        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT

  By             Protective Insurance Company



                                                                          Authorized Representative



  It is hereby understood and agreed that Item 3.0. of the Information Page is amended to read as follows:

  This policy includes these endorsements and schedules:

  WC10011C, WC1001LOC, WC1001E, PE-002-0116-CW, PWC-1, PWC-1-IL, PWC-1A,
  WC1001IC,
  PWC-1B, PWC-1C, PWC-11, PWC-1J, PWC-1K, PWC-1L, PWC-1M, PWC-1N, PWC-1P, PWC-1Q,
  PWC-R, WC101, WC00030116CW, WC000104A, WC000106A, WC000301A, WC000313, WC000406,
  WC000406A, WC000414, WC000419, WC000421D, WC000422B, WC000424, WC020601A,
  WC030601A, VVC040301C,
               WC040301C, WC040310, VVC040360B,
                                        WC040360B, VVC040421,
                                                     WC040421 , WC040601A, WC040603B,
  PN049901F, PN049902B, PN049904, WC050402, WC060301, WC060303C, WC060601, WC070601,
  WC090303, WC090403B, WC090407, WC090606, WC990401, WC100601B, WC120306A,
  WC120601E, WC150401A, WC150601E, WC160305, WC160601, WC160602, WC170303,
  WC170601G, WC170602A, WC180601, WC180603A, WC180604, WC180606, WC180607A,
  WC190601F, WC210303A, WC210304, WC210402B, VVC220000A,
                                                    WC220000A, WC220601D, WC240406D,
  WC240601B, WC240602B, WC240604B, WC250305, WC250401A, WC250601B, WC250602,
  WC260601 C, WC270601 C, WC280604, WC290306B, WC290411 D, WC290601 A, WC300301,
  WC300601A, WC310308, WC310319H, WC310618, WC320301C, WC320602, WC350302,
                        VVC360306, WC360406,
  WC350601F, WC350603, WC360306,   VVC360406, WC360601E,
                                              VVC360601E, WC360604, WC370602,
                                                                    VVC370602, WC370603A,
  WC370604, WC400601A,
              VVC400601A, WC400603, WC400605B,
                                        VVC400605B, WC420301G, WC420407, WC440601,
  WC440602B,WC450602,WC47301A,VVC470302,WC470601
  WC440602B,WC450602,WC47301A,WC470302,WC470601




  All other terms and conditions of this policy remain unchanged.




  WC1001E (6/01)                    Decl. Barnett, Ex. D-65
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 376 of 514 Page ID
                                       #:1328


                            PROTECTIVE INSURANCE COMPANY
                  WORKERS COMPENSATION AND EMPLOYERS LIABILITY POLICY
                               Composite Rate Endorsement


This endorsement changes the policy to which it is attached effective on the inception date of the policy unless another date
is indicated below.

This endorsement, effective on     06/30/2017    at 12:01 A.M. standard time, forms a part of

Policy No.:   WD001486

Issued to:    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT



The premium for this policy shall be computed on a composite rate basis in accordance with the Company rules, rates,
rating plans, minimum premiums and other terms of the policy.

Composite Rate Basis: Per $100 of Workers' Compensation Payroll

Rate: $0.846

Estimated Annual Exposure: $564,521,000
                           $564,521 ,000

Estimated Annual Premium: $4,778,464




                                                           Page 1
WC-0003-0116-CW
PIC 02/2016
                                            Decl. Barnett, Ex. D-66
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 377 of 514 Page ID
                                      #:1329
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we 00
                                                                                                                   WC oo 0104
                                                                                                                         01 04 A

                                                                                                                        (Ed. 10-04)

                          FEDERAL EMPLOYERS' LIABILITY ACT COVERAGE ENDORSEMENT

This endorsement applies only to work subject to the Federal Employers' Liability Act (45 USC Sections 51-60) and
any amendment to that Act that is in effect during the policy period.

G. Limits of Liability of Part Two (Employers Liability Insurance) is replaced by the following:
   G. Limits of Liability
      Our liability to pay for damages is limited. Our limits of liability are shown in the Schedule. They apply as
      explained below:

          1.   Bodily Injury by Accident. The limit shown for "bodily injury by accident-each accident" is the most we
               will pay for all damages covered by this insurance because of bodily injury to one or more employees in
               any one accident.
               anyone

               A disease is not bodily injury by accident unless it results directly from bodily injury by accident.

          2.   Bodily Injury by Disease. The limit shown for "bodily injury by disease-aggregate" is the most we will pay
               for all damages covered by this insurance because of bodily injury by disease to one or more employees.
               The limit applies separately to bodily injury by disease arising out of work in each state shown in Item 3.A.
               of the Information Page or in the Schedule.
               Bodily injury by disease does not include disease that results directly from bodily injury by accident.

          3.   We will not pay any claims for damages after we have paid the applicable limit of our liability under this
               insurance.

If any state is named in Item 2 of the Schedule, Part Two (Employers Liability Insurance) applies in that state to work
subject to the Federal Employers' Liability Act as though that state were listed in Item 3.A. of the Information Page.
Part One (Workers Compensation Insurance) does not apply in a state shown in the Schedule.

 Part Two (Employers Liability Insurance), C. Exclusions, exclusion 9, does not apply to work subject to the Federal
 Employers' Liability Act.



                                                             Schedule

 1. Limits of Liability

    Bodily Injury by Accident                                                                   $ 1,000,000 each accident

    Bodily Injury by Disease                                                                    $ 1,000,000 aggregate

 2. State

    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.


  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Policy Effective           06/30/2017
Endorsement Effective      06/30/2017                            Policy No. WD001486                       Endorsement No.
Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

Insurance Company          Protective Insurance Company          Countersigned   by--"'~-=----=------'l
                                                                                 by--",~-=-_-=------,l
                                                                                                    _________
                                              Decl. Barnett, Ex. D-67
WC
we 00
   oo 0104
      01 o4 A
(Ed. 10-04)
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 378 of 514 Page ID
                                       #:1330


                    WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                  01 06 A
                                            WC 00 0106          we oo
                 LONGSHORE AND HARBOR WORKERS' COMPENSATION ACT
                             COVERAGE ENDORSEMENT
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
         (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)

This endorsement, effective on                         06/30/2017                    at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.          WD001486                        Endorsement No.

of the              Protective Insurance Company
                    (NAME OF INSURANCE COMPANY)

issued to                                                     r~N~GEM'T / }
                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT r~N~GEM'T                             IJ
Premium (if any) $ Included                                                                ~ 1"
                                                                                           {;{)vv1 1'
                                                                                           Authorized Representative


This endorsement applies only to work subject to the Longshore and Harbor Workers' Compensation Act in a state shown
in the Schedule. The policy applies to that work as though that state were listed in Item 3.A. of the Information Page.
General Section C. Workers' Compensation Law is replaced by the following:
C. Workers' Compensation Law
    Workers' Compensation Law means the workers or workmen's compensation law and occupational disease law of
    each state or territory in Item 3.A. of the Information Page and the Longshore and Harbor Workers' Compensation Act
    (33 USC Sections 901-950). It includes any amendments to those laws that are in effect during the policy period. It
    does not include any other federal workers or workmen's compensation law, other federal occupational disease law or
    the provisions of any law that provide nonoccupational disability benefits.
Part Two (Employers Liability Insurance), C. Exclusions., exclusion 8., does not apply to work subject to the Longshore
and Harbor Workers' Compensation Act.
This endorsement does not apply to work subject to the Defense Base Act, the Outer Continental Shelf Lands Act, or the
Nonappropriated Fund Instrumentalities Act.
                                                                    Schedule
State                                                                                  Longshore and Harbor Workers'
                                                                                    Compensation Act Coverage Percentage
Each state named in Item 3.A. or 3.C.                                                   Percentages as promulgated
of the Information Page                                                                 by
                                                                                        byNCCI
                                                                                           NCCI

The rates for classifications with code numbers not followed by the letter "F" are rates for work not ordinarily subject to the
Longshore and Harbor Workers' Compensation Act. If this policy covers work under such classifications, and if the work is
subject to the Longshore and Harbor Workers' Compensation Act, those non-F classification rates will be increased by the
Longshore and Harbor Workers' Compensation Act Coverage Percentage filed by the insurance company.




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WC oo 01 06A                                       Decl. Barnett, Ex. D-68                                                              Page 1 of 1
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 379 of 514 Page ID
                                     #:1331
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
                                                                                                                   WC oo
                                                                                                                      00 o3
                                                                                                                         03 01 A
                                                                                                                               A

                                                                                                                         (Ed. 2-89)

                                             ALTERNATE EMPLOYER ENDORSEMENT

This endorsement applies only with respect to bodily injury to your employees while in the course of special or
temporary employment by the alternate employer in the state named in Item 2 of the Schedule. Part One (Workers
Compensation Insurance) and Part Two (Employers Liability Insurance) will apply as though the alternate employer is
insured. If an entry is shown in Item 3 of the Schedule the insurance afforded by this endorsement applies only to work
you perform under the contract or at the project named in the Schedule.

Under Part One (Workers Compensation Insurance) we will reimburse the alternate employer for the benefits required
by the workers compensation law if we are not permitted to pay the benefits directly to the persons entitled to them.

The insurance afforded by this endorsement is not intended to satisfy the alternate employer's duty to secure its
obligations under the workers compensation law. We will not file evidence of this insurance on behalf of the alternate
employer with any government agency.

We will not ask any other insurer of the alternate employer to share with us a loss covered by this endorsement.

Premium will be charged for your employees while in the course of special or temporary employment by the alternate
employer.

The policy may be canceled according to its terms without sending notice to the alternate employer.

Part Four (Your Duties If Injury Occurs) applies to you and the alternate employer. The alternate employer will
recognize our right to defend under Parts One and Two and our right to inspect under Part Six.

                                                             Schedule

1. Alternate Employer                                                                           Address
   Where required by written contract
2. State of Special or Temporary Employment
3. Contract or Project




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective              06/30/2017

  Endorsement Effective         06/30/2017                      Policy No. WD001486                           Endorsement No.

  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      .   /J
                                                                                                              IJ     Premium


  Insurance Company           Protective Insurance Company                      by----'-~
                                                                                   --'-~er
                                                                 Countersigned by _ _        _ _ _ _ _'_
                                                                                                       [ _ _ _ _ __              _
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  WC   oo 03
          o3 01 AA
  (Ed. 2-89)

  1984, 1988
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©       1988 National
                                                   Decl. Barnett, Ex. D-69
             National Council on Compensation Insurance.
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 380 of 514 Page ID
                                     #:1332
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we oo
                                                                                                                     WC 00 0313

                                                                                                                        (Ed. 4-84)

                        WAIVER OF OUR RIGHT TO RECOVER FROM OTHERS ENDORSEMENT

We have the right to recover our payments from anyone liable for an injury covered by this policy. We will not enforce
our right against the person or organization named in the Schedule. (This agreement applies only to the extent that
you perform work under a written contract that requires you to obtain this agreement from us.)

This agreement shall not operate directly or indirectly to benefit anyone not named in the Schedule.

                                                             Schedule


Where required by written contract




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                       Policy No. WD001486                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J       Premium

  Insurance Company           Protective Insurance Company         Countersigned by          {AJ.d~
                                                                                             fA.J.d~
  we 00
  WC   oo 0313
  (Ed. 4-84)


                                                     Decl. Barnett, Ex. D-70
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 381 of 514 Page ID
                                      #:1333INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY                              we 00
                                                                          WC oo 0406
                                                                                04 os

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                                               PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium discount
will be determined by our manuals and your premium basis as determined by audit. Premium subject to retrospective
rating is not subject to premium discount.

                                                                Schedule

1.     State                                                           Estimated Eligible Premium
                                                       First             Next                    Next                  Balance
                     Ml, MS, NE,
 AL, AR, GA, KS, MO, MI,                              $5,000            $95,000                $400,000
 NY, OK, TN, SC
                                                      0.00%             10.90%                  12.60%                 14.40%
                                                       First              Next                   Next                  Balance
                                                      $5,000            $95,000                $400,000
 TX, CO, CT, MO, NH, OR, VA
                                                       0.00%             9.50%                  11.90%                 12.40%
                                                        First             Next                   Next                  Balance
                                                      $10,000           $190,000              $1,550,000
 DE,PA
                                                      0.00%              9.10%                  11.30%                 12.30%
                                                       First              Next                   Next                  Balance
                                                      $1,000             $4,000                 $95,000
 KY
                                                      0.00%               9.40%                 14.70%                  16.30%
                                                       First               Next                  Next                  'Balance
                                                      $5,000             $95,000               $400,000
 SD
                                                      0.00%                5.00%                 7.50%                  10.00%

2.     Average percentage discount: 12.21%




3.     Other policies: NONE



4.     If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
       your policy number:
         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                           Policy No. WD001486                        Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENTJ                                   Premium

     Insurance Company       Protective Insurance Company           Countersigned by _ _x_~-----=--<f"'---------
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                                                                                             __              _

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     (Ed. 8-84)

                                                  Decl. Barnett, Ex. D-71
                                        Insurance.·
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 382 of 514 Page ID
                                      #:1334 INSURANCE POLICY
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY                            we 00
                                                                         WC oo 0406
                                                                               04 os A
                                                                                                                         (Ed. 7-95)

                                                PREMIUM DISCOUNT ENDORSEMENT

The premium for this policy and the policies, if any, listed in Item 3 of the Schedule may be eligible for a discount. This
endorsement shows your estimated discount in Items 1 or 2 of the Schedule. The final calculation of premium discount
will be determined by our manuals and your premium basis as determined by audit. Premium subject to retrospective
rating is not subject to premium discount.




                                                             Schedule

1. States                                                           Estimated Eligible Premium

                                                     First           Next                    Next
                                                   $10,000         $190,000               $1,550,000              BALANCE
AZ, CA, FL, 10,
            ID, IL, IN, lA, NV
                                                    0.00%            9.10%                  11.30%                 12.30%


                                                     First           Next                    Next
                                                    $5,000          $95,000                $400,000               BALANCE
NC,WV
                                                    0.00%            10.90%                 12.60%                 14.40%


                                                     First            Next                    Next
                                                    $1,000           $4,000                 $95,000               BALANCE
MN
                                                    0.00%            9.40%                  14.70%                 16.30%



2. Average percentage discount: 12.21%
                                12.21 %


3. Other policies: NONE



4. If there are no entries in Items 1, 2 and 3 of the Schedule, see the Premium Discount Endorsement attached to
   your policy number.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       IJ
                                                                                                           /J        Premium

  Insurance Company           Protective Insurance Company                                -'W0"'--
                                                                                             __
                                                                 Countersigned by _ __,(;J0"'--
                                                                                         __'------C(---O.-
                                                                                             :___C(___o__ _ _ _ _ __



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  WC   oo 04 06 A
  (Ed. 7-95)

                                                   Decl. Barnett, Ex. D-72
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 383 of 514 Page ID
                                     #:1335
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 00
                                                                                                                      WC oo 0414
                                                                                                                         (Ed. 7-90)

                                NOTIFICATION OF CHANGE IN OWNERSHIP ENDORSEMENT

Experience rating is mandatory for all eligible insureds. The experience rating modification factor, if any, applicable to
this policy, may change if there is a change in your ownership or in that of one or more of the entities eligible to be
combined with you for experience rating purposes. Change in ownership includes sales, purchases, other transfers,
mergers, consolidations, dissolutions, formations of a new entity and other changes provided for in the applicable
experience rating plan manual.

You must report any change in ownership to us in writing within 90 days of such change. Failure to report such changes
within this period may result in revision of the experience rating modification factor used to determine your premium.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                        Policy No. WD001486                         Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT
                                                                          MANAGEMENT/)                   j}          Premium

  Insurance Company          Protective
                             Protective Insurance
                                        Insurance Company
                                                  Company                          --~~----<1-=---------
                                                                 Countersigned by _ _ ~~cr-=--        _


  we 00
  WC   oo 0414
  (Ed. 7-90)
                                                     Decl. Barnett, Ex. D-73
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 384 of 514 Page ID
                                       #:1336
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                             we
                                                                                                                           WC oo
                                                                                                                              00 0419

                                                                                                                              (Ed. 1-01)


                                                PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                           PART FIVE
                                                           PREMIUM




D.    Premium is amended to read:
      You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
      not valid. The due date for audit and retrospective premiums is the date of the billing.




                                             which it is attached and is effective on the date issued unless otherwise stated.
      This endorsement changes the policy to which
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                        Policy No. WD001486                               Endorsement No.
  Insured                                                         BARNErr MA=ENT j,?
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETI                                  J.?             Premium

  Insurance Company           Protective Insurance Company                                -,,~<--_--,=----,cr,,--
                                                                                       _ _..::::.--..:cf....___ _ _ _ _ __
                                                                 Countersigned by _ __.&ld_"--                           _




  we 00
  WC   oo 0419
                                                   Decl. Barnett, Ex. D-74
  (Ed. 1-01)


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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 385 of 514 Page ID
                                       #:1337
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 00
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           CATASTROPHE (OTHER THAN CERTIFIED ACTS OF TERRORISM) PREMIUM ENDORSEMENT

This endorsement is notification that your insurance carrier is charging premium to cover the losses that may occur in
the event of a Catastrophe (other than Certified Acts of Terrorism) as that term is defined below. Your policy provides
coverage for workers compensation losses caused by a Catastrophe (other than Certified Acts of Terrorism). This
premium charge does not provide funding for Certified Acts of Terrorism contemplated under the Terrorism Risk
Insurance Program Reauthorization Act Disclosure Endorsement (WC 00 0422   04 22 B), attached to this policy.

For purposes of this endorsement, the following definitions apply:
•   Catastrophe (other than Certified Acts of Terrorism): Any single event, resulting from an Earthquake, Noncertified
    Act of Terrorism, or Catastrophic Industrial Accident, which results in aggregate workers compensation losses in
    excess of $50 million.
•   Earthquake: The shaking and vibration at the surface of the earth resulting from underground movement along a
    fault plane or from volcanic activity.
•   Noncertified Act of Terrorism: An event that is not certified as an Act of Terrorism by the Secretary of Treasury
    pursuant to the Terrorism Risk Insurance Act of 2002 (as amended) but that meets all of the following criteria:
    a.     It is an act that is violent or dangerous to human life, property, or infrastructure;
    b.     The act results in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or air carriers or vessels as those terms are defined in the Terrorism
           Risk Insurance Act of 2002 (as amended); and
    c.     It is an act that has been committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
•     Catastrophic Industrial Accident: A chemical release, large explosion, or small blast that is localized in nature and
      affects workers in a small perimeter the size of a building.
The premium charge for the coverage your policy provides for workers compensation losses caused by a Catastrophe
(other than Certified Acts of Terrorism) is shown in Item 4 of the Information Page or in the Schedule below.

                                                                     Schedule



                             State                                         Rate                         Premium




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


    Policy Effective             06/30/2017
    Endorsement Effective        06/30/2017                                  Policy No. WD001486                Endorsement No.
    Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      IJ
                                                                                                           /J          Premium

    Insurance Company         Protective Insurance Company                                -----"-~----1"-'---------
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                                                                           Countersigned by _ _                  _

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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we 00
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      TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This endorsement addresses the requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by the Terrorism Risk Insurance Program Reauthorization Act of 2015. It serves to notify you of certain limitations under
the Act, and that your insurance carrier is charging premium for losses that may occur in the event of an Act of Terrorism.
Your policy provides coverage for workers compensation losses caused by Acts of Terrorism, including workers
compensation benefit obligations dictated by state law. Coverage for such losses is still subject to all terms, definitions,
exclusions, and conditions in your policy, and any applicable federal and/or state laws, rules, or regulations.
Definitions
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.
"Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any amendments
thereto, including any amendments resulting from the Terrorism Risk Insurance Program Reauthorization Act of 2015.
"Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary of
Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
a.   The act is an act of terrorism.
b.   The act is violent or dangerous to human life, property or infrastructure.
c.   The act resulted in damage within the United States, or outside of the United States in the case of the premises of
     United States missions or certain air carriers or vessels.
d.   The act has been committed by an individual or individuals as part of an effort to coerce the civilian population of
     the United States or to influence the policy or affect the conduct of the United States Government by coercion.
"Insured Loss" means any loss resulting from an act of terrorism (and, except for Pennsylvania, including an act of war,
in the case of workers compensation) that is covered by primary or excess property and casualty insurance issued by
an insurer if the loss occurs in the United States or at the premises of United States missions or to certain air carriers or
vessels.
"Insurer Deductible" means, for the period beginning on January 1,2015,
                                                                1, 2015, and ending on December 31, 2020, an amount
                                                                                                31,2020,
equal to 20% of our direct earned premiums, during the immediately preceding calendar year.
Limitation of Liability
The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a calendar
year and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the amount of Insured
Losses that exceeds $100,000,000,000; and for aggregate Insured Losses up to $100,000,000,000, we will pay only a
pro rata share of such Insured Losses as determined by the Secretary of the Treasury.
Policyholder Disclosure Notice
1.   Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry Insured
     Losses exceed:
     a.   $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
          Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
     b.   $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
          Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
     c.   $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
          Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
     d.   $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
          Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
     e.   $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
          Government would pay 81%
                                81 % of our Insured Losses that exceed our Insurer Deductible.
     f.   $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
          Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.


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2.
2.    Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
      Notwithstanding
      portion
      portion of Insured Losses that exceed $100,000,000,000.
3. The
   The premium charge for the coverage your policy provides for Insured Losses is included in the amount shown in
   Item 4 of the Information Page or in the Schedule below.
   Item


                                                                     Schedule


                         State                                              Rate                           Premium




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective
     Policy                       06/30/2017
     Endorsement Effective
     Endorsement                  06/30/2017                                 Policy No. WD001486                Endorsement No.
     Insured
     Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                             /}         Premium

     Insurance Company
     Insurance                 Protective Insurance Company                 Countersigned by       ~
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                 we
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                                      AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT

Part Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
revised by adding the following:

If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as requested, we may apply an Audit Noncompliance Charge. The method for determining the Audit
Noncompliance Charge by state, where applicable, is shown in the Schedule below.

If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.

Failure to cooperate with this policy provisipn may result in the cancellation of your insurance coverage, as specified
under the policy.


                                                                     Schedule

                                                                                                 Maximum
                                                               Basis of Audit
                   State(s)                                                             Audit Noncompliance Charge
                                                           Noncompliance Charge
                                                                                                 Multiplier

                      AL                                             $123,093                          2
                      AR                                                $5,805                         2
                      AZ                                              $32,173                          2
                       co
                       CO                                               $7,422                         2
                       CT                                               $2,727                         2
                       DE                                               $5,755                         2
                       GA                                               $1,724                         2
                       lA
                       IA                                            $124,503                          2
                       ID                                             $25,954                          2
                       IL                                            $476,921                          2
                       KS                                             $23,853                          2
                       KY                                             $42,648                          2
                       MD                                               $9,056                         2
                       ME                                              IF ANY                          2
                       MN                                             $75,890                          2
                       MS                                             $51,236                          2
                       NE                                               $2,802                         2
                       NH                                             $14,062                          2
                       NC                                            $146,661                          3
                       NV                                             $55,832                          1
                       NM                                              IF ANY                          2
                       OK                                             $12,156                          2
                       OR                                             $30,382                          2
                       sc
                       SC                                             $35,539                          2
                       so
                       SD                                                 $150                         2
                       TN                                             $18,858                          2
                       VA                                             $42,169                          2
                       VT                                              IF ANY                          2
                       wv
                       WV                                             $24,438                          2




                                                    Decl. Barnett, Ex. D-78
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we
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                               AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT




    This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

  (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective          06/30/2017
Endorsement Effective     06/30/2017                            Policy No. WD001486                        Endorsement No.
Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                      !J           Premium

Insurance Company       Protective Insurance Company                             ---'-~
                                                                                   -,-~tf________
                                                               Countersigned by _ _ _ _ _ _



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
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                              ARIZONA CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies because Arizona is shown in Item 3.A. of the Information Page.

Part Six-Conditions, Section D. (Cancellation), of the policy is replaced by the following:
D. Cancellation and Nonrenewal
   1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
      cancellation is to take effect.
    2.    If you cancel or fail to renew this policy, we must promptly notify the Industrial Commission of Arizona.
    3. We may cancel this policy if you fail to pay premium when due, or when one or both of the parties to a
       professional employer agreement terminate the agreement.
    4. If we cancel or nonrenew this policy, we must mail or deliver to you and the Industrial Commission of Arizona
       at least 30 days' notice of the cancellation or nonrenewal. Mailing that notice to you at your mailing address
       shown in Item 1. of the Information Page will be sufficient to prove notice. If we nonrenew this policy and fail
       to give you notice of nonrenewal, coverage will not extend beyond the policy period.
    5. The policy period will end on the day and hour stated in the cancellation or nonrenewal notice.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective
Policy                        06/30/2017
Endorsement Effective
Endorsement                   06/30/2017                                  Policy No. WD001486              Endorsement No.
Insured
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                Premium



Insurance Company
Insurance                   PROTECTIVE INSURANCE COMPANY Countersigned by                  ---~-
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                    we
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                                           ARKANSAS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Arkansas is shown in Item 3.A. of the
Information Page.

                                             Part Two-Employers Liability Insurance

C. Exclusions
   2. Is replaced by:
      punitive or exemplary damages because of bodily injury to an employee employed in violation of law; punitive
      or exemplary damages are defined by Arkansas Bulletin No. 4-82 as those damages which are imposed to
      punish a wrongdoer and to deter others from similar conduct;

                                                         Part Six-Conditions

D. Cancelation is replaced by:
    1. You may cancel this policy. You must mail or deliver advance written notice to us stating when the
       cancelation is to take effect.
    2.   We may cancel this policy. If we cancel because you fail to pay all premium when due, we will mail or deliver
         to you and to the Arkansas Workers Compensation Commission not less than 10 days advance written notice
         stating when the cancelation is to take effect. If we cancel for any other reason, we will mail or deliver to you
         and to the Arkansas Workers Compensation Commission not less than 30 days advance written          written· notice
         stating when the cancelation is to take effect. Mailing notice to you at your mailing address shown in Item 1 of
         the Information Page will be sufficient notice.
    3.   The policy period will end on the day and hour stated in the cancelation notice.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    {The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective
 Policy                        06/30/2017
 Endorsement Effective         06/30/2017                         Policy No. WD001486                      Endorsement No.

 Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



 Insurance Company           Protective Insurance Company        Countersigned by   --4'~'-----"'----~...___ _ _ _ _ __




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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we
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                                     POLICY AMENDATORY ENDORSEMENT-CALIFORNIA

It is agreed that, anything in the policy to the contrary notwithstanding, such insurance as is afforded by this policy by reason of
the designation of California in Item 3 of the Information Page is subject to the following provisions:

1.   Minors Illegally Employed
                      Employed-   - Not Insured. This policy does not cover liability for additional compensation imposed on you
     under Section 4557, Division IV, Labor Code of the State of California, by reason of injury to an employee under sixteen
     years of age and illegally employed at the time of injury.

2.   Punitive or Exemplary Damages - Uninsurable. This policy does not cover punitive or exemplary damages
                                                                                                   darnages where
     insurance of liability therefor is prohibited by law or contrary to public policy.

3.   Increase in Indemnity Payment
                               Payment- - Reimbursement. You are obligated to reimburse us for the amount of increase in
     indemnity payments made pursuant to Subdivision (d) of Section 4650 of the California Labor Code, if the late indemnity
     payment which gives rise to the increase in the amount of payment is due less than seven (7) days after we receive the
     completed claim form from you. You are obligated to reimburse us for any increase in indemnity payments not covered under
                                                                                                                            under
     this policy and will reimburse us for any increase in indemnity payment not covered under the policy when the aggregate total
                                                                                                                             total
     amount of the reimbursement payments paid in a policy year exceeds one hundred dollars ($1 ($100).
                                                                                                   00).

     If we notify you in writing, within 30 days of the payment, that you are obligated to reimburse us, we will bill you for the
     amount of increase in indemnity payment and collect it no later than the final audit. You will have 60 days, following notice of
                                                                                                                                   of
     the obligation to reimburse, to appeal the decision of the insurer to the Department of Insurance.

4.   Application of Policy. Part One, "Workers Compensation Insurance", A, "How This Insurance Applies", is amended to read
                                                                                                                       read
     as follows:

     This workers compensation insurance applies to bodily injury by accident or disease, including death resulting therefrom.
     Bodily injury by accident must occur during the policy period. Bodily injury by disease must be caused or aggravated by the
     conditions of your employment. Your employee's exposure to those conditions causing or aggravating such bodily injury by
     disease must occur during the policy period.

5.   Rate Changes. The premium and rates with respect to the insurance provided by this policy by reason of the designation of
     California in Item 3 of the Information Page are subject to change if ordered by the Insurance Commissioner of the State of
     California pursuant to Section 11737 of the California Insurance Code.

6.   Long Term Policy. If this policy is written for a period longer than one year, all the provisions of this policy shall apply
     separately to each consecutive twelve-month period or, if the first or last consecutive period is less than twelve months, to
     such period of less than twelve months, in the same manner as if a separate policy had been written for each consecutive
     period.

7.   Statutory Provision. Your employee has a first lien upon any amount which becomes owing to you by us on account of this       this
     policy, and in the case of your legal incapacity or inability to receive the money and pay it to the claimant.
                                                                                                          claimant, we will pay it
     directly to the claimant.

8.   Part Five, "Premium", E, "Final Premium", is amended to read as follows:

     The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will be
     determined after this policy ends by using the actual, not the estimated, premium basis and the proper classifications and
     rates that lawfully apply to the business and work covered by this policy. If the final premium is more than the premium you
     paid to us, you must pay us the balance. If it is less, we will refund the balance to you. The final premium will not be less than
                                                                                                                                   than
     the highest minimum premium for the classifications covered by this policy.

     If this policy is canceled, final premium will be determined in the following way unless our manuals provide otherwise:

     a.   If we cancel, final premium will be calculated pro rata based on the time this policy was in force. Final premium will not
          be less than the pro rata share of the minimum premium.
     b.   If you cancel, final premium may be more than pro rata; it will be based on the time this policy was in force, and may be
          increased by our short-rate cancelation table and procedure. Final premium will not be less than the pro rata share of the
                                                                                                                                   the
          minimum premium.

9.   The Insured's Email Address. The insured's email address must be included in Item 1 of the Information Page if the insurer
                                                                                                                              insurer

                                            Decl. Barnett, Ex. D-82
     intends to electronically transmit an offer of renewal for a workers' compensation insurance policy to the insured (California
     Insurance Code §38.5 (b).

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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 393 of 514 Page ID
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            C                                 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 10-14)


It is further agreed that this policy, including all endorsements forming a part thereof, constitutes the entire contract of insurance.
No condition, provision, agreement, or understanding not set forth in this policy or such endorsements shall affect such contract
or any rights, duties, or privileges arising therefrom.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective             06/30/2017
                             06/3012017
Endorsement Effective        06/30/2017                              Policy No. WD001486                         Endorsement No.
Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                         Premium



Insurance Company          Protective Insurance Company            Countersigned
                                                                   Countersigned by        Wd:"'------''----~-"--------
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                                   #:1346


               WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY
                                    we 04
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                                      DUTY TO DEFEND-CALIFORNIA
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a
different date is indicated below.
    (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)


This endorsement, effective on                          06/30/2017                   at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.      WD001486                             Endorsement No.

of the


issued to

Premium
                Protective Insurance Company
                (NAME OF INSURANCE COMPANY)

                PERSONNEL STAFFING GROUP, LLe
                                          LLC DBA BARNETT                       wI
                                                                                WI
                                                                     ------~----~~~-=------~------------
                                                                     ---....=:-_-~-,--..::..------.,.--------
                                                                                           Authorized Representative


The insurance afforded by Part One, Section C, "We
                                               'We Will Defend," is hereby deleted and replaced with the
following:

WE WILL DEFEND
We have the right and duty to defend at our expense any claim or proceeding against you before the California
Workers' Compensation Appeals Board or its equivalent in any other state (and any appeal of a decision
therefrom) for the benefits payable by this workers' compensation insurance. We have the right to investigate and
settle these claims or proceedings.
We have no duty to defend a claim, proceeding, or suit that is not covered by this insurance.
Nothing contained in this Section shall amend, modify, restrict or otherwise alter any obligations or conditions
under Part Two-Employer's Liability Insurance of the policy.




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                                               Decl. Barnett, Ex. D-84                                                           Page 1 of 1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 395 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                               we 040360
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                        EMPLOYERS' LIABILITY COVERAGE AMENDATORY ENDORSEMENT-CALIFORNIA

The insurance afforded by Part Two (Employers' Liability Insurance) by reason of designation of California in item 3 of the
information page is subject to the following provisions:

A.   "How This Insurance Applies," is amended to read as follows:

     A.   How This Insurance Applies

          This employers' liability insurance applies to bodily injury by accident or bodily injury by disease. Bodily injury means a
          physical injury, including resulting death.

          1.   The bodily injury must arise out of and in the course of the injured employee's employment by you.

          2.   The employment must be necessary or incidental to your work in California.

          3.   Bodily injury by accident must occur during the policy period.

          4.   Bodily injury by disease must be caused or aggravated by the conditions of your employment. The employee's last
               day of last exposure to the conditions causing or aggravating such bodily injury by disease must occur during the
               policy period.

          5.   If you are sued, the original suit and any related legal actions for damages for bodily injury by accident or by
               disease must be brought in the United States of America, its territories or possessions, or Canada.

     C.   The "Exclusions" section is modified as follows (all other exclusions in the "Exclusions" section remain as is):

          1.   Exclusion 1 is amended to read as follows:

                   1.    liability assumed under a contract.

          2.   Exclusion 2 is deleted.

          3.   Exclusion 7 is amended to read as follows:

                   7.    damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline, defamation,
                         harassment, humiliation, discrimination against or termination of any employee, termination of employment,
                         or any personnel practices, policies, acts or omissions.

          4.   The following exclusions are added:

                   1.    bodily injury to any member of the flying crew of any aircraft.

                   2.    bodily injury to an employee when you are deprived of statutory or common law defenses or are subject to
                         penalty because of your failure to secure your obligations under the workers' compensation law(s)
                         applicable to you or otherwise fail to comply with that law.

                   3.    liability arising from California Labor Code Section 2810.3 which relates to labor contracting.


      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Policy Effective              06/30/2017
                                                                                                                                  ,'
Endorsement Effective         06/30/2017                              Policy No. WD001486                          Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                          Premium



Insurance Company           Protective Insurance Company             Countersigned
                                                                     Countersigned by
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                                              Decl. Barnett, Ex. D-85
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 396 of 514 Page ID
                                  #:1348
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we
                                                                                                                         WC 04 04 21

                                                                                                                          (Ed. 01-08)

                               OPTIONAL PREMIUM INCREASE ENDORSEMENT-CALIFORNIA


You
You must
       must provide us, or our authorized representative, access to records necessary to perform a payroll verification audit. If you
fail
fail to
     to provide
        provide access within 90 days after expiration of the policy, you are liable to pay a total premium equal to 3 times our
current
current estimate of the annual premium for your policy. In addition, if you fail to provide access after our third request within a 90
day
day oror longer
         longer period, you are also liable for our costs in attempting to perform the audit unless you provide a compelling business
reason
 reason for your failure.

We
We will
   will contact you to schedule appointments during normal business hours.

We
We will
     will notify you of your failure to provide access by mailing a certified, return-receipt document stating the increased premium
and
 and the
     the total
          total amount of our costs incurred in our aUempt(s)
                                                     attempt(s) to perform an audit. In addition to any other obligations under this
contract,
contract, 30 days after you receive the notification, you will be obligated to pay the total premium and costs referenced above. If,
thereafter,
thereafter, you provide access to your records within three years after the policy expires, or within another mutually agreed upon
time,
time, and
       and we succeed in performing the audit to our satisfaction, we will revise your total premium and the costs due to reflect the
results
 results of
         of the audit.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective
 Policy                      06/30/2017
 Endorsement Effective
 Endorsement                 06/30/2017                              Policy No. WD001486                        Endorsement No.




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                           p~~.::::,:::,:::::::p:~:uP, :::n:eB:g::~~:n
                           p~~e::::,:::r:::::::p:~:UP'                   t~ Premium         w
 Insured
 Insured



 Insurance Company
 Insurance
                                                                       M                                                 Premium


                                            Decl. Barnett, Ex. D-86
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 397 of 514 Page ID
                                   #:1349

                         WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
                                                        we 04 06 01 A
                                                        WC

                          CALIFORNIA CANCELATION ENDORSEMENT
     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent
                                                                          sUbsequent to preparation of the policy.)


Policy Effective            06/30/2017
Endorsement Effective       06/30/2017                            Policy No. WD001486                       Endorsement No.
Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                     Premium



Insurance Company         Protective Insurance Company           Countersigned
                                                                 Countersigned   by_---=~----~---------
                                                                                 by_---=~ t           _
This endorsement applies only to the insurance provided by the policy because California is shown in Item 3.A. of
the information page.

The cancelation condition in Part Six (Conditions) of the policy is replaced by these conditions:

Cancelation
1. You may cancel this policy. You must mail or                          j.   The occurrence of any change in your busi-
   deliver advance written notice to us stating when                          ness or operations that materially increases
   the cancelation is to take effect.                                         the hazard for frequency or severity of loss;
2.    We may cancel this policy for one or more of the                   k.   The occurrence of any change in your
      following reasons:                                                      business or operation that requires additional
      a. Non-payment of premium;                                              or different classification for premium calcu-
                                                                              lation;
      b.   Failure to report payroll;
                                                                         I.   The occurrence of any change in your
      c.   Failure to permit us to audit payroll as
                                                                              business or operation which contemplates an
           required by the terms of this policy or of a
                                                                              activity excluded by our reinsurance treaties.
           previous policy issued by us;
                                                                    3.   If we cancel your policy for any of the reasons
      d. Failure to pay any additional premium
                                                                         listed in (a) through (f) we will give you 10 days
         resulting from an audit of payroll required by
                                                                         advance written notice, stating when the
         the terms of this policy or any previous policy
                                                                         cancelation is to take effect. Mailing that notice to
         issued by us;
                                                                         you at your mailing address shown in item 1 of
      e. Material misrepresentation made by you or                                          PC)ge will be sufficient to prove
                                                                         the Information Pqge
         your agent;                                                     notice. If we cancel your policy for any of the
      f. Failure to cooperate with us in the inves-                                                            (1), we will give
                                                                         reasons listed in items (g) through (I),
         tigation of a claim;                                            you 30 days advance written notice; however, we
      g. Failure to comply with Federal or State safety                  agree that in the event of cancelation and
         orders;                                                         reissuance of a policy effective upon a material
                                                                         change in ownership or operations, notice will not
      h. Failure to comply with written recom-
                                                                         be provided.
         mendations of our designated loss control
         representatives;                                           4.   The policy period will end on the day and hour
                                                                         stated in the cancelation notice.
      i. The occurrence of a material change in the
         ownership of your business;




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we 04 06 01 A                                Decl. Barnett, Ex. D-87                                                   Page 1 of 1
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 398 of 514 Page ID
                                    #:1350
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we 04
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                             CALIFORNIA LARGE RISK DEDUCTIBLE ENDORSEMENT


  1.    This endorsement applies to the workers' compensation insurance coverage, the employers' liability insurance
        coverage and the other states insurance coverage provided in this policy.

  2.    This endorsement applies between you and us. It does not affect the rights of others under the policy. Nor does
        it change our obligations under the policy, except as otherwise stated in this endorsement.

  3.    In consideration of a reduced premium, you have agreed to reimburse us up to the deductible amounts stated
        in the Schedule at the end of this endorsement for all payments legally required, including allocated loss
        adjustment expenses which arise out of any claim or suit we defend, where you elect to include such
        expenses.

  4.    We will remain responsible for the full payment of all claims under this policy without regard to your ability or
                                                                                                   fully enforceable by
        intention to reimburse us for the deductible amounts. The contract of insurance shall be fUlly
        your employees or their dependents against us.

Deductible-
Deductible - Each Occurrence

  5.    The deductible amount stated in the Schedule is the most you must reimburse us for indemnity and medical
        benefits and damages combined, including allocated loss adjustment expenses, if elected by you, for bodily
                                                         any one accident or for disablement of one employee due to
        injury to one or more employees as the result of anyone
        bodily injury by disease.

Deductible-
Deductible - Policy Aggregate

  6.    The amount stated in the Schedule as aggregate is the most you must reimburse us for the sum of all
        indemnity and medical benefits, damages, and allocated loss adjustment expense, if elected by you, because
        of bodily injury by accident or bodily injury by disease for the policy period.

        (a) If we cancel the policy, the aggregate amount stated in the Schedule will be reduced to a pro rata amount
            based on the time this policy was in force.

        (b) If you cancel the policy as a result of your retiring from business, the aggregate deductible amount will be
            reduced to a pro rata amount based on the time this policy was in force.

        (c) If you cancel the policy for any reason other than retiring from business, the aggregate deductible amount
            will not be reduced.

        (d) If this policy is issued for a term of less than one year, the aggregate deductible amount will not be reduced.

Effect of Deductible on Limits of Liability

   7.   The applicable limits of liability as respects the employers' liability insurance coverage provided in this policy
        are subject to reduction by the application of the loss reimbursement amount(s) applicable to any claim for
        accident or disease covered by this policy. In the event of a claim, our obligation to pay is the amount available
        for benefits or damages that remains after the application of the specific loss reimbursement amount. The
        payment of loss adjustment expense, where such expense is elected by you, will not affect the limits of the
        liability.




                                           Decl. Barnett, Ex. D-88
                                                         Page 1 of 3
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 399 of 514 Page ID
                                     #:1351
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(Ed.
{Ed. 01-15)

Allocated Loss Adjustment Expenses

   8.   Allocated loss adjustment expenses, which is electable by you, means claims expenses directly allocated by us
        to a particular claim. Such expenses shall not include cost of investigation or the salaries and traveling
        expenses of our employees otherthan those salaried employees who perform services which can be directly
        allocated to the handling of a particular claim.

Recovery from Others

   9.   If we recover any payments made under this policy from anyone liable for the injury, the amount we'
                                                                                                        we· recover will
        be applied as follows:

        (a) First, to any payments made by us in excess of the deductible amount; and

        (b) Then the remainder, if any, will be applied to reduce the deductible amount reimbursed by you.

Cancellation

   10. We may cancel this policy for nonpayment of any deductible amounts or for failure to comply with any security-
        related terms of this policy. Such cancellation of this policy shall be treated in the same manner as nonpayment
        of premium as provided by the California Insurance Code. We will remain fully responsible for the full amount
        of all claims incurred prior to the effective date of cancellation.

Sole Representation

   11. The first Named Insured stated in the Information Page will act on behalf of all the named insureds with respect
        to:

        (a) Changes to this endorsement;

        (b) Obligations to receive premiums; or

        (c) Giving or receiving notice of cancellation.

Your Duties and Understanding

   12. All bodily injuries by accident or disease for which you are responsible shall be promptly reported to us for
         adjustment and payment, regardless of their severity or cost. You further understand that all such bodily
         injuries and their cost shall be included in experience data used to determine the experience rating for your
         policy, regardless of the eligibility of such claims for full or partial reimbursement under the deductible
         provisions of this policy.

Other Rights and Duties

   13. All other terms of the policy, including those which govern the following items, apply irrespective of this
       deductible endorsement:

        (a) Our right and duty to defend any claim, proceeding or suit against you; and

        (b) Your duties if injury occurs.




                                            Decl. Barnett, Ex. D-89
                                                          Page 2 of 3
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 400 of 514 Page ID
                                        #:1352
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 040603
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Additional Charges

      14. Any assessments pursuant to California statute are not part of this Plan but are included in the cost of the
          coverage provided by the policy to which this endorsement is attached.

                                                              Schedule

1.     Deductible Amount $                500,000             Each Accident
                                      (Dollar Amount)

2.               Limit$
       Aggregate Limit $                    NONE                    Negotiated Charge $                    NONE
                                 (Dollar Amount or "None")                                      (Dollar Amount or "None")

3.     Allocated Loss Adjustment Expenses are                         INCLUDED
                                                              ("Included" or "Excluded")

4.     The Fixed Expense Charge                       WILL                 be adjusted retroactively, based upon actual costs.
                                        --------------------
                                            ("Will or "Will Not")




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          06/30/2017
     Endorsement Effective     06/30/2017                          Policy No. WD001486                          Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

     Insurance Company       Protective Insurance Company                              ------"{;()d~<--
                                                                     Countersigned by _ _          _ _;:::.__,~~-------
                                                                                            ---'!&tdl<--_-"'---'t~   _

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                                                              Page 3 of 3
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 401 of 514 Page ID
                                   #:1353
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                                                          POLICYHOLDER NOTICE
                                          YOUR RIGHT TO RATING AND DIVIDEND INFORMATION

I.I.          Information
              Information Available to You
         A.
         A.   Information
              Information Available from Us
                                         Us-- Protective Insurance Company
         (1)
         (1) General
             General questions regarding your policy should be directed to: Protective Insurance Company
                                                            Protective Insurance Company
                                                               111 Congressional Blvd.
                                                                  Carmel, IN 46032
                                                      Telephone: 800-231-6024, Fax: 317-636-7372
                                                            www.protectiveinsurance.com

          (2)
          (2) Dividend
              Dividend Calculation. If this is a participating policy (a policy on which a dividend may be paid), upon payment or non-
              payment of a dividend, we shall provide a written explanation to you that sets forth the basis of the dividend calculation. The
              payment
              explanation will be in clear, understandable language and will express the dividend as a dollar amount and as a percentage
              of
              of the earned premium for the policy year on which the dividend is calculated.
          (3)
          (3) Claims
              Claims Information. Pursuant to Sections 3761 and 3762 of the California Labor Code, you are entitled to receive
              information in our claim files that affects your premium. Copies of documents will be supplied at your expense during
              information
              reasonable business hours.
              For claims covered under this policy, we will estimate the ultimate cost of unsettled claims for statistical purposes eighteen
              months after the policy becomes effective and will report those estimates to the Workers' Compensation Insurance Rating
              Sureau
               Bureau of California (WCIRS)
                                    (WCIRB) no later than twenty months after the policy becomes effective. The cost of any settled claims
              will also be reported at that time. At twelve-month intervals thereafter, we will update and report to the WCIRB
                                                                                                                         WCIRS the estimated
              cost
               cost of any unsettled claims and the actual final cost of any claims settled in the interim. The amounts we report will be used
              by
               by the WCIRS
                      WCIRB to compute your experience modification if you are eligible for experience rating.

         B.
         B.    Information Available from the Workers' Compensation Insurance Rating Bureau of California
          (1)
          (1) The
              The WCIRS
                    WCIRB is a licensed rating organization and the California Insurance Commissioner's designated statistical agent. As
              such,     WCIRB is responsible for administering the California Workers' Compensation Uniform Statistical Reporting
              such, the WCIRS
              Plan-1995 (USRP) and the California Workers' Compensation Experience Rating Plan-1995 (ERP). Contact information
                      WCIRB is: WCIRS,
              for the WCIRS      WCIRB, 1221 Sroadway,
                                                Broadway, Suite 900, Oakland, CA 94612, Attention: Customer Service. You may also
              contactWCIRB Customer Service at 1-888-229-2472, by fax at 415-778-7272, or via the Internet at the WCIRB's
              contactWCIRS                                                                                          WCIRS's website:
              http://www.wcirb.com. The regulations contained in the USRP and the ERP are available for public viewing through the
              http://www.wcirb.com.
              WCIRB's website.
              WCIRS's
          (2) Policyholder Information. Pursuant to California Insurance Code (CIC) Section 11752.6, upon written request, you are
          (2)
              entitled to information relating to loss experience, claims, classification assignments, and policy contracts as well as rating
              plans, rating systems, manual rules, or other information impacting your premium that is maintained in the records of the
              plans,
              WCIRB. Complaints and Requests for Action requesting policyholder information should be forwarded to: WCIRB,
              WCIRS.                                                                                                        WCIRS, 1221
              Broadway, Suite 900, Oakland, CA 94612, Attention: Custodian of Records. The Custodian of Records can be reached by
              telephone at 415-777-0777 and by fax at 415-778-7272.
          (3) Experience
          (3) Experience Rating Form. Each experience rated risk may receive a single copy of its current Experience Rating Form free
              of charge by completing a Policyholder Rate Sheet Request Form on the WCIRB's
              of                                                                           WCIRS's website at
              http://www.wcirb.com/ratesheet. The Experience Rating Form will include a Loss-Free Rating, which is the experience
              http://www.wcirb.com/ratesheet.
              modification that would have been calculated if $0 (zero) actual losses were incurred during the experience period. This
              modification
              hypothetical rating calculation is provided for informational purposes only.
              hypothetical

   11.
  II.          Dispute Process
               Dispute
               You may dispute our actions or the actions of the WCIRB pursuant to CIC Sections 11737 and 11753.1.

         A.
         A.    Our Dispute Resolution Process.
               IfIf you are aggrieved by our decision adopting a change in a classification assignment that results in increased premium, or
               by the application of our rating system to your workers' compensation insurance, you may dispute these matters with us. If
               you are dissatisfied with the outcome of the initial dispute with us, you may send us a written Complaint and Request for
               A"ction as outlined below.]
               A'"ction
               You may send us a written Complaint and Request for Action requesting that we reconsider a change in a classification
               assignment that results in an increased premium andlor
               assignment                                      and/or requesting that we review the manner in which our rating system
               has been applied in connection with the insurance afforded or offered you. Written Complaints and Requests for Action
               should be forwarded to:
               should
                                                            PROTECTIVE INSURANCE COMPANY
                                                                   c/o CorVel Corporation
                                                              P.O. Box 699, Chino, CA 91710
                                                          Phone: (909) 257-3718, Fax: (909) 257-3784

                                                  Decl. Barnett, Ex. D-91                                                                 1 of 2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 402 of 514 Page ID
                                  #:1354
                                                                                                                          PN 04 99 01 F

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            After you send your Complaint and Request for Action, we have 30 days to send you a written notice indicating whether or not
            your written request will be reviewed. If we agree to review your request, we must conduct the review and issue a decision
            granting or rejecting your request within 60 days after sending you the written notice granting review. If we decline to review
            your request, if you are dissatisfied with the decision upon review, or if we fail to grant or reject your request or issue a
            decision upon review, you may appeal to the insurance commissioner as described in paragraph II.C.,     II. C., below.

       B.   Disputing the Actions of the WCIRB. If you have been aggrieved by any decision, action, or omission to act of the
            WCIRB, you may request, in writing, that the WCIRB reconsider its decision, action, or omission to act. You may also
            request, in writing, that the WCIRB review the manner in which its rating system has been applied in connection with the
            insurance afforded or offered you. For requests related to classification disputes, the reporting of experience, or coverage
            issues, your initial request for review must be received by the WCIRB within 12 months after the expiration date of the policy
            to which the request for review pertains, except if the request involves the application of the Revision of Losses rule. For
            requests related to your experience modification, your initial request for review must be received by the WCIRB within 6
            months after the issuance, or 12 months after the expiration date, of the experience modification to which the request for
            review pertains, whichever is later, except if the request for review involves the application of the Revision of Losses rule. If
            the request involves the Revision of Losses rule, the time to state your appeal may be longer. (See Section VI, Rule 14 of
            the ERP).
            You may commence the review process by sending the WCIRB a written Inquiry. Written Inquiries should be sent to:
            WCIRB, 1221 Broadway, Suite 900, Oakland, CA 94612, Attention: Customer Service. Customer Service can be reached by
            telephone at 1-888-229-2472, and by fax at 415-778-7272.
            If you are dissatisfied with the WCIRB's decision upon an Inquiry, or if the WCIRB fails to respond within 90 days after
            receipt of the Inquiry, you may pursue the subject of the Inquiry by sending the WCIRB a written Complaint and Request for
            Action. After you send your Complaint and Request for Action, the WCIRB has 30 days to send you written notice indicating
            whether or not your written request will be reviewed. If the WCIRB agrees to review your request, it must conduct the review
            and issue a decision granting or rejecting your request within 60 days after sending you the written notice granting review. If
            the WCIRB declines to review your request, if you are dissatisfied with the decision upon review, or if the WCIRB fails to
            grant or reject your request or issue a decision upon review, you may appeal to the insurance commissioner as described in
            paragraph II.C.,
                         II. C., below. Written Complaints and Requests for Action should be forwarded to: WCIRB, 1221 Broadway, Suite
            900, Oakland, CA 94612, Attention: Complaints and Reconsiderations. The WCIRB's telephone number is 1-888-229-2472,
            and the fax number is 415-371-5204.

       C.   California Department of Insurance
                                        Insurance- - Appeals to the Insurance Commissioner. If, after you follow the appropriate
            dispute resolution process described above, we or the WCIRB decline to review your request, if you are dissatisfied with the
            decision upon review, or if we or the WCI RB fail to grant or reject your request or issue a decision upon review, you may
            appeal to the insurance commissioner pursuant to CIC Sections 11737, 11752.6, 11753.1 and Title 10, California Code of
            Regulations, Section 2509.40 et seq. You must file your appeal within 30 days after we or the WCIRB send you the notice
            rejecting review of your Complaint and Request for Action or the decision upon your Complaint and Request for Action. If no
            written decision regarding your Complaint and Request for Action is sent, your appeal must be filed within 120 days after
            you sent your Complaint and Request for Action to us or to the WCIRB. The filing address for all appeals to the insurance
            commissioner is:
                                                Administrative Hearing Bureau
                                                California Department of Insurance
                                                45 Fremont Street, 22nd Floor
                                                San Francisco, California 94105
            You have the right to a hearing before the insurance commissioner, and our action, or the action of the WCIRB, may be
            affirmed, modified, or reversed.

Ill.
III.        Resources Available to You in Obtaining Information and Pursuing Disputes
       A.   Policyholder Ombudsman. Pursuant to California Insurance Code Section 11752.6, a policyholder ombudsman is
            available at the WCIRB to assist you in obtaining and evaluating the rating, policy, and claims information referenced in I.A.
                                                                                                                                      LA.
            and I.LB.,
                   B., above. The ombudsman may advise you on any dispute with us, the WCIRB, or on an appeal to the insurance
            commissioner pursuant to Section 11737 of the Insurance Code. The address of the policyholder ombudsman is WCIRB,
            1221 Broadway, Suite 900, Oakland, CA 94612, Attention: Policyholder Ombudsman. The policyholder ombudsman can be
            reached by telephone at 415-778-7159 and by fax at 415-371-5288.
       B.   California Department of Insurance
                                       Insurance- - Information and Assistance. Information and assistance on policy questions can
            be obtained from the Department of Insurance Consumer HOTLINE, 1-800-927-HELP (4357) or
            http://www.insurance.ca.gov. For questions and correspondence regarding appeals to the Administrative Hearing Bureau,
            see the contact information in paragraph II.C.
                                                     II. C.
            This notice does not change the policy to which it is attached.




                                                Decl. Barnett, Ex. D-92                                                                  2 of 2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 403 of 514 Page ID
                                  #:1355


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                                                     POLICYHOLDER NOTICE

                                            CALIFORNIA WORKERS' COMPENSATION
                                                  INSURANCE RATING LAWS

 Pursuant to Section 11752.8 of the California Insurance Code, we are providing you with an explanation of the California workers'
 compensation rating laws.

 1.   We establish our own rates for workers' compensation. Our rates, rating plans, and related information are filed with the
      insurance commissioner and are open for public inspection.

 2.   The insurance commissioner can disapprove our rates, rating plans, or classifications only if he or she has determined after
      public hearing that our rates might jeopardize our ability to pay claims or might create a monopoly in the market. A monopoly
      is defined by law as a market where one insurer writes 20% or more of that part of the California workers' compensation
      insurance that is not written by the State Compensation Insurance Fund. If the insurance commissioner disapproves our
      rates, rating plans, or classifications, he or she may order an increase in the rates applicable to outstanding policies.

 3.   Rating organizations may develop pure premium rates that are subject
                                                                      sUbject to the insurance commissioner's approval. A pure
      premium rate reflects the anticipated cost and expenses of claims per $100 of payroll for a given classification. Pure premium
      rates are advisory only, as we are not required to use the pure premium rates developed by any rating organization in
      establishing our own rates.

 4.   We must adhere to a single, uniform experience rating plan. If you are eligible for experience rating under the plan, we will be
      required to adjust your premium to reflect your claim history. A better claim history generally results in a lower experience
      rating modification; more claims, or more expensive claims, generally result in a higher experience rating modification. The
      uniform experience rating plan, which is developed by the insurance rating organization designated by the insurance
      commissioner, is subject to approval by the insurance commissioner.

 5.   A standard classification system, developed by the insurance rating organization designated by the insurance commissioner,
      is subject to approval by the insurance commissioner. The standard classification system is a method of recognizing and
      separating policyholders into industry or occupational groups according to their similarities and/or differences. We can adopt
      and apply the standard classification system or develop and apply our own classification system, provided we can report the
      payroll, expenses, and other costs of claims in a way that is consistent with the uniform statistical plan or the standard
      classification system.

 6.   Our rates and classifications may not violate the Unruh Civil Rights Act or be unfairly discriminatory.

 7.   We will provide an appeal process for you to appeal the way we rate your insurance policy. The process requires us to
      respond to your written appeal within 30 days. If you are not satisfied with the result of your appeal, you may appeal our
      decision to the insurance commissioner.


                                           California Workers' Compensation Insurance
                                                       Notice of Nonrenewal

 Section 11664 of the California Insurance Code requires us, in most instances, to provide you with a notice of nonrenewal. Except
 as specified in paragraphs 1 through 6 below, if we elect to nonrenew
                                                              non renew your policy, we are required to deliver or mail to you a
                                                      non renewal of the policy. The notice is required to be sent to you no earlier
 written notice stating the reason or reasons for the nonrenewal
 than 120 days before the end of the policy period and no later than 30 days before the end of the policy period. If we fail to provide
 you the required notice, we are required to continue the coverage under the policy with no change in the premium rate until 60
 days after we provide you with the required notice.




                                            Decl. Barnett,
                                                       1 of 2 Ex. D-93
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 404 of 514 Page ID
                                       #:1356

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We are not required to provide you with a notice of nonrenewal
We                                                  non renewal in any of the following situations:

1.
1.   Your policy was transferred or renewed without a change in its terms or conditions or the rate on which the premium is based
     to another insurer or other insurers who are members of the same insurance group as us.

2.
2.   The policy was extended for 90 days or less and the required notice was given prior to the extension.

3.
3.   You obtained replacement coverage or agreed, in writing, within 60 days of the termination of the policy, to obtain that
     coverage.

4.
4.   The policy is for a period of no more than 60 days and you were notified at the time of issuance that it may not be renewed.

5.
5.   You requested a change in the terms or conditions or risks covered by the policy within 60 days prior to the end of the policy
     period.

6.
6.   We made a written offer to you to renew the policy at a premium rate increase of less than 25 percent.

     (A) If the premium rate in your governing classification is to be increased 25 percent or greater and we intend to renew the
     policy, we shall provide a written notice of a renewal offer not less than 30 days prior to the policy renewal date. The
     governing classification shall be determined by the rules and regulations established in accordance with California Insurance
     Code Section 11750.3(c).

     (B) For purposes of this Notice, "premium rate" means the cost of insurance per unit of exposure prior to the application of
     individual risk variations based on loss or expense considerations such as scheduled rating and experience rating.

This
This notice does not change the policy to which it is attached.




                                                 Decl. Barnett,
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                                                                Ex. D-94
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 405 of 514 Page ID
                                  #:1357


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                                                                                                                        (Ed. 12-01)

                                                    POLICYHOLDER NOTICE

                         CALIFORNIA INSURANCE GUARANTEE ASSOCIATION (CIGA) SURCHARGE


 Companies writing property and casualty insurance business in California are required to participate in the California Insurance
 Guarantee Association. If a company becomes insolvent, the California Insurance Guarantee Association settles unpaid claims
 and assesses each insurance company for its fair share.

 California law requires all companies to surcharge policies to recover these assessments. If your policy is surcharged, "CA
 Surcharge" or "CA Surcharge (CIGA Surcharge)" with an amount will be displayed on your premium notice.



 This notice does not change the policy to which it is attached.




                                           Decl. Barnett, Ex. D-95
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 406 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
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                                         COLORADO CLASSIFICATION ENDORSEMENT

                                                                                                     becausEL
This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) becausE)_
Colorado is shown in Item 3.A. of the Information Page.

Section B. Classifications of Part Five (Premium) is amended by adding the following:

The assignment of a proper classification resulting in higher premium is allowed only if the misclassification was
caused by your failure to provide accurate or complete data. If your operation changes during the policy term, you
must notify us within ninety days of the change. Failure to notify us will be considered a failure to provide accurate or
complete data.

Section E. Final Premium of Part Five is amended by adding this sentence at the end of the first paragraph:

Payments to us or to you based on improper classification may be collected or refunded during the term of the policy
and for twelve months after the term.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                        Policy No. WD001486                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



  Insurance Company          Protective Insurance Company        Countersigned by
                                                                 Countersigned by   ---""Md-----'--~-"---------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we
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               CONNECTICUT APPLICATION OF WORKERS COMPENSATION INSURANCE ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
Connecticut is shown in Item 3.A. of the Information Page.

Section A, "How This Insurance Applies," of Part One, "Workers Compensation Insurance," is amended to read as
follows:

This workers compensation insurance applies to injury by accident or injury by disease. Injury includes resulting death.

1.      Injury by accident must occur during the policy period.

2.      Injury by disease must be caused or aggravated by exposure during the policy period to conditions of your
        employment.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                         Policy No. WD001486                         Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

     Insurance Company       Protective Insurance Company           Countersigned by           ~t~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we 06 03 03 C
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                           CONNECTICUT WORKERS COMPENSATION FUNDS ENDORSEMENT

This endorsement applies only to the insurance provided by Part One (Workers Compensation Insurance) because
Connecticut is shown in Item 3.A. of the Information Page.

The amount shown on the Information Page for the Connecticut workers compensation fund assessment is required of
you under Section 31-345 of the Connecticut General Statutes. We will pay these assessments to the Connecticut
State Treasurer. The purpose of the assessment is to finance the expenses of administering the workers
compensation laws.

THE AMOUNT SHOWN ON THE INFORMATION PAGE FOR THE CONNECTICUT SECOND INJURY FUND
SURCHARGE IS REQUIRED OF YOU UNDER CONNECTICUT REGULATIONS TO FINANCE THE CONNECTICUT
SECOND INJURY FUND. WE WILL PAY THIS SURCHARGE TO THE CONNECTICUT STATE TREASURER.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEME)JJ
                                                                           MANAGEME)Jj                               Premium

  Insurance Company           Protective Insurance Company                               --~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY                                 we
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                                          CONNECTICUT NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Connecticut is shown in Item 3.A. of
the Information Page.



Add the following to Part Six-Conditions of the policy:


F.    Nonrenewal

      We may elect not to renew the policy. Unless otherwise provided by Connecticut General Statutes Annotated
      Section 38a-323, we will provide you via registered mail, certified mail or by mail evidenced by a certificate of
      mailing, or deliver to the named insured at the address shown in the policy, at least sixty (60) days advance
      notice of our intention not to renew.


      Mailing such notice to you at your address, shown in Item 1., of the Information Page, will be deemed sufficient
      notice under this section.


      The notice of intent not to renew will state or be accompanied by a statement specifying the reason for such
      nonrenewal.
      non renewal.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective                06/30/2017
 Endorsement Effective           06/30/2017                      Policy No. WD001486                         Endorsement No.
 Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



 Insurance Company             Protective Insurance Company       Countersigned     ~=---t
                                                                  Countersigned by __                  _
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 0106
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                                         DELAWARE NONRENEWAL ENDORSEMENT

We may elect not to renew the policy. By certified mail we will mail to you, not less than 60 days advance written
notice, when the nonrenewal will take effect. Mailing that notice to you at your mailing address, shown in Item 1 of the
Information Page, will be sufficient to prove notice.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective             06/30/2017
  Endorsement Effective        06/30/2017                       Policy No. WD001486                           Endorsement No.
  Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                           /J
                                                                                                              IJ     Premium

  Insurance Company            Protective Insurance Company             Countersigned by_""'-UU        =---_1'-"-
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 09
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                               FLORIDA EMPLOYERS LIABILITY COVERAGE ENDORSEMENT


C. Exclusion 5, Section C. of Part Two of the policy, is replaced by following:
   This insurance does not cover
   5. bodily injury intentionally caused or aggravated by you or which is the result of your engaging in conduct
       equivalent to an intentional tort, however defined, or other tortious conduct, such that you lose your immunity
       from civil liability under the workers compensation laws.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. WD001486                              Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT/)
                                                                          MANAGEMENT                     IJ             Premium

  Insurance Company           Protective Insurance Company                           _..,.Wv+
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          FLORIDA TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT ENDORSEMENT

This endorsement addresses requirements of the Terrorism Risk Insurance Act of 2002 as amended by the Terrorism
Risk Insurance Program Reauthorization Act of 2015.

Definitions
The definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act. If
words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.

    1. "Act" means the Terrorism Risk Insurance Act of 2002, which took effect on November 26, 2002, and any
       amendments, including any amendments resulting from the Terrorism Risk Insurance Program
       Reauthorization Act of 2015.
    2. "Act of Terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the
       Secretary of Homeland Security, and the Attorney General of the United States as meeting all of the following
       requirements:
       a. The act is an act of terrorism.
       b. The act is violent or dangerous to human life, property or infrastructure.
       c. The act resulted in damage within the United States, or outside of the United States in the case of the
           premises of United States missions or certain air carriers or vessels.
       d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian
           population of the United States or to influence the policy or affect the conduct of the United States
           Government by coercion.
    3. "Insured Loss" means any loss resulting from an act of terrorism (including an act of war, in the case of
       workers compensation) that is covered by primary or excess property and casualty insurance issued by an
       insurer if the loss occurs in the United States or at the premises of United States missions or to certain air
       carriers or vessels.
    4. "Insurer Deductible" means, for the period beginning on January 1, 2015, and ending on December 31, 2020,
       an amount equal to 20% of our direct earned premiums, during the immediately preceding calendar year.

Limitation of Liability
The Act may limit our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a
calendar year and if we have met our Insurer Deductible, we may not be liable for the payment of any portion of the
                                          $1 00,000,000,000; and for aggregate Insured Losses up to
amount of Insured Losses that exceeds $100,000,000,000;
$100,000,000,000, we may only have to pay a pro rata share of such Insured Losses as determined by the Secretary
of the Treasury.

Policyholder Disclosure Notice
     1.   Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry
          Insured Losses exceed:
          a. $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United States
              Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
          b. $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United States
              Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
          c. $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United States
              Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
          d. $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United States
              Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
          e. $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United States
                                    81%
              Government would pay 81  % of our Insured Losses that exceed our Insurer Deductible.
          f. $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
              Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.


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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 413 of 514 Page ID
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                        WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

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    2.     Notwithstanding item 1 above, the United States Government may not have to make any payment under the
           Act for any portion of Insured Losses that exceed $100,000,000,000.
    3.     The premium charged for the coverage for Insured Losses under this policy is included in the amount shown
           in Item 4 of the Information Page or the Schedule below.


                                                                    Schedule


                                                      Rate per $100 of Remuneration




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                        Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT/}
                                                                          MANAGEMENT                         IJ            Premium

  Insurance Company           Protective Insurance Company                Countersigned by   ----'~'--------1'-=----------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 09 0407
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                         FLORIDA NON-COOPERATION WITH PREMIUM AUDIT ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Florida is shown in Item 3.A. of the
Information Page.
This endorsement adds the following provisions to Part Five-Premium, G. Audit, of the policy:
We are required to complete the premium audit process no later than 90 days after policy termination. If you fail to
return voluntary audit requests or refuse to cooperate in completing a final physical audit, you must pay a premium to
us not to exceed three times the most recent estimated annual premium on this policy subject to the following
conditions:
  1. We make two good faith efforts to obtain the voluntary audit report or complete the physical audit.
  2. We document the audit file regarding the above attempts to obtain the required audit information.
  3. After the two good faith attempts to obtain records, we send a letter by certified mail to you advising you of the
      specific records that are required and the premium that will be charged if you continue to refuse access to the
      records.
If you do not provide all of the specific records required and if we satisfy the conditions above on or before 90 days
from the date of policy termination, we may continue to try and conduct the audit and/or re-open the audit for up to
three years from the date of policy termination. Alternatively, we may immediately bill you a premium not to exceed
three times the most recent estimated annual premium on this policy. If you provide all of the specific records required
to complete the premium audit process within the three year period, we will determine your final premium in
accordance with Part Five-Premium, E. Final Premium of the policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                 Endorsement No.
  Insured                                                                  MANAGEMEN.h
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENh                                Premium

  Insurance Company           Protective Insurance Company                                --~
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                                                                           Countersigned by __ _ _ _ _



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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
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                   FLORIDA EMPLOYMENT AND WAGE INFORMATION RELEASE ENDORSEMENT

This
This policy requires you to release certain employment and wage information maintained by the State of Florida
pursuant
pursuant to federal and state unemployment compensation laws except to the extent prohibited or limited under
federal
federal law. By entering into this policy, you consent to the release of the information.

We
We will safeguard the information and maintain its confidentiality. We will limit use of the information to verifying
compliance
compliance with the terms of the policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


Policy Effective
Policy                        06/30/2017
Endorsement Effective
Endorsement                   06/30/2017                      Policy No. WD001486                          Endorsement No.
Insured
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                Premium



Insurance Company
Insurance                   Protective Insurance Company       Countersigned by   --'--~-----cf
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                                       FLORIDA FINAL PREMIUM ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Florida is shown in Item 3.A. of the
Information Page.

Part Five, Section E, the Final Premium Condition of the policy is replaced by this Condition:


E. Final Premium
    The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will
    be determined after this policy ends by using the actual, not the estimated, premium basis and the proper
    classifications and rates that lawfully apply to the business and work covered by this policy. If the final premium is
    more than the premium you paid to us, you must pay us the balance. If it is less, we will refund the balance to you.
    The final premium will not be less than the highest minimum premium for the classifications covered by this policy.


    If this policy is canceled, final premium will be calculated pro rata based on the time this policy was in force. Final
    premium will not be less than the pro rata share of the minimum premium.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective          06/30/2017
  Endorsement Effective     06/30/2017                          Policy No. WD001486                          Endorsement No.
  Insured                                                              MANAGEME~
                             PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMEN)7                                   Premium

  Insurance Company       Protective Insurance Company           Countersigned by   ---'~><------<f_,___
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                      GEORGIA CANCELLATION, NON RENEWAL, AND CHANGE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Georgia is shown in Item 3.A. of the
Information Page.
Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation, Nonrenewal, and Change
    1.     You may cancel this policy. You must mail or deliver advance notice to us stating when the cancellation is to
           take effect, subject to the following:
           a. If only your interest is affected, the effective date of cancellation will be the later of the date we receive notice
               from you or the date specified in the notice.
           b. If by statute, regulation, or contract this policy may not be cancelled unless notice is given to a governmental
               agency or other third party, we will mail or deliver at least 10 days' notice to you and the third party as soon
               as practicable after receiving your request for cancellation.
               Our notice will state the effective date of cancellation, which will be the later of the following:
               1) 10 days from the date of mailing or delivering our notice, or
               2) The effective date of cancellation stated in your notice to us.
    2.     We may cancel or nonrenew
                                non renew this policy. We must mail or deliver notice at least 10 days before the effective date
           of cancellation if this policy has been in effect less than 60 days or if we cancel for nonpayment of premium. If
           this policy has been in effect 60 or more days and we cancel for a reason other than nonpayment of premium or
           if we nonrenew
                 non renew this policy, we must send to you a notice of cancellation or nonrenewal by certified mail, return
           receipt requested, to your last address of record at least 75 days prior to the effective date of cancellation or
           nonrenewal.
    3.     If we increase current policy premium by more than 15% (other than any increase in premium due to change in
           risk or exposure, or including a change in experience modification or resulting from an audit of auditable
           coverages), limit or restrict coverage, we must mail by first class mail or deliver a notice of our action (including
           dollar amount of any increase in renewal premium more than 15%) to you at the last mailing address of record at
           least 45 days before the expiration date of this policy.
    4.     If you fail to submit to, or allow an audit for, the current or most recently expired policy term, we may, after two
           documented efforts to notify you and your agent of potential cancellation, send via certified mail or statutory
           overnight delivery, return receipt requested, written notice to you at least 10 days prior to the effective date of
           cancellation in lieu of the number of days' notice otherwise required by state law. However, we must not mail a
           cancellation notice within 20 days of the first documented effort to notify you of potential cancellation.
     5.    The policy period will end on the day and hour stated in the cancellation notice except as provided for above.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective              06/30/2017
 Endorsement Effective          06/30/2017                              Policy No. WD001486                            Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMEN~
                                                                          MANAGEMEN~                                            Premium

 Insurance Company           Protective Insurance Company                Countersigned by _    _y_~----"'-----'cr::...._
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we 12 03 06 A
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    ILLINOIS WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY EXCLUSION
                                     ENDORSEMENT




C. Change Part Two-C. Exclusions 1. as follows:
   This insurance does not cover
   1. liability assumed under a contract, andlor
                                          and/or any agreement to waive your right to limit your liability for
       contribution to the amount of benefits payable under the Workers Compensation Act and the Workers
       Occupational Disease Act. This exclusion does not apply to a warranty that your work will be done in a
       workmanlike manner;




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective               06/30/2017
                                 06130/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MAN~~E~ENT /                 IJ
                                                                                                        /} Premium

  Insurance Company Protective Insurance Company                                          by---"-~----
                                                                            Countersigned by _ _-"-~ ·'f
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 419 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                we
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                                              ILLINOIS AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Illinois is shown in Item 3.A. of the
Information Page.

Part Two-Employers Liability Insurance, Section B. (We Will Pay), Item 3. of the policy is replaced by the following:

3. For consequential bodily injury to a party to a civil union, spouse, child, parent, brother or sister of the injured
   employee; provided that these damages are the direct consequence of bodily injury that arises out of and in the
   course of the injured employee's employment by you; and

Part Five-Premium, Section G. (Audit) of the policy is replaced by the following:

G. Audit
You will let us examine and audit all your records that relate to this policy. These records include ledgers, journals,
registers, vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving
data. We may conduct the audits during regular business hours during the policy period and within three years after
the policy ends. Information developed by audit will be used to determine final premium. The National Council on
Compensation Insurance has the same rights we have under this provision.

Part Six-Conditions, Section A. (Inspection)
                                {Inspection) of the policy is replaced by the following:

A. Inspection

We have the right, but are not obliged, to inspect your workplaces at any time. Our inspections are not safety
inspections. They relate only to the insurability of the workplaces and the premiums to be charged. We may give you
reports on the conditions we find. We may also recommend changes. While they may help reduce losses, we do not
undertake to perform the duty of any person to provide for the health or safety of your employees or the public. We do
not warrant that your workplaces are safe or healthful or that they comply with laws, regulations, codes, or standards.
The National Council on Compensation Insurance has the same rights we have under this provision.

Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:

D. Cancellation

    1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancellation
          is to take effect.

    2. We may cancel this policy. We will mail to each named insured at the last known mailing address advance
         written notice stating when the cancellation is to take effect. We will maintain proof of mailing of the notice of
         cancellation. A copy of all such notices shall be sent to the broker or agent of record, if known, at the last
         known mailing address. The broker or agent of record may opt to accept notification electronically.

    3. If we cancel because you do not pay all premium when due, we will mail the notice of cancellation at least ten
          days before the cancellation is to take effect. If we cancel for any other reason, we will mail the notice:

          a. At least 30 days before the cancellation is to take effect if the policy has been in force for 60 days or less;
          b. At least 60 days before the cancellation is to take effect if the policy has been in force for 61 days or more.

    4. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:
          a. Nonpayment of premium;
          b. The policy was issued because of a material misrepresentation;
          c. You violated any of the terms and conditions of the policy;
          d. The risk originally accepted has measurably increased;
          e. The Director has determined that we no longer have adequate reinsurance to meet our needs; or
          f. The Director has determined that continuation of coverage could place us in violation of the laws of Illinois.



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(Ed. 01-15)

    5.     Our notice of cancellation will state our reasons for cancelling.

    6.     The policy period will end on the day and hour stated in the cancellation notice.

Part Six-Conditions, Section E. (Sole Representative) of the policy is replaced by the following:

   Sole Representative
E. Sale

The insured first named in Item 1 of the Information Page will act on behalf of all insureds to change this policy,
receive return premium, or give us notice of cancellation.

Part Six-Conditions of the policy is changed by adding the following:

   Non renewal
F. Nonrenewal

    1.     We may elect not to renew the policy. If we fail to give at least 60 days notice prior to the expiration date of the
           current policy, the policy will automatically be extended for one year. We will mail to each named insured the
           nonrenewal notice at the last known mailing address. We will maintain proof of mailing of the nonrenewal
           notice. An exact and unaltered copy of such notice will also be sent to the named insured's producer, if known,
           or the producer of record at the last known mailing address. The named insured's producer, if known, or the
           producer of record may opt to accept notification electronically.

    2.     Our notice of nonrenewal will state our reasons for not renewing.

    3.     If we fail to provide the notice of nonrenewal as required, the policy will still terminate on its expiration date if:
           a. You notify us or the producer who procured this policy that you do not want the policy renewed; or
           b. You fail to pay all premiums when due; or
           c. You obtain other insurance as a replacement of the policy.


Note:
   1. Cancellation and nonrenewal of the workers compensation and employers liability insurance policy is regulated
      by Sections 143.14, 143.15, 143.16, 143.16a, 143.17, and 143.17a of the insurance law of Illinois.
   2. This endorsement must be attached to a policy showing Illinois in Item 3.A. of the Information Page.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective               06/30/2017
   Endorsement Effective          06/30/2017                              Policy No. WD001486                    Endorsement No.
   Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         11
                                                                                                               f1        Premium

   Insurance Company           Protective Insurance Company                                     _____:~
                                                                                                -----:~
                                                                             Countersigned by _ __ _ _ _cr
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  (Ed. 01-15)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           we 15
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                                               KANSAS FINAL PREMIUM ENDORSEMENT

This endorsement changes how the final premium is determined. The change applies only to the premium charged
because Kansas is shown in Item 3.A. of the Information Page

•     Kansas final premium will not be less than the highest minimum premium for the classifications covered by this
      policy unless there are two or more classifications covered and the highest rated classification has less than $500
      payroll.
•     When this occurs the final premium will not be less than one-half of the sum of the two highest minimum premiums
      for any classifications covered by the policy other than Clerical Office and Salespersons.
•     When the highest rated classification has less than $500 payroll and Standard Exception classifications are the
      only classifications showing payrolls, the final premium will not be less than the minimum premium for the
      classification showing the highest payroll.
•     Final premium for a multiple state policy will be that of the state with the single highest minimum premium, even if
      that state is on an "if
                          /lif any" basis. If two or more states have the same highest minimum premium, the minimum
      premium is determined by the state with the largest amount of standard premium.
•     Minimum premium is subject to final adjustment at audit and will be determined only on the basis of the
      classifications developing premium.
•     If the final earned premium is less than the minimum premium determined at audit, then that minimum premium
      must be charged.
•     If no classification develops premium, the final premium shall be a flat charge of $200.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective                06/30/2017
Endorsement Effective            06/30/2017                              Policy No. WD001486                      Endorsement No.
Insured                          PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT.
                                                                           MANAGEMENT .                                4_4 Premium
Insurance Company             Protective Insurance Company                                   ----,----""~-----==---'1',.__
                                                                            Countersigned by ----,-_-""~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     WC 1s
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                              KANSAS CANCELATION AND NON RENEWAL ENDORSEMENT
                                                     NONRENEWAL

This
This endorsement applies only to the insurance provided by the policy because Kansas is shown in Item 3.A. of the
Information
Information Page.

The Cancelation Condition of the policy is replaced by these two Conditions:
The

Cancelation
Cancelation
1.
1. You
   You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancelation is to
   take effect.

2.
2.   We may cancel this policy. If we cancel because you fail to pay all premium when due, we will mail or deliver to
     you not less than 10 days advance written notice stating when the cancelation is to take effect. If we cancel for
     any other reason, we will mail or deliver to you not less than 30 days advance written notice stating when the
     cancelation is to take effect. Mailing notice to you at your last known address will be sufficient to prove notice.

3.
3.   If this policy has been in effect for 90 days or more, we may cancel only for one of the following reasons:
     a. nonpayment of premium;
     b. the policy was issued because of a material misrepresentation;
     c. you violated any of the material terms and conditions of the policy;
     d.
     d. there are unfavorable underwriting factors, specific to you, that were not present when the policy took effect;
     e. the Commissioner has determined that our continuation of coverage could place us in a hazardous financial
     e.
           condition or in violation of the laws of Kansas; or
     f. the Commissioner has determined that we no longer have adequate reinsurance to meet our needs.

4.
4.   Our notice of cancelation will state our reasons for canceling.

5.
5.   The policy period will end on the day and hour stated in the cancelation notice.

Non renewal
Nonrenewal
1. We may elect not to renew the policy. We will mail to you not less than 60 days advance written notice when the
1.
   nonrenewal will take effect. Mailing that notice to you at your mailing address shown in Item 1 of the Information
   Page will be sufficient to prove notice.

2.
2.   Our notice of nonrenewal will state our reasons for not renewing.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


Policy Effective
Policy Effective              06/30/2017
Endorsement Effective
Endorsement                   06/30/2017                      Policy No. WD001486                          Endorsement No.
Insured
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium

Insurance Company
Insurance                  Protective Insurance Company         Countersigned by
                                                                Countersigned by   ---!.L(A)d:-=-
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                           we
                                                                                                                        WC 16 03 os
                                                                                                                           160305

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                  KENTUCKY PART ONE WORKERS COMPENSATION INSURANCE ENDORSEMENT

This endorsement modifies the insurance policy to which it is attached and applies to the insurance provided by this
policy because Kentucky is shown in Item 3.A. of the Information Page.

F. 3. of Part One, Workers Compensation Insurance of the policy is replaced by the following:

    F. Payments You Must Make
       3. you fail to comply with a health or safety law or regulation; provided that, however, we are responsible for
               payment of any amounts in excess of the benefits regularly provided under the workers compensation law
               of this state if an accident is caused in any degree by the intentional failure of the employer to comply with
               any specific statute or lawful administrative regulation made thereunder, communicated to the employer
               and relative to the installation or maintenance of safety appliances or methods as provided in KRS
               342.165(1); or


Except for any payments for which we are responsible as provided in Section F
                                                                            F.3.
                                                                              .3. above, if we make any payments in
excess of the benefits regularly provided by the workers compensation law on your behalf, you will reimburse us
promptly.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective               06/30/2017
 Endorsement Effective          06/30/2017                               Policy No. WD001486                     Endorsement No.
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    /J Premium

 Insurance Company           Protective Insurance Company                      Countersigned by -"'-~-------1:....:::...._
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                                                                   Reserved.
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                    we
                                                                                                                 WC 16 06 01

                                                                                                                   (Ed. 12-97)


                             KENTUCKY CANCELATION AND NON RENEWAL ENDORSEMENT
                                                      NONRENEWAL

This endorsement applies only to the insurance provided by the policy because Kentucky is shown in Item 3.A. of the
Information Page.

The Cancelation Condition of the policy is replaced by the following:

Cancelation

1. You may cancel this policy. You will deliver or mail advance written notice to us, stating when the cancelation is
   to take effect.

2.   We may cancel this policy. We will deliver or mail to you not less than 75 days advance written notice stating
     when the cancelation is to take effect and our reason or reasons for cancelation. If we cancel for nonpayment of
     premium or within 60 days of the date of issuance of the policy, we will deliver or mail this notice not less than 14
     days prior to the effective date of cancelation. Proof of mailing of this notice to you at your mailing address shown
     in Item 1 of the Information Page will be sufficient to prove notice.

3. After coverage has been in effect more than 60 days or after the effective date of a renewal policy, we may not
   cancel the policy unless cancelation is based on one or more of the following reasons:

     a.   nonpayment of premium;

     b.   discovery of fraud or material misrepresentation made by you or with your knowledge in obtaining the policy,
          continuing the policy, or presenting a claim under the policy;

     c.   discovery of willful or reckless acts or omissions on your part increasing any hazard originally insured;

     d.   changes in conditions after the effective date of the policy or any renewal substantially increasing any hazard
          originally insured;

     e.   a violation of any local fire, health, safety, building, or construction regulation or ordinance at any of your
          covered workplaces substantially increasing any hazard originally insured;

     f.   our involuntary loss of reinsurance for the policy;

     g.   a determination by the commissioner that the continuation of the policy would place us in violation of
          Kentucky insurance laws:

Non renewal
Nonrenewal

1.    We may elect not to renew the policy. We will deliver or mail to you not less than 75 days advance written notice
      stating our intention not to renew and our reason or reasons for nonrenewal. Proof of mailing of this notice to you
      at your mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

2.    If we fail to provide the notice of nonrenewal as required, the policy will be deemed to be renewed for the
      ensuing policy period upon payment of the appropriate premium, and coverage will continue until you have
      accepted replacement coverage with another insurer, until you have agreed to the nonrenewal, or until the policy
      is canceled.

3.    If we have delivered or mailed to you a renewal notice, bill, certificate, or policy not less than 30 days before the
      end of the current policy period clearly stating the amount and due date of the renewal premium charge, then the
      policy will terminate on the due date without further notice unless the renewal premium is received by us or our
      agent on or before the due date. If the policy terminates in this manner, we will deliver or mail to you within 15
      days of termination at your mailing address shown in Item 1 of the Information Page a notice that the policy was
      not renewed and the date on which coverage ceased to exist. Proof of mailing of the renewal premium to us or
      our agent on or before the due date will constitute a presumption of receipt on or before the due date.




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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 425 of 514 Page ID
                                       #:1377

WC160601                                WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 12-97)



4.   If we offer to renew the policy for a premium amount more than 25% greater than the premium amount for the
     current policy term for like coverage and like risks, we will deliver or mail to you and to your agent not less than
     75 days advance written notice of the renewal premium amount. We may at our option, in order to comply with
     this requirement, extend the period of coverage of the current policy at the expiring premium.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective              06/30/2017
Endorsement Effective         06/30/2017                       Policy No. WD001486                          Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                         /l         Premium

Insurance Company          Protective Insurance Company                           --~~----'1_:_
                                                                Countersigned by _ _ ~~cr---.:.-_________

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(Ed. 12-97)



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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 426 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 160602
                                                                                                                     WC 16 06 02

                                                                                                                       (Ed. 10-99)


                                  KENTUCKY NOTICE OF APPEAL RIGHTS ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Kentucky is shown in Item 3.A. of the
Information Page.

                                                          NOTICE OF YOUR RIGHTS

If you believe that the rates or the rating system under this policy have been incorrectly or improperly applied, you
may request a review of the manner in which the rate or rating system has been applied. You must make your
request in writing to us or the National Council on Compensation Insurance, Inc. (NCCI). We or NCCI has thirty (30)
days to grant or reject your request for a review and to notify you in writing whether your request has been granted or
rejected. If your request is granted, we or NCCI shall conduct the review within ninety (90) days of receiving your
request. If your request is rejected or if you are dissatisfied with the results of the review, you may appeal to the
commissioner for further review. You must make your appeal within thirty (30) days of receipt of the rejection or of the
results of your review. Your appeal is to be sent to:

                                                               Legal Division
                                                           Department of Insurance
                                                                P. 0.
                                                                   O. Box 517
                                                             Frankfort, KY 40602

Your request for an appeal should include a statement of the facts and how the rates or rating system were
incorrectly or improperly applied. Also, enclose copies of the results of the review and any other correspondence from
us or NCCI. If your appeal shows good cause, the commissioner shall hold a hearing. The commissioner may, after
the hearing, issue a final order affirming, modifying or reversing our or NCCI's action.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                           Policy No. WD001486                     Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J         Premium

  Insurance Company           Protective Insurance Company            Countersigned by   -----""~'-----=--C{....__
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 427 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 1103
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                                                                                                                       170303

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                                          LOUISIANA DUTY TO DEFEND ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Louisiana is shown in Item 3.A of the
Information Page.


The duty to defend provision of the policy is replaced by this provision.

                                                          Part Two-Employer's Liability

D. We Will Defend
    We have the right and duty to defend, at our expense, any claim, proceeding or suit against you for damages
    payable by this insurance. We have the right to investigate and settle these claims, proceedings and suits.


     Our duty to defend ends when the limit of liability has been exhausted by the payment of a judgement or
     settlement.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                             Policy No. WD001486                   Endorsement No.
  Insured                                                                 MANAGEMENT~
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT ~                               Premium

  Insurance Company           Protective Insurance Company              Countersigned by   IAJ:d~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           WC 170601 G                         we 11 os 01      G

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                                              LOUISIANA AMENDATORY ENDORSEMENT

This
This endorsement applies only to the insurance provided by the Policy because Louisiana is shown in Item 3.A. of the

Information
Information Page.

PART
PART FIVE-PREMIUM

Section
Section E., Final Premium of Part Five (Premium) of the policy is replaced by the following:
 E.
 E. Final
    Final Premium

     The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will
     be determined after this policy ends by using the actual, not the estimated, premium basis and the proper
     classifications and rates that lawfully apply to the business and work covered by this policy. If the final premium is
     more than the premium you paid to us, you must pay us the balance. If it is less, we will refund the balance to you.

     The
     The final premium will not be less than the highest minimum premium for the classifications covered by this policy.
     IfIf this policy is cancelled, final premium will be determined in the following way, unless our manuals provide
     otherwise:

      1. If we cancel, final premium will be calculated pro rata based on the time that this policy was in force. Final

          premium will not be less than the pro rata share of the minimum premium.

      2. If you cancel, final premium will be calculated using one of the following methods as listed in the Schedule of

          this endorsement:

            a. Pro rata based on the time that this policy was in force. Final premium will not be less than the pro rata
               share of the minimum premium, or

            b. More than pro rata; it will be based on the time that this policy was in force, and increased by our short-
                                             that has been filed with and approved by the commissioner. Final premium will
               rate cancellation procedure that
               not be less than the minimum premium.
Part Five-Premium, Section G. (Audit) of the policy is revised by adding the following:
Part

   G. Audit
   G.

       If you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit

       information as requested, we may apply an Audit Noncompliance Charge equal to a maximum of up to two times
       the estimated annual premium. The method for determining the Audit Noncompliance Charge, and the maximum
       dollar amount, is shown in the Schedule of this endorsement.
       If you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge,
       we will revise your premium in accordance with our manuals and Part Five-Premium, Section E. (Final
       Premium) of this policy.
       Premium)of
       Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as
       specified under the policy.
PART SIX-CONDITIONS
PART

The Cancellation Condition of the policy is replaced by this Condition:
The
   D. Cancellation
   D.

       1. If coverage has not been in effect for sixty days and the policy is not a renewal, cancellation will be effected

           by mailing or delivering a written notice to you at the mailing address shown on the policy at least sixty days



                                                    Decl. Barnett,
                                                             Page 1 of 4Ex. D-118

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 429 of 514 Page ID
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                                       #:1381AND EMPLOYERS LIABILITY INSURANCE POLICY
                        WORKERS COMPENSATION

(Ed. 1-17)


          before the cancellation effective date, except in cases where cancellation is based on nonpayment of
          premium. Notice of cancellation based on nonpayment of premium will be mailed or delivered at least ten days
          before the effective date of cancellation. After coverage has been in effect for more than sixty days or after the
          effective date of a renewal policy, we will not cancel the policy unless the cancellation is based on at least one
          of the following reasons:
           a. Nonpayment of premium
           b. Fraud or material misrepresentation made by you or with your knowledge in obtaining the policy,
              continuing the policy, or in presenting a claim under the policy
           c. Activities or omissions on your part which change or increase any hazard insured against, including a
              failure to comply with loss control recommendations
           d. Change in the risk which increases the risk of loss after insurance coverage has been issued or renewed,

              including an increase in exposure due to regulation, legislation, or court decision


           e. Determination by the commissioner of insurance that the continuation of the policy would jeopardize your

              solvency or would place us in violation of the insurance laws of this state or any other state
           f. Violation or breach by the insured of any policy terms or conditions
           g. Such other reasons that are approved by the commissioner of insurance

     2.
           a. A notice of cancellation of insurance coverage by us will be in writing and will be mailed or delivered to you
              at the mailing address as shown on the policy. Notices of cancellation based on conditions 1.b. through
              1.g. above will be mailed or delivered at least thirty days before the effective date of the cancellation;
              notices of cancellations based on condition 1.a. above will be mailed or delivered at least ten days before
              the effective date of cancellation. The notice will state the effective date of the cancellation.
           b. We will provide you with a written statement specifying the reason for the cancellation when you request

              such a statement in writing. Your written request must state that you hold us harmless from liability for any

              communication:

                   (1) Giving notice of or specifying the reasons for a cancellation, or

                   (2) For any statement made in connection with an attempt to discover or verify the existence of
                       conditions which would be a reason for cancellation under this endorsement

      3. We will provide a notice of cancellation or a statement of reasons for cancellation where cancellation for
         nonpayment of premium is effected by a premium finance company or other entity pursuant to a power of
         attorney or other agreement executed by or on behalf of you.
      4. We may decide not to renew your policy. If we decide not to renew your policy, we will deliver or mail notice
         to you at the address shown on the policy. Such notice of nonrenewal will be mailed or delivered at least sixty
         days before the expiration date. Such notice to you will include your loss run information for the period the
         policy has been in force within, but not to exceed the last three years of coverage. If the notice is mailed less
         than sixty days before expiration, coverage will remain in effect under the same terms and conditions until
         sixty days after notice is mailed or delivered. Earned premium for any period of coverage that extends
          beyond the expiration date will be considered pro rata based upon the previous year's rate. For purposes of
         this endorsement, the transfer of a policyholder between companies within the same insurance group will not
         be a refusal to renew. In addition, changes in the deductible, changes in rate, changes in the amount of
         insurance, or reductions in policy limits or coverage will not be refusals to renew.
      5. Notice of nonrenewal will not be required if we or a company within the same insurance group has offered to


                                                   Decl. Barnett,
                                                            Page 2 of 4Ex. D-119

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                                      #:1382
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we 17
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                                                                                                                  (Ed. 1-17)


          issue a renewal policy, or where you have obtained replacement coverage or have agreed in writing to obtain

          replacement coverage.
       6. If we provide the notice described in paragraph 4 above and thereafter we extend the policy for ninety days or
          less, an additional notice of nonrenewal is not required with respect to the extension.
       7. We must mail or deliver to you at the mailing address shown on the policy written notice of any rate increase,
          change in deductible, or reduction in limits or coverage at least thirty days before the expiration date of the
          policy. If we fail to provide such thirty-day notice, the coverage provided to you at the expiring policy's rate,
          terms, and conditions will remain in effect until notice is given or until the effective date of replacement
          coverage obtained by you, whichever first occurs. For the purposes of this paragraph, notice is considered
          given thirty days following date of mailing or delivery of the notice. If you elect not to renew, any earned
          premium for the period of extension of the terminated policy will be calculated pro rata at the lower of the
          current or previous year's rate. If you accept the renewal, the premium increase, if any, and other changes will
          be effective the day following the prior policy's expiration or anniversary date.
       8. Paragraph 7 does not apply to changes:
           a. In a rate or plan filed with the commissioner of insurance and applicable to an entire class of business
            b. Based on the altered nature or extent of the risk insured
           c. In policy forms filed and approved with the commissioner and applicable to an entire class of business
           d. Requested by the insured
       9. Proof of mailing of notice of cancellation, or of nonrenewal or of premium or coverage changes, to the named
           insured at the address shown in the policy, will be sufficient proof of notice.
Section I., Actions Against Us, of Part Two (Employers Liability Insurance) of the policy is replaced by the following:


I. Actions Against Us

  You may not bring an action against us under this insurance unless:

      1. You have complied with all the terms of this policy; and
      2. The amount you owe has been determined with our consent or by actual trial and final judgment.
     The bankruptcy or insolvency of you or your estate will not relieve us of our obligations under this Part.
This Condition is added to the policy:
Your Right to Remove Agent
We will not change or remove the agent of record who wrote this policy prior to the termination or renewal of this policy

unless you request the change or removal. If you request the change or removal of the agent, we will notify the agent
in writing 15 days in advance of the change or removal.



                                                                      Schedule

                                                                                              pro rata,      more than pro
1.     If you cancel, final premium for this policy will be calculated:                  xX   or             rata




                                                   Decl. Barnett,
                                                            Page 3 of 4Ex. D-120

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                                        #:1383 AND EMPLOYERS LIABILITY INSURANCE POLICY
(Ed. 1-17)




      Basis of Audit

2.    Noncompliance Charge                     $0




      Maximum Audit

      Noncompliance Charge

      Multiplier                                     2



      Maximum Audit

      Noncompliance Charge

      $$Amount
        Amount                                 $0




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



Policy Effective               06/30/2017
Endorsement Effective          06/30/2017                               Policy No. WD001486                  Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                  Premium


Insurance Company           Protective Insurance Company                 Countersigned by   ~
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WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
                                                                                                                  WC 1106
                                                                                                                     17 06 02 A

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                                    LOUISIANA COST CONTAINMENT ACT ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Louisiana is shown in Item 3.A. of the
Information
Information Page.

You may be eligible for a two (2) percent reduction in your premium if you attend a cost containment meeting
You
conducted
conducted by the Occupational, Safety and Health Administration (OSHA) Section of the Office of Workers
Compensation Administration. In order for you to receive the reduction, you must submit to us a certificate of
Compensation
attendance
attendance from the OSHA Section. The reduction will apply for a period of one year and will be applied to the policy
becoming
becoming effective after the date you attended the cost containment meeting.

You may also be eligible for an additional five (5) percent reduction in your premium if you have attended a cost
You
containment
containment meeting and have subsequently satisfactorily implemented an occupational safety and health program
prescribed
prescribed by the OSHA Section. In order for you to receive the reduction, you must submit to us a Certificate of
Satisfactory Implementation of Occupational, Safety and Health Program from the OSHA Section. The reduction will
Satisfactory
apply for a period of one year and will be applied to the policy becoming effective after the date of your certification.
apply




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                          /.J        Premium

  Insurance Company
  Insurance                   Protective Insurance Company       Countersigned by _  _,~o...,_C(::::.__
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                                     MAINE INSPECTION IMMUNITY ENDORSEMENT
                            (TITLE 14 MAINE REVISED STATUTES ANNOTATED SECTION 167)

                                             THE FOLLOWING LIMITS OUR LIABILITY

We, the insurance company, our agents, employees, or service contractors, are not liable for damages from injury,
death or loss occurring as a result of any act or omission in the furnishing of or the failure to furnish insurance
inspection services related to, in connection with or incidental to the issuance or renewal of a policy of property or
casualty insurance.

This exemption from liability does not apply:

A. If the injury, loss or death occurred during the actual performance of inspection services and was proximately
   caused by our negligence or by the negligence of our agents, employees or service contractors;

B. To any inspection services required to be performed under the provisions of a written service contract or defined
   loss prevention program;

C. In any action against us, our agents, employees, or service contractors for damages proximately caused by our
   acts or omissions which are determined to constitute a crime, actual malice or gross negligence; or,

D. If we fail to provide this written notice to the insured whenever a policy is issued or when new policy forms are
   issued upon renewal.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT;:?                              Premium

  Insurance Company          Protective Insurance Company        Countersigned by      ~
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  WC  1s 06 01
  (Ed. 4-84)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 18 0603
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                               MAINE CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
Information Page.

The Cancellation Condition of the policy is replaced by this Condition:

Cancellation
1.      You may cancel this policy. You must mail or deliver advance written notice to us stating when the cancellation is
        to take effect.

2.      We may cancel this policy. We must mail or deliver to you and to the Workers Compensation Board not less than
        30 days advance written notice stating when the cancellation is to take effect. Mailing notice to you at your last
        known address will be sufficient to prove notice.

3.      The policy period will end on the day and hour stated in the cancellation notice. If you have obtained a workers
        compensation and employers liability insurance policy from another insurance company, or have otherwise
        secured your obligation to provide compensation, and such insurance or other security becomes effective prior to
        the expiration of the notice period, the policy period will end on the effective date of such other insurance or
        security.

4.      If this policy has been renewed or has been in effect for 60 days or more, we may cancel only for one of the
        following reasons:
        a. Nonpayment of premium;
        b. Fraud or a material misrepresentation was made in obtaining the policy, continuing the policy or presenting a
             claim under the policy;
        c. The risk accepted when the policy was issued has substantially increased;
        d. Your failure to comply with reasonable loss control recommendations;
        e. A substantial breach of contractual duties, conditions or warranties under the policy;
        f. The Superintendent has determined that continuation of the policy could jeopardize our solvency or place us
             in violation of the law.

Non renewal
Nonrenewal
We may elect not to renew the policy. We will mail or deliver to you not less than 30 days advance written notice. A
post office certificate of mailing to you at your last known address will be conclusive proof of receipt of that notice on
the third calendar day after mailing.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                         Policy No. WD001486                          Endorsement No.
     Insured                                                              MANfGE MEN/
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANtGEnMEN"/;J
                                                                                0
                                                                                                              ;J        Premium

     Insurance Company        Protective Insurance Company                            ---"-(;{A-1
                                                                    Countersigned by _ _    ____·C(-=--------
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                                       #:1387
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         we
                                                                                                                      WC 1a os 04
                                                                                                                         180604

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                                         MAINE FINAL PREMIUM AUDIT ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
This
Information
Information Page.

Part
Part Five (Premium), Condition E, Final Premium, and Condition G, Audit, are changed by adding these Conditions:
                     ConditionE,

E.
E.     Final Premium
           We are required by Maine regulation to complete our final premium audit not later than 120 days after the policy
           period ends.
           If we are unable to examine and audit your records because of your failure to cooperate, we will mail advance
           written notice to you stating the reasons for our inability to establish the final premium. Your final premium will be
           established no later than 120 days from the time we are able to complete the examination and audit of your
           records.
       If we have not established the final premium within the 120-day time limitation, we may not bill or collect any
       additional
       additional premium that exceeds the latest billed annual premium.


G.
G.     Audit
       You may request a final premium audit to determine whether you are entitled to a refund, if we have not established
       the final premium within the 120-day time limit. You will mail or deliver written notice to us requesting the audit.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
        (The


     Policy Effective
     Policy                      06/30/2017
     Endorsement Effective
     Endorsement                 06/30/2017                        Policy No. WD001486                          Endorsement No.
     Insured
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                   Premium

     Insurance Company PROTECTIVE INSURANCE COMPANY Countersigned by
     Insurance                                                                     by___.~~---=----~-"----------
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                                      #:1388
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we 180606
                                                                         WC 18 06 06

                                                                                                                        (Ed. 8-99)

                                  MAINE NOTICE OF FILING OF FIRST REPORTS OF INJURY
                                          WITHIN SEVEN DAYS ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
Information
Information Page.

Employer's
Employer's First Report of Occupational Injury or Disease, form WCB-i,
                                                                WCB-1, required to be filed for injuries arising out of
and
and in the course of an employee's employment that has caused the employee to lose a day's work shall be reported
to
to and
   and received by the Workers' Compensation Board within seven (7) days after the employer receives notice or
knowledge
knowledge of the injury, as provided by 39-A M.R.S.A. sec. 303. First Reports of Injury can be mailed, electronically
submitted, or faxed to the Workers' Compensation Board at 207-287-5895.
submitted,


Contact us immediately if an injury occurs that may be required to be reported to the Workers' Compensation Board.
Contact




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT / )                 IJ          Premium

  Insurance Company
  Insurance                   Protective Insurance
                              Protective Insurance Company
                                                   Company       Countersigned by
                                                                 Countersigned by __--'Wd<--
                                                                                    _.&/d.__
                                                                                        __....::...__C(__,__
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       WC 1a
                                                                                                                    we 180607
                                                                                                                          06 01 A

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                                   MAINE SUPPLEMENTAL BENEFITS FUND ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Maine is shown in Item 3.A. of the
Information Page.
Title 39-A of Maine Revised Statute Annotated, sections 355A through section 356 establishes the Maine Supplemental
Benefits Fund to reimburse insurers and self-insurers for their payments of compensation to employees made pursuant
to 39-A M.R.S.A. § 213(3),(4).
We are authorized pursuant to 39-A M.R.S.A. § 356 to collect a surcharge from you to pay the assessments required
pursuant to 39-A M.R.S.A. § 154(3). Your surcharge will be calculated in accordance with 39-A M.R.S.A. § 154(3)(8-1
                                                                                                         154(3)(B-1).
                                                                                                                    ).



                                                                     Schedule



       Surcharge:                  %




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                    Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEr~~T                       /    1J
                                                                                                                 IJ Premium
  Insurance Company            Protective Insurance Company                     Countersigned by -----"-~----tf_,_
                                                                                                 _ _---"-~ cr-"-_____       _


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  (Ed.07-11



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WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           we
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                                                                              06 01 F
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                                                                                                                        (Ed.1-16)


                            MARYLAND CANCELLATION AND NONRENEWAL ENDORSEMENT

This
This endorsement applies because Maryland is shown in Item 3.A. of the Information Page.

Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:
Part

D.
D. Cancellation and Nonrenewal
   1.
   1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancellation is
      to take effect.

   2.
   2. We may cancel or nonrenew this policy as follows:
      a. If the policy is cancelled for nonpayment of premium, we will file with the Maryland Workers Compensation
         Commission's designee, and serve you by certificate of mailing, not less than 10 days' advance written notice
         stating when the cancellation will take effect.
      b. If the policy is cancelled for reasons other than nonpayment of premium or if the policy is nonrenewed, we will
         file with the Maryland Workers Compensation Commission's designee, and serve by certified mail or personal
         service to you, not less than 45 days' advance written notice stating when the cancellation or nonrenewal will
         take effect.
      Mailing this notice by certified mail to you at your mailing address last known to us creates a presumption of
      actual delivery of notice. You may be able to rebut this presumption by providing evidence that the notice was
      not delivered.

   3.
   3. The effective dates of the cancellation or nonrenewal are determined as follows:
      a. Except for cancellation for nonpayment of premium, the policy period will end on the day and hour stated in
         the cancellation or nonrenewal notice, or 45 days after the date the notice is received by the Maryland
         Workers Compensation Commission's designee, whichever date is later.
      b. For cancellation for nonpayment of premium, the policy period will end on the day and hour stated in the
         cancellation notice, or 10 days after the date the notice is received by the Maryland Workers Compensation
         Commission's designee, whichever date is later.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                               Policy No. WD001486                 Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT / )                   /J        Premium

  Insurance Company
  Insurance                   Protective Insurance Company                  Countersigned by   --'~'-------C(-=----------
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 210303
                                                                                                                      WC 21 03 o3 A

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                                  MICHIGAN NOTICE TO POLICYHOLDER ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Michigan is shown in Item 3.A. of the
Information Page.

1.      Rates and Premium
        The policy contains rates and classifications that apply to your type of business. If you have any questions
        regarding the rates or classifications, please contact us or your agent.

        You may obtain pertinent rating information by submitting a written request to us at our address shown on this
        endorsement. We may require you to pay a reasonable charge for furnishing the information.

        You may also submit a written request for a review of the method by which your rates and premiums were
        determined. If you are not satisfied with the results of the review, you may appeal to the Commissioner of
        Insurance at the address shown in this endorsement.

2.      Payroll Audits
        You may request a payroll audit once each calendar year. Your request must be in writing, sent to our address
        shown in this endorsement. You must state that you believe your payroll expenditures have changed by 20% or
        more, and you must state the reasons for that belief. We will complete the audit within 120 days of receipt of your
        request if you provide us with all information we need to perform the audit.

3.       Reserves or Redemption
        You may request reserve and redemption information that relates to the premium for this policy. Your request
        must be in writing sent to our address shown in this endorsement. We will provide you with that information within
        thirty (30) days of receipt of your request.

         If you believe that the policy premiums are excessive because we set unreasonable reserves or because of the
         unreasonable redemption of a claim, you may request a meeting with our management representative. Your
         request must be in writing sent to our address shown in this endorsement. If you are not satisfied with the results
         of the meeting, you may appeal to the Insurance Commissioner at the address shown in this endorsement.


                                                                Addresses

Commissioner of Insurance                                                                   Company Address
Michigan Insurance Bureau                                                                   Protective Insurance Company
P.O. Box 30220                                                                              PO Box 7099
         Ml 48909
Lansing, MI                                                                                 Indianapolis, IN 46207-7099




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          06/30/2017
     Endorsement Effective     06/30/2017                          Policy No. WD001486                          Endorsement No.
     Insured                   PERSONNEL STAFFING GROUP, LLe             MANi~E,.EN/ / }
                                                         LLC DBA BARNETT MANi~E;EN/                            IJ       Premium

     Insurance Company       Protective Insurance Company                             ----"~'------C('_,__
                                                                    Countersigned by _ _   --"~'--cr--"-______

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     (Ed. 6-97)
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 WORKERS
 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                             we    o3 04
                                                                                                              210304
                                                                                                           WC 21

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                                          MICHIGAN LAW ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Michigan is shown in Item 3.A. of the
Information
Information Page.

Michigan
Michigan law requires that we attach this paragraph to your policy in the language specified by the statute. To help you
understand
understand the paragraph, the following definitions are added:
1. We are "the insurer issuing this policy"

2.    You are "the insured employer"


3.
3.    "Michigan workmen's compensation act" means the Workers' Disability Compensation Act of 1969"


4.
4.    "Workmen's compensation" means workers compensation"

5.    "The bureau of workmen's compensation" means the Bureau of Workers' Disability Compensation"



"Notwithstanding
"Notwithstanding any language elsewhere contained in this contract or policy of insurance, the accident fund or the
insurer
insurer issuing this policy hereby contracts and agrees with the insured employer:

Compensation
Compensation
a.
a. That it will pay to the persons that may become entitled thereto all workmen's compensation for which the insured
   employer may become liable under the provisions of the Michigan workmen's compensation act for all
   employer
   compensable injuries or compensable occupational diseases happening to his employees during the life of this
   contract or policy;

Medical Services
Medical
b. That it will furnish or cause to be furnished to all employees of the employer all reasonable medical, surgical, and
b.
    hospital services and medicines when they are needed, which the employer may be obligated to furnish or cause
    to be furnished to his employees under the provisions of the Michigan workmen's compensation act, and that it will
    pay to the persons entitled thereto for all such services and medicines when they are needed for all compensable
    injuries or compensable occupational diseases happening to his employees during the life of this contract or policy;

Rehabilitation Services
Rehabilitation
c.
c.  That it will furnish or cause to be furnished such rehabilitation services for which the insured employer may become
    liable to furnish or cause to be furnished under the provisions of the Michigan workmen's compensation act for all
    compensable injuries or compensable occupational diseases happening to his employees during the life of this
    contract or policy;

Funeral Expenses
Funeral
d. That it will payor
d.              pay or cause to be paid the reasonable expense of the last sickness and burial of all employees whose
    deaths are caused by compensable injuries or compensable occupational diseases happening during the life of
    this contract or policy and arising out of and in the course of their employment with the employer, which the
    employer may be obligated to pay under the provisions of the Michigan workmen's compensation act;
    employer

Scope of Contract
Scope
e. That this insurance contract or policy shall for all purposes be held and deemed to cover all the businesses the
e.
    said employer is engaged in at the time of the issuance of this contract or policy and all other businesses, if any,
    the employer may engage in during the life thereof, and all employees the employer may employ in any of his
    businesses during the period covered by this policy;



                                         Decl. Barnett, Ex. D-130
                                                          1 of 2
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 441 of 514 Page ID
                                     #:1393
 we 210304
 WC 21 03 04                         WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

 (Ed. 4-84)



Obligations Assumed
f.   That it hereby assumes all obligations imposed upon the employer by his acceptance of the Michigan workmen's
     compensation act, as far as the payment of compensation, death benefits, medical, surgical, hospital care or
     medicine and rehabilitation services is concerned;

Termination Notice
g.  That it will file with the bureau of workmen's compensation at Lansing, Michigan, at least 20 days before the taking
    effect of any termination or cancelation of this contract or policy, a notice giving the date at which it is proposed to
    terminate or cancel this contract or policy; and that any termination of this policy shall not be effective as far as the
    employees of the insured employer are concerned until 20 days after notice of proposed termination or cancelation
    is received by the bureau of workmen's compensation;

Conflicting Provisions
h.  That all the provisions of this contract, if any, which are not in harmony with this paragraph are to be construed as
    modified hereby, and all conditions and limitations in the policy, if any, conflicting herewith are hereby made null
    and void."




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective          06/30/2017
   Endorsement Effective     06/30/2017                          Policy No. WD001486                                Endorsement No.
   Insured                                                 DBA BARNED
                             PERSONNEL STAFFING GROUP, LLC OBA BARNETT MANAGEMENT                               .   /J
                                                                                                                    IJ     Premium
                                                                                                                           Prem;um

   Insurance Company       Protective Insurance Company           Countersigned by             ~~
                                                                                              -"~:....-_---:;:....-~--"-          _



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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                             we
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                                                                                                                 (Ed. 1-15)


MICHIGAN
MICHIGAN TERRORISM RISK INSURANCE PROGRAM REAUTHORIZATION ACT DISCLOSURE ENDORSEMENT

This
This endorsement
     endorsement addresses requirements of the Terrorism Risk Insurance Act of 2002 as amended and extended
by
by the
   the Terrorism Risk Insurance Program Reauthorization Act of 2015.


Definitions
Definitions

The
The definitions
     definitions provided in this endorsement are based on and have the same meaning as the definitions in the Act.
If
If words
   words or phrases not defined in this endorsement are defined in the Act, the definitions in the Act will apply.

"Act"
"Act" means
      means the Terrorism Risk Insurance Act of 2002, which took effect on November 26,
                                                                                    26,2002,
                                                                                        2002, and any
amendments
amendments resulting from the Terrorism Risk Insurance Program Reauthorization Act of 2015.

"Act of
"Act of terrorism" means any act that is certified by the Secretary of the Treasury, in consultation with the Secretary
of
of Homeland
   Homeland Security, and the Attorney General of the United States as meeting all of the following requirements:
    a.
    a. The act is an act of terrorism.
    b.
    b. The act is violent or dangerous to human life, property or infrastructure.
    c.
    c. The act resulted in damage within the United States, or outside the United States in the case of the premises of
       United States missions or certain air carriers or vessels.
    d.
    d. The act has been committed by an individual or individuals as part of an effort to coerce the civilian population
       of the United States or to influence the policy or affect the conduct of the United States Government by
       coercion.

"Insured Loss" means any loss resulting from an act of terrorism (including an act of war, in the case of workers
"Insured
compensation) that is covered by primary or excess property and casualty insurance issued by an insurer if the loss
compensation)
occurs in the United States or at the premises of United States missions or to certain air carriers or vessels.
occurs

"Insurer Deductible" means: for the period beginning on January 1,2015,
"Insurer                                                        1, 2015, and ending on December 31, 2020, an
                                                                                                31,2020,
amount equal to 20% of our direct earned premiums during the immediately preceding calendar year.
amount


Limitation
Limitation of Liability

The Act
The Act limits our liability to you under this policy. If aggregate Insured Losses exceed $100,000,000,000 in a
calendar year, and if we have met our Insurer Deductible, we are not liable for the payment of any portion of the
calendar
amount of Insured Losses that exceeds $100,000,000,000;
amount                                      $1 00,000,000,000; and for aggregate Insured Losses up to
$100,000,000,000, we will pay only a pro rata share of such Insured Losses as determined by the Secretary of the
$100,000,000,000,
Treasury.
Treasury.




                                                     Decl. Barnett,
                                                              1 of 2 Ex. D-132

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 443 of 514 Page ID
                                     #:1395
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WC 21 04 02 B                             WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

 (Ed. 1-15)



Policyholder Disclosure Notice

    1. Insured Losses would be partially reimbursed by the United States Government. If the aggregate industry
          Insured Losses exceed:
              a. $100,000,000, with respect to such Insured Losses occurring in calendar year 2015, the United
                  States Government would pay 85% of our Insured Losses that exceed our Insurer Deductible.
              b. $120,000,000, with respect to such Insured Losses occurring in calendar year 2016, the United
                  States Government would pay 84% of our Insured Losses that exceed our Insurer Deductible.
              c. $140,000,000, with respect to such Insured Losses occurring in calendar year 2017, the United
                  States Government would pay 83% of our Insured Losses that exceed our Insurer Deductible.
              d. $160,000,000, with respect to such Insured Losses occurring in calendar year 2018, the United
                  States Government would pay 82% of our Insured Losses that exceed our Insurer Deductible.
              e. $180,000,000, with respect to such Insured Losses occurring in calendar year 2019, the United
                  States Government would pay 8181%
                                                  % of our Insured Losses that exceed our Insurer Deductible.
              f. $200,000,000, with respect to such Insured Losses occurring in calendar year 2020, the United States
                  Government would pay 80% of our Insured Losses that exceed our Insurer Deductible.

    2.    Notwithstanding item 1 above, the United States Government will not make any payment under the Act for any
          portion of Insured Losses that exceed $100,000,000,000.

    3.    The premium charged for the coverage for Insured Losses under this policy is included in the amount shown in
          Item 4 of the Information Page or the Schedule below.


                                                                     Schedule

                              State                                                             Rate per $100 of Remuneration




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                               Policy No. WD001486                    Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANA1~MiNT /                          /J
                                                                                                                 IJ     Premium

   Insurance Company           Protective Insurance Company                Countersigned by ____     _____'1
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 22 00
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                                           MINNESOTA AMENDATORY ENDORSEMENT

This endorsement applies only to the insurance provided because Minnesota is shown in Item 3A
                                                                                           3.A. of the Information Page.




                                        PART TWO-EMPLOYERS LIABILITY INSURANCE



E.    We Will Also Pay is amended to read:

      We will also pay these costs, in addition to other amounts payable under this insurance, as part of any claim, proceeding, or
      suit we defend:

      1.   Reasonable expenses incurred at our request, but not loss of earnings;

      2.   Premiums for bonds to release attachments and for appeal bonds in bond amounts up to the limit of our liability under
           this insurance;

      3.   Litigation costs taxed against you;

      4.   Your share of pre- or postjudgement interest assuming that the principal amount of that judgement is within the
           applicable policy limits under this insurance; and

      5.   Expenses we incur.



H.    Recovery From Others is amended to read:

      Our ability to exercise your rights to recover our payment from anyone liable for injury covered by this insurance does not
      apply if that other person is insured for the same loss by us. This limitation applies only if the loss was caused by the
      non intentional acts of the person against whom subrogation is sought.
      nonintentional



                                                        PART FIVE-PREMIUM



G.    Audit is amended to read:

      You will let us examine and audit all your records that relate to this policy. These records include ledgers, journals, registers,
      vouchers, contracts, tax reports, payroll and disbursement records, and programs for storing and retrieving data.



      We may conduct the audits during regular business hours during the policy period and within three years after the policy
      period ends, except as it pertains to Part Two-Employer's Liability Insurance which shall be one year. Information developed
      by audit will be used to determine final premium. Insurance rate service organizations have the same rights we have under
      this provision.




                                                 Decl. Barnett, Ex. D-134
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 445 of 514 Page ID
                                      #:1397
                                                                     DEFINITIONS




As used in this policy, "rate service organization" shall mean the Minnesota Workers' Compensation Insurers Association, Inc.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective                 06/30/2017
  Endorsement Effective            06/30/2017                            Policy No. WD001486                   Endorsement No.
  Insured                                                                    MAN?G.E~ENT /
                                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MAN?G.E~ENT                     ;J
                                                                                                           /;J         Premium

   Insurance Company             Protective Insurance Company                                  -'<-{,;Uvv1
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                                                                          Countersigned by _ _ _ _____C(--"'--------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
                                                       POLICY·                                           we
                                                                                                         WC 22 06 01 D

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                            MINNESOTA CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided because Minnesota is shown in Item 3.A. of the Information
Page.

Cancellation of a New Policy
If this policy is a new policy and has been in effect for fewer than 90 days, we may cancel for any reason by giving you
notice at least 60 days before the effective date of Cancellation.

Cancellation of Other Policies
If this policy has been in effect for 90 days or more, or if it is a renewal of a policy we issued, we may cancel for one
or more of the following reasons:
1. Nonpayment of premium;
2.   Misrepresentation or fraud made by you or with your knowledge in obtaining the policy or in pursuing a claim
     under the policy;

3. An act or omission by you that substantially increases or changes the risk insured;

4.   Refusal by you to eliminate known conditions that increase the potential for loss after notification by us that the
     condition must be removed;

5.   Substantial change in the risk assumed, except to the extent that we should reasonably have foreseen the change
     or contemplated the risk in writing this policy;

6.   Loss of reinsurance by us which provided coverage to us for a significant amount of the underlying risk insured.
     Any notice of cancellation pursuant to this item shall advise you that you have 10 days from the date of receipt of
     the notice to appeal the cancellation to the commissioner of commerce and that the commissioner will render a
     decision as to whether the cancellation is justified because of the loss of reinsurance within 30 business days after
     receipt of the appeal;

7. A determination by the commissioner that the continuation of the policy could place us in violation of the
     Minnesota insurance laws; or

8.   Nonpayment of dues to an association or organization, other than an insurance association or organization, where
     payment of dues is a prerequisite to your obtaining or continuing this policy. This item shall not apply to persons
     who are retired at 62 years of age or older or who are disabled according to Social Security standards.



If we cancel your policy for any of the reasons listed in (2) through (8), we will give notice at least 60 days before the
effective date of cancellation.

Notice of Cancellation
Any notice of cancellation under this endorsement shall be in writing and shall be sent by first class mail or delivered
to you and any agent, to the last mailing addresses known to us. A cancellation notice for nonpayment of premium
must be sent at least 30 days before the actual date of cancellation and shall state the amount of premium due and
the due date, and shall state the effect of nonpayment by the due date. Cancellation shall not be effective if payment
of the amount due is made prior to the effective date of cancellation in the notice. A cancellation notice for some other
reason shall state the specific reason for cancellation and shall state the effective date of cancellation. The policy will
end on that date.

Refunds Due You
If this policy is canceled, we will send you any premium refund due. If we cancel, the refund will be pro rata. If you
cancel, the refund may be less than pro rata. The cancellation will be effective even if we have not made or offered a
refund.




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Nonrenewal of Your Policy
Any
Any notice of nonrenewal shall be in writing and shall be sent by first class mail, or delivered to you and any agent, to
the
the last mailing addresses known to us, at least 60 days before the expiration date.

We
We need not mail or deliver this nonrenewal notice if you have:
1.      Insured elsewhere;

2.      Accepted replacement coverage; or

3.      Requested or agreed not to renew this policy.

This
This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise
stated.
stated.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         This
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


     Policy Effective
     Policy                     06/30/2017
     Endorsement Effective
     Endorsement                06/30/2017                          Policy No. WD001486                        Endorsement No.
     Insured
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                            IJ
                                                                                                                /}      Premium

     Insurance Company
     Insurance                Protective Insurance Company          Countersigned by            ~cr
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                 Workers' Compensation Insurers Association, Inc.
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      WC 24 o4
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                                     MISSOURI EMPLOYER-PAID MEDICAL ENDORSEMENT

This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.

As a Missouri employer, you have the right, as provided by Section 287.957 of the Revised Statutes of Missouri, to
have medical-only claims that do not exceed 20% of the current primary and excess loss split point amount, as shown
in the Schedule below, excluded from your experience rating modification calculation. This will only be allowed when
you pay all of the employee's medical costs; there is no lost time from the employment, other than the first three days
or less of disability; and no claim is filed. The current primary and excess loss split point amount is provided in the
rating values of NCCI's Experience Rating Plan Manual. You still must report all injuries, regardless of the
dollar amount, to the Division of Workers' Compensation and to us.

However, it should be noted that if, at any time, the medical expenses that are paid out of pocket due to a particular
injury ever exceed 20% of the current primary and excess loss split point amount and/or the employee misses more
than three days from work due to the injury, then this injury must be reported to us as a claim. We will pay the full
amount of the claim, which includes any reimbursements due to you for past medical expenses incurred by you for
this particular claim. As a result, the total amount of losses incurred by us due to this claim will be included in your
experience rating modification calculation.

                                                                    Schedule

20% of the Current Primary and Excess Loss Split Point Amount                                       $16,500
                                                                                                    $16.500




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                   Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          /J
                                                                                                              IJ      Premium

  Insurance Company           Protective Insurance Company                                    ----'Wd<.--
                                                                          Countersigned by _ ____,[;Jd<--- t(--"---------
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                                                       NONRENEWAL
                              MISSOURI CANCELATION AND NON RENEWAL ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Missouri is shown in Item 3.A. of the
Information Page.

The Cancelation Condition of the policy is replaced by the following:

Cancelation
1. You may cancel this policy. You will mail or deliver advance written notice to us, stating when the cancelation is to
   take effect.

2.     We may cancel this policy. We will mail or deliver to you not less than 60 days advance written notice stating
       when the cancelation is to take effect and our reason for cancelation. Proof of mailing of this notice to you at your
       mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

3.     The 60-day notice requirement does not apply where cancelation is based on one or more of the following
       reasons:
       a. nonpayment of premium;
       b. fraud or material misrepresentation affecting the policy or in the presentation of a claim under the policy;
       c. a violation of policy terms;
       d. changes in conditions after the effective date of the policy materially increasing the hazards originally insured;
       e. our insolvency;
       f.  our involuntary loss of reinsurance for the policy.

4.     The policy period will end on the day and hour stated in the cancelation notice.

Non renewal
Nonrenewal
1. We may elect not to renew the policy. We will mail to you not less than 60 days advance written notice stating
   when the nonrenewal will take effect and our reason for nonrenewal. Proof of mailing of this notice to you at your
    mailing address shown in Item 1 of the Information Page will be sufficient to prove notice.

2.     If we fail to provide the notice of nonrenewal as required, the policy will still terminate on its expiration date if:
       a. we show you our willingness to renew the policy but you notify us or the agent or broker who procured this
            policy that you do not want the policy renewed; or
       b. you fail to pay all premiums when due; or
       c. you obtain other insurance as a replacement of the policy.



         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                         Policy No. WD001486                          Endorsement No.
     Insured                                                                          . ;/
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .                                 Premium

     Insurance Company        Protective Insurance Company                          by----'~"-------'(-=--------
                                                                     Countersigned by _ _---'~"----cr-=---    _



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     MISSOURI PROPERTY AND CASUALTY GUARANTY ASSOCIATION NOTIFICATION ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Missouri is shown in Item 3.A. of the
Information
Information Page.

Missouri
Missouri Property and Casualty Insurance Guaranty Association Coverage Limits:
1. Subject
   Subject to the provisions of the Missouri Property and Casualty Insurance Guaranty Association Act (Act), if we
    are
    are a member of the Missouri Property and Casualty Insurance Guaranty Association (Association), the
    Association
    Association will pay claims covered under the Act if we become insolvent.


2. The Act contains various exclusions, conditions and limitations that govern a claimant's eligibility to collect
    payment from the Association and affect the amount of any payment. The following limitation applies subject to all
    other provisions of the Act:
    other
    a.
    a. Claims covered by the Association do not include a claim by or against an insured of an insolvent insurer if
        the insured has a net worth of more than $25 million on the later of the end of the insured's most recent fiscal
        year or the December thirty-first of the year next preceding the date the insurer becomes an insolvent insurer;
        provided that an insured's net worth on such date shall be deemed to include the aggregate net worth of the
        insured and all of its affiliates as calculated on a consolidated basis.

         If the insured prepares an annual report to shareholders, or an annual report to management reflecting net
         worth, then such report for the fiscal year immediately preceding the date of insolvency of the insurer will be
         used to determine net worth.

           However, the association will not:
           (1) Pay an amount in excess of the applicable limit of insurance of the policy from which a claim arises; or
           (2) Return to an insured any unearned premium in excess of $25,000.

           These limitations have no effect on the coverage we will provide under this policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective
 Policy                         06/30/2017
 Endorsement Effective
 Endorsement                    06/30/2017                               Policy No. WD001486                Endorsement No.
 Insured
 Insured                                                      OBA BARNETT MANA:N~
                                PERSONNEL STAFFING GROUP, LLC DBA         MANA::~                                    Prem;um
                                                                                                                     P,em;um

 Insurance Company
 Insurance                    Protective Insurance Company                Countersigned by     ~1:._
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                                             MISSOURI AMENDATORY ENDORSEMENT

This
This endorsement applies because Missouri is shown in Item 3.A. of the Information Page.

Part Five-Premium, Section G. (Audit) of the policy is replaced by the following:
Part

  G.
  G. Audit

You
You will let us examine and audit all your records that relate to this policy during regular business hours during and
after
after the policy period ends. These records include ledgers, journals, registers, vouchers, contracts, tax reports,
payroll
payroll and disbursement records, and programs for storing and retrieving data. Information developed by audit will be
used
used to determine final premium. Insurance rate service organizations have the same rights we have under this
provision.
provision.
Audits
Audits shall be completed, billed, and premiums returned within 120 days of policy expiration or cancellation. This
standard of 120 days shall not be applicable if:
standard
   1.
   1. A delay is caused by your failure to respond to reasonable audit requests provided that the requests are timely
       and adequately documented; or
   2. A delay is by the mutual agreement of you and us provided that the agreement is adequately documented.
     you or we have any objection to the results of any audit, you or we shall have up to three years from the date of
IfIf you
expiration or cancellation of this policy in which to send a written notice demanding a reconsideration of the audit. The
expiration
written
written notice shall be based upon sufficiently clear and specific facts as to why the audit should be reconsidered.
IfIf you
     you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
information as timely and reasonably requested, we may apply an Audit Noncompliance Charge equal to a maximum
information
of
of up up to two times the estimated annual premium. The method for determining the Audit Noncompliance Charge is
shown in the Schedule below.
shown
IfIf you
     you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.
revise
Failure to cooperate with this policy provision may also result in the cancellation of your insurance coverage, as
Failure
specified under the policy and allowed under Missouri law.
specified




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WC                                     #:1404
                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-17)



                                                                   SCHEDULE



                                                                                                  Maximum
                         Basis of Audit                                                  Audit Noncompliance Charge
                     Noncompliance Charge                                                         Mulitplier



                                $14,120                                                               2




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       11
                                                                                                            /J        Premium

  Insurance Company           Protective Insurance Company                                       ...:;.~cr__
                                                                                                 ...::.~
                                                                          Countersigned by _ _ _ _ _ _ _     ~
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  (Ed. 1-17)


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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 25 03 05
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                                                                                                                           (Ed. 7-02)


                               MONTANA INTENTIONAL INJURY EXCLUSION ENDORSEMENT



This endorsement applies only to the insurance provided by the policy because Montana is shown in Item 3.A. of the
Information Page.



Exclusion 5. of Section C. Exclusions of Part Two (Employers Liability Insurance) of the policy is replaced by the
following exclusion:



C.      Exclusions



        This insurance does not cover:



        5.     Bodily injury caused by your intentional, malicious or deliberate act, whether or not the act was intended to
               cause injury to the employee injured, or whether or not you had actual knowledge that an injury was certain
               to occur.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
     Endorsement Effective       06/30/2017                        Policy No. WD001486                          Endorsement No.
     Insured                                                               MANA=~
                                                                   BARNETI MANA=~
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNEn                                       17
                                                                                                                /J      Premium

     Insurance Company         Protective Insurance Company         Countersigned by             ~~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     WC 2s
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                               MONTANA AUDIT NONCOMPLIANCE CHARGE ENDORSEMENT



This
This endorsement applies because Montana is shown in Item 3.A. of the Information Page.

     Five-Premium, Section G. (Audit) of the Workers Compensation and Employers Liability Insurance Policy is
Part Five-Premium,
Part
revised by adding the following:
revised

     you do not allow us to examine and audit all of your records that relate to this policy, and/or do not provide audit
IfIf you
information as requested, we will apply an Audit Noncompliance Charge equal to one times the estimated annual
information
premium.
premium.

IfIf you
     you allow us to examine and audit all of your records after we have applied an Audit Noncompliance Charge, we will
revise your premium in accordance with our manuals and Part 5-Premium, E. (Final Premium) of this policy.
revise

Failure to cooperate with this policy provision may result in the cancellation of your insurance coverage, as specified
Failure
under
under the policy.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                               Policy No. WD001486                 Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                 Premium



  Insurance Company
  Insurance                   Protective Insurance Company                                     ~'------~-------
                                                                                               ~,----t
                                                                          Countersigned by _ _ _              _
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY           WC 2s
                                                                         we 25 06 01                                             sB
                                                                                                                         (Ed. 4-16)


                                             MONTANA AMENDATORY ENDORSEMENT

This endorsement applies because Montana is shown in Item 3.A. of the Information Page.
This
General
General Section, Section C. (Workers Compensation Law) of the policy is changed by adding the following:
The
The provisions of this policy conform to the minimum requirements of Montana law and control over any conflicting
statutes
statutes of any state in which the insured resides on or after the effective date of this policy.
Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:
Part
D.   Cancellation
     1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancellation
        is to take effect.
     2. We may cancel this policy. We will provide you and the Montana Department of Labor and Industry not less
        than 20 days advance written notice stating when the cancellation is to take effect. We will provide the notice
        to you via mail or via electronic delivery in accordance with the Electronic Delivery of Insurance Notices or
        Documents Act (MCA 33-15-601 et seq.). Mailing notice to you at your last known address or delivery via
        electronic means in compliance with the Electronic Delivery of Insurance Notices or Documents Act will be
        sufficient to prove notice.
     3. If this policy has been in effect for 60 days or more, we may cancel only for one of the following reasons:
         a. A nonpayment of premium;
         b. A material misrepresentation;
         c. A substantial change in the risk we assumed under the policy unless it was reasonable for us to foresee
              the change or contemplate the risk when we issued the policy;
         d. A substantial breach of the duties, conditions or warranties under the policy;
         e. The Commissioner has determined that continuation of the policy would place us in violation of the laws
              of Montana;
         f. We are financially impaired; or
         g. Any other reason that is approved by the Commissioner.
     4.     Our notice of cancellation will state our reasons for canceling.
Part Six-Conditions of the policy is changed by adding the following:
Part

F.    Nonrenewal
      1. We may elect not to renew. We will provide you and your agent not less than 45 days advance written notice
            stating our intention not to renew this policy. We will provide the notice to you via mail or via electronic
            delivery in accordance with the Electronic Delivery of Insurance Notices or Documents Act. Mailing notice to
            you at your last known address or delivery via electronic means in compliance with the Electronic Delivery of
            Insurance Notices or Documents Act will be sufficient to prove notice.
      2.    We do not have to renew the policy if you are insured elsewhere, accept replacement insurance, or request
            or agree to nonrenewal, or if the policy is expressly designated as being nonrenewable.
      3.    Our notice of nonrenewal will state our reasons for not renewing.

      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                               Policy No. WD001486                Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                           IJ        Premium

  Insurance Company
  Insurance                   Protective Insurance Company                               by----=-~
                                                                          Countersigned by    .:....~
                                                                                               ____''f( _ _ _ _ _ ___
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we 25 06 02
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                                                 MONTANA SAFETY ENDORSEMENT

This endorsement applies only to the insurance provided by the Policy because insurance is provided to you in
Montana.

You must establish and administer an education-based safety program for all employees including temporary workers.
The program shall consist of a safety training program which includes new employee general safety orientation, job- or
task-specific safety training, and continuous refresher safety training encompassing periodic safety meetings. The
education-based safety program will also include periodic hazard assessments, with corrective actions identified, and
appropriate documentation of performance of the activities.

If you have more than five employees, then you must have a comprehensive and effective safety program which has a
safety committee, established procedures for reporting and investigating all work-related incidents, accidents, injuries,
and illnesses, and established procedures that assign specific safety responsibilities and safety performance
accountability.

We must provide safety consultation services to you which include consideration of the hazard, experience, and the
size of your operations. We will notify you of the type of safety consultation services available and the location where
the safety consultation services may be requested. If we furnish or fail to furnish safety consultation services related
to, in connection with, or incidental to providing workers compensation, we are not responsible for damages from any
injury, loss, or death occurring as a result of any act or omission by us, our employees or our service contractors in the
course of providing safety consultation services to you.

However, we may be responsible for any safety consultation services required to be performed under the provisions of
a written service contract for which a specific charge is made and not incidental to a policy of insurance; for damages
caused by our actions or omission to act in which it was judicially determined that the act or omission constituted a
crime or involved actual malice; or if the injury, loss, or death occurred during the actual performance of safety
consultation services and was directly and proximately caused by us.




                                         .
       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                           IJ         Premium

  Insurance Company           Protective Insurance Company                          -----'~o.__
                                                                 Countersigned by _ _  ---'~O--'f--=--------
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
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                              NEBRASKA CANCELATION AND NONRENEWAL ENDORSEMENT

1.
1.      You may cancel this policy within the policy period by giving notice to us, fixing the date on which the cancelation
        is to be effective.

2.
2.      The notice, from you, is to be sent by certified mail.

3.
3.      We are required by Nebraska Law to give notice of your intent to cancel a policy to the Nebraska Workers'
        Compensation Court.

4.
4.      The
        The cancelation shall not be effective until ten (10)   (1 0) days after we give notice to the Nebraska Workers'
        Compensation Court that the policy is being canceled. However, if you have secured insurance with another
        insurer,
        insurer, the cancelation will be effective as of the effective date of such other notice of coverage.

5.
5.      We may cancel or nonrenew this policy within the policy period by giving notice to you and to the Nebraska
        Workers' Compensation Court, fixing the date on which the cancelation or nonrenewal is to be effective.

6.
6.       The notice from us will contain a brief statement of the reasons for cancelation or nonrenewal and will be sent to
         you by certified mail.

7.
7.       The nonrenewal shall not be effective until thirty (30) days after the giving of notice to you and to the Nebraska
         Workers' Compensation Court.

8.
8.       The cancelation shall not be effective until thirty (30) days after the giving of notice to you and to the Nebraska
         Workers' Compensation Court, except the cancelation shall be effective ten (1        0) days after the giving of the
                                                                                            (10)
                                            on·:
         notice if the cancelation is based on':
         a. nonpayment of premiums;
         b. failure of the insured to reimburse deductible losses as required under the policy; or
         c. failure of the insured, if covered pursuant to the Assigned Risk Plan, to comply with workplace safety laws
              found in Nebraska statutes.

9.
9.       All notices shall be provided in writing and shall be deemed given upon mailing by certified mail, except that we
         may give notice to the Nebraska Workers' Compensation Court by approved electronic means. Notice provided
         to the Nebraska Workers' Compensation Court by approved electronic means shall be deemed given upon
          receipt.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
        (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
        (The


     Policy Effective
     Policy                     06/30/2017
     Endorsement Effective
     Endorsement                 06/30/2017                       Policy No. WD001486                          Endorsement No.
     Insured
     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MAN~GE~ENT/                        /J
                                                                                                              IJ        Premium

     Insurance Company
     Insurance                Protective Insurance Company         Countersigned by _ ________,l;Vv-1o._
                                                                                               ____
                                                                                       ------'{;Vv-1o..- ·t(.:.._
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                             we 27 os
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                              NEVADA CANCELLATION AND NONRENEWAL ENDORSEMENT

This endorsement applies to the insurance provided by this policy, because Nevada is shown in Item 3.A. of the
Information Page.
Part Six-Conditions, D. Cancellation of the policy is replaced by the following:
A.    Midterm Cancellation
      1. You may cancel this policy by mailing or delivering advance written notice to us stating when the cancellation is
            to take effect.
      2.    We will provide you not less than 10 days notice if this policy is cancelled because you failed to pay a premium or
            remit an amount due because of an endorsement for a deductible when due.
      3.    We will provide you not less than 30 days notice for any other cancellation reason permitted under Nevada law,
            including failure to pay additional premium charged due to an audit of any payroll under the terms of the current
            or previous policy.
      4.    No policy of industrial insurance that has been in effect for at least 70 days or that has been renewed may be
            cancelled, except on anyone
                                    any one of the following grounds:
            a. A failure by the policyholder to pay a premium for the policy of industrial insurance when due, including the
                 failure of the policyholder to remit an amount due because of an endorsement for a deductible;
            b.    A failure by the policyholder to:
                  ( 1) Report any payroll;
                  (1)
                (2) Allow the insurer to audit any payroll in accordance with the terms of the policy or any previous policy
                     issued by the insurer; or
                (3) Pay any additional premium charged because of an audit of any payroll as required
                                                                                                    reqUired by the terms of the
                     policy or any previous policy issued by the insurer;
           c. A material failure by the policyholder to comply with any federal or state order concerning safety or any
                written recommendation of the insurer's designated representative for loss prevention;
           d. A material change in ownership of the policyholder or any change in the policyholder's business or
                operations that:
                (1) Materially increases the hazard for frequency or severity of loss;
                (2) Requires additional or different classifications for the calculation of premiums; or
                (3) Contemplates an activity that is excluded by any reinsurance treaty of the insurer;
           e. A material misrepresentation made by the policyholder; or
           f.   A failure by the policyholder to cooperate with the insurer in conducting an investigation of a claim.
      5. We cannot cancel the policy when the referenced reasons are corrected by you within the time specified in the
           written notice of cancellation.
B.    Nonrenewal
      1. We may elect not to renew the policy. We will provide to you a written notice of our intention not to renew at least
           60 days before the expiration date.
      2. We need not provide notice of our intention not to renew if you have accepted replacement coverage, if you have
           requested or agreed to nonrenewal, or if the policy is expressly designated as nonrenewable.
C.    Information About Claims Paid
      1. If you request information for the renewal of the policy, we will provide you with information regarding claims paid
           on your behalf.
      2. We will provide the information within 30 working days after we receive your written request. We may charge a
            reasonable fee for providing the information.
D.    Notices
      1.   We will provide advance written notice of cancellation or nonrenewal as provided
                                                                                         prOVided in A and B above. This notice
           must be served personally on or sent by first-class mail or electronic transmission to the employer.
      2. Notices will state the effective date of the cancellation or nonrenewal and will be accompanied by a written
            explanation of the specific reasons for the cancellation or nonrenewal.
      3. A written notice of cancellation is not required if we mutually agree with you to cancel the policy and reissue a
            new policy based upon a material change in the ownership or operation of your business.




                                                  Decl. Barnett,
                                                            1 of 2 Ex. D-148

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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 459 of 514 Page ID
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E.      Compliance With Law
        1. Any of these provisions that conflict with a law that controls the cancellation or renewal or nonrenewal of the
           insurance in this policy is changed by this statement to comply with the law.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective            06/30/2017
     Endorsement Effective       06/30/2017                              Policy No. WD001486                    Endorsement No.
     Insured                                                       BARNETT M
                                                           LLC DBA BARNEn
                                 PERSONNEL STAFFING GROUP, LLe                A N A ~ Premium
                                                                           MANAGEMENT                             /J
     Insurance Company           Protective Insurance Company              Countersigned by     ~
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     (Ed.10-08)

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 460 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 28
                                                                                                                    WC 2a 06 04

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                                      NEW HAMPSHIRE AMENDATORY ENDORSEMENT

This endorsement applies only to the New Hampshire coverage provided by the policy because New Hampshire is
shown in Item 3.A. of the Information Page.

For New Hampshire coverage, the Cancelation condition of the policy is amended and replaced by:

1. You may cancel this policy. You must mail or deliver advance written notice to us.

2. We may cancel this policy. We will file a written termination notice with the Commissioner of the Department of
   Labor and will send a copy to you.

3. In case of nonpayment of premium, the cancelation will take effect 30 days after the termination notice is filed.

4. In case of cancelation for reasons other than nonpayment of premium, cancelation will take effect 45 days after the
    notice of termination is filed.

5. If you have obtained coverage from another insurance carrier or have qualified as a self-insurer, cancelation is
    effective on the date you obtained the coverage or qualified as a self-insurer.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective             06/30/2017
  Endorsement Effective        06/30/2017                       Policy No. WD001486                          Endorsement No.
  Insured                                                                MAN~G~E~ENT/
                               PERSONNEL STAFFING GROUP, LLC DBA BARNETT MAN~G~EM/NT/                       /J
                                                                                                            IJ       Premium

  Insurance Company          Protective Insurance Company                       by---"'-~
                                                                 Countersigned by    ",-~  {_cr--,,-   _
                                                                                      _ _ _{_'(---"-------



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                                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY



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                              NEW JERSEY PART TWO LIMIT OF LIABILITY ENDORSEMENT


This
This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because New
Jersey is shown in Item 3.A. of the Information Page.
Jersey

     With respect to Exclusion C5, this insurance does not cover any and all intentional wrongs within the exception
     allowed by N.J.S.A. 34:15-8 inclUding
                                    including but not limited to, bodily injury caused or aggravated by an intentional
     wrong committed by you or your employees, or bodily injury resulting from an act or omission by you or your
     employees, which is substantially certain to result in injury.
     With respect to Exclusion C7, we will defend any claim, proceeding or suit for damages where bodily injury is
     alleged. We have the right to investigate and settle. We will not defend or continue to defend after the applicable
     limits of insurance have been paid. Such policy limits include any legal costs assessed against you on behalf of
     your employee(s).
     We may not limit our liability to pay damages for which we become legally liable to pay because of bodily injury to
     an infant under the age of 18 years in a proceeding made pursuant to Article 2 as provided in N.J.S.A. 34:15-10.
     This insurance does not provide for the payment of any common law negligence damages or other damages
     when the provisions of Article 2 of the New Jersey Workers Compensation Law have been rejected by you and
     your employee(s) as provided in N.J.S.A. 34:15-9.
     With respect to paragraph F., the "Other Insurance" provisions is replaced with the following:
            F. Other Insurance
               We will not pay more than our share of damages and costs covered by this insurance and other
               insurance or self-insurance. Subject to any limits of liability that apply, all shares will be equal until the
               loss is paid. If any insurance or self-insurance is exhausted, the shares of all remaining insurance and
               self-insurance will be equal until the loss is paid.
               This insurance, however, is excess over any other applicable insurance with respect to claims for bodily
               injury arising out of employer practices, policies, acts or omissions enumerated in C-7 above, whether
               such other insurance is stated to be primary, contributory, excess, contingent or otherwise.




     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     This
   (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
   (The


  Policy Effective
  Policy                       06/30/2017
  Endorsement Effective
  Endorsement                  06/30/2017                       Policy No. WD001486                          Endorsement No.
  Insured
  Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J
                                                                                                            IJ       Premium

  Insurance Company
  Insurance                 . Protective Insurance Company       Countersigned by            ~cr          '('

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©              Rating and
  Compensation Rating and Inspection Bureau
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 29 0411 D
                                                                                                                      WC

                                                        Effective January 1, 2017



                             NEW JERSEY PREMIUM DISCOUNT ENDORSEMENT SCHEDULE Y


The New Jersey premium for this policy and the policies, if any, listed in Item 2 of the Schedule may be eligible for a
discount. This endorsement shows the discount rates in Item 1 of the Schedule. The final calculation of premium
discount will be determined by our Manual and your New Jersey standard premium as determined by audit.
In certain cases where New Jersey retrospective rating applies, all of the premium may not be subject to retrospective
rating. In such cases:
So much of the New Jersey Standard Premium as is subject to retrospective rating shall not be subject to discount.
                 subject to discount and the discount is calculated as follows:
The remainder is sUbject

        (a) Determine the discount as though none of the standard premium is subject to retrospective rating.

        (b) Determine the discount as though only the premium subject to retrospective rating is discounted.

        (c) The difference between (a) and (b) is the applicable premium discount.


                                                               Schedule


1.
        Premium Discount. The first $10,000 of the Standard Premium shall be charged in full without discount, the next
        $190,000 shall be subject to a discount of 9.6%, the next $1,550,000 shall be subject to a discount of 11.8%, and
        the remainder shall be subject to a discount of 12.5%.

2.      Other policies:




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          06/30/2017
     Endorsement Effective     06/30/2017                          Policy No. WD001486                          Endorsement No.
     Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        /J
                                                                                                           iJ           Premium

     Insurance Company       Protective Insurance Company                             ----'~'------1'-=-----------
                                                                                          ~'-- cr-=---
                                                                    Countersigned by _ _......                 _


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© Compensation Rating and Inspection Bureau
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                                       #:1415

                         WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
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          NEW JERSEY LARGE RISK-LARGE DEDUCTIBLE ENDORSEMENT
1.
1. This endorsement applies to the insurance provided                    than retiring from business, the aggregate
   by:                                                                   deductible amount will not be reduced.
   Part One (Workers' Compensation Insurance) Part                   (d) If this policy is issued for a term of less than one
   Two (Employers' Liability Insurance) and Part Three                   year, the aggregate deductible amount will not be
   (Other States Insurance)                                              reduced.
2. This endorsement applies between you and us. It does          Effect of Deductible on Limits of Liability
   not affect the rights of others under the policy. Nor does    7. The applicable limits of liability as respects Part Two
   it change our obligations under Part One, Part Two or             (Employers' Liability Insurance) are subject to
   Part Three of the policy, except as otherwise stated in           reduction by the application of the loss reimbursement
   this endorsement.                                                 amount(s) applicable to any claim for accident or
3. In consideration of a reduced premium you have                    disease covered by this policy. In the event of a claim,
   agreed to reimburse us up to the deductible amounts               our obligation to pay is the amount available for
   stated in the Schedule at the end of this endorsement             benefits or damages that remains after the application
   for all payments legally required, including allocated            of the specific loss reimbursement amount. The
   loss adjustment expense which arises out of any claim             payment of loss adjustment expense, where such
   or suit we defend, where you elect to include such                expense is elected by you, will not affect the limits of
   expense.                                                          liability.
4. We will remain responsible for the full payment of all        Allocated Loss Adjustment Expense
    claims under this policy without regard to your ability or   8. Allocated loss adjustment expense, which is electible
    intention to reimburse us for the deductible amounts.            by you, means claim expenses directly allocated by us
    The contract of insurance shall be fully enforceable by          to a particular claim. Such expense shall not include
    your employees or their dependents against us in                 cost of investigation or the salaries and traveling
    accordance with NJSA 34:15-83.                                   expenses of our employees other than those salaried
Deductible-Each Occurrence/Each Claim                                employees who perform services which can be directly
5. The deductible amount stated in the Schedule is the               allocated to the handling of a particular claim.
   most you must reimburse us for indemnity and medical          Recovery From Others
   benefits and damages combined, including allocated            9. If we recover any payments made under this policy
   loss adjustment expense if elected by you, for bodily             from anyone liable for the injury, the amount we
   injury to one or more employees as the result of any               recover will be applied as follows:
   one accident or for disablement of one employee due
                                                                      (a) First, to any payments made by us in excess of the
   to bodily injury by disease.
                                                                           deductible amount and
Deductible-Policy Aggregate
                                                                      (b) Then the remainder, if any, will be applied to
6. The amount stated in the Schedule as aggregate is the                   reduce the deductible amount reimbursable by
   most you must reimburse us for the sum of all                           you.
   indemnity and medical benefits, damages, and
                                                                 Cancellation
   allocated loss adjustment expense if elected by you,
    because of bodily injury by accident or bodily injury by     10. If you fail to reimburse us for any amounts as required
   disease for the policy period.                                     by this endorsement, we may cancel this policy for
                                                                      nonpayment in accordance with the provisions of
   (a) If we cancel the policy, the aggregate amount
                                                                      statute. We will remain fully responsible for the full
        stated in the Schedule will be reduced to a pro rata
                                                                      amount of all claims incurred prior to the effective date
        amount based on the time this policy was in force.
                                                                      of cancellation.
    (b) If you cancel the policy as a result of your retiring
                                                                 Sole Representation
        from business, the aggregate deductible amount
        will be reduced to a pro rata amount based on the        11. The first Named Insured stated in the Information Page
        time this policy was in force.                                will act on behalf of all the named insureds with respect
                                                                      to:
   (c) If you cancel the policy for any reason other
                                                                      (a) Changes to this endorsement
                                                                      (b) Obligations to receive premiums




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WC29
                                            Decl. Barnett, Ex. D-153                                        Page 1 of 2
     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 464 of 514 Page ID
                                       #:1416

    (c) Giving or receiving notice of cancellation.                   which govern the following items, apply irrespective of
Your Duties and Understandings                                        this deductible endorsement:
12.
12. All bodily injuries by accident or disease for which you          (a) Our right and duty to defend any claim, proceeding
    are responsible shall be promptly reported to us for                   or suit against you and
    adjustment and payment, regardless of their severity or           (b) Your duties if injury occurs.
    cost. You further understand that all such bodily             Additional Charges
    injuries and their cost shall be included in experience
                                                                  14. The surcharges for the Second Injury Fund and
    data used to determine the experience rating for your
                                                                      Uninsured Employers Fund and the premium charge
    policy, regardless of the eligibility of such claims for full
                                                                      for the expense constant are not part of the Large
    or partial reimbursement under the deductible
    provisions of this policy.                                        Risk-Large Deductible Program but are included in
                                                                      the total cost of the coverage provided by the policy to
Other Rights and Duties                                               which this endorsement is attached.
13.
13. All other terms of the policy, including those
                                                            SCHEDULE
                  Coverage                                                                         Deductible Amount Basis

                  Bodily Injury By Accident                                                        $500,000             each accident

                  Bodily Injury By Disease                                                         $500,000             each employee

                  All Covered Bodily Injury                                                                 $ None        aggregate
                                                                                                   (Dollar Amount or "None")

This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a different
date is indicated below.
         (The
         (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)
                                                                                                                                   policy.)

This endorsement, effective on                         06/30/2017                    at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.             WD001486

of the                 Protective Insurance Company
                       (NAME OF INSURANCE COMPANY)

issued to              PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                              IJ
                                                                                                         /J     .

Premium (if any) $ Inc/.
                   Incl.                                                                          ~'f
                                                                                                  (;}vv(cr
                                                                                            Authorized Representative




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         01 A                                     Decl. Barnett, Ex. D-154                                                      Page 22 of2
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 465 of 514 Page ID
                                      #:1417
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 30 03
                                                                                                                     WC    o3 01
                                                                                                                         (Ed. 4-84)

                                 NEW MEXICO SAFETY DEVICE COVERAGE ENDORSEMENT

Section 52-1-10 of the New Mexico Workers' Compensation Law may make you liable for the payment of additional
benefits in the case of bodily injury to employees resulting from your failure to supply safety devices. The benefits
payable under Part One (Workers Compensation Insurance) includes these additional benefits.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                       Policy No. WD001486                          Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                     /J
                                                                                                          IJ          Premium

  Insurance Company           Protective Insurance Company                          ----'~'------'C(,__
                                                                  Countersigned by _ _   --'~'---'cr'--________
  we 300301
     30 03 01
  (Ed. 4-84)
                                                  Decl. Barnett, Ex. D-155
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 466 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we 30
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                            NEW MEXICO CANCELLATION AND NON RENEWAL ENDORSEMENT

This endorsement applies to the insurance provided by the policy because New Mexico is shown in Item 3.A. of the
Information Page.

Part Six-Conditions, Section D. Cancellation of the policy is replaced by the follOWing:
                                                                              following:

D. Cancellation
1. You may cancel this policy by giving us advance written notice stating when the cancellation is to take effect.
2. At any time during the policy period, regardless of the number of days the policy has been in effect, we may cancel
    this policy for nonpayment of premium when due. We must give written notice to you at least 10 days prior to the
   effective date of the cancellation.
3. If the policy has been in effect less than 60 days and is not a renewal policy, we may cancel this policy without cause
                                             10 days prior to the effective date of the cancellation. The cancellation effective
   by giving written notice to you at least 10
   date must fall within this period of less than 60 days.
4. Subject to Subsection 2 above, if the policy has been in effect for 60 days or more or is a renewal, we may cancel this
   policy only for one or more of the following reasons:
   a. The policy was obtained through material misrepresentation, fraudulent statements, omissions or concealment
        of fact material to the acceptance of the risk or to the hazard assumed by us. We must give written notice to you
         at least 15 days prior to the effective date of cancellation.
   b. Willful and negligent acts or omissions by you have substantially increased the hazards insured against. We
         must give written notice to you at least 15 days prior to the effective date of cancellation.
   c. You presented a claim based on fraud or material misrepresentation. We must give written notice to you at least
         15 days prior to the effective date of cancellation.
   d. There has been a substantial change in the risk assumed by us since the policy was issued. We must give written
         notice to you at least 30 days prior to the effective date of cancellation.
   e. Revocation or suspension of driver's license of the named insured or other operator who either resides in the
         same household or customarily operates the vehicle. We must give written notice to you at least 15 days prior to
         the effective date of cancellation.
5. We will give the required Notice of Cancellation stating the reason(s) for cancellation before the cancellation is
   effective. The notice will state the time that the cancellation is to take effect. The written notice of cancellation will be
    sent to your last address of record with us.

Part Six- Conditions of the policy is changed by adding the following:
F. Nonrenewal

1. If we decide not to renew this policy, we must give you written notice of our intention at least 30 days prior to the
     expiration of the policy. The written notice of nonrenewal will be sent to your last address of record with us.
2. This nonrenewal section does not apply to any policy of insurance issued to an insured that has its principal place of
     business outside the state of New Mexico.


       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                               Policy No. WD001486                Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                           IJ         Premium

  Insurance Company            Protective Insurance Company                Countersigned by   ----~----1'
                                                                                                  ~cr   ________
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                                                   Decl. Barnett, Ex. D-156
  (Ed. 3-15)

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 467 of 514 Page ID
                                     #:1419
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we
                                                                                                                     WC 31 03 oa
                                                                                                                        310308

                                                                                                                        (Ed. 4-84)

                                    NEW YORK LIMIT OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because New
York is shown in Item 3.A. of the Information Page.

We may not limit our liability to pay damages for which we become legally liable to pay because of bodily injury to your
employees if the bodily injury arises out of and in the course of employment that is subject to and is compensable
under the Workers' Compensation Law of New York.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective           06/30/2017
   Endorsement Effective      06/30/2017                         Policy No. WD001486                          Endorsement No.
   Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANA:'EMOOIJ
                                                                        MANAGEMENT   Premium                    /J
   Insurance Company        Protective Insurance Company          Countersigned by            ~
   we 310308
   WC   31 03 oa
   (Ed. 4-84)
                                            Decl. Barnett, Ex. D-157
    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 468 of 514 Page ID
                                      #:1420
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we
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                NEW YORK CONSTRUCTION CLASSIFICATION PREMIUM ADJUSTMENT PROGRAM
                                   EXPLANATORY ENDORSEMENT

The New York Construction Classification Premium Adjustment Program (NYCCPAP) allows premium credits for
some employers in the construction industry. These credits exist to recognize the difference in wage rates between
employers within the same construction industries in New York.
The declarations section of this policy will show a credit of 0.00% if you are not eligible for this credit, or if you are
eligible for this credit and have not yet applied for a credit. Credits are earned for average wages in excess of $23.24
per hour for each eligible class. If your policy shows one of the following classification codes, and you are experience
rated, you are eligible to apply for an NYCCPAP credit:
            0042        5057        5193        5429       5491   5606    6003       6229       6325      9526
            3365        5059        5213        5443       5506   5610    6005       6233       6400      9527
            3724        5069        5221        5445       5507   5645    6017       6235       6701      9534
            3726        5102        5222        5462       5508   5648    6018       6251       7536      9539
            3737        5160        5223        5473       5536   5651    6045       6252       7538      9545
            5000        5183        5348        5474       5538   5701    6204       6260       7601      9549
            5022        5184        5402        5479       5545   5703    6216       6306       7855      9553
            5037        5188        5403        5480       5547   5709    6217       6319       8227
            5040        5190        5428
The basis for determining the credit is the limited payroll of each employee for the number of hours worked (excluding
overtime premium pay) for each construction classification (other than employees engaged in the construction of one
or two-family residential housing) for the third quarter, as reported to taxing authorities, for the year preceding the
policy date. Total payroll is to continue to be reported for employees engaged in the construction of one or two-family
residential housing. For example:
                                        Policy Inception Date        Third Quarter Payroll

                                          4/1/14 thru   3/31/15               2013
                                          4/1/15 thru   3/31/16               2014
                                          4/1/16 thru   3/31/17               2015
                                          4/1/17 thru   3/31/18               2016
                                          4/1/18 thru   3/31/19               2017
                                          4/1/19 thru   3/31/20               2018
If you have any eligible classes on your policy, you should have been notified by your insurance carrier or the New
York Compensation Insurance Rating Board approximately four months prior to the inception date of this policy. If you
believe you may be eligible for a credit and have not received an application, you should immediately contact your
agent, insurance carrier, or the New York Compensation Insurance Rating Board.
Credits are calculated by the New York Compensation Insurance Rating Board. You must submit a completed
application to: Attention: Field Services Department, New York Compensation Insurance Rating Board, 733 Third
Avenue, New York, New NewYork
                           York 10017.
Applications must be received by the Rating Board three (3) months prior to the policy renewal effective date. The
Rating Board will accept and process an application if it is received between the policy effective and expiration date,
however, it must be accompanied by a letter stating the reason for the delay. Under no circumstances will an
application be accepted for any policy if it is received after the expiration date of the policy. For short-term policies the
application must be received prior to the expiration date of the short-term policy. If it is received after the policy
expiration, no credit will be calculated.
The New York Workers Compensation and Employers Liability Insurance Manual, and not this endorsement, govern
the implementation and use of the NYCCPAP.
For online entry of the information requested on this form refer to http://www.nycirb.org/cpap




                                                Decl. Barnett,    Ex. D-158
                                                         Page 1 of2


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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 469 of 514 Page ID
                                     #:1421
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we 310319
                                                                                                                  WC 31 0319 H




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


 Policy Effective             06/30/2017
 Endorsement Effective        06/30/2017                       Policy No. WD001486                          Endorsement No.
 Insured                                                LLC DBA BARNETT MANAGE:NTIJ
                              PERSONNEL STAFFING GROUP, LLe             MANAGE:NT/J                                  Premium

 Insurance Company          Protective Insurance Company        Countersigned by _ _     ___,~.__
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                                                                                              -=---_cr""--
                                                                                              .::....__C(_,.___ _ _ _ _ ___
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                                                Decl. Barnett,
                                                         Page 2 of2
                                                                   Ex. D-159
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 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 470 of 514 Page ID
                                   #:1422
NEW YORK WORKERS COMPENSATION AND                                                                                   WC31 0618
                                                                                                                    WC310618
EMPLOYERS LIABILITY MANUAL
Original Printing              Effective March 1, 2015

                                         NEW YORK WORKERS COMPENSATION
                                       POLICYHOLDER NOTICE OF RIGHT TO APPEAL


Policyholder Disputes

Policyholders are entitled to inquire, challenge and dispute issues relating to classification, ownership, premium auditing,
and/or other New York Compensation Insurance Rating Board (NYCIRB) rulings or decisions pertaining to this policy.
Please refer to the Employer's Appeal Process noted below.

Inquiries may also be directed to the New York State Department of Financial Services (DFS) at:
                                 http://www.dfs.ny.gov/about/contactus.htm#consumer
     or by calling the Consumer Hotline at 800- 342
                                                 342-- 3736 (Monday through Friday, 8:30AM
                                                                                    8:30 AM to 4:30 PM).

Policyholder Right to Appeal

An insured, or its representative, (hereafter referred to as "insured"), may appeal the application of a rule or procedure
contained in the NY Workers Compensation & Employers Liability Manual. Rules or procedures are defined as those
determinations, either by a carrier or the Rating Board, which define the variables which makeup the policy conditions.
Examples include: classification codes, ownership information, premium audits, and any other determination which may
affect the policy.

To be considered for review, a written request explaining the reason(s) for the appeal must be submitted to the Rating
Board. Upon receipt of the request for review, the following actions will be taken:

    1.     A staff member will review the request and respond to the insured within sixty (60) days, in writing, acknowledging
           receipt of the request, granting the insured its request or sustaining its original ruling.

    2.     The insured, if not satisfied with the outcome in 1. above, may then request, in writing, a conference with members
           of the Rating Board staff. The request must state the nature of the complaint and contain any supporting
           documents. The appropriate Department Vice President or his or her designated representative, if appropriate, will
           preside at the conference.
    3.     If the dispute is not resolved at the conference, the insured may then appeal to the Underwriting Committee of the
           Rating Board for a hearing to consider the staff ruling. This appeal must be in writing and must specify the
           reason(s) for the appeal and the nature of the complaint.
           Following, receipt of the appeal, the insured will be notified regarding the time and place for the hearing. The
           appeal will be heard at the next Underwriting Committee meeting for which appropriate time can be given for this
           matter. Subsequent to the hearing, the insured will be advised, in writing, of the Underwriting Committee decision
           regarding its complaint.
    4.     If the Underwriting Committee ruling is not satisfactory to the insured, the insured may then request a hearing at
           the New York State Department of Financial Services to consider the decision of the Rating Board's Underwriting
           Committee.
    5.     The New York State Department of Financial Services decision may be appealed to a higher court, by either the
           insured or the Rating Board

      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



 Policy Effective             06/30/2017
 Endorsement Effective        06/30/2017                       Policy No. WD001486                            Endorsement No.
 Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        .   IJ
                                                                                                              ;J     Premium

 Insurance Company          Protective Insurance Company        Countersigned by            W4cr
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 (Ed. 3-15)

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           York Compensation Insurance Rating Board
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 471 of 514 Page ID
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WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                we    03 01 c
                                                                                                             WC 32 o3    C

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                                 NORTH CAROLINA AMENDED COVERAGE ENDORSEMENT

This
This endorsement
      endorsement applies only to the insurance provided by the policy because North Carolina is shown in Item 3.A. of
the
the Information
    Information Page.

The Cancellation
The Cancellation Condition of the policy is replaced by this Condition:


D.
D. Cancellation
   Cancellation and Nonrenewal
   1. You may cancel this policy.
      If you cancel this policy, you must mail or deliver advance written notice to us stating when the cancellation is to
      take effect.
   2. We may cancel this policy.
      (a) If this policy has been in effect for fewer than 60 days and is not a renewal policy, we may cancel this policy
           for any reason by giving you at least 30 days prior written notice of cancellation and the reasons for
           cancellation by registered or certified mail, return receipt requested.
      (b) If this policy has been in effect for at least 60 days or is a renewal policy, we may not cancel this policy
           without your prior written consent, except for anyone
                                                            any one of the following reasons:
              (1) Nonpayment of premium in accordance with the policy terms.
               (2) An act or omission by you or your representative that constitutes material misrepresentation or
                   nondisclosure of a material fact in obtaining the policy, continuing the policy, or presenting a claim
                   under the policy.
               (3) Increased hazard or material change in the risk assumed that could not have been reasonably
                   contemplated by you and us at the time of assumption of the risk.
               (4) Substantial breach of contractual duties, conditions, or warranties that materially affects the insurability
                   of the risk.
               (5) A fraudulent act against us by you or your representative that materially affects the insurability of the
                   risk.
               (6) Willful failure by you or your representative to institute reasonable loss control measures that materially
                   affect the insurability of the risk after written notice by us.
               (7) Loss of facultative reinsurance or loss of or substantial changes in applicable reinsurance as provided
                   in G.S. 58-41-30.
               (8) Your conviction of a crime arising out of acts that materially affect the insurability of the risk.
               (9) A determination by the Commissioner that the continuation of this policy would place us in violation of
                   the laws of North Carolina.
               (1 0) You fail to meet the requirements contained in our corporate charter, articles of incorporation, or
               (10)
                    bylaws, when we are a company organized for the sole purpose of providing members of an
                    organization with insurance coverage in North Carolina.
          (c) If we cancel for any of the reasons listed in paragraph (b), we must provide you with at least 15 days prior
              written notice of cancellation stating the precise reason for cancellation. We may provide this notice by
              registered or certified mail, return receipt requested, to you and any other person designated in the policy to
              receive notice of cancellation at the addresses shown in the policy or, if not indicated in the policy, at the
              last known addresses. Whenever notice of cancellation is given by registered or certified mail, cancellation
              will not be effective unless and until that method is employed and completed. Notice of cancellation may
              also be given by any method permitted for service of process pursuant to Rule 4 of the North Carolina Rules
              of Civil Procedure. Failure to send notice as provided in this paragraph to any other person designated in
              the policy to receive notice of cancellation invalidates the cancellation only as to that other person's interest.




                                                                        1 of 2

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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 472 of 514 Page ID
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WC                                      WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 1-14)




       (d) Cancellation for nonpayment of premium is not effective if the amount due is paid before the effective date
            stated in the notice of cancellation.
    3. We may refuse to renew this policy:
       (a) If this policy is for a term of one year or less, we must provide you with notice of nonrenewal at least 45
            days prior to the expiration date of the policy.
       (b) If this policy is for a term of more than one year or for an indefinite term, then to nonrenew the policy at the
                                                provide you with notice of nonrenewal at least 45 days prior to the
            policy anniversary date we must provide
            anniversary date of the policy.
       (c) The notice of nonrenewal must state the precise reason for nonrenewal. Failure to send this notice, as
            provided in paragraphs 3 and 5, to any other person designated in the policy to receive this notice
            invalidates the nonrenewal only as to that other person's interest.
       (d) Any nonrenewal attempted or made that is not in compliance with paragraphs (a), (b) and (c) is not
            effective. Paragraphs (a), (b) and (c) do not apply if you have obtained insurance elsewhere, have
            accepted replacement coverage, or have requested or agreed to nonrenewal.
    4. Whenever we lower coverage limits, raise deductibles, or raise premium rates for reasons within our exclusive
       control and other than at your request, we will mail you written notice of the change at least 30 days in
       advance of the effective date of the change. As used in this paragraph, the phrase, "reasons within our
       exclusive control" does not mean experience modification changes, exposure changes, or loss cost rate
       changes.
    5. We must provide the notice required by paragraphs 3 and 4 by mail to you and any other person designated in
            policy to receive this notice at the addresses shown in the policy or, if not indicated in the policy, at the last
       the policy
       known addresses. Mailing copies of the notice by regular first-class mail satisfies the notice requirements of
       paragraphs 3, 4 and 5.
    6. We will also send copies of the notice required by this endorsement to the agent or broker of record, though
       failure to send copies of the notice to the agent or broker of record will not invalidate a cancellation or
       nonrenewal. Mailing copies of the notice by regular first-class mail to the agent or broker of record satisfies the
       requirements of this paragraph. Notice of nonrenewal may also be given by any method permitted for service
       of process pursuant to Rule 4 of the North Carolina Rules of Civil Procedure.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                  Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                    JJ
                                                                                                         /J           Premium

  Insurance Company           Protective Insurance Company                Countersigned by     ----"-~
                                                                                               _---"-~
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                                                                                                                           06 02
       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY


                                                                                                                       (Ed. 01-10)

                                           PRO-RATA CANCELLATION ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because North Carolina is shown in item 3.A. of
the
the Information Page.

     the policy is cancelled by the insured for a reason stated in the schedule below, the final premium for the policy shall
IfIf the
be calculated pro-rata based on the time this policy was in-force. In no circumstances shall final premium be less than
be
minimum
minimum premium.

                                                                   SCHEDULE




 Notwithstanding the provisions above, in no event will the number of days notice for cancellation or for non-renewal be
Notwithstanding
fewer than the number of days required by North Carolina law.
fewer

To the
To the extent that any terms of this endorsement conflict with any other terms or conditions of the policy, the
provisions of this endorsement will prevail.
provisions

All other
All other terms, conditions, and exclusions of the policy remain the same.


       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


 Policy Effective
 Policy                        06/30/2017
 Endorsement Effective
 Endorsement                   06/30/2017                               Policy No. WD001486                 Endorsement No.
 Insured
 Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MA,~GE/MEN/
                                                                         MA/~GEpMEN/                         /J
                                                                                                             //      Premium


 Insurance Company Protective Insurance Company
 Insurance                                                                                    ~l_·C(
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                                                                          Countersigned by _ __ _ _ _ _

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 35 03
                                                                                                                    WC    o3 02

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                     OKLAHOMA EMPLOYERS LIABILITY AMENDED COVERAGE ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Oklahoma is shown in Item 3.A. of the Information Page.

1. Section B. We Will Pay is replaced by the following:

    B. We Will Pay
       We will pay all sums you legally must pay as damages because of bodily injury to your employees, provided
       the bodily injury is covered by this Employers Liability Insurance.
       The damages we will pay, where recovery is permitted by law, include damages:
       1. for which you are liable to a third party by reason of a claim or suit against you by the third party to
           recover the damages claimed against such third party as a result of injury to your employee; and
       2. for care and loss of services.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective             06/30/2017
  Endorsement Effective         06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured                                                                 MANAGEMENT/}
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                    IJ           Premium

  Insurance Company          Protective Insurance Company        Countersigned by __--'<-IIU
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                                      #:1427
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                 we 35 0601
                                                                                                              WC    o6 01 F

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                      OKLAHOMA CANCELLATION, NON RENEWAL AND CHANGE ENDORSEMENT

This endorsement applies to the insurance provided by the policy because Oklahoma is shown in Item 3.A. of the
Information Page.

The Cancellation Condition in Part Six (Conditions) of the policy is replaced by the following condition:
D. Cancellation
   1. You may cancel this policy. You must mail or deliver to us not less than 30 days advance written notice
       stating when the cancellation is to take effect. Cancellation of coverage will be effective at 12:01 a.m. thirty
       (30) days after the date the cancellation notice is received by us, unless a later date is specified in the notice
       to us. You may cancel this policy effective less than 30 days after written notice is received by us where you
       have obtained other coverage or have become a self-insurer.
   2. We may cancel this policy. We will mail to you advance written notice stating when the cancellation is to take
       effect.
       a.At any time during the policy period, we may cancel for nonpayment of premium. If we cancel for
          nonpayment of premium, we will mail notice of cancellation to you and to the Workers Compensation
          Commission at least 10 10 days before the cancellation is to take effect.
       b. If we cancel this policy for a reason other than nonpayment of premium, we will mail notice of cancellation
       b.lf
          to you and to the Workers Compensation Commission at least 30 days before the cancellation is to take
          effect.
       c.lf this policy has been in effect for more than 45 business days or is a renewal policy, we may cancel for
          only one or more of the following reasons:
          (1) Nonpayment of premium;
          (2) Discovery of fraud or material misrepresentation in the procurement of the insurance or with respect to
              any claims submitted under it;
          (3) Discovery of willful or reckless acts or omissions on the part of the named insured which increase
              any hazard insured against;
             (4)The occurrence of a change in the risk which substantially increases any hazard insured against after
                insurance coverage has been issued or renewed;
             (5)A violation of any local fire, health, safety, building, or construction regulation or ordinance with
                respect to any insured property or the occupancy thereof which substantially increases any hazard
                insured against;
            (6)A determination by the Insurance Commissioner that the continuation of the policy would place the
                insurer in violation of the insurance laws of this state;
            (7) Conviction of the named insured of a crime having as one of its necessary elements an act increasing
                any hazard insured against; or
            (8) Loss of or substantial changes in applicable reinsurance.
     3.   Mailing notice of cancellation to you at your mailing address shown in Item 1 of the Information Page will be
          sufficient to prove notice.
     4.   The policy period will end on the day and hour stated in the cancellation notice.
     5.   Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy is
          changed by this statement to comply with the law.

Part 6 (Conditions) of the policy is amended by adding the following provisions:
F. Nonrenewal
    1. If we elect not to renew this policy, we will mail or deliver written notice of nonrenewal to you at least 45 days
         before:
         a. The expiration date of this policy; or
         b. An anniversary date of this policy, if it is written for a term longer than one year or with no fixed expiration
             date.
    2. Any notice of nonrenewal will be mailed or delivered to you at the mailing address shown in Item 1 of the
         Information Page. If notice is mailed:
         a. It will be considered to have been given to you on the day it is mailed.
                                                   Decl. Barnett, Ex. D-165
         b. Proof of mailing will be sufficient proof of notice.

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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 476 of 514 Page ID
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WC                                       WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 2-14)

    3.     If notice of nonrenewal is not mailed or delivered at least 45 days before the expiration date or an anniversary
           date of this policy, coverage will remain in effect until 45 days after notice is given. Earned premium for such
           extended period of coverage will be calculated pro rata based on the rates applicable to the expiring policy.
    4.     We will not provide notice of nonrenewal if:
           a. We, or another company within the same insurance group, have offered to issue a renewal policy; or
           b. You have obtained replacement coverage or have agreed in writing to obtain replacement coverage.
    5.     If we have provided the required notice of nonrenewal as described above, and thereafter extend the policy
           for a period of 90 days or less, we will not provide an additional nonrenewal notice with respect to the period
           of extension.

G. Notice of Premium or Coverage Changes Upon Renewal
   1. If we elect to renew this policy, we will give written notice of any premium increase, change in deductible, or
       reduction in limits or coverage, to you, at the mailing address shown in Item 1 of the Information Page.
   2. Any such notice will be mailed or delivered to you at least 45 days before:
       a. The expiration date of this policy; or
       b. An anniversary date of this policy, if it is written for a term longer than one year or with no fixed expiration
           date.
   3. If notice is mailed:
       a. It will be considered to have been given to you on the day it is mailed.
       b. Proof of mailing will be sufficient proof of notice.
   4. If you accept the renewal, the premium increase or deductible, limits or coverage changes will be effective
       the day following the prior policy's expiration or anniversary date.
   5. If notice is not mailed or delivered at least 45 days before the expiration date or anniversary date of this
       policy, the premium, deductible, limits and coverage in effect prior to the changes will remain in effect until the
       earlier of:
       a. 45 days after notice is given; or
       b. The effective date of replacement coverage obtained by you.
   6. If you then elect not to renew, any earned premium for the resulting extended period of coverage will be
       calculated pro rata at the lower of the new rates or rates applicable to the expiring policy.
   7. We will not provide notice of the following:
       a. Changes in a rate or plan filed with or approved by the Insurance Commissioner or filed pursuant to the
            Property and Casualty Competitive Loss Cost Rating Act and applicable to an entire class of business; or
        b. Changes based upon the altered nature of extent of the risk insured; or
       c. Changes in policy forms filed with or approved by the Insurance Commissioner and applicable to an
            entire class of business.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                               Policy No. WD001486                   Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J        Premium

  Insurance Company            Protective Insurance Company                Countersigned by   --'~"'-----=---1:',__
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  (Ed. 2-14)
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                                     #:1429
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       WC 35 06 o3
                                                                                                                    we       03

                                                                                                                      (Ed. 12-93)

                                        OKLAHOMA FRAUD WARNING ENDORSEMENT

This
This endorsement applies only to the insurance provided by the Policy because Oklahoma is shown in Item 3.A. of the
Information
Information Page.

WARNING: ANY PERSON WHO KNOWINGLY, AND WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY
WARNING:
         INSURER, MAKES ANY CLAIM FOR THE PROCEEDS OF AN INSURANCE POLICY CONTAINING
         ANY FALSE, INCOMPLETE OR MISLEADING INFORMATION IS GUlL
                                                            GUILTY
                                                                 TY OF A FELONY.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
     (The


  Policy Effective
  Policy                        06/30/2017
  Endorsement Effective
  Endorsement                   06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                         ./J         Premium

  Insurance Company
  Insurance                   Protective Insurance Company       Countersigned by         IddL
                                                                                          !AtdL
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                        on Compensation Insurance.
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                                     #:1430
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 36 03 06
                                                                                                                    WC

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                                         OREGON LIMITS OF LIABILITY ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Oregon is shown in Item 3.A. of the
Information Page.

The limits of our liability under Part Two of the policy are:


         Bodily Injury by Accident           $500,000 or the amount shown in Item 3.B. of the Information Page,
                                                      whichever is greater, each accident

         Bodily Injury by Disease            $500,000 or the amount shown in Item 3.B. of the Information Page,
                                                      whichever is greater, policy limit

         Bodily Injury by Disease            $500,000 or the amount shown in Item 3.B. of the Information Page,
                                                      whichever is greater, each employee


This change applies to the insurance this policy provides for Oregon operations only.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                        Policy No. WD001486                       Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT...
                                                                          MANAGEMENT . .•.                     ..~emium
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  Insurance Company           Protective Insurance Company        Countersigned by          ~cf'
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                                        #:1431
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we
                                                                                                                       WC 36 04 06

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                                          OREGON PREMIUM DUE DATE ENDORSEMENT

This endorsement is used to amend:

Section D. of Part Five of the policy is replaced by this provision.


                                                             PART FIVE
                                                             PREMIUM




D.      Premium is amended to read:
        You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
        not valid. The due date for audit and retrospective premiums is the date specified in the billing invoice for
        the policy.




           This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

     Policy Effective            06/30/2017
     Endorsement Effective       06/30/2017                        Policy No. WD001486                          Endorsement No.

     Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

     Insurance Company         Protective Insurance Company         Countersigned by   -----"~"'------=-cP'__,__
                                                                                       _----"~"'---_._-=_eP'---"--
                                                                                                               _______
     we 36 04 06
     WC
     (Ed. 10-01)


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        National Council on Compensation Insurance, Inc.
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 480 of 514 Page ID
                                      #:1432
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                      we 36 06 01 E
                                                                                                                   WC

                                                                                                                         (Ed. 1-08)

                                             OREGON CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because Oregon is shown in Item 3.A. of the
Information Page.

The Cancellation Condition of the policy is replaced by this Condition:

D. Cancellation
   1. You may cancel this policy. You must mail or deliver advance written notice to us, stating when the
     .· cancellation is to take effect. If you provide for other insurance or self-insurance, your cancellation of
        coverage will take effect upon the effective date of that insurance.
   2. We may cancel this policy. We will mail to you advance written notice stating when the cancellation is to take
        effect.
        a. If we cancel based on our decision not to offer insurance to all employers within your premium category,
           we will mail the notice of cancellation at least 90 days before the cancellation is to take effect.
        b. If we cancel for other reasons, we will mail the notice of cancellation at least 45 days before the
           cancellation is to take effect.
        c. If we cancel for nonpayment, we will mail notice of cancellation at least 10 10 days before the cancellation is
           to take effect.
   3. Mailing notice to you at your last known mailing address will be sufficient to prove notice.
   4. The policy period will end at 12:00 midnight on the day stated in the cancellation notice.
   5. When coverage is placed with another carrier as of the policy expiration date, a rejected renewal policy shall
        be withdrawn without charge, provided notice of nonrenewal is mailed and postmarked on or before the
        expiration date and is received from the insured by the insurer no later than 10 calendar days after said
        expiration date.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective                06/30/2017
  Endorsement Effective           06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .. .' .//'Premium
                                                                                             / / ' Premium

  Insurance Company            Protective Insurance Company                Countersigned by     ~et"
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we
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                                                                                                                       (Ed. 01-17)

                                              OREGON AMENDATORY ENDORSEMENT

This endorsement applies because Oregon is shown in Item 3.A. of the Information Page.


Part Two-Employers Liability Insurance, Section C. (Exclusions), Item 5. of the policy is replaced by the following:
    5. Any bodily injury intentionally caused or aggravated by you, or that is the result of your engaging in conduct
       equivalent to an intentional tort, however defined, including as described by ORS 656.156, or other tortious
       conduct, or conduct or activity as described by ORS 656.018(3), such that you lose your immunity from civil
         liability under the workers compensation laws of Oregon;

Part Two-Employers Liability Insurance, Section C. (Exclusions) of the policy is revised by adding the following:
    13. Any cause of action or remedy arising out of or under ORS 656.019 or ORS 654.305 through ORS 654.336.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                       /J
                                                                                                            IJ       Premium

  Insurance Company           Protective Insurance Company                 Countersigned by    ~

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 37 06
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                                                                                                                        (Ed. 4-84)

                                                     PENNSYLVANIA NOTICE

An Insurance Company, its agents, employees, or service contractors acting on its behalf, may provide services to
reduce the likelihood of injury, death or loss. These services may include any of the following or related services
incident to the application for, issuance, renewal or continuation of, a policy of insurance:

1. surveys;
2. consultation or advice; or
3. inspections.

The "Insurance Consultation Services Exemption Act" of Pennsylvania provides that the Insurance Company, its
agents, employees or service contractors acting on its behalf, is not liable for damages from injury, death or loss
occurring as a result of any act or omission by any person in the furnishing of or the failure to furnish these services.

The Act does not apply:
1. if the injury, death or loss occurred during the actual performance of the services and was caused by the
    negligence of the Insurance Company, its agents, employees or service contractors;
2. to consultation services required to be performed under a written service contract not related to a policy of
    insurance; or
3. if any acts of omissions of the Insurance Company, its agents, employees or service contractors are judicially
    determined to constitute a crime, actual, malice, or gross negligence.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective             06/30/2017
  Endorsement Effective        06/30/2017                       Policy No. WD001486                          Endorsement No.
  Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT.
                                                                         MANAGEMENT  . /_/                  /.?      Premium

  Insurance Company         Protective Insurance Company                           ---"-~------C(-=---------
                                                                 Countersigned by _ _ -,,-~cr-=--          _

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                                     #:1435
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we 370603
                                                                                                                  WC 37 06 o3 A

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                                        PENNSYLVANIA ACT 86-1986 ENDORSEMENT

         NONRENEWAL, NOTICE OF INCREASE OF PREMIUM, AND RETURN OF UNEARNED PREMIUM

This endorsement applies only to the insurance provided by the policy because Pennsylvania is shown in Item 3.A. of
the Information Page.

The policy conditions are amended by adding the following regarding nonrenewal, notice of increase in premium, and
return of unearned premium.

Non renewal
Nonrenewal
1. We may elect not to renew the policy. We will mail to each named insured, by first class mail, not less than 60
   days advance notice stating when the nonrenewal will take effect. Mailing that notice to you at your mailing
   address last known to us will be sufficient to prove notice.
2. Our notice of nonrenewal will state our specific reasons for not renewing.
3. If we have indicated our willingness to renew, we will not send you a notice of nonrenewal. However, the policy
   will still terminate on its expiration date if:
   a. you notify us or the agent or broker who procured this policy that you do not want the policy renewed; or
   b. you fail to pay all premiums when due; or
   c. you obtain other insurance as a replacement of the policy.

Notice of Increase in Premium
1. We will provide you with not less than 30 days advance notice of an increase in renewal premium of this policy, if
    it is our intent to offer such renewal.
2. The above notification requirement will be satisfied if we have issued a renewal policy more than 30 days prior to
    its effective date.
3. If a policy has been written or is to be written on a retrospective rating plan basis, the notice of increase in
    premium provision of this endorsement does not apply.

Return of Unearned Premium
1. If this policy is canceled and there is unearned premium due you:
   a. If the Company cancels, the unearned premium will be returned to you within 10 business days after the
         effective date of cancelation.
   b. If you cancel, the unearned premium will be returned within 30 days after the effective date of cancelation.
2. Because this policy was written on the basis of an estimated premium and is subject to a premium audit, the
   unearned premium specified in 1.a. and 1.b. above, if any, shall be returned on an estimated basis. Upon our
   completion of computation of the exact premium, an additional return premium or charge will be made to you
   within 15 days of the final computation.
3. These return of unearned premium provisions shall not apply if this policy is written on a retrospective rating plan
   basis.

      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective             06/30/2017
   Endorsement Effective        06/30/2017                       Policy No. WD001486                          Endorsement No.
   Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                      /J
                                                                                                          / 7
                                                                                                            • .
                                                                                                              .        Premium

   Insurance Company          Protective Insurance Company        Countersigned byby--"'-~-----'[-"--------
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WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we
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                             PENNSYLVANIA EMPLOYER ASSESSMENT ENDORSEMENT

Act  57 of 1997 requires that" ... the assessments for the maintenance of the Subsequent Injury Fund, the Workmen's
Act 57
Compensation
Compensation supersedes Fund and the Workmen's Compensation Administration Fund under sections 306.2, 443
and  446 of the act of June 2,1915
and 446                     2, 1915 (P.L. 736, No. 338), known as the "Workers' Compensation Act, shall be imposed,
collected
collected and remitted through insurers in accordance with regulations promulgated by the Department of Labor and
Industry."
Industry."

                                          EMPLOYER ASSESSMENT FORMULA:


            Employer           =
                               =   Act of 1997 Employer                  xX     Employer Assessment
            Assessment             Assessment Factor                            Premium Base

Act 57 of 1997 Employer Assessment Factor
A
A factor
  factor expressed to four decimal places proposed by the Pennsylvania Compensation Rating Bureau and approved
by
by the
   the Pennsylvania Insurance Commissioner.

Employer Assessment Premium Base
Calculation
Calculation of Employer Assessment Premium Base proceeds by adding back to the total policy premium the amount
of
of any
   any Small Deductible Premium Credit or Large Deductible Premium Credit.



                                                           CODE 0938
     EMPLOYER ASSESSMENT FACTOR                                           EMPLOYER ASSESSMENT
               2.32%                                                      $1,380




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective
  Policy                    06/30/2017
  Endorsement Effective
  Endorsement               06/30/2017                          Policy No. WD001486                          Endorsement No.
  Insured
  Insured                   PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .                        /J         Premium

  Insurance Company
  Insurance               Protective Insurance Company           Countersigned by      ~~
  we 37
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                                            Decl. Barnett, Ex. D-174
  (Ed. 10-99)
  (Ed. 10-99)
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we
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                                SOUTH DAKOTA DIRECT ACTION STATUTE ENDORSEMENT

This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because South
Dakota is shown in Item 3.A. of the Information Page.

1. Your injured employee, or the persons entitled to sue you for damages in the event of the death of the employee,
   may add us as a defendant in a suit against you to recover damages because of bodily injury or death to your
   employee.

2. We are directly liable to pay to your injured employee, or to the persons entitled to sue you for damages in the
   event of the death of the employee, the damages for which you are liable.

This endorsement is subject to all provisions of Part Two (Employers Liability Insurance) that do not conflict with the
direct action statute (Section 58-20-12) of the South Dakota Workers' Compensation Law.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


   Policy Effective               06/30/2017
   Endorsement Effective
   Insured
                                  06/30/2017                              Policy No. WD001486
                                                                            MANAGEMENT ... ~ Premium
                                  PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT.                      cP'
                                                                                                              Endorsement No.



   Insurance Company           Protective Insurance Company                  Countersigned by   ~
   we 400601
   WC   40 06 01 A
   (Ed. 07-11)

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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 40 06 03
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                                      SOUTH DAKOTA MANAGED CARE ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because South Dakota is shown in Item 3.A. of
the Information Page.

This endorsement provides for the payment of benefits under the workers compensation law of South Dakota to
provide medical services and health care to injured workers for compensable injuries and diseases by means of a
managed care program which meets the requirements established by the Department of Labor.




       This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)



 Policy Effective               06/30/2017
 Endorsement Effective          06/30/2017                      Policy No. WD001486                          Endorsement No.
  Insured                                                                 MANAGEMENT .....
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                          4       Premium
                                                                                                              4
  Insurance Company          Protective Insurance Company         Countersigned by       ~~
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                  we
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                         SOUTH DAKOTA CANCELLATION AND NONRENEWAL ENDORSEMENT
This endorsement applies only to the insurance provided by the policy because South Dakota is shown in Item 3.A. of
the Information Page.

The Cancellation Condition in Part Six (Conditions) of the policy is replaced by this Condition:



     Cancellation
     1.    You may cancel this policy. You must mail or deliver advance written notice to us stating when the
           cancellation is to take effect.


     2.    We may cancel this policy.
           a.    We must file a notice of intention in the office of the State Department of Labor or other officer in charge of
                 the administration of the workers compensation law at least 1    0 days prior to cancellation due to
                                                                                 10
                 nonpayment of premiums. Any policy cancelled for reasons other than nonpayment of premium requires
                 at least 20 days notification before the effective cancellation date. This notice of intention must state the
                 date of cancellation.

           b.    We must mail or deliver to you not less than ten days advance written notice stating when the cancellation
                 due to nonpayment of premiums is to take effect. Any policy cancelled for reasons other than nonpayment
                 of premium requires at least 20 days written notification before the effective cancellation date.


           c.    Mailing that notice to you at your last known place of residence will be sufficient to prove notice.


           d.    If the employer is a partnership, the notice may be given to any one of the partners.
                                                                              anyone


            e.   If the employer is a corporation, the notice may be given to any agent or officer of the corporation upon
                 whom legal process may be served.


      3.    After sixty days from the effective date of policy issuance, a notice of cancellation may not be issued unless it
            is based upon at least one of the following reasons:
            a.   Nonpayment of premium
            b.   Discovery of fraud or material misrepresentation made by or with the knowledge of the named insured in
                 obtaining the policy, continuing the policy, or in presenting a claim under the policy
            c.   Discovery of acts or omissions on the part of the named insured that increase any hazard insured against
            d.   The occurrence of a change in the risk that substantially increases any hazard insured against after
                 insurance coverage has been issued
            e.   A violation of any local fire, health, safety, building, or construction regulation or ordinance with respect to
                 any insured property or the occupancy thereof that substantially increases any hazard insured against
            f.   A determination by the director of the Division of Insurance that the continuation of the policy would
                 jeopardize a company's solvency or would place the insurer in violation of the insurance laws of this state
            g.   Violation or breach by the insured of any policy terms or conditions
            h.   Such other reasons as are approved by the director of the Division of Insurance
      4.    The policy period will end on the day and hour stated in the cancellation notice.
      5.    Any of these provisions that conflict with a law that controls the cancellation of the insurance in this policy is
            changed by this statement to comply with the law.



                                                  Decl. Barnett,
                                                          Page 1 ofEx.
                                                                   2   D-177
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    Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 488 of 514 Page ID
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      Nonrenewal
      1.
      1.     We may elect not to renew. We will mail or deliver to you and your agent not less than 60 days advance
             written notice stating our intention not to renew this policy. Mailing notice to you at your last known address
             will be sufficient to prove notice.


      2.     A notice of nonrenewal is not required if the policyholder is transferred to an insurer that is a member of the
             same insurance group as the previous insurer and notice of such transfer is given in the form adopted by rule
             by the Division of Insurance.


      3.     The policy provisions control if the policy provides for a notice of refusal to renew that exceeds 60 days.




           This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.

       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


  Policy Effective
  Policy                         06/30/2017
  Endorsement Effective
  Endorsement                    06/30/2017                        Policy No. WD001486                          Endorsement No.
  Insured
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT .....
                                                                                       .                        /?       Premium

  Insurance Company
  Insurance                   Protective Insurance Company           Countersigned byby_!:.:~
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  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 489 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                              WC 42 o3
                                                                                                           we    03 01 G

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                                               TEXAS AMENDATORY ENDORSEMENT

This
This endorsement applies only to the insurance provided by the policy because Texas is shown in Item 3.A. of the
Information
Information Page.

                                                             GENERAL SECTION

B. Who
   Who Is
       Is Insured is amended to read:
    You are insured if you are an employer named in Item 1 of the Information Page. If that employer is a partnership
    You
    or
    or joint venture, and if you are one of its partners or members, you are insured, but only in your capacity as an
    employer
    employer of the partnership's or joint venture's employees.

D.
D. State
   State is amended to read:
   State means any state or territory of the United States of America, and the District of Columbia.
   State


                                     PART ONE-WORKERS COMPENSATION INSURANCE

E. Other
   Other Insurance is amended by adding this sentence:
    This
    This Section only applies if you have other insurance or are self-insured for the same loss.

F.
F. Payments
   Payments You Must Make
   This Section is amended by deleting the words "workers compensation" from number 4.
   This

H. Statutory
H. Statutory Provisions
   This Section is amended by deleting the words "after an injury occurs" from number 2.
   This

                                         PART TWO-EMPLOYERS LIABILITY INSURANCE

C. Exclusions
C. Exclusions
   Sections 2 and 3 are amended to add:
   Sections
   This exclusion does not apply unless the violation of law caused or contributed to the bodily injury.
   This
   Section 6 is amended to read:
   Section
    6. bodily injury occurring outside the United States of America, its territories or possessions, and Canada. This
         exclusion does not apply to bodily injury to a citizen or resident of the United States of America, Mexico or
         Canada who is temporarily outside these countries.

   We Will Defend
D. We
D.
   This Section is amended by deleting the last sentence.
   This


                                         PART FOUR-YOUR DUTIES IF INJURY OCCURS

    Number 6 of this part is amended to read:
    Number
    6. Texas law allows you to make weekly payments to an injured employee in certain instances. Unless
       authorized by law, do not voluntarily make payments, assume obligations or incur expenses, except at your
       own cost.




                                                   Decl. Barnett,
                                                             1 of 3
                                                                    Ex. D-179
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                                        WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

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                                                           PART FIVE-PREMIUM

A.
A Our Manuals is amended by adding this sentence:
   In this part, "our manuals" means manuals approved or prescribed by the Texas Department of Insurance.

C.
C. Remuneration
   Number 22 is amended to read:
   2. All other persons engaged in work that would make us liable under Part One (Workers Compensation
      Insurance) of this policy. This paragraph 2 will not apply if you give us proof that the employers of these
      persons lawfully secured workers compensation insurance.

E. Final Premium
    Number 2 is amended to read:
    2. If you cancel, final premium will be calculated pro rata based on the time this policy was in force. Final
       premium will not be less than the pro rata share of the minimum premium.

                                                          PART SIX-CONDITIONS

A.
A Inspection
   Inspection is amended by adding this sentence:
   Your failure to comply with the safety recommendations made as a result of an inspection may cause the policy
   to be canceled by us.

C.
C. Transfer of Your Rights and Duties is amended to read:
   Your rights and duties under this policy may not be transferred without our written consent. If you die, coverage
   will
   will be provided for your surviving spouse or your legal representative. This applies only with respect to their
   acting in the capacity as an employer and only for the workplaces listed in Items 1 and 4 on the Information Page.

D. Cancelation is amended to read:
D.
   1. You may cancel this policy. You must mail or deliver advance notice to us stating when the cancelation is to
      take effect.
   2. We may cancel this policy. We may also decline to renew it. We must give you written notice of cancelation
      or nonrenewal. That notice will be sent certified mail or delivered to you in person. A copy of the written notice
      will be sent to the Texas Department of Insurance-Division of Workers' Compensation.
   3. Notice of cancelation or nonrenewal must be sent to you not later than the 30th day before the date on which
      the cancelation or nonrenewal becomes effective, except that we may send the notice not later than the 1Oth  10th
      day before the date on which the cancelation or nonrenewal becomes effective if we cancel or do not renew
      because of:
      a. Fraud in obtaining coverage;
      b. Misrepresentation of the amount of payroll for purposes of premium calculation;
       c. Failure to pay a premium when payment was due;
      d. An increase in the hazard for which you seek coverage that results from an action or omission and that
           would produce an increase in the rate, including an increase because of failure to comply with
            reasonable recommendations for loss control or to comply within a reasonable period with
           recommendations designed to reduce a hazard that is under your control;
      e. A determination by the Commissioner of Insurance that the continuation of the policy would place us in
           violation of the law, or would be hazardous to the interests of subscribers, creditors, or the general public.
   4. If another insurance company notifies the Texas Department of Insurance-Division of Workers'
      Compensation that it is insuring you as an employer, such notice shall be a cancelation of this policy effective
      when the other policy starts.




                                                   Decl. Barnett,
                                                             2 of 3
                                                                    Ex. D-180
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     we 42 03 01 G
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                               PART SEVEN-OUR DUTY TO YOU FOR CLAIM NOTIFICATION

A. Claims Notification
    We are required to notify you of any claim that is filed against your policy. Thereafter we shall notify you of any
    proposal to settle a claim or, on receipt of a written request from you, of any administrative or judicial proceeding
    relating to the resolution of a claim, including a benefit review conference conducted by the Texas Department of
    Insurance-Division of Workers' Compensation. You may, in writing, elect to waive this notification requirement.

    We shall, on the written request from you, provide you with a list of claims charged against your policy, payments
    made and reserves established on each claim, and a statement explaining the effect of claims on your premium
    rates. We must furnish the requested information to you in writing no later than the 30th day after the date we
    receive your request. The information is considered to be provided on the date the information is received by the
    United States Postal Service or is personally delivered.


COMPLAINT NOTICE: SHOULD ANY DISPUTE ARISE ABOUT YOUR PREMIUM OR ABOUT A CLAIM THAT YOU
HAVE FILED, CONTACT THE AGENT OR WRITE TO THE COMPANY THAT ISSUED THE POLICY. IF THE
PROBLEM IS NOT RESOLVED, YOU MAY ALSO WRITE THE TEXAS DEPARTMENT OF INSURANCE,
                                                                         FAX#
CONSUMER PROTECTION (111-1A), P.O. BOX 149091, AUSTIN, TEXAS 78714-9091, FAX # (512) 475-1771.
THIS NOTICE OF COMPLAINT PROCEDURE IS FOR INFORMATION ONLY AND DOES NOT BECOME A PART
OR CONDITION OF THIS POLICY.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                    /J          Premium

  Insurance Company           Protective Insurance Company                               --~-
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                                                                           Countersigned by _ _ _________
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                         we
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                                             TEXAS-AUDIT PREMIUM AND
                                        RETROSPECTIVE PREMIUM ENDORSEMENT

Section D
Section D of Part Five of the policy is replaced by the following provision:

                                                     PART FIVE-PREMIUM

D.
D.     Premium Payments
       You will pay all premium when due. You will pay the premium even if part or all of a workers compensation law is
       not valid. The billing statement or invoice for audit additional premiums and/or retrospective additional premiums
       establishes the date that the premium is due.




        This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


  Policy Effective
  Policy                      06/30/2017
  Endorsement Effective
  Endorsement                 06/30/2017                          Policy No. WD001486                          Endorsement No.
  Insured
  Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                         /J
                                                                                                           /l          Premium

     Insurance Company
     Insurance              Protective Insurance Company           Countersigned by   ---'~:::...._
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we
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                                                     VERMONT LAW ENDORSEMENT

This
This endorsement applies only to the insurance provided by Part Two (Employers Liability Insurance) because
Vermont
Vermont is shown in Item 3.A. of the Information Page.

1.
1. We may not limit our liability to pay damages if a judgment for damages is entered against you and we continue
   the suit or other action without your consent.

2.
2.     No action will lie against us to recover for a loss under this insurance unless it is brought within one year after the
       amount of loss is made certain either by agreement between the parties with our consent or by actual trial and
       final
       final judgment. If you are bankrupt or insolvent, anyone who obtains such a judgment or agreement has a right of
       action
        action against us to recover under the policy to the extent that insurance is provided for the damages or loss.

3.
3.     If you pay a judicial judgment or claim for any of our liability under this insurance, that will not bar you from an
       action or right of action against us.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
         This
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
       (The


     Policy Effective
     Policy                     06/30/2017
     Endorsement Effective
     Endorsement                06/30/2017                         Policy No. WD001486                          Endorsement No.
     Insured
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT ~T
                                                                          ~T ~                                          Premium

     Insurance Company
     Insurance               Protective Insurance Company           Countersigned by _ _ _ _ _ _(_      r
                                                                                                 ' ._ _ _ _ _ _ __                  _
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     Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 494 of 514 Page ID
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 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 44 06 02 B
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                               VERMONT CANCELLATION AND NONRENEWAL ENDORSEMENT

 This endorsement applies only to the insurance provided by the policy because Vermont is shown in Item 3.A. of the
 Information Page.

 Part Six-Conditions, Section D. (Cancellation) of the policy is replaced by the following:
 D. Cancellation and Nonrenewal
 1. You may cancel this policy. You will mail or deliver advance written notice to us stating when the cancellation is to
     take effect.
 2. We may cancel this policy. We must mail by certified mail to you and to the Commissioner of Labor (Commissioner)
     not less than 45 days' advance written notice stating when the cancellation is to take effect. Mailing notice by
     certified mail to you at your mailing address last known to us will be sufficient to prove notice.
 3. The policy period will end on the day and hour stated in the cancellation notice
 4. We may elect not to renew the policy. We must mail by certified mail to you and to the Commissioner 45 days'
     advance written notice stating when the nonrenewal
                                               non renewal is to take effect. If we do not give 45 days' notice, the policy will
     automatically be extended for 45 days from the date the notice is received by you and the Commissioner.
 5. If we fail to provide the notice of nonrenewal as required, the policy will still terminate on its expiration date if:
     a. We offer to continue the insurance by delivery of a renewal contract to you, or
     b. You notify us in writing that you do not want to renew the policy, or
     c. You obtain other insurance or a guarantee contract, or you establish and maintain, to the satisfaction of the
          Commissioner, security for compensation.




          This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective              06/30/2017
                              0613012017
Endorsement Effective         06/30/2017
                              0613012017                               Policy No. WD001486                   Endorsement No.
Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                        ~           Premium

Insurance Company          Protective Insurance Company                              by--~-------------
                                                                                       ~
                                                                        Countersigned by __                                   _


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(Ed. 7-14)




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      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 495 of 514 Page ID
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we 45 06
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                                             VIRGINIA AMENDATORY ENDORSEMENT

This endorsement applies only to the Virginia insurance provided by the policy because Virginia is shown in Item 3.A.
of the Information Page.

For Virginia insurance, Part Six D. (Conditions-Cancelation) is replaced by:

1.     Yours truly, may cancel this policy. You must mail or deliver advance written notice to us. You must provide
       written notice of your cancelation, including the date of and reasons for the cancelation, to the Workers
       Compensation Commission.

2.     We may cancel this policy. We will provide you with 30 days notice of cancelation. We will provide the Workers
       Compensation Commission with immediate notice of such cancelation. This provision does not apply if you have
       obtained other insurance and that insurer has notified the Workers Compensation Commission that it is now
       providing your insurance.

3.     In the event of cancelation by you or us, you must provide 30 days written notice of the cancelation to your
       covered employees.

4. We may nonrenew your policy. We will provide 30 days notice to you and to the Workers Compensation
   Commission of our decision to nonrenew. This provision does not apply if you have obtained other insurance and
   that insurer has notified the Workers Compensation Commission that it is now providing your insurance.

5.     If you fail to pay the premium due on this policy, we may cancel the policy by providing 10 days notice to you and
       to the Workers Compensation Commission.




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective           06/30/2017
     Endorsement Effective      06/30/2017                         Policy No. WD001486                          Endorsement No.
     Insured                                                              Mf~AjEME~
                                PERSONNEL STAFFING GROUP, LLC DBA BARNETT Mt~AjEME~                ./J
                                                                                                   /J Premium
     Insurance Company       Protective Insurance Company                               _____·<f'
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 496 of 514 Page ID
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WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                     WC 47 o3
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   WEST VIRGINIA EMPLOYERS LIABILITY INSURANCE INTENTIONAL ACT EXCLUSION ENDORSEMENT


Part
Part Two-Employers Liability Insurance, C.-Exclusions, 5. is replaced by the following:

    This insurance does not cover:
    5. bodily injury intentionally caused or aggravated by you or which is the result of your engaging in conduct
        equivalent to an intentional tort, however defined, including by your deliberate intention as that term is defined
        by W.  Va. Code
           W.Va.   Code§ § 23-4-2(d)(2).




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective
 Policy                        06/30/2017
 Endorsement Effective
 Endorsement                    06/30/2017                              Policy No. WD001486                 Endorsement No.
 Insured
 Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT Mf~A~EME~
                                                                          Mt~A~EME~                            /J Premium
 Insurance Company
 Insurance                      Protective Insurance Company                           by_....::~:....____
                                                                         Countersigned by _....::~'----
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WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY            we 47 03 02
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                                                                                                                         (Ed. 7-06)



   WEST VIRGINIA WORKERS COMPENSATION INSURANCE RECOVERY FROM OTHERS ENDORSEMENT




Part One-Workers Compensation Insurance, G.-Recovery From Others, is replaced by the following:
    We have your rights to recover our payments from anyone liable for the injury. You will do everything necessary
    to protect those rights for us and to help us enforce them.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective               06/30/2017
  Endorsement Effective          06/30/2017                              Policy No. WD001486                 Endorsement No.
  Insured                                                                  MANAGEMENT/J
                                 PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENTIJ                              Premium

  Insurance Company              Protective Insurance Company                             ---"--~----1:=-----------
                                                                                             -,,-~cr=---
                                                                           Countersigned by _ _                  _


  we 470302
  WC  47 03 02
  (Ed. 7-06)

                                                   Decl. Barnett, Ex. D-187
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   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 498 of 514 Page ID
                                     #:1450
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                       we 47
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                                                                                                                        (Ed. 7-08)



                                        WEST VIRGINIA CANCELLATION ENDORSEMENT

This endorsement applies only to the insurance provided by the policy because West Virginia is shown in Item 3.A of
the Information Page.
Part Six, D (Conditions-Cancellation) is replaced by:

D. Cancellation
    1. You may cancel this policy. You must mail or deliver advance written notice to us by stating when the
         cancellation is to take effect.
    2. We may cancel this policy at any time by providing you thirty (30) days advance written notice.
    3. Not withstanding #2 above, if you fail to pay any premium due or refuse to comply with a premium audit under
         this policy, we may cancel the policy by providing you ten (10) days advance written notice.
    4. We may also choose not to renew this policy by providing sixty (60) days advance written notice.
    5. Our mailing of the Notice of Cancellation or Non-Renewal to your mailing address as listed in Item 1 of the
         information page will be sufficient notice of our intent to cancel. We will also provide notice of the cancellation
         or non-renewal of the policy to the West Virginia Insurance Commissioner at least ten (10) (1 0) days prior to the
                                                       (1 0) days of receipt of your request for cancellation, as applicable.
         effective date of the termination, within ten (10)




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


  Policy Effective              06/30/2017
  Endorsement Effective         06/30/2017                               Policy No. WD001486                  Endorsement No.
  Insured                       PERSONNEL STAFFING GROUP, LLC DBA BARNETT Mf~A~EME~                           /J Premium
  Insurance Company             Protective Insurance Company                              _--,~,,--
                                                                          Countersigned by _              t:f:-=--------_
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  (Ed. 7-08)

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Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 499 of 514 Page ID
                                  #:1451




                        WORKERS' COMPENSATION
                                   ,;I~-'
                                       ~




                                    '~"'




                        PREPARED SPECIFICALLY FOR
                         PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT


                         June 30, 2017-
                                  2017 - June 30, 2018




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                                            /




                         Decl. Barnett, Ex. D-189
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 500 of 514 Page ID
                                  #:1452




                                  EXHIBIT E
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 501 of 514 Page ID
                                  #:1453

WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                          we
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                                     POLICY AMENDATORY ENDORSEMENT-CALIFORNIA

It is agreed that, anything in the policy to the contrary notwithstanding, such insurance as is afforded by this policy by reason of
the designation of California in Item 3 of the Information Page is subject to the following provisions:

1.   Minors Illegally Employed
                      Employed-   - Not Insured. This policy does not cover liability for additional compensation imposed on you
     under Section 4557, Division IV, Labor Code of the State of California, by reason of injury to an employee under sixteen
     years of age and illegally employed at the time of injury.

2.   Punitive or Exemplary Damages - Uninsurable. This policy does not cover punitive or exemplary damages
                                                                                                   darnages where
     insurance of liability therefor is prohibited by law or contrary to public policy.

3.   Increase in Indemnity Payment
                               Payment- - Reimbursement. You are obligated to reimburse us for the amount of increase in
     indemnity payments made pursuant to Subdivision (d) of Section 4650 of the California Labor Code, if the late indemnity
     payment which gives rise to the increase in the amount of payment is due less than seven (7) days after we receive the
     completed claim form from you. You are obligated to reimburse us for any increase in indemnity payments not covered under
                                                                                                                            under
     this policy and will reimburse us for any increase in indemnity payment not covered under the policy when the aggregate total
                                                                                                                             total
     amount of the reimbursement payments paid in a policy year exceeds one hundred dollars ($1 ($100).
                                                                                                   00).

     If we notify you in writing, within 30 days of the payment, that you are obligated to reimburse us, we will bill you for the
     amount of increase in indemnity payment and collect it no later than the final audit. You will have 60 days, following notice of
                                                                                                                                   of
     the obligation to reimburse, to appeal the decision of the insurer to the Department of Insurance.

4.   Application of Policy. Part One, "Workers Compensation Insurance", A, "How This Insurance Applies", is amended to read
                                                                                                                       read
     as follows:

     This workers compensation insurance applies to bodily injury by accident or disease, including death resulting therefrom.
     Bodily injury by accident must occur during the policy period. Bodily injury by disease must be caused or aggravated by the
     conditions of your employment. Your employee's exposure to those conditions causing or aggravating such bodily injury by
     disease must occur during the policy period.

5.   Rate Changes. The premium and rates with respect to the insurance provided by this policy by reason of the designation of
     California in Item 3 of the Information Page are subject to change if ordered by the Insurance Commissioner of the State of
     California pursuant to Section 11737 of the California Insurance Code.

6.   Long Term Policy. If this policy is written for a period longer than one year, all the provisions of this policy shall apply
     separately to each consecutive twelve-month period or, if the first or last consecutive period is less than twelve months, to
     such period of less than twelve months, in the same manner as if a separate policy had been written for each consecutive
     period.

7.   Statutory Provision. Your employee has a first lien upon any amount which becomes owing to you by us on account of this       this
     policy, and in the case of your legal incapacity or inability to receive the money and pay it to the claimant.
                                                                                                          claimant, we will pay it
     directly to the claimant.

8.   Part Five, "Premium", E, "Final Premium", is amended to read as follows:

     The premium shown on the Information Page, schedules, and endorsements is an estimate. The final premium will be
     determined after this policy ends by using the actual, not the estimated, premium basis and the proper classifications and
     rates that lawfully apply to the business and work covered by this policy. If the final premium is more than the premium you
     paid to us, you must pay us the balance. If it is less, we will refund the balance to you. The final premium will not be less than
                                                                                                                                   than
     the highest minimum premium for the classifications covered by this policy.

     If this policy is canceled, final premium will be determined in the following way unless our manuals provide otherwise:

     a.   If we cancel, final premium will be calculated pro rata based on the time this policy was in force. Final premium will not
          be less than the pro rata share of the minimum premium.
     b.   If you cancel, final premium may be more than pro rata; it will be based on the time this policy was in force, and may be
          increased by our short-rate cancelation table and procedure. Final premium will not be less than the pro rata share of the
                                                                                                                                   the
          minimum premium.

9.   The Insured's Email Address. The insured's email address must be included in Item 1 of the Information Page if the insurer
                                                                                                                              insurer

                                             Decl. Barnett, Ex. E-1
     intends to electronically transmit an offer of renewal for a workers' compensation insurance policy to the insured (California
     Insurance Code §38.5 (b).

                                                                 1 of 2
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 502 of 514 Page ID
                                        #:1454
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            C                                 WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed. 10-14)


It is further agreed that this policy, including all endorsements forming a part thereof, constitutes the entire contract of insurance.
No condition, provision, agreement, or understanding not set forth in this policy or such endorsements shall affect such contract
or any rights, duties, or privileges arising therefrom.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


Policy Effective             06/30/2017
                             06/3012017
Endorsement Effective        06/30/2017                              Policy No. WD001486                         Endorsement No.
Insured                      PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                         Premium



Insurance Company          Protective Insurance Company            Countersigned
                                                                   Countersigned by        Wd:"'------''----~-"--------
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                                                                                 by __                               _
                                                    Decl. Barnett, Ex. E-2
                                                                  2 of2
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 503 of 514 Page ID
                                  #:1455




                                  EXHIBIT F
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 504 of 514 Page ID
                                   #:1456


               WORKERS' COMPENSATION AND EMPLOYER'S LIABILITY INSURANCE POLICY
                                    we 04
                                    WC o4 0310
                                          03 10 (Ed. 1-95)

                                      DUTY TO DEFEND-CALIFORNIA
This endorsement changes the policy to which it is attached effective on the inception date of the policy unless a
different date is indicated below.
    (The following "attaching clause" need be completed only when this endorsement is issued subsequent to preparation of the policy.)


This endorsement, effective on                          06/30/2017                   at 12:01 A.M. standard time, forms a part of
                                                           (DATE)

Policy No.      WD001486                             Endorsement No.

of the


issued to

Premium
                Protective Insurance Company
                (NAME OF INSURANCE COMPANY)

                PERSONNEL STAFFING GROUP, LLe
                                          LLC DBA BARNETT                       wI
                                                                                WI
                                                                     ------~----~~~-=------~------------
                                                                     ---....=:-_-~-,--..::..------.,.--------
                                                                                           Authorized Representative


The insurance afforded by Part One, Section C, "We
                                               'We Will Defend," is hereby deleted and replaced with the
following:

WE WILL DEFEND
We have the right and duty to defend at our expense any claim or proceeding against you before the California
Workers' Compensation Appeals Board or its equivalent in any other state (and any appeal of a decision
therefrom) for the benefits payable by this workers' compensation insurance. We have the right to investigate and
settle these claims or proceedings.
We have no duty to defend a claim, proceeding, or suit that is not covered by this insurance.
Nothing contained in this Section shall amend, modify, restrict or otherwise alter any obligations or conditions
under Part Two-Employer's Liability Insurance of the policy.




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we 04
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      03 10
         1o (Ed. 1-95)
                                                Decl. Barnett, Ex. F-1                                                           Page 1 of 1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 505 of 514 Page ID
                                  #:1457




                                 EXHIBIT G
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 506 of 514 Page ID
                                  #:1458
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                               we 040360
                                                                                                                            WC 04 03 60 B

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                        EMPLOYERS' LIABILITY COVERAGE AMENDATORY ENDORSEMENT-CALIFORNIA

The insurance afforded by Part Two (Employers' Liability Insurance) by reason of designation of California in item 3 of the
information page is subject to the following provisions:

A.   "How This Insurance Applies," is amended to read as follows:

     A.   How This Insurance Applies

          This employers' liability insurance applies to bodily injury by accident or bodily injury by disease. Bodily injury means a
          physical injury, including resulting death.

          1.   The bodily injury must arise out of and in the course of the injured employee's employment by you.

          2.   The employment must be necessary or incidental to your work in California.

          3.   Bodily injury by accident must occur during the policy period.

          4.   Bodily injury by disease must be caused or aggravated by the conditions of your employment. The employee's last
               day of last exposure to the conditions causing or aggravating such bodily injury by disease must occur during the
               policy period.

          5.   If you are sued, the original suit and any related legal actions for damages for bodily injury by accident or by
               disease must be brought in the United States of America, its territories or possessions, or Canada.

     C.   The "Exclusions" section is modified as follows (all other exclusions in the "Exclusions" section remain as is):

          1.   Exclusion 1 is amended to read as follows:

                   1.    liability assumed under a contract.

          2.   Exclusion 2 is deleted.

          3.   Exclusion 7 is amended to read as follows:

                   7.    damages arising out of coercion, criticism, demotion, evaluation, reassignment, discipline, defamation,
                         harassment, humiliation, discrimination against or termination of any employee, termination of employment,
                         or any personnel practices, policies, acts or omissions.

          4.   The following exclusions are added:

                   1.    bodily injury to any member of the flying crew of any aircraft.

                   2.    bodily injury to an employee when you are deprived of statutory or common law defenses or are subject to
                         penalty because of your failure to secure your obligations under the workers' compensation law(s)
                         applicable to you or otherwise fail to comply with that law.

                   3.    liability arising from California Labor Code Section 2810.3 which relates to labor contracting.


      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
     (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)

Policy Effective              06/30/2017
                                                                                                                                  ,'
Endorsement Effective         06/30/2017                              Policy No. WD001486                          Endorsement No.
Insured                        PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                          Premium



Insurance Company           Protective Insurance Company             Countersigned
                                                                     Countersigned by
                                                                                   by      _-",,~
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                                               Decl. Barnett, Ex. G-1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 507 of 514 Page ID
                                  #:1459




                                 EXHIBIT H
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 508 of 514 Page ID
                                  #:1460
WORKERS
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                            we
                                                                                                                         WC 04 04 21

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                               OPTIONAL PREMIUM INCREASE ENDORSEMENT-CALIFORNIA


You
You must
       must provide us, or our authorized representative, access to records necessary to perform a payroll verification audit. If you
fail
fail to
     to provide
        provide access within 90 days after expiration of the policy, you are liable to pay a total premium equal to 3 times our
current
current estimate of the annual premium for your policy. In addition, if you fail to provide access after our third request within a 90
day
day oror longer
         longer period, you are also liable for our costs in attempting to perform the audit unless you provide a compelling business
reason
 reason for your failure.

We
We will
   will contact you to schedule appointments during normal business hours.

We
We will
     will notify you of your failure to provide access by mailing a certified, return-receipt document stating the increased premium
and
 and the
     the total
          total amount of our costs incurred in our aUempt(s)
                                                     attempt(s) to perform an audit. In addition to any other obligations under this
contract,
contract, 30 days after you receive the notification, you will be obligated to pay the total premium and costs referenced above. If,
thereafter,
thereafter, you provide access to your records within three years after the policy expires, or within another mutually agreed upon
time,
time, and
       and we succeed in performing the audit to our satisfaction, we will revise your total premium and the costs due to reflect the
results
 results of
         of the audit.




      This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
      This
    (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)
    (The


 Policy Effective
 Policy                      06/30/2017
 Endorsement Effective
 Endorsement                 06/30/2017                              Policy No. WD001486                        Endorsement No.




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 Insured
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 Insurance Company
 Insurance
                                                                       M                                                 Premium


                                             Decl. Barnett, Ex. H-1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 509 of 514 Page ID
                                  #:1461




                                  EXHIBIT I
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
 Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 510 of 514 Page ID
                                   #:1462

                         WORKERS' COMPENSATION AND EMPLOYERS' LIABILITY INSURANCE POLICY
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                          CALIFORNIA CANCELATION ENDORSEMENT
     This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
  (The information below is required only when this endorsement is issued subsequent
                                                                          sUbsequent to preparation of the policy.)


Policy Effective            06/30/2017
Endorsement Effective       06/30/2017                            Policy No. WD001486                       Endorsement No.
Insured                     PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                     Premium



Insurance Company         Protective Insurance Company           Countersigned
                                                                 Countersigned   by_---=~----~---------
                                                                                 by_---=~ t           _
This endorsement applies only to the insurance provided by the policy because California is shown in Item 3.A. of
the information page.

The cancelation condition in Part Six (Conditions) of the policy is replaced by these conditions:

Cancelation
1. You may cancel this policy. You must mail or                          j.   The occurrence of any change in your busi-
   deliver advance written notice to us stating when                          ness or operations that materially increases
   the cancelation is to take effect.                                         the hazard for frequency or severity of loss;
2.    We may cancel this policy for one or more of the                   k.   The occurrence of any change in your
      following reasons:                                                      business or operation that requires additional
      a. Non-payment of premium;                                              or different classification for premium calcu-
                                                                              lation;
      b.   Failure to report payroll;
                                                                         I.   The occurrence of any change in your
      c.   Failure to permit us to audit payroll as
                                                                              business or operation which contemplates an
           required by the terms of this policy or of a
                                                                              activity excluded by our reinsurance treaties.
           previous policy issued by us;
                                                                    3.   If we cancel your policy for any of the reasons
      d. Failure to pay any additional premium
                                                                         listed in (a) through (f) we will give you 10 days
         resulting from an audit of payroll required by
                                                                         advance written notice, stating when the
         the terms of this policy or any previous policy
                                                                         cancelation is to take effect. Mailing that notice to
         issued by us;
                                                                         you at your mailing address shown in item 1 of
      e. Material misrepresentation made by you or                                          PC)ge will be sufficient to prove
                                                                         the Information Pqge
         your agent;                                                     notice. If we cancel your policy for any of the
      f. Failure to cooperate with us in the inves-                                                            (1), we will give
                                                                         reasons listed in items (g) through (I),
         tigation of a claim;                                            you 30 days advance written notice; however, we
      g. Failure to comply with Federal or State safety                  agree that in the event of cancelation and
         orders;                                                         reissuance of a policy effective upon a material
                                                                         change in ownership or operations, notice will not
      h. Failure to comply with written recom-
                                                                         be provided.
         mendations of our designated loss control
         representatives;                                           4.   The policy period will end on the day and hour
                                                                         stated in the cancelation notice.
      i. The occurrence of a material change in the
         ownership of your business;




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we 04 06 01 A                                  Decl. Barnett, Ex. I-1                                                  Page 1 of 1
Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 511 of 514 Page ID
                                  #:1463




                                  EXHIBIT J
  DECLARATION OF DANIEL BARNETT IN SUPPORT OF PLAINTIFF’S OPPOSITION TO DEFENDANT
  PROTECTIVE INSURANCE COMPANY’S MOTION TO DISMISS OR STAY PURSUANT TO FRCP 12(b)(1)
  Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 512 of 514 Page ID
                                    #:1464
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                               we 04
                                                                                                            WC o4 0603
                                                                                                                  06 03 B
                                                                                                                (Ed. 01-15)

                             CALIFORNIA LARGE RISK DEDUCTIBLE ENDORSEMENT


  1.    This endorsement applies to the workers' compensation insurance coverage, the employers' liability insurance
        coverage and the other states insurance coverage provided in this policy.

  2.    This endorsement applies between you and us. It does not affect the rights of others under the policy. Nor does
        it change our obligations under the policy, except as otherwise stated in this endorsement.

  3.    In consideration of a reduced premium, you have agreed to reimburse us up to the deductible amounts stated
        in the Schedule at the end of this endorsement for all payments legally required, including allocated loss
        adjustment expenses which arise out of any claim or suit we defend, where you elect to include such
        expenses.

  4.    We will remain responsible for the full payment of all claims under this policy without regard to your ability or
                                                                                                   fully enforceable by
        intention to reimburse us for the deductible amounts. The contract of insurance shall be fUlly
        your employees or their dependents against us.

Deductible-
Deductible - Each Occurrence

  5.    The deductible amount stated in the Schedule is the most you must reimburse us for indemnity and medical
        benefits and damages combined, including allocated loss adjustment expenses, if elected by you, for bodily
                                                         any one accident or for disablement of one employee due to
        injury to one or more employees as the result of anyone
        bodily injury by disease.

Deductible-
Deductible - Policy Aggregate

  6.    The amount stated in the Schedule as aggregate is the most you must reimburse us for the sum of all
        indemnity and medical benefits, damages, and allocated loss adjustment expense, if elected by you, because
        of bodily injury by accident or bodily injury by disease for the policy period.

        (a) If we cancel the policy, the aggregate amount stated in the Schedule will be reduced to a pro rata amount
            based on the time this policy was in force.

        (b) If you cancel the policy as a result of your retiring from business, the aggregate deductible amount will be
            reduced to a pro rata amount based on the time this policy was in force.

        (c) If you cancel the policy for any reason other than retiring from business, the aggregate deductible amount
            will not be reduced.

        (d) If this policy is issued for a term of less than one year, the aggregate deductible amount will not be reduced.

Effect of Deductible on Limits of Liability

   7.   The applicable limits of liability as respects the employers' liability insurance coverage provided in this policy
        are subject to reduction by the application of the loss reimbursement amount(s) applicable to any claim for
        accident or disease covered by this policy. In the event of a claim, our obligation to pay is the amount available
        for benefits or damages that remains after the application of the specific loss reimbursement amount. The
        payment of loss adjustment expense, where such expense is elected by you, will not affect the limits of the
        liability.




                                             Decl. Barnett, Ex. J-1
                                                         Page 1 of 3
   Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 513 of 514 Page ID
                                     #:1465
we 04 06 03 B
WC                              WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY

(Ed.
{Ed. 01-15)

Allocated Loss Adjustment Expenses

   8.   Allocated loss adjustment expenses, which is electable by you, means claims expenses directly allocated by us
        to a particular claim. Such expenses shall not include cost of investigation or the salaries and traveling
        expenses of our employees otherthan those salaried employees who perform services which can be directly
        allocated to the handling of a particular claim.

Recovery from Others

   9.   If we recover any payments made under this policy from anyone liable for the injury, the amount we'
                                                                                                        we· recover will
        be applied as follows:

        (a) First, to any payments made by us in excess of the deductible amount; and

        (b) Then the remainder, if any, will be applied to reduce the deductible amount reimbursed by you.

Cancellation

   10. We may cancel this policy for nonpayment of any deductible amounts or for failure to comply with any security-
        related terms of this policy. Such cancellation of this policy shall be treated in the same manner as nonpayment
        of premium as provided by the California Insurance Code. We will remain fully responsible for the full amount
        of all claims incurred prior to the effective date of cancellation.

Sole Representation

   11. The first Named Insured stated in the Information Page will act on behalf of all the named insureds with respect
        to:

        (a) Changes to this endorsement;

        (b) Obligations to receive premiums; or

        (c) Giving or receiving notice of cancellation.

Your Duties and Understanding

   12. All bodily injuries by accident or disease for which you are responsible shall be promptly reported to us for
         adjustment and payment, regardless of their severity or cost. You further understand that all such bodily
         injuries and their cost shall be included in experience data used to determine the experience rating for your
         policy, regardless of the eligibility of such claims for full or partial reimbursement under the deductible
         provisions of this policy.

Other Rights and Duties

   13. All other terms of the policy, including those which govern the following items, apply irrespective of this
       deductible endorsement:

        (a) Our right and duty to defend any claim, proceeding or suit against you; and

        (b) Your duties if injury occurs.




                                             Decl. Barnett, Ex. J-2
                                                          Page 2 of 3
      Case 2:19-cv-06728-ODW-JEM Document 18-2 Filed 09/30/19 Page 514 of 514 Page ID
                                        #:1466
WORKERS COMPENSATION AND EMPLOYERS LIABILITY INSURANCE POLICY                                                        we 040603
                                                                                                                     WC o4 os 03 Bs
                                                                                                                         (Ed. 01-15)

Additional Charges

      14. Any assessments pursuant to California statute are not part of this Plan but are included in the cost of the
          coverage provided by the policy to which this endorsement is attached.

                                                              Schedule

1.     Deductible Amount $                500,000             Each Accident
                                      (Dollar Amount)

2.               Limit$
       Aggregate Limit $                    NONE                    Negotiated Charge $                    NONE
                                 (Dollar Amount or "None")                                      (Dollar Amount or "None")

3.     Allocated Loss Adjustment Expenses are                         INCLUDED
                                                              ("Included" or "Excluded")

4.     The Fixed Expense Charge                       WILL                 be adjusted retroactively, based upon actual costs.
                                        --------------------
                                            ("Will or "Will Not")




         This endorsement changes the policy to which it is attached and is effective on the date issued unless otherwise stated.
       (The information below is required only when this endorsement is issued subsequent to preparation of the policy.)


     Policy Effective          06/30/2017
     Endorsement Effective     06/30/2017                          Policy No. WD001486                          Endorsement No.
     Insured                    PERSONNEL STAFFING GROUP, LLC DBA BARNETT MANAGEMENT                                    Premium

     Insurance Company       Protective Insurance Company                              ------"{;()d~<--
                                                                     Countersigned by _ _          _ _;:::.__,~~-------
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     (Ed. 01-15)                                  Decl. Barnett, Ex. J-3
                                                              Page 3 of 3
